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                                                Shidler Portfolio

                                          December Receivers Report

                                          Prepared by: Jeffrey Kolessar



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                                                                                                            Executive Summary
                                                                                               Shidler Portfolio – December 2020
December Income & Expense ‐ Consolidated
                                                                                                                                 Consolidated
                                                                                                                            Statement of Operations
                                                                                                                    For the Month Ending December 31, 2020

                                                                                                                                       In Balance
                                                    Current Month                                                                                                                                 Year to Date
                         Actual                        Budget                         Actual                                                                          Actual                        Budget                         Actual
                     December 2020                  December 2020                 December 2019                                                                   December 2020                  December 2020                 December 2019
                       36.00%                         62.38%                        63.27%                  Occupancy                                               40.41%                         72.38%                         0.00%
                       $93.21                        $117.14                       $116.21                  Average Daily Rate (ADR)                               $111.81                        $129.79                         $0.00
                       $33.55                         $73.07                        $73.53                  Revenue Per Available Room (ReVPAR)                     $45.18                         $93.93                         $0.00

                                                                                                            Revenue
                 2,998,898.53         95.96%     6,530,565.00       94.60%    6,571,503.23        94.83%     Rooms                                           47,676,683.10        95.62%     99,115,701.00       94.70%    36,603,617.30       93.51%
                    33,185.73          1.06%       207,960.00        3.01%      220,922.90         3.19%     Food and Beverage                                  854,421.91         1.71%      3,313,809.00        3.17%     1,502,685.09        3.84%
                    73,568.73          2.35%       135,841.00        1.97%      113,936.70         1.64%     Total Other Operated Departments                 1,074,649.98         2.16%      1,879,387.00        1.80%       645,759.70        1.65%
                    19,437.71          0.62%        28,661.00        0.42%       23,135.82         0.33%     Rentals and Other Income                           254,920.36         0.51%        355,324.00        0.34%       390,096.99        1.00%
                 3,125,090.70        100.00%     6,903,027.00       100.00%   6,929,498.65        100.00%     Total Revenue                                  49,860,675.35        100.00%   104,664,221.00       100.00%   39,142,159.08       100.00%

                                                                                                            Departmental Expenses
                   806,200.12         25.80%     1,783,559.00       25.84%    1,902,742.79        27.46%     Rooms                                           11,989,021.47        24.05%     23,024,756.00       22.00%     8,733,673.94       22.31%
                    40,111.87          1.28%       176,443.00        2.56%      205,346.65         2.96%     Food and Beverage                                  753,362.96         1.51%      2,481,228.00        2.37%     1,036,560.94        2.65%
                    16,277.52          0.52%        31,081.00        0.45%       35,886.51         0.52%     Other Operated Departments                         208,112.44         0.42%        431,348.00        0.41%       136,576.39        0.35%
                   862,589.51         27.60%     1,991,083.00       28.84%    2,143,975.95        30.94%      Total Departmental Expenses                    12,950,496.87        25.97%     25,937,332.00       24.78%     9,906,811.27       25.31%
                 2,262,501.19         72.40%     4,911,944.00       71.16%    4,785,522.70        69.06%      Total Departmental Income                      36,910,178.48        74.03%     78,726,889.00       75.22%    29,235,347.81       74.69%

                                                                                                            Undistributed Operating Expenses
                   554,218.63         17.73%       731,403.00       10.60%      758,272.04        10.94%     Administrative and General                       6,675,046.55        13.39%      9,161,291.00        8.75%     2,791,422.88        7.13%
                    76,254.75          2.44%        84,213.00        1.22%       87,678.19         1.27%     Information & Telecommunications                   976,952.40         1.96%      1,044,127.00        1.00%       632,909.30        1.62%
                   546,142.41         17.48%     1,067,311.00       15.46%    1,074,689.29        15.51%     Sales and Marketing                              7,664,320.80        15.37%     15,093,593.00       14.42%     4,666,273.81       11.92%
                   247,881.68          7.93%       392,654.00        5.69%      426,494.61         6.15%     Property Operation and Maintenance               3,103,519.17         6.22%      4,799,469.00        4.59%     1,789,807.92        4.57%
                   224,984.92          7.20%       304,037.00        4.40%      317,113.18         4.58%     Utilities                                        3,140,439.59         6.30%      4,012,292.00        3.83%     1,272,579.40        3.25%
                 1,649,482.39         52.78%     2,579,618.00       37.37%    2,664,247.31        38.45%      Total Undistributed Expenses                   21,560,278.51        43.24%     34,110,772.00       32.59%    11,152,993.31       28.49%

                   613,018.80         19.62%     2,332,326.00       33.79%    2,121,275.39        30.61%      Gross Operating Profit                         15,349,899.97        30.79%     44,616,117.00       42.63%    18,082,354.50       46.20%

                   286,955.77          9.18%       184,921.00        2.68%      185,644.76         2.68%    Total Management Fees                             1,799,111.43         3.61%      2,812,583.00        2.69%     1,172,085.80        2.99%
                   326,063.03         10.43%     2,147,405.00       31.11%    1,935,630.63        27.93% Income Before Non Operating Income And Expense      13,550,788.54        27.18%     41,803,534.00       39.94%    16,910,268.70       43.20%

                                                                                                            Non Operating Expense
                 1,936,867.78         61.98%     1,676,859.00       24.29%    (1,173,784.23)      ‐16.94%    Fixed Expenses                                  21,085,209.34        42.29%     20,389,958.00       19.48%     7,114,481.60       18.18%
                 1,936,867.78         61.98%     1,676,859.00       24.29%    (1,173,784.23)      ‐16.94% Total Non Operating Expenses                       21,085,209.34        42.29%     20,389,958.00       19.48%     7,114,481.60       18.18%

                 (1,610,804.75)       ‐51.54%     470,546.00         6.82%    3,109,414.86        44.87% Net Operating Income                                 (7,534,420.80)      ‐15.11%    21,415,806.00       20.46%     9,798,016.86       25.03%

                   465,388.05         14.89%      477,967.00         6.92%      473,420.44         6.83% Interest                                             5,594,938.71        11.22%      5,736,023.00        5.48%     5,725,063.62       14.63%
                 1,785,060.00         57.12%      639,775.00         9.27%    1,579,533.00        22.79% Other                                               19,381,272.00        38.87%      7,794,225.00        7.45%            31.22        0.00%

                 (3,861,252.80)      ‐123.56%    (647,196.00)        ‐9.38%   1,056,461.42        15.25% Adjusted Net Operating Income                       (32,510,631.51)      ‐65.20%     7,885,558.00        7.53%     4,072,922.02       10.41%




Summary

Total revenues in December were slightly under November, down by just 2% with larger declines at most properties offset by some seasonal gains from
the Florida properties and strong performance at the Homewood Houston Clear Lake. GOP performance, however, was less steady, with erosion slightly
above the overall revenue decline. An increase in A&G expenses was the primary cause of the poor flow‐through. For the full year, Total Revenues of
$49.9M were achieved, with a GOP of 30.8% across the portfolio. However, given the burden of the land leases and the sharp decline in demand, the
overall Net Operating Income was a negative $7.5M for 2020.
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Chartwell portfolio consolidated performance:

            Actual           % / POR         Budget            % / POR           Act vs Last Year % / POR                     Act vs LY                              Descriptio n             YTD              % / POR YTD                       % / POR         Act vs            YTD Last          % / POR        Act vs LY
                                                                              Bud Var                                                  Var                                                                             Budget                                   Bud Var                Year                            Var
                                                                                                                                               SU M M A R Y

                  65,906                            65,906                                  0          65,906                              0 Total Rooms Available                                  778,116                           778,116                                  0         775,990                                  2,126

                  24,382                            39,749                           -15,367            40,169                       -15,787 Total Rooms Sold                                     306,038                           544,290                          -238,252            534,400                             -228,362

                3 7.0 0 %                         6 0 .3 1%                      - 2 3 .3 2 %        6 0 .9 5%                    - 2 3 .9 5% Oc c up a n c y %                                  3 9 .3 3 %                        6 9 .9 5%                        - 3 0 .6 2 %        6 8 .8 7%                           - 2 9 .54 %

                  8 1.9 8                         10 5.8 2                         - 2 3 .8 5        10 4 .8 0                     - 2 2 .8 2 A v e r a ge R a t e                                  9 9 .10                          114 .19                           - 15.0 8           113 .4 1                             - 14 .3 0

                  3 0 .3 3                         6 3 .8 2                        - 3 3 .50           6 3 .8 8                     - 3 3 .55 R EV PA R                                            3 8 .9 8                           79 .8 7                         - 4 0 .9 0           78 .10                              - 3 9 .12



                                                                                                                                               R EV EN U ES

               1,998,788           96.13        4,206,435           94.90       -2,207,647          4,209,749        95.41       -2,210,962 ROOM S                                            30,329,384            96.18          62,151,181         95.33        -31,821,797       60,604,998           95.32           -30,275,614

                  24,666              1.19        109,809            2.48            -85,144          108,442         2.46          -83,776 FOOD                                                  412,394             1.31        1,449,908            2.22          -1,037,514        1,452,332           2.28            -1,039,939

                    3,166            0.15           22,431            0.51           -19,265           22,270         0.50           -19,104 BEVERAGE                                               78,437           0.25           330,916             0.51          -252,479           288,927            0.45              -210,490

                   52,675            2.53          93,990             2.12           -41,316            71,929         1.63          -19,254 M ISCELLANEOUS                                        713,657           2.26          1,263,181            1.94          -549,524         1,232,846            1.94               -519,189



            2 ,0 79 ,2 9 5     10 0 .0 0     4 ,4 3 2 ,6 6 5     10 0 .0 0   - 2 ,3 53 ,3 71     4 ,4 12 ,3 9 1   10 0 .0 0   - 2 ,3 3 3 ,0 9 6 T O T A L R EV EN U ES                     3 1,53 3 ,8 72        10 0 .0 0    6 5,19 5,18 5        10 0 .0 0   - 3 3 ,6 6 1,3 13   6 3 ,579 ,10 4      10 0 .0 0      - 3 2 ,0 4 5,2 3 2



                                                                                                                                               D EPA R T M EN T EX PEN SES

                 544,869           27.26         1,125,046          26.75          -580,178          1,175,964       27.93         -631,096 ROOM S EXPENSE                                       7,421,156          24.47        14,341,460           23.08        -6,920,303         13,902,694          22.94             -6,481,538

                  32,538          131.92            110,173        100.33            -77,635          124,287        114.61          -91,749 FOOD EXPENSE                                         466,634           113.15         1,336,144           92.15          -869,510          1,355,865         93.36               -889,231

                    6,529        206.20              10,477         46.71            -3,948              8,280       37.18            -1,750 BEVERAGE EXPENSE                                       66,945          85.35            150,527          45.49            -83,582            156,166         54.05                -89,220

                   12,386           23.51           22,061          23.47             -9,675           25,836        35.92           -13,450 M ISCELLANEOUS EXPENSE                               144,324           20.22           297,447           23.55            -153,122          342,618          27.79               -198,294



              59 6 ,3 2 2        2 8 .6 8     1,2 6 7,758         2 8 .6 0      - 6 71,4 3 6     1,3 3 4 ,3 6 7    3 0 .2 4      - 73 8 ,0 4 5 T O T A L D EPA R T M EN T A L EX PEN SES    8 ,0 9 9 ,0 6 0       2 5.6 8     16 ,12 5,578          2 4 .73     - 8 ,0 2 6 ,518    15,757,3 4 2         2 4 .78         - 7,6 58 ,2 8 3



                                                                                                                                               D EPA R T M EN T A L PR OF IT

                1,453,919          72.74        3,081,388           73.25        -1,627,469         3,033,785        72.07        -1,579,866 ROOM S PROFIT                                    22,908,228            75.53        47,809,721           76.92       -24,901,493        46,702,304           77.06           -23,794,076

                   -7,872         -31.92              -364          -0.33             -7,509           -15,845       -14.61            7,973 FOOD PROFIT                                           -54,240          -13.15           113,764            7.85          -168,004            96,468           6.64               -150,708

                   -3,363        -106.20             11,954         53.29             -15,317           13,991       62.82           -17,354 BEVERAGE PROFIT                                         11,492         14.65           180,389            54.51          -168,897           132,762          45.95                -121,270

                  40,289           76.49            71,930          76.53            -31,641           46,093        64.08            -5,804 M ISCELLANEOUS PROFIT                                569,333           79.78           965,734           76.45           -396,401           890,228           72.21             -320,896



            1,4 8 2 ,9 73         71.3 2     3 ,16 4 ,9 0 8        71.4 0     - 1,6 8 1,9 3 5    3 ,0 78 ,0 2 4    6 9 .76     - 1,59 5,0 52 T O T A L D EPA R T M EN T A L PR OF IT       2 3 ,4 3 4 ,8 12       74 .3 2    4 9 ,0 6 9 ,6 0 7       75.2 7    - 2 5,6 3 4 ,79 5   4 7,8 2 1,76 2       75.2 2        - 2 4 ,3 8 6 ,9 50



                  391,795          18.84          522,402            11.79         -130,607           532,279        12.06         -140,484 A & G EXPENSE                                      4,699,990            14.90         6,397,453             9.81        -1,697,463         6,378,100          10.03              -1,678,110

                  43,225            2.08            37,255           0.84              5,970           39,008         0.88             4,216 TELECOM                                              491,849             1.56           446,519           0.68             45,330           460,368            0.72                 31,481

                  120,757            5.81          185,973           4.20            -65,217           167,635        3.80          -46,879 SALES & M ARKETING EXPENSES                          1,433,477            4.55        2,389,279            3.66           -955,801          2,167,706           3.41             -734,229

                 268,193           12.90          527,024            11.89         -258,831           563,630         12.77        -295,437 FRANCHISE FEES                                      3,833,316            12.16         7,735,554           11.87       -3,902,238          7,607,582           11.97           -3,774,266

                 146,638             7.05         249,332            5.62          -102,695            277,755        6.29           -131,118 M AINTENANCE EXPENSES                              1,901,509           6.03         3,035,643            4.66          -1,134,134        3,035,805            4.77            -1,134,296

                  158,914            7.64         200,931            4.53            -42,017          226,501          5.13          -67,587 UTILITIES EXPENSE                                   2,100,535           6.66        2,694,929              4.13         -594,394          2,665,740            4.19              -565,205



             1,12 9 ,52 1        54 .3 2      1,72 2 ,9 18        3 8 .8 7      - 59 3 ,3 9 7    1,8 0 6 ,8 0 9    4 0 .9 5      - 6 77,2 8 8 T O T A L A D M IN EX PEN SES                14 ,4 6 0 ,6 76        4 5.8 6    2 2 ,6 9 9 ,3 77       3 4 .8 2    - 8 ,2 3 8 ,70 0   2 2 ,3 15,3 0 2       3 5.10         - 7,8 54 ,6 2 6



               3 53 ,4 52         17.0 0     1,4 4 1,9 9 0        3 2 .53    - 1,0 8 8 ,53 8       1,2 71,2 15     2 8 .8 1      - 9 17,76 3 HO U SE PR OF IT                                8 ,9 74 ,13 6        2 8 .4 6   2 6 ,3 70 ,2 3 0       4 0 .4 5   - 17,3 9 6 ,0 9 5 2 5,50 6 ,4 59         4 0 .12       - 16 ,53 2 ,3 2 4

                                                                                                                                               F IX ED EX PEN SES

                 255,594           12.29           110,876           2.50            144,718           110,310        2.50          145,284 M ANAGEM ENT FEES                                    1,249,719           3.96         1,630,624            2.50          -380,905           1,589,588           2.50             -339,869

                1,071,043            51.51       1,018,744          22.98            52,300         -1,812,097       -41.07        2,883,141 FIXED EXPENSES                                   12,404,342            39.34        12,525,005            19.21          -120,663         9,387,648           14.77            3,016,694



              - 9 73 ,18 6     - 4 6 .8 0       3 12 ,3 70          7.0 5     - 1,2 8 5,556      2 ,9 73 ,0 0 2    6 7.3 8    - 3 ,9 4 6 ,18 8 N ET OPER A T IN G IN C OM E                - 4 ,6 79 ,9 2 5      - 14 .8 4   12 ,2 14 ,6 0 2         18 .74    - 16 ,8 9 4 ,52 7 14 ,52 9 ,2 2 3        2 2 .8 5      - 19 ,2 0 9 ,14 8



               1,785,060           85.85           639,775          14.43          1,145,285         1,579,533       35.80          205,527 Other                                              19,381,272           61.46         7,794,225            11.96        11,587,047        19,848,530          31.22               -467,258



           - 2 ,758 ,2 4 6     - 13 2 .6 5    - 3 2 7,4 0 5        - 7.3 9   - 2 ,4 3 0 ,8 4 1   1,3 9 3 ,4 6 9     3 1.58      - 4 ,151,715 N .I. af t er Ot her                          - 2 4 ,0 6 1,19 7     - 76 .3 0     4 ,4 2 0 ,3 77         6 .78    - 2 8 ,4 8 1,574    - 5,3 19 ,3 0 7       - 8 .3 7      - 18 ,74 1,8 9 1
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Hersha portfolio consolidated performance:
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Industry Outlook

The gains seen in the summer and early fall have given way to eroding results once again, as the resurgence of the pandemic coincided with colder
temperatures and school, at least in many parts of the country. The leisure business that was driving the uptick in performance slowed, and with no
Corporate or Group recovery of any note, the year over year performance in the industry declined relative to the last quarter. Full year results are now
in, with US Occupancy reported at 44% for open hotels, or 41.7% when accounting for COVID related closures, at an Average Daily Rate of only $103.25.
RevPAR for the year was $45.48 for hotels that were open, $43.03 for the industry including the temporarily closed properties. Interestingly, it was ADR
that drove the 4th quarter decline, as Overall Demand decline was relatively flat from Q3 to Q4 thanks in part to Essential Traveler business related to
COVID. Rate decline came both through discounting for both leisure and essential travel.

                                    US Industry                      This Quarter             Running 12 Months
                                    Supply                               -2.0%                      -3.6%
                                    Demand                              -33.5%                     -35.7%
                                    Occupancy                           -32.1%                     -33.3%
                                    ADR                                 -27.2%                     -21.3%
                                    RevPAR                              -50.6%                     -47.5%




                               Industry Forecast for 2020 & 2021 by Smith Travel Research & CBRE (as of November data)

                      US Industry                   2019    2020 STR        2020 CBRE           2021 STR           2021 CBRE
                      Occupancy                    66.1%      42.2%            41.8%              52.2%               50.1%
                      ADR                         $131.11    $103.65          $102.94            $109.21             $101.65
                      RevPAR                       $86.66     $43.76           $43.06             $57.03              $50.89
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December STR Performance ‐ Consolidated

                                                                                                        Comp Set                                                    Comp Set                                                   Hotel %         Comp Set                   RevPar
                                                                     Hotel   Hotel % Occ Comp Set         % Occ  Occupancy Occ Index %         Hotel % ADR Comp Set  % ADR                ADR       ADR Index %     Hotel      RevPar Comp Set % RevPar        RevPar    Index %
                                                                   Occupancy   Change Occupancy          Change    Index     Change Hotel ADR.   Change      ADR.    Change              Index.       Change       RevPar.     Change RevPar. Change           Index.    Change
                                                MONTH PORTFOLIO     36.0%          ‐43.0%     41.0%     ‐33.8%      87.8%     ‐13.9%      $93.33     ‐19.7%       $85.30     ‐25.2%     109.4%        7.4%         $33.59      ‐54.3%     $34.96    ‐50.5%      96.1% ‐7.5%
                                                   T3 PORTFOLIO     37.8%          ‐46.1%     42.5%     ‐37.6%      89.0%     ‐13.6%      $95.88     ‐20.6%       $86.49     ‐27.6%     110.9%        9.6%         $36.27      ‐57.2%     $36.78    ‐54.8%      98.6% ‐5.3%
                                                  YTD PORTFOLIO     40.4%          ‐43.8%     41.1%     ‐41.3%      98.2%      ‐4.3%     $111.81     ‐27.9%      $105.86     ‐16.2%     105.6%       ‐13.9%        $45.16      ‐59.5%     $43.55    ‐50.9%     103.7% ‐17.6%
                                                  T12 PORTFOLIO     40.4%          ‐43.8%     41.1%     ‐41.3%      98.2%      ‐4.3%     $111.81     ‐13.0%      $105.86     ‐16.2%     105.6%        3.9%         $45.16      ‐51.1%     $43.55    ‐50.9%     103.7% ‐0.5%

                                                                   Values

                                                                                                        Comp Set                                                       Comp Set                                                Hotel %          Comp Set                  RevPar
                                                                     Hotel   Hotel % Occ Comp Set                Occupancy Occ Index %            Hotel % ADR Comp Set                    ADR       ADR Index %     Hotel              Comp Set                RevPar
                              MONTH                                Occupancy   Change Occupancy
                                                                                                          % Occ
                                                                                                                   Index     Change
                                                                                                                                       Hotel ADR.
                                                                                                                                                    Change      ADR.
                                                                                                                                                                        % ADR
                                                                                                                                                                                         Index.       Change       RevPar.
                                                                                                                                                                                                                               RevPar
                                                                                                                                                                                                                                        RevPar.
                                                                                                                                                                                                                                                % RevPar
                                                                                                                                                                                                                                                               Index.
                                                                                                                                                                                                                                                                         Index %
                                                                                                         Change                                                         Change                                                 Change            Change                  Change

Comfort Inn Cross Creek                                                     32.7      ‐19.1      39.6         6.4      82.5      ‐24.0       68.02       ‐14.0       65.44       ‐6.8       103.9           ‐7.7       22.24      ‐30.4     25.92       ‐0.8      85.8       ‐29.9
Courtyard Alexandria Pentagon South                                         11.4      ‐79.1      22.9       ‐61.6      49.6      ‐45.5       70.16       ‐29.8       72.36      ‐25.1        97.0           ‐6.4        7.98      ‐85.3     16.60      ‐71.2      48.1       ‐49.0
Courtyard Chicago St Charles                                                23.8      ‐52.0      26.8       ‐48.2      89.0       ‐7.3       78.10       ‐27.9       79.92      ‐17.3        97.7          ‐12.9       18.61      ‐65.4     21.41      ‐57.2      86.9       ‐19.2
Courtyard Houston Brookhollow                                               17.0      ‐56.9      23.7       ‐48.1      71.7      ‐16.9       68.02       ‐12.5       81.48       ‐9.9        83.5           ‐2.9       11.57      ‐62.3     19.33      ‐53.2      59.9       ‐19.3
Fairfield Inn & Suites Naples                                               52.1      ‐27.3      56.0        ‐0.4      92.9      ‐27.0       98.32        ‐5.4       98.12      ‐14.2       100.2           10.2       51.18      ‐31.3     54.99      ‐14.5      93.1       ‐19.6
Fairfield Inn & Suites Orlando Near Universal Orlando Resort                51.5      ‐38.9      64.7       ‐23.4      79.5      ‐20.3       70.42       ‐42.4       74.05      ‐37.9        95.1           ‐7.3       36.25      ‐64.9     47.94      ‐52.4      75.6       ‐26.1
Hampton by Hilton Inn & Suites Clermont                                     51.5      ‐37.0      54.9       ‐28.1      93.7      ‐12.4       95.99       ‐23.7       86.74      ‐16.2       110.7           ‐8.9       49.44      ‐51.9     47.66      ‐39.8     103.7       ‐20.2
Hampton by Hilton Inn & Suites Fort Myers Estero/FGCU                       41.6      ‐41.8      63.1       ‐22.9      65.9      ‐24.5       95.64       ‐15.6       99.45      ‐15.3        96.2           ‐0.4       39.78      ‐50.9     62.73      ‐34.7      63.4       ‐24.8
Hampton by Hilton Inn & Suites Stuart‐North                                 51.0      ‐42.6      58.1       ‐19.7      87.9      ‐28.6       94.22       ‐17.4       82.44      ‐15.1       114.3           ‐2.7       48.09      ‐52.6     47.89      ‐31.8     100.4       ‐30.5
Hampton by Hilton Inn Atlanta‐Perimeter Center                              29.1      ‐38.1      44.4        ‐5.8      65.6      ‐34.3       63.88       ‐34.5       67.89      ‐36.4        94.1            2.9       18.58      ‐59.5     30.12      ‐40.1      61.7       ‐32.4
Hampton by Hilton Inn Charlotte‐University Place                            18.0      ‐60.4      35.4       ‐28.7      51.0      ‐44.5       70.47       ‐20.1       69.41      ‐22.4       101.5            2.9       12.72      ‐68.4     24.58      ‐44.7      51.7       ‐42.8
Hampton by Hilton Inn Raleigh/Cary                                          30.2      ‐43.7      34.9       ‐38.9      86.6       ‐7.8       72.89       ‐28.0       72.91      ‐24.3       100.0           ‐4.9       22.02      ‐59.5     25.44      ‐53.8      86.6       ‐12.3
Hilton Garden Inn Atlanta North Alpharetta                                  38.5      ‐27.2      39.0       ‐28.8      98.7        2.3       68.42       ‐46.7       61.81      ‐46.3       110.7           ‐0.8       26.35      ‐61.2     24.13      ‐61.8     109.2         1.6
Hilton Garden Inn San Antonio Airport                                       41.6      ‐41.3      35.8       ‐46.3     116.1        9.3       68.89       ‐17.6       69.58      ‐22.1        99.0            5.8       28.66      ‐51.6     24.93      ‐58.1     114.9        15.6
Homewood Suites by Hilton Houston Clearlake                                 67.7       15.6      61.8        30.3     109.4      ‐11.3       78.12       ‐28.6       72.99      ‐30.0       107.0            2.1       52.87      ‐17.4     45.13       ‐8.8     117.1        ‐9.5
Homewood Suites by Hilton Phoenix Metro Center                              37.9      ‐50.3      39.2       ‐39.0      96.6      ‐18.5       93.27         1.5       74.52      ‐10.1       125.2           12.9       35.34      ‐49.5     29.22      ‐45.2     121.0        ‐7.9
Homewood Suites by Hilton Raleigh Crabtree Valley                           37.0      ‐44.2      39.1       ‐39.3      94.6       ‐8.0       97.00       ‐14.1       91.94      ‐16.5       105.5            2.9       35.90      ‐52.1     35.97      ‐49.3      99.8        ‐5.4
Hyatt House Pleasant Hill                                                   41.5      ‐52.1      25.5       ‐61.7     162.4       25.1      160.47        ‐1.5      114.22      ‐22.5       140.5           27.2       66.53      ‐52.8     29.16      ‐70.4     228.1        59.2
Hyatt House Pleasanton                                                      33.0      ‐55.5      29.9       ‐53.1     110.3       ‐5.1      136.67       ‐26.2       93.96      ‐38.9       145.5           20.9       45.12      ‐67.2     28.13      ‐71.4     160.4        14.7
Hyatt House Scottsdale Old Town                                             49.1      ‐36.2      50.2       ‐35.8      97.7       ‐0.5      126.84        ‐9.9      105.46      ‐22.4       120.3           16.1       62.25      ‐42.5     52.96      ‐50.2     117.5        15.5
Residence Inn Greenbelt                                                     38.9      ‐36.9      26.2       ‐41.5     148.4        7.9      111.70       ‐15.4       72.43      ‐27.0       154.2           15.8       43.42      ‐46.6     18.98      ‐57.3     228.8        24.9
SpringHill Suites Naples                                                    40.7      ‐48.6      53.0        ‐8.2      76.7      ‐44.0      110.98        ‐2.6      100.45      ‐19.8       110.5           21.5       45.17      ‐49.9     53.28      ‐26.4      84.8       ‐31.9



Summary

Month to month change in Occupancy overall for the portfolio was minimal, with a decline of just 0.7pp thanks to the seasonal gains in Florida and solid
base business in Clearlake. Total US Occupancy was 35.5% per STR TRI data, well down from the 39% achieved in November, and the portfolio won fair
share against the US. Against their defined Competitive Set, however, the portfolio continued to underperform at an Occupancy Index of 87.8%, only
0.6pp better than November. ADR across the US shifted slightly upward from November to December (+1.1%) while this portfolio experienced a 3.6%
decline. Despite the challenges, the portfolio did maintain an advantage in RevPAR to the US, finishing at $33.59 to the US STR TRI of $32.64. For the
full year the portfolio also modestly exceeded the US Average in RevPAR ($43.03), finishing at $43.55, driven by the stronger performance of the Hersha
properties. In December, five properties exceeded fair occupancy share in their comp set, while 14 exceeded ADR share and 10 over‐indexed in
RevPAR.
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December performance – Hersha managed assets:

                                                                                                                                                                                                                                                                                              Sub‐
                                                                                                    Comp Set                                                    Comp Set                                                    Hotel %         Comp Set                   RevPar     Sub‐Market Market Market       Market
                                                                 Hotel   Hotel % Occ Comp Set         % Occ  Occupancy Occ Index %         Hotel % ADR Comp Set  % ADR                 ADR       ADR Index %     Hotel      RevPar Comp Set % RevPar        RevPar    Index %      Supply % Demand Supply %     Demand %
                                                               Occupancy   Change Occupancy          Change    Index     Change Hotel ADR.   Change      ADR.    Change               Index.       Change       RevPar.     Change RevPar. Change           Index.    Change         Chg     % Chg   Chg          Chg
                                                MONTH PORTFOLIO 33.2%          ‐52.4%     31.1%     ‐51.9%      106.9%     ‐1.0%      $128.35     ‐11.0%      $97.63      ‐27.2%     131.5%       22.3%         $42.62      ‐57.7%     $30.33    ‐65.0%     140.5%    21.1%
                                                   T3 PORTFOLIO 37.9%          ‐50.3%     35.4%     ‐52.2%      106.9%      4.0%      $134.93     ‐14.2%      $103.41     ‐30.3%     130.5%        23.1%        $51.11      ‐57.4%     $36.66    ‐66.7%     139.4%    28.1%
                                                  YTD PORTFOLIO 43.4%          ‐46.0%     37.6%     ‐50.9%      115.7%     10.0%      $144.13     ‐28.8%      $127.65     ‐17.8%     112.9%       ‐13.4%        $62.61      ‐61.6%     $47.94    ‐59.7%     130.6%    ‐4.7%
                                                  T12 PORTFOLIO 43.4%          ‐46.0%     37.6%     ‐50.9%      115.7%     10.0%      $144.13     ‐12.4%      $127.65     ‐17.8%     112.9%         6.6%        $62.61      ‐52.7%     $47.94    ‐59.7%     130.6%    17.2%

                                                               Values
                                                                                                                                                                                                                                                                                              Sub‐
                                                                                                    Comp Set                                                       Comp Set                                                 Hotel %          Comp Set                  RevPar     Sub‐Market         Market      Market
                                                                 Hotel   Hotel % Occ Comp Set                Occupancy Occ Index %            Hotel % ADR Comp Set                     ADR       ADR Index %     Hotel              Comp Set                RevPar                           Market
                              MONTH                            Occupancy   Change Occupancy
                                                                                                      % Occ
                                                                                                               Index     Change
                                                                                                                                   Hotel ADR.
                                                                                                                                                Change      ADR.
                                                                                                                                                                    % ADR
                                                                                                                                                                                      Index.       Change       RevPar.
                                                                                                                                                                                                                            RevPar
                                                                                                                                                                                                                                     RevPar.
                                                                                                                                                                                                                                             % RevPar
                                                                                                                                                                                                                                                            Index.
                                                                                                                                                                                                                                                                      Index %      Supply %
                                                                                                                                                                                                                                                                                             Demand
                                                                                                                                                                                                                                                                                                    Supply %    Demand %
                                                                                                     Change                                                         Change                                                  Change            Change                  Change         Chg              Chg         Chg
                                                                                                                                                                                                                                                                                              % Chg
Courtyard Alexandria Pentagon South                                     11.4      ‐79.1      22.9       ‐61.6       49.6      ‐45.5       70.16       ‐29.8       72.36      ‐25.1        97.0          ‐6.4         7.98      ‐85.3     16.60      ‐71.2      48.1       ‐49.0          3.5   ‐45.6    ‐10.4       ‐54.2
Hyatt House Pleasant Hill                                               41.5      ‐52.1      25.5       ‐61.7      162.4       25.1      160.47        ‐1.5      114.22      ‐22.5       140.5          27.2        66.53      ‐52.8     29.16      ‐70.4     228.1        59.2         ‐5.9   ‐31.6     ‐1.8       ‐36.0
Hyatt House Pleasanton                                                  33.0      ‐55.5      29.9       ‐53.1      110.3       ‐5.1      136.67       ‐26.2       93.96      ‐38.9       145.5          20.9        45.12      ‐67.2     28.13      ‐71.4     160.4        14.7          4.2   ‐36.4     ‐1.8       ‐36.0
Hyatt House Scottsdale Old Town                                         49.1      ‐36.2      50.2       ‐35.8       97.7       ‐0.5      126.84        ‐9.9      105.46      ‐22.4       120.3          16.1        62.25      ‐42.5     52.96      ‐50.2     117.5        15.5          3.1   ‐40.7     ‐1.4       ‐30.0
Residence Inn Greenbelt                                                 38.9      ‐36.9      26.2       ‐41.5      148.4        7.9      111.70       ‐15.4       72.43      ‐27.0       154.2          15.8        43.42      ‐46.6     18.98      ‐57.3     228.8        24.9        ‐19.5   ‐43.3    ‐10.4       ‐54.2




December performance – Chartwell managed assets:
                                                                                                                                                                                                                                                                                              Sub‐
                                                                                              Comp Set                                                    Comp Set                                                          Hotel %         Comp Set                   RevPar     Sub‐Market Market Market       Market
                                                                 Hotel   Hotel % Occ Comp Set   % Occ  Occupancy Occ Index %         Hotel % ADR Comp Set  % ADR                       ADR       ADR Index %     Hotel      RevPar Comp Set % RevPar        RevPar    Index %      Supply % Demand Supply %     Demand %
                                                               Occupancy   Change Occupancy Change       Index     Change Hotel ADR.   Change      ADR.    Change                     Index.       Change       RevPar.     Change RevPar. Change           Index.    Change         Chg     % Chg   Chg          Chg
                                                MONTH PORTFOLIO 37.0%          ‐39.2%     45.6%     ‐24.8%      81.0%      ‐19.2%     $82.13      ‐21.6%      $81.36      ‐21.8%     100.9%        0.3%         $30.37      ‐52.3%     $37.13    ‐41.2%     81.8%     ‐18.9%
                                                   T3 PORTFOLIO 37.8%          ‐44.4%     45.8%     ‐29.8%      82.5%      ‐20.9%     $81.95      ‐22.9%      $80.37      ‐22.8%     102.0%        ‐0.1%        $30.98      ‐57.1%     $36.84    ‐45.7%     84.1%     ‐20.9%
                                                  YTD PORTFOLIO 39.3%          ‐42.9%     42.8%     ‐36.2%      91.8%      ‐10.5%     $99.09      ‐26.8%      $96.91      ‐12.7%     102.2%       ‐16.2%        $38.94      ‐58.2%     $41.49    ‐44.3%     93.9%     ‐25.0%
                                                  T12 PORTFOLIO 39.3%          ‐42.9%     42.8%     ‐36.2%      91.8%      ‐10.5%     $99.09      ‐12.6%      $96.91      ‐12.7%     102.2%         0.0%        $38.94      ‐50.1%     $41.49    ‐44.3%     93.9%     ‐10.5%

                                                               Values
                                                                                                                                                                                                                                                                                              Sub‐
                                                                                                    Comp Set                                                       Comp Set                                                 Hotel %          Comp Set                  RevPar     Sub‐Market         Market      Market
                                                                 Hotel   Hotel % Occ Comp Set                Occupancy Occ Index %            Hotel % ADR Comp Set                     ADR       ADR Index %     Hotel              Comp Set                RevPar                           Market
                              MONTH                            Occupancy   Change Occupancy
                                                                                                      % Occ
                                                                                                               Index     Change
                                                                                                                                   Hotel ADR.
                                                                                                                                                Change      ADR.
                                                                                                                                                                    % ADR
                                                                                                                                                                                      Index.       Change       RevPar.
                                                                                                                                                                                                                            RevPar
                                                                                                                                                                                                                                     RevPar.
                                                                                                                                                                                                                                             % RevPar
                                                                                                                                                                                                                                                            Index.
                                                                                                                                                                                                                                                                      Index %      Supply %
                                                                                                                                                                                                                                                                                             Demand
                                                                                                                                                                                                                                                                                                    Supply %    Demand %
                                                                                                     Change                                                         Change                                                  Change            Change                  Change         Chg              Chg         Chg
                                                                                                                                                                                                                                                                                              % Chg
Comfort Inn Cross Creek                                                 32.7      ‐19.1      39.6         6.4       82.5      ‐24.0       68.02       ‐14.0       65.44       ‐6.8       103.9           ‐7.7       22.24      ‐30.4     25.92       ‐0.8      85.8       ‐29.9          0.0    ‐7.7      2.5       ‐15.3
Courtyard Chicago St Charles                                            23.8      ‐52.0      26.8       ‐48.2       89.0       ‐7.3       78.10       ‐27.9       79.92      ‐17.3        97.7          ‐12.9       18.61      ‐65.4     21.41      ‐57.2      86.9       ‐19.2         ‐3.4   ‐21.9    ‐10.7       ‐57.5
Courtyard Houston Brookhollow                                           17.0      ‐56.9      23.7       ‐48.1       71.7      ‐16.9       68.02       ‐12.5       81.48       ‐9.9        83.5           ‐2.9       11.57      ‐62.3     19.33      ‐53.2      59.9       ‐19.3          0.5   ‐23.6      0.3       ‐32.4
Fairfield Inn & Suites Naples                                           52.1      ‐27.3      56.0        ‐0.4       92.9      ‐27.0       98.32        ‐5.4       98.12      ‐14.2       100.2           10.2       51.18      ‐31.3     54.99      ‐14.5      93.1       ‐19.6          4.4   ‐20.2      4.1       ‐16.5
Fairfield Inn & Suites Orlando Near Universal Orlando Resort            51.5      ‐38.9      64.7       ‐23.4       79.5      ‐20.3       70.42       ‐42.4       74.05      ‐37.9        95.1           ‐7.3       36.25      ‐64.9     47.94      ‐52.4      75.6       ‐26.1         ‐1.4   ‐50.0     ‐8.9       ‐52.1
Hampton by Hilton Inn & Suites Clermont                                 51.5      ‐37.0      54.9       ‐28.1       93.7      ‐12.4       95.99       ‐23.7       86.74      ‐16.2       110.7           ‐8.9       49.44      ‐51.9     47.66      ‐39.8     103.7       ‐20.2          2.5   ‐31.8     ‐8.9       ‐52.1
Hampton by Hilton Inn & Suites Fort Myers Estero/FGCU                   41.6      ‐41.8      63.1       ‐22.9       65.9      ‐24.5       95.64       ‐15.6       99.45      ‐15.3        96.2           ‐0.4       39.78      ‐50.9     62.73      ‐34.7      63.4       ‐24.8          5.8   ‐16.1      4.0       ‐19.8
Hampton by Hilton Inn & Suites Stuart‐North                             51.0      ‐42.6      58.1       ‐19.7       87.9      ‐28.6       94.22       ‐17.4       82.44      ‐15.1       114.3           ‐2.7       48.09      ‐52.6     47.89      ‐31.8     100.4       ‐30.5          2.8   ‐14.2      4.1       ‐16.5
Hampton by Hilton Inn Atlanta‐Perimeter Center                          29.1      ‐38.1      44.4        ‐5.8       65.6      ‐34.3       63.88       ‐34.5       67.89      ‐36.4        94.1            2.9       18.58      ‐59.5     30.12      ‐40.1      61.7       ‐32.4          7.0   ‐13.6      1.7       ‐20.6
Hampton by Hilton Inn Charlotte‐University Place                        18.0      ‐60.4      35.4       ‐28.7       51.0      ‐44.5       70.47       ‐20.1       69.41      ‐22.4       101.5            2.9       12.72      ‐68.4     24.58      ‐44.7      51.7       ‐42.8          4.4   ‐22.1      4.7       ‐32.2
Hampton by Hilton Inn Raleigh/Cary                                      30.2      ‐43.7      34.9       ‐38.9       86.6       ‐7.8       72.89       ‐28.0       72.91      ‐24.3       100.0           ‐4.9       22.02      ‐59.5     25.44      ‐53.8      86.6       ‐12.3          2.8   ‐36.1      0.4       ‐34.1
Hilton Garden Inn Atlanta North Alpharetta                              38.5      ‐27.2      39.0       ‐28.8       98.7        2.3       68.42       ‐46.7       61.81      ‐46.3       110.7           ‐0.8       26.35      ‐61.2     24.13      ‐61.8     109.2         1.6          1.8   ‐22.0      1.7       ‐20.6
Hilton Garden Inn San Antonio Airport                                   41.6      ‐41.3      35.8       ‐46.3      116.1        9.3       68.89       ‐17.6       69.58      ‐22.1        99.0            5.8       28.66      ‐51.6     24.93      ‐58.1     114.9        15.6         ‐4.0   ‐35.4     ‐2.0       ‐34.1
Homewood Suites by Hilton Houston Clearlake                             67.7       15.6      61.8        30.3      109.4      ‐11.3       78.12       ‐28.6       72.99      ‐30.0       107.0            2.1       52.87      ‐17.4     45.13       ‐8.8     117.1        ‐9.5          0.5   ‐17.6      0.3       ‐32.4
Homewood Suites by Hilton Phoenix Metro Center                          37.9      ‐50.3      39.2       ‐39.0       96.6      ‐18.5       93.27         1.5       74.52      ‐10.1       125.2           12.9       35.34      ‐49.5     29.22      ‐45.2     121.0        ‐7.9         ‐4.6   ‐22.2     ‐1.4       ‐30.0
Homewood Suites by Hilton Raleigh Crabtree Valley                       37.0      ‐44.2      39.1       ‐39.3       94.6       ‐8.0       97.00       ‐14.1       91.94      ‐16.5       105.5            2.9       35.90      ‐52.1     35.97      ‐49.3      99.8        ‐5.4          3.1   ‐31.2      0.4       ‐34.1
SpringHill Suites Naples                                                40.7      ‐48.6      53.0        ‐8.2       76.7      ‐44.0      110.98        ‐2.6      100.45      ‐19.8       110.5           21.5       45.17      ‐49.9     53.28      ‐26.4      84.8       ‐31.9          4.4   ‐20.2      4.1       ‐16.5
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Property Highlights ‐ Chartwell:
Comfort Inn Fayetteville

       32.6% Occupancy; $68.12 ADR; $22.24 RevPAR (‐17% vs Nov); $123,370 Total Revenues; $14,197 GOP; ‐$27,585 NOI
       For the year, Occupancy was 40.9% at an ADR of $71.32; $629,057 GOP; $241,962 NOI
       Upon takeover, it became clear immediately that the mold issue was more significant than previously reported – the new manager placed 25
        rooms Out of Order and began to solicit remediation estimates. Roof leaks being investigated; hot water circulation concern also being vetted.

Courtyard Chicago St Charles

       23.9% Occupancy; $77.25 ADR; $18.43 RevPAR (‐10% vs Nov); $71,774 Total Revenues; ‐$36,298 GOP; ‐$109,697 NOI
       For the year, Occupancy was 34.8% at an ADR of $93.79; $249,478 GOP; ‐$463,950 NOI
       ADA suit settled, some seasonal small repairs remain. Kane Co remains at Level 3, no meetings, no F&B except Grab and Go, 25% capacity in
        Fitness Center, no one other than registered guests permitted in hotel rooms. Sprinkler pipe found leaking at transition, repairs ordered.

Courtyard Houston Brookhollow

       17.1% Occupancy; $67.71 ADR; $11.54 RevPAR (‐13% vs Nov); $75,656 Total Revenues; $4,892; ‐$98,503 NOI
       For the year, Occupancy was 22.3% at an ADR of $78.11; ‐$4,307 GOP; ‐$1,106,210 NOI
       No GM on property at takeover, transition GM in place. F&B outlets remain closed.

Fairfield Inn & Suites Naples

       52.1% Occupancy; $98.26 ADR; $45.42 RevPAR (+13% vs Nov); $175,620 Total Revenues; $60,194 GOP; ‐$7,388 NOI
       For the year, Occupancy was 57.2% at an ADR of $107.48; $1,071,052 GOP; $400,596 NOI
       Seasonal uptick in performance, but still well below prior years. Heavy sports group influence. Security system found to be not recording.

Fairfield Inn & Suites Orlando Universal

       51.5% Occupancy; $70.38 ADR; $36.25 RevPAR (+24% vs Nov); $131,503 Total Revenues; $47,966 GOP; ‐$31,859 NOI
       For the year, Occupancy was 35.9% at an ADR of $94.07; $392,237 GOP; ‐$413,746
       Seasonal uptick in performance, but still well below prior years. 17 rooms Out of Order due to PTAC’s but occupancy does not yet warrant
        expense of replacement. Rooftop HVAC unit found to be not working at takeover, bids being secured.
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Hampton Inn & Suites Clermont

      51.5% Occupancy; $95.99 ADR; $49.44 RevPAR (‐12% vs Nov); $135,633 Total Revenues; $46,052 GOP; ‐$17,383 NOI
      For the year, Occupancy was 55.6% at an ADR of $115.13; $884,483 GOP; $230,206 NOI
      Insufficient seasonal uptick in this Orlando sub‐market in December to offset group losses.

Hampton Inn & Suites Fort Myers Estero FGCU

      41.6% Occupancy; $96.58 ADR; $40.17 RevPAR (+39% vs Nov); $119,456 Total Revenues; $37,029 GOP; ‐$22,131 NOI
      For the year, Occupancy was 41.1% at an ADR of $130.82; $722,097 GOP; $119,281 NOI
      Season uptick in revenues, but still well below prior years. Upon takeover, it was discovered that although the contractor had the fire pump, it
       had not been installed on property – installation completed. Fire Marshall Inspection 1/22. GM did not remain with the property, transition GM
       in place.
      New Hampton Inn downtown Ft Myers – 118 keys, HOA Management – opening TBD 2021.

Hampton Inn & Suites Stuart North
      51.3% Occupancy; $93.81 ADR; $50.72 RevPAR (‐5% vs Nov); $154,533 Total Revenues; $62,295 GOP; ‐$11,932 NOI
      For the year, Occupancy was 52.5% at an ADR $124.43; $1,072,059 GOP; $285,033 NOI
      Events in November had pushed up demand, so the seasonal shift was not noticeable at this property. Security cameras found non‐functioning;
       will need to replace one hot water heater before peak season, getting bids.

Hampton Inn Atlanta Perimeter Center
      29.1% Occupancy; $63.93 ADR; $18.58 RevPAR (+8% vs Nov); $78,282 Total Revenues; ‐$19,243 GOP; ‐$84,307 NOI
      For the year, Occupancy was 28.2% at an ADR of $87.60; ‐$57,157 GOP; ‐$847,357 NOI
      Fire panel had been reporting Trouble at takeover, issue corrected. Numerous roof leaks, had contractors out for proposed short‐term
       solutions. Renovation agreed to with Hilton has not begun, nor is it planned at this time.

Hampton Inn Charlotte University Place
      18.0% Occupancy; $70.47 ADR; $12.72 RevPAR (‐31% vs Nov); $51,458 Total Revenues; ‐$24,457 GOP; ‐$125,907 NOI
      For the year, Occupancy was 26.4% at an ADR of $88.78; $19,725 GOP; ‐761,306 NOI
      Very corporate market, very little opportunity to capture leisure demand. Upon takeover it was discovered that the rooms damaged in the fire
       in June could be accessed by guests – the floor was subsequently secured. No clean up occurred in these areas under Chartwell.
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Hampton Inn Raleigh Cary
       30.2% Occupancy; $72.89 ADR; $22.02 RevPAR (‐10% vs Nov); $89,096 Total Revenues; $9,284 GOP; ‐$58,419 NOI
       For the year, Occupancy was 33.5% at an ADR of $88.76; $360,672 GOP; ‐$344,320 NOI
       Weekend events in November had driven occupancy, no such group in December.

Hilton Garden Inn Atlanta North/Alpharetta

       38.5% Occupancy; $68.40 ADR; $26.34 RevPAR (‐5% vs Nov); $157,898 Total Revenues; ‐$6,979 GOP; ‐$149,992 NOI
       For the year, Occupancy was 42.7% at an ADR of $95.96; $641,461 GOP; ‐$963,996 NOI
       Some Longhorn Steakhouse business continued into December; various HVAC issues discovered at takeover, including guest room corridors.

Hilton Garden Inn San Antonio Airport

       41.6% Occupancy; $66.90 ADR; $26.93 RevPAR (+3% vs Nov); $116,388 Total Revenues; ‐$1,566 GOP; ‐$82,630 NOI
       For the year, Occupancy was 43.1% at an ADR of $81.27; $179,307 GOP; ‐$678,677 NOI
       Heavy airline crew. Camera system found to be inoperable. Visible crack on 4th floor being evaluated by a structural engineer. Some roof leaks.

Homewood Suites Houston Clear Lake NASA
       67.7% Occupancy; $78.12 ADR; $52.87 RevPAR (+23% vs Nov); $151,729 Total Revenues; $56,302 GOP; ‐$27,424 NOI
       For the year, Occupancy was 51.7% at an ADR of $94.93; $595,475 GOP; ‐$289,616 NOI
       Transition GM placed at takeover – strong business from SCA and Angel Staffing carrying over to January.

Homewood Suites Phoenix Metro Center

       37.9% Occupancy; $93.20 ADR; $38.31 RevPAR (‐31% vs Nov); $186,277 Total Revenues; $69,801 GOP; $17,582 NOI
       For the year, Occupancy was 49.1% at an ADR of $108.63; $936,265 GOP; $329,301 NOI
       Light corporate in December, with no real strong group or long‐term stay. At takeover found inadequate linen to even outfit all rooms.

Homewood Suites Raleigh Crabtree Valley

       37.0% Occupancy; $97.00 ADR; $35.90 RevPAR (‐13% vs Nov); $157,358 Total Revenues; $37,889 GOP; ‐$59,345 NOI
       For the year, Occupancy was 46.8% at an ADR of $102.21; $845,920 GOP; ‐$218,315 NOI
       New GM put in place. This property also had inadequate linen for even 1 par. 10 rooms OOO due to no TV’s, will replace if occupancy grows.

Springhill Suites Naples
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      37.0% Occupancy; $97.00 ADR; $9.30 RevPAR (+74% vs Nov); $157,358 Total Revenues; $37,889; ‐$59,345 NOI
      For the year, Occupancy was 25.5% at an ADR of $146.19; $436,382 GOP; ‐$198,740 NOI
      Occupancy continues to ramp up post re‐opening to normal inventory. Cameras found non‐functional; fire panel was showing trouble, issue
       discovered and corrected. Pool heating pump needs to be replaced, as does a treadmill.


Property Highlights ‐ HERSHA:


Courtyard Alexandria Pentagon South

      11.4% Occupancy; $70.16 ADR; $7.98 RevPAR (‐24% vs Nov); $73,065 Total Revenues; ‐$66,282 GOP; ‐$152,788 NOI
      For the year, Occupancy was 26.5% at an ADR of $88.49; ‐$238,662 GOP; ‐$1,311,272 NOI
      Rooms Department Profit was under 10% ‐ $1300 van repair and necessary linen purchases had an impact. With the Bistro closed and Catering
       of any volume not possible, there was no opportunity to push profit. There was a $7K credit to e‐commerce with suspension of activities.

Hyatt House Pleasant Hill

      41.5% Occupancy; $160.47 ADR; $66.53 RevPAR (‐21% vs Nov); $296,855 Total Revenues (lowest since April); $91,694 GOP; ‐$114,899 NOI
      For the year, Occupancy was 60.0% at an ADR of $159.49; $2,110,256 GOP; ‐$724,956 NOI
      Governor Newsome issued Stay at Home Order in December, restricting demand to essential travelers. Performance was strong relative to the
       competitive set, however. In February, the Courtyard Pleasant Hill will become a Sonesta, potentially an advantage for the Hyatt House.

Hyatt House Pleasanton

      33.3% Occupancy; $136.67 ADR; $45.12 RevPAR (‐23% vs Nov); $182,326 Total Revenues (lowest since May); $28,804 GOP; ‐$153,118 NOI
      For the year, Occupancy was 46.6% at an ADR of $163.54; $1,392,614 GOP; ‐$677,601 NOI
      Contract labor cost creep is a concern, very challenging market to keep labor in the current environment. Small e‐commerce credit this month.

Hyatt House Scottsdale Old Town

      49.1% Occupancy; $126.84 ADR; $62.25 RevPAR (‐7% vs Nov); $327,363 Total Revenues; $116,171 GOP; ‐$28,202 NOI
      For the year, Occupancy was 44.3% at an ADR of $163.27; $2,052,050 GOP; $673,286 NOI
      Weekend demand pushed back up, while weekdays remained very soft. Group produced over $20K this month, $18K from a hockey
       tournament. GOP was negatively impacted by fire system repairs ($6K), Group Commission ($9K), and labor challenges.
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Residence Inn Greenbelt
       38.9% Occupancy; $111.70 ADR; $43.42 RevPAR (‐30% vs Nov); $166,186 Total Revenues; $89,186 GOP; ‐$188,402 NOI
       For the year, Occupancy was 47.9% at an ADR of $129.18; $1,059,505 GOP; ‐$813,745 NOI
       Group projected from Secret Service checked out early, and Group associated with UMD football for Dec 19th did not materialize as that game
        was cancelled due to COVID. Contract labor expenses are up. An accounting catch‐up on the Ground Leases inflated the NOI loss.
       Renovation ‐ 55 of 120 rooms completed; approximately $150K in additional FF&E required, plus construction costs. CapX payables settled.



Litigation

Residence Inn Greenbelt: The outstanding balances owed due to the pre‐Receivership partial renovation and FF&E storage were settled with the
combination of Axis Logistics, VonParis and LaMarca Construction, and all have been executed and fully funded. The total debt had been $985K, and the
total settlement was $794K.

Courtyard St. Charles: The ADA Lawsuit by a known “drive‐by” serial plaintiff has been executed and funded, at a cost of $3,750. As part of the
settlement, an adequate window to finalize other small repairs and updates was negotiated.

Hyatt Place Pleasanton: Two claims against Hersha were filed by a former employee alleging violations of the Fair Credit Reporting Act and California
Wage & Hour violations. The cases were filed with the intention of creating a Class. The alleged violations occurred prior to the Receivership, and at this
time the Receivership entities have not been specifically named. Counsel for Hersha is handling the complaint, with the next pleadings/discovery date of
March 17th. It is the Receiver’s position that, per the Management Agreement, Hersha is responsible for these claims. Counsels are reviewing.



Manager Change

On January 1, 2021, the Receiver oversaw a change in Management to affiliate managers at the 17 properties previously operated by Chartwell. There
was very limited impact to ongoing operations, with Interim Beverage Agreements in place at all properties serving alcohol, continued access to
necessary sales and operational systems, and continued flow of funds from the properties to the DACA account, and ultimately to the Receiver. Three
property General Managers chose not to join the incoming management company, and those positions were replaced; two other properties did not have
a Chartwell GM in place and coverage was provided at those assets as well. A significant amount of deferred maintenance was uncovered, and concerns
on life safety addressed immediately, including the approved repairs to the Homewood Clear Lake Fire System, the installation of the Fire Pump at
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Estero, the securing of fire damaged areas of the Hampton Charlotte University, the correction of a fire system fault at Hampton Perimeter, as well as
correction of several exit door and signage concerns. Several properties were found to have inoperable camera systems, and bids are being secured
make repairs. New bids are being secured to tackle roof leaks (some known under Chartwell, some new), and a mold remediation plan is required to
address a situation at Comfort Fayetteville that was not properly addressed. Numerous additional capital concerns are being reviewed and will be
layered into a long‐term strategy based on guest impact, cost and property disposition strategy.



Capstone

On January 19th, Capstone forwarded a Demand for Unpaid Asset Management Fees due under pre‐Receivership Asset Management Agreements. The
total demand is for $198,796.72, covering the periods March‐December. Per the Receivership Order, all charges prior to the Receivership are the
responsibility of Shidler, and no services were provided post‐Receivership, so the demand has been forwarded to counsel for review and follow‐up.



Capital Expense

Funding for CapX spending to date, as well as for emergency funding for the fire panel at Homewood Suites Houston Clear Lake, was requested by the
Receiver and was received in January. Future small capital projects will initially be funded by Operations, and when cash flow requires a request for
reimbursement funding will be made. Two payments for pre‐Receivership work will be made in January as they are life safety vendors with upcoming
inspections.



Property Taxes

Property Tax Appeals are active at the following properties:

       Hyatt House Pleasant Hill – Valuation $45.2M, Target value TBD, filed Valuation and Calamity appeal
       Fairfield Inn Naples – Valuation $9.93M, Income Approach supports $7.86M, Market Approach supports $9.31M
       SpringHill Suites Naples – Valuation $10.09M, Income Approach supports $9.27M, Market Approach $10.13M not helpful
       Hilton Garden Alpharetta – Valuation $21.91M, Target valuation $19.98M, agreement at $20.4M, a savings of $26K
       Hampton Atlanta Perimeter – Valuation $10.84M, Target valuation $9.35M (potential savings of $22K)
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      Residence Inn Greenbelt – Valuation $29.69M, Protective Appeal filed
      Homewood Suites Raleigh Crabtree – Appeal completed, Valuation reduced $8,511,421, savings of $81K, will come off list next month
      Hampton Inn Raleigh Cary – Appeal completed, Valuation reduced $780,479, savings of $7K, will come off list next month
      Homewood Suites Houston Clear Lake – Valuation $7.96M, Target value is $6.5M, latest value $7.14M, possibly Q1 2021 outcome
      Courtyard Houston Brookhollow – Valuation $8.00M, Target value $6.5M, latest value $7.13M, possible Q1 2021 outcome
      Hilton Garden Inn San Antonio – Valuation $8.53M, Target value $8.0M, latest value $8.4M, possibly Q1 2021 outcome

Taxes are once again being funded directly by Wells, with the Receiver no longer required to make direct payments to the taxing authorities. The
Receiver payment for the Contra Costa Co taxes is being refunded as it was funded by Wells directly.
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                                                                                                                     Consolidated
                                                                                                                Statement of Operations
                                                                                                        For the Month Ending December 31, 2020

                                                                                                                         In Balance
                                      Current Month                                                                                                                                   Year to Date
            Actual                        Budget                        Actual                                                                            Actual                         Budget                        Actual
        December 2020                 December 2020                 December 2019                                                                     December 2020                  December 2020                 December 2019
          36.00%                        62.38%                        63.27%                  Occupancy                                                 40.41%                         72.38%                         0.00%
          $93.21                       $117.14                       $116.21                  Average Daily Rate (ADR)                                 $111.81                        $129.79                         $0.00
          $33.55                        $73.07                        $73.53                  Revenue Per Available Room (ReVPAR)                       $45.18                         $93.93                         $0.00

                                                                                              Revenue
x   2,998,898.53         95.96%    6,530,565.00        94.60%   6,571,503.23         94.83%    Rooms                                             47,676,683.10         95.62%    99,115,701.00        94.70%   36,603,617.30        93.51%
x      33,185.73          1.06%      207,960.00         3.01%     220,922.90          3.19%    Food and Beverage                                    854,421.91          1.71%     3,313,809.00         3.17%    1,502,685.09         3.84%
       73,568.73          2.35%      135,841.00         1.97%     113,936.70          1.64%    Total Other Operated Departments                   1,074,649.98          2.16%     1,879,387.00         1.80%      645,759.70         1.65%
x      19,437.71          0.62%       28,661.00         0.42%      23,135.82          0.33%    Rentals and Other Income                             254,920.36          0.51%       355,324.00         0.34%      390,096.99         1.00%
    3,125,090.70        100.00%    6,903,027.00       100.00%   6,929,498.65        100.00%     Total Revenue                                    49,860,675.35        100.00%   104,664,221.00       100.00%   39,142,159.08       100.00%

                                                                                              Departmental Expenses
x     806,200.12         25.80%    1,783,559.00        25.84%   1,902,742.79         27.46%    Rooms                                             11,989,021.47         24.05%    23,024,756.00        22.00%    8,733,673.94        22.31%
x      40,111.87          1.28%      176,443.00         2.56%     205,346.65          2.96%    Food and Beverage                                    753,362.96          1.51%     2,481,228.00         2.37%    1,036,560.94         2.65%
       16,277.52          0.52%       31,081.00         0.45%      35,886.51          0.52%    Other Operated Departments                           208,112.44          0.42%       431,348.00         0.41%      136,576.39         0.35%
      862,589.51         27.60%    1,991,083.00        28.84%   2,143,975.95         30.94%     Total Departmental Expenses                      12,950,496.87         25.97%    25,937,332.00        24.78%    9,906,811.27        25.31%
    2,262,501.19         72.40%    4,911,944.00        71.16%   4,785,522.70         69.06%     Total Departmental Income                        36,910,178.48         74.03%    78,726,889.00        75.22%   29,235,347.81        74.69%

                                                                                              Undistributed Operating Expenses
x     554,218.63         17.73%      731,403.00        10.60%     758,272.04         10.94%    Administrative and General                         6,675,046.55         13.39%     9,161,291.00         8.75%    2,791,422.88         7.13%
x      76,254.75          2.44%       84,213.00         1.22%      87,678.19          1.27%    Information & Telecommunications                     976,952.40          1.96%     1,044,127.00         1.00%      632,909.30         1.62%
x     546,142.41         17.48%    1,067,311.00        15.46%   1,074,689.29         15.51%    Sales and Marketing                                7,664,320.80         15.37%    15,093,593.00        14.42%    4,666,273.81        11.92%
x     247,881.68          7.93%      392,654.00         5.69%     426,494.61          6.15%    Property Operation and Maintenance                 3,103,519.17          6.22%     4,799,469.00         4.59%    1,789,807.92         4.57%
x     224,984.92          7.20%      304,037.00         4.40%     317,113.18          4.58%    Utilities                                          3,140,439.59          6.30%     4,012,292.00         3.83%    1,272,579.40         3.25%
    1,649,482.39         52.78%    2,579,618.00        37.37%   2,664,247.31         38.45%     Total Undistributed Expenses                     21,560,278.51         43.24%    34,110,772.00        32.59%   11,152,993.31        28.49%

      613,018.80         19.62%    2,332,326.00        33.79%   2,121,275.39         30.61%     Gross Operating Profit                           15,349,899.97         30.79%    44,616,117.00        42.63%   18,082,354.50        46.20%

      286,955.77          9.18%      184,921.00         2.68%     185,644.76          2.68%    Total Management Fees                              1,799,111.43          3.61%     2,812,583.00         2.69%    1,172,085.80         2.99%
      326,063.03         10.43%    2,147,405.00        31.11%   1,935,630.63         27.93% Income Before Non Operating Income And Expense       13,550,788.54         27.18%    41,803,534.00        39.94%   16,910,268.70        43.20%

x                                                                                             Non Operating Expense
x   1,936,867.78         61.98%    1,676,859.00        24.29%   (1,173,784.23)      ‐16.94%    Fixed Expenses                                    21,085,209.34         42.29%    20,389,958.00        19.48%    7,114,481.60        18.18%
x   1,936,867.78         61.98%    1,676,859.00        24.29%   (1,173,784.23)      ‐16.94% Total Non Operating Expenses                         21,085,209.34         42.29%    20,389,958.00        19.48%    7,114,481.60        18.18%
x
    (1,610,804.75)       ‐51.54%    470,546.00          6.82%   3,109,414.86         44.87% Net Operating Income                                  (7,534,420.80)      ‐15.11%    21,415,806.00        20.46%    9,798,016.86        25.03%

x     465,388.05         14.89%     477,967.00          6.92%     473,420.44          6.83% Interest                                              5,594,938.71         11.22%     5,736,023.00         5.48%    5,725,063.62        14.63%
    1,785,060.00         57.12%     639,775.00          9.27%   1,579,533.00         22.79% Other                                                19,381,272.00         38.87%     7,794,225.00         7.45%           31.22         0.00%

    (3,861,252.80)      ‐123.56%    (647,196.00)       ‐9.38%   1,056,461.42         15.25% Adjusted Net Operating Income                        (32,510,631.51)      ‐65.20%     7,885,558.00         7.53%    4,072,922.02        10.41%
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                                                                                                      Shidler Consolidated
                                                                                                Hersha Hospitality Management
                                                                                                   Statement of Operations
                                                                                           For the Month Ending December 31, 2020
                                  Current Month                                                                                                                        Year to Date
        Actual                        Budget                       Actual                                                                   Actual                       Budget                         Actual
    December 2020                 December 2020                December 2019                                                            December 2020                 December 2020                 December 2019

      23,467                        23,467                       23,467                  Total Available Rooms                           277,062                       277,062                       276,305
       7,792                        16,003                       16,381                  Rooms Sold                                      120,359                       219,399                       222,411

      33.20%                        68.19%                       69.80%                  Occupancy                                        43.44%                        79.19%                        80.49%
     $128.35                       $145.23                      $144.18                  Average Daily Rate (ADR)                        $144.13                       $168.48                       $164.58
      $42.62                        $99.04                      $100.64                  Revenue Per Available Room (ReVPAR)              $62.61                       $133.42                       $132.48

                                                                                       Revenue
1,000,110.53         95.63%    2,324,130.00        94.08%   2,361,754.23        93.83%  Rooms                                       17,347,299.10       94.66%    36,964,520.00       93.65%    36,603,521.98       93.51%
    5,353.73          0.51%       75,720.00         3.07%      90,210.90         3.58%  Food and Beverage                              363,590.91        1.98%     1,532,985.00        3.88%     1,502,682.36        3.84%
                                                                                        Other Operated Departments
   20,893.73          2.00%      41,851.00          1.69%     42,007.70          1.67%   Other Misc                                   360,992.98         1.97%      616,206.00         1.56%      645,757.76         1.65%

   20,893.73          2.00%      41,851.00          1.69%     42,007.70          1.67%    Total Other Operated Departments            360,992.98         1.97%      616,206.00         1.56%      645,757.76         1.65%

   19,437.71          1.86%      28,661.00          1.16%     23,135.82          0.92%    Rentals and Other Income                    254,920.36         1.39%      355,324.00         0.90%      390,096.99         1.00%

1,045,795.70        100.00%    2,470,362.00       100.00%   2,517,108.65       100.00%     Total Revenue                            18,326,803.35       100.00%   39,469,035.00       100.00%   39,142,059.09       100.00%

                                                                                       Departmental Expenses
  261,331.12         24.99%     658,513.00        26.66%     726,778.79        28.87%   Rooms                                        4,567,865.47       24.92%     8,683,296.00       22.00%     8,733,651.00       22.31%
    1,044.87          0.10%      55,793.00         2.26%      72,779.65         2.89%   Food and Beverage                              219,783.96        1.20%       994,557.00        2.52%     1,036,413.53        2.65%
                                                                                        Other Operated Departments
    3,891.52          0.37%       9,020.00          0.37%     10,050.51          0.40%   Other Misc                                    63,788.44         0.35%      133,901.00         0.34%      136,548.60         0.35%

    3,891.52          0.37%       9,020.00          0.37%     10,050.51          0.40%    Other Operated Departments                   63,788.44         0.35%      133,901.00         0.34%      136,548.60         0.35%

  266,267.51         25.46%     723,326.00        29.28%     809,608.95        32.16%      Total Departmental Expenses               4,851,437.87       26.47%     9,811,754.00       24.86%     9,906,613.13       25.31%

  779,528.19         74.54%    1,747,036.00       70.72%    1,707,499.70       67.84%      Total Departmental Income                13,475,365.48       73.53%    29,657,281.00       75.14%    29,235,445.96       74.69%

                                                                                         Undistributed Operating Expenses
  162,423.63         15.53%     209,001.00         8.46%     225,993.04         8.98%     Administrative and General                 1,975,056.55       10.78%     2,763,838.00        7.00%     2,791,412.85        7.13%
   33,029.75          3.16%      46,958.00         1.90%      48,670.19         1.93%     Information & Telecommunications             485,103.40        2.65%       597,608.00        1.51%       632,908.58        1.62%
  157,192.41         15.03%     354,314.00        14.34%     343,424.29        13.64%     Sales and Marketing                        2,397,527.80       13.08%     4,968,760.00       12.59%     4,666,258.43       11.92%
  101,243.68          9.68%     143,322.00         5.80%     148,739.61         5.91%     Property Operation and Maintenance         1,202,010.17        6.56%     1,763,826.00        4.47%     1,789,803.15        4.57%
   66,070.92          6.32%     103,106.00         4.17%      90,612.18         3.60%     Utilities                                  1,039,904.59        5.67%     1,317,363.00        3.34%     1,272,575.21        3.25%

  519,960.39         49.72%     856,701.00        34.68%     857,439.31        34.06%      Total Undistributed Expenses              7,099,602.51       38.74%    11,411,395.00       28.91%    11,152,958.22       28.49%

  259,567.80         24.82%     890,335.00        36.04%     850,060.39        33.77%      Gross Operating Profit                    6,375,762.97       34.79%    18,245,886.00       46.23%    18,082,487.74       46.20%

   31,361.77          3.00%      74,045.00          3.00%     75,334.76          2.99% Management Fees                                549,392.43         3.00%     1,181,959.00        2.99%     1,172,083.30        2.99%
   31,361.77          3.00%      74,045.00          3.00%     75,334.76          2.99%     Total Management Fees                      549,392.43         3.00%     1,181,959.00        2.99%     1,172,083.30        2.99%


                                                                                         Income Before Non Operating Income And
  228,206.03         21.82%     816,290.00        33.04%     774,725.63        30.78% Expense                                        5,826,370.54       31.79%    17,063,927.00       43.23%    16,910,404.44       43.20%

      209.52          0.02%                        0.00%                        0.00% Non Operating Income                                209.52         0.00%        2,230.00         0.01%        2,440.34         0.01%

                                                                                         Non Operating Expense
  587,040.13         56.13%     410,682.00        16.62%     400,000.00        15.89%     Rent                                       4,972,300.07       27.13%     4,893,314.00       12.40%     4,362,250.00       11.14%
  211,893.10         20.26%     195,758.00         7.92%     167,556.40         6.66%     Property and Other Taxes                   2,885,318.76       15.74%     2,349,100.00        5.95%     2,178,535.30        5.57%
   66,344.08          6.34%      51,675.00         2.09%      53,662.05         2.13%     Insurance                                    783,014.13        4.27%       622,539.00        1.58%       497,474.44        1.27%
      547.47          0.05%                        0.00%      17,094.32         0.68%     Owner's Expense                               65,133.46        0.36%                         0.00%        76,207.09        0.19%
                      0.00%                        0.00%                        0.00%     Extraordinary Gain/Loss                      (24,899.08)      ‐0.14%                         0.00%                         0.00%

  865,824.78         82.79%     658,115.00        26.64%     638,312.77        25.36% Total Non Operating Expenses                   8,680,867.34       47.37%     7,864,953.00       19.93%     7,114,466.83       18.18%

 (637,409.23)        ‐60.95%    158,175.00          6.40%    136,412.86          5.42% Net Operating Income                         (2,854,287.28)      ‐15.57%    9,201,204.00       23.31%     9,798,377.95       25.03%

  465,388.05         44.50%     477,967.00        19.35%     473,420.44        18.81% Interest                                       5,594,938.71       30.53%     5,736,023.00       14.53%     5,725,063.62       14.63%

(1,102,797.28)      ‐105.45%   (319,792.00)       ‐12.95%   (337,007.58)       ‐13.39% Adjusted Net Operating Income                (8,449,225.99)      ‐46.10%    3,465,181.00        8.78%     4,073,314.33       10.41%
                                                                           Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 17 of 541
                         Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                         Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                         Company: 12828 San Pedro San Antonio dba HGI SA Airport Property: HGI San Antonio Airport
                         Company: 1922 Skibo dba Comfort Inn Fayetteville Property: Comfort Inn Fayetteville
                         Company: 201 Ashville Raleigh dba HI Raleigh Cary Property: Hampton Inn Raleigh Cary
                         Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                         Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                         Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                         Company: 3798 White Lake-Naples dba SHS Naples Property: SpringHill Suites Naples (Capstone)
                         Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                         Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                         Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                         Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                         Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
                         Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                         Company: 769 Hammond Atlanta dba HI Atlanta Perimeter Property: HI Atlanta Perimeter
                         Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                         For Properties: Hampton Inn Estero (Capstone), Hampton Inn Stuart (Capstone), HGI San Antonio Airport, Comfort Inn Fayetteville, Hampton Inn Raleigh Cary, Hampton Inn Clermont (Capstone), CY Houston Brookhollow, HWS Phoenix
                         00- Master P&L-CAPSTONE
                         As of 12/31/2020

Actual       % / POR       Budget       % / POR        Act vs     Last Year     % / POR    Act vs LY                   Description              YTD         % / POR YTD                % / POR     Act vs       YTD Last      % / POR    Act vs LY
                                                      Bud Var                                     Var                                                                   Budget                    Bud Var         Year                      Var
                                                                                                        SUMMARY

   65,906                      65,906                        0        65,906                         0 Total Rooms Available                      778,116                   778,116                         0      775,990                         2,126

   24,382                      39,749                   -15,367       40,169                   -15,787 Total Rooms Sold                           306,038                   544,290                  -238,252      534,400                     -228,362

  37.00%                     60.31%                   -23.32%        60.95%                   -23.95% Occupancy %                                39.33%                     69.95%                   -30.62%       68.87%                      -29.54%

    81.98                     105.82                    -23.85        104.80                    -22.82 Average Rate                                99.10                     114.19                    -15.08       113.41                        -14.30

    30.33                       63.82                   -33.50         63.88                    -33.55 REVPAR                                      38.98                      79.87                    -40.90        78.10                        -39.12




                                                                                                        REVENUES

 1,998,788       96.13      4,206,435        94.90   -2,207,647     4,209,749      95.41     -2,210,962 ROOMS                                  30,329,384       96.18     62,151,181      95.33   -31,821,797    60,604,998      95.32       -30,275,614

   24,666         1.19        109,809         2.48      -85,144      108,442        2.46       -83,776 FOOD                                       412,394        1.31      1,449,908       2.22    -1,037,514     1,452,332       2.28        -1,039,939

    3,166         0.15         22,431         0.51      -19,265       22,270        0.50       -19,104 BEVERAGE                                    78,437        0.25       330,916        0.51      -252,479      288,927        0.45         -210,490

   52,675         2.53         93,990         2.12      -41,316       71,929        1.63       -19,254 MISCELLANEOUS                              713,657        2.26      1,263,181       1.94      -549,524     1,232,846       1.94         -519,189



2,079,295       100.00      4,432,665       100.00   -2,353,371    4,412,391      100.00    -2,333,096 TOTAL REVENUES                         31,533,872       100.00    65,195,185      100.00   -33,661,313   63,579,104      100.00      -32,045,232




                                                                                                        DEPARTMENT EXPENSES

  544,869        27.26      1,125,046        26.75     -580,178     1,175,964      27.93      -631,096 ROOMS EXPENSE                            7,421,156       24.47     14,341,460      23.08    -6,920,303    13,902,694      22.94        -6,481,538

   32,538       131.92        110,173       100.33      -77,635      124,287      114.61       -91,749 FOOD EXPENSE                               466,634      113.15      1,336,144      92.15      -869,510     1,355,865      93.36         -889,231

    6,529       206.20         10,477        46.71       -3,948        8,280       37.18        -1,750 BEVERAGE EXPENSE                            66,945       85.35       150,527       45.49       -83,582      156,166       54.05            -89,220

   12,386        23.51         22,061        23.47       -9,675       25,836       35.92       -13,450 MISCELLANEOUS EXPENSE                      144,324       20.22       297,447       23.55      -153,122      342,618       27.79         -198,294



  596,322        28.68      1,267,758        28.60    -671,436     1,334,367       30.24      -738,045 TOTAL DEPARTMENTAL EXPENSES              8,099,060       25.68    16,125,578       24.73    -8,026,518   15,757,342       24.78       -7,658,283



                                                                                                        DEPARTMENTAL PROFIT

 1,453,919       72.74      3,081,388        73.25   -1,627,469     3,033,785      72.07     -1,579,866 ROOMS PROFIT                           22,908,228       75.53     47,809,721      76.92   -24,901,493    46,702,304      77.06       -23,794,076

    -7,872      -31.92           -364        -0.33       -7,509       -15,845     -14.61         7,973 FOOD PROFIT                                -54,240      -13.15       113,764        7.85      -168,004       96,468        6.64         -150,708

    -3,363     -106.20         11,954        53.29      -15,317       13,991       62.82       -17,354 BEVERAGE PROFIT                             11,492       14.65       180,389       54.51      -168,897      132,762       45.95         -121,270

   40,289        76.49         71,930        76.53      -31,641       46,093       64.08        -5,804 MISCELLANEOUS PROFIT                       569,333       79.78       965,734       76.45      -396,401      890,228       72.21         -320,896



1,482,973        71.32      3,164,908        71.40   -1,681,935    3,078,024       69.76    -1,595,052 TOTAL DEPARTMENTAL PROFIT              23,434,812        74.32    49,069,607       75.27   -25,634,795   47,821,762       75.22      -24,386,950



  391,795        18.84        522,402        11.79     -130,607      532,279       12.06      -140,484 A & G EXPENSE                            4,699,990       14.90      6,397,453       9.81    -1,697,463     6,378,100      10.03        -1,678,110

   43,225         2.08         37,255         0.84        5,970       39,008        0.88         4,216 TELECOM                                    491,849        1.56       446,519        0.68        45,330      460,368        0.72            31,481

  120,757         5.81        185,973         4.20      -65,217      167,635        3.80       -46,879 SALES & MARKETING EXPENSES               1,433,477        4.55      2,389,279       3.66      -955,801     2,167,706       3.41         -734,229

  268,193        12.90        527,024        11.89     -258,831      563,630       12.77      -295,437 FRANCHISE FEES                           3,833,316       12.16      7,735,554      11.87    -3,902,238     7,607,582      11.97        -3,774,266

  146,638         7.05        249,332         5.62     -102,695      277,755        6.29      -131,118 MAINTENANCE EXPENSES                     1,901,509        6.03      3,035,643       4.66    -1,134,134     3,035,805       4.77        -1,134,296

  158,914         7.64        200,931         4.53      -42,017      226,501        5.13       -67,587 UTILITIES EXPENSE                        2,100,535        6.66      2,694,929       4.13      -594,394     2,665,740       4.19         -565,205



1,129,521        54.32      1,722,918        38.87    -593,397     1,806,809       40.95      -677,288 TOTAL ADMIN EXPENSES                   14,460,676        45.86    22,699,377       34.82    -8,238,700   22,315,302       35.10       -7,854,626



  353,452        17.00      1,441,990        32.53   -1,088,538    1,271,215       28.81      -917,763 HOUSE PROFIT                             8,974,136       28.46    26,370,230       40.45   -17,396,095   25,506,459       40.12      -16,532,324
                                                                            Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 18 of 541
   Actual       % / POR       Budget       % / POR      Act vs     Last Year     % / POR    Act vs LY                  Description               YTD         % / POR                 % / POR     Act vs       YTD Last      % / POR    Act vs LY
                                                       Bud Var                                    Var                                                                                           Bud Var         Year                      Var

                                                                                                        FIXED EXPENSES

      255,594         12.29     110,876        2.50      144,718      110,310        2.50      145,284 MANAGEMENT FEES                           1,249,719       3.96    1,630,624       2.50      -380,905     1,589,588       2.50         -339,869

    1,071,043         51.51    1,018,744      22.98       52,300    -1,812,097     -41.07     2,883,141 FIXED EXPENSES                          12,404,342      39.34   12,525,005      19.21      -120,663     9,387,648      14.77        3,016,694



     -973,186        -46.80     312,370        7.05   -1,285,556    2,973,002       67.38   -3,946,188 NET OPERATING INCOME                     -4,679,925     -14.84   12,214,602      18.74   -16,894,527   14,529,223       22.85      -19,209,148



    1,785,060         85.85     639,775       14.43    1,145,285     1,579,533      35.80      205,527 Other                                    19,381,272      61.46    7,794,225      11.96    11,587,047    19,848,530      31.22         -467,258



   -2,758,246       -132.65    -327,405       -7.39   -2,430,841    1,393,469       31.58   -4,151,715 N.I. after Other                        -24,061,197     -76.30    4,420,377       6.78   -28,481,574   -5,319,307       -8.37      -18,741,891



   -1,826,780                  -327,405               -1,499,375    1,916,846               -3,743,626 Cash before Depreciation/Amortization   -12,883,605               4,420,377              -17,303,982    5,508,091                  -18,391,696

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                                                            Company: 1922 Skibo dba Comfort Inn Fayetteville Property: Comfort Inn Fayetteville
                                                            For Property: Comfort Inn Fayetteville
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                     Description             YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                        Var                                                                     Budget                Bud Var         Year                       Var
                                                                                                       SUMMARY

    5,456                    5,456                      0          5,456                             0 Total Rooms Available                       64,416                 64,416                        0       64,240                           176

    1,781                    2,372                   -591          2,209                        -428 Total Rooms Sold                              26,389                 40,625                 -14,236        40,522                     -14,133

 32.64%                   43.48%                 -10.83%        40.49%                      -7.84% Occupancy %                                    40.97%                63.07%                  -22.10%        63.08%                     -22.11%

   68.13                    77.89                   -9.76         78.96                      -10.83 Average Rate                                    71.32                 79.70                    -8.38         79.24                         -7.93

   22.24                    33.86                  -11.62         31.97                        -9.73 REVPAR                                         29.22                 50.26                   -21.05         49.99                      -20.77




                                                                                                       REVENUES

  121,347        98.36     184,755       98.71    -63,407       174,426         98.94        -53,078 ROOMS                                    1,881,949        98.46   3,237,733      98.81   -1,355,785      3,211,146       98.83      -1,329,197

         0        0.00            0       0.00          0             0          0.00                0 FOOD                                             0       0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00                0 BEVERAGE                                         0       0.00           0       0.00             0              0       0.00                0

    2,023         1.64       2,419        1.29       -396          1,877         1.06           146 MISCELLANEOUS                                  29,342       1.54      39,119       1.19       -9,777        37,861         1.17            -8,519



 123,370       100.00     187,173       100.00    -63,803       176,302        100.00       -52,932 TOTAL REVENUES                           1,911,290        100.00   3,276,852     100.00   -1,365,562     3,249,007       100.00     -1,337,716




                                                                                                       DEPARTMENT EXPENSES

   37,415        30.83      56,824       30.76    -19,409        57,803         33.14        -20,389 ROOMS EXPENSE                                457,523      24.31     829,949      25.63     -372,426       799,205        24.89       -341,682

         0        0.00            0       0.00          0             0          0.00                0 FOOD EXPENSE                                     0       0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00                0 BEVERAGE EXPENSE                                 0       0.00           0       0.00             0              0       0.00                0

     445         22.01        625        25.83       -180           334         17.82           111 MISCELLANEOUS EXPENSE                           5,257      17.91      10,599      27.10       -5,343        22,640        59.80        -17,383



  37,860        30.69      57,448        30.69    -19,588        58,138         32.98       -20,278 TOTAL DEPARTMENTAL EXPENSES                   462,780      24.21    840,549       25.65    -377,769       821,845         25.30       -359,065



                                                                                                       DEPARTMENTAL PROFIT

   83,932        69.17     127,931       69.24    -43,999       116,622         66.86        -32,690 ROOMS PROFIT                             1,424,426        75.69   2,407,784      74.37     -983,358      2,411,941       75.11       -987,515

         0        0.00            0       0.00          0             0          0.00                0 FOOD PROFIT                                      0       0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00                0 BEVERAGE PROFIT                                  0       0.00           0       0.00             0              0       0.00                0

    1,578        77.99       1,794       74.17       -216          1,542        82.18            35 MISCELLANEOUS PROFIT                           24,085      82.09      28,519      72.90       -4,434        15,221        40.20            8,864



  85,510        69.31     129,725        69.31    -44,215       118,165         67.02       -32,654 TOTAL DEPARTMENTAL PROFIT                1,448,511         75.79   2,436,303      74.35    -987,793      2,427,162        74.70       -978,651



   22,401        18.16      29,650       15.84     -7,249        31,551         17.90         -9,149 A & G EXPENSE                                267,232      13.98     380,326      11.61     -113,094       434,998        13.39       -167,766

    2,858         2.32       2,352        1.26       506           2,355         1.34           503 TELECOM                                        32,176       1.68      28,224       0.86        3,952        28,201         0.87            3,974

    8,288         6.72       7,292        3.90       995           7,046         4.00          1,242 SALES & MARKETING EXPENSES                    56,841       2.97      95,629       2.92      -38,789        85,188         2.62        -28,347

   25,984        21.06      22,927       12.25      3,057        30,363         17.22         -4,379 FRANCHISE FEES                               246,395      12.89     401,694      12.26     -155,300       393,486        12.11       -147,092

    5,191         4.21      13,828        7.39     -8,638        28,246         16.02        -23,056 MAINTENANCE EXPENSES                         104,287       5.46     183,772       5.61      -79,485       189,944         5.85        -85,657

    6,592         5.34       9,514        5.08     -2,922        13,499          7.66         -6,907 UTILITIES EXPENSE                            112,525       5.89     147,249       4.49      -34,725       153,262         4.72        -40,737



  71,313        57.80      85,563        45.71    -14,250       113,060         64.13       -41,746 TOTAL ADMIN EXPENSES                          819,454      42.87   1,236,895      37.75    -417,441      1,285,079        39.55       -465,625



  14,197        11.51      44,162        23.59    -29,965         5,105          2.90         9,092 HOUSE PROFIT                                  629,057      32.91   1,199,408      36.60    -570,351      1,142,083        35.15       -513,027



                                                                                                       FIXED EXPENSES

   15,220        12.34       4,679        2.50     10,541          4,408         2.50         10,812 MANAGEMENT FEES                               75,124       3.93      81,921       2.50       -6,798        81,241         2.50            -6,117

   26,563        21.53      21,958       11.73      4,604       -106,124       -60.19       132,687 FIXED EXPENSES                                311,971      16.32     304,608       9.30        7,363       194,685         5.99        117,287
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     -27,585        -22.36   17,524     9.36     -45,110   106,821   60.59   -134,407 NET OPERATING INCOME                    241,962     12.66    812,879   24.81    -570,917    866,158     26.66          -624,196



      103,980        84.28    43,344    23.16     60,636    39,933   22.65     64,047 Other                                   1,107,703    57.96   530,430   16.19      577,272   1,107,126   34.08                  577



    -131,565      -106.64    -25,819   -13.79   -105,746    66,888   37.94   -198,454 N.I. after Other                        -865,741    -45.30   282,448    8.62   -1,148,189   -240,968    -7.42          -624,773



     -84,345                 -25,819             -58,526    20,326           -104,672 Cash before Depreciation/Amortization   -299,101             282,448            -581,549    231,890                    -530,991

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                                                             Company: 1922 Skibo dba Comfort Inn Fayetteville Property: Comfort Inn Fayetteville
                                                             For Property: Comfort Inn Fayetteville
                                                             00- Master P&L-CAPSTONE
                                                             As of 12/31/2020

Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                          Description        YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                  Bud Var                                        Var                                                                     Budget                Bud Var         Year                       Var
                                                                                                         ROOMS DEPARTMENT
                                                                                                         ROOMS REVENUE

   13,827         11.39      15,343        8.30     -1,516        28,620         16.41        -14,793 Rack/ Premium                                431,313      22.92     391,923      12.10       39,390       391,218        12.18         40,095

    2,424          2.00       6,731        3.64     -4,307           109          0.06          2,315 Corporate                                     22,919       1.22     147,663       4.56     -124,744       117,729         3.67        -94,810

   76,157         62.76      61,599       33.34     14,558        49,666         28.47         26,492 Discounts - Other                            914,301      48.58     801,598      24.76      112,703       740,258        23.05        174,043

    9,302          7.67      41,346       22.38    -32,044        51,154         29.33        -41,852 Government                                   181,346       9.64   1,180,564      36.46     -999,218      1,267,592       39.47      -1,086,246

   18,127         14.94      50,384       27.27    -32,256        27,324         15.66         -9,196 Locally Negotiated Rate                      235,398      12.51     538,555      16.63     -303,157       456,421        14.21       -221,024

          0        0.00            0       0.00          0             0          0.00                 0 Allowances                                     0        0.00           0       0.00             0        1,132         0.04            -1,132



 119,838         98.76     175,402        94.94    -55,564       156,872         89.94       -37,034 Total Transient Revenue                  1,785,277         94.86   3,060,302      94.52   -1,275,025     2,974,351        92.63     -1,189,074




          0        0.00            0       0.00          0             0          0.00                 0 Total Base Revenues                            0        0.00           0       0.00             0              0       0.00                0



     483           0.40       9,352        5.06     -8,869        15,221          8.73        -14,738 Group- Corporate                              80,701       4.29     177,431       5.48      -96,730       226,605         7.06       -145,904



     483          0.40       9,352         5.06     -8,869        15,221          8.73       -14,738 Total Group Revenue                           80,701        4.29    177,431        5.48     -96,730       226,605          7.06       -145,904



    1,026          0.85            0       0.00      1,026          2,333         1.34         -1,307 Guaranteed No-Show                            15,971       0.85           0       0.00       15,971        10,190         0.32            5,781



 121,347        100.00     184,755       100.00    -63,407       174,426        100.00       -53,078 Total Rooms Revenue                      1,881,949        100.00   3,237,733     100.00   -1,355,785     3,211,146       100.00     -1,329,197



                                                                                                         ROOM STATISTICS

     170            10         166            7          4           319            14           -149 Rack/ Premium Rooms                            5,267         20       4,100         10        1,167         4,098           10            1,169

         36          2         119            5        -83             5             0                31 Corporate Rooms                              381           1       2,823          7       -2,442         2,328            6            -1,947

    1,143           64         759           32       384            637            29            506 Discounts - Other Rooms                       13,253         50       9,829         24        3,424         9,306           23            3,947

     119             7         498           21       -379           617            28           -498 Government Rooms                               2,176          8      13,735         34      -11,559        14,894           37        -12,718

     306            17         712           30       -406           438            20           -132 Locally Negotiated Corporate Rooms             3,969         15       7,495         18       -3,526         6,488           16            -2,519



   1,774           100       2,253          95       -479          2,016           91           -242 Total Transient Stats                         25,046         95      37,982         93      -12,936         37,114          92         -12,068




         0           0             0         0          0              0            0                  0 Total Crew Stats                               0          0           0          0              0              0         0                 0



          7          0         119            5       -112           193             9           -186 Group- Corporate Rooms                         1,343          5       2,643          7       -1,300         3,408            8            -2,065



         7           0         119           5       -112            193            9           -186 Total Group Stats                              1,343          5       2,643          7        -1,300         3,408           8          -2,065



   1,781           100       2,372         100       -591          2,209          100           -428 TOTAL ROOM STATISTICS                         26,389        100      40,625        100      -14,236         40,522         100         -14,133



                                                                                                         Other Room Stats

          5          0             0          0          5             3             0                 2 Comp Rooms                                    60           0           0          0            60            178          0             -118

          0          0             0          0          0             0             0                 0 House Use Rooms                                0           0           0          0             0              4          0                -4

          0          0             0          0          0             0             0                 0 Single Occupancy                               0           0           0          0             0       11,828           29        -11,828

          0          0             0          0          0             0             0                 0 Multiple Occupancy                             0           0           0          0             0        4,661           12            -4,661

         28          2             0          0         28            33             1                -5 GNS Stats                                    357           1           0          0         357              226          1              131

    2,482          139             0          0      2,482           318            14          2,164 Out of Order Rooms                            11,179         42           0          0       11,179         3,244            8            7,935

    2,582          145             0          0      2,582          2,454          111            128 # of Guests                                   36,751        139           0          0       36,751        44,103          109            -7,352
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                                                            For Property: Comfort Inn Fayetteville
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year      % / POR      Act vs LY                         Description         YTD          % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                        Var                                                                  Budget              Bud Var         Year                         Var
                                                                                                       ADR



        81.34                92.40                 -11.07          89.72                       -8.38 Rack/Premium ADR                             81.89                95.59                -13.70          95.47                           -13.58

        67.34                56.75                  10.59          21.80                       45.53 Corporate ADR                                60.16                52.30                  7.86          50.57                               9.59

            0                      0                    0             0                              0 Contract - Airline ADR                         0                   0                        0              0                               0

        66.63                81.15                 -14.52          77.97                      -11.34 Discount ADR                                 68.99                81.56                -12.57          79.55                           -10.56

         0.00                 0.00                   0.00           0.00                        0.00 Distressed Passengers ADR                      0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                              0 AARP ADR                                       0                   0                        0              0                               0

        78.17                83.00                  -4.84          82.91                       -4.74 Government ADR                               83.34                85.95                 -2.62          85.11                              -1.77

         0.00                 0.00                   0.00           0.00                        0.00 AAA ADR                                        0.00                0.00                  0.00           0.00                               0.00

        59.24                70.80                 -11.56          62.38                       -3.14 Local Negotiated ADR                         59.31                71.85                -12.54          70.35                           -11.04

         0.00                 0.00                   0.00           0.00                        0.00 Packages ADR                                   0.00                0.00                  0.00           0.00                               0.00

         0.00                 0.00                   0.00           0.00                        0.00 Wholesale/FIT ADR                              0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                              0 Internet ADR                                   0                   0                        0              0                               0

            0                      0                    0             0                              0 Tax Exampt - Transient ADR                     0                   0                        0              0                               0



       67.55                 77.84                 -10.29         77.81                      -10.26 Total Transient ADR                           71.28               80.57                  -9.29         80.14                               -8.86




         0.00                 0.00                   0.00           0.00                        0.00 Crew ADR                                       0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                              0 Contract ADR                                   0                   0                        0              0                               0




         0.00                 0.00                   0.00           0.00                        0.00 Group - SMERF ADR                              0.00                0.00                  0.00           0.00                               0.00

        69.00                78.85                  -9.85          78.87                       -9.87 Group - Corporate ADR                        60.09                67.13                 -7.04          66.49                              -6.40

            0                      0                    0             0                              0 Group - Government ADR                         0                   0                        0              0                               0

            0                      0                    0             0                              0 Group - Tour ADR                               0                   0                        0              0                               0

            0                      0                    0             0                              0 Group- Association ADR                         0                   0                        0              0                               0

            0                      0                    0             0                              0 Group - Tax Exampt ADR                         0                   0                        0              0                               0



       69.00                 78.85                  -9.85         78.87                        -9.87 Total Group ADR                              60.09               67.13                  -7.04         66.49                               -6.40

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                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                          Description        YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                     Budget                Bud Var         Year                          Var
                                                                                                            Payroll & Related Expense

        2,960         1.66            0       0.00      2,960             0          0.00          2,960 FOM/Guest Service Mgr                          8,753       0.33           0       0.00       8,753                0       0.00                  8,753

        2,725         1.53      4,222         1.78     -1,497          6,003         2.72         -3,278 FD/ Guest Service Reps                        52,091       1.97      72,313       1.78     -20,222         65,421         1.61             -13,330

             0        0.00      3,359         1.42     -3,359          3,151         1.43         -3,151 Executive Housekeeper                         23,207       0.88      40,310       0.99     -17,103         31,363         0.77               -8,156

        2,409         1.35      2,000         0.84       409           1,018         0.46          1,391 Asst Exec Housekeeper/ Inspectress             8,866       0.34      23,615       0.58     -14,749         26,127         0.64             -17,261

        6,297         3.54      8,854         3.73     -2,557          6,671         3.02           -374 Housekeepers                                  77,490       2.94     151,637       3.73     -74,147        136,328         3.36             -58,838

          528         0.30      3,181         1.34     -2,653          1,982         0.90         -1,455 Housemen                                      11,016       0.42      37,554       0.92     -26,538         30,499         0.75             -19,483

        1,765         0.99      1,921         0.81       -157          2,484         1.12           -719 Laundry                                       18,305       0.69      32,906       0.81     -14,601         31,999         0.79             -13,694

             0        0.00      1,399         0.59     -1,399          1,744         0.79         -1,744 Comp Breakfast Hostess                         4,843       0.18      23,969       0.59     -19,125         25,921         0.64             -21,078

        1,761         0.99      2,976         1.25     -1,215          2,546         1.15           -785 Night Audit                                   27,855       1.06      35,136       0.86      -7,281         33,745         0.83               -5,889

        1,948         1.09      2,654         1.12       -706          2,897         1.31           -949 Payroll Taxes                                 22,570       0.86      36,481       0.90     -13,911         36,615         0.90             -14,045

          673         0.38      2,105         0.89     -1,432           133          0.06            540 Employee Benefits                             11,303       0.43      25,260       0.62     -13,957         21,793         0.54             -10,490

        3,923         2.20        985         0.42      2,938          1,536         0.70          2,387 Vacation /PTO                                 20,754       0.79      11,820       0.29       8,934         16,762         0.41                  3,992

        2,374         1.33      3,096         1.31       -722          2,664         1.21           -290 Holiday                                        7,528       0.29      10,836       0.27      -3,308          9,510         0.23               -1,982

             0        0.00        175         0.07       -175           500          0.23           -500 Bonus/Incentive Pay                                0       0.00       2,100       0.05      -2,100          4,574         0.11               -4,574

             0        0.00            0       0.00          0             0          0.00                 0 Contract Labor- Housekeepers                    0       0.00           0       0.00             0       12,119         0.30             -12,119



      27,363         15.36     36,928        15.57     -9,565        33,329        15.09         -5,966 Total P/R & R/Benefits- Rooms                 294,581      11.16    503,937       12.40    -209,357       482,774         11.91          -188,193

                                                                                                            ROOMS DEPARTMENT
                                                                                                            OPERATING EXPENSE

             0        0.00         95         0.04        -95           125          0.06           -125 Newspapers                                       330       0.01       1,625       0.04      -1,295          1,693         0.04               -1,363

          608         0.34      5,930         2.50     -5,322          6,852         3.10         -6,245 Comp Breakfast                                29,907       1.13     101,563       2.50     -71,655         96,760         2.39             -66,852

             0        0.00        100         0.04       -100             0          0.00                 0 Comp Breakfast- Equipment                     537       0.02       1,200       0.03        -663          2,823         0.07               -2,286

             0        0.00            0       0.00          0             0          0.00                 0 Kitchen Furnishings                             0       0.00           0       0.00             0            342       0.01                  -342

          299         0.17        261         0.11         38           227          0.10                71 Laundry Supplies                            2,756       0.10       4,469       0.11      -1,713          2,871         0.07                  -115

          135         0.08      1,305         0.55     -1,170          1,522         0.69         -1,387 Linen Supplies                                 6,637       0.25      22,344       0.55     -15,706         19,396         0.48             -12,759

        2,392         1.34      2,335         0.98         57          2,335         1.06                57 Cable TV                                   26,949       1.02      28,020       0.69      -1,071         29,293         0.72               -2,344

          498         0.28        498         0.21          0           498          0.23                 0 HSIA Support                                5,603       0.21       5,977       0.15        -374          5,977         0.15                  -374

             0        0.00            0       0.00          0             0          0.00                 0 Printing & Stationary                           0       0.00           0       0.00             0             49       0.00                    -49

          807         0.45        759         0.32         48          1,108         0.50           -301 Reservations Expense                          10,436       0.40      13,000       0.32      -2,564         13,306         0.33               -2,870

          821         0.46      1,518         0.64       -697          1,597         0.72           -776 Guest Room Supplies                           14,576       0.55      26,000       0.64     -11,424         26,050         0.64             -11,474

          398         0.22        427         0.18        -29           270          0.12            129 Cleaning Supplies                              3,428       0.13       7,313       0.18      -3,884          7,192         0.18               -3,764

             0        0.00        356         0.15       -356           132          0.06           -132 Ecolab Core Supplies                           3,516       0.13       6,095       0.15      -2,579          6,429         0.16               -2,913

        3,989         2.24      5,912         2.49     -1,923          9,622         4.36         -5,633 Travel Agents Commission                      56,872       2.16     103,607       2.55     -46,735        100,204         2.47             -43,332

            62        0.03        400         0.17       -338             0          0.00                62 Uniforms                                      350       0.01       4,800       0.12      -4,450          3,676         0.09               -3,326

             0        0.00            0       0.00          0           185          0.08           -185 Walk Expense                                       0       0.00           0       0.00             0            371       0.01                  -371

            43        0.02            0       0.00         43             0          0.00                43 COVID 19 Supplies                           1,045       0.04           0       0.00       1,045                0       0.00                  1,045



      10,052          5.64     19,896         8.39     -9,844        24,474        11.08        -14,422 Total Operating - Rooms                       162,942       6.17    326,012        8.02    -163,070       316,431          7.81          -153,489



      37,415         21.01     56,824        23.96    -19,409        57,803        26.17        -20,389 Total Expenses- Rooms                         457,523      17.34    829,949       20.43    -372,426       799,205         19.72          -341,682



      83,932         47.13    127,931        53.93    -43,999       116,622        52.79        -32,690 Net Income- Rooms                        1,424,426         53.98   2,407,784      59.27    -983,358      2,411,941        59.52          -987,515



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                                                               For Property: Comfort Inn Fayetteville
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                         Description         YTD       % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                Budget              Bud Var         Year                          Var
                                                                                                          Food & Beverage
                                                                                                          Summary


            0         0.00            0       0.00         0             0          0.00                0 Total Food Sales                             0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00                0 Total Beverage Sales                         0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00                0 Total Banquet A/V                            0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00                0 Total Banquet Misc                           0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00                0 Total F & B Sales                            0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00                0 Food Cost                                    0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00                0 Beverage Costs                               0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00                0 Banquet A/V Costs                            0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00                0 Total F & B Costs                            0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00                0 Food Wages                                   0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00                0 Beverage Wages                               0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00                0 Total F & B Wages                            0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00                0 F & B- P T & E B                             0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0          0.00                0 TTL P/R and Benefits                         0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0          0.00                0 Food Operating Expenses                      0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00                0 Beverage Operating Expenses                  0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00                0 Total F & B Operating Expenses               0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00                0 Net F & B Income                             0       0.00        0       0.00             0              0       0.00                  0




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                                                              For Property: Comfort Inn Fayetteville
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                       Description           YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                               Budget             Bud Var         Year                         Var
                                                                                                         Food Department




            0         0.00            0      0.00         0             0         0.00                 0 Total Restaurant                             0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Bar Food                               0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Bistro                                 0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Garden Grill                           0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Other Food Revenue                     0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Room Service                           0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Banquets                               0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Catering                               0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00                 0 Net Food Revenue                             0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Banquets Other                         0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00                 0 Total Food Revenues                          0      0.00        0      0.00             0              0      0.00                  0

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                                                              For Property: Comfort Inn Fayetteville
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                     Description             YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                               Budget             Bud Var         Year                         Var
                                                                                                         Cost of Goods Sold

            0         0.00            0      0.00         0             0         0.00                 0 Total Cost of Good Sold                      0      0.00        0      0.00             0              0      0.00                  0


                                                                                                         Food Payroll

            0         0.00            0      0.00         0             0         0.00                 0 Total Food Wages                             0      0.00        0      0.00             0              0      0.00                  0


                                                                                                         Operating Expenses



            0         0.00            0      0.00         0             0         0.00                 0 Total Operating Expense- Food                0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00                 0 Total Food Costs                             0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00                 0 N.I.- Food Department                        0      0.00        0      0.00             0              0      0.00                  0

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                                                              For Property: Comfort Inn Fayetteville
                                                              00- Master P&L-CAPSTONE
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   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                     Description             YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                               Budget             Bud Var         Year                         Var
                                                                                                         Beverage Department




            0         0.00            0      0.00         0             0         0.00                 0 Total Restaurant Beverage                    0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00                 0 Total Garden Grill Beverage                  0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Room Service Bev                       0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Bar Beverage                           0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Banquet Beverage                       0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00                 0 Total Catering Beverage                      0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00                 0 Total Beverage Revenue                       0      0.00        0      0.00             0              0      0.00                  0

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                                                               For Property: Comfort Inn Fayetteville
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                      Description            YTD       % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                Budget              Bud Var         Year                          Var
                                                                                                          Cost of Goods Sold



            0         0.00            0       0.00         0             0          0.00                0 Total COGS- Beverage                         0       0.00        0       0.00             0              0       0.00                  0


                                                                                                          Beverage Payroll

            0         0.00            0      0.00          0             0         0.00                 0 Total Beverage Payroll                       0      0.00         0      0.00              0              0      0.00                   0


                                                                                                          Operating Expenses- Beverage



            0         0.00            0      0.00          0             0         0.00                 0 Total Operating- Beverage                    0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00                 0 Total Beverage Costs                         0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00                 0 Net Income- Beverage                         0      0.00         0      0.00              0              0      0.00                   0

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                                                              For Property: Comfort Inn Fayetteville
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                   Description               YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                               Budget             Bud Var         Year                         Var
                                                                                                         FOOD STATS




            0         0.00            0      0.00         0             0         0.00                 0 Total Food Covers                            0      0.00        0      0.00             0              0      0.00                   0

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                                                               For Property: Comfort Inn Fayetteville
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                      Description            YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                           TELECOM
                                                                                                           TELEPHONE REVENUES



            0         0.00            0      0.00          0             0         0.00                 0 Total Phone Revenues                            0       0.00         0       0.00              0              0      0.00                      0



                                                                                                           COS- Communication

          272         0.22        195         0.10        77           243          0.14                29 COS-Local                                   3,118       0.16     2,340       0.07        778           2,421         0.07                   697

          481         0.00        486         0.00        -5           487          0.00                -6 COS-Long Distance                           5,778       0.00     5,832       0.00         -54          5,863         0.00                   -85

        1,905         0.00      1,571         0.00       334          1,525         0.00           380 COS-HSIA ISP                                   21,199       0.00    18,852       0.00       2,347         18,718         0.00               2,481



       2,658          0.00      2,252        0.00        406         2,255         0.00            403 Total COS- Comm                               30,095       0.00    27,024       0.00       3,071         27,001         0.00                3,094



      -2,658          0.00     -2,252        0.00       -406        -2,255         0.00           -403 Gross Margin- Comm                            -30,095      0.00    -27,024      0.00       -3,071        -27,001        0.00              -3,094




                                                                                                           Operating Expenses

          200         0.00        100         0.00       100           100          0.00           100 Equipment Cost                                  1,757       0.00     1,200       0.00        557           1,200         0.00                   557

            0         0.00            0       0.00         0             0          0.00                 0 Equipment Maintenance                        324        0.00         0       0.00        324                 0       0.00                   324



         200          0.00       100         0.00        100           100         0.00            100 Total Operating - Comm                         2,081       0.00     1,200       0.00         881          1,200         0.00                    881



       2,858          0.00      2,352        0.00        506         2,355         0.00            503 N.I.- Comm Dept                               32,176       0.00    28,224       0.00       3,952         28,201         0.00                3,974



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                                                               Company: 1922 Skibo dba Comfort Inn Fayetteville Property: Comfort Inn Fayetteville
                                                               For Property: Comfort Inn Fayetteville
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                      Description            YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                          MISCELLANEOUS DEPARTMENT
                                                                                                          MISCELLANEOUS REVENUES

            0         0.00         24         0.98       -24             0          0.00                0 Laundry/Valet                                   0       0.00      406        1.04        -406               80       0.21                    -80

            0         0.00            0       0.00         0             0          0.00                0 Movie Income                                    0       0.00        0        0.00             0        1,466         3.88               -1,466

            0         0.00            0       0.00         0          1,016        54.15         -1,016 Gift Shop Sales                                   0       0.00        0        0.00             0       19,558        51.77            -19,558

            0         0.00        200         8.27      -200           175          9.30           -175 Vending                                       1,045       3.56     2,400       6.14      -1,355          1,994         5.28                   -949

          343        16.95        783        32.36      -440           686         36.55           -343 Pet Fees                                     11,290      38.48    13,406      34.27      -2,117         10,876        28.79                   414

            0         0.00            0       0.00         0             0          0.00                0 Rollaways                                      10       0.03        0        0.00            10            134       0.35                   -124

            0         0.00            0       0.00         0             0          0.00                0 Miscellaneous                                 284       0.97        0        0.00        284               773       2.05                   -490

          840        41.54        250        10.34       590             0          0.00           840 Smoking Fee                                    3,191      10.88     3,000       7.67        191           2,900         7.68                   291

          840        41.51      1,162        48.05      -323             0          0.00           840 Market Sales                                  13,522      46.09    19,906      50.89      -6,384                0       0.00             13,522



       2,023       100.00       2,419       100.00      -396         1,877        100.00           146 Total Miscellaneous Revenues                  29,342     100.00   39,119      100.00      -9,777        37,781        100.00             -8,439



                                                                                                          COSales- Miscellaneous

            0         0.00         24       100.00       -24             0          0.00                0 COS-Laundry/Valet                               0       0.00      406      100.00        -406                0       0.00                     0

            0         0.00            0       0.00         0             0          0.00                0 COS-Movies                                      0       0.00        0        0.00             0        6,813        18.03               -6,813

            0         0.00            0       0.00         0           334         32.91           -334 COS-Gift Shop                                     0       0.00        0        0.00             0       15,826        80.92            -15,826

            0         0.00         20         0.83       -20             0          0.00                0 COS-Vending Cost                                0       0.00      240        0.61        -240                0       0.00                     0

          445        53.03        581        50.00      -136             0          0.00           445 COS- Market                                    5,257      38.87     9,953      50.00      -4,697                0       0.00               5,257



         445         22.01       625         25.83      -180           334         17.82           111 Total COS- Miscellaneous                       5,257      17.91   10,599       27.10      -5,343        22,640         59.92            -17,383



            0         0.00            0       0.00         0             0          0.00                0 Banquet Room Rental                             0       0.00        0        0.00             0             80     100.00                    -80

            0         0.00            0       0.00         0             0          0.00                0 Total Meeting Room Revenues                    0        0.00        0        0.00             0            80      100.00                   -80


                                                                                                          Cost of Sales- Meeting Room



       1,578         77.99      1,794        74.17      -216         1,542         82.18            35 Total Miscellaneous Profit                    24,085      82.09   28,519       72.90      -4,434        15,221         40.29               8,864

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                                                                For Property: Comfort Inn Fayetteville
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                         Description         YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                            ADMIN & GENERAL DEPARTMENT
                                                                                                            ADMIN & GENERAL

                                                                                                            P/R & Related Benefits- A&G

        4,926         3.99      5,949         3.18     -1,023          4,857         2.76                69 General Manager                            41,135       2.15    68,700       2.10     -27,565         51,922         1.60            -10,788

             0        0.00      4,046         2.16     -4,046          3,336         1.89         -3,336 Assistant General Manager                     23,975       1.25    47,771       1.46     -23,796         52,802         1.63            -28,827

        2,342         1.90      2,287         1.22        55           2,909         1.65           -567 Security                                      28,333       1.48    27,444       0.84         889         28,577         0.88                   -243

          656         0.53      1,032         0.55       -376           949          0.54           -293 Payroll Taxes                                  8,348       0.44    13,139       0.40      -4,791         11,957         0.37               -3,609

          608         0.49        928         0.50       -320           554          0.31                54 Employee Benefits                          11,314       0.59    11,136       0.34         178         12,668         0.39               -1,354

          200         0.16            0       0.00       200              0          0.00           200 Vacation /PTO                                   4,311       0.23         0       0.00       4,311          4,601         0.14                   -290

             0        0.00            0       0.00          0           877          0.50           -877 Holiday                                        1,209       0.06         0       0.00       1,209          2,339         0.07               -1,130

             0        0.00            0       0.00          0             0          0.00                 0 Bonus/Incentive Pay                         2,375       0.12    12,500       0.38     -10,125          4,363         0.13               -1,988



       8,732          7.08     14,242         7.61     -5,510        13,483         7.65         -4,751 Total P/R & R/B- A&G                          121,000       6.33   180,690       5.51     -59,690       169,229          5.21            -48,230


                                                                                                            Operating Expenses- A&G

          456         0.37      2,200         1.18     -1,744          1,740         0.99         -1,284 Employee Relations                             1,768       0.09     6,325       0.19      -4,557          5,300         0.16               -3,532

        4,000         3.24      2,000         1.07      2,000          2,000         1.13          2,000 Accounting Fees                               26,000       1.36    24,000       0.73       2,000         24,000         0.74               2,000

        1,645         1.33        778         0.42       867           1,441         0.82           205 Data Processing                                22,236       1.16    11,727       0.36      10,509         11,262         0.35             10,974

          366         0.30        427         0.23        -61           637          0.36           -271 Office Supplies                                2,807       0.15     7,313       0.22      -4,505          9,322         0.29               -6,515

            88        0.07         44         0.02        44             44          0.02                44 Muzak                                         553       0.03       528       0.02            25            569       0.02                    -16

             0        0.00        475         0.25       -475            28          0.02            -28 Travel & Lodging                                 386       0.02     5,700       0.17      -5,314         15,752         0.48            -15,366

             0        0.00         50         0.03        -50             0          0.00                 0 Meals and Entertainment                         0       0.00       600       0.02        -600          1,500         0.05               -1,500

             0        0.00         75         0.04        -75             0          0.00                 0 Telephone                                      38       0.00       900       0.03        -862              275       0.01                   -237

             0        0.00        290         0.15       -290             0          0.00                 0 Licenses and Permits                        1,557       0.08     2,183       0.07        -627          1,569         0.05                    -12

            67        0.05        119         0.06        -52           317          0.18           -251 Postage                                          566       0.03     2,031       0.06      -1,465          1,575         0.05               -1,009

             0        0.00        100         0.05       -100             0          0.00                 0 Recruitment                                 1,258       0.07     1,850       0.06        -592          1,465         0.05                   -207

             0        0.00        180         0.10       -180           196          0.11           -196 Employment Screening/ Drug Testing             1,468       0.08     2,160       0.07        -692          2,340         0.07                   -872

             0        0.00        250         0.13       -250           202          0.11           -202 Training                                         387       0.02     4,150       0.13      -3,763          2,035         0.06               -1,648

             0        0.00            0       0.00          0             0          0.00                 0 Bad Debt                                        0       0.00         0       0.00             0       50,464         1.55            -50,464

             0        0.00            0       0.00          0             0          0.00                 0 Loss & Damage                                   0       0.00         0       0.00             0        3,890         0.12               -3,890

          150         0.12        165         0.09        -15           150          0.09                 0 Dues/Subscriptions                          3,149       0.16     2,971       0.09         178          4,741         0.15               -1,592

             0        0.00            0       0.00          0             0          0.00                 0 Professional Fees                               0       0.00         0       0.00             0             28       0.00                    -28

        3,670         2.97      4,904         2.62     -1,234          7,228         4.10         -3,559 Credit Card Commissions                       47,854       2.50    85,854       2.62     -38,000         90,562         2.79            -42,709

             3        0.00            0       0.00         3            825          0.47           -822 Cash Over/Short                                 -942      -0.05         0       0.00        -942         -5,542        -0.17               4,600

        1,226         0.99            0       0.00      1,226             0          0.00          1,226 Moving Expenses                                1,226       0.06         0       0.00       1,226                0       0.00               1,226

             0        0.00        181         0.10       -181           215          0.12           -215 Equipment Rental                               2,643       0.14     2,204       0.07         439          1,845         0.06                   798

          468         0.38        560         0.30        -92           858          0.49           -390 Payroll Services                               5,745       0.30     7,070       0.22      -1,325          8,752         0.27               -3,007

          540         0.44      1,472         0.79       -931           570          0.32            -30 Bank Charges                                  13,856       0.72    17,663       0.54      -3,807         16,587         0.51               -2,731

             0        0.00            0       0.00          0             0          0.00                 0 Chargebacks                                 4,468       0.23         0       0.00       4,468          3,421         0.11               1,047

          990         0.80      1,139         0.61       -149          1,615         0.92           -625 Workers Comp Insurance                         9,209       0.48    14,408       0.44      -5,199         14,055         0.43               -4,846



      13,669         11.08     15,408         8.23     -1,739        18,067        10.25         -4,398 Total Operating- A&G                          146,232       7.65   199,637       6.09     -53,404       265,769          8.18          -119,537



      22,401         18.16     29,650        15.84     -7,249        31,551        17.90         -9,149 Total Expenses- A&G                           267,232      13.98   380,326      11.61    -113,094       434,998         13.39          -167,766

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                                                                For Property: Comfort Inn Fayetteville
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                         Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                            SALES DEPARTMENT
                                                                                                            SALES

                                                                                                            P/R & R/B

             0        0.00      3,843         2.05     -3,843          3,000         1.70         -3,000 Director of Sales                            15,096       0.79    44,925       1.37     -29,829         39,682         1.22            -24,586

        3,385         2.74            0       0.00      3,385             0          0.00          3,385 Sales Manager                                 3,403       0.18        0        0.00       3,403               67       0.00               3,336

          375         0.30        961         0.51       -586           687          0.39           -312 Revenue Management                            5,722       0.30    11,532       0.35      -5,810          8,572         0.26               -2,849

             0        0.00        172         0.09       -172             0          0.00                 0 E Commerce Management                        516       0.03     2,066       0.06      -1,549                0       0.00                   516

          294         0.24        382         0.20        -88           253          0.14                41 Payroll Taxes                              1,792       0.09     4,789       0.15      -2,997          3,335         0.10               -1,543

            -4        0.00        992         0.53       -996           607          0.34           -611 Employee Benefits                             4,691       0.25    11,904       0.36      -7,213         11,244         0.35               -6,553

          357         0.29            0       0.00       357              0          0.00           357 Vacation / PTO                                 2,378       0.12        0        0.00       2,378          1,512         0.05                   866

          308         0.25            0       0.00       308            336          0.19            -28 Holiday                                         476       0.02        0        0.00        476           1,170         0.04                   -694

             0        0.00            0       0.00          0             0          0.00                 0 Bonus/Incentive Pay                        1,150       0.06     4,400       0.13      -3,250          3,945         0.12               -2,795



       4,714          3.82      6,350        3.39      -1,636         4,884         2.77           -170 Total P/R & R/B- Sales                        35,225      1.84    79,615       2.43      -44,391        69,526         2.14             -34,302


                                                                                                            Operating Expenses- Sales

        1,195         0.97            0       0.00      1,195             0          0.00          1,195 Revenue Mgmt Fee                              7,170       0.38        0        0.00       7,170                0       0.00               7,170

             0        0.00            0       0.00          0            11          0.01            -11 Printing & Stationary                             0       0.00      165        0.01        -165              125       0.00                   -125

            23        0.02         10         0.01        13              0          0.00                23 Office Supplies                               23       0.00      120        0.00         -97               37       0.00                    -15

             0        0.00         50         0.03        -50           154          0.09           -154 Travel & Lodging                                223       0.01     2,400       0.07      -2,177          2,211         0.07               -1,988

             0        0.00         20         0.01        -20             0          0.00                 0 Meals & Entertainment                         37       0.00      240        0.01        -203              243       0.01                   -206

             0        0.00            0       0.00          0             8          0.00                -8 Promotions                                     0       0.00      850        0.03        -850              592       0.02                   -592

             0        0.00         50         0.03        -50            50          0.03            -50 Telephone                                       100       0.01      600        0.02        -500              600       0.02                   -500

             0        0.00            0       0.00          0             0          0.00                 0 Postage                                        0       0.00       50        0.00         -50                0       0.00                     0

             0        0.00            0       0.00          0             0          0.00                 0 Sales Training                               212       0.01      250        0.01         -38               50       0.00                   162

          132         0.11        462         0.25       -330           418          0.24           -286 Dues & Subscriptions                          2,779       0.15     5,639       0.17      -2,860          3,047         0.09                   -268

             0        0.00            0       0.00          0             0          0.00                 0 Trade Show                                     0       0.00      150        0.00        -150              804       0.02                   -804

          900         0.73            0       0.00       900            900          0.51                 0 Outdoor Advertising                          900       0.05      900        0.03             0        1,420         0.04                   -520

          147         0.12        200         0.11        -53           230          0.13            -83 e Commerce Costs                              1,309       0.07     2,200       0.07        -891          2,664         0.08               -1,355

        1,177         0.95            0       0.00      1,177           393          0.22           784 Brand Paid Search                              7,763       0.41        0        0.00       7,763          3,210         0.10               4,554

             0        0.00        150         0.08       -150             0          0.00                 0 Internet Advertising                         250       0.01      900        0.03        -650                0       0.00                   250

             0        0.00            0       0.00          0             0          0.00                 0 Magazine Advertising                         850       0.04      850        0.03             0              0       0.00                   850

             0        0.00            0       0.00          0             0          0.00                 0 Program Costs                                  0       0.00        0        0.00             0            250       0.01                -250

             0        0.00            0       0.00          0             0          0.00                 0 Collateral                                     0       0.00      700        0.02        -700              409       0.01                   -409



       3,574          2.90       942         0.50      2,632          2,162         1.23          1,412 Total Operating- Sales                        21,616      1.13    16,014       0.49       5,602         15,661         0.48                5,955



       8,288          6.72      7,292        3.90        995          7,046         4.00          1,242 Total Expenses-Sales                          56,841      2.97    95,629       2.92      -38,789        85,188         2.62             -28,347

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                                                     Bud Var                                        Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                            MAINTENANCE DEPARTMENT
                                                                                                            REPAIRS & MAINTENANCE
                                                                                                            P/R & Related Expenses- Maintenance

             0        0.00      4,199         1.77     -4,199          4,088         1.85         -4,088 Chief Engineer                                10,109        0.38    48,496       1.19     -38,387         26,627         0.66            -16,518

        3,520         1.98      4,241         1.79       -721          4,282         1.94           -762 General Maintenance                           35,443        1.34    50,070       1.23     -14,627         44,373         1.10               -8,930

          320         0.18        506         0.21       -186           806          0.37           -486 Payroll Taxes                                  4,171        0.16     5,936       0.15      -1,765          6,247         0.15               -2,075

             0        0.00         94         0.04        -94           383          0.17           -383 Employee Benefits                                215        0.01     1,128       0.03        -913          1,320         0.03               -1,105

             0        0.00            0       0.00          0           432          0.20           -432 Holiday                                          216        0.01         0       0.00        216           1,254         0.03               -1,038

             0        0.00            0       0.00          0             0          0.00                 0 Vacation /PTO                                 654        0.02         0       0.00        654           1,004         0.02                   -350

             0        0.00            0       0.00          0             0          0.00                 0 Bonus/Incentive Pay                             0        0.00       375       0.01        -375                0       0.00                     0

             0        0.00            0       0.00          0             0          0.00                 0 Contract Labor                                931        0.04         0       0.00        931                 0       0.00                   931



       3,841          2.16      9,040        3.81      -5,200         9,992         4.52         -6,151 Total P/R & Related Expenses- Maintenance      51,739       1.96    106,005      2.61      -54,266        80,824         1.99             -29,085


                                                                                                            Operating Expenses- R & M

             0        0.00        119         0.05       -119             0          0.00                 0 Laundry Equipment                           1,305        0.05     2,031       0.05        -727          3,223         0.08               -1,918

            62        0.03        427         0.18       -365           270          0.12           -209 Building Maintenance                           7,067        0.27     7,313       0.18        -246          7,940         0.20                   -874

             0        0.00            0       0.00          0             0          0.00                 0 Office Equipment                                0        0.00         0       0.00             0             24       0.00                    -24

             0        0.00        119         0.05       -119           302          0.14           -302 Light Bulbs                                      600        0.02     2,031       0.05      -1,431          1,454         0.04                   -854

            35        0.02        237         0.10       -202          4,378         1.98         -4,343 Electrical & Mechanical                        5,151        0.20     4,063       0.10       1,089          8,629         0.21               -3,478

             0        0.00        356         0.15       -356             0          0.00                 0 HVAC                                          230        0.01     6,094       0.15      -5,864          6,335         0.16               -6,105

             0        0.00        285         0.12       -285           170          0.08           -170 Plumbing & Boiler                              8,292        0.31     4,875       0.12       3,417          6,397         0.16               1,896

             0        0.00        100         0.04       -100             0          0.00                 0 Pool                                        1,058        0.04     4,580       0.11      -3,522          3,947         0.10               -2,889

          528         0.30        515         0.22        13            959          0.43           -431 Grounds & Landscaping                          3,837        0.15     8,650       0.21      -4,813         10,582         0.26               -6,745

             0        0.00        119         0.05       -119           176          0.08           -176 Signage                                            0        0.00     2,031       0.05      -2,031              975       0.02                   -975

             0        0.00        190         0.08       -190          -478         -0.22           478 Furniture & Fixtures                              -965      -0.04     3,250       0.08      -4,215          1,820         0.04               -2,785

             0        0.00        119         0.05       -119           382          0.17           -382 Painting                                       1,074        0.04     2,031       0.05        -957          2,016         0.05                   -942

             0        0.00        150         0.06       -150          1,677         0.76         -1,677 Carpet & Floor                                   115        0.00     5,250       0.13      -5,135          6,235         0.15               -6,120

             0        0.00         30         0.01        -30             0          0.00                 0 Telephone                                       0        0.00       360       0.01        -360                0       0.00                     0

             0        0.00         75         0.03        -75             0          0.00                 0 Kitchen Equipment                               0        0.00       900       0.02        -900              608       0.02                   -608

             0        0.00        332         0.14       -332           904          0.41           -904 Locks & Keys                                   1,265        0.05     5,688       0.14      -4,422          7,967         0.20               -6,701

             0        0.00         71         0.03        -71             0          0.00                 0 Radio & TV                                      0        0.00     1,219       0.03      -1,219          1,537         0.04               -1,537

          268         0.15        900         0.38       -632           247          0.11                21 Exterminating                              11,981        0.45     6,550       0.16       5,431         17,917         0.44               -5,936

             0        0.00        200         0.08       -200            50          0.02            -50 License & Permits                                  0        0.00       200       0.00        -200              390       0.01                   -390

             0        0.00            0       0.00          0             0          0.00                 0 Maintenance Contracts                           0        0.00         0       0.00             0        1,659         0.04               -1,659

             0        0.00            0       0.00          0             0          0.00                 0 Equipment Rental                                0        0.00         0       0.00             0            172       0.00                -172

             0        0.00            0       0.00          0             0          0.00                 0 Storage                                         0        0.00         0       0.00             0            297       0.01                -297

          457         0.26         50         0.02       407           6,869         3.11         -6,412 Fire & Safety                                  4,608        0.17     5,900       0.15      -1,292         10,775         0.27               -6,167

             0        0.00        396         0.17       -396          2,348         1.06         -2,348 Elevator                                       6,929        0.26     4,751       0.12       2,177          8,222         0.20               -1,293



       1,350          0.76      4,788        2.02      -3,438        18,255         8.26        -16,904 Total Operating - R & M                        52,547       1.99     77,766      1.91      -25,219       109,120         2.69             -56,572



       5,191          2.91     13,828        5.83      -8,638        28,246        12.79        -23,056 Total Expenses- R & M                         104,287       3.95    183,772      4.52      -79,485       189,944         4.69             -85,657

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                                                              For Property: Comfort Inn Fayetteville
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year      % / POR      Act vs LY                    Description              YTD           % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                        Var                                                                    Budget               Bud Var       Year                        Var
                                                                                                         UTILITIES DEPARTMENT
                                                                                                         UTILITIES EXPENSE

        3,226         1.81      5,100       2.15     -1,874          6,999         3.17         -3,772 Electricity                                   61,938       2.35    85,613       2.11     -23,675       86,740       2.14            -24,802

          606         0.34        498       0.21       108            592          0.27                14 Gas                                         5,606       0.21     7,764       0.19      -2,158        7,728       0.19               -2,122

        2,385         1.34      3,350       1.41       -965          5,431         2.46         -3,046 Water & Sewer                                 40,495       1.53    47,080       1.16      -6,585       52,000       1.28            -11,506

          375         0.21        566       0.24       -191           478          0.22           -103 Waste Removal                                  4,486       0.17     6,792       0.17      -2,306        6,794       0.17               -2,308



       6,592          3.70      9,514      4.01      -2,922        13,499         6.11         -6,907 Total Expenses- Utilities                     112,525      4.26    147,249      3.62      -34,725     153,262       3.78             -40,737

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                                                                For Property: Comfort Inn Fayetteville
                                                                00- Master P&L-CAPSTONE
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   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                        Description          YTD           % / POR      YTD     % / POR    Act vs        YTD Last     % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                    Budget               Bud Var         Year                        Var
                                                                                                           FRANCHISE DEPARTMENT
                                                                                                           FRANCHISE FEES

        8,044         6.63      10,439        5.65     -2,395        14,665          8.41         -6,621 Franchise Fees/ Royalties                    109,339       5.81   182,932       5.65     -73,593        179,541       5.59            -70,201

        5,482         4.52       7,113        3.85     -1,631          9,993         5.73         -4,511 Advertising                                   74,506       3.96   124,653       3.85     -50,147         86,855       2.70            -12,349

            0         0.00            0       0.00         0              0          0.00                0 Reservations                                     0       0.00         0       0.00             0       35,863       1.12            -35,863

        4,513         3.72       4,008        2.17       505           4,706         2.70           -193 Frequent Traveler                             50,867       2.70    70,150       2.17     -19,283         70,229       2.19            -19,362

            0         0.00            0       0.00         0              0          0.00                0 Brand Guest Fees                                 0       0.00         0       0.00             0        1,104       0.03               -1,104

        7,945         6.55       1,367        0.74      6,578          1,000         0.57          6,945 Other Franchise Cost                          11,683       0.62    23,959       0.74     -12,277         19,894       0.62               -8,212



      25,984         21.41     22,927        12.41     3,057         30,363        17.41         -4,379 Total Franchise Fees Expense                  246,395      13.09   401,694      12.41    -155,300       393,486       12.25          -147,092

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                                                                For Property: Comfort Inn Fayetteville
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                   Description               YTD          % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                   Budget               Bud Var       Year                          Var
                                                                                                          MANAGEMENT FEES
        3,084         2.50      4,679         2.50     -1,595          4,408         2.50         -1,324 Management Fees                              47,783       2.50    81,921       2.50     -34,138       81,241         2.50            -33,458

       12,136         9.84            0       0.00     12,136             0          0.00         12,136 Management Fees- Owner                       27,341       1.43        0        0.00      27,341              0       0.00             27,341



      15,220         12.34      4,679        2.50     10,541          4,408         2.50         10,812 Total Management Fees Expense                 75,124      3.93    81,921       2.50       -6,798      81,241         2.50              -6,117



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                                                              00- Master P&L-CAPSTONE
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   Actual       % / POR      Budget     % / POR    Act vs     Last Year      % / POR      Act vs LY                      Description            YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                   Bud Var                                        Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                        FIXED EXPENSES
       11,406         9.25      7,487       4.00      3,919       -143,637       -81.47       155,044 FF & E Reserve                                136,876       7.16   131,074       4.00       5,802                0       0.00            136,876

        8,006         6.49      8,006       4.28         0           7,902         4.48            104 Real Estate Tax                               96,068       5.03    96,068       2.93             0       95,148         2.93                   920

          639         0.52        639       0.34         0         24,047         13.64        -23,408 Personal Property Tax                          7,662       0.40     7,662       0.23             0       30,988         0.95            -23,325

        6,512         5.28      5,827       3.11       685           5,564         3.16            948 Insurance                                     71,364       3.73    69,804       2.13       1,560         68,549         2.11               2,816



      26,563         21.53     21,958      11.73     4,604       -106,124        -60.19       132,687 TOTAL FIXED EXPENSES                          311,971      16.32   304,608      9.30       7,363        194,685         5.99            117,287

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                                                                For Property: Comfort Inn Fayetteville
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                          Description        YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                            TOTAL OTHER
            0         0.00            0       0.00         0            350          0.20           -350 Owners Expense                                18,205       0.95         0       0.00      18,205         16,151         0.50               2,054

       43,762        35.47            0       0.00     43,762        -52,163       -29.59         95,925 Depreciation                                 525,144      27.48         0       0.00     525,144        429,219        13.21             95,925

        3,458         2.80            0       0.00      3,458          5,601         3.18         -2,143 Amortization Expense                          41,496       2.17         0       0.00      41,496         43,639         1.34               -2,143

       41,472        33.62      41,472       22.16         0         41,473         23.52                -1 Interest Expense                          497,052      26.01   497,662      15.19        -609        500,943        15.42               -3,890

            0         0.00            0       0.00         0           4,329         2.46         -4,329 Insurance Claim Proceeds                          0        0.00         0       0.00             0              0       0.00                     0

       15,288        12.39       1,872        1.00     13,416          1,763         1.00         13,525 Asset Management Fee                          19,113       1.00    32,769       1.00     -13,656         32,496         1.00            -13,383

            0         0.00            0       0.00         0              0          0.00                0 Uninsured Loss                                  0        0.00         0       0.00             0        8,726         0.27               -8,726

            0         0.00            0       0.00         0         -37,372       -21.20         37,372 Extraordinary Expenses                         6,692       0.35         0       0.00       6,692                0       0.00               6,692

            0         0.00            0       0.00         0            290          0.16           -290 GB 1 YE AJE                                       0        0.00         0       0.00             0            290       0.01                   -290

            0         0.00            0       0.00         0         75,663        42.92         -75,663 GB- 2 R&M/Capex AJE                               0        0.00         0       0.00             0       75,663         2.33            -75,663



     103,980         84.28     43,344        23.16    60,636         39,933        22.65         64,047 Total Other                              1,107,703         57.96   530,430      16.19    577,272       1,107,126        34.08                   577

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                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                      Description            YTD       % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                Budget              Bud Var         Year                          Var
                                                                                                          House Laundry Dept




            0         0.00            0      0.00          0             0         0.00                 0 Total P/R & Benefits- Ldy                    0      0.00         0      0.00              0              0      0.00                    0


                                                                                                          Operating Expenses




            0         0.00            0      0.00          0             0         0.00                 0 Total Operating Expenses- Ldy                0      0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0          0.00                0 Total Laundry Expenses                       0       0.00        0       0.00             0              0       0.00                   0



                                                                                                          Allocation




            0         0.00            0      0.00          0             0         0.00                 0 Total Allocation                             0      0.00         0      0.00              0              0      0.00                    0



            0                         0                    0             0                              0 Total Lndry Dept                             0                   0                        0              0                              0



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                                                           Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                           For Property: CY Chicago St Charles
                                                           00- Master P&L-CAPSTONE
                                                           As of 12/31/2020

Actual       % / POR     Budget      % / POR    Act vs     Last Year      % / POR       Act vs LY                    Description           YTD             % / POR         YTD     % / POR    Act vs        YTD Last      % / POR    Act vs LY
                                                Bud Var                                          Var                                                                    Budget                Bud Var         Year                      Var
                                                                                                       SUMMARY

    3,751                    3,751                     0         3,751                              0 Total Rooms Available                      44,286                   44,286                        0       44,165                         121

     895                     1,596                  -701         1,879                           -984 Total Rooms Sold                           15,431                   28,293                 -12,862        27,439                    -12,008

 23.86%                   42.55%                -18.69%        50.09%                     -26.23% Occupancy %                                   34.84%                  63.89%                  -29.04%        62.13%                    -27.28%

   77.25                   104.54                 -27.29        106.71                      -29.46 Average Rate                                   93.79                  119.34                   -25.54        117.36                     -23.56

   18.43                    44.48                 -26.05         53.45                      -35.02 REVPAR                                         32.68                   76.24                   -43.56         72.91                     -40.23




                                                                                                       REVENUES

   69,136        96.32     166,841      90.01    -97,705       200,502         93.65      -131,365 ROOMS                                       1,447,347      95.82    3,376,447      91.56   -1,929,101      3,220,137      92.12      -1,772,790

     -200        -0.28      11,772       6.35    -11,972        10,589           4.95      -10,789 FOOD                                          26,290         1.74     194,658       5.28     -168,368       183,121        5.24       -156,831

         0        0.00       3,703       2.00     -3,703             0           0.00               0 BEVERAGE                                        0         0.00      65,640       1.78      -65,640        42,524        1.22        -42,524

    2,838         3.95       3,036       1.64       -198         2,997           1.40            -159 MISCELLANEOUS                              36,791         2.44      50,960       1.38      -14,169        49,877        1.43        -13,086



  71,774       100.00     185,352      100.00   -113,578      214,088         100.00      -142,314 TOTAL REVENUES                          1,510,427         100.00    3,687,705     100.00   -2,177,277     3,495,659      100.00     -1,985,232




                                                                                                       DEPARTMENT EXPENSES

   24,416        35.32      47,635      28.55    -23,219        52,040         25.95       -27,623 ROOMS EXPENSE                                361,841       25.00      728,630      21.58     -366,789       715,195       22.21       -353,354

      -11         5.33      19,346     164.34    -19,356        23,313        220.16       -23,323 FOOD EXPENSE                                  53,139      202.13      234,619     120.53     -181,480       225,856      123.34       -172,718

         0        0.00       1,037      28.00     -1,037            60           0.00             -60 BEVERAGE EXPENSE                                0         0.00      20,379      31.05      -20,379        13,741       32.31        -13,741

     953         33.58       1,092      35.98       -139         1,834         61.18             -880 MISCELLANEOUS EXPENSE                      11,412       31.02       18,992      37.27       -7,579        24,692       49.51        -13,280



  25,359        35.33      69,110       37.29    -43,752        77,246         36.08       -51,887 TOTAL DEPARTMENTAL EXPENSES                 426,392        28.23    1,002,620      27.19    -576,228       979,485        28.02       -553,093



                                                                                                       DEPARTMENTAL PROFIT

   44,720        64.68     119,206      71.45    -74,486       148,462         74.05      -103,742 ROOMS PROFIT                                1,085,506      75.00    2,647,817      78.42   -1,562,311      2,504,942      77.79      -1,419,436

     -190        94.67      -7,574     -64.34      7,384        -12,724       -120.16       12,534 FOOD PROFIT                                   -26,849     -102.13     -39,961     -20.53       13,112        -42,735     -23.34         15,886

         0        0.00       2,666      72.00     -2,666            -60          0.00             60 BEVERAGE PROFIT                                  0         0.00      45,261      68.95      -45,261        28,783       67.69        -28,783

    1,885        66.42       1,944      64.02        -59         1,164         38.82             721 MISCELLANEOUS PROFIT                        25,379       68.98       31,968      62.73       -6,589        25,185       50.49             194



  46,415        64.67     116,241       62.71    -69,826      136,842          63.92       -90,427 TOTAL DEPARTMENTAL PROFIT               1,084,036          71.77    2,685,084      72.81   -1,601,049     2,516,174       71.98     -1,432,138



   18,949        26.40      27,732      14.96     -8,783        26,312         12.29        -7,363 A & G EXPENSE                                267,066       17.68      372,952      10.11     -105,886       353,163       10.10        -86,097

    5,852         8.15       2,634       1.42      3,217         4,259           1.99        1,593 TELECOM                                       36,717         2.43      31,062       0.84        5,655        33,936        0.97            2,781

    7,935        11.06       9,462       5.11     -1,528         9,225           4.31       -1,290 SALES & MARKETING EXPENSES                    68,418         4.53     126,543       3.43      -58,125       109,492        3.13        -41,074

   30,828        42.95      19,563      10.55     11,264        25,870         12.08         4,958 FRANCHISE FEES                               209,459       13.87      388,319      10.53     -178,860       379,817       10.87       -170,358

   11,960        16.66      13,661       7.37     -1,701        27,615         12.90       -15,654 MAINTENANCE EXPENSES                         143,906         9.53     183,174       4.97      -39,269       196,289        5.62        -52,384

    7,190        10.02      12,949       6.99     -5,759        14,514           6.78       -7,324 UTILITIES EXPENSE                            108,991         7.22     145,641       3.95      -36,650       144,400        4.13        -35,409



  82,713       115.24      86,002       46.40     -3,289      107,794          50.35       -25,081 TOTAL ADMIN EXPENSES                        834,557        55.25    1,247,692      33.83    -413,135      1,217,097       34.82       -382,540



  -36,298       -50.57     30,239       16.31    -66,537        29,048         13.57       -65,345 HOUSE PROFIT                                249,478        16.52    1,437,393      38.98   -1,187,914     1,299,077       37.16     -1,049,599



                                                                                                       FIXED EXPENSES

   17,132        23.87       4,639       2.50     12,493         5,369           2.51       11,763 MANAGEMENT FEES                               67,889         4.49      92,265       2.50      -24,376        87,408        2.50        -19,519

   56,267        78.39      46,879      25.29      9,388      -117,122         -54.71      173,389 FIXED EXPENSES                               645,539       42.74      619,515      16.80       26,024       447,854       12.81        197,684
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    -109,697      -152.84    -21,278   -11.48    -88,419   140,801   65.77   -250,497 NET OPERATING INCOME                     -463,950    -30.72   725,613   19.68   -1,189,562   763,815    21.85        -1,227,764



       81,758       113.91    39,083    21.09     42,675   123,159   57.53     -41,401 Other                                     861,379    57.03   483,637   13.11      377,742    948,387   27.13             -87,008



    -191,455      -266.75    -60,361   -32.57   -131,093    17,642    8.24   -209,097 N.I. after Other                        -1,325,329   -87.75   241,975    6.56   -1,567,304   -184,573   -5.28        -1,140,756



    -161,313                 -60,361            -100,951    65,865           -227,178 Cash before Depreciation/Amortization    -963,625             241,975           -1,205,600   195,212                 -1,158,837

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                                                                   For Property: CY Chicago St Charles
                                                                   00- Master P&L-CAPSTONE
                                                                   As of 12/31/2020

   Actual        % / POR        Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                       Description         YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                        Bud Var                                          Var                                                                 Budget                Bud Var         Year                          Var
                                                                                                               ROOMS DEPARTMENT
                                                                                                               ROOMS REVENUE

       41,317        59.76         51,455       30.84    -10,138        73,056         36.44       -31,739 Rack/ Premium                               767,076      53.00   1,262,886      37.40     -495,810      1,193,052       37.05           -425,976

       20,395        29.50         40,347       24.18    -19,952        37,956         18.93       -17,561 Discounts - Other                           315,974      21.83     564,600      16.72     -248,626       574,225        17.83           -258,251

            96        0.14          4,644        2.78     -4,548         4,632          2.31        -4,536 Government                                   27,998       1.93      78,216       2.32      -50,218        74,448         2.31             -46,450

        3,815         5.52         50,218       30.10    -46,403        58,824         29.34       -55,009 Locally Negotiated Rate                     214,570      14.83     833,713      24.69     -619,143       733,577        22.78           -519,007

             0        0.00               0       0.00          0             0          0.00                0 Allowances                                  117        0.01           0       0.00         117           -175        -0.01                  292

        2,236         3.23           865         0.52      1,371        18,252          9.10       -16,016 Redemption Revenue                           35,258       2.44      61,998       1.84      -26,739        87,902         2.73             -52,643



      67,859         98.15       147,530        88.43    -79,670      192,720          96.12     -124,861 Total Transient Revenue                  1,360,993        94.03   2,801,413      82.97   -1,440,420     2,663,028        82.70        -1,302,035




             0        0.00               0       0.00          0             0          0.00                0 Total Base Revenues                           0        0.00           0       0.00             0              0       0.00                    0



          375         0.54         19,312       11.57    -18,937         6,975          3.48        -6,600 Group- Corporate                             76,329       5.27     575,034      17.03     -498,705       541,260        16.81           -464,931



         375          0.54        19,312        11.57    -18,937         6,975          3.48       -6,600 Total Group Revenue                          76,329        5.27    575,034       17.03    -498,705       541,260         16.81          -464,931



          902         1.30               0       0.00       902            807          0.40               95 Guaranteed No-Show                        10,024       0.69           0       0.00       10,024        15,848         0.49               -5,823



      69,136       100.00        166,841       100.00    -97,705      200,502         100.00     -131,365 Total Rooms Revenue                      1,447,347       100.00   3,376,447     100.00   -1,929,101     3,220,137       100.00        -1,772,790



                                                                                                               ROOM STATISTICS

          488              55        415           26         73           621            33             -133 Rack/ Premium Rooms                        7,511         49       8,948         32       -1,437         8,814           32               -1,303

          357              40        511           32       -154           609            32             -252 Discounts - Other Rooms                    4,623         30       6,524         23       -1,901         6,964           25               -2,341

             1              0         48            3        -47            48             3              -47 Government Rooms                            293           2         807          3         -514             785          3                  -492

            44              5        463           29       -419           542            29             -498 Locally Negotiated Corporate Rooms         2,366         15       7,707         27       -5,341         6,814           25               -4,448



         890              99       1,436          90       -546          1,820           97          -930 Total Transient Stats                        14,793         96      23,986         85        -9,193        23,377          85              -8,584




            0              0             0         0          0              0            0                 0 Total Crew Stats                              0          0           0          0              0              0         0                     0



             5              1        160           10       -155            59             3              -54 Group- Corporate Rooms                      638           4       4,307         15       -3,669         4,062           15               -3,424



            5              1         160          10       -155             59            3              -54 Total Group Stats                            638          4       4,307         15        -3,669         4,062          15              -3,424



         895          100          1,596         100       -701          1,879          100          -984 TOTAL ROOM STATISTICS                        15,431        100      28,293        100      -12,862         27,439         100             -12,008



                                                                                                               Other Room Stats

             2              0            0          0          2            13             1              -11 Comp Rooms                                  240           2           0          0         240              169          1                   71

            15              2            0          0         15            18             1               -3 GNS Stats                                   157           1           0          0         157              185          1                   -28

          126              14            0          0       126            162             9              -36 Out of Order Rooms                         1,444          9           0          0        1,444         2,084            8                  -640

        1,233             138            0          0      1,233         2,451           130        -1,218 # of Guests                                  20,479        133           0          0       20,479        34,765          127             -14,286



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                                                      Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 45 of 541
                                                            Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                            For Property: CY Chicago St Charles
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year     % / POR       Act vs LY                         Description       YTD          % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                          Var                                                              Budget              Bud Var         Year                         Var
                                                                                                        ADR



        84.67                124.00                -39.33        117.64                      -32.98 Rack/Premium ADR                            102.13              141.13                -39.00         135.36                           -33.23

         0.00                  0.00                  0.00          0.00                           0.00 Corporate ADR                              0.00                0.00                  0.00           0.00                              0.00

            0                      0                    0             0                              0 Contract - Airline ADR                        0                  0                        0              0                              0

        57.13                 79.00                -21.87         62.32                       -5.20 Discount ADR                                 68.35               86.54                -18.19          82.46                           -14.11

         0.00                  0.00                  0.00          0.00                           0.00 Distressed Passengers ADR                  0.00                0.00                  0.00           0.00                              0.00

            0                      0                    0             0                              0 AARP ADR                                      0                  0                        0              0                              0

        96.00                 97.00                 -1.00         96.50                       -0.50 Government ADR                               95.56               96.95                 -1.39          94.84                              0.72

         0.00                  0.00                  0.00          0.00                           0.00 AAA ADR                                    0.00                0.00                  0.00           0.00                              0.00

        86.70                108.50                -21.80        108.53                      -21.83 Local Negotiated ADR                         90.69              108.18                -17.49         107.66                           -16.97

         0.00                  0.00                  0.00          0.00                           0.00 Packages ADR                               0.00                0.00                  0.00           0.00                              0.00

         0.00                  0.00                  0.00          0.00                           0.00 Wholesale/FIT ADR                          0.00                0.00                  0.00           0.00                              0.00

            0                      0                    0             0                              0 Internet ADR                                  0                  0                        0              0                              0

            0                      0                    0             0                              0 Tax Exampt - Transient ADR                    0                  0                        0              0                              0



       76.25                102.71                 -26.46        105.89                     -29.64 Total Transient ADR                           92.00             116.79                 -24.79        113.92                          -21.91




         0.00                  0.00                  0.00          0.00                           0.00 Crew ADR                                   0.00                0.00                  0.00           0.00                              0.00

            0                      0                    0             0                              0 Contract ADR                                  0                  0                        0              0                              0




         0.00                  0.00                  0.00          0.00                           0.00 Group - SMERF ADR                          0.00                0.00                  0.00           0.00                              0.00

        75.00                121.00                -46.00        118.22                      -43.22 Group - Corporate ADR                       119.64              133.51                -13.88         133.25                           -13.61

            0                      0                    0             0                              0 Group - Government ADR                        0                  0                        0              0                              0

            0                      0                    0             0                              0 Group - Tour ADR                              0                  0                        0              0                              0

            0                      0                    0             0                              0 Group- Association ADR                        0                  0                        0              0                              0

            0                      0                    0             0                              0 Group - Tax Exampt ADR                        0                  0                        0              0                              0



       75.00                121.00                 -46.00        118.22                     -43.22 Total Group ADR                              119.64             133.51                 -13.88        133.25                          -13.61

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                                                                Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                                For Property: CY Chicago St Charles
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                          Description      YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                          Var                                                                 Budget                Bud Var         Year                          Var
                                                                                                            Payroll & Related Expense

        3,257         3.64            0       0.00      3,257             0         0.00          3,257 FOM/Guest Service Mgr                         9,208       0.60           0       0.00        9,208               0       0.00                  9,208

        2,239         2.50      4,150         2.60     -1,911         5,748         3.06         -3,510 FD/ Guest Service Reps                       38,459       2.49      71,715       2.53      -33,256        75,921         2.77             -37,462

             0        0.00            0       0.00          0             0         0.00                 0 FD/Supervisor                                  0       0.00           0       0.00             0            252       0.01                  -252

        2,499         2.79      3,674         2.30     -1,175         2,929         1.56              -430 Executive Housekeeper                     13,530       0.88      42,536       1.50      -29,006        40,281         1.47             -26,751

             0        0.00      2,267         1.42     -2,267             0         0.00                 0 Asst Exec Housekeeper/ Inspectress        25,437       1.65      30,119       1.06       -4,682               0       0.00             25,437

        3,196         3.57      9,975         6.25     -6,779         7,014         3.73         -3,818 Housekeepers                                 45,204       2.93     176,833       6.25     -131,629        45,343         1.65                  -140

             0        0.00      5,580         3.50     -5,580         3,274         1.74         -3,274 Housemen                                      9,667       0.63      65,880       2.33      -56,213        34,675         1.26             -25,008

             0        0.00      2,554         1.60     -2,554           652         0.35              -652 Laundry                                    4,629       0.30      45,270       1.60      -40,641         8,316         0.30               -3,687

        3,787         4.23      3,720         2.33         67         3,645         1.94              142 Night Audit                                41,758       2.71      43,920       1.55       -2,162        46,060         1.68               -4,303

        1,458         1.63      2,011         1.26       -553         2,465         1.31         -1,007 Payroll Taxes                                19,932       1.29      29,218       1.03       -9,287        26,851         0.98               -6,919

          254         0.28        744         0.47       -490           872         0.46              -618 Employee Benefits                          6,854       0.44       8,928       0.32       -2,074        12,668         0.46               -5,815

       -1,258        -1.41        600         0.38     -1,858           539         0.29         -1,797 Vacation /PTO                                 9,132       0.59       7,200       0.25        1,932         8,289         0.30                   843

          549         0.61      1,000         0.63       -451         1,722         0.92         -1,173 Holiday                                       2,921       0.19       3,500       0.12         -579         4,459         0.16               -1,537

             0        0.00            0       0.00          0             0         0.00                 0 Bonus/Incentive Pay                          250       0.02           0       0.00         250               87       0.00                   163

             0        0.00            0       0.00          0         6,056         3.22         -6,056 Contract Labor- Housekeepers                 15,955       1.03           0       0.00       15,955       151,519         5.52           -135,564

             0        0.00            0       0.00          0           944         0.50              -944 Contract Labor- Houseperson                2,340       0.15           0       0.00        2,340        15,322         0.56             -12,981

             0        0.00            0       0.00          0         2,593         1.38         -2,593 Contract Labor- Laundry                       1,919       0.12           0       0.00        1,919        25,673         0.94             -23,754



      15,981         17.86     36,275        22.73    -20,294        38,452        20.46       -22,472 Total P/R & R/Benefits- Rooms                247,194      16.02    525,119       18.56    -277,925       495,715         18.07          -248,521

                                                                                                            ROOMS DEPARTMENT
                                                                                                            OPERATING EXPENSE

             0        0.00         48         0.03        -48           202         0.11              -202 Newspapers                                   291       0.02         849       0.03         -557         1,011         0.04                  -719

             0        0.00      1,436         0.90     -1,436         3,773         2.01         -3,773 Comp Breakfast                                6,831       0.44      25,464       0.90      -18,632        28,428         1.04             -21,596

        1,838         2.05            0       0.00      1,838             0         0.00          1,838 Rooms- Promotion                              4,657       0.30           0       0.00        4,657         4,171         0.15                   486

             0        0.00        416         0.26       -416             0         0.00                 0 Guest Transportation                           0       0.00       4,992       0.18       -4,992        19,049         0.69             -19,049

          145         0.16         80         0.05         65             0         0.00              145 Laundry Supplies                              867       0.06       1,415       0.05         -547             307       0.01                   561

             0        0.00        878         0.55       -878             0         0.00                 0 Linen Supplies                             3,066       0.20      15,561       0.55      -12,495        12,306         0.45               -9,241

        1,838         2.05      1,680         1.05       158          1,761         0.94                77 Cable TV                                  20,510       1.33      20,160       0.71         350         21,799         0.79               -1,289

          393         0.44        400         0.25         -7           393         0.21                 0 HSIA Support                               4,849       0.31       4,800       0.17            49        4,989         0.18                  -140

             0        0.00            0       0.00          0             0         0.00                 0 Printing & Stationary                          0       0.00           0       0.00             0            116       0.00                  -116

          313         0.35        958         0.60       -645         1,367         0.73         -1,055 Reservations Expense                          6,633       0.43      17,666       0.62      -11,033        14,670         0.53               -8,037

        1,913         2.14      1,835         1.15         77         1,533         0.82              380 Guest Room Supplies                        23,890       1.55      32,537       1.15       -8,647        30,829         1.12               -6,939

          215         0.24        399         0.25       -184         1,161         0.62              -945 Cleaning Supplies                          5,150       0.33       7,073       0.25       -1,924         7,750         0.28               -2,600

            95        0.11        271         0.17       -176           459         0.24              -364 Ecolab Core Supplies                       2,829       0.18       4,810       0.17       -1,981         6,105         0.22               -3,275

        1,500         1.68      2,720         1.70     -1,220         2,711         1.44         -1,211 Travel Agents Commission                     32,055       2.08      61,940       2.19      -29,885        60,041         2.19             -27,986

             0        0.00        239         0.15       -239           227         0.12              -227 Uniforms                                   1,102       0.07       4,244       0.15       -3,142         4,477         0.16               -3,375

             0        0.00            0       0.00          0             0         0.00                 0 Walk Expense                                   0       0.00       2,000       0.07       -2,000         3,433         0.13               -3,433

          186         0.21            0       0.00       186              0         0.00              186 COVID 19 Supplies                           1,916       0.12           0       0.00        1,916               0       0.00                  1,916



       8,435          9.43     11,360         7.12     -2,925        13,587         7.23        -5,152 Total Operating - Rooms                      114,647       7.43    203,511        7.19     -88,864       219,480          8.00          -104,833



      24,416         27.28     47,635        29.85    -23,219        52,040        27.70       -27,623 Total Expenses- Rooms                        361,841      23.45    728,630       25.75    -366,789       715,195         26.06          -353,354



      44,720         49.97    119,206        74.69    -74,486      148,462         79.01      -103,742 Net Income- Rooms                        1,085,506        70.35   2,647,817      93.59   -1,562,311     2,504,942        91.29        -1,419,436



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                                                                 Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                                 For Property: CY Chicago St Charles
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual         % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                      Description         YTD           % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                          Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                             Food & Beverage
                                                                                                             Summary


            -25       12.60      10,172       65.73    -10,197        10,139         95.75       -10,164 Total Food Sales                            23,848       90.71    175,458      67.41    -151,610        165,167        73.20           -141,319

             0         0.00       3,703       23.93     -3,703             0           0.00               0 Total Beverage Sales                          0         0.00    65,640      25.22     -65,640         42,524        18.85             -42,524

            25       -12.49            0       0.00        25              0           0.00              25 Total Banquet A/V                            25         0.10        0        0.00            25            300       0.13                  -275

         -200         99.89       1,600       10.34     -1,800           450           4.25            -650 Total Banquet Misc                        2,417         9.19    19,200       7.38     -16,783         17,654         7.82             -15,237



         -200        100.00      15,474      100.00    -15,675        10,589        100.00       -10,789 Total F & B Sales                           26,290      100.00    260,298     100.00    -234,008        225,645       100.00           -199,356



             0         0.00       4,577       45.00     -4,577         8,887         87.65        -8,887 Food Cost                                   17,945       75.25     78,956      45.00     -61,011         81,284        49.21             -63,339

             0         0.00       1,037       28.00     -1,037            60           0.00             -60 Beverage Costs                                0         0.00    18,379      28.00     -18,379         11,741        27.61             -11,741

             0         0.00            0       0.00         0              0           0.00               0 Banquet A/V Costs                             0         0.00        0        0.00             0              0       0.00                    0



             0         0.00       5,614       36.28     -5,614         8,947         84.50        -8,947 Total F & B Costs                           17,945       68.26     97,335      37.39     -79,391         93,025        41.23             -75,080



            -11       42.31      10,191      100.19    -10,202         9,192         90.66        -9,203 Food Wages                                  22,285       93.45    120,403      68.62     -98,118        109,481        66.28             -87,196

             0         0.00            0       0.00         0              0           0.00               0 Beverage Wages                                0         0.00        0        0.00             0              0       0.00                    0

            -11       42.31      10,191       73.45    -10,202         9,192         90.66        -9,203 Total F & B Wages                           22,285       93.45    120,403      49.94     -98,118        109,481        52.71             -87,196



             0         0.00       2,225       16.04     -2,225         1,984         19.57        -1,984 F & B- P T & E B                             7,464       31.30     19,632       8.14     -12,168         17,958         8.65             -10,494




            -11        5.33      12,416       80.24    -12,427        11,176        105.55       -11,187 TTL P/R and Benefits                        29,749      113.16    140,035      53.80    -110,286        127,439        56.48             -97,689




             0         0.00       2,352       23.12     -2,352         3,249         32.04        -3,249 Food Operating Expenses                      5,445       22.83     15,628       8.91     -10,183         17,134        10.37             -11,689

             0         0.00            0       0.00         0              0           0.00               0 Beverage Operating Expenses                   0         0.00     2,000       3.05      -2,000          2,000         4.70               -2,000



             0         0.00       2,352       15.20     -2,352         3,249         30.68        -3,249 Total F & B Operating Expenses               5,445       20.71     17,628       6.77     -12,183         19,134         8.48             -13,689



         -190         94.67      -4,908      -31.72      4,719        -12,784       -120.72       12,594 Net F & B Income                            -26,849     -102.13     5,299       2.04     -32,148        -13,952        -6.18             -12,897




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                                                                 Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                                 For Property: CY Chicago St Charles
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual         % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                       Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                          Var                                                               Budget               Bud Var         Year                          Var
                                                                                                             Food Department




             0        0.00             0       0.00         0              0          0.00                0 Total Restaurant                             0        0.00        0        0.00             0              0       0.00                    0




             0        0.00             0       0.00         0              0          0.00                0 Total Bar Food                               0        0.00        0        0.00             0              0       0.00                    0



             0         0.00      1,819        15.46     -1,819         1,464         13.82        -1,464 Starbucks Revenues                           2,900      11.03    32,254      16.57     -29,354         30,425        16.61             -27,525



             0         0.00      5,251        44.61     -5,251         6,788         64.11        -6,788 Bistro Breakfast                            15,543      59.12    93,084      47.82     -77,541         93,321        50.96             -77,778

             -7        3.61      1,851        15.73     -1,859         1,817         17.16        -1,824 Bistro Dinner                                4,831      18.38    32,820      16.86     -27,988         28,895        15.78             -24,064



            -7        3.61       7,102        60.33     -7,109         8,605         81.27       -8,613 Total Bistro                                 20,374      77.50   125,904      64.68    -105,530       122,216         66.74          -101,842




             0        0.00             0       0.00         0              0          0.00                0 Total Garden Grill                           0        0.00        0        0.00             0              0       0.00                    0




             0        0.00             0       0.00         0              0          0.00                0 Total Other Food Revenue                     0        0.00        0        0.00             0              0       0.00                    0



             0         0.00            0       0.00          0             0          0.00                0 Room Service Delivery Charge                  0       0.00         0       0.00             0         -481        -0.26                  481



             0        0.00             0       0.00         0              0          0.00                0 Total Room Service                           0        0.00        0        0.00             0        -481         -0.26                  481



             0         0.00        750         6.37       -750             0          0.00                0 Banquet Breakfast                           450       1.71    11,300       5.81     -10,850          6,946         3.79               -6,496

             0         0.00        300         2.55       -300             0          0.00                0 Banquet Lunch                                 0       0.00     3,600       1.85      -3,600          4,116         2.25               -4,116

            -18        8.99        200         1.70       -218            70          0.66              -88 Banquet Breaks                              123       0.47     2,400       1.23      -2,277          1,944         1.06               -1,821



          -18         8.99       1,250        10.62     -1,268            70          0.66             -88 Total Banquets                              573        2.18    17,300       8.89     -16,727        13,006          7.10            -12,433




             0        0.00             0       0.00         0              0          0.00                0 Total Catering                               0        0.00        0        0.00             0              0       0.00                    0



          -25        12.60      10,172        86.41    -10,197        10,139         95.75      -10,164 Net Food Revenue                             23,848      90.71   175,458      90.14    -151,610       165,167         90.20          -141,319




         -200         99.89      1,100         9.34     -1,300           450          4.25             -650 Banquet Room Rental                       2,325       8.84    13,200       6.78     -10,875         12,018         6.56               -9,693

            25       -12.49            0       0.00         25             0          0.00               25 Banquet A/V                                  25       0.10         0       0.00            25            300       0.16                  -275

             0         0.00        500         4.25       -500             0          0.00                0 F & B Service Charges                        92       0.35     6,000       3.08      -5,908          5,636         3.08               -5,544



        -175         87.40       1,600        13.59     -1,775           450          4.25         -625 Total Banquets Other                          2,442       9.29    19,200       9.86     -16,758        17,954          9.80            -15,512



        -200        100.00      11,772       100.00    -11,972        10,589        100.00      -10,789 Total Food Revenues                          26,290     100.00   194,658     100.00    -168,368       183,121        100.00          -156,831

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                                                                For Property: CY Chicago St Charles
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual         % / POR    Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                          Description      YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                          Var                                                                Budget               Bud Var         Year                          Var
                                                                                                            Cost of Goods Sold

             0        0.00      4,577        45.00     -4,577         8,887         87.65        -8,887 Cost of Sales - Food                         17,945      75.25    78,956      45.00     -61,011         81,284        49.21             -63,339

             0        0.00      4,577        45.00     -4,577         8,887         87.65       -8,887 Total Cost of Good Sold                      17,945       75.25    78,956      45.00     -61,011        81,284         49.21            -63,339


                                                                                                            Food Payroll

             0        0.00      7,332        62.29     -7,332         6,402         60.46        -6,402 Gourmet Attendant                            16,398      62.37    86,563      44.47     -70,165         79,927        43.65             -63,529

             0        0.00      2,418        20.54     -2,418         2,694         25.44        -2,694 Cooks                                         5,198      19.77    28,548      14.67     -23,350         22,234        12.14             -17,036

             0        0.00        300         2.55       -300             0          0.00                0 F & B Service Charge- Payout                   0       0.00     3,600       1.85      -3,600          3,269         1.79               -3,269

             0        0.00      1,305        11.09     -1,305         1,036          9.78        -1,036 Payroll Taxes                                 3,213      12.22    14,712       7.56     -11,499         12,866         7.03               -9,653

            -11       5.33        141         1.20       -152            96          0.91             -107 Employee Benefits                           689        2.62     1,692       0.87      -1,003          1,591         0.87                  -901

             0        0.00        200         1.70       -200           497          4.70             -497 Vacation /PTO                              3,881      14.76     2,400       1.23       1,481          2,158         1.18                  1,723

             0        0.00        720         6.12       -720           451          4.26             -451 Holiday                                     369        1.41     2,520       1.29      -2,151          2,098         1.15               -1,729

             0        0.00            0       0.00          0             0          0.00                0 Bonus/Incentive Pay                            0       0.00         0       0.00             0            835       0.46                  -835

             0        0.00            0       0.00          0             0          0.00                0 Contract Labor                                 0       0.00         0       0.00             0        2,460         1.34               -2,460

          -11         5.33     12,416       105.48    -12,427        11,176        105.55      -11,187 Total Food Wages                             29,749      113.16   140,035      71.94    -110,286       127,439         69.59            -97,689


                                                                                                            Operating Expenses

             0        0.00         40         0.34        -40           570          5.39             -570 China                                          0       0.00       870       0.45        -870              887       0.48                  -887

             0        0.00         25         0.21        -25             0          0.00                0 Glass                                          0       0.00       300       0.15        -300              119       0.07                  -119

             0        0.00         15         0.13        -15             0          0.00                0 Silverware                                  255        0.97       180       0.09            75            118       0.06                   136

             0        0.00            0       0.00          0             0          0.00                0 Tableware                                     51       0.19         0       0.00            51            321       0.18                  -270

             0        0.00            0       0.00          0             0          0.00                0 Data Processing- F & B                         0       0.00     1,430       0.73      -1,430          1,404         0.77               -1,404

             0        0.00            0       0.00          0            66          0.62              -66 Decorations                                    0       0.00         0       0.00             0            -58      -0.03                    58

             0        0.00            0       0.00          0             0          0.00                0 Contract Cleaning                              0       0.00       600       0.31        -600          1,174         0.64               -1,174

             0        0.00            0       0.00          0            24          0.23              -24 Supplies- Other                                0       0.00         0       0.00             0             82       0.05                    -82

             0        0.00        120         1.02       -120           158          1.49             -158 Cleaning Supplies                           786        2.99     1,440       0.74        -654          1,283         0.70                  -497

             0        0.00         50         0.42        -50           133          1.26             -133 Dishwasher Supplies                        1,498       5.70       600       0.31         898              677       0.37                   820

             0        0.00        550         4.67       -550         1,638         15.47        -1,638 Supplies- Paper                               2,503       9.52     6,600       3.39      -4,097          7,940         4.34               -5,438

             0        0.00        262         2.23       -262           259          2.44             -259 Menus                                       251        0.95     1,328       0.68      -1,077          1,575         0.86               -1,325

             0        0.00         90         0.76        -90           361          3.41             -361 Kitchen & Utensils Supplies                 102        0.39     1,080       0.55        -978          1,322         0.72               -1,220

             0        0.00            0       0.00          0             0          0.00                0 Uniforms                                       0       0.00         0       0.00             0              0       0.00                     0

             0        0.00            0       0.00          0             0          0.00                0 Promotions                                     0       0.00         0       0.00             0            248       0.14                  -248

             0        0.00      1,200        10.19     -1,200            40          0.38              -40 Licenses & Permits                             0       0.00     1,200       0.62      -1,200               40       0.02                    -40



             0        0.00      2,352        19.98     -2,352         3,249         30.68       -3,249 Total Operating Expense- Food                 5,445       20.71    15,628       8.03     -10,183        17,134          9.36            -11,689



          -11         5.33     19,346       164.34    -19,356        23,313        220.16      -23,323 Total Food Costs                             53,139      202.13   234,619     120.53    -181,480       225,856        123.34          -172,718



        -190         94.67     -7,574       -64.34     7,384        -12,724     -120.16         12,534 N.I.- Food Department                        -26,849    -102.13   -39,961     -20.53     13,112         -42,735       -23.34             15,886

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                                                                For Property: CY Chicago St Charles
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                    Description            YTD       % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                          Var                                                            Budget               Bud Var         Year                          Var
                                                                                                            Beverage Department




            0         0.00            0       0.00         0              0         0.00                0 Total Restaurant Beverage                   0      0.00         0        0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00                0 Total Garden Grill Beverage                 0      0.00         0        0.00             0              0       0.00                  0




            0         0.00            0       0.00         0              0         0.00                0 Total Room Service Bev                      0      0.00         0        0.00             0              0       0.00                  0



            0         0.00      1,420        38.36     -1,420             0         0.00                0 Bar Liquor                                  0       0.00    25,181      38.36     -25,181         16,326        38.39             -16,326

            0         0.00        974        26.29       -974             0         0.00                0 Bar Beer                                    0       0.00    17,259      26.29     -17,259         11,208        26.36             -11,208

            0         0.00      1,309        35.34     -1,309             0         0.00                0 Bar Wine                                    0       0.00    23,200      35.34     -23,200         14,991        35.25             -14,991



            0         0.00      3,703       100.00     -3,703             0         0.00                0 Total Bar Beverage                          0      0.00    65,640      100.00     -65,640        42,524        100.00            -42,524




            0         0.00            0       0.00         0              0         0.00                0 Total Banquet Beverage                      0      0.00         0        0.00             0              0       0.00                  0




            0         0.00            0       0.00         0              0         0.00                0 Total Catering Beverage                     0      0.00         0        0.00             0              0       0.00                  0



            0         0.00      3,703       100.00     -3,703             0         0.00                0 Total Beverage Revenue                      0      0.00    65,640      100.00     -65,640        42,524        100.00            -42,524

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                                                                Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                                For Property: CY Chicago St Charles
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                        Description        YTD       % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                          Var                                                            Budget               Bud Var         Year                          Var
                                                                                                            Cost of Goods Sold

            0         0.00        398        10.74       -398           102         0.00              -102 Cost of Sales - Liquor                     0       0.00     7,051      10.74      -7,051          3,370         7.92               -3,370

            0         0.00        273         7.36       -273           124         0.00              -124 Cost of Sales - Beer                       0       0.00     4,832       7.36      -4,832          3,326         7.82               -3,326

            0         0.00        366         9.90       -366          -165         0.00              165 Cost of Sales - Wine                        0       0.00     6,496       9.90      -6,496          5,046        11.87               -5,046



            0         0.00      1,037        28.00     -1,037            60         0.00               -60 Total COGS- Beverage                       0       0.00    18,379      28.00     -18,379         11,741        27.61             -11,741


                                                                                                            Beverage Payroll

            0         0.00            0       0.00         0              0         0.00                 0 Total Beverage Payroll                     0      0.00         0        0.00             0              0       0.00                   0


                                                                                                            Operating Expenses- Beverage

            0         0.00            0       0.00          0             0         0.00                 0 Licenses & Permits                         0       0.00     2,000       3.05      -2,000          2,000         4.70               -2,000



            0         0.00            0       0.00         0              0         0.00                 0 Total Operating- Beverage                  0      0.00     2,000        3.05      -2,000         2,000          4.70             -2,000



            0         0.00      1,037        28.00     -1,037            60         0.00              -60 Total Beverage Costs                        0      0.00    20,379       31.05     -20,379        13,741         32.31            -13,741



            0         0.00      2,666        72.00     -2,666           -60         0.00               60 Net Income- Beverage                        0      0.00    45,261       68.95     -45,261        28,783         67.69            -28,783

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                                                               For Property: CY Chicago St Charles
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR       Act vs LY                     Description           YTD         % / POR      YTD    % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                     Bud Var                                         Var                                                              Budget              Bud Var       Year                        Var
                                                                                                           FOOD STATS



            0         0.00            0       0.00         0           631         0.82              -631 Restaurant Breakfast Covers              1,341       0.78        0       0.00       1,341        8,561       0.80               -7,220

            0         0.00            0       0.00         0           136         0.18              -136 Restaurant Dinner Covers                   374       0.22        0       0.00        374         2,088       0.20               -1,714



            0         0.00            0      0.00          0           767         1.00          -767 Total Food Covers                            1,715      1.00         0      0.00       1,715       10,649       1.00              -8,934

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                                                                 Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                                 For Property: CY Chicago St Charles
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR     Budget       % / POR     Act vs     Last Year     % / POR       Act vs LY                       Description         YTD           % / POR       YTD     % / POR     Act vs        YTD Last       % / POR       Act vs LY
                                                      Bud Var                                          Var                                                                 Budget                Bud Var         Year                           Var
                                                                                                             TELECOM
                                                                                                             TELEPHONE REVENUES

            -1        0.00            0        0.00         -1            -6         0.00                 5 Local                                         -1        0.00         0       0.00             -1         -774         0.00                    774

             0        0.00        100          0.00       -100             0         0.00                 0 Long Distance                                  0        0.00     1,200       0.00       -1,200          1,120         0.00                -1,120

             0        0.00         96          0.00        -96            76         0.00               -76 Internet Access Fees                       1,397        0.00     1,698        0.00        -301              820        0.00                   577



            -1        0.00       196          0.00       -196             71         0.00              -72 Total Phone Revenues                       1,396        0.00     2,898        0.00       -1,501         1,166          0.00                    230



                                                                                                             COS- Communication

        2,388         3.33        890          0.48      1,498           651         0.30          1,737 COS-Local                                    10,786        0.71    10,680        0.29        106           7,303          0.21               3,483

            70        0.00         40        40.00         30             58         0.00                12 COS-Long Distance                           661         0.00      480       40.00         181               935      83.49                    -274

        3,292         0.00      1,700      1,775.27      1,592         3,321     4,343.74               -28 COS-HSIA ISP                              25,143    1,799.81    20,400    1,201.71       4,743         23,076      2,813.79               2,067



       5,751          0.00      2,630         0.00      3,121          4,030         0.00         1,721 Total COS- Comm                              36,589        0.00    31,560        0.00       5,029         31,314          0.00                5,275



      -5,752          0.00     -2,434         0.00      -3,317        -3,959         0.00        -1,793 Gross Margin- Comm                           -35,193       0.00    -28,662       0.00       -6,530        -30,148         0.00              -5,044




                                                                                                             Operating Expenses

          100         0.00        100          0.00          0           300         0.00              -200 Equipment Cost                             1,060        0.00     1,200        0.00        -140          1,731         0.00                    -671

             0        0.00        100          0.00       -100             0         0.00                 0 Equipment Maintenance                       465         0.00     1,200        0.00        -735          2,056         0.00                -1,592



         100          0.00       200          0.00       -100            300         0.00          -200 Total Operating - Comm                        1,525        0.00     2,400        0.00        -875          3,788          0.00              -2,263



       5,852          0.00      2,634         0.00      3,217          4,259         0.00         1,593 N.I.- Comm Dept                              36,717        0.00    31,062        0.00       5,655         33,936          0.00                2,781



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                                                               Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                               For Property: CY Chicago St Charles
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs    Last Year     % / POR       Act vs LY                      Description          YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                         Var                                                               Budget               Bud Var         Year                          Var
                                                                                                           MISCELLANEOUS DEPARTMENT
                                                                                                           MISCELLANEOUS REVENUES

             0        0.00        125         4.12      -125            -3         -0.09                3 Laundry/Valet                               874       2.38     2,255       4.43      -1,381          2,224         4.47               -1,350

             0        0.00         80         2.63       -80            40          1.33              -40 Movie Income                                400       1.09      960        1.88        -560          1,016         2.04                   -617

          125         4.39         60         1.98        65            64          2.13               61 Vending                                     931       2.53      720        1.41        211               860       1.73                    71

          545        19.20        120         3.95       425         1,125         37.53             -580 Pet Fees                                  7,384      20.07     4,150       8.14       3,234          4,945         9.93               2,439

             0        0.00            0       0.00         0             0          0.00                0 Miscellaneous                                22       0.06        0        0.00            22            137       0.28                   -115

            89        3.14        420        13.83      -331            94          3.14               -5 Late Cancellation Income                  5,681      15.44     5,040       9.89         641          4,818         9.68                   863

          750        26.42            0       0.00       750             0          0.00             750 Smoking Fee                                1,600       4.35        0        0.00       1,600                0       0.00               1,600

            91        3.21        300         9.88      -209             0          0.00               91 Tax Discounts Earned                      1,036       2.82     3,600       7.06      -2,564          2,837         5.70               -1,801

        1,239        43.64      1,612        53.09      -373         1,677         55.96             -438 Market Sales                             18,863      51.27    28,576      56.08      -9,713         28,367        56.99               -9,505

             0        0.00        319        10.51      -319             0          0.00                0 Market Sales- Beer/Wine                       0       0.00     5,659      11.10      -5,659          4,573         9.19               -4,573



       2,838       100.00       3,036       100.00      -198         2,997        100.00         -159 Total Miscellaneous Revenues                 36,791     100.00   50,960      100.00     -14,169        49,777        100.00            -12,986



                                                                                                           COSales- Miscellaneous

             0        0.00        119        95.00      -119             0          0.00                0 COS-Laundry/Valet                           844      96.54     2,142      95.00      -1,298          2,693       121.09               -1,849

             0        0.00         72         2.37       -72             0          0.00                0 COS-Movies                                  324       0.88      864        1.70        -540              927       1.86                   -604

          953        76.95        806        50.00       147         1,834        109.33             -880 COS- Market                              10,245      54.31    14,288      50.00      -4,043         20,463        72.14            -10,219

             0        0.00         96         3.15       -96             0          0.00                0 COS- Market Beer/Wine                         0       0.00     1,698       3.33      -1,698                0       0.00                     0



         953         33.58      1,092        35.98      -139         1,834         61.18         -880 Total COS- Miscellaneous                     11,412      31.02   18,992       37.27      -7,579        24,083         48.38            -12,671



             0        0.00            0       0.00         0             0          0.00                0 Banquet Room AV Rental                        0       0.00        0        0.00             0            100     100.00                -100

            0         0.00            0       0.00         0             0          0.00               0 Total Meeting Room Revenues                   0        0.00        0        0.00             0         100        100.00                -100


                                                                                                           Cost of Sales- Meeting Room

             0        0.00            0       0.00         0             0          0.00                0 COS-Banquet Room F & B                        0       0.00        0        0.00             0             30      29.97                    -30

             0        0.00            0       0.00         0             0          0.00                0 COS-Banquet Room AV                           0       0.00        0        0.00             0            579     579.21                -579



       1,885         66.42      1,944        64.02       -59         1,164         38.82             721 Total Miscellaneous Profit                25,379      68.98   31,968       62.73      -6,589        25,185         50.59                   194

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                                                                For Property: CY Chicago St Charles
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                         Description       YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                          Var                                                                Budget               Bud Var         Year                          Var
                                                                                                            ADMIN & GENERAL DEPARTMENT
                                                                                                            ADMIN & GENERAL

                                                                                                            P/R & Related Benefits- A&G

        7,471        10.41      8,048         4.34       -577         6,587         3.08              885 General Manager                            87,514       5.79    95,017       2.58      -7,503         90,774         2.60               -3,259

             0        0.00      4,024         2.17     -4,024         3,500         1.64         -3,500 Assistant General Manager                    15,756       1.04    46,935       1.27     -31,179         33,287         0.95            -17,532

          643         0.90      1,026         0.55       -383           974         0.45              -331 Payroll Taxes                              8,441       0.56    12,406       0.34      -3,965         11,049         0.32               -2,608

        1,570         2.19      1,054         0.57       516            742         0.35              828 Employee Benefits                          15,006       0.99    12,648       0.34       2,358          9,391         0.27               5,615

       -2,096        -2.92            0       0.00     -2,096             0         0.00         -2,096 Vacation /PTO                                10,133       0.67         0       0.00      10,133          1,229         0.04               8,903

          729         1.02            0       0.00       729          1,061         0.50              -332 Holiday                                    3,009       0.20         0       0.00       3,009          2,654         0.08                   355

             0        0.00            0       0.00          0             0         0.00                 0 Bonus/Incentive Pay                        2,254       0.15     4,000       0.11      -1,746          4,210         0.12               -1,956



       8,318         11.59     14,152         7.64     -5,834        12,865         6.01        -4,547 Total P/R & R/B- A&G                         142,113       9.41   171,006       4.64     -28,893       152,593          4.37            -10,480


                                                                                                            Operating Expenses- A&G

          369         0.51      2,350         1.27     -1,981         1,887         0.88         -1,518 Employee Relations                            1,484       0.10     6,550       0.18      -5,066          5,779         0.17               -4,295

        4,000         5.57      2,000         1.08      2,000         2,000         0.93          2,000 Accounting Fees                              26,000       1.72    24,000       0.65       2,000         24,000         0.69               2,000

        1,079         1.50        800         0.43       279            858         0.40              221 Data Processing                            12,781       0.85    10,975       0.30       1,806          9,418         0.27               3,363

          122         0.17        351         0.19       -229           465         0.22              -343 Office Supplies                            2,911       0.19     6,224       0.17      -3,314          9,296         0.27               -6,385

            44        0.06         55         0.03        -11            44         0.02                 0 Muzak                                        462       0.03       660       0.02        -198              584       0.02                   -123

             0        0.00        300         0.16       -300           538         0.25              -538 Travel & Lodging                           3,040       0.20    11,600       0.31      -8,560          8,249         0.24               -5,209

             0        0.00            0       0.00          0             0         0.00                 0 Meals and Entertainment                      174       0.01         0       0.00         174              228       0.01                    -55

             0        0.00         75         0.04        -75            75         0.04               -75 Telephone                                    188       0.01       900       0.02        -712              575       0.02                   -387

             0        0.00            0       0.00          0             0         0.00                 0 Licenses and Permits                       2,469       0.16     1,910       0.05         559          2,321         0.07                   148

            83        0.12         48         0.03        35             88         0.04                -5 Postage                                      594       0.04       849       0.02        -255          1,348         0.04                   -754

             0        0.00            0       0.00          0             0         0.00                 0 Recruitment                                1,061       0.07       750       0.02         311          1,339         0.04                   -278

            47        0.07        200         0.11       -153           373         0.17              -325 Employment Screening/ Drug Testing         1,082       0.07       700       0.02         382          2,140         0.06               -1,058

             0        0.00            0       0.00          0           567         0.26              -567 Training                                   3,216       0.21     6,435       0.17      -3,219          5,302         0.15               -2,086

             0        0.00            0       0.00          0             0         0.00                 0 Loss & Damage                                  0       0.00         0       0.00             0             35       0.00                    -35

             0        0.00            0       0.00          0             0         0.00                 0 Security Service                               0       0.00         0       0.00             0            164       0.00                -164

          150         0.21        150         0.08          0           150         0.07                 0 Dues/Subscriptions                         1,985       0.13     3,400       0.09      -1,415          3,442         0.10               -1,456

        2,112         2.94      4,564         2.46     -2,453         5,073         2.37         -2,961 Credit Card Commissions                      32,301       2.14    90,789       2.46     -58,488         89,450         2.56            -57,149

             0        0.00            0       0.00          0          -145        -0.07              145 Cash Over/Short                             1,190       0.08         0       0.00       1,190         -1,845        -0.05               3,035

          289         0.40        350         0.19        -61           679         0.32              -390 Payroll Services                           5,103       0.34     6,340       0.17      -1,237          7,021         0.20               -1,918

          566         0.79        780         0.42       -214           856         0.40              -290 Bank Charges                               8,679       0.57     9,490       0.26        -811         10,269         0.29               -1,590

         -357        -0.50            0       0.00       -357         -2,883       -1.35          2,526 Chargebacks                                   2,467       0.16         0       0.00       2,467              336       0.01               2,130

        2,128         2.96      1,556         0.84       572          2,824         1.32              -697 Workers Comp Insurance                    17,768       1.18    20,374       0.55      -2,606         21,119         0.60               -3,351



      10,631         14.81     13,579         7.33     -2,948        13,447         6.28        -2,816 Total Operating- A&G                         124,953       8.27   201,946       5.48     -76,993       200,570          5.74            -75,617



      18,949         26.40     27,732        14.96     -8,783        26,312        12.29        -7,363 Total Expenses- A&G                          267,066      17.68   372,952      10.11    -105,886       353,163         10.10            -86,097

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                                                                Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                                For Property: CY Chicago St Charles
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                         Description       YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                          Var                                                               Budget               Bud Var         Year                          Var
                                                                                                            SALES DEPARTMENT
                                                                                                            SALES

                                                                                                            P/R & R/B

        3,797         5.29      4,811         2.60     -1,014         3,778         1.76                20 Director of Sales                         9,267       0.61    56,391       1.53     -47,124         45,896         1.31            -36,629

             0        0.00            0       0.00         0              0         0.00                 0 Sales Manager                            13,697       0.91         0       0.00      13,697              378       0.01             13,319

          391         0.55        993         0.54       -602           774         0.36              -383 Revenue Management                        5,967       0.40    11,916       0.32      -5,949          9,810         0.28               -3,842

             0        0.00        172         0.09       -172             0         0.00                 0 E Commerce Management                       516       0.03     2,066       0.06      -1,549                0       0.00                   516

        1,386         1.93      1,489         0.80       -103         1,557         0.73              -171 Sales Coordinator                        17,376       1.15    17,580       0.48        -204         16,672         0.48                   704

          562         0.78        403         0.22       159            594         0.28               -32 Payroll Taxes                             4,653       0.31     4,837       0.13        -184          5,030         0.14                   -377

         -103        -0.14        359         0.19       -462             0         0.00              -103 Employee Benefits                           885       0.06     4,308       0.12      -3,423          3,977         0.11               -3,092

         -131        -0.18            0       0.00       -131             0         0.00              -131 Vacation / PTO                            2,584       0.17         0       0.00       2,584              540       0.02               2,044

             0        0.00            0       0.00          0           663         0.31              -663 Holiday                                     798       0.05         0       0.00        798           1,538         0.04                   -740

             0        0.00            0       0.00          0             0         0.00                 0 Bonus/Incentive Pay                         214       0.01     1,600       0.04      -1,386              271       0.01                    -57



       5,903          8.22      8,227        4.44      -2,325         7,365         3.44        -1,462 Total P/R & R/B- Sales                       55,957      3.70     98,697      2.68      -42,741        84,112         2.41             -28,155


                                                                                                            Operating Expenses- Sales

             0        0.00         10         0.01        -10             0         0.00                 0 Printing & Stationary                        85       0.01       120       0.00         -35                0       0.00                    85

          130         0.18         15         0.01       115              0         0.00              130 Office Supplies                              194       0.01       180       0.00            14            104       0.00                    90

             0        0.00        100         0.05       -100            42         0.02               -42 Travel & Lodging                          1,205       0.08     2,750       0.07      -1,545          7,011         0.20               -5,806

             0        0.00         50         0.03        -50             0         0.00                 0 Meals & Entertainment                       278       0.02       600       0.02        -322          1,136         0.03                   -858

            48        0.07        200         0.11       -152         1,343         0.63         -1,296 Promotions                                   1,722       0.11     2,400       0.07        -678          3,377         0.10               -1,655

             0        0.00         50         0.03        -50             0         0.00                 0 Telephone                                     0       0.00       600       0.02        -600                0       0.00                     0

             0        0.00            0       0.00          0             0         0.00                 0 Sales Training                              302       0.02     3,250       0.09      -2,948              325       0.01                    -22

        1,455         2.03            0       0.00      1,455             0         0.00          1,455 Dues & Subscriptions                         3,331       0.22     7,776       0.21      -4,445          5,419         0.16               -2,088

             0        0.00            0       0.00          0             0         0.00                 0 Trade Show                                    0       0.00         0       0.00             0             21       0.00                    -21

             0        0.00        250         0.13       -250           310         0.14              -310 e Commerce Costs                          1,075       0.07     3,000       0.08      -1,925          2,295         0.07               -1,220

          400         0.56        560         0.30       -160           165         0.08              235 Brand Paid Search                          4,268       0.28     6,720       0.18      -2,452          5,692         0.16               -1,423

             0        0.00            0       0.00          0             0         0.00                 0 Collateral                                    0       0.00       450       0.01        -450                0       0.00                     0



       2,032          2.83      1,235        0.67        797          1,861         0.87              172 Total Operating- Sales                    12,461      0.83     27,846      0.76      -15,385        25,380         0.73             -12,919



       7,935         11.06      9,462        5.11      -1,528         9,225         4.31        -1,290 Total Expenses-Sales                         68,418      4.53    126,543      3.43      -58,125       109,492         3.13             -41,074

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                                                                Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                                For Property: CY Chicago St Charles
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                         Description          YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                          Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                            MAINTENANCE DEPARTMENT
                                                                                                            REPAIRS & MAINTENANCE
                                                                                                            P/R & Related Expenses- Maintenance

        4,306         4.81      4,899         3.07       -593         3,914         2.08              392 Chief Engineer                             50,124        3.25    57,139       2.02      -7,015         39,195         1.43             10,928

        2,103         2.35      2,478         1.55       -375         2,303         1.23              -199 General Maintenance                       20,003        1.30    29,256       1.03      -9,253         30,167         1.10            -10,165

          562         0.63        647         0.41        -85           681         0.36              -118 Payroll Taxes                              6,366        0.41     7,415       0.26      -1,049          6,997         0.26                   -632

          609         0.68        101         0.06       508            581         0.31                27 Employee Benefits                          6,805        0.44     1,212       0.04       5,593          3,442         0.13               3,363

          672         0.75        240         0.15       432            663         0.35                 9 Holiday                                    2,146        0.14       840       0.03       1,306          1,467         0.05                   680

         -950        -1.06            0       0.00       -950             0         0.00              -950 Vacation /PTO                              5,990        0.39         0       0.00       5,990          2,227         0.08               3,762

             0        0.00            0       0.00          0             0         0.00                 0 Bonus/Incentive Pay                             0       0.00         0       0.00             0            150       0.01                -150

             0        0.00            0       0.00          0             0         0.00                 0 Contract Labor                                  0       0.00         0       0.00             0        4,197         0.15               -4,197



       7,302          8.16      8,365        5.24      -1,063         8,142         4.33          -840 Total P/R & Related Expenses- Maintenance     91,433       5.93     95,862      3.39       -4,429        87,843         3.20                3,590


                                                                                                            Operating Expenses- R & M

             0        0.00        325         0.20       -325         -1,765       -0.94          1,765 Auto Expense                                     495       0.03     3,900       0.14      -3,405          2,174         0.08               -1,679

             0        0.00         64         0.04        -64           556         0.30              -556 Laundry Equipment                             736       0.05     1,132       0.04        -396          2,378         0.09               -1,642

            13        0.01        255         0.16       -242         1,762         0.94         -1,749 Building Maintenance                          1,374        0.09     4,527       0.16      -3,153          5,202         0.19               -3,828

             0        0.00            0       0.00          0             0         0.00                 0 Office Equipment                              194       0.01         0       0.00        194                 0       0.00                   194

          179         0.20         80         0.05        99            301         0.16              -122 Light Bulbs                                1,639        0.11     1,415       0.05        225           1,263         0.05                   376

          145         0.16        287         0.18       -143         2,597         1.38         -2,452 Electrical & Mechanical                       2,707        0.18     5,093       0.18      -2,386          8,572         0.31               -5,866

             0        0.00        319         0.20       -319         1,624         0.86         -1,624 HVAC                                          1,961        0.13     5,659       0.20      -3,698          7,970         0.29               -6,009

            54        0.06        527         0.33       -473         2,379         1.27         -2,325 Plumbing & Boiler                             2,495        0.16     9,337       0.33      -6,842         14,201         0.52            -11,706

          771         0.86        650         0.41       121          2,064         1.10         -1,293 Pool                                          7,161        0.46     7,800       0.28        -639         11,478         0.42               -4,316

        1,560         1.74      1,500         0.94        60          3,854         2.05         -2,294 Grounds & Landscaping                         7,942        0.51    17,850       0.63      -9,908         20,652         0.75            -12,710

             0        0.00         16         0.01        -16            52         0.03               -52 Signage                                        91       0.01       283       0.01        -192              355       0.01                   -264

             0        0.00        319         0.20       -319           765         0.41              -765 Furniture & Fixtures                       2,882        0.19     5,659       0.20      -2,776          4,360         0.16               -1,478

             0        0.00         64         0.04        -64           337         0.18              -337 Painting                                       80       0.01     1,132       0.04      -1,052              708       0.03                   -628

             0        0.00         50         0.03        -50           600         0.32              -600 Carpet & Floor                                945       0.06     4,450       0.16      -3,505          3,498         0.13               -2,553

             0        0.00            0       0.00          0             0         0.00                 0 Training                                        0       0.00         0       0.00             0            325       0.01                -325

             0        0.00         25         0.02        -25             0         0.00                 0 Telephone                                       8       0.00       300       0.01        -292                0       0.00                     8

             0        0.00        125         0.08       -125           863         0.46              -863 Kitchen Equipment                               0       0.00     1,500       0.05      -1,500          2,687         0.10               -2,687

             0        0.00         48         0.03        -48             0         0.00                 0 Locks & Keys                               1,711        0.11       849       0.03        863           1,377         0.05                   334

             0        0.00            0       0.00          0             0         0.00                 0 Radio & TV                                     79       0.01       600       0.02        -521               25       0.00                    54

             0        0.00        192         0.12       -192           125         0.07              -125 Exterminating                                 948       0.06     2,304       0.08      -1,356          2,506         0.09               -1,558

             0        0.00            0       0.00          0             0         0.00                 0 License & Permits                             463       0.03         0       0.00        463               570       0.02                   -107

        1,936         2.16        100         0.06      1,836         1,337         0.71              599 Fire & Safety                              11,743        0.76     5,825       0.21       5,918          9,919         0.36               1,824

             0        0.00        350         0.22       -350         2,022         1.08         -2,022 Elevator                                      6,817        0.44     7,700       0.27        -883          8,226         0.30               -1,410



       4,658          5.20      5,296        3.32       -638         19,473        10.36       -14,815 Total Operating - R & M                       52,473       3.40     87,312      3.09      -34,840       108,447         3.95             -55,974



      11,960         13.36     13,661        8.56      -1,701        27,615        14.70       -15,654 Total Expenses- R & M                        143,906       9.33    183,174      6.47      -39,269       196,289         7.15             -52,384

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                                                              For Property: CY Chicago St Charles
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year     % / POR       Act vs LY                      Description          YTD           % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                          Var                                                                Budget               Bud Var       Year                        Var
                                                                                                          UTILITIES DEPARTMENT
                                                                                                          UTILITIES EXPENSE

        6,950         7.77      9,976       6.25     -3,026        11,667         6.21         -4,717 Electricity                                  86,091       5.58   108,287       3.83     -22,196      105,654       3.85            -19,563

          415         0.46      1,018       0.64       -603           772         0.41              -358 Gas                                        6,045       0.39    10,620       0.38      -4,575        9,212       0.34               -3,166

         -366        -0.41      1,630       1.02     -1,996         1,716         0.91         -2,082 Water & Sewer                                13,659       0.89    22,834       0.81      -9,175       25,038       0.91            -11,379

          191         0.21        325       0.20       -134           359         0.19              -168 Waste Removal                              3,196       0.21     3,900       0.14        -704        4,496       0.16               -1,300



       7,190          8.03     12,949      8.11      -5,759        14,514         7.72        -7,324 Total Expenses- Utilities                    108,991      7.06    145,641      5.15      -36,650     144,400       5.26             -35,409

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                                                                Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                                For Property: CY Chicago St Charles
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                       Description         YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                          Var                                                                Budget               Bud Var         Year                          Var
                                                                                                            FRANCHISE DEPARTMENT
                                                                                                            FRANCHISE FEES

        6,422         9.29      9,183         5.50     -2,761        11,092         5.53         -4,670 Franchise Fees/ Royalties                    80,411       5.56   185,933       5.51    -105,522        177,468         5.51            -97,057

        5,023         7.27      7,348         4.40     -2,325         9,662         4.82         -4,639 Advertising                                  79,430       5.49   148,629       4.40     -69,199        143,388         4.45            -63,958

            0         0.00            0       0.00         0              0         0.00                0 Reservations                                    0       0.00         0       0.00             0        2,968         0.09               -2,968

       19,279        27.89      3,032         1.82     16,247         5,115         2.55         14,164 Frequent Traveler                            48,313       3.34    53,757       1.59      -5,444         55,880         1.74               -7,567

            0         0.00            0       0.00         0              0         0.00                0 Brand Guest Fees                              119       0.01         0       0.00         119              113       0.00                   6

          103         0.15            0       0.00       103              0         0.00              103 Other Franchise Cost                        1,186       0.08         0       0.00       1,186                0       0.00               1,186



      30,828         44.59     19,563        11.73    11,264         25,870        12.90         4,958 Total Franchise Fees Expense                 209,459      14.47   388,319      11.50    -178,860       379,817         11.80          -170,358

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                                                                Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                                For Property: CY Chicago St Charles
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                  Description              YTD          % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                          Var                                                               Budget               Bud Var       Year                          Var
                                                                                                            MANAGEMENT FEES
        2,235         3.11      4,639         2.50     -2,404         5,369         2.51         -3,134 Management Fees                             37,760       2.50    92,265       2.50     -54,505       87,408         2.50            -49,648

       14,897        20.76            0       0.00     14,897             0         0.00         14,897 Management Fees- Owner                      30,129       1.99        0        0.00      30,129              0       0.00             30,129



      17,132         23.87      4,639        2.50     12,493          5,369         2.51        11,763 Total Management Fees Expense                67,889      4.49    92,265       2.50      -24,376      87,408         2.50             -19,519



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                                                               Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                               For Property: CY Chicago St Charles
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget      % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description           YTD           % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                    Bud Var                                          Var                                                                Budget               Bud Var       Year                          Var
                                                                                                           FIXED EXPENSES
       18,263        25.44      18,263       9.85         0         17,861          8.34             402 Ground Lease                              217,946      14.43   217,544       5.90        402       212,757         6.09               5,189

       14,989        20.88       7,422       4.00      7,567      -151,039        -70.55       166,028 FF & E Reserve                              179,871      11.91   147,624       4.00      32,247              0       0.00            179,871

          892         1.24        870        0.47        22            870          0.41              22 Van Lease                                   8,069       0.53    10,440       0.28      -2,371        6,440         0.18               1,629

       16,527        23.03      15,497       8.36      1,030        10,575          4.94         5,952 Real Estate Tax                             180,000      11.92   185,968       5.04      -5,968      173,212         4.96               6,788

        5,596         7.80       4,827       2.60       769          4,611          2.15             985 Insurance                                  59,653       3.95    57,939       1.57       1,714       55,446         1.59               4,207



      56,267         78.39     46,879       25.29     9,388       -117,122        -54.71      173,389 TOTAL FIXED EXPENSES                         645,539      42.74   619,515      16.80     26,024      447,854         12.81           197,684

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                                                          Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 62 of 541
                                                                Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                                For Property: CY Chicago St Charles
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                         Description       YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                          Var                                                                Budget               Bud Var         Year                          Var
                                                                                                            TOTAL OTHER
        3,750         5.22            0       0.00      3,750           350         0.16          3,400 Owners Expense                               17,862       1.18         0       0.00      17,862         13,960         0.40               3,902

       26,808        37.35            0       0.00     26,808        41,624        19.44        -14,816 Depreciation                                321,696      21.30         0       0.00     321,696        336,512         9.63            -14,816

        3,334         4.65            0       0.00      3,334         6,599         3.08         -3,265 Amortization Expense                         40,008       2.65         0       0.00      40,008         43,273         1.24               -3,265

       36,500        50.85      37,228       20.08       -728        37,229        17.39              -729 Interest Expense                         439,964      29.13   446,731      12.11      -6,767        449,677        12.86               -9,712

            0         0.00            0       0.00         0              0         0.00                 0 Insurance Claim Proceeds                       0       0.00         0       0.00             0        2,531         0.07               -2,531

       11,366        15.84       1,855        1.00      9,511         2,148         1.00          9,218 Asset Management Fee                         15,104       1.00    36,906       1.00     -21,802         34,964         1.00            -19,860

            0         0.00            0       0.00         0              0         0.00                 0 Non Operating Income                        -286      -0.02         0       0.00        -286                0       0.00                -286

            0         0.00            0       0.00         0         -32,262       -15.07        32,262 Extraordinary Expenses                       27,031       1.79         0       0.00      27,031                0       0.00             27,031

            0         0.00            0       0.00         0          -3,604        -1.68         3,604 GB 1 YE AJE                                       0       0.00         0       0.00             0       -3,604        -0.10               3,604

            0         0.00            0       0.00         0         71,075        33.20        -71,075 GB- 2 R&M/Capex AJE                               0       0.00         0       0.00             0       71,075         2.03            -71,075



      81,758       113.91      39,083        21.09    42,675       123,159         57.53       -41,401 Total Other                                  861,379      57.03   483,637      13.11    377,742        948,387         27.13            -87,008

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                                                               Company: 700 St Charles dba CY Chicago St Charles Property: CY Chicago St Charles
                                                               For Property: CY Chicago St Charles
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR       Act vs LY                     Description           YTD       % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                         Var                                                            Budget              Bud Var         Year                          Var
                                                                                                           House Laundry Dept




            0         0.00            0      0.00          0             0         0.00                0 Total P/R & Benefits- Ldy                   0      0.00         0      0.00              0              0      0.00                    0


                                                                                                           Operating Expenses




            0         0.00            0      0.00          0             0         0.00                0 Total Operating Expenses- Ldy               0      0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0         0.00                0 Total Laundry Expenses                      0       0.00        0       0.00             0              0       0.00                   0



                                                                                                           Allocation




            0         0.00            0      0.00          0             0         0.00                0 Total Allocation                            0      0.00         0      0.00              0              0      0.00                    0



            0                         0                    0             0                             0 Total Lndry Dept                            0                   0                        0              0                              0



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                                                           Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                           For Property: CY Houston Brookhollow
                                                           00- Master P&L-CAPSTONE
                                                           As of 12/31/2020

Actual       % / POR     Budget      % / POR    Act vs     Last Year     % / POR       Act vs LY                   Description           YTD         % / POR           YTD     % / POR    Act vs        YTD Last      % / POR    Act vs LY
                                                Bud Var                                      Var                                                                    Budget                Bud Var         Year                      Var
                                                                                                    SUMMARY

    6,107                    6,107                     0         6,107                            0 Total Rooms Available                  72,102                     72,102                        0       71,905                          197

    1,041                    2,153                -1,112         2,414                     -1,373 Total Rooms Sold                         16,063                     32,032                 -15,969        32,030                    -15,967

 17.05%                   35.25%                -18.21%        39.53%                    -22.48% Occupancy %                              22.28%                    44.43%                  -22.15%        44.54%                    -22.27%

   67.71                    89.59                 -21.88         77.49                      -9.78 Average Rate                              78.11                     96.66                   -18.55         93.31                     -15.20

   11.54                    31.59                 -20.04         30.63                     -19.09 REVPAR                                    17.40                     42.94                   -25.54         41.57                     -24.16




                                                                                                    REVENUES

   70,491        93.17     192,890      89.02   -122,399       187,062         90.27     -116,571 ROOMS                                  1,254,743         92.26   3,096,206      89.85   -1,841,463      2,988,778      90.10      -1,734,034

     507          0.67      14,818       6.84    -14,312        11,957          5.77      -11,451 FOOD                                     44,079           3.24     216,937       6.30     -172,858       200,513        6.04       -156,435

         0        0.00       4,823       2.23     -4,823         3,571          1.72       -3,571 BEVERAGE                                 16,811           1.24      71,752       2.08      -54,940        66,079        1.99        -49,268

    4,658         6.16       4,154       1.92        504         4,643          2.24           15 MISCELLANEOUS                            44,427           3.27      60,937       1.77      -16,511        61,712        1.86        -17,285



  75,656       100.00     216,685      100.00   -141,029      207,233         100.00     -131,577 TOTAL REVENUES                        1,360,060      100.00      3,445,832     100.00   -2,085,772     3,317,082      100.00     -1,957,022




                                                                                                    DEPARTMENT EXPENSES

   29,071        41.24      56,705      29.40    -27,634        57,746         30.87      -28,675 ROOMS EXPENSE                           434,780          34.65     739,293      23.88     -304,513       724,424       24.24       -289,643

     126         24.78      21,963     148.22    -21,838        22,273        186.27      -22,148 FOOD EXPENSE                             52,116         118.23     268,871     123.94     -216,755       256,366      127.85       -204,250

         0        0.00       1,542      31.96     -1,542         1,034         28.95       -1,034 BEVERAGE EXPENSE                          6,942          41.30      23,950      33.38      -17,007        26,119       39.53        -19,177

    1,061        22.77       1,518      36.54       -457         1,100         23.70          -40 MISCELLANEOUS EXPENSE                     9,201          20.71      22,583      37.06      -13,382        18,873       30.58            -9,672



  30,257        39.99      81,728       37.72    -51,471       82,153          39.64      -51,896 TOTAL DEPARTMENTAL EXPENSES             503,040         36.99    1,054,697      30.61    -551,657      1,025,782       30.92       -522,742



                                                                                                    DEPARTMENTAL PROFIT

   41,420        58.76     136,185      70.60    -94,765       129,316         69.13      -87,896 ROOMS PROFIT                            819,963          65.35   2,356,913      76.12   -1,536,950      2,264,354      75.76      -1,444,391

     381         75.22      -7,145     -48.22      7,526       -10,316        -86.27       10,697 FOOD PROFIT                               -8,037        -18.23     -51,934     -23.94       43,897        -55,853     -27.85         47,815

         0        0.00       3,281      68.04     -3,281         2,537         71.05       -2,537 BEVERAGE PROFIT                           9,869          58.70      47,802      66.62      -37,933        39,960       60.47        -30,091

    3,598        77.23       2,636      63.46        962         3,543         76.30           55 MISCELLANEOUS PROFIT                     35,226          79.29      38,355      62.94       -3,129        42,838       69.42            -7,613



  45,399        60.01     134,957       62.28    -89,559      125,080          60.36      -79,681 TOTAL DEPARTMENTAL PROFIT               857,020         63.01    2,391,136      69.39   -1,534,116     2,291,300       69.08     -1,434,280



   12,932        17.09      37,680      17.39    -24,748        39,581         19.10      -26,649 A & G EXPENSE                           281,660          20.71     442,960      12.85     -161,300       447,385       13.49       -165,725

    2,646         3.50       2,636       1.22         10         2,589          1.25          57 TELECOM                                   32,818           2.41      31,258       0.91        1,560        37,519        1.13            -4,700

    6,848         9.05      13,311       6.14     -6,464        13,438          6.48       -6,591 SALES & MARKETING EXPENSES               67,597           4.97     172,052       4.99     -104,455       156,326        4.71        -88,729

    4,438         5.87      24,725      11.41    -20,286        25,216         12.17      -20,778 FRANCHISE FEES                          176,587          12.98     391,713      11.37     -215,126       378,426       11.41       -201,839

    5,811         7.68      20,928       9.66    -15,117        21,501         10.38      -15,690 MAINTENANCE EXPENSES                    144,775          10.64     257,860       7.48     -113,085       258,016        7.78       -113,241

    7,832        10.35      12,929       5.97     -5,097        11,392          5.50       -3,560 UTILITIES EXPENSE                       157,889          11.61     178,673       5.19      -20,784       167,161        5.04            -9,272



  40,507        53.54     112,209       51.78    -71,702      113,717          54.87      -73,211 TOTAL ADMIN EXPENSES                    861,327         63.33    1,474,517      42.79    -613,190      1,444,832       43.56       -583,505



   4,892         6.47      22,749       10.50    -17,857       11,363           5.48       -6,471 HOUSE PROFIT                             -4,307         -0.32     916,619       26.60    -920,926       846,468        25.52       -850,775



                                                                                                    FIXED EXPENSES

   15,652        20.69       5,421       2.50     10,231         5,181          2.50       10,471 MANAGEMENT FEES                          62,972           4.63      86,201       2.50      -23,229        82,907        2.50        -19,935

   87,743       115.98      86,042      39.71      1,701      -142,700        -68.86      230,443 FIXED EXPENSES                         1,038,931         76.39   1,060,585      30.78      -21,654       854,992       25.78        183,939
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     -98,503       -130.20    -68,714   -31.71    -29,789   148,882   71.84   -247,385 NET OPERATING INCOME                    -1,106,210    -81.34   -230,167    -6.68    -876,043      -91,432     -2.76        -1,014,779



      146,350       193.44     38,930    17.97    107,420   133,380   64.36     12,970 Other                                    1,682,046    123.67    474,657    13.77    1,207,389    1,746,754    52.66             -64,708



    -244,853       -323.64   -107,645   -49.68   -137,208    15,502    7.48   -260,355 N.I. after Other                        -2,788,256   -205.01   -704,824   -20.45   -2,083,432   -1,838,186   -55.42          -950,071



    -148,610                 -107,645             -40,965   107,897           -256,507 Cash before Depreciation/Amortization   -1,633,340             -704,824             -928,516     -687,118                    -946,223

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                                                             Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 66 of 541
                                                                   Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                   For Property: CY Houston Brookhollow
                                                                   00- Master P&L-CAPSTONE
                                                                   As of 12/31/2020

   Actual       % / POR         Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description         YTD          % / POR         YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                        Bud Var                                      Var                                                                   Budget                Bud Var         Year                          Var
                                                                                                            ROOMS DEPARTMENT
                                                                                                            ROOMS REVENUE

       38,131        54.09         91,280       47.32    -53,149       111,239         59.47      -73,108 Rack/ Premium                           709,926         56.58   1,694,615      54.73     -984,689      1,768,556       59.17          -1,058,630

       19,913        28.25         58,660       30.41    -38,747        47,097         25.18      -27,184 Discounts - Other                       299,218         23.85     795,559      25.69     -496,341       760,941        25.46           -461,723

          244         0.35          2,691        1.40     -2,447         3,434          1.84       -3,190 Government                               11,412          0.91      46,289       1.50      -34,877        45,699         1.53             -34,287

        8,779        12.45         25,538       13.24    -16,759        17,213          9.20       -8,434 Locally Negotiated Rate                 159,293         12.70     362,829      11.72     -203,536       266,243         8.91           -106,950

            0         0.00               0       0.00          0            -7          0.00              7 Allowances                                 -749       -0.06           0       0.00         -749         -2,278       -0.08                  1,529

        2,250         3.19          2,430        1.26       -180         2,260          1.21          -10 Redemption Revenue                       18,616          1.48      23,202       0.75       -4,586        22,657         0.76               -4,041



      69,317         98.33       180,599        93.63   -111,282      181,236          96.89     -111,919 Total Transient Revenue               1,197,716         95.46   2,922,494      94.39   -1,724,778     2,861,818        95.75        -1,664,102




            0         0.00               0       0.00          0             0          0.00              0 Total Base Revenues                          0         0.00           0       0.00             0              0       0.00                     0



          621         0.88         12,291        6.37    -11,670         3,638          1.94       -3,017 Group- Corporate                         49,910          3.98     173,712       5.61     -123,802        96,664         3.23             -46,754



         621          0.88        12,291         6.37    -11,670         3,638          1.94       -3,017 Total Group Revenue                      49,910          3.98    173,712        5.61    -123,802         96,664         3.23            -46,754



          553         0.78               0       0.00        553         2,188          1.17       -1,635 Guaranteed No-Show                        7,117          0.57           0       0.00        7,117        30,295         1.01             -23,178



      70,491       100.00        192,890       100.00   -122,399      187,062         100.00     -116,571 Total Rooms Revenue                   1,254,743       100.00    3,096,206     100.00   -1,841,463     2,988,778       100.00        -1,734,034



                                                                                                            ROOM STATISTICS

          495              48        926           43       -431         1,303            54         -808 Rack/ Premium Rooms                       8,158            51      15,693         49       -7,535        17,281           54               -9,123

          420              40        797           37       -377           857            36         -437 Discounts - Other Rooms                   5,279            33      10,427         33       -5,148        10,729           33               -5,450

            2               0         22            1        -20            20             1          -18 Government Rooms                              80            0         367          1         -287             357          1                  -277

          115              11        258           12       -143           184             8          -69 Locally Negotiated Corporate Rooms        1,904            12       3,592         11       -1,688         2,612            8                  -708



       1,032               99      2,002          93       -970          2,364           98        -1,332 Total Transient Stats                    15,421           96      30,079         94      -14,658         30,979          97             -15,558




            0               0            0         0          0              0            0               0 Total Crew Stats                             0           0           0          0              0              0         0                      0



            9               1        151            7       -142            50             2          -41 Group- Corporate Rooms                       642            4       1,953          6       -1,311         1,051            3                  -409



            9               1        151           7       -142             50            2           -41 Total Group Stats                            642           4       1,953          6        -1,311         1,051           3                   -409



       1,041              100      2,153         100      -1,112         2,414          100        -1,373 TOTAL ROOM STATISTICS                    16,063          100      32,032        100      -15,969         32,030         100             -15,967



                                                                                                            Other Room Stats

            2               0            0          0          2             5             0              -3 Comp Rooms                                 36            0           0          0            36            133          0                    -97

            8               1            0          0          8            22             1          -14 GNS Stats                                    138            1           0          0         138              233          1                    -95

        2,610             251            0          0      2,610           713            30        1,897 Out of Order Rooms                       35,667           222           0          0       35,667         9,268           29             26,399

        1,351             130            0          0      1,351         3,204           133       -1,853 # of Guests                              20,522           128           0          0       20,522        40,805          127             -20,283



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                                                            Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                            For Property: CY Houston Brookhollow
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year     % / POR      Act vs LY                        Description       YTD          % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                      Var                                                                Budget              Bud Var         Year                         Var
                                                                                                     ADR



        77.03                 98.60                -21.56         85.37                      -8.34 Rack/Premium ADR                          87.02                107.98                -20.96         102.34                           -15.32

         0.00                  0.00                  0.00          0.00                       0.00 Corporate ADR                                0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                            0 Contract - Airline ADR                       0                   0                        0              0                               0

        47.41                 73.64                -26.23         54.96                      -7.54 Discount ADR                              56.68                 76.30                -19.62          70.92                           -14.24

         0.00                  0.00                  0.00          0.00                       0.00 Distressed Passengers ADR                    0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                            0 AARP ADR                                     0                   0                        0              0                               0

       122.00                125.00                 -3.00        171.71                     -49.71 Government ADR                           142.65                126.08                 16.57         128.01                              14.64

         0.00                  0.00                  0.00          0.00                       0.00 AAA ADR                                      0.00                0.00                  0.00           0.00                               0.00

        76.34                 98.85                -22.51         93.55                     -17.21 Local Negotiated ADR                      83.66                101.02                -17.35         101.93                           -18.27

         0.00                  0.00                  0.00          0.00                       0.00 Packages ADR                                 0.00                0.00                  0.00           0.00                               0.00

         0.00                  0.00                  0.00          0.00                       0.00 Wholesale/FIT ADR                            0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                            0 Internet ADR                                 0                   0                        0              0                               0

            0                      0                    0             0                            0 Tax Exampt - Transient ADR                   0                   0                        0              0                               0



       67.17                 90.20                 -23.03         76.67                      -9.50 Total Transient ADR                       77.67                97.16                 -19.49         92.38                          -14.71




         0.00                  0.00                  0.00          0.00                       0.00 Crew ADR                                     0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                            0 Contract ADR                                 0                   0                        0              0                               0




         0.00                  0.00                  0.00          0.00                       0.00 Group - SMERF ADR                            0.00                0.00                  0.00           0.00                               0.00

        69.00                 81.56                -12.56         72.77                      -3.77 Group - Corporate ADR                     77.74                 88.95                -11.21          91.97                           -14.23

            0                      0                    0             0                            0 Group - Government ADR                       0                   0                        0              0                               0

            0                      0                    0             0                            0 Group - Tour ADR                             0                   0                        0              0                               0

            0                      0                    0             0                            0 Group- Association ADR                       0                   0                        0              0                               0

            0                      0                    0             0                            0 Group - Tax Exampt ADR                       0                   0                        0              0                               0



       69.00                 81.56                 -12.56         72.77                      -3.77 Total Group ADR                           77.74                88.95                 -11.21         91.97                          -14.23

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                                                                 Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                 For Property: CY Houston Brookhollow
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                       Description        YTD         % / POR          YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                      Var                                                                   Budget                Bud Var         Year                          Var
                                                                                                          Payroll & Related Expense

        2,397         2.30       4,069         1.89     -1,672         4,840         2.01        -2,443 FD/ Guest Service Reps                   23,589          1.47      60,540       1.89      -36,951        59,181         1.85             -35,592

        2,417         2.32       2,415         1.12          2         3,051         1.26          -634 FD/Supervisor                            27,324          1.70      28,506       0.89       -1,182        22,344         0.70                  4,981

        5,262         5.05       5,602         2.60       -340         4,646         1.92          616 Executive Housekeeper                     59,884          3.73      65,040       2.03       -5,156        58,520         1.83                  1,364

        1,438         1.38       2,234         1.04       -796         2,315         0.96          -878 Asst Exec Housekeeper/ Inspectress       12,902          0.80      26,332       0.82      -13,430        28,071         0.88             -15,169

        3,511         3.37       9,267         4.30     -5,756        10,338         4.28        -6,828 Housekeepers                             55,552          3.46     137,872       4.30      -82,320       128,206         4.00             -72,654

        1,281         1.23       3,879         1.80     -2,598         3,983         1.65        -2,701 Housemen                                 24,321          1.51      45,809       1.43      -21,488        47,889         1.50             -23,569

          498         0.48       2,011         0.93     -1,513         2,190         0.91        -1,692 Laundry                                   9,453          0.59      29,923       0.93      -20,470        28,787         0.90             -19,334

        2,634         2.53       3,096         1.44       -462         2,787         1.15          -152 Night Audit                              35,383          2.20      36,541       1.14       -1,158        36,524         1.14               -1,141

        1,697         1.63       2,834         1.32     -1,137         3,062         1.27        -1,365 Payroll Taxes                            21,004          1.31      35,397       1.11      -14,393        34,572         1.08             -13,568

        2,667         2.56       1,527         0.71      1,140           807         0.33         1,860 Employee Benefits                        18,731          1.17      18,324       0.57         407         14,685         0.46                  4,047

       -3,678         -3.53        700         0.33     -4,378         1,098         0.45        -4,777 Vacation /PTO                            26,658          1.66       8,400       0.26       18,258         7,832         0.24             18,826

        1,794         1.72       2,600         1.21       -806         2,868         1.19        -1,074 Holiday                                   6,643          0.41       9,100       0.28       -2,457         9,950         0.31               -3,306

             0        0.00             0       0.00          0             0         0.00               0 Bonus/Incentive Pay                        352         0.02           0       0.00         352          1,275         0.04                  -923

             0        0.00             0       0.00          0             0         0.00               0 Contract Labor                               0         0.00           0       0.00             0              0       0.00                     0

             0        0.00             0       0.00          0             0         0.00               0 Contract Labor- Housekeepers                 0         0.00           0       0.00             0        8,279         0.26               -8,279



      21,918         21.06      40,234        18.69    -18,316       41,986         17.39      -20,067 Total P/R & R/Benefits- Rooms            321,796         20.03    501,784       15.67    -179,988       486,115         15.18          -164,319

                                                                                                          ROOMS DEPARTMENT
                                                                                                          OPERATING EXPENSE

             0        0.00         129         0.06       -129           104         0.04          -104 Newspapers                                   401         0.02       1,922       0.06       -1,521         1,785         0.06               -1,384

             0        0.00       3,079         1.43     -3,079           790         0.33          -790 Rooms- Promotion                          6,113          0.38      45,806       1.43      -39,693        41,439         1.29             -35,326

             0        0.00             0       0.00          0             0         0.00               0 Guest Transportation                         0         0.00           0       0.00             0            198       0.01                  -198

          697         0.67         151         0.07       546            205         0.08          492 Laundry Supplies                           2,638          0.16       2,242       0.07         396          2,504         0.08                   135

          346         0.33       1,184         0.55       -838         1,292         0.54          -947 Linen Supplies                            3,170          0.20      17,618       0.55      -14,448        17,218         0.54             -14,049

        3,347         3.21       3,491         1.62       -144         3,363         1.39           -16 Cable TV                                 38,664          2.41      41,892       1.31       -3,228        42,599         1.33               -3,934

          493         0.47         493         0.23         -1           493         0.20               0 HSIA Support                            7,999          0.50       5,916       0.18        2,083         5,953         0.19                  2,046

          423         0.41       1,184         0.55       -761           978         0.40          -555 Reservations Expense                      5,457          0.34      17,618       0.55      -12,161        16,859         0.53             -11,402

          536         0.51       2,153         1.00     -1,617         2,422         1.00        -1,886 Guest Room Supplies                      12,446          0.77      35,946       1.12      -23,500        30,626         0.96             -18,181

          199         0.19         581         0.27       -382           659         0.27          -460 Cleaning Supplies                         2,454          0.15       8,649       0.27       -6,195         7,706         0.24               -5,252

          201         0.19         366         0.17       -165           682         0.28          -480 Ecolab Core Supplies                      3,857          0.24       5,447       0.17       -1,590         6,839         0.21               -2,982

          890         0.86       3,445         1.60     -2,555         4,567         1.89        -3,676 Travel Agents Commission                 26,199          1.63      51,251       1.60      -25,052        61,630         1.92             -35,430

             0        0.00         215         0.10       -215           207         0.09          -207 Uniforms                                     372         0.02       3,203       0.10       -2,831         2,953         0.09               -2,581

            22        0.02             0       0.00         22             0         0.00            22 COVID 19 Supplies                         3,214          0.20           0       0.00        3,214               0       0.00                  3,214



       7,153          6.87      16,471         7.65     -9,319       15,760          6.53       -8,607 Total Operating - Rooms                  112,984          7.03    237,509        7.41    -124,525       238,308          7.44          -125,324



      29,071         27.93      56,705        26.34    -27,634       57,746         23.92      -28,675 Total Expenses- Rooms                    434,780         27.07    739,293       23.08    -304,513       724,424         22.62          -289,643



      41,420         39.79     136,185        63.25    -94,765      129,316         53.57      -87,896 Net Income- Rooms                        819,963         51.05   2,356,913      73.58   -1,536,950     2,264,354        70.69        -1,444,391



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                                                                Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                For Property: CY Houston Brookhollow
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description         YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                         Food & Beverage
                                                                                                         Summary


            17        3.30      12,746       64.89    -12,729        10,964         70.61      -10,947 Total Food Sales                         39,154          64.30   189,629      65.69    -150,475        178,363        66.90           -139,209

             0        0.00       4,823       24.55     -4,823         3,571         22.99       -3,571 Total Beverage Sales                     16,811          27.61    71,752      24.85     -54,940         66,079        24.79             -49,268

             0        0.00        100         0.51      -100              0          0.00              0 Total Banquet A/V                           38          0.06     1,200       0.42      -1,163              225       0.08                  -188

          490        96.70       1,973       10.04     -1,483           994          6.40         -504 Total Banquet Misc                        4,887           8.03    26,108       9.04     -21,221         21,925         8.22             -17,038



          507       100.00      19,641      100.00    -19,134        15,528        100.00      -15,021 Total F & B Sales                        60,890         100.00   288,689     100.00    -227,799        266,593       100.00           -205,703



            14       83.83       4,716       37.00     -4,702         9,304         84.86       -9,290 Food Cost                                18,911          48.30    70,163      37.00     -51,252         74,421        41.72             -55,510

             0        0.00       1,356       28.11     -1,356         1,034         28.95       -1,034 Beverage Costs                            6,172          36.72    20,168      28.11     -13,995         23,826        36.06             -17,654

             0        0.00            0       0.00         0              0          0.00              0 Banquet A/V Costs                            0          0.00        0        0.00             0              0       0.00                    0



            14        2.76       6,071       30.91     -6,057        10,338         66.57      -10,324 Total F & B Costs                        25,084          41.20    90,331      31.29     -65,247         98,247        36.85             -73,163



             0        0.00      12,821      100.59    -12,821         7,746         70.65       -7,746 Food Wages                               23,295          59.49   153,988      81.20    -130,693        132,221        74.13           -108,926

             0        0.00            0       0.00         0              0          0.00              0 Beverage Wages                               0          0.00        0        0.00             0              0       0.00                    0

             0        0.00      12,821       72.98    -12,821         7,746         53.29       -7,746 Total F & B Wages                        23,295          41.62   153,988      58.91    -130,693        132,221        54.09           -108,926



             0        0.00       2,471       14.07     -2,471         2,134         14.68       -2,134 F & B- P T & E B                          4,758           8.50    19,748       7.56     -14,990         21,008         8.59             -16,250




             0        0.00      15,292       77.86    -15,292         9,879         63.62       -9,879 TTL P/R and Benefits                     28,053          46.07   173,736      60.18    -145,683        153,229        57.48           -125,176




          112       668.14       2,141       16.80     -2,030         3,090         28.18       -2,978 Food Operating Expenses                   5,152          13.16    27,205      14.35     -22,053         28,716        16.10             -23,564

             0        0.00            0       0.00         0              0          0.00              0 Beverage Operating Expenses                770          4.58     1,550       2.16       -780           2,293         3.47               -1,523



          112        22.02       2,141       10.90     -2,030         3,090         19.90       -2,978 Total F & B Operating Expenses            5,922           9.73    28,755       9.96     -22,833         31,009        11.63             -25,087



          381        75.22      -3,864      -19.67      4,245        -7,779        -50.10        8,160 Net F & B Income                          1,831           3.01    -4,132      -1.43       5,963        -15,892        -5.96             17,724




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                                                                Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                For Property: CY Houston Brookhollow
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description         YTD         % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         Food Department


             0        0.00      5,856        45.95     -5,856             0          0.00              0 Restaurant Breakfast                         0         0.00    87,127      45.95     -87,127           -722        -1.85                  722

             0        0.00      3,811        29.90     -3,811             0          0.00              0 Restaurant Dinner                            0         0.00    56,697      29.90     -56,697                0       0.00                    0



            0         0.00      9,667        65.24     -9,667             0          0.00              0 Total Restaurant                            0          0.00   143,824      66.30    -143,824          -722         -0.36                  722




            0         0.00            0       0.00         0              0          0.00              0 Total Bar Food                              0          0.00        0        0.00             0              0       0.00                    0



            17        3.30      2,261        15.26     -2,244         2,068         17.29       -2,051 Starbucks Revenues                        7,477         16.96    33,634      15.50     -26,156         32,558        16.24             -25,081



             0        0.00            0       0.00          0         5,665         47.38       -5,665 Bistro Breakfast                         17,725         40.21         0       0.00      17,725         83,912        41.85             -66,187

             0        0.00            0       0.00          0         2,737         22.89       -2,737 Bistro Dinner                            11,257         25.54         0       0.00      11,257         55,381        27.62             -44,124



            0         0.00            0       0.00         0          8,402         70.27       -8,402 Total Bistro                             28,982         65.75        0        0.00     28,982        139,293         69.47          -110,311




            0         0.00            0       0.00         0              0          0.00              0 Total Garden Grill                          0          0.00        0        0.00             0              0       0.00                    0




            0         0.00            0       0.00         0              0          0.00              0 Total Other Food Revenue                    0          0.00        0        0.00             0              0       0.00                    0




            0         0.00            0       0.00         0              0          0.00              0 Total Room Service                          0          0.00        0        0.00             0              0       0.00                    0



             0        0.00        388         2.62       -388           130          1.08         -130 Banquet Breakfast                            180         0.41     5,766       2.66      -5,586          2,944         1.47               -2,764

             0        0.00        323         2.18       -323           339          2.84         -339 Banquet Lunch                             2,410          5.47     4,805       2.21      -2,395          3,039         1.52                  -629

             0        0.00            0       0.00          0             0          0.00              0 Banquet Dinner                               0         0.00         0       0.00             0            700       0.35                  -700

             0        0.00        108         0.73       -108            25          0.21          -25 Banquet Breaks                               105         0.24     1,602       0.74      -1,497              551       0.27                  -446



             0        0.00       818          5.52      -818           494           4.13        -494 Total Banquets                             2,695          6.11    12,172       5.61      -9,477         7,234          3.61             -4,539




             0        0.00            0       0.00         0              0          0.00              0 Total Catering                              0          0.00        0        0.00             0              0       0.00                    0



            17        3.30     12,746        86.01    -12,729       10,964          91.69      -10,947 Net Food Revenue                         39,154         88.83   189,629      87.41    -150,475       178,363         88.95          -139,209




          450        88.81      1,000         6.75       -550           750          6.27         -300 Banquet Room Rental                       3,850          8.73    12,000       5.53      -8,150          8,633         4.31               -4,783

             0        0.00        100         0.67       -100             0          0.00              0 Banquet A/V                                 38         0.09     1,200       0.55      -1,163              225       0.11                  -188

             0        0.00         50         0.34        -50             0          0.00              0 Banquet Miscellaneous                        0         0.00       600       0.28        -600              175       0.09                  -175

            40        7.89        923         6.23       -883           244          2.04         -204 F & B Service Charges                     1,037          2.35    13,508       6.23     -12,471         13,117         6.54             -12,080



         490         96.70      2,073        13.99     -1,583          994           8.31        -504 Total Banquets Other                       4,925         11.17    27,308      12.59     -22,383        22,150         11.05            -17,225



         507       100.00      14,818       100.00    -14,312       11,957         100.00      -11,451 Total Food Revenues                      44,079      100.00     216,937     100.00    -172,858       200,513        100.00          -156,435

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                                                                Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                For Property: CY Houston Brookhollow
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                      Description        YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                         Cost of Goods Sold

            14       83.83      4,716        37.00     -4,702         9,304         84.86       -9,290 Cost of Sales - Food                     18,911          48.30    70,163      37.00     -51,252         74,421        41.72             -55,510

            14       83.83      4,716        37.00     -4,702         9,304         84.86       -9,290 Total Cost of Good Sold                  18,911         48.30     70,163      37.00     -51,252        74,421         41.72            -55,510


                                                                                                         Food Payroll

             0        0.00      8,096        54.63     -8,096         6,212         51.95       -6,212 Gourmet Attendant                        18,411          41.77    95,618      44.08     -77,207         85,830        42.81             -67,419

             0        0.00      3,546        23.93     -3,546         1,051          8.79       -1,051 Cooks                                     3,629           8.23    41,863      19.30     -38,234         31,554        15.74             -27,925

             0        0.00        923         6.23       -923           376          3.14         -376 F & B Service Charge- Payout                 476          1.08    13,435       6.19     -12,959         12,267         6.12             -11,792

             0        0.00      1,214         8.19     -1,214           734          6.14         -734 Payroll Taxes                             2,570           5.83    13,765       6.35     -11,195         12,494         6.23               -9,924

             0        0.00        256         1.73       -256           106          0.89         -106 Employee Benefits                            779          1.77     3,072       1.42      -2,293          2,569         1.28               -1,790

             0        0.00            0       0.00          0           710          5.94         -710 Vacation /PTO                             1,844           4.18         0       0.00       1,844          5,197         2.59               -3,353

             0        0.00      1,072         7.23     -1,072           689          5.76         -689 Holiday                                      344          0.78     3,751       1.73      -3,406          3,317         1.65               -2,972

             0        0.00     15,106       101.94    -15,106         9,879         82.62       -9,879 Total Food Wages                         28,053         63.64    171,504      79.06    -143,451       153,229         76.42          -125,176


                                                                                                         Operating Expenses

             0        0.00         43         0.29        -43             0          0.00              0 China                                        0          0.00       641       0.30        -641                0       0.00                    0

             0        0.00         43         0.29        -43             0          0.00              0 Glass                                       30          0.07       641       0.30        -611              178       0.09                  -148

             0        0.00         43         0.29        -43            99          0.83          -99 Silverware                                     0          0.00       641       0.30        -641              378       0.19                  -378

             0        0.00            0       0.00          0           246          2.06         -246 Tableware                                      0          0.00         0       0.00             0            539       0.27                  -539

             0        0.00         77         0.52        -77           108          0.90         -108 Linens                                        13          0.03       924       0.43        -911              925       0.46                  -912

             0        0.00        301         2.03       -301           590          4.93         -590 Supplies- Other                              372          0.84     4,484       2.07      -4,112          5,629         2.81               -5,257

             0        0.00        258         1.74       -258           263          2.20         -263 Cleaning Supplies                            655          1.49     3,844       1.77      -3,189          3,440         1.72               -2,785

             0        0.00            0       0.00          0             0          0.00              0 Dishwasher Supplies                        197          0.45         0       0.00         197              489       0.24                  -293

             0        0.00        710         4.79       -710           723          6.04         -723 Supplies- Paper                           2,244           5.09    10,571       4.87      -8,327         10,597         5.28               -8,353

             0        0.00        400         2.70       -400           406          3.40         -406 Menus                                          0          0.00     1,600       0.74      -1,600          2,029         1.01               -2,029

             0        0.00         75         0.51        -75           441          3.69         -441 Kitchen & Utensils Supplies                  335          0.76       900       0.41        -565          1,284         0.64                  -949

          112        22.02        190         1.28        -78           188          1.57          -77 Equipment Rental                          1,278           2.90     2,280       1.05      -1,002          2,229         1.11                  -951

             0        0.00            0       0.00          0            25          0.21          -25 Promotions                                    29          0.07         0       0.00            29            999       0.50                  -970

             0        0.00            0       0.00          0             0          0.00              0 Licenses & Permits                           0          0.00       680       0.31        -680                0       0.00                    0



         112         22.02      2,141        14.45     -2,030         3,090         25.84       -2,978 Total Operating Expense- Food             5,152         11.69     27,205      12.54     -22,053        28,716         14.32            -23,564



         126         24.78     21,963       148.22    -21,838       22,273         186.27      -22,148 Total Food Costs                         52,116      118.23      268,871     123.94    -216,755       256,366        127.85          -204,250



         381         75.22     -7,145       -48.22     7,526        -10,316        -86.27      10,697 N.I.- Food Department                     -8,037         -18.23   -51,934     -23.94     43,897         -55,853       -27.85             47,815

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                                                                Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                For Property: CY Houston Brookhollow
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                   Description           YTD        % / POR         YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         Beverage Department




            0         0.00            0       0.00         0              0          0.00              0 Total Restaurant Beverage                   0         0.00         0        0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0          0.00              0 Total Garden Grill Beverage                 0         0.00         0        0.00             0              0       0.00                  0




            0         0.00            0       0.00         0              0          0.00              0 Total Room Service Bev                      0         0.00         0        0.00             0              0       0.00                  0



            0         0.00      1,636        33.93     -1,636         1,143         32.01       -1,143 Bar Liquor                                5,507         32.76    24,344      33.93     -18,837         22,984        34.78             -17,477

            0         0.00      1,615        33.48     -1,615         1,280         35.84       -1,280 Bar Beer                                  5,868         34.91    24,024      33.48     -18,156         21,580        32.66             -15,712

            0         0.00      1,572        32.59     -1,572         1,148         32.15       -1,148 Bar Wine                                  5,436         32.34    23,383      32.59     -17,947         21,515        32.56             -16,079



            0         0.00      4,823       100.00     -4,823         3,571        100.00       -3,571 Total Bar Beverage                       16,811     100.00      71,752      100.00     -54,940        66,079        100.00            -49,268




            0         0.00            0       0.00         0              0          0.00              0 Total Banquet Beverage                      0         0.00         0        0.00             0              0       0.00                  0




            0         0.00            0       0.00         0              0          0.00              0 Total Catering Beverage                     0         0.00         0        0.00             0              0       0.00                  0



            0         0.00      4,823       100.00     -4,823         3,571        100.00       -3,571 Total Beverage Revenue                   16,811     100.00      71,752      100.00     -54,940        66,079        100.00            -49,268

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                                                                Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                For Property: CY Houston Brookhollow
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                     Description          YTD         % / POR        YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var       Year                          Var
                                                                                                         Cost of Goods Sold

            0         0.00        362         7.50       -362           281         7.88          -281 Cost of Sales - Liquor                    2,395         14.25     5,380       7.50      -2,985        8,786        13.30               -6,391

            0         0.00        436         9.04       -436           322         9.01          -322 Cost of Sales - Beer                      1,614          9.60     6,486       9.04      -4,872        5,675         8.59               -4,061

            0         0.00        558        11.57       -558           430        12.06          -430 Cost of Sales - Wine                      2,164         12.87     8,301      11.57      -6,138        9,365        14.17               -7,202



            0         0.00      1,356        28.11     -1,356         1,034        28.95        -1,034 Total COGS- Beverage                      6,172         36.72    20,168      28.11     -13,995       23,826        36.06             -17,654


                                                                                                         Beverage Payroll

            0         0.00        186         3.86       -186             0         0.00               0 Vacation /PTO                                0         0.00     2,232       3.11      -2,232              0       0.00                   0

            0         0.00       186          3.86      -186              0         0.00               0 Total Beverage Payroll                       0         0.00    2,232        3.11      -2,232              0       0.00                   0


                                                                                                         Operating Expenses- Beverage

            0         0.00            0       0.00          0             0         0.00               0 Licenses & Permits                         770         4.58     1,550       2.16        -780        2,293         3.47               -1,523



            0         0.00            0       0.00         0              0         0.00               0 Total Operating- Beverage                  770         4.58    1,550        2.16       -780        2,293          3.47             -1,523



            0         0.00      1,542        31.96     -1,542         1,034        28.95       -1,034 Total Beverage Costs                       6,942         41.30   23,950       33.38     -17,007      26,119         39.53            -19,177



            0         0.00      3,281        68.04     -3,281         2,537        71.05       -2,537 Net Income- Beverage                       9,869         58.70   47,802       66.62     -37,933      39,960         60.47            -30,091

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                                                               For Property: CY Houston Brookhollow
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                  Description             YTD         % / POR       YTD    % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget              Bud Var       Year                        Var
                                                                                                       FOOD STATS



            0         0.00            0       0.00         0           517        0.73           -517 Restaurant Breakfast Covers               1,622         0.69        0       0.00       1,622        7,434       0.66               -5,812

            0         0.00            0       0.00         0           191        0.27           -191 Restaurant Dinner Covers                     720        0.31        0       0.00        720         3,801       0.34               -3,081



            0         0.00            0      0.00          0          708         1.00          -708 Total Food Covers                          2,342         1.00        0      0.00       2,342       11,235       1.00              -8,893

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                                                                For Property: CY Houston Brookhollow
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR     Act vs    Last Year     % / POR       Act vs LY                   Description           YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR       Act vs LY
                                                      Bud Var                                     Var                                                                   Budget               Bud Var         Year                           Var
                                                                                                         TELECOM
                                                                                                         TELEPHONE REVENUES

            0         0.00            0        0.00         0             0          0.00              0 Local                                        0          0.00         0       0.00             0              1       0.00                      -1

            3         0.00         25          0.00       -22            28          0.00          -25 Long Distance                                 53          0.00      300        0.00        -247              334        0.00                   -281

          142         0.00        129          0.00        13           142          0.00              0 Internet Access Fees                    1,861           0.00     1,922       0.00         -61          1,626          0.00                   235



         145          0.00       154          0.00         -9          170          0.00          -25 Total Phone Revenues                       1,914          0.00     2,222       0.00        -308          1,961          0.00                    -47



                                                                                                         COS- Communication

        1,483         1.96      1,340          0.62       143         1,292          0.62         191 COS-Local                                 16,646           1.22    16,080       0.47        566          15,633          0.47               1,013

            0         0.00         50       200.00        -50            53        189.34          -53 COS-Long Distance                            181        344.23      600      200.00        -419              564     168.94                    -383

        1,209       849.24      1,300      1,006.35       -91         1,315        923.71         -106 COS-HSIA ISP                             16,250         873.00    15,600     811.69        650          19,865      1,221.78               -3,615



       2,691          0.00      2,690         0.00          1         2,659         0.00           32 Total COS- Comm                           33,077          0.00    32,280       0.00         797         36,061          0.00              -2,985



       -2,546         0.00     -2,536         0.00        -10        -2,489         0.00          -57 Gross Margin- Comm                       -31,163          0.00    -30,058      0.00       -1,105        -34,101         0.00                2,938




                                                                                                         Operating Expenses

          100         0.00        100          0.00         0        -1,406          0.00        1,506 Equipment Cost                            1,250           0.00     1,200       0.00            50        1,200          0.00                    50

            0         0.00            0        0.00         0         1,506          0.00       -1,506 Equipment Maintenance                        406          0.00         0       0.00        406           2,218         0.00                -1,812



         100          0.00       100          0.00          0          100          0.00               0 Total Operating - Comm                  1,656          0.00     1,200       0.00         456          3,418          0.00              -1,762



       2,646          0.00      2,636         0.00         10         2,589         0.00           57 N.I.- Comm Dept                           32,818          0.00    31,258       0.00       1,560         37,519          0.00              -4,700



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                                                                For Property: CY Houston Brookhollow
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                      Description        YTD         % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         MISCELLANEOUS DEPARTMENT
                                                                                                         MISCELLANEOUS REVENUES

             0        0.00         86         2.07        -86            52          1.11          -52 Laundry/Valet                                 98         0.22     1,281       2.10      -1,183              876       1.42                   -778

            57        1.22         43         1.04        14             89          1.92          -32 Vending                                      536         1.21      641        1.05        -105              715       1.16                   -180

             0        0.00            0       0.00         0              0          0.00              0 Pet Fees                                   100         0.23        0        0.00        100                 0       0.00                   100

             0        0.00            0       0.00         0              0          0.00              0 Interest Income                              0         0.00        0        0.00             0             25       0.04                    -25

        2,677        57.47        861        20.73      1,816         1,521         32.76        1,156 Late Cancellation Income                 15,905         35.80    12,813      21.03       3,092         11,871        19.24               4,034

          500        10.73        300         7.22       200            250          5.38         250 Smoking Fee                                5,564         12.52     3,600       5.91       1,964          4,265         6.91               1,299

            48        1.02            0       0.00        48            139          2.98          -91 Tax Discounts Earned                         867         1.95        0        0.00         867          2,950         4.78               -2,083

        1,320        28.33      2,863        68.94     -1,544         2,582         55.61       -1,262 Market Sales                             21,300         47.94    42,603      69.91     -21,302         40,999        66.44            -19,699

            57        1.22            0       0.00        57             11          0.23           47 Market Sales- Beer/Wine                       57         0.13        0        0.00            57             11       0.02                    47



       4,658       100.00       4,154       100.00       504          4,643        100.00          15 Total Miscellaneous Revenues              44,427      100.00     60,937      100.00     -16,511        61,712        100.00            -17,285



                                                                                                         COSales- Miscellaneous

             0        0.00         86       100.00        -86            49         94.83          -49 COS-Laundry/Valet                             76        77.40     1,281     100.00      -1,205              908     103.69                   -832

        1,061        80.38      1,432        50.00      -371          1,051         40.72              9 COS- Market                             9,125         42.84    21,301      50.00     -12,176         17,965        43.82               -8,840



       1,061         22.77      1,518        36.54      -457          1,100         23.70         -40 Total COS- Miscellaneous                   9,201         20.71   22,583       37.06     -13,382        18,873         30.58             -9,672



            0         0.00            0       0.00         0              0          0.00              0 Total Meeting Room Revenues                 0          0.00        0        0.00             0              0       0.00                     0


                                                                                                         Cost of Sales- Meeting Room



       3,598         77.23      2,636        63.46       962          3,543         76.30          55 Total Miscellaneous Profit                35,226         79.29   38,355       62.94      -3,129        42,838         69.42             -7,613

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                                                                 For Property: CY Houston Brookhollow
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description         YTD         % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                          ADMIN & GENERAL DEPARTMENT
                                                                                                          ADMIN & GENERAL

                                                                                                          P/R & Related Benefits- A&G

        1,361         1.80       6,823         3.15     -5,462         5,658         2.73        -4,296 General Manager                          57,586          4.23    79,591       2.31     -22,005         74,052         2.23            -16,466

        4,036         5.33       4,296         1.98       -260         3,563         1.72           472 Assistant General Manager                45,203          3.32    49,881       1.45      -4,678         45,465         1.37                   -262

          356         0.47         845         0.39       -489           707         0.34          -351 Payroll Taxes                             7,932          0.58    10,501       0.30      -2,569          9,782         0.29               -1,850

       -1,726         -2.28      1,206         0.56     -2,932         1,268         0.61        -2,993 Employee Benefits                        15,089          1.11    14,472       0.42         617         15,322         0.46                   -233

       -1,329         -1.76            0       0.00     -1,329             0         0.00        -1,329 Vacation /PTO                            15,455          1.14         0       0.00      15,455          1,980         0.06             13,475

          378         0.50             0       0.00       378            978         0.47          -600 Holiday                                   2,936          0.22         0       0.00       2,936          3,373         0.10                   -437

             0        0.00             0       0.00          0             0         0.00               0 Bonus/Incentive Pay                     1,557          0.11     8,700       0.25      -7,143          5,748         0.17               -4,190



       3,076          4.07      13,170         6.08    -10,094       12,173          5.87       -9,097 Total P/R & R/B- A&G                     145,758         10.72   163,145       4.73     -17,388       155,721          4.69             -9,964


                                                                                                          Operating Expenses- A&G

          260         0.34       2,450         1.13     -2,190         2,823         1.36        -2,563 Employee Relations                        1,611          0.12     7,100       0.21      -5,489          9,565         0.29               -7,954

        4,000         5.29       2,000         0.92      2,000         2,000         0.97         2,000 Accounting Fees                          26,000          1.91    24,000       0.70       2,000         24,000         0.72               2,000

          877         1.16       3,878         1.79     -3,001         3,988         1.92        -3,111 Data Processing                          13,073          0.96    14,429       0.42      -1,356         13,457         0.41                   -385

            96        0.13         431         0.20       -335         1,403         0.68        -1,307 Office Supplies                           1,704          0.13     6,406       0.19      -4,703          7,839         0.24               -6,135

             0        0.00             0       0.00          0           -12        -0.01            12 Audit Fees                                     0         0.00         0       0.00             0              0       0.00                     0

            44        0.06          44         0.02          0          -636        -0.31           680 Muzak                                        524         0.04       528       0.02            -4         -731        -0.02               1,254

             0        0.00             0       0.00          0           -10         0.00            10 A & G Meals- Promo                             0         0.00         0       0.00             0              0       0.00                     0

          559         0.74         300         0.14       259            599         0.29           -41 Travel & Lodging                          1,344          0.10     6,450       0.19      -5,106          6,887         0.21               -5,543

             0        0.00             0       0.00          0            47         0.02           -47 Meals and Entertainment                        0         0.00         0       0.00             0            382       0.01                   -382

             0        0.00          75         0.03        -75            75         0.04           -75 Telephone                                    263         0.02       900       0.03        -637              900       0.03                   -637

             0        0.00             0       0.00          0             0         0.00               0 Licenses and Permits                    2,941          0.22     5,326       0.15      -2,385          5,089         0.15               -2,148

          139         0.18          65         0.03         74           251         0.12          -113 Postage                                      443         0.03       961       0.03        -518          1,169         0.04                   -725

             0        0.00             0       0.00          0             0         0.00               0 Recruitment                             1,408          0.10       750       0.02         658          1,532         0.05                   -124

             0        0.00         180         0.08       -180           295         0.14          -295 Employment Screening/ Drug Testing        1,071          0.08     2,160       0.06      -1,089          2,283         0.07               -1,212

             0        0.00             0       0.00          0           237         0.11          -237 Training                                     937         0.07     2,445       0.07      -1,508          5,467         0.16               -4,530

             0        0.00             0       0.00          0             0         0.00               0 Bad Debt                                5,457          0.40         0       0.00       5,457          1,463         0.04               3,994

             0        0.00       5,400         2.49     -5,400         5,075         2.45        -5,075 Security Service                         14,277          1.05    64,800       1.88     -50,523         63,319         1.91            -49,042

          160         0.21         165         0.08         -5           160         0.08               0 Dues/Subscriptions                      1,621          0.12     3,037       0.09      -1,416          2,867         0.09               -1,246

          119         0.16       5,898         2.72     -5,779         6,146         2.97        -6,027 Credit Card Commissions                  28,060          2.06    93,787       2.72     -65,727         96,158         2.90            -68,098

             0        0.00             0       0.00          0            85         0.04           -85 Cash Over/Short                              247         0.02         0       0.00         247         -2,731        -0.08               2,978

          166         0.22         165         0.08          1           314         0.15          -148 Equipment Rental                          1,726          0.13     1,980       0.06        -254          2,078         0.06                   -352

          304         0.40         525         0.24       -221           725         0.35          -421 Payroll Services                          5,783          0.43     8,055       0.23      -2,272          8,418         0.25               -2,635

        1,132         1.50       1,600         0.74       -468         1,501         0.72          -369 Bank Charges                             14,318          1.05    19,200       0.56      -4,882         18,612         0.56               -4,294

        1,010         1.33             0       0.00      1,010             0         0.00         1,010 Chargebacks                               2,504          0.18         0       0.00       2,504          4,422         0.13               -1,918

             0        0.00             0       0.00          0             0         0.00               0 Sales Tax Variance                           0         0.00         0       0.00             0             78       0.00                    -78

          990         1.31       1,335         0.62       -345         2,340         1.13        -1,350 Workers Comp Insurance                   10,591          0.78    17,500       0.51      -6,909         19,139         0.58               -8,549



       9,856         13.03      24,510        11.31    -14,654       27,408         13.23      -17,552 Total Operating- A&G                     135,902          9.99   279,815       8.12    -143,913       291,663          8.79          -155,761



      12,932         17.09      37,680        17.39    -24,748       39,581         19.10      -26,649 Total Expenses- A&G                      281,660         20.71   442,960      12.85    -161,300       447,385         13.49          -165,725

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                                                                 00- Master P&L-CAPSTONE
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                                                      Bud Var                                      Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                          SALES DEPARTMENT
                                                                                                          SALES

                                                                                                          P/R & R/B

        5,571         7.36       5,686         2.62       -115         5,536        2.67             36 Director of Sales                        25,393         1.87    65,670       1.91     -40,277         50,401         1.52            -25,009

             0        0.00       3,500         1.62     -3,500         2,799        1.35         -2,799 Sales Manager                             8,350         0.61    40,310       1.17     -31,960         37,841         1.14            -29,491

          359         0.47         899         0.41       -540           763        0.37           -405 Revenue Management                        5,472         0.40    10,788       0.31      -5,316         10,016         0.30               -4,543

             0        0.00         172         0.08       -172             0        0.00                0 E Commerce Management                      516        0.04     2,066       0.06      -1,549                0       0.00                   516

          459         0.61         597         0.28       -138           683        0.33           -224 Payroll Taxes                             2,717         0.20     7,305       0.21      -4,587          6,760         0.20               -4,043

             0        0.00       1,507         0.70     -1,507           776        0.37           -776 Employee Benefits                         4,469         0.33    18,084       0.52     -13,615         16,500         0.50            -12,031

            -88       -0.12            0       0.00        -88           154        0.07           -241 Vacation / PTO                            1,361         0.10         0       0.00       1,361          1,462         0.04                   -100

             0        0.00             0       0.00          0           308        0.15           -308 Holiday                                      154        0.01         0       0.00         154          1,700         0.05               -1,546

             0        0.00             0       0.00          0             0        0.00                0 Bonus/Incentive Pay                        196        0.01     6,400       0.19      -6,204          1,878         0.06               -1,683



       6,302          8.33      12,361        5.70      -6,060       11,020         5.32        -4,718 Total P/R & R/B- Sales                    48,629         3.58   150,622      4.37     -101,993       126,557         3.82             -77,929


                                                                                                          Operating Expenses- Sales

             0        0.00             0       0.00          0             0        0.00                0 Printing & Stationary                        0        0.00       200       0.01        -200               30       0.00                    -30

             0        0.00          25         0.01        -25            83        0.04            -83 Office Supplies                               25        0.00       300       0.01        -275              370       0.01                   -345

             0        0.00          50         0.02        -50            79        0.04            -79 Travel & Lodging                             331        0.02     3,500       0.10      -3,169          2,958         0.09               -2,627

             0        0.00         100         0.05       -100             0        0.00                0 Meals & Entertainment                       31        0.00     1,200       0.03      -1,169              271       0.01                   -240

             0        0.00          50         0.02        -50           772        0.37           -772 Promotions                                2,181         0.16       600       0.02       1,581          2,558         0.08                   -377

             0        0.00         100         0.05       -100           100        0.05           -100 Telephone                                    200        0.01     1,200       0.03      -1,000              800       0.02                   -600

             0        0.00         125         0.06       -125            43        0.02            -43 Sales Training                            1,173         0.09     2,700       0.08      -1,527          3,080         0.09               -1,906

          416         0.55             0       0.00       416            848        0.41           -432 Dues & Subscriptions                     11,832         0.87     7,530       0.22       4,302          7,128         0.21               4,704

             0        0.00             0       0.00          0             0        0.00                0 Trade Show                                   0        0.00         0       0.00             0             21       0.00                    -21

             0        0.00         100         0.05       -100            83        0.04            -83 e Commerce Costs                             300        0.02     1,200       0.03        -900          2,644         0.08               -2,344

          130         0.17         200         0.09        -70           410        0.20           -281 Brand Paid Search                         2,895         0.21     2,400       0.07         495          8,634         0.26               -5,738

             0        0.00             0       0.00          0             0        0.00                0 Internet Advertising                         0        0.00         0       0.00             0        1,250         0.04               -1,250

             0        0.00         200         0.09       -200             0        0.00                0 Collateral                                   0        0.00       600       0.02        -600               26       0.00                    -26



         546          0.72        950         0.44       -404          2,419        1.17        -1,873 Total Operating- Sales                    18,968         1.39    21,430      0.62       -2,462        29,769         0.90             -10,800



       6,848          9.05      13,311        6.14      -6,464       13,438         6.48        -6,591 Total Expenses-Sales                      67,597         4.97   172,052      4.99     -104,455       156,326         4.71             -88,729

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                                                           Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 79 of 541
                                                                 Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                 For Property: CY Houston Brookhollow
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                       Description            YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                      Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                          MAINTENANCE DEPARTMENT
                                                                                                          REPAIRS & MAINTENANCE
                                                                                                          P/R & Related Expenses- Maintenance

             0        0.00       4,197         1.95     -4,197         3,666        1.52         -3,666 Chief Engineer                              19,237         1.20    48,613       1.52     -29,376         47,987         1.50            -28,750

        2,978         2.86       7,490         3.48     -4,512         6,060        2.51         -3,082 General Maintenance                         41,230         2.57    88,389       2.76     -47,160         76,327         2.38            -35,098

          272         0.26         935         0.43       -663           877        0.36           -605 Payroll Taxes                                4,806         0.30    10,960       0.34      -6,154         10,236         0.32               -5,430

        2,034         1.95         587         0.27      1,447           818        0.34          1,216 Employee Benefits                            7,952         0.50     7,044       0.22         908          5,067         0.16               2,885

          458         0.44             0       0.00       458            820        0.34           -362 Holiday                                      1,593         0.10         0       0.00       1,593          2,184         0.07                   -592

         -899         -0.86            0       0.00       -899           461        0.19         -1,359 Vacation /PTO                                5,326         0.33         0       0.00       5,326          1,099         0.03               4,227



       4,843          4.65      13,209        6.14      -8,366       12,702         5.26        -7,858 Total P/R & Related Expenses- Maintenance    80,144        4.99    155,006      4.84      -74,863       142,901         4.46             -62,757


                                                                                                          Operating Expenses- R & M

             0        0.00          65         0.03        -65             0        0.00                0 Laundry Equipment                              806       0.05       961       0.03        -155          1,177         0.04                   -371

          110         0.11         754         0.35       -644         1,502        0.62         -1,392 Building Maintenance                         3,214         0.20    11,211       0.35      -7,997         12,981         0.41               -9,767

             0        0.00             0       0.00          0          -159        -0.07          159 Office Equipment                                    0       0.00         0       0.00             0              0       0.00                     0

          107         0.10         151         0.07        -44           189        0.08            -81 Light Bulbs                                  1,765         0.11     2,242       0.07        -477          3,965         0.12               -2,200

             0        0.00         129         0.06       -129           424        0.18           -424 Electrical & Mechanical                      1,417         0.09     1,922       0.06        -505          1,764         0.06                   -347

             0        0.00         689         0.32       -689            87        0.04            -87 HVAC                                         4,367         0.27    10,250       0.32      -5,883          8,054         0.25               -3,687

            68        0.07         495         0.23       -427         1,253        0.52         -1,185 Plumbing & Boiler                           15,896         0.99     7,367       0.23       8,528          8,082         0.25               7,814

             0        0.00         151         0.07       -151             0        0.00                0 Pool                                       2,807         0.17     2,242       0.07         565          3,057         0.10                   -250

             0        0.00       1,015         0.47     -1,015         1,015        0.42         -1,015 Grounds & Landscaping                        7,141         0.44    14,180       0.44      -7,039         15,871         0.50               -8,729

             0        0.00          78         0.04        -78            78        0.03            -78 Interior Plants                                  156       0.01       936       0.03        -780              936       0.03                   -780

             0        0.00             0       0.00          0             0        0.00                0 Signage                                          0       0.00         0       0.00             0             40       0.00                    -40

             0        0.00         194         0.09       -194             0        0.00                0 Furniture & Fixtures                           -31       0.00     2,883       0.09      -2,914          2,100         0.07               -2,131

             0        0.00         215         0.10       -215           348        0.14           -348 Painting                                         937       0.06     3,203       0.10      -2,266          3,779         0.12               -2,842

             0        0.00         275         0.13       -275             0        0.00                0 Carpet & Floor                                 556       0.03     8,825       0.28      -8,270          6,360         0.20               -5,804

             0        0.00          43         0.02        -43            60        0.02            -60 Telephone                                         60       0.00       641       0.02        -581              360       0.01                   -300

             0        0.00         108         0.05       -108           624        0.26           -624 Kitchen Equipment                                830       0.05     1,602       0.05        -771          2,286         0.07               -1,456

             0        0.00          22         0.01        -22             0        0.00                0 Locks & Keys                                   292       0.02       320       0.01         -28          1,484         0.05               -1,192

             0        0.00         215         0.10       -215           707        0.29           -707 Radio & TV                                        30       0.00     3,203       0.10      -3,173          2,974         0.09               -2,944

        1,650         1.59         646         0.30      1,004           846        0.35            804 Exterminating                                7,581         0.47     9,570       0.30      -1,988         12,789         0.40               -5,208

             0        0.00             0       0.00          0             0        0.00                0 License & Permits                              318       0.02         0       0.00         318                0       0.00                   318

             0        0.00             0       0.00          0             0        0.00                0 Maintenance Contracts                            0       0.00         0       0.00             0            857       0.03                   -857

             0        0.00             0       0.00          0             0        0.00                0 Uniforms- R & M                                  0       0.00         0       0.00             0              0       0.00                     0

             0        0.00       2,075         0.96     -2,075         1,825        0.76         -1,825 Fire & Safety                                7,944         0.49     7,815       0.24         129         11,579         0.36               -3,635

         -968         -0.93        400         0.19     -1,368             0        0.00           -968 Elevator                                     8,544         0.53    13,480       0.42      -4,936         14,620         0.46               -6,076



         967          0.93       7,719        3.59      -6,752         8,799        3.64        -7,832 Total Operating - R & M                      64,632        4.02    102,854      3.21      -38,222       115,116         3.59             -50,484



       5,811          5.58      20,928        9.72     -15,117       21,501         8.91       -15,690 Total Expenses- R & M                       144,775        9.01    257,860      8.05     -113,085       258,016         8.06           -113,241

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                                                              Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                              For Property: CY Houston Brookhollow
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year     % / POR      Act vs LY                   Description            YTD        % / POR        YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                      Var                                                                 Budget               Bud Var       Year                        Var
                                                                                                      UTILITIES DEPARTMENT
                                                                                                      UTILITIES EXPENSE

        5,780         5.55      6,767       3.14       -987         5,822        2.41            -41 Electricity                             103,578         6.45   106,840       3.34      -3,262      101,930       3.18               1,648

          529         0.51      1,216       0.56       -687         1,147        0.48           -618 Gas                                       8,863         0.55    13,866       0.43      -5,003       13,331       0.42               -4,467

        1,120         1.08      3,945       1.83     -2,825         3,497        1.45         -2,378 Water & Sewer                            40,137         2.50    48,555       1.52      -8,418       43,435       1.36               -3,299

          403         0.39      1,001       0.46       -598           926        0.38           -523 Waste Removal                             5,311         0.33     9,412       0.29      -4,101        8,465       0.26               -3,153



       7,832          7.52     12,929      6.01      -5,097       11,392         4.72        -3,560 Total Expenses- Utilities                157,889         9.83   178,673      5.58      -20,784     167,161       5.22              -9,272

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                                                                 Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                 For Property: CY Houston Brookhollow
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual       % / POR       Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                       Description        YTD         % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                          FRANCHISE DEPARTMENT
                                                                                                          FRANCHISE FEES

        4,023         5.71       10,625        5.51     -6,602         9,733         5.20        -5,709 Franchise Fees/ Royalties                70,186          5.59   170,489       5.51    -100,303        164,617         5.51            -94,431

         -943         -1.34       9,858        5.11    -10,800        10,605         5.67       -11,548 Advertising                              79,894          6.37   158,121       5.11     -78,227        152,282         5.10            -72,388

            0         0.00             0       0.00          0             0         0.00               0 Reservations                                 0         0.00         0       0.00             0        1,698         0.06               -1,698

        1,090         1.55        4,241        2.20     -3,152         4,878         2.61        -3,788 Frequent Traveler                        24,771          1.97    63,103       2.04     -38,332         59,557         1.99            -34,786

          165         0.23             0       0.00       165              0         0.00           165 Brand Guest Fees                             895         0.07         0       0.00         895                0       0.00                   895

          103         0.15             0       0.00       103              0         0.00           103 Other Franchise Cost                         841         0.07         0       0.00         841              272       0.01                   569



       4,438          6.30      24,725       12.82     -20,286       25,216         13.48      -20,778 Total Franchise Fees Expense             176,587         14.07   391,713      12.65    -215,126       378,426         12.66          -201,839

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                                                          Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 82 of 541
                                                                Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                For Property: CY Houston Brookhollow
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                  Description             YTD        % / POR        YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                 Budget               Bud Var       Year                          Var
                                                                                                        MANAGEMENT FEES
        1,892         2.50      5,421         2.50     -3,529         5,181        2.50         -3,289 Management Fees                          34,002         2.50    86,201       2.50     -52,199       82,907         2.50            -48,905

       13,760        18.19            0       0.00     13,760             0        0.00         13,760 Management Fees- Owner                   28,970         2.13        0        0.00      28,970              0       0.00             28,970



      15,652         20.69      5,421        2.50     10,231          5,181        2.50        10,471 Total Management Fees Expense             62,972         4.63   86,201       2.50      -23,229      82,907         2.50             -19,935



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                                                          Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 83 of 541
                                                                Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                For Property: CY Houston Brookhollow
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                    Description          YTD        % / POR           YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                   Budget                Bud Var         Year                          Var
                                                                                                         FIXED EXPENSES
       51,028        67.45      52,431       24.20     -1,403        49,663         23.96        1,366 Ground Lease                            623,565         45.85     623,565      18.10             0      606,876        18.30             16,689

       10,942        14.46       8,674        4.00      2,269      -130,670        -63.05      141,612 FF & E Reserve                          131,309          9.65     137,922       4.00      -6,613                0       0.00            131,309

            0         0.00            0       0.00         0              0          0.00              0 Van Lease                                   0          0.00           0       0.00             0            290       0.01                   -290

       18,135        23.97      18,135        8.37         0        -68,190        -32.90       86,324 Real Estate Tax                         199,776         14.69     217,619       6.32     -17,843        167,592         5.05             32,184

        7,637        10.09       6,802        3.14       835          6,497          3.14        1,140 Insurance                                84,281          6.20      81,479       2.36       2,802         80,235         2.42               4,046



      87,743       115.98      86,042        39.71     1,701       -142,700        -68.86     230,443 TOTAL FIXED EXPENSES                   1,038,931         76.39   1,060,585      30.78     -21,654       854,992         25.78           183,939

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                                                                 Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                                 For Property: CY Houston Brookhollow
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual       % / POR       Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description         YTD         % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         TOTAL OTHER
        5,500         7.27             0       0.00      5,500           500         0.24         5,000 Owners Expense                           24,100          1.77         0       0.00      24,100        106,531         3.21            -82,431

       92,976       122.89             0       0.00     92,976        85,724        41.37         7,252 Depreciation                           1,115,712        82.03         0       0.00    1,115,712      1,108,460       33.42               7,252

        3,267         4.32             0       0.00      3,267         6,671         3.22        -3,404 Amortization Expense                     39,204          2.88         0       0.00      39,204         42,608         1.28               -3,404

       36,500        48.24       36,762       16.97       -262        36,380        17.55           120 Interest Expense                        436,496         32.09   440,176      12.77       -3,680       439,423        13.25               -2,927

        8,465        11.19        2,168        1.00      6,297         2,072         1.00         6,393 Asset Management Fee                     13,601          1.00    34,481       1.00      -20,880        35,458         1.07            -21,857

            0         0.00             0       0.00         0        -13,521        -6.52        13,521 Extraordinary Expenses                    4,206          0.31         0       0.00       4,206                0       0.00               4,206

            0         0.00             0       0.00         0          6,868         3.31        -6,868 GB 1 YE AJE                                   0          0.00         0       0.00             0        6,868         0.21               -6,868

            0         0.00             0       0.00         0          9,665         4.66        -9,665 GB- 2 R&M/Capex AJE                           0          0.00         0       0.00             0        9,665         0.29               -9,665

         -358         -0.47            0       0.00       -358          -979        -0.47           621 Corporate Business Tax                   48,728          3.58         0       0.00      48,728          -2,259       -0.07             50,987



     146,350       193.44       38,930        17.97   107,420       133,380         64.36       12,970 Total Other                            1,682,046      123.67     474,657      13.77   1,207,389      1,746,754        52.66            -64,708

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                                                               Company: 2504 N Loop Brookhollow dba CY Houston Brookhollow Property: CY Houston Brookhollow
                                                               For Property: CY Houston Brookhollow
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                     Description          YTD        % / POR        YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                        House Laundry Dept




            0         0.00            0      0.00          0             0        0.00                0 Total P/R & Benefits- Ldy                   0         0.00        0      0.00              0              0      0.00                    0


                                                                                                        Operating Expenses




            0         0.00            0      0.00          0             0        0.00                0 Total Operating Expenses- Ldy               0         0.00        0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0        0.00                0 Total Laundry Expenses                      0         0.00        0       0.00             0              0       0.00                   0



                                                                                                        Allocation




            0         0.00            0      0.00          0             0        0.00                0 Total Allocation                            0         0.00        0      0.00              0              0      0.00                    0



            0                         0                    0             0                            0 Total Lndry Dept                            0                     0                        0              0                              0



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                                                            Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                            For Property: Fairfield Inn & Suites Naples (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                   Description             YTD         % / POR            YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                        Var                                                                      Budget                Bud Var         Year                       Var
                                                                                                      SUMMARY

    3,379                    3,379                      0          3,379                           0 Total Rooms Available                      39,894                     39,894                        0       39,785                           109

    1,760                    2,488                   -728          2,488                        -728 Total Rooms Sold                           22,823                     25,188                 -2,365         24,834                         -2,011

 52.09%                   73.63%                 -21.54%        73.63%                     -21.54% Occupancy %                                57.21%                     63.14%                  -5.93%         62.42%                      -5.21%

   98.26                   101.13                   -2.87        101.14                        -2.88 Average Rate                              107.48                     116.00                   -8.52         115.31                         -7.83

   51.18                    74.47                  -23.29         74.47                      -23.29 REVPAR                                      61.49                      73.24                  -11.75          71.98                      -10.49




                                                                                                      REVENUES

  172,937        98.47     251,621       98.38    -78,684       251,625         98.59        -78,688 ROOMS                                   2,452,961          98.40   2,921,791      98.67    -468,830       2,863,603       98.50       -410,642

         0        0.00            0       0.00          0              0         0.00              0 FOOD                                            0           0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0              0         0.00              0 BEVERAGE                                        0           0.00           0       0.00             0              0       0.00                0

    2,683         1.53       4,148        1.62     -1,465          3,606         1.41           -923 MISCELLANEOUS                              39,763           1.60      39,360       1.33         403         43,665         1.50            -3,902



 175,620       100.00     255,769       100.00    -80,149       255,231        100.00       -79,611 TOTAL REVENUES                          2,492,724       100.00      2,961,151     100.00    -468,427      2,907,268       100.00       -414,544




                                                                                                      DEPARTMENT EXPENSES

   42,066        24.32      72,105       28.66    -30,039        77,274         30.71        -35,208 ROOMS EXPENSE                             544,130          22.18     737,828      25.25    -193,698        711,001        24.83       -166,871

         0        0.00            0       0.00          0              0         0.00              0 FOOD EXPENSE                                    0           0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0              0         0.00              0 BEVERAGE EXPENSE                                0           0.00           0       0.00             0              0       0.00                0

    1,085        40.43       1,155       27.84        -70          1,450        40.22           -365 MISCELLANEOUS EXPENSE                      10,733          26.99      11,755      29.86      -1,022         12,101        27.71            -1,368



  43,151        24.57      73,260        28.64    -30,109        78,724         30.84       -35,573 TOTAL DEPARTMENTAL EXPENSES               554,863           22.26    749,583       25.31    -194,720       723,102         24.87       -168,239



                                                                                                      DEPARTMENTAL PROFIT

  130,871        75.68     179,516       71.34    -48,645       174,351         69.29        -43,480 ROOMS PROFIT                            1,908,831          77.82   2,183,963      74.75    -275,132       2,152,602       75.17       -243,771

         0        0.00            0       0.00          0             0          0.00              0 FOOD PROFIT                                     0           0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00              0 BEVERAGE PROFIT                                 0           0.00           0       0.00             0              0       0.00                0

    1,598        59.57       2,993       72.16     -1,395          2,156        59.78           -557 MISCELLANEOUS PROFIT                       29,030          73.01      27,605      70.14       1,425         31,564        72.29            -2,534



 132,469        75.43     182,509        71.36    -50,040       176,506         69.16       -44,037 TOTAL DEPARTMENTAL PROFIT               1,937,861           77.74   2,211,568      74.69    -273,707      2,184,166        75.13       -246,305



   25,555        14.55      27,732       10.84     -2,178        26,535         10.40           -980 A & G EXPENSE                             267,696          10.74     309,679      10.46     -41,983        307,437        10.57        -39,742

    1,908         1.09       1,667        0.65       241           1,740         0.68            168 TELECOM                                    21,933           0.88      21,769       0.74         164         21,409         0.74              524

    5,661         3.22       7,942        3.11     -2,281          7,258         2.84         -1,597 SALES & MARKETING EXPENSES                 71,596           2.87      98,626       3.33     -27,030         92,804         3.19        -21,208

   18,364        10.46      29,036       11.35    -10,672        26,435         10.36         -8,071 FRANCHISE FEES                            264,925          10.63     320,359      10.82     -55,434        308,740        10.62        -43,815

    8,977         5.11      13,299        5.20     -4,322        13,660          5.35         -4,683 MAINTENANCE EXPENSES                       97,517           3.91     130,650       4.41     -33,134        122,664         4.22        -25,148

   11,810         6.72      13,230        5.17     -1,420        16,650          6.52         -4,840 UTILITIES EXPENSE                         143,143           5.74     161,849       5.47     -18,706        161,910         5.57        -18,767



  72,275        41.15      92,906        36.32    -20,631        92,279         36.15       -20,003 TOTAL ADMIN EXPENSES                      866,809           34.77   1,042,932      35.22    -176,122      1,014,964        34.91       -148,155



  60,194        34.27      89,603        35.03    -29,410        84,228         33.00       -24,034 HOUSE PROFIT                            1,071,052           42.97   1,168,636      39.47     -97,584      1,169,202        40.22        -98,150



                                                                                                      FIXED EXPENSES

   18,156        10.34       6,398        2.50     11,758          6,381         2.50         11,775 MANAGEMENT FEES                            91,303           3.66      74,061       2.50      17,242         72,694         2.50         18,609

   49,425        28.14      52,931       20.69     -3,505        -37,977       -14.88         87,403 FIXED EXPENSES                            579,153          23.23     625,546      21.13     -46,394        495,613        17.05         83,540
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      -7,388         -4.21   30,274   11.84   -37,662   115,824   45.38   -123,212 NET OPERATING INCOME                    400,596    16.07    469,029   15.84    -68,433   600,895    20.67          -200,299



       82,757        47.12   23,659    9.25    59,098    68,858   26.98     13,899 Other                                    817,522    32.80   282,821    9.55    534,701    795,667   27.37             21,855



     -90,145        -51.33    6,615    2.59   -96,760    46,966   18.40   -137,111 N.I. after Other                        -416,926   -16.73   186,208    6.29   -603,134   -194,771   -6.70          -222,155



     -50,256                  6,615           -56,871   104,741           -154,997 Cash before Depreciation/Amortization    61,742             186,208           -124,466   301,783                   -240,041

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                                                             Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                             For Property: Fairfield Inn & Suites Naples (Capstone)
                                                             00- Master P&L-CAPSTONE
                                                             As of 12/31/2020

Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                      Description          YTD         % / POR            YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                  Bud Var                                        Var                                                                      Budget                Bud Var         Year                       Var
                                                                                                       ROOMS DEPARTMENT
                                                                                                       ROOMS REVENUE

   46,406         26.83      72,102       28.66    -25,696        74,146         29.47        -27,740 Rack/ Premium                             753,584          30.72     897,713      30.72    -144,128        905,218        31.61       -151,634

   62,806         36.32      91,956       36.55    -29,151        91,580         36.40        -28,774 Discounts - Other                         797,575          32.51     909,836      31.14    -112,262        906,538        31.66       -108,964

    1,746          1.01       3,060        1.22     -1,314          3,471         1.38         -1,725 Government                                 38,605           1.57      51,507       1.76     -12,902         51,261         1.79        -12,656

   35,865         20.74      38,315       15.23     -2,450        38,364         15.25         -2,499 Locally Negotiated Rate                   573,760          23.39     629,395      21.54     -55,635        614,739        21.47        -40,979

     -353         -0.20            0       0.00       -353         -3,734        -1.48          3,381 Allowances                                -24,016          -0.98           0       0.00     -24,016        -26,461        -0.92            2,445

     289           0.17        806         0.32       -517           476          0.19           -187 Redemption Revenue                         38,727           1.58      65,983       2.26     -27,256         58,363         2.04        -19,637



 146,758         84.86     206,240        81.96    -59,482       204,303         81.19       -57,544 Total Transient Revenue                 2,178,234           88.80   2,554,434      87.43    -376,200      2,509,658        87.64       -331,424




          0        0.00            0       0.00          0              0         0.00              0 Total Base Revenues                             0           0.00           0       0.00             0              0       0.00                0



   24,636         14.25      45,381       18.04    -20,745        44,854         17.83        -20,218 Group- Corporate                          259,966          10.60     367,357      12.57    -107,391        340,214        11.88        -80,248



  24,636         14.25      45,381        18.04    -20,745        44,854         17.83       -20,218 Total Group Revenue                       259,966           10.60    367,357       12.57    -107,391       340,214         11.88        -80,248



    1,543          0.89            0       0.00      1,543          2,469         0.98           -925 Guaranteed No-Show                         14,761           0.60           0       0.00      14,761         13,730         0.48            1,031



 172,937        100.00     251,621       100.00    -78,684       251,625        100.00       -78,688 Total Rooms Revenue                     2,452,961       100.00      2,921,791     100.00    -468,830      2,863,603       100.00       -410,642



                                                                                                       ROOM STATISTICS

     351            20         522           21       -171           536            22           -185 Rack/ Premium Rooms                         5,264             23       6,517         26      -1,253          6,591           27            -1,327

     714            41        1,045          42       -331          1,033           42           -319 Discounts - Other Rooms                     8,152             36       9,192         36      -1,040          9,201           37            -1,049

          9          1          25            1        -16            28             1            -19 Government Rooms                              317              1         346          1         -29              346          1               -29

     467            27         498           20        -31           498            20            -31 Locally Negotiated Corporate Rooms          6,823             30       5,975         24         848          5,875           24              948



   1,541            88       2,090          84       -549          2,095           84           -554 Total Transient Stats                      20,556             90      22,030         87       -1,474        22,013           89          -1,457




         0           0             0         0          0              0            0               0 Total Crew Stats                                0             0           0          0              0              0         0                 0



     219            12         398           16       -179           393            16           -174 Group- Corporate Rooms                      2,267             10       3,158         13        -891          2,821           11             -554



     219            12         398          16       -179            393           16           -174 Total Group Stats                           2,267             10       3,158         13        -891          2,821           11              -554



   1,760           100       2,488         100       -728          2,488          100           -728 TOTAL ROOM STATISTICS                      22,823            100      25,188        100       -2,365        24,834          100          -2,011



                                                                                                       Other Room Stats

         25          1             0          0         25            19             1              6 Comp Rooms                                    619              3           0          0         619              109          0              510

          0          0             0          0          0              0            0              0 House Use Rooms                                 0              0           0          0             0             73          0               -73

    1,322           75             0          0      1,322          1,656           67           -334 Single Occupancy                           17,000             74           0          0      17,000         15,942           64            1,058

     473            27             0          0       473            620            25           -147 Multiple Occupancy                          4,761             21           0          0       4,761          5,698           23             -937

         16          1             0          0         16            39             2            -23 GNS Stats                                     227              1           0          0         227              193          1               34

     115             7             0          0       115             31             1             84 Out of Order Rooms                          2,983             13           0          0       2,983              682          3            2,301

    3,555          202             0          0      3,555          4,910          197         -1,355 # of Guests                                43,528            191           0          0      43,528         47,701          192            -4,173
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                                                            Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                            For Property: Fairfield Inn & Suites Naples (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year      % / POR       Act vs LY                      Description          YTD          % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                        Var                                                                 Budget              Bud Var         Year                         Var
                                                                                                      ADR



       132.21                138.00                 -5.79        138.33                        -6.12 Rack/Premium ADR                           143.16               137.76                  5.40         137.34                               5.82

         0.00                  0.00                  0.00           0.00                        0.00 Corporate ADR                                 0.00                0.00                  0.00           0.00                               0.00

            0                      0                   0               0                           0 Contract - Airline ADR                          0                   0                        0              0                               0

        87.96                 88.00                 -0.04          88.65                       -0.69 Discount ADR                                97.84                98.98                 -1.15          98.53                              -0.69

         0.00                  0.00                  0.00           0.00                        0.00 Distressed Passengers ADR                     0.00                0.00                  0.00           0.00                               0.00

            0                      0                   0               0                           0 AARP ADR                                        0                   0                        0              0                               0

       194.00                123.00                 71.00        123.96                        70.04 Government ADR                             121.78               148.76                -26.98         148.15                           -26.37

         0.00                  0.00                  0.00           0.00                        0.00 AAA ADR                                       0.00                0.00                  0.00           0.00                               0.00

        76.80                 77.00                 -0.20          77.04                       -0.24 Local Negotiated ADR                        84.09               105.34                -21.25         104.64                           -20.54

         0.00                  0.00                  0.00           0.00                        0.00 Packages ADR                                  0.00                0.00                  0.00           0.00                               0.00

         0.00                  0.00                  0.00           0.00                        0.00 Wholesale/FIT ADR                             0.00                0.00                  0.00           0.00                               0.00

            0                      0                   0               0                           0 Internet ADR                                    0                   0                        0              0                               0

            0                      0                   0               0                           0 Tax Exampt - Transient ADR                      0                   0                        0              0                               0



       95.24                 98.68                  -3.45         97.52                        -2.28 Total Transient ADR                       105.97               115.95                  -9.99        114.01                               -8.04




         0.00                  0.00                  0.00           0.00                        0.00 Crew ADR                                      0.00                0.00                  0.00           0.00                               0.00

            0                      0                   0               0                           0 Contract ADR                                    0                   0                        0              0                               0




         0.00                  0.00                  0.00           0.00                        0.00 Group - SMERF ADR                             0.00                0.00                  0.00           0.00                               0.00

       112.49                114.00                 -1.51        114.13                        -1.64 Group - Corporate ADR                      114.67               116.31                 -1.64         120.60                              -5.93

            0                      0                   0               0                           0 Group - Government ADR                          0                   0                        0              0                               0

            0                      0                   0               0                           0 Group - Tour ADR                                0                   0                        0              0                               0

            0                      0                   0               0                           0 Group- Association ADR                          0                   0                        0              0                               0

            0                      0                   0               0                           0 Group - Tax Exampt ADR                          0                   0                        0              0                               0



      112.49                114.00                  -1.51        114.13                        -1.64 Total Group ADR                           114.67               116.31                  -1.64        120.60                               -5.93

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                                                                Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                                For Property: Fairfield Inn & Suites Naples (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                       Description         YTD         % / POR            YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                      Budget                Bud Var         Year                          Var
                                                                                                          Payroll & Related Expense

        5,575         3.17       7,905        3.18     -2,330          7,518         3.02         -1,943 FD/ Guest Service Reps                     57,447           2.52      82,813       3.29     -25,366         71,579         2.88             -14,132

        1,219         0.69       2,519        1.01     -1,301          1,423         0.57           -205 Executive Housekeeper                      24,948           1.09      29,742       1.18      -4,794         25,289         1.02                  -341

        2,022         1.15       2,488        1.00       -466          3,211         1.29         -1,188 Asst Exec Housekeeper/ Inspectress         13,386           0.59      25,188       1.00     -11,802         26,800         1.08             -13,414

        8,783         4.99      12,596        5.06     -3,813        11,898          4.78         -3,115 Housekeepers                              116,331           5.10     127,515       5.06     -11,184        126,894         5.11             -10,564

          741         0.42       3,266        1.31     -2,525          2,189         0.88         -1,448 Housemen                                    9,793           0.43      31,483       1.25     -21,690         23,119         0.93             -13,326

        2,131         1.21       3,561        1.43     -1,430          3,297         1.33         -1,166 Laundry                                    18,269           0.80      36,150       1.44     -17,881         34,339         1.38             -16,070

          359         0.20       2,604        1.05     -2,245          2,570         1.03         -2,212 Comp Breakfast Hostess                      6,030           0.26      28,814       1.14     -22,784         24,216         0.98             -18,186

        1,860         1.06       3,249        1.31     -1,389          3,424         1.38         -1,564 Night Audit                                43,338           1.90      38,358       1.52       4,980         40,824         1.64                  2,514

        2,451         1.39       3,304        1.33       -852          4,024         1.62         -1,573 Payroll Taxes                              22,171           0.97      34,360       1.36     -12,189         33,304         1.34             -11,133

         -187        -0.11        930         0.37     -1,117          1,050         0.42         -1,237 Employee Benefits                           8,512           0.37      11,160       0.44      -2,648         11,270         0.45               -2,758

        1,343         0.76        670         0.27       673           2,599         1.04         -1,255 Vacation /PTO                              26,265           1.15       8,040       0.32      18,225         11,636         0.47             14,629

          941         0.53       1,430        0.57       -489          2,963         1.19         -2,022 Holiday                                     4,896           0.21       7,525       0.30      -2,629          9,023         0.36               -4,127

             0        0.00            0       0.00          0            75          0.03            -75 Bonus/Incentive Pay                             0           0.00       3,400       0.13      -3,400          3,807         0.15               -3,807

             0        0.00            0       0.00          0              0         0.00              0 Contract Labor- Housekeepers                2,295           0.10           0       0.00       2,295                0       0.00                  2,295

             0        0.00            0       0.00          0              0         0.00              0 Contract Labor- Laundry                     5,420           0.24           0       0.00       5,420                0       0.00                  5,420



      27,238         15.48     44,522        17.89    -17,283        46,242        18.59        -19,004 Total P/R & R/Benefits- Rooms             359,102           15.73    464,548       18.44    -105,446       442,102         17.80            -82,999

                                                                                                          ROOMS DEPARTMENT
                                                                                                          OPERATING EXPENSE

             0        0.00        124         0.05       -124            72          0.03            -72 Newspapers                                    238           0.01       1,259       0.05      -1,022              966       0.04                  -728

        6,850         3.89      13,684        5.50     -6,834        12,696          5.10         -5,846 Comp Breakfast                             63,271           2.77     124,478       4.94     -61,207        120,284         4.84             -57,013

             0        0.00         50         0.02        -50            73          0.03            -73 Comp Breakfast- Equipment                       0           0.00         504       0.02        -504              466       0.02                  -466

             0        0.00            0       0.00          0              0         0.00              0 Rooms- Promotion                                0           0.00           0       0.00             0             78       0.00                    -78

             0        0.00         50         0.02        -50            64          0.03            -64 Laundry Supplies                              478           0.02         504       0.02         -26              381       0.02                    97

        2,420         1.37       1,368        0.55      1,052          4,977         2.00         -2,558 Linen Supplies                             15,456           0.68      13,853       0.55       1,603         18,833         0.76               -3,377

        1,441         0.82       1,522        0.61        -81          1,989         0.80           -548 Cable TV                                   16,424           0.72      18,264       0.73      -1,840         19,629         0.79               -3,205

             0        0.00            0       0.00          0              0         0.00              0 HSIA Support                                3,256           0.14       3,270       0.13         -14          3,270         0.13                    -14

             0        0.00            0       0.00          0              0         0.00              0 Printing & Stationary                           0           0.00           0       0.00             0              0       0.00                     0

          441         0.25        647         0.26       -206           403          0.16             38 Reservations Expense                        5,024           0.22       6,549       0.26      -1,525          5,856         0.24                  -832

          304         0.17       2,488        1.00     -2,184          3,630         1.46         -3,326 Guest Room Supplies                        17,493           0.77      25,188       1.00      -7,695         22,660         0.91               -5,167

          189         0.11        697         0.28       -508           870          0.35           -681 Cleaning Supplies                           5,167           0.23       7,053       0.28      -1,886          6,841         0.28               -1,674

          708         0.40        534         0.21       174            347          0.14            361 Ecolab Core Supplies                        8,478           0.37       5,688       0.23       2,790          6,667         0.27                  1,811

        2,191         1.24       6,220        2.50     -4,029          5,674         2.28         -3,483 Travel Agents Commission                   43,034           1.89      62,970       2.50     -19,936         60,265         2.43             -17,230

          201         0.11        200         0.08          1           239          0.10            -38 Uniforms                                    3,179           0.14       3,700       0.15        -521          2,703         0.11                   477

             0        0.00            0       0.00          0              0         0.00              0 Walk Expense                                  856           0.04           0       0.00         856                0       0.00                   856

            83        0.05            0       0.00         83              0         0.00             83 COVID 19 Supplies                           2,674           0.12           0       0.00       2,674                0       0.00                  2,674



      14,828          8.43     27,584        11.09    -12,756        31,033        12.47        -16,204 Total Operating - Rooms                   185,028            8.11    273,280       10.85     -88,252       268,899         10.83            -83,872



      42,066         23.90     72,105        28.98    -30,039        77,274        31.06        -35,208 Total Expenses- Rooms                     544,130           23.84    737,828       29.29    -193,698       711,001         28.63          -166,871



     130,871         74.36    179,516        72.15    -48,645       174,351        70.08        -43,480 Net Income- Rooms                       1,908,831           83.64   2,183,963      86.71    -275,132      2,152,602        86.68          -243,771



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                                                               For Property: Fairfield Inn & Suites Naples (Capstone)
                                                               00- Master P&L-CAPSTONE
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   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR       Act vs LY                      Description          YTD         % / POR         YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                    Budget              Bud Var         Year                          Var
                                                                                                         Food & Beverage
                                                                                                         Summary


            0         0.00            0       0.00         0              0         0.00              0 Total Food Sales                                0          0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Total Beverage Sales                            0          0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Total Banquet A/V                               0          0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Total Banquet Misc                              0          0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Total F & B Sales                               0          0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Food Cost                                       0          0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Beverage Costs                                  0          0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Banquet A/V Costs                               0          0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Total F & B Costs                               0          0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Food Wages                                      0          0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Beverage Wages                                  0          0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Total F & B Wages                               0          0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 F & B- P T & E B                                0          0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0              0         0.00              0 TTL P/R and Benefits                            0          0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0              0         0.00              0 Food Operating Expenses                         0          0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Beverage Operating Expenses                     0          0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Total F & B Operating Expenses                  0          0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Net F & B Income                                0          0.00        0       0.00             0              0       0.00                  0




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                                                              For Property: Fairfield Inn & Suites Naples (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR       Act vs LY                    Description            YTD         % / POR         YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                                    Budget             Bud Var         Year                         Var
                                                                                                        Food Department




            0         0.00            0      0.00         0             0         0.00               0 Total Restaurant                                0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Bar Food                                  0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Bistro                                    0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Garden Grill                              0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Other Food Revenue                        0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Room Service                              0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Banquets                                  0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Catering                                  0          0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00               0 Net Food Revenue                                0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Banquets Other                            0          0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00               0 Total Food Revenues                             0          0.00        0      0.00             0              0      0.00                  0

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                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR       Act vs LY                   Description             YTD         % / POR         YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                                    Budget             Bud Var         Year                         Var
                                                                                                        Cost of Goods Sold

            0         0.00            0      0.00         0             0         0.00               0 Total Cost of Good Sold                         0          0.00        0      0.00             0              0      0.00                  0


                                                                                                        Food Payroll

            0         0.00            0      0.00         0             0         0.00               0 Total Food Wages                                0          0.00        0      0.00             0              0      0.00                  0


                                                                                                        Operating Expenses



            0         0.00            0      0.00         0             0         0.00               0 Total Operating Expense- Food                   0          0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00               0 Total Food Costs                                0          0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00               0 N.I.- Food Department                           0          0.00        0      0.00             0              0      0.00                  0

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                                                              Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                              For Property: Fairfield Inn & Suites Naples (Capstone)
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                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR       Act vs LY                   Description             YTD         % / POR         YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                                    Budget             Bud Var         Year                         Var
                                                                                                        Beverage Department




            0         0.00            0      0.00         0             0         0.00               0 Total Restaurant Beverage                       0          0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00               0 Total Garden Grill Beverage                     0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Room Service Bev                          0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Bar Beverage                              0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Banquet Beverage                          0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Catering Beverage                         0          0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00               0 Total Beverage Revenue                          0          0.00        0      0.00             0              0      0.00                  0

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   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR       Act vs LY                   Description             YTD         % / POR         YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                    Budget              Bud Var         Year                          Var
                                                                                                         Cost of Goods Sold



            0         0.00            0       0.00         0              0         0.00              0 Total COGS- Beverage                            0          0.00        0       0.00             0              0       0.00                  0


                                                                                                         Beverage Payroll

            0         0.00            0      0.00          0             0         0.00               0 Total Beverage Payroll                          0          0.00        0      0.00              0              0      0.00                   0


                                                                                                         Operating Expenses- Beverage



            0         0.00            0      0.00          0             0         0.00               0 Total Operating- Beverage                       0          0.00        0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00               0 Total Beverage Costs                            0          0.00        0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00               0 Net Income- Beverage                            0          0.00        0      0.00              0              0      0.00                   0

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                                                              For Property: Fairfield Inn & Suites Naples (Capstone)
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                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR       Act vs LY                   Description             YTD         % / POR         YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                                    Budget             Bud Var         Year                         Var
                                                                                                        FOOD STATS




            0         0.00            0      0.00         0             0         0.00               0 Total Food Covers                               0          0.00        0      0.00             0              0      0.00                   0

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                                                                For Property: Fairfield Inn & Suites Naples (Capstone)
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   Actual        % / POR      Budget       % / POR    Act vs    Last Year      % / POR       Act vs LY                    Description            YTD         % / POR         YTD     % / POR     Act vs      YTD Last       % / POR       Act vs LY
                                                      Bud Var                                       Var                                                                    Budget                Bud Var       Year                           Var
                                                                                                          TELECOM
                                                                                                          TELEPHONE REVENUES

             0         0.00            5       0.00        -5              0         0.00              0 Long Distance                                   0          0.00        60        0.00        -60             52        0.00                     -52

            40         0.00        150         0.00      -110            70          0.00            -30 Internet Access Fees                          424          0.00     1,235        0.00       -811             998        0.00                   -574



            40        0.00        155         0.00       -115            70         0.00             -30 Total Phone Revenues                          424          0.00    1,295        0.00        -871        1,050          0.00                -626



                                                                                                          COS- Communication

          906          0.52        770         0.30       136           768          0.30            138 COS-Local                                   9,780          0.39     9,240        0.31        540         9,491          0.33                   290

             0         0.00         10       200.00       -10              0         0.00              0 COS-Long Distance                               0          0.00      120      200.00        -120               0       0.00                      0

          942      2,359.72        942       628.00         0           942      1,348.41              0 COS-HSIA ISP                               11,417     2,691.75     12,504    1,012.47      -1,087       11,919      1,194.27                   -502



       1,848          0.00       1,722        0.00        126         1,710         0.00            138 Total COS- Comm                            21,197           0.00   21,864        0.00        -667       21,410          0.00                -212



      -1,808          0.00      -1,567        0.00       -241        -1,640         0.00           -168 Gross Margin- Comm                         -20,773          0.00   -20,569       0.00        -204       -20,359         0.00                -414




                                                                                                          Operating Expenses

          100          0.00        100         0.00         0           100          0.00              0 Equipment Cost                              1,160          0.00     1,200        0.00        -40         1,050          0.00                   110



         100          0.00        100         0.00          0           100         0.00               0 Total Operating - Comm                     1,160           0.00    1,200        0.00         -40        1,050          0.00                    110



       1,908          0.00       1,667        0.00        241         1,740         0.00            168 N.I.- Comm Dept                            21,933           0.00   21,769        0.00         164       21,409          0.00                    524



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                                                                For Property: Fairfield Inn & Suites Naples (Capstone)
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   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                    Description            YTD         % / POR          YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                          MISCELLANEOUS DEPARTMENT
                                                                                                          MISCELLANEOUS REVENUES

             0        0.00         20         0.52        -20              0         0.00              0 Laundry/Valet                                   0           0.00      240        0.68        -240              116       0.30                   -116

             0        0.00            0       0.00          0              0         0.00              0 Parking Income                                 75           0.21        0        0.00            75              0       0.00                    75

             0        0.00        199         5.20       -199            83          2.94            -83 Vending                                     1,598           4.39     2,015       5.67        -417          1,304         3.35                   294

             0        0.00            0       0.00          0             -1        -0.04              1 Sundry Sales                                    0           0.00        0        0.00             0              0       0.00                     0

             0        0.00         70         1.83        -70              0         0.00              0 Pet Fees                                       50           0.14      840        2.36        -790              800       2.06                   -750

             0        0.00            0       0.00          0              0         0.00              0 Rollaways                                      40           0.11        0        0.00            40             20       0.05                    20

             8        0.30            0       0.00          8            31          1.08            -23 Miscellaneous                                 107           0.29        0        0.00        107           2,133         5.49               -2,026

          480        17.89      1,200        31.35       -720            11          0.38            469 Late Cancellation Income                    8,248          22.65     8,700      24.49        -452          9,988        25.70               -1,740

             0        0.00         25         0.65        -25              0         0.00              0 Smoking Fee                                   889           2.44      300        0.84        589               250       0.64                   639

            60        2.24         75         1.95        -15            60          2.12              0 Tax Discounts Earned                          360           0.99      756        2.13        -396              602       1.55                   -242

        2,135        79.57      2,239        58.50       -104          2,647        93.52           -512 Market Sales                               25,046          68.78    22,669      63.82       2,377         23,575        60.65               1,471

             0        0.00            0       0.00          0              0         0.00              0 Market Sales- Beer/Wine                         0           0.00        0        0.00             0             82       0.21                    -82



       2,683       100.00       3,828       100.00     -1,145         2,831        100.00          -148 Total Miscellaneous Revenues               36,413       100.00      35,520      100.00        893         38,870        100.00             -2,457



                                                                                                          COSales- Miscellaneous

             0        0.00         10        50.00        -10              0         0.00              0 COS-Laundry/Valet                               0           0.00      120       50.00        -120               50      42.86                    -50

            38        1.40         25         0.65        13               0         0.00             38 COS-Vending Cost                               38           0.10      300        0.84        -262              171       0.44                   -133

        1,047        49.05      1,120        50.00        -73          1,450        54.78           -403 COS- Market                                10,615          42.38    11,335      50.00        -720         11,880        50.39               -1,265



       1,085         40.43      1,155        30.16       -70          1,450         51.23          -365 Total COS- Miscellaneous                   10,653           29.25   11,755       33.09      -1,102        12,101         31.13             -1,448



             0        0.00        300        93.75       -300           775        100.00           -775 Banquet Room Rental                         3,150          94.03     3,600      93.75        -450          4,750        99.06               -1,600

             0        0.00         10         3.13        -10              0         0.00              0 Banquet Room F & B                              0           0.00      120        3.13        -120               45       0.94                    -45

             0        0.00         10         3.13        -10              0         0.00              0 Banquet Room AV Rental                        200           5.97      120        3.13            80              0       0.00                   200

            0         0.00       320        100.00      -320            775        100.00          -775 Total Meeting Room Revenues                 3,350       100.00       3,840      100.00       -490          4,795        100.00             -1,445


                                                                                                          Cost of Sales- Meeting Room

             0        0.00            0       0.00          0              0         0.00              0 COS-Banquet Room AV                            80           2.40        0        0.00            80              0       0.00                    80



       1,598         59.57      2,993        78.20     -1,395         2,156         76.15          -557 Total Miscellaneous Profit                 29,030           79.72   27,605       77.72      1,425         31,564         81.20             -2,534

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                                                                For Property: Fairfield Inn & Suites Naples (Capstone)
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                                                     Bud Var                                        Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                          ADMIN & GENERAL DEPARTMENT
                                                                                                          ADMIN & GENERAL

                                                                                                          P/R & Related Benefits- A&G

        4,079         2.32      4,471         1.75       -392          4,163         1.63            -84 General Manager                            45,196           1.81    51,497       1.74      -6,301         43,500         1.50               1,696

        2,497         1.42      2,809         1.10       -312          2,603         1.02           -106 Assistant General Manager                  28,338           1.14    32,846       1.11      -4,508         29,417         1.01               -1,079

        1,991         1.13      1,793         0.70       198           1,487         0.58            504 Operations Manager                         14,504           0.58    20,940       0.71      -6,436         24,712         0.85            -10,208

          755         0.43        753         0.29          2           736          0.29             19 Payroll Taxes                               7,898           0.32     8,752       0.30        -854          8,631         0.30                   -733

          535         0.30        694         0.27       -159           576          0.23            -42 Employee Benefits                           6,434           0.26     8,328       0.28      -1,894          8,001         0.28               -1,566

          193         0.11            0       0.00       193            320          0.13           -127 Vacation /PTO                               9,832           0.39         0       0.00       9,832          4,106         0.14               5,726

        1,084         0.62            0       0.00      1,084          1,019         0.40             64 Holiday                                     3,511           0.14         0       0.00       3,511          3,361         0.12                   150

             0        0.00        458         0.18       -458              0         0.00              0 Bonus/Incentive Pay                         4,016           0.16     5,500       0.19      -1,484          5,017         0.17               -1,001



      11,133          6.34     10,978         4.29       154         10,905         4.27            228 Total P/R & R/B- A&G                      119,730            4.80   127,863       4.32      -8,132       126,745          4.36             -7,015


                                                                                                          Operating Expenses- A&G

        1,428         0.81      2,500         0.98     -1,072          1,802         0.71           -374 Employee Relations                          2,719           0.11     7,150       0.24      -4,431          6,252         0.22               -3,533

        4,000         2.28      2,000         0.78      2,000          2,000         0.78          2,000 Accounting Fees                            26,000           1.04    24,000       0.81       2,000         24,011         0.83               1,989

          876         0.50        825         0.32        51            741          0.29            135 Data Processing                            11,561           0.46    11,335       0.38        226          10,918         0.38                   643

          156         0.09        448         0.18       -292           322          0.13           -167 Office Supplies                             3,349           0.13     4,534       0.15      -1,185          4,502         0.15               -1,153

            76        0.04         76         0.03          0            76          0.03              0 Muzak                                         760           0.03       912       0.03        -152              911       0.03                   -151

             0        0.00        270         0.11       -270           377          0.15           -377 Travel & Lodging                            1,399           0.06     4,240       0.14      -2,841          4,952         0.17               -3,553

             0        0.00            0       0.00          0              0         0.00              0 Meals and Entertainment                         0           0.00         0       0.00             0             34       0.00                    -34

             0        0.00         52         0.02        -52            55          0.02            -55 Telephone                                     147           0.01       626       0.02        -479              613       0.02                   -466

             0        0.00            0       0.00          0              0         0.00              0 Licenses and Permits                        3,640           0.15     2,379       0.08       1,261          2,469         0.08               1,171

          110         0.06         75         0.03        35            135          0.05            -26 Postage                                       660           0.03       760       0.03        -100              891       0.03                   -230

             0        0.00            0       0.00          0              0         0.00              0 Recruitment                                   779           0.03       828       0.03         -49          1,380         0.05                   -601

            47        0.03        135         0.05        -88           123          0.05            -76 Employment Screening/ Drug Testing            875           0.04     1,620       0.05        -745          1,285         0.04                   -410

             0        0.00         75         0.03        -75           333          0.13           -333 Training                                    1,302           0.05     2,500       0.08      -1,198          3,123         0.11               -1,821

             0        0.00            0       0.00          0              0         0.00              0 Bad Debt                                      148           0.01         0       0.00        148                 0       0.00                   148

             0        0.00        493         0.19       -493              0         0.00              0 Security Service                              803           0.03     2,572       0.09      -1,769          1,291         0.04                   -488

          150         0.09        165         0.06        -15           150          0.06              0 Dues/Subscriptions                          1,532           0.06     2,030       0.07        -498          2,920         0.10               -1,388

             0        0.00            0       0.00          0              0         0.00              0 Professional Fees                               0           0.00         0       0.00             0             29       0.00                    -29

        4,338         2.47      6,731         2.63     -2,393          5,347         2.09         -1,009 Credit Card Commissions                    60,064           2.41    77,912       2.63     -17,849         74,321         2.56            -14,257

             0        0.00            0       0.00         0             60          0.02            -60 Cash Over/Short                               -31           0.00         0       0.00         -31           -105         0.00                    74

            34        0.02         30         0.01         4             31          0.01              3 Equipment Rental                              405           0.02       360       0.01            45            413       0.01                     -8

          542         0.31        435         0.17       107            715          0.28           -173 Payroll Services                            6,458           0.26     6,975       0.24        -517          7,452         0.26                   -993

          737         0.42      1,040         0.41       -303          1,022         0.40           -285 Bank Charges                               11,530           0.46    12,480       0.42        -950         12,283         0.42                   -752

          342         0.19            0       0.00       342               7         0.00            335 Chargebacks                                 1,020           0.04         0       0.00       1,020              318       0.01                   702

             0        0.00            0       0.00          0            19          0.01            -19 Sales Tax Variance                              0           0.00         0       0.00             0             19       0.00                    -19

        1,586         0.90      1,404         0.55       182           2,315         0.91           -729 Workers Comp Insurance                     12,844           0.52    18,602       0.63      -5,758         20,410         0.70               -7,567



      14,422          8.21     16,754         6.55     -2,332        15,630         6.12         -1,208 Total Operating- A&G                      147,965            5.94   181,816       6.14     -33,851       180,692          6.22            -32,727



      25,555         14.55     27,732        10.84     -2,178        26,535        10.40           -980 Total Expenses- A&G                       267,696           10.74   309,679      10.46     -41,983       307,437         10.57            -39,742

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                                                                For Property: Fairfield Inn & Suites Naples (Capstone)
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                                                                As of 12/31/2020

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                                                     Bud Var                                        Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                          SALES DEPARTMENT
                                                                                                          SALES

                                                                                                          P/R & R/B

        2,801         1.60      3,075         1.20       -274          2,791         1.09             10 Director of Sales                          31,153          1.25    36,044       1.22      -4,892         32,261         1.11               -1,109

            0         0.00            0       0.00         0               0         0.00              0 Sales Manager                                  33          0.00        0        0.00            33            110       0.00                    -77

          337         0.19        845         0.33       -509           717          0.28           -381 Revenue Management                          5,136          0.21    10,143       0.34      -5,007          8,940         0.31               -3,805

             0        0.00        172         0.07       -172              0         0.00              0 E Commerce Management                         516          0.02     2,066       0.07      -1,549                0       0.00                   516

             0        0.00      1,007         0.39     -1,007          1,453         0.57         -1,453 Sales Coordinator                           4,149          0.17    11,887       0.40      -7,738         16,057         0.55            -11,908

          301         0.17        320         0.12        -18           306          0.12             -5 Payroll Taxes                               3,056          0.12     3,772       0.13        -716          3,725         0.13                   -669

          567         0.32        706         0.28       -139           508          0.20             59 Employee Benefits                           5,789          0.23     8,472       0.29      -2,683          8,308         0.29               -2,520

          772         0.44            0       0.00       772            135          0.05            637 Vacation / PTO                              6,192          0.25        0        0.00       6,192          2,041         0.07               4,151

          270         0.15            0       0.00       270            536          0.21           -265 Holiday                                     1,380          0.06        0        0.00       1,380          1,446         0.05                    -67

             0        0.00        142         0.06       -142              0         0.00              0 Bonus/Incentive Pay                         1,556          0.06     1,700       0.06        -144          1,442         0.05                   115



       5,048          2.87      6,267        2.45      -1,218         6,446         2.53         -1,398 Total P/R & R/B- Sales                     58,959           2.37   74,084       2.50      -15,124        74,331         2.56             -15,372


                                                                                                          Operating Expenses- Sales

             0        0.00         30         0.01        -30            68          0.03            -68 Printing & Stationary                           0          0.00      360        0.01        -360              175       0.01                   -175

             0        0.00         30         0.01        -30           103          0.04           -103 Office Supplies                                 0          0.00      360        0.01        -360              494       0.02                   -494

             0        0.00         50         0.02        -50            42          0.02            -42 Travel & Lodging                               83          0.00     1,425       0.05      -1,342          1,711         0.06               -1,627

             0        0.00         50         0.02        -50              0         0.00              0 Meals & Entertainment                           8          0.00      800        0.03        -792              492       0.02                   -484

            16        0.01         50         0.02        -34            62          0.02            -46 Promotions                                  1,057          0.04     3,160       0.11      -2,103          2,695         0.09               -1,638

             0        0.00         25         0.01        -25            50          0.02            -50 Telephone                                      25          0.00      300        0.01        -275              300       0.01                   -275

             0        0.00         10         0.00        -10              0         0.00              0 Postage                                         0          0.00      120        0.00        -120                0       0.00                     0

             0        0.00            0       0.00          0              0         0.00              0 Sales Training                                237          0.01      125        0.00        112               559       0.02                   -322

          132         0.08        532         0.21       -400           209          0.08            -77 Dues & Subscriptions                        2,900          0.12     4,962       0.17      -2,062          2,849         0.10                    51

             0        0.00            0       0.00          0              0         0.00              0 Trade Show                                      0          0.00      300        0.01        -300               21       0.00                    -21

             0        0.00            0       0.00          0              0         0.00              0 Outdoor Advertising                         1,800          0.07     2,100       0.07        -300          2,100         0.07                   -300

             0        0.00        200         0.08       -200           200          0.08           -200 e Commerce Costs                              814          0.03     2,400       0.08      -1,586          2,185         0.08               -1,371

          465         0.26        398         0.16        67             78          0.03            387 Brand Paid Search                           5,112          0.21     4,030       0.14       1,082          4,429         0.15                   684

             0        0.00        200         0.08       -200              0         0.00              0 Internet Advertising                          600          0.02     3,500       0.12      -2,900              464       0.02                   136

             0        0.00        100         0.04       -100              0         0.00              0 Collateral                                      0          0.00      600        0.02        -600                0       0.00                     0



         613          0.35      1,675        0.65      -1,062           812         0.32           -199 Total Operating- Sales                     12,637           0.51   24,542       0.83      -11,905        18,473         0.64              -5,836



       5,661          3.22      7,942        3.11      -2,281         7,258         2.84         -1,597 Total Expenses-Sales                       71,596           2.87   98,626       3.33      -27,030        92,804         3.19             -21,208

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 102 of 541
                                                                Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                                For Property: Fairfield Inn & Suites Naples (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                       Description            YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                          MAINTENANCE DEPARTMENT
                                                                                                          REPAIRS & MAINTENANCE
                                                                                                          P/R & Related Expenses- Maintenance

        2,720         1.55      2,579         1.04       141           2,673         1.07             47 Chief Engineer                               9,853          0.43    29,711       1.18     -19,858         27,559         1.11            -17,707

        3,073         1.75      3,469         1.39       -396          3,409         1.37           -336 General Maintenance                         41,594          1.82    40,956       1.63         638         30,300         1.22             11,294

          494         0.28        423         0.17        71            517          0.21            -23 Payroll Taxes                                3,958          0.17     4,947       0.20        -989          4,587         0.18                   -629

            19        0.01        561         0.23       -542           403          0.16           -385 Employee Benefits                            1,764          0.08     6,732       0.27      -4,968          6,341         0.26               -4,577

          380         0.22            0       0.00       380            334          0.13             47 Holiday                                      1,431          0.06         0       0.00       1,431          1,281         0.05                   150

            12        0.01            0       0.00        12               0         0.00             12 Vacation /PTO                                1,508          0.07         0       0.00       1,508          1,954         0.08                   -445

             0        0.00            0       0.00          0              0         0.00              0 Bonus/Incentive Pay                                0        0.00         0       0.00             0            375       0.02                -375



       6,698          3.81      7,032        2.83       -334          7,336         2.95           -638 Total P/R & Related Expenses- Maintenance    60,108         2.63     82,346      3.27      -22,238        72,397         2.92             -12,289


                                                                                                          Operating Expenses- R & M

             0        0.00         50         0.02        -50           794          0.32           -794 Laundry Equipment                                120        0.01       504       0.02        -384          1,141         0.05               -1,021

          108         0.06        174         0.07        -66            26          0.01             83 Building Maintenance                         3,385          0.15     1,763       0.07       1,622          1,322         0.05               2,063

             0        0.00        224         0.09       -224           232          0.09           -232 Light Bulbs                                  1,292          0.06     2,267       0.09        -975          2,417         0.10               -1,125

            10        0.01        100         0.04        -90              0         0.00             10 Electrical & Mechanical                          289        0.01     1,008       0.04        -718              500       0.02                   -210

             0        0.00        174         0.07       -174              0         0.00              0 HVAC                                             884        0.04     1,763       0.07        -879              759       0.03                   126

            32        0.02        199         0.08       -167            26          0.01              6 Plumbing & Boiler                            1,078          0.05     2,015       0.08        -937              223       0.01                   855

          275         0.16        325         0.13        -50           275          0.11              0 Pool                                         3,192          0.14     3,900       0.15        -708          3,322         0.13                   -129

          972         0.55      1,000         0.40        -28           945          0.38             27 Grounds & Landscaping                       10,989          0.48    12,000       0.48      -1,011         14,024         0.56               -3,035

             0        0.00         75         0.03        -75              0         0.00              0 Furniture & Fixtures                              22        0.00       756       0.03        -733              957       0.04                   -935

            82        0.05         50         0.02        32             13          0.01             69 Painting                                         242        0.01       504       0.02        -261              103       0.00                   139

             0        0.00      3,500         1.41     -3,500          2,725         1.10         -2,725 Carpet & Floor                                   723        0.03     7,750       0.31      -7,027          5,804         0.23               -5,081

             0        0.00            0       0.00          0              0         0.00              0 Kitchen Equipment                                434        0.02         0       0.00        434               585       0.02                   -151

             0        0.00            0       0.00          0           190          0.08           -190 Locks & Keys                                      51        0.00     1,000       0.04        -949              212       0.01                   -161

         -220        -0.13            0       0.00       -220              0         0.00           -220 Radio & TV                                       -570      -0.02         0       0.00        -570               11       0.00                   -581

          127         0.07        397         0.16       -269           229          0.09           -102 Exterminating                                3,801          0.17     4,760       0.19        -959          7,496         0.30               -3,695

          134         0.08            0       0.00       134            870          0.35           -736 Fire & Safety                                3,942          0.17     2,830       0.11       1,112          5,888         0.24               -1,945

          760         0.43            0       0.00       760               0         0.00            760 Elevator                                     7,533          0.33     5,486       0.22       2,048          5,505         0.22               2,029



       2,279          1.29      6,267        2.52      -3,987         6,324         2.54         -4,045 Total Operating - R & M                      37,409         1.64     48,305      1.92      -10,896        50,268         2.02             -12,859



       8,977          5.10     13,299        5.35      -4,322        13,660         5.49         -4,683 Total Expenses- R & M                        97,517         4.27    130,650      5.19      -33,134       122,664         4.94             -25,148

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                                                              Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                              For Property: Fairfield Inn & Suites Naples (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year      % / POR       Act vs LY                   Description             YTD         % / POR         YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                        Var                                                                    Budget               Bud Var       Year                        Var
                                                                                                        UTILITIES DEPARTMENT
                                                                                                        UTILITIES EXPENSE

        5,644         3.21      6,446       2.59       -802          9,882         3.97         -4,238 Electricity                                76,591          3.36    83,505       3.32      -6,914       85,083       3.43               -8,492

        2,379         1.35      2,222       0.89       157           2,179         0.88            199 Gas                                        18,256          0.80    24,768       0.98      -6,512       21,437       0.86               -3,180

        2,516         1.43      3,401       1.37       -885          3,449         1.39           -933 Water & Sewer                              33,828          1.48    39,644       1.57      -5,816       41,346       1.66               -7,517

        1,272         0.72      1,161       0.47       111           1,140         0.46            132 Waste Removal                              14,467          0.63    13,932       0.55         535       14,045       0.57                   423



      11,810          6.71     13,230      5.32      -1,420        16,650         6.69         -4,840 Total Expenses- Utilities                 143,143           6.27   161,849      6.43      -18,706     161,910       6.52             -18,767

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 104 of 541
                                                                Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                                For Property: Fairfield Inn & Suites Naples (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                       Description         YTD         % / POR          YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                     Budget               Bud Var       Year                          Var
                                                                                                          FRANCHISE DEPARTMENT
                                                                                                          FRANCHISE FEES

        9,389         5.43      12,641        5.02     -3,252        12,581          5.00         -3,193 Franchise Fees/ Royalties                 125,247           5.11   146,525       5.01     -21,277      143,219         5.00            -17,972

        7,955         4.60      13,311        5.29     -5,356        11,497          4.57         -3,542 Advertising                               112,918           4.60   134,756       4.61     -21,838      131,996         4.61            -19,078

        1,020         0.59       3,084        1.23     -2,064          2,357         0.94         -1,336 Frequent Traveler                          23,196           0.95    36,745       1.26     -13,548       31,994         1.12               -8,797

            0         0.00            0       0.00          0              0         0.00              0 Brand Guest Fees                              138           0.01         0       0.00        138               0       0.00                   138

            0         0.00            0       0.00          0              0         0.00              0 Other Franchise Cost                        3,426           0.14     2,334       0.08       1,092        1,531         0.05               1,895



      18,364         10.62     29,036        11.54    -10,672        26,435        10.51         -8,071 Total Franchise Fees Expense              264,925           10.80   320,359      10.96     -55,434     308,740         10.78            -43,815

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                                                                Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                                For Property: Fairfield Inn & Suites Naples (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                   Description             YTD         % / POR         YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                    Budget               Bud Var       Year                          Var
                                                                                                          MANAGEMENT FEES
        4,391         2.50      6,398         2.50     -2,007          6,381         2.50         -1,990 Management Fees                            62,318          2.50    74,061       2.50     -11,743       72,694         2.50            -10,376

       13,765         7.84            0       0.00     13,765              0         0.00         13,765 Management Fees- Owner                     28,985          1.16        0        0.00      28,985              0       0.00             28,985



      18,156         10.34      6,398        2.50     11,758          6,381         2.50         11,775 Total Management Fees Expense              91,303           3.66   74,061       2.50      17,242       72,694         2.50              18,609



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                                                               Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                               For Property: Fairfield Inn & Suites Naples (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget      % / POR    Act vs     Last Year      % / POR       Act vs LY                     Description           YTD         % / POR          YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                    Bud Var                                        Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                         FIXED EXPENSES
       29,205        16.63      29,204      11.42          0        27,662         10.84          1,543 Ground Lease                              344,982          13.84   343,419      11.60       1,563        334,228        11.50             10,755

        5,708         3.25      10,237       4.00     -4,529        -85,062       -33.33         90,770 FF & E Reserve                             68,498           2.75   118,498       4.00     -50,000                0       0.00             68,498

        7,844         4.47       7,844       3.07          0        22,088          8.65        -14,243 Real Estate Tax                            94,130           3.78    94,130       3.18             0      103,931         3.57               -9,801

        1,363         0.78       1,363       0.53          0         -6,754        -2.65          8,117 Personal Property Tax                      16,358           0.66    16,358       0.55             0        6,603         0.23               9,755

        5,305         3.02       4,282       1.67      1,023          4,089         1.60          1,215 Insurance                                  55,184           2.21    53,141       1.79       2,043         50,851         1.75               4,333



      49,425         28.14     52,931       20.69     -3,505       -37,977        -14.88        87,403 TOTAL FIXED EXPENSES                      579,153           23.23   625,546      21.13     -46,394       495,613         17.05             83,540

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                                                                Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                                For Property: Fairfield Inn & Suites Naples (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                      Description          YTD         % / POR          YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                          TOTAL OTHER
            0         0.00            0       0.00         0               0         0.00              0 Penalties & Interest                            8           0.00         0       0.00             8              0       0.00                   8

        2,398         1.37            0       0.00      2,398           464          0.18          1,935 Owners Expense                             29,491           1.18         0       0.00      29,491         23,582         0.81               5,909

       37,607        21.41            0       0.00     37,607        55,499         21.74        -17,892 Depreciation                              451,284          18.10         0       0.00     451,284        469,176        16.14            -17,892

        2,282         1.30            0       0.00      2,282          2,276         0.89              6 Amortization Expense                       27,384           1.10         0       0.00      27,384         27,378         0.94                   6

       21,100        12.01      21,100        8.25         0         21,100          8.27              0 Interest Expense                          252,888          10.15   253,196       8.55        -308        254,866         8.77               -1,977

       15,439         8.79       2,559        1.00     12,880          2,552         1.00         12,887 Asset Management Fee                       24,927           1.00    29,624       1.00      -4,698         29,072         1.00               -4,145

        2,032         1.16            0       0.00      2,032        -20,844        -8.17         22,876 Extraordinary Expenses                     13,014           0.52         0       0.00      13,014                0       0.00             13,014

            0         0.00            0       0.00         0          -6,977        -2.73          6,977 GB 1 YE AJE                                     0           0.00         0       0.00             0      -23,195        -0.80             23,195

            0         0.00            0       0.00         0         14,788          5.79        -14,788 GB- 2 R&M/Capex AJE                             0           0.00         0       0.00             0       14,788         0.51            -14,788

        1,898                         0                 1,898              0                       1,898 Ground Lease Tax                           18,526                        0                 18,526                0                        18,526



      82,757         47.12     23,659        9.25     59,098         68,858        26.98         13,899 Total Other                               817,522           32.80   282,821      9.55     534,701        795,667         27.37             21,855

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                                                               Company: 3808 White Lake-Naples dba FIS Naples Property: Fairfield Inn & Suites Naples (Capstone)
                                                               For Property: Fairfield Inn & Suites Naples (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR       Act vs LY                   Description             YTD         % / POR         YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                    Budget              Bud Var         Year                          Var
                                                                                                         House Laundry Dept




            0         0.00            0      0.00          0             0         0.00               0 Total P/R & Benefits- Ldy                       0          0.00        0      0.00              0              0      0.00                    0


                                                                                                         Operating Expenses




            0         0.00            0      0.00          0             0         0.00               0 Total Operating Expenses- Ldy                   0          0.00        0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0              0         0.00              0 Total Laundry Expenses                          0          0.00        0       0.00             0              0       0.00                   0



                                                                                                         Allocation




            0         0.00            0      0.00          0             0         0.00               0 Total Allocation                                0          0.00        0      0.00              0              0      0.00                    0



            0                         0                    0             0                            0 Total Lndry Dept                                0                      0                        0              0                              0



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                                                            Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
                                                            For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                     Description            YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                        Var                                                                   Budget                Bud Var         Year                       Var
                                                                                                      SUMMARY

    3,596                    3,596                      0          3,596                           0 Total Rooms Available                      42,456                  42,456                        0       42,340                          116

    1,852                    3,035                 -1,183          3,035                      -1,183 Total Rooms Sold                           15,237                  32,914                 -17,677        32,051                     -16,814

 51.50%                   84.40%                 -32.90%        84.40%                     -32.90% Occupancy %                                35.89%                  77.52%                  -41.64%        75.70%                     -39.81%

   70.38                   120.63                  -50.25        122.19                      -51.81 Average Rate                                94.07                  111.37                   -17.30        112.08                      -18.01

   36.25                   101.81                  -65.57        103.12                      -66.88 REVPAR                                      33.76                   86.34                   -52.58         84.84                      -51.08




                                                                                                      REVENUES

  130,346        99.12     366,125       98.67   -235,779       370,837         98.86       -240,491 ROOMS                                   1,433,330       98.79   3,665,486      98.53   -2,232,157      3,592,209       98.57      -2,158,880

         0        0.00            0       0.00          0             0          0.00              0 FOOD                                            0        0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0             0          0.00              0 BEVERAGE                                        0        0.00           0       0.00             0              0       0.00               0

    1,157         0.88       4,951        1.33     -3,793          4,282         1.14         -3,124 MISCELLANEOUS                              17,619        1.21      54,639       1.47      -37,020        52,108         1.43        -34,489



 131,503       100.00     371,076       100.00   -239,572       375,119        100.00      -243,615 TOTAL REVENUES                          1,450,948       100.00   3,720,125     100.00   -2,269,177     3,644,317       100.00     -2,193,369




                                                                                                      DEPARTMENT EXPENSES

   27,545        21.13      78,883       21.55    -51,338        89,205         24.06        -61,660 ROOMS EXPENSE                             360,705       25.17     862,977      23.54     -502,272       818,279        22.78       -457,574

         0        0.00            0       0.00          0             0          0.00              0 FOOD EXPENSE                                    0        0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0             0          0.00              0 BEVERAGE EXPENSE                                0        0.00           0       0.00             0              0       0.00               0

     249         21.48       2,558       51.68     -2,310          2,026        47.33         -1,778 MISCELLANEOUS EXPENSE                       7,552       42.86      27,896      51.06      -20,344        25,848        49.60        -18,296



  27,794        21.14      81,442        21.95    -53,648        91,232         24.32       -63,438 TOTAL DEPARTMENTAL EXPENSES               368,257        25.38    890,873       23.95    -522,616       844,127         23.16       -475,870



                                                                                                      DEPARTMENTAL PROFIT

  102,801        78.87     287,242       78.45   -184,441       281,632         75.94       -178,831 ROOMS PROFIT                            1,072,624       74.83   2,802,509      76.46   -1,729,884      2,773,930       77.22      -1,701,306

         0        0.00            0       0.00          0             0          0.00              0 FOOD PROFIT                                     0        0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0             0          0.00              0 BEVERAGE PROFIT                                 0        0.00           0       0.00             0              0       0.00               0

     909         78.52       2,392       48.32     -1,483          2,255        52.67         -1,346 MISCELLANEOUS PROFIT                       10,067       57.14      26,743      48.94      -16,676        26,260        50.40        -16,193



 103,710        78.86     289,634        78.05   -185,924       283,887         75.68      -180,177 TOTAL DEPARTMENTAL PROFIT               1,082,691        74.62   2,829,252      76.05   -1,746,560     2,800,190        76.84     -1,717,499



   16,469        12.52      31,497        8.49    -15,029        29,519          7.87        -13,050 A & G EXPENSE                             219,254       15.11     349,952       9.41     -130,698       349,060         9.58       -129,806

    1,713         1.30       1,821        0.49       -108          -807         -0.22          2,521 TELECOM                                    19,404        1.34      22,096       0.59       -2,692        17,807         0.49            1,598

    8,736         6.64      12,650        3.41     -3,914          8,249         2.20           487 SALES & MARKETING EXPENSES                  82,113        5.66     133,403       3.59      -51,289       122,745         3.37        -40,632

   11,280         8.58      38,029       10.25    -26,748        36,889          9.83        -25,609 FRANCHISE FEES                            160,543       11.06     385,931      10.37     -225,387       379,890        10.42       -219,347

    8,813         6.70      15,006        4.04     -6,193        13,702          3.65         -4,889 MAINTENANCE EXPENSES                      101,670        7.01     175,440       4.72      -73,770       173,011         4.75        -71,341

    8,732         6.64      12,036        3.24     -3,304        15,655          4.17         -6,923 UTILITIES EXPENSE                         107,469        7.41     149,861       4.03      -42,392       142,320         3.91        -34,851



  55,743        42.39     111,039        29.92    -55,296       103,207         27.51       -47,464 TOTAL ADMIN EXPENSES                      690,455        47.59   1,216,683      32.71    -526,228      1,184,833        32.51       -494,378



  47,966        36.48     178,595        48.13   -130,628       180,679         48.17      -132,713 HOUSE PROFIT                              392,237        27.03   1,612,569      43.35   -1,220,333     1,615,357        44.33     -1,223,121



                                                                                                      FIXED EXPENSES

   17,046        12.96       9,282        2.50      7,764          9,378         2.50          7,668 MANAGEMENT FEES                            65,243        4.50      93,061       2.50      -27,817        91,115         2.50        -25,872

   62,780        47.74      63,133       17.01       -354        -91,975       -24.52       154,754 FIXED EXPENSES                             740,739       51.05     731,183      19.65        9,557       573,617        15.74        167,122
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     -31,859        -24.23   106,179   28.61   -138,038   263,276   70.18   -295,135 NET OPERATING INCOME                     -413,746     -28.52   788,326   21.19   -1,202,072   950,625     26.09        -1,364,371



      105,189        79.99    34,756    9.37     70,433   -16,211   -4.32    121,399 Other                                    1,222,763     84.27   409,743   11.01      813,020   1,094,882   30.04            127,882



    -137,048      -104.22     71,423   19.25   -208,471   279,486   74.51   -416,535 N.I. after Other                        -1,636,509   -112.79   378,583   10.18   -2,015,092   -144,256    -3.96        -1,492,253



     -71,899                  71,423           -143,322   224,580           -296,480 Cash before Depreciation/Amortization    -854,721              378,583           -1,233,304   517,477                  -1,372,198

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                                                                   For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                                   00- Master P&L-CAPSTONE
                                                                   As of 12/31/2020

   Actual        % / POR        Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                       Description          YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                        Bud Var                                        Var                                                                   Budget                Bud Var         Year                          Var
                                                                                                             ROOMS DEPARTMENT
                                                                                                             ROOMS REVENUE

       49,045        37.63        100,155       27.36    -51,110        98,912         26.67        -49,867 Rack/ Premium                             471,204       32.87   1,259,869      34.37     -788,665      1,109,763       30.89           -638,559

       58,991        45.26        147,137       40.19    -88,145       133,773         36.07        -74,781 Discounts - Other                         542,236       37.83   1,126,379      30.73     -584,143      1,216,215       33.86           -673,979

          556         0.43         42,733       11.67    -42,177        43,082         11.62        -42,526 Government                                 53,901        3.76     214,026       5.84     -160,125       244,832         6.82           -190,931

        9,936         7.62         31,564        8.62    -21,628        30,806          8.31        -20,871 Locally Negotiated Rate                   206,523       14.41     456,141      12.44     -249,618       535,595        14.91           -329,072

             0        0.00          6,599        1.80     -6,599          6,422         1.73         -6,422 Redemption Revenue                         18,879        1.32      88,941       2.43      -70,062        90,975         2.53             -72,096



     118,528         90.93       328,187        89.64   -209,660       312,995         84.40      -194,467 Total Transient Revenue                 1,292,742        90.19   3,145,357      85.81   -1,852,614     3,197,379        89.01        -1,904,637




             0        0.00               0       0.00          0             0          0.00              0 Total Base Revenues                             0        0.00           0       0.00             0              0       0.00                    0



       11,440         8.78         37,937       10.36    -26,497        56,301         15.18        -44,861 Group- Corporate                          134,147        9.36     520,129      14.19     -385,983       380,470        10.59           -246,323



      11,440          8.78        37,937        10.36    -26,497        56,301         15.18       -44,861 Total Group Revenue                       134,147         9.36    520,129       14.19    -385,983       380,470         10.59          -246,323



          378         0.29               0       0.00        378          1,541         0.42         -1,163 Guaranteed No-Show                          6,440        0.45           0       0.00        6,440        14,360         0.40               -7,920



     130,346       100.00        366,125       100.00   -235,779       370,837        100.00      -240,491 Total Rooms Revenue                     1,433,330       100.00   3,665,486     100.00   -2,232,157     3,592,209       100.00        -2,158,880



                                                                                                             ROOM STATISTICS

          556              30        668           22       -112           660            22           -104 Rack/ Premium Rooms                         3,895          26       9,108         28       -5,213         7,930           25               -4,035

          973              53       1,457          48       -484          1,315           43           -342 Discounts - Other Rooms                     7,239          48      12,283         37       -5,044        13,404           42               -6,165

             4              0        334           11       -330           336            11           -332 Government Rooms                              351           2       1,624          5       -1,273         1,856            6               -1,505

          143               8        304           10       -161           288             9           -145 Locally Negotiated Corporate Rooms          2,356          15       4,764         14       -2,408         5,500           17               -3,144



       1,676              90       2,762          90      -1,086         2,599           86           -923 Total Transient Stats                      13,841           91     27,780         84      -13,939         28,690          90             -14,849




            0              0             0         0          0              0            0               0 Total Crew Stats                                0           0          0          0              0              0         0                    0



          176              10        304           10       -128           436            14           -260 Group- Corporate Rooms                      1,396           9       5,165         16       -3,769         3,361           10               -1,965



         176              10         304          10       -128            436           14           -260 Total Group Stats                           1,396            9      5,165         16        -3,769         3,361          10              -1,965



       1,852          100          3,065         100      -1,213         3,035          100         -1,183 TOTAL ROOM STATISTICS                      15,237          100     32,944        100      -17,707         32,051         100             -16,814



                                                                                                             Other Room Stats

             0              0            0          0          0             -1            0              1 Comp Rooms                                      2           0           0          0             2              4          0                   -2

            24              1            0          0         24            49             2            -25 GNS Stats                                     311           2           0          0         311              233          1                   78

            63              3            0          0         63            13             0             50 Out of Order Rooms                            799           5           0          0         799               59          0                  740

        3,383             183            0          0      3,383          5,735          189         -2,352 # of Guests                                25,956         170           0          0       25,956        53,497          167             -27,541



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                                                            Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
                                                            For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year      % / POR      Act vs LY                       Description          YTD          % / POR      YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                        Var                                                                  Budget              Bud Var         Year                         Var
                                                                                                      ADR



        88.21                150.00                -61.79        149.87                       -61.66 Rack/Premium ADR                           120.98                138.32                -17.34         139.94                           -18.97

         0.00                  0.00                  0.00           0.00                        0.00 Corporate ADR                                 0.00                 0.00                  0.00           0.00                               0.00

            0                      0                    0             0                            0 Contract - Airline ADR                          0                    0                        0              0                               0

        60.63                101.00                -40.37        101.73                       -41.10 Discount ADR                                74.90                 91.71                -16.80          90.74                           -15.83

         0.00                  0.00                  0.00           0.00                        0.00 Distressed Passengers ADR                     0.00                 0.00                  0.00           0.00                               0.00

            0                      0                    0             0                            0 AARP ADR                                        0                    0                        0              0                               0

       139.00                128.00                 11.00        128.22                        10.78 Government ADR                             153.56                131.77                 21.80         131.91                              21.65

         0.00                  0.00                  0.00           0.00                        0.00 AAA ADR                                       0.00                 0.00                  0.00           0.00                               0.00

        69.48                104.00                -34.52        106.97                       -37.49 Local Negotiated ADR                        87.66                 95.74                 -8.08          97.38                              -9.72

         0.00                  0.00                  0.00           0.00                        0.00 Packages ADR                                  0.00                 0.00                  0.00           0.00                               0.00

         0.00                  0.00                  0.00           0.00                        0.00 Wholesale/FIT ADR                             0.00                 0.00                  0.00           0.00                               0.00

            0                      0                    0              0                           0 Internet ADR                                    0                    0                        0              0                               0

            0                      0                    0             0                            0 Tax Exampt - Transient ADR                      0                    0                        0              0                               0



       70.72                118.83                 -48.11        120.43                      -49.71 Total Transient ADR                         93.40                113.23                 -19.83        111.45                          -18.05




         0.00                  0.00                  0.00           0.00                        0.00 Crew ADR                                      0.00                 0.00                  0.00           0.00                               0.00

            0                      0                    0             0                            0 Contract ADR                                    0                    0                        0              0                               0




         0.00                  0.00                  0.00           0.00                        0.00 Group - SMERF ADR                             0.00                 0.00                  0.00           0.00                               0.00

        65.00                125.00                -60.00        129.13                       -64.13 Group - Corporate ADR                       96.09                100.71                 -4.61         113.20                           -17.11

            0                      0                    0             0                            0 Group - Government ADR                          0                    0                        0              0                               0

            0                      0                    0             0                            0 Group - Tour ADR                                0                    0                        0              0                               0

            0                      0                    0             0                            0 Group- Association ADR                          0                    0                        0              0                               0

            0                      0                    0             0                            0 Group - Tax Exampt ADR                          0                    0                        0              0                               0



       65.00                125.00                 -60.00        129.13                      -64.13 Total Group ADR                             96.09                100.71                  -4.61        113.20                          -17.11

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                                                                Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
                                                                For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                        Description         YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                   Budget                Bud Var         Year                          Var
                                                                                                          Payroll & Related Expense

        2,981         1.61       7,622        2.51     -4,641          5,150         1.70         -2,169 FD/ Guest Service Reps                     33,906        2.23      82,204       2.50      -48,298        56,697         1.77             -22,791

             0        0.00       3,457        1.14     -3,457          2,543         0.84         -2,543 Executive Housekeeper                      19,282        1.27      40,718       1.24      -21,436        37,318         1.16             -18,036

             0        0.00       2,529        0.83     -2,529           302          0.10           -302 Asst Exec Housekeeper/ Inspectress          4,191        0.28      27,280       0.83      -23,089        21,564         0.67             -17,373

             0        0.00      13,910        4.58    -13,910            -10         0.00             10 Housekeepers                                  127        0.01     150,031       4.56     -149,904         8,298         0.26               -8,171

             0        0.00       6,121        2.02     -6,121           824          0.27           -824 Housemen                                      931        0.06      66,017       2.01      -65,086         2,767         0.09               -1,836

             0        0.00       4,451        1.47     -4,451          1,303         0.43         -1,303 Laundry                                     1,533        0.10      48,011       1.46      -46,478        13,220         0.41             -11,688

             0        0.00       2,728        0.90     -2,728          1,595         0.53         -1,595 Comp Breakfast Hostess                      3,555        0.23      32,208       0.98      -28,653        16,937         0.53             -13,382

        1,092         0.59       3,100        1.02     -2,008          2,512         0.83         -1,420 Night Audit                                30,865        2.03      36,600       1.11       -5,735        34,439         1.07               -3,574

          339         0.18       2,248        0.74     -1,909          1,416         0.47         -1,077 Payroll Taxes                               8,017        0.53      24,430       0.74      -16,413        16,006         0.50               -7,989

          133         0.07        789         0.26       -656           597          0.20           -464 Employee Benefits                           7,838        0.51       9,468       0.29       -1,630         9,344         0.29               -1,507

             0        0.00        152         0.05       -152           807          0.27           -807 Vacation /PTO                              11,946        0.78       1,646       0.05       10,301         2,053         0.06                  9,894

          373         0.20        745         0.25       -372          1,560         0.51         -1,187 Holiday                                     2,252        0.15       2,235       0.07            17        4,834         0.15               -2,582

             0        0.00        152         0.05       -152             0          0.00              0 Bonus/Incentive Pay                           928        0.06       1,646       0.05         -718         1,630         0.05                  -703

        3,590         1.94            0       0.00      3,590          2,016         0.66          1,574 Contract Labor- FD/Guest Service Reps      10,041        0.66           0       0.00       10,041        23,233         0.72             -13,192

        5,206         2.81            0       0.00      5,206        19,363          6.38        -14,157 Contract Labor- Housekeepers               68,760        4.51           0       0.00       68,760       153,242         4.78             -84,482

        1,154         0.62            0       0.00      1,154          1,339         0.44           -185 Contract Labor- Houseperson                 8,701        0.57           0       0.00        8,701        27,352         0.85             -18,651

          997         0.54            0       0.00        997          2,490         0.82         -1,493 Contract Labor- Laundry                    10,900        0.72           0       0.00       10,900        39,140         1.22             -28,240

             0        0.00            0       0.00          0          1,121         0.37         -1,121 Contract Labor- Comp Breakfast Host         3,439        0.23           0       0.00        3,439        12,214         0.38               -8,775



      15,866          8.57     48,004        15.82    -32,138        44,927        14.80        -29,061 Total P/R & R/Benefits- Rooms             227,211        14.91    522,494       15.87    -295,283       480,288         14.99          -253,077

                                                                                                          ROOMS DEPARTMENT
                                                                                                          OPERATING EXPENSE

             0        0.00        152         0.05       -152           145          0.05           -145 Newspapers                                    481        0.03       1,646       0.05       -1,165         1,527         0.05               -1,046

        5,817         3.14      15,327        5.05     -9,510        15,841          5.22        -10,024 Comp Breakfast                             49,287        3.23     166,216       5.05     -116,928       161,849         5.05           -112,562

             0        0.00         55         0.02        -55             0          0.00              0 Comp Breakfast- Equipment                     796        0.05       1,600       0.05         -804             534       0.02                   262

             0        0.00            0       0.00          0             0          0.00              0 Rooms- Promotion                                0        0.00           0       0.00             0             34       0.00                    -34

            10        0.01         30         0.01        -20             0          0.00             10 Guest Transportation                           49        0.00         329       0.01         -281              38       0.00                    11

            68        0.04        334         0.11       -266           455          0.15           -387 Laundry Supplies                            1,527        0.10       3,621       0.11       -2,094         2,853         0.09               -1,326

          297         0.16       1,487        0.49     -1,190          1,281         0.42           -984 Linen Supplies                              4,452        0.29      16,128       0.49      -11,676        12,495         0.39               -8,043

        1,808         0.98       1,645        0.54        163          2,225         0.73           -417 Cable TV                                   19,973        1.31      19,740       0.60         233         22,304         0.70               -2,331

          261         0.14        261         0.09          0           522          0.17           -261 HSIA Support                                5,087        0.33       3,132       0.10        1,955         4,547         0.14                   540

          790         0.43        880         0.29        -91          1,005         0.33           -216 Reservations Expense                        5,061        0.33       9,545       0.29       -4,484         8,876         0.28               -3,814

        1,070         0.58       3,339        1.10     -2,269          4,299         1.42         -3,230 Guest Room Supplies                        16,342        1.07      36,205       1.10      -19,864        34,368         1.07             -18,027

          475         0.26       1,153        0.38       -678           812          0.27           -337 Cleaning Supplies                           4,719        0.31      12,507       0.38       -7,788        11,602         0.36               -6,883

          196         0.11        554         0.18       -358           383          0.13           -187 Ecolab Core Supplies                        3,234        0.21       6,558       0.20       -3,324         6,702         0.21               -3,468

          747         0.40       5,372        1.77     -4,625        17,123          5.64        -16,376 Travel Agents Commission                   19,414        1.27      58,258       1.77      -38,844        63,603         1.98             -44,189

             0        0.00        138         0.05       -138           187          0.06           -187 Uniforms                                      926        0.06       3,354       0.10       -2,428         1,304         0.04                  -378

             0        0.00        152         0.05       -152             0          0.00              0 Walk Expense                                  302        0.02       1,646       0.05       -1,344         5,356         0.17               -5,054

          140         0.08            0       0.00        140             0          0.00            140 COVID 19 Supplies                           1,846        0.12           0       0.00        1,846               0       0.00                  1,846



      11,679          6.31     30,879        10.17    -19,200        44,278        14.59        -32,599 Total Operating - Rooms                   133,494         8.76    340,484       10.34    -206,989       337,991         10.55          -204,497



      27,545         14.87     78,883        25.99    -51,338        89,205        29.39        -61,660 Total Expenses- Rooms                     360,705        23.67    862,977       26.22    -502,272       818,279         25.53          -457,574



     102,801         55.51    287,242        94.64   -184,441       281,632        92.79       -178,831 Net Income- Rooms                        1,072,624       70.40   2,802,509      85.15   -1,729,884     2,773,930        86.55        -1,701,306



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                                                               Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
                                                               For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                       Description          YTD         % / POR       YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                  Budget              Bud Var         Year                          Var
                                                                                                         Food & Beverage
                                                                                                         Summary


            0         0.00            0       0.00         0             0          0.00              0 Total Food Sales                                0        0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00              0 Total Beverage Sales                            0        0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00              0 Total Banquet A/V                               0        0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00              0 Total Banquet Misc                              0        0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00              0 Total F & B Sales                               0        0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00              0 Food Cost                                       0        0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00              0 Beverage Costs                                  0        0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00              0 Banquet A/V Costs                               0        0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00              0 Total F & B Costs                               0        0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00              0 Food Wages                                      0        0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00              0 Beverage Wages                                  0        0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00              0 Total F & B Wages                               0        0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00              0 F & B- P T & E B                                0        0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0          0.00              0 TTL P/R and Benefits                            0        0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0          0.00              0 Food Operating Expenses                         0        0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0          0.00              0 Beverage Operating Expenses                     0        0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00              0 Total F & B Operating Expenses                  0        0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0          0.00              0 Net F & B Income                                0        0.00        0       0.00             0              0       0.00                  0




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                                                              For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                     Description            YTD         % / POR       YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                                  Budget             Bud Var         Year                         Var
                                                                                                        Food Department




            0         0.00            0      0.00         0             0         0.00              0 Total Restaurant                                 0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Bar Food                                   0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Bistro                                     0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Garden Grill                               0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Other Food Revenue                         0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Room Service                               0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Banquets                                   0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Catering                                   0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 Net Food Revenue                                 0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Banquets Other                             0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 Total Food Revenues                              0        0.00        0      0.00             0              0      0.00                  0

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                                                              For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                     Description            YTD         % / POR       YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                                  Budget             Bud Var         Year                         Var
                                                                                                        Cost of Goods Sold

            0         0.00            0      0.00         0             0         0.00              0 Total Cost of Good Sold                          0        0.00        0      0.00             0              0      0.00                  0


                                                                                                        Food Payroll

            0         0.00            0      0.00         0             0         0.00              0 Total Food Wages                                 0        0.00        0      0.00             0              0      0.00                  0


                                                                                                        Operating Expenses



            0         0.00            0      0.00         0             0         0.00              0 Total Operating Expense- Food                    0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 Total Food Costs                                 0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 N.I.- Food Department                            0        0.00        0      0.00             0              0      0.00                  0

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                                                              For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                     Description            YTD         % / POR       YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                                  Budget             Bud Var         Year                         Var
                                                                                                        Beverage Department




            0         0.00            0      0.00         0             0         0.00              0 Total Restaurant Beverage                        0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 Total Garden Grill Beverage                      0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Room Service Bev                           0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Bar Beverage                               0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Banquet Beverage                           0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Catering Beverage                          0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 Total Beverage Revenue                           0        0.00        0      0.00             0              0      0.00                  0

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                                                               For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                     Description            YTD         % / POR       YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                  Budget              Bud Var         Year                          Var
                                                                                                         Cost of Goods Sold



            0         0.00            0       0.00         0             0          0.00              0 Total COGS- Beverage                            0        0.00        0       0.00             0              0       0.00                  0


                                                                                                         Beverage Payroll

            0         0.00            0      0.00          0             0         0.00              0 Total Beverage Payroll                           0        0.00        0      0.00              0              0      0.00                   0


                                                                                                         Operating Expenses- Beverage



            0         0.00            0      0.00          0             0         0.00              0 Total Operating- Beverage                        0        0.00        0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00              0 Total Beverage Costs                             0        0.00        0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00              0 Net Income- Beverage                             0        0.00        0      0.00              0              0      0.00                   0

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                                                              For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                     Description            YTD         % / POR       YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                                  Budget             Bud Var         Year                         Var
                                                                                                        FOOD STATS




            0         0.00            0      0.00         0             0         0.00              0 Total Food Covers                                0        0.00        0      0.00             0              0      0.00                   0

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                                                               For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR       Act vs LY                    Description            YTD         % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                         TELECOM
                                                                                                         TELEPHONE REVENUES

            0         0.00            0       0.00         0            16           0.00           -16 Local                                          12         0.00         0       0.00            12             23       0.00                    -11

            0         0.00         61         0.00       -61           340           0.00          -340 Long Distance                                  35         0.00      658        0.00        -623              703       0.00                   -668

            0         0.00        152         0.00      -152           252           0.00          -252 Internet Access Fees                        1,198         0.00     1,646       0.00        -448          1,510         0.00                   -312



            0         0.00       212         0.00       -212           608          0.00          -608 Total Phone Revenues                        1,245         0.00     2,304       0.00       -1,059         2,236         0.00                 -991



                                                                                                         COS- Communication

            0         0.00        660         0.18      -660             0           0.00             0 COS-Local                                       0         0.00     7,920       0.21      -7,920          6,597         0.18               -6,597

          640         0.00         30        49.42       610           659        193.82            -19 COS-Long Distance                           7,927    22,412.27      360       54.69       7,567          1,191       169.34               6,736

          973         0.00      1,183       779.82      -210          -959        -379.73         1,932 COS-HSIA ISP                               11,677      974.82     14,200     862.85      -2,523         11,204       742.11                   473



       1,613          0.00      1,873        0.00       -260          -299          0.00         1,912 Total COS- Comm                            19,605         0.00    22,480       0.00       -2,875        18,992         0.00                    612



      -1,613          0.00     -1,661        0.00         48           907          0.00        -2,521 Gross Margin- Comm                         -18,359        0.00    -20,176      0.00       1,817         -16,757        0.00              -1,603




                                                                                                         Operating Expenses

          100         0.00        100         0.00         0           100           0.00             0 Equipment Cost                              1,045         0.00     1,200       0.00        -155              500       0.00                   545

            0         0.00         60         0.00       -60             0           0.00             0 Equipment Maintenance                           0         0.00      720        0.00        -720              550       0.00                   -550



         100          0.00       160         0.00        -60           100          0.00              0 Total Operating - Comm                     1,045         0.00     1,920       0.00        -875          1,050         0.00                     -5



       1,713          0.00      1,821        0.00       -108          -807          0.00         2,521 N.I.- Comm Dept                            19,404         0.00    22,096       0.00       -2,692        17,807         0.00                1,598



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                                                                For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                     Description            YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                          MISCELLANEOUS DEPARTMENT
                                                                                                          MISCELLANEOUS REVENUES

             0        0.00         88         1.78        -88             0          0.00              0 Laundry/Valet                                  48        0.27     1,056       1.93      -1,008              904       1.73                   -856

             0        0.00         75         1.51        -75           134          3.12           -134 Movie Income                                  434        2.47      900        1.65        -466          1,272         2.44                   -838

          185        16.01        243         4.90        -58           375          8.76           -190 Vending                                     1,337        7.59     2,633       4.82      -1,297          2,579         4.95               -1,243

             0        0.00            0       0.00          0            -35        -0.81             35 Sundry Sales                                    0        0.00        0        0.00             0              0       0.00                     0

             0        0.00            0       0.00          0             0          0.00              0 Pet Fees                                        0        0.00        0        0.00             0            200       0.38                   -200

            10        0.86            0       0.00        10              0          0.00             10 Miscellaneous                                  10        0.06        0        0.00            10            118       0.23                   -108

          107         9.22        500        10.10       -393          1,177        27.49         -1,070 Late Cancellation Income                    3,696       20.98     6,000      10.98      -2,304          8,809        16.91               -5,113

             0        0.00        100         2.02       -100          -250         -5.84           250 Smoking Fee                                    850        4.82     1,200       2.20        -350              523       1.00                   327

            50        4.32         60         1.21        -10             0          0.00             50 Tax Discounts Earned                          373        2.12      720        1.32        -347              570       1.09                   -197

             0        0.00      1,214        24.52     -1,214          1,117        26.08         -1,117 Room Service                                2,034       11.54    13,166      24.10     -11,132         12,686        24.35            -10,653

          805        69.59      2,671        53.95     -1,865          1,764        41.20           -959 Market Sales                                8,837       50.16    28,964      53.01     -20,127         24,446        46.91            -15,609



       1,157       100.00       4,951       100.00     -3,793         4,282        100.00        -3,124 Total Miscellaneous Revenues               17,619       100.00   54,639      100.00     -37,020        52,108        100.00            -34,489



                                                                                                          COSales- Miscellaneous

             0        0.00         70        80.00        -70             0          0.00              0 COS-Laundry/Valet                              38       80.00      845       80.00        -806              686      75.90                   -648

             0        0.00         60         1.21        -60             0          0.00              0 COS-Movies                                    642        3.64      720        1.32         -78              976       1.87                   -335

             0        0.00            0       0.00          0             0          0.00              0 COS-Gift Shop                                   0        0.00        0        0.00             0              0       0.00                     0

             0        0.00      1,093        22.07     -1,093           981         22.91           -981 COS- Room Service                           1,958       11.11    11,849      21.69      -9,891         11,293        21.67               -9,335

          249        30.86      1,335        50.00     -1,087          1,045        59.26           -797 COS- Market                                 4,914       55.60    14,482      50.00      -9,569         12,892        52.74               -7,979



         249         21.48      2,558        51.68     -2,310         2,026         47.33        -1,778 Total COS- Miscellaneous                    7,552        42.86   27,896       51.06     -20,344        25,848         49.60            -18,296



            0         0.00            0       0.00         0              0          0.00              0 Total Meeting Room Revenues                     0        0.00        0        0.00             0              0       0.00                     0


                                                                                                          Cost of Sales- Meeting Room



         909         78.52      2,392        48.32     -1,483         2,255         52.67        -1,346 Total Miscellaneous Profit                 10,067        57.14   26,743       48.94     -16,676        26,260         50.40            -16,193

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                                                                For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                                00- Master P&L-CAPSTONE
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   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                       Description          YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                          ADMIN & GENERAL DEPARTMENT
                                                                                                          ADMIN & GENERAL

                                                                                                          P/R & Related Benefits- A&G

        4,306         3.27      6,603         1.78     -2,297          4,707         1.25           -401 General Manager                            42,736        2.95    77,745       2.09     -35,009         73,628         2.02            -30,891

             0        0.00      4,199         1.13     -4,199          2,637         0.70         -2,637 Assistant General Manager                  32,562        2.24    49,455       1.33     -16,893         39,467         1.08               -6,905

          378         0.29        823         0.22       -445           715          0.19           -337 Payroll Taxes                               5,684        0.39     9,698       0.26      -4,014          9,091         0.25               -3,407

          659         0.50      1,711         0.46     -1,052          1,102         0.29           -443 Employee Benefits                           9,250        0.64    20,532       0.55     -11,282         18,358         0.50               -9,108

            80        0.06            0       0.00         80          1,464         0.39         -1,384 Vacation /PTO                               5,959        0.41         0       0.00       5,959          5,362         0.15                   597

          423         0.32            0       0.00       423            950          0.25           -527 Holiday                                     2,266        0.16         0       0.00       2,266          3,309         0.09               -1,043

             0        0.00        625         0.17       -625           250          0.07           -250 Bonus/Incentive Pay                         3,739        0.26     7,500       0.20      -3,761          5,976         0.16               -2,236



       5,847          4.45     13,961        3.76      -8,114        11,826         3.15         -5,979 Total P/R & R/B- A&G                      102,196         7.04   164,930      4.43      -62,734       155,191         4.26             -52,994


                                                                                                          Operating Expenses- A&G

          243         0.18      2,200         0.59     -1,957          2,579         0.69         -2,336 Employee Relations                          1,115        0.08     6,350       0.17      -5,235          6,116         0.17               -5,001

        4,000         3.04      2,000         0.54      2,000          2,000         0.53          2,000 Accounting Fees                            26,000        1.79    24,000       0.65       2,000         24,358         0.67               1,642

          468         0.36        610         0.16       -142          1,053         0.28           -585 Data Processing                            12,648        0.87     8,520       0.23       4,128         11,303         0.31               1,345

          358         0.27        364         0.10         -6           438          0.12            -79 Office Supplies                             2,105        0.15     3,950       0.11      -1,844          4,466         0.12               -2,360

            45        0.03         50         0.01         -5            45          0.01              0 Muzak                                         474        0.03       600       0.02        -126              772       0.02                   -298

             0        0.00        200         0.05       -200           512          0.14           -512 Travel & Lodging                              588        0.04     4,400       0.12      -3,812          5,745         0.16               -5,157

             0        0.00         25         0.01        -25             0          0.00              0 Meals and Entertainment                         0        0.00       300       0.01        -300              492       0.01                   -492

             0        0.00        105         0.03       -105           105          0.03           -105 Telephone                                     247        0.02     1,260       0.03      -1,013          1,110         0.03                   -863

             0        0.00            0       0.00          0             0          0.00              0 Licenses and Permits                        4,691        0.32     4,740       0.13         -49          4,738         0.13                    -47

            75        0.06        121         0.03        -46           186          0.05           -110 Postage                                       478        0.03     1,317       0.04        -839          1,608         0.04               -1,130

             0        0.00            0       0.00          0             0          0.00              0 Recruitment                                   829        0.06       905       0.02         -76          1,273         0.03                   -445

             0        0.00        114         0.03       -114           110          0.03           -110 Employment Screening/ Drug Testing            840        0.06     1,368       0.04        -528          1,467         0.04                   -627

             0        0.00         75         0.02        -75           317          0.08           -317 Training                                      734        0.05     2,200       0.06      -1,466          2,864         0.08               -2,130

          150         0.11        160         0.04        -10           250          0.07           -100 Dues/Subscriptions                          1,577        0.11     2,020       0.05        -443          4,097         0.11               -2,520

        3,164         2.41      8,874         2.39     -5,709          7,985         2.13         -4,820 Credit Card Commissions                    35,778        2.47    88,966       2.39     -53,188         86,670         2.38            -50,892

             0        0.00            0       0.00          0           318          0.08           -318 Cash Over/Short                                50        0.00         0       0.00            50         -198        -0.01                   248

            30        0.02         30         0.01          0            27          0.01              3 Equipment Rental                              448        0.03       360       0.01            88        1,460         0.04               -1,012

          117         0.09        415         0.11       -298           351          0.09           -234 Payroll Services                            3,239        0.22     6,387       0.17      -3,148          4,929         0.14               -1,691

          703         0.53      1,100         0.30       -397           997          0.27           -295 Bank Charges                               10,681        0.74    13,200       0.35      -2,519         12,547         0.34               -1,866

          468         0.36            0       0.00       468          -1,068        -0.28          1,536 Chargebacks                                 5,956        0.41         0       0.00       5,956          4,842         0.13               1,114

          801         0.61      1,093         0.29       -292          1,490         0.40           -689 Workers Comp Insurance                      8,579        0.59    14,180       0.38      -5,601         13,210         0.36               -4,632



      10,622          8.08     17,537        4.73      -6,915        17,693         4.72         -7,071 Total Operating- A&G                      117,058         8.07   185,022      4.97      -67,964       193,870         5.32             -76,812



      16,469         12.52     31,497        8.49     -15,029        29,519         7.87        -13,050 Total Expenses- A&G                       219,254        15.11   349,952      9.41     -130,698       349,060         9.58           -129,806

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                                                                Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
                                                                For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                       Description          YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                          SALES DEPARTMENT
                                                                                                          SALES

                                                                                                          P/R & R/B

            0         0.00      1,118         0.30     -1,118          1,097         0.29         -1,097 Director of Sales                           6,582        0.45    13,036       0.35      -6,454         13,107         0.36               -6,525

        3,639         2.77      3,829         1.03       -190          2,982         0.79           657 Sales Manager                               35,064        2.42    44,436       1.19      -9,372         40,697         1.12               -5,634

          425         0.32      1,067         0.29       -642           897          0.24           -472 Revenue Management                          6,485        0.45    12,802       0.34      -6,317         11,185         0.31               -4,700

            0         0.00        172         0.05       -172             0          0.00              0 E Commerce Management                         516        0.04     2,066       0.06      -1,549                0       0.00                   516

          307         0.23        396         0.11        -89           322          0.09            -16 Payroll Taxes                               3,413        0.24     4,630       0.12      -1,217          4,304         0.12                   -891

            0         0.00        607         0.16       -607           486          0.13           -486 Employee Benefits                             706        0.05     7,284       0.20      -6,578          6,787         0.19               -6,081

            0         0.00            0       0.00          0           168          0.04           -168 Vacation / PTO                              3,790        0.26         0       0.00       3,790              168       0.00               3,622

          338         0.26            0       0.00       338            337          0.09              1 Holiday                                     1,353        0.09         0       0.00       1,353          1,164         0.03                   189

            0         0.00        425         0.11       -425             0          0.00              0 Bonus/Incentive Pay                         1,215        0.08     5,100       0.14      -3,885          4,188         0.11               -2,973



       4,709          3.58      7,614        2.05      -2,905         6,289         1.68         -1,581 Total P/R & R/B- Sales                     59,124         4.07    89,353      2.40      -30,229        81,601         2.24             -22,477


                                                                                                          Operating Expenses- Sales

            0         0.00        250         0.07       -250             0          0.00              0 Printing & Stationary                           0        0.00       250       0.01        -250              108       0.00                   -108

            0         0.00         50         0.01        -50             0          0.00              0 Office Supplies                                21        0.00       700       0.02        -679              442       0.01                   -420

            0         0.00         60         0.02        -60            73          0.02            -73 Travel & Lodging                              398        0.03     1,720       0.05      -1,322          1,862         0.05               -1,464

            0         0.00        575         0.15       -575             0          0.00              0 Meals & Entertainment                          56        0.00     1,600       0.04      -1,544              753       0.02                   -697

            0         0.00      1,800         0.49     -1,800          1,250         0.33         -1,250 Promotions                                    370        0.03     5,250       0.14      -4,880          3,908         0.11               -3,538

            0         0.00         50         0.01        -50            50          0.01            -50 Telephone                                       0        0.00       600       0.02        -600              600       0.02                   -600

            0         0.00            0       0.00          0             0          0.00              0 Postage                                         0        0.00        50       0.00         -50                0       0.00                     0

            0         0.00         25         0.01        -25            32          0.01            -32 Sales Training                                532        0.04       550       0.01         -18              598       0.02                    -65

        3,807         2.89        585         0.16      3,222            20          0.01          3,787 Dues & Subscriptions                       12,683        0.87    10,885       0.29       1,798         10,513         0.29               2,171

            0         0.00            0       0.00          0             0          0.00              0 Trade Show                                      0        0.00         0       0.00             0             21       0.00                    -21

            0         0.00        144         0.04       -144           200          0.05           -200 e Commerce Costs                              432        0.03     1,730       0.05      -1,298          2,185         0.06               -1,753

          220         0.17        800         0.22       -580           336          0.09           -116 Brand Paid Search                           3,397        0.23     9,215       0.25      -5,818          7,661         0.21               -4,264

            0         0.00        697         0.19       -697             0          0.00              0 Internet Advertising                          395        0.03     2,091       0.06      -1,696          4,495         0.12               -4,100

            0         0.00            0       0.00          0             0          0.00              0 Program Costs                               4,705        0.32     9,408       0.25      -4,704          8,000         0.22               -3,296



       4,027          3.06      5,036        1.36      -1,009         1,960         0.52          2,067 Total Operating- Sales                     22,989         1.58    44,049      1.18      -21,060        41,144         1.13             -18,155



       8,736          6.64     12,650        3.41      -3,914         8,249         2.20            487 Total Expenses-Sales                       82,113         5.66   133,403      3.59      -51,289       122,745         3.37             -40,632

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                                                                Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
                                                                For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                        Description            YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                          MAINTENANCE DEPARTMENT
                                                                                                          REPAIRS & MAINTENANCE
                                                                                                          P/R & Related Expenses- Maintenance

        3,622         1.96      3,857         1.27       -235          2,520         0.83          1,102 Chief Engineer                              42,386         2.78    44,768       1.36      -2,382         40,334         1.26               2,052

             0        0.00            0       0.00          0          1,711         0.56         -1,711 Asst Engineer                                      0       0.00         0       0.00             0       31,328         0.98            -31,328

             0        0.00      3,385         1.12     -3,385             0          0.00              0 General Maintenance                          8,964         0.59    39,964       1.21     -31,000                0       0.00               8,964

          305         0.16        536         0.18       -231           599          0.20           -295 Payroll Taxes                                4,206         0.28     6,270       0.19      -2,065          6,102         0.19               -1,897

          557         0.30        385         0.13       172            114          0.04           443 Employee Benefits                             6,353         0.42     4,620       0.14       1,733          1,428         0.04               4,926

          339         0.18            0       0.00       339            551          0.18           -212 Holiday                                      1,463         0.10         0       0.00       1,463          2,083         0.06                   -621

             0        0.00            0       0.00          0          2,265         0.75         -2,265 Vacation /PTO                                3,660         0.24         0       0.00       3,660          4,130         0.13                   -469

             0        0.00            0       0.00          0             0          0.00              0 Contract Labor                                     0       0.00         0       0.00             0        2,937         0.09               -2,937



       4,822          2.60      8,163        2.69      -3,340         7,760         2.56         -2,937 Total P/R & Related Expenses- Maintenance    67,031        4.40     95,622      2.91      -28,591        88,342         2.76             -21,310


                                                                                                          Operating Expenses- R & M

        2,371         1.28        243         0.08      2,128           428          0.14          1,943 Laundry Equipment                            3,823         0.25     2,633       0.08       1,190          1,556         0.05               2,267

            53        0.03        546         0.18       -494           371          0.12           -318 Building Maintenance                         3,617         0.24     5,925       0.18      -2,308          5,653         0.18               -2,037

            74        0.04        121         0.04        -47           211          0.07           -137 Light Bulbs                                      948       0.06     1,317       0.04        -369          1,474         0.05                   -526

            51        0.03        182         0.06       -131             0          0.00             51 Electrical & Mechanical                          261       0.02     1,975       0.06      -1,714              684       0.02                   -423

             0        0.00        546         0.18       -546           466          0.15           -466 HVAC                                         2,417         0.16     5,925       0.18      -3,508          5,366         0.17               -2,949

            35        0.02        304         0.10       -268           129          0.04            -94 Plumbing & Boiler                            1,497         0.10     3,291       0.10      -1,795          3,094         0.10               -1,598

          300         0.16        936         0.31       -636           915          0.30           -615 Pool                                         3,088         0.20    11,232       0.34      -8,144         15,047         0.47            -11,959

          500         0.27        850         0.28       -350           950          0.31           -450 Grounds & Landscaping                        4,553         0.30    16,520       0.50     -11,967         17,366         0.54            -12,814

             0        0.00            0       0.00          0            13          0.00            -13 Signage                                          202       0.01         0       0.00        202               942       0.03                   -740

             0        0.00         50         0.02        -50             0          0.00              0 Furniture & Fixtures                             441       0.03       600       0.02        -159          2,167         0.07               -1,726

             0        0.00         61         0.02        -61             0          0.00              0 Painting                                         135       0.01       658       0.02        -523              974       0.03                   -839

             0        0.00      2,300         0.76     -2,300          1,880         0.62         -1,880 Carpet & Floor                                   855       0.06     7,900       0.24      -7,045          4,908         0.15               -4,054

             0        0.00            0       0.00          0             0          0.00              0 Training                                           0       0.00         0       0.00             0             25       0.00                    -25

            74        0.04         61         0.02        13              0          0.00             74 Telephone                                        111       0.01       658       0.02        -547              511       0.02                   -401

             0        0.00            0       0.00          0             0          0.00              0 Kitchen Equipment                                  0       0.00         0       0.00             0            156       0.00                -156

             0        0.00         30         0.01        -30             0          0.00              0 Locks & Keys                                 -1,665       -0.11       329       0.01      -1,994               15       0.00               -1,680

             0        0.00         28         0.01        -28             0          0.00              0 Radio & TV                                       316       0.02       826       0.03        -510           -215        -0.01                   531

          213         0.12        380         0.13       -167           213          0.07              0 Exterminating                                2,450         0.16     4,560       0.14      -2,111          5,219         0.16               -2,769

             0        0.00            0       0.00          0             0          0.00              0 License & Permits                                 30       0.00         0       0.00            30             30       0.00                     0

          168         0.09        148         0.05        20              0          0.00           168 Storage                                       2,045         0.13     1,776       0.05        269           1,776         0.06                   269

          153         0.08         57         0.02        96            367          0.12           -215 Fire & Safety                                3,480         0.23     7,993       0.24      -4,513         10,745         0.34               -7,265

             0        0.00            0       0.00          0             0          0.00              0 Elevator                                     6,036         0.40     5,700       0.17        336           7,176         0.22               -1,139



       3,991          2.15      6,843        2.25      -2,852         5,943         1.96         -1,952 Total Operating - R & M                      34,639        2.27     79,818      2.43      -45,179        84,669         2.64             -50,030



       8,813          4.76     15,006        4.94      -6,193        13,702         4.51         -4,889 Total Expenses- R & M                       101,670        6.67    175,440      5.33      -73,770       173,011         5.40             -71,341

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                                                              For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual        % / POR     Budget     % / POR    Act vs     Last Year      % / POR      Act vs LY                     Description            YTD         % / POR       YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                        Var                                                                  Budget               Bud Var       Year                        Var
                                                                                                        UTILITIES DEPARTMENT
                                                                                                        UTILITIES EXPENSE

        4,840         2.61      4,522       1.49       318           6,734         2.22         -1,894 Electricity                                54,025        3.55    67,094       2.04     -13,069       65,026       2.03            -11,001

        1,046         0.56      2,525       0.83     -1,479          1,713         0.56           -668 Gas                                        10,175        0.67    17,574       0.53      -7,399       16,215       0.51               -6,040

        2,765         1.49      4,056       1.34     -1,291          6,260         2.06         -3,495 Water & Sewer                              33,572        2.20    53,993       1.64     -20,421       49,916       1.56            -16,343

            82        0.04        933       0.31       -852           948          0.31           -867 Waste Removal                               9,697        0.64    11,200       0.34      -1,503       11,164       0.35               -1,467



       8,732          4.72     12,036      3.97      -3,304        15,655         5.16         -6,923 Total Expenses- Utilities                 107,469         7.05   149,861      4.55      -42,392     142,320       4.44             -34,851

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                                                                Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
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   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                        Description         YTD         % / POR       YTD     % / POR    Act vs        YTD Last     % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                  Budget               Bud Var         Year                        Var
                                                                                                          FRANCHISE DEPARTMENT
                                                                                                          FRANCHISE FEES

        7,085         5.44      18,331        5.01    -11,247        18,542          5.00        -11,457 Franchise Fees/ Royalties                  72,922        5.09   183,574       5.01    -110,652        179,568       5.00           -106,646

        3,288         2.52      16,393        4.48    -13,105        16,166          4.36        -12,878 Advertising                                71,392        4.98   164,169       4.48     -92,777        149,690       4.17            -78,298

             0        0.00            0       0.00          0             0          0.00              0 Reservations                                    0        0.00         0       0.00             0       13,636       0.38            -13,636

          763         0.59       3,005        0.82     -2,241          2,129         0.57         -1,366 Frequent Traveler                          14,623        1.02    32,585       0.89     -17,961         32,454       0.90            -17,830

          100         0.08        300         0.08       -200            50          0.01             50 Brand Guest Fees                              454        0.03     3,600       0.10      -3,147          1,775       0.05               -1,322

            45        0.03            0       0.00         45             3          0.00             42 Other Franchise Cost                        1,152        0.08     2,003       0.05        -850          2,767       0.08               -1,615



      11,280          8.65     38,029        10.39    -26,748        36,889         9.95        -25,609 Total Franchise Fees Expense              160,543        11.20   385,931      10.53    -225,387       379,890       10.58          -219,347

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                                                                Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
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   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                     Description            YTD         % / POR       YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                  Budget               Bud Var       Year                          Var
                                                                                                          MANAGEMENT FEES
        3,288         2.50      9,282         2.50     -5,994          9,378         2.50         -6,090 Management Fees                            36,273        2.50    93,061       2.50     -56,788       91,115         2.50            -54,842

       13,758        10.46            0       0.00     13,758             0          0.00         13,758 Management Fees- Owner                     28,970        2.00        0        0.00      28,970              0       0.00             28,970



      17,046         12.96      9,282        2.50      7,764          9,378         2.50          7,668 Total Management Fees Expense              65,243         4.50   93,061       2.50      -27,817      91,115         2.50             -25,872



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                                                               Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
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   Actual       % / POR      Budget      % / POR    Act vs     Last Year      % / POR      Act vs LY                      Description           YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                    Bud Var                                        Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         FIXED EXPENSES
       28,131        21.39      28,131       7.58         0         26,645          7.10          1,485 Ground Lease                              332,299       22.90   330,793       8.89       1,506        321,940         8.83             10,359

       13,064         9.93      14,149       3.81     -1,085       -139,084       -37.08       152,148 FF & E Reserve                             156,768       10.80   150,247       4.04       6,522                0       0.00            156,768

       15,491        11.78      15,491       4.17         0         13,245          3.53          2,246 Real Estate Tax                           185,894       12.81   185,894       5.00             0      185,730         5.10                   163

          735         0.56        735        0.20         0           2,798         0.75         -2,063 Personal Property Tax                       8,818        0.61     8,818       0.24             0       12,839         0.35               -4,021

        5,359         4.08       4,628       1.25       731           4,421         1.18           938 Insurance                                   56,961        3.93    55,431       1.49       1,530         53,108         1.46               3,852



      62,780         47.74     63,133       17.01      -354        -91,975        -24.52       154,754 TOTAL FIXED EXPENSES                      740,739        51.05   731,183      19.65      9,557        573,617         15.74           167,122

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                                                                Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
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                                                     Bud Var                                        Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                          TOTAL OTHER
            0         0.00            0       0.00         0            350          0.09           -350 Owners Expense                             17,218        1.19         0       0.00      17,218         13,887         0.38               3,332

       62,058        47.19            0       0.00     62,058        -58,000       -15.46       120,058 Depreciation                               744,696       51.32         0       0.00     744,696        624,638        17.14            120,058

        3,091         2.35            0       0.00      3,091          3,094         0.82             -3 Amortization Expense                       37,092        2.56         0       0.00      37,092         37,095         1.02                    -3

       31,043        23.61      31,043        8.37         0         31,044          8.28             -1 Interest Expense                          372,059       25.64   372,519      10.01        -460        375,097        10.29               -3,038

        7,309         5.56       3,713        1.00      3,596          3,751         1.00          3,558 Asset Management Fee                       14,509        1.00    37,224       1.00     -22,715         36,442         1.00            -21,933

            0         0.00            0       0.00         0              0          0.00              0 Non Operating Income                          -42        0.00         0       0.00         -42           -778        -0.02                   736

            0         0.00            0       0.00         0         -11,318        -3.02         11,318 Extraordinary Expenses                     20,759        1.43         0       0.00      20,759                0       0.00             20,759

            0         0.00            0       0.00         0          -5,042        -1.34          5,042 GB 1 YE AJE                                     0        0.00         0       0.00             0      -11,409        -0.31             11,409

            0         0.00            0       0.00         0         19,911          5.31        -19,911 GB- 2 R&M/Capex AJE                             0        0.00         0       0.00             0       19,911         0.55            -19,911

        1,688                         0                 1,688             0                        1,688 Ground Lease Tax                           16,472                     0                 16,472                0                        16,472



     105,189         79.99     34,756        9.37     70,433        -16,211        -4.32        121,399 Total Other                             1,222,763        84.27   409,743      11.01    813,020       1,094,882        30.04           127,882

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 130 of 541
                                                               Company: 5614 Vineland-Orlando LLC dba FIS Orlando Property: Fairfield Inn & Suites Orlando (Capstone)
                                                               For Property: Fairfield Inn & Suites Orlando (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                     Description            YTD         % / POR       YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                  Budget              Bud Var         Year                          Var
                                                                                                         House Laundry Dept




            0         0.00            0      0.00          0             0         0.00              0 Total P/R & Benefits- Ldy                        0        0.00        0      0.00              0              0      0.00                    0


                                                                                                         Operating Expenses




            0         0.00            0      0.00          0             0         0.00              0 Total Operating Expenses- Ldy                    0        0.00        0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0          0.00              0 Total Laundry Expenses                          0        0.00        0       0.00             0              0       0.00                   0



                                                                                                         Allocation




            0         0.00            0      0.00          0             0         0.00              0 Total Allocation                                 0        0.00        0      0.00              0              0      0.00                    0



            0                         0                    0             0                           0 Total Lndry Dept                                 0                    0                        0              0                              0



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                                                     Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 131 of 541
                                                            Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                            For Property: Hampton Inn Clermont (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                  Description           YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                      Var                                                                 Budget                Bud Var         Year                       Var
                                                                                                    SUMMARY

    2,697                    2,697                      0         2,697                          0 Total Rooms Available                    31,842                  31,842                        0       31,755                            87

    1,389                    2,205                   -816         2,205                       -816 Total Rooms Sold                         17,704                  25,661                  -7,957        25,426                         -7,722

 51.50%                   81.76%                 -30.26%        81.76%                    -30.26% Occupancy %                             55.60%                  80.59%                  -24.99%        80.07%                     -24.47%

   95.99                   122.97                  -26.98       125.79                      -29.80 Average Rate                            115.13                  126.23                   -11.10        124.95                         -9.82

   49.44                   100.54                  -51.10       102.84                      -53.40 REVPAR                                   64.01                  101.73                   -37.71        100.05                      -36.04




                                                                                                    REVENUES

  133,328        98.30     271,148       98.37   -137,820       277,360         98.73     -144,032 ROOMS                                 2,038,335       97.89   3,239,227      98.38   -1,200,892      3,177,076       98.38      -1,138,741

         0        0.00            0       0.00          0             0          0.00            0 FOOD                                          0        0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE                                     0         0.00           0       0.00             0              0       0.00                0

    2,305         1.70       4,494        1.63     -2,189         3,573          1.27       -1,268 MISCELLANEOUS                            43,989        2.11      53,326       1.62       -9,337        52,279         1.62            -8,289



 135,633       100.00     275,642       100.00   -140,009      280,933         100.00     -145,300 TOTAL REVENUES                       2,082,324      100.00    3,292,552     100.00   -1,210,228     3,229,354       100.00     -1,147,030




                                                                                                    DEPARTMENT EXPENSES

   34,821        26.12      55,988       20.65    -21,167        56,425         20.34      -21,604 ROOMS EXPENSE                           428,287       21.01     648,412      20.02     -220,124       606,659        19.09       -178,371

         0        0.00            0       0.00          0             0          0.00            0 FOOD EXPENSE                                 0         0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE EXPENSE                             0         0.00           0       0.00             0              0       0.00                0

     419         18.16        845        18.80       -426           842         23.57         -424 MISCELLANEOUS EXPENSE                     3,995        9.08       9,839      18.45       -5,844         8,119        15.53            -4,124



  35,240        25.98      56,833        20.62    -21,593       57,267          20.38      -22,027 TOTAL DEPARTMENTAL EXPENSES            432,282       20.76     658,251       19.99    -225,968       614,777         19.04       -182,495



                                                                                                    DEPARTMENTAL PROFIT

   98,507        73.88     215,160       79.35   -116,653       220,935         79.66     -122,428 ROOMS PROFIT                          1,610,048       78.99   2,590,815      79.98     -980,767      2,570,417       80.91       -960,370

         0        0.00            0       0.00          0             0          0.00            0 FOOD PROFIT                                  0         0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE PROFIT                              0         0.00           0       0.00             0              0       0.00                0

    1,886        81.84       3,649       81.20     -1,763         2,731         76.43         -845 MISCELLANEOUS PROFIT                     39,994       90.92      43,487      81.55       -3,493        44,160        84.47            -4,166



 100,393        74.02     218,809        79.38   -118,416      223,666          79.62     -123,273 TOTAL DEPARTMENTAL PROFIT            1,650,042       79.24    2,634,302      80.01    -984,260      2,614,577        80.96       -964,535



   19,440        14.33      24,826        9.01     -5,386        23,934          8.52       -4,494 A & G EXPENSE                           233,607       11.22     288,396       8.76      -54,789       281,261         8.71        -47,653

    1,775         1.31       1,775        0.64          0         2,118          0.75         -343 TELECOM                                  21,582        1.04      22,340       0.68         -758        21,624         0.67               -42

    7,168         5.29       8,216        2.98     -1,048         6,994          2.49          175 SALES & MARKETING EXPENSES               50,292        2.42      97,935       2.97      -47,643        88,529         2.74        -38,237

   12,827         9.46      34,862       12.65    -22,036        37,792         13.45      -24,965 FRANCHISE FEES                          263,392      12.65      414,357      12.58     -150,965       422,667        13.09       -159,275

    6,787         5.00       9,665        3.51     -2,878        11,218          3.99       -4,431 MAINTENANCE EXPENSES                    102,768        4.94     127,038       3.86      -24,269       121,616         3.77        -18,848

    6,345         4.68       7,984        2.90     -1,639        11,587          4.12       -5,243 UTILITIES EXPENSE                        93,917        4.51     117,748       3.58      -23,831       121,727         3.77        -27,809



  54,341        40.06      87,328        31.68    -32,987       93,642          33.33      -39,300 TOTAL ADMIN EXPENSES                   765,559       36.76    1,067,814      32.43    -302,255      1,057,423        32.74       -291,864



  46,052        33.95     131,481        47.70    -85,429      130,024          46.28      -83,972 HOUSE PROFIT                           884,483       42.48    1,566,487      47.58    -682,004      1,557,154        48.22       -672,671



                                                                                                    FIXED EXPENSES

   14,399        10.62       6,893        2.50      7,507         7,025          2.50        7,374 MANAGEMENT FEES                          78,280        3.76      82,333       2.50       -4,054        80,745         2.50            -2,465

   49,035        36.15      48,407       17.56        629      -116,752        -41.56      165,788 FIXED EXPENSES                          575,998      27.66      573,880      17.43        2,118       426,300        13.20        149,698
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     -17,383        -12.82   76,182   27.64    -93,565   239,751    85.34   -257,134 NET OPERATING INCOME                      230,206    11.06    910,275   27.65    -680,069    1,050,110   32.52          -819,904



      113,496        83.68   42,289   15.34     71,207   -95,047   -33.83    208,543 Other                                    1,238,491    59.48   507,313   15.41      731,179   1,086,746   33.65            151,745



    -130,879        -96.50   33,893   12.30   -164,772   334,799   119.17   -465,678 N.I. after Other                        -1,008,286   -48.42   402,962   12.24   -1,411,248     -36,636   -1.13          -971,649



     -72,985                 33,893           -106,878   202,907            -275,892 Cash before Depreciation/Amortization    -313,558             402,962            -716,520     526,200                   -839,757

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                                                             Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                             For Property: Hampton Inn Clermont (Capstone)
                                                             00- Master P&L-CAPSTONE
                                                             As of 12/31/2020

Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description        YTD         % / POR           YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                  Bud Var                                      Var                                                                   Budget                Bud Var         Year                       Var
                                                                                                     ROOMS DEPARTMENT
                                                                                                     ROOMS REVENUE

   49,094         36.82      76,734       28.30    -27,640        78,429         28.28      -29,335 Rack/ Premium                           558,479       27.40       858,565      26.51     -300,085       836,242        26.32       -277,762

    1,211          0.91       4,763        1.76     -3,552         5,520          1.99       -4,309 Corporate                                41,397        2.03       132,561       4.09      -91,164       103,769         3.27        -62,371

   53,842         40.38      82,026       30.25    -28,184        82,960         29.91      -29,118 Discounts - Other                       658,759       32.32       880,234      27.17     -221,475       751,725        23.66        -92,965

    4,478          3.36       8,908        3.29     -4,430         8,260          2.98       -3,782 Government                               76,771        3.77       129,294       3.99      -52,524       113,043         3.56        -36,273

   21,510         16.13      74,507       27.48    -52,997        75,818         27.34      -54,308 Locally Negotiated Rate                 498,092       24.44       632,531      19.53     -134,439       657,303        20.69       -159,211

     -198         -0.15            0       0.00       -198          -782         -0.28          585 Allowances                               -7,380       -0.36             0       0.00       -7,380       -16,014        -0.50            8,634



 129,937         97.46     246,937        91.07   -117,000      250,205          90.21     -120,267 Total Transient Revenue              1,826,119       89.59      2,633,186      81.29    -807,067      2,446,067        76.99       -619,948




          0        0.00            0       0.00          0             0          0.00            0 Total Base Revenues                           0        0.00             0       0.00             0              0       0.00                0



    2,809          2.11      24,211        8.93    -21,402        25,874          9.33      -23,065 Group- Corporate                        205,333       10.07       606,041      18.71     -400,708       720,493        22.68       -515,160



   2,809          2.11      24,211         8.93    -21,402       25,874           9.33      -23,065 Total Group Revenue                    205,333       10.07       606,041       18.71    -400,708       720,493         22.68       -515,160



     582           0.44            0       0.00        582         1,282          0.46         -700 Guaranteed No-Show                        6,883        0.34             0       0.00        6,883        10,516         0.33            -3,633



 133,328        100.00     271,148       100.00   -137,820      277,360         100.00     -144,032 Total Rooms Revenue                  2,038,335      100.00      3,239,227     100.00   -1,200,892     3,177,076       100.00     -1,138,741



                                                                                                     ROOM STATISTICS

     426            31         529           24       -103           524            24          -98 Rack/ Premium Rooms                       4,009         23          5,534         22       -1,525         5,398           21            -1,389

         13          1          44            2        -31            51             2          -38 Corporate Rooms                             348             2       1,054          4         -706             834          3             -486

     666            48         662           30          5           661            30            5 Discounts - Other Rooms                   6,294         36          7,089         28         -795         6,067           24              227

         43          3          88            4        -45            82             4          -39 Government Rooms                            738             4       1,194          5         -456         1,028            4             -290

     214            15         684           31       -470           679            31         -465 Locally Negotiated Corporate Rooms        4,576         26          5,652         22       -1,076         5,860           23            -1,284



   1,362            98       2,007          91       -645          1,997           91          -635 Total Transient Stats                   15,965          90        20,524         80        -4,559       19,187           75          -3,222




          0          0             0         0          0              0            0             0 Total Crew Stats                             0              0          0          0              0              0         0                 0



         27          2         198            9       -171           208             9         -181 Group- Corporate Rooms                    1,739         10          5,137         20       -3,398         6,239           25            -4,500



         27          2         198           9       -171           208             9          -181 Total Group Stats                        1,739          10         5,137         20        -3,398        6,239           25          -4,500



   1,389           100       2,205         100       -816          2,205          100          -816 TOTAL ROOM STATISTICS                   17,704         100        25,661        100        -7,957       25,426          100          -7,722



                                                                                                     Other Room Stats

          0          0             0          0          0             0             0            0 House Use Rooms                               5             0           0          0             5              0          0                5

     860            62             0          0        860         1,343            61         -483 Single Occupancy                         12,003         68              0          0       12,003        18,058           71            -6,055

     529            38             0          0        529           862            39         -333 Multiple Occupancy                        5,687         32              0          0        5,687         7,367           29            -1,680

          0          0             0          0          0             0             0            0 GNS Stats                                    -1             0           0          0            -1             -3          0                2

     175            13             0          0        175             8             0          167 Out of Order Rooms                          965             5           0          0         965              157          1              808

    3,176          229             0          0      3,176         4,852           220       -1,676 # of Guests                              37,994        215              0          0       37,994        52,639          207        -14,645
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                                                     Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 135 of 541
                                                            Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                            For Property: Hampton Inn Clermont (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year     % / POR     Act vs LY                      Description         YTD          % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                     Var                                                                Budget              Bud Var         Year                         Var
                                                                                                   ADR



       115.24                145.00                -29.76        149.67                    -34.43 Rack/Premium ADR                          139.31               155.14                -15.83         154.92                           -15.61

        93.17                108.00                -14.83        108.24                    -15.07 Corporate ADR                             118.96               125.72                 -6.76         124.42                              -5.46

            0                      0                    0             0                         0 Contract - Airline ADR                         0                   0                        0              0                               0

        80.84                124.00                -43.16        125.51                    -44.66 Discount ADR                              104.66               124.16                -19.50         123.90                           -19.24

         0.00                  0.00                  0.00          0.00                      0.00 Distressed Passengers ADR                    0.00                0.00                  0.00           0.00                              0.00

            0                      0                    0             0                         0 AARP ADR                                       0                   0                        0              0                               0

       104.14                101.00                  3.14        100.73                      3.41 Government ADR                            104.03               108.29                 -4.26         109.96                              -5.94

         0.00                  0.00                  0.00          0.00                      0.00 AAA ADR                                      0.00                0.00                  0.00           0.00                              0.00

       100.51                109.00                 -8.49        111.66                    -11.15 Local Negotiated ADR                      108.85               111.92                 -3.07         112.17                              -3.32

         0.00                  0.00                  0.00          0.00                      0.00 Packages ADR                                 0.00                0.00                  0.00           0.00                              0.00

         0.00                  0.00                  0.00          0.00                      0.00 Wholesale/FIT ADR                            0.00                0.00                  0.00           0.00                              0.00

            0                      0                    0             0                         0 Internet ADR                                   0                   0                        0              0                               0

            0                      0                    0             0                         0 Tax Exampt - Transient ADR                     0                   0                        0              0                               0



       95.40                123.07                 -27.66       125.29                     -29.89 Total Transient ADR                      114.38               128.30                 -13.92        127.49                          -13.10




         0.00                  0.00                  0.00          0.00                      0.00 Crew ADR                                     0.00                0.00                  0.00           0.00                              0.00

            0                      0                    0             0                         0 Contract ADR                                   0                   0                        0              0                               0




         0.00                  0.00                  0.00          0.00                      0.00 Group - SMERF ADR                            0.00                0.00                  0.00           0.00                              0.00

       104.04                122.00                -17.96        124.39                    -20.36 Group - Corporate ADR                     118.08               117.96                  0.11         115.48                              2.59

            0                      0                    0             0                         0 Group - Government ADR                         0                   0                        0              0                               0

            0                      0                    0             0                         0 Group - Tour ADR                               0                   0                        0              0                               0

            0                      0                    0             0                         0 Group- Association ADR                         0                   0                        0              0                               0

            0                      0                    0             0                         0 Group - Tax Exampt ADR                         0                   0                        0              0                               0



      104.04                122.00                 -17.96       124.39                     -20.36 Total Group ADR                          118.08               117.96                  0.11         115.48                               2.59

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 136 of 541
                                                                Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                                For Property: Hampton Inn Clermont (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                      Description       YTD         % / POR         YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                 Budget                Bud Var       Year                          Var
                                                                                                        Payroll & Related Expense

        2,374         1.71      3,021         1.37       -647         1,957          0.89          418 FOM/Guest Service Mgr                    31,308        1.77      35,665       1.39      -4,357       29,019         1.14                  2,289

        3,982         2.87      4,851         2.20       -869         4,864          2.21         -882 FD/ Guest Service Reps                   35,173        1.99      56,452       2.20     -21,279       50,254         1.98             -15,081

        1,290         0.93      3,021         1.37     -1,731         2,387          1.08       -1,097 Executive Housekeeper                    30,487        1.72      35,665       1.39      -5,178       28,284         1.11                  2,203

            0         0.00        855         0.39       -855           971          0.44         -971 Asst Exec Housekeeper/ Inspectress        2,018        0.11       9,947       0.39      -7,929        9,536         0.38               -7,518

        4,928         3.55      8,520         3.86     -3,592         8,168          3.70       -3,240 Housekeepers                             53,262        3.01      99,154       3.86     -45,892       92,750         3.65             -39,489

          191         0.14      1,825         0.83     -1,634         1,335          0.61       -1,144 Housemen                                  2,022        0.11      21,234       0.83     -19,213       13,135         0.52             -11,113

        1,871         1.35      2,447         1.11       -576         2,302          1.04         -431 Laundry                                  19,447        1.10      28,479       1.11      -9,032       27,485         1.08               -8,038

            0         0.00      2,790         1.27     -2,790         2,466          1.12       -2,466 Comp Breakfast Hostess                    5,779        0.33      32,940       1.28     -27,161       27,400         1.08             -21,621

        3,462         2.49      2,653         1.20        809         3,026          1.37          436 Night Audit                              33,071        1.87      33,575       1.31        -504       35,521         1.40               -2,450

        1,831         1.32      2,371         1.08       -540         2,509          1.14         -678 Payroll Taxes                            18,677        1.05      26,886       1.05      -8,208       26,466         1.04               -7,789

          787         0.57      2,060         0.93     -1,273         2,172          0.98       -1,385 Employee Benefits                        23,090        1.30      24,720       0.96      -1,630       24,572         0.97               -1,482

        2,654         1.91        750         0.34      1,904           930          0.42        1,724 Vacation /PTO                            35,856        2.03       9,000       0.35      26,856       12,829         0.50             23,026

        2,214         1.59      2,200         1.00         14         2,350          1.07         -136 Holiday                                   7,163        0.40       7,700       0.30        -537        8,309         0.33               -1,146

            0         0.00            0       0.00          0             0          0.00            0 Bonus/Incentive Pay                       3,275        0.18       3,600       0.14        -325        3,148         0.12                   127



      25,583         18.42     37,364        16.95    -11,781       35,435          16.07       -9,853 Total P/R & R/Benefits- Rooms          300,625       16.98     425,017       16.56    -124,392     388,707         15.29            -88,082

                                                                                                        ROOMS DEPARTMENT
                                                                                                        OPERATING EXPENSE

            0         0.00        154         0.07       -154           162          0.07         -162 Newspapers                                  505        0.03       1,796       0.07      -1,291        1,703         0.07               -1,198

        1,818         1.31      8,379         3.80     -6,561         9,857          4.47       -8,040 Comp Breakfast                           35,438        2.00      97,512       3.80     -62,074       96,471         3.79             -61,033

            0         0.00            0       0.00          0            83          0.04          -83 Comp Breakfast- Equipment                     0        0.00       1,200       0.05      -1,200        1,279         0.05               -1,279

          224         0.16            0       0.00        224           121          0.06          103 Laundry Supplies                            736        0.04           0       0.00         736        1,032         0.04                  -296

          154         0.11      1,213         0.55     -1,059         1,012          0.46         -858 Linen Supplies                            5,741        0.32      14,114       0.55      -8,372       12,141         0.48               -6,400

        1,568         1.13      1,400         0.63        168         1,465          0.66          103 Cable TV                                 18,507        1.05      16,800       0.65       1,707       16,415         0.65                  2,092

          308         0.22        310         0.14         -2           308          0.14            0 HSIA Support                              3,599        0.20       3,720       0.14        -121        3,996         0.16                  -397

            0         0.00            0       0.00          0             0          0.00            0 Printing & Stationary                         0        0.00       3,750       0.15      -3,750            12        0.00                    -12

          681         0.49        550         0.25        131           869          0.39         -188 Reservations Expense                      8,918        0.50       6,600       0.26       2,318        8,511         0.33                   408

        1,454         1.05      2,580         1.17     -1,126         2,626          1.19       -1,172 Guest Room Supplies                      17,889        1.01      30,023       1.17     -12,135       29,479         1.16             -11,591

          188         0.14        309         0.14       -121           250          0.11          -62 Cleaning Supplies                         2,364        0.13       3,593       0.14      -1,229        2,800         0.11                  -436

          683         0.49        288         0.13        395           367          0.17          316 Ecolab Core Supplies                      5,850        0.33       4,166       0.16       1,684        4,138         0.16                  1,712

        2,050         1.48      3,241         1.47     -1,191         3,652          1.66       -1,602 Travel Agents Commission                 26,326        1.49      37,722       1.47     -11,396       37,950         1.49             -11,624

            0         0.00        200         0.09       -200           217          0.10         -217 Uniforms                                      0        0.00       2,400       0.09      -2,400        2,025         0.08               -2,025

          111         0.08            0       0.00        111             0          0.00          111 COVID 19 Supplies                         1,790        0.10           0       0.00       1,790              0       0.00                  1,790



       9,238          6.65     18,624         8.45     -9,386       20,990           9.52      -11,751 Total Operating - Rooms                127,663        7.21     223,395        8.71     -95,733     217,952          8.57            -90,289



      34,821         25.07     55,988        25.39    -21,167       56,425          25.59      -21,604 Total Expenses- Rooms                  428,287       24.19     648,412       25.27    -220,124     606,659         23.86          -178,371



      98,507         70.92    215,160        97.58   -116,653      220,935         100.20     -122,428 Net Income- Rooms                    1,610,048       90.94    2,590,815     100.96    -980,767    2,570,417       101.09          -960,370



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                                                               For Property: Hampton Inn Clermont (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                      Description         YTD        % / POR        YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                      Food & Beverage
                                                                                                      Summary


            0         0.00            0       0.00         0             0        0.00             0 Total Food Sales                              0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Beverage Sales                          0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Banquet A/V                             0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Banquet Misc                            0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Sales                             0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Food Cost                                     0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Costs                                0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Banquet A/V Costs                             0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Costs                             0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Food Wages                                    0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Wages                                0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total F & B Wages                             0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 F & B- P T & E B                              0         0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0        0.00             0 TTL P/R and Benefits                          0         0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0        0.00             0 Food Operating Expenses                       0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Operating Expenses                   0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Operating Expenses                0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Net F & B Income                              0         0.00        0       0.00             0              0       0.00                  0




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                                                              For Property: Hampton Inn Clermont (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                    Description           YTD        % / POR       YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                                Budget             Bud Var         Year                         Var
                                                                                                     Food Department




            0         0.00            0      0.00         0             0        0.00             0 Total Restaurant                              0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bar Food                                0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bistro                                  0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Garden Grill                            0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Other Food Revenue                      0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Room Service                            0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquets                                0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Catering                                0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Net Food Revenue                              0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquets Other                          0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Food Revenues                           0        0.00        0      0.00             0              0      0.00                  0

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                                                              For Property: Hampton Inn Clermont (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                   Description            YTD        % / POR       YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                                Budget             Bud Var         Year                         Var
                                                                                                     Cost of Goods Sold

            0         0.00            0      0.00         0             0        0.00             0 Total Cost of Good Sold                       0        0.00        0      0.00             0              0      0.00                  0


                                                                                                     Food Payroll

            0         0.00            0      0.00         0             0        0.00             0 Total Food Wages                              0        0.00        0      0.00             0              0      0.00                  0


                                                                                                     Operating Expenses



            0         0.00            0      0.00         0             0        0.00             0 Total Operating Expense- Food                 0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Food Costs                              0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 N.I.- Food Department                         0        0.00        0      0.00             0              0      0.00                  0

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                                                              Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                              For Property: Hampton Inn Clermont (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                  Description             YTD        % / POR       YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                                Budget             Bud Var         Year                         Var
                                                                                                     Beverage Department




            0         0.00            0      0.00         0             0        0.00             0 Total Restaurant Beverage                     0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Garden Grill Beverage                   0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Room Service Bev                        0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bar Beverage                            0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquet Beverage                        0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Catering Beverage                       0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Beverage Revenue                        0        0.00        0      0.00             0              0      0.00                  0

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                                                               For Property: Hampton Inn Clermont (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                   Description            YTD        % / POR        YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                      Cost of Goods Sold



            0         0.00            0       0.00         0             0        0.00             0 Total COGS- Beverage                          0         0.00        0       0.00             0              0       0.00                  0


                                                                                                      Beverage Payroll

            0         0.00            0      0.00          0             0        0.00             0 Total Beverage Payroll                        0        0.00         0      0.00              0              0      0.00                   0


                                                                                                      Operating Expenses- Beverage



            0         0.00            0      0.00          0             0        0.00             0 Total Operating- Beverage                     0        0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0        0.00             0 Total Beverage Costs                          0        0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0        0.00             0 Net Income- Beverage                          0        0.00         0      0.00              0              0      0.00                   0

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                                                              For Property: Hampton Inn Clermont (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                 Description              YTD        % / POR       YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                                Budget             Bud Var         Year                         Var
                                                                                                     FOOD STATS




            0         0.00            0      0.00         0             0        0.00             0 Total Food Covers                             0        0.00        0      0.00             0              0      0.00                   0

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                                                                 For Property: Hampton Inn Clermont (Capstone)
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR     Act vs    Last Year     % / POR       Act vs LY                   Description          YTD         % / POR       YTD     % / POR     Act vs        YTD Last       % / POR       Act vs LY
                                                       Bud Var                                     Var                                                                Budget                Bud Var         Year                           Var
                                                                                                         TELECOM
                                                                                                         TELEPHONE REVENUES

            24         0.00         30          0.00        -6            15          0.00            9 Long Distance                               217        0.00      360         0.00       -143               391       0.00                    -173

            50         0.00         35          0.00        15            35          0.00           15 Internet Access Fees                        604        0.00      420         0.00        184               431        0.00                   173



            73        0.00         65          0.00          8           50          0.00           24 Total Phone Revenues                         821       0.00       780        0.00             41         821          0.00                      0



                                                                                                         COS- Communication

          640          0.47        610          0.22        30           618          0.22           22 COS-Local                                 7,542        0.36     7,320        0.22        222           7,178          0.22                   364

             8       35.42          30       100.00        -22            25        167.38          -17 COS-Long Distance                           144       66.26      360      100.00        -216               266      68.18                    -122

        1,100      2,222.22      1,100      3,142.86         0         1,100    3,174.60              0 COS-HSIA ISP                             13,300    2,202.35    13,200    3,142.86        100          13,111      3,044.49                   189



       1,748          0.00       1,740         0.00          8         1,744         0.00             5 Total COS- Comm                         20,986        0.00    20,880        0.00         106         20,556          0.00                    430



      -1,675          0.00      -1,675         0.00          0        -1,694         0.00           19 Gross Margin- Comm                      -20,165        0.00    -20,100       0.00         -65         -19,734         0.00                 -430




                                                                                                         Operating Expenses

          100          0.00        100          0.00         0           100          0.00            0 Equipment Cost                            1,150        0.00     1,200        0.00        -50               600       0.00                    550

             0         0.00            0        0.00         0           324          0.00         -324 Equipment Maintenance                       268        0.00     1,040        0.00       -773           1,289         0.00                -1,022



         100          0.00        100          0.00          0          424          0.00         -324 Total Operating - Comm                    1,418        0.00     2,240        0.00        -823          1,889          0.00                 -472



       1,775          0.00       1,775         0.00          0         2,118         0.00         -343 N.I.- Comm Dept                          21,582        0.00    22,340        0.00        -758         21,624          0.00                    -42



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                                                                Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                                For Property: Hampton Inn Clermont (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                    Description         YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                Budget               Bud Var         Year                          Var
                                                                                                        MISCELLANEOUS DEPARTMENT
                                                                                                        MISCELLANEOUS REVENUES

             0        0.00         20         0.87        -20             0          0.00            0 Laundry/Valet                               176        0.65      240        0.89         -64              407       1.61                   -231

             0        0.00            0       0.00          0         1,770         76.19       -1,770 Gift Shop Sales                               0        0.00        0        0.00             0       18,708        74.02            -18,708

          112         7.20        260        11.34       -148           243         10.46         -131 Vending                                   1,910        7.08     3,120      11.59      -1,210          2,919        11.55               -1,009

          100         6.43            0       0.00       100              0          0.00         100 Pet Fees                                     600        2.22        0        0.00        600               600       2.37                     0

             0        0.00            0       0.00          0             0          0.00            0 Miscellaneous                             1,115        4.13        0        0.00       1,115              325       1.29                   789

             0        0.00        300        13.08       -300             0          0.00            0 Late Cancellation Income                  7,389       27.38     3,600      13.37       3,789          1,405         5.56               5,984

             0        0.00            0       0.00          0           250         10.76         -250 Smoking Fee                                 250        0.93        0        0.00        250               250       0.99                     0

            60        3.86         60         2.62          0            60          2.58            0 Tax Discounts Earned                        390        1.45      720        2.67        -330              660       2.61                   -270

        1,283        82.50      1,654        72.10       -371             0          0.00        1,283 Market Sales                             15,159       56.17    19,246      71.48      -4,087                0       0.00             15,159



       1,555       100.00       2,294       100.00      -739          2,323        100.00        -768 Total Miscellaneous Revenues             26,989      100.00    26,926      100.00            63      25,274        100.00               1,715



                                                                                                        COSales- Miscellaneous

             0        0.00         18        90.00        -18             0          0.00            0 COS-Laundry/Valet                             0        0.00      216       90.00        -216              297      72.92                   -297

             0        0.00            0       0.00          0           880         49.71         -880 COS-Gift Shop                                 0        0.00        0        0.00             0        7,812        41.76               -7,812

             0        0.00            0       0.00          0           -38         -1.62           38 COS-Golf Fees                                 0        0.00        0        0.00             0              0       0.00                     0

          419        32.63        827        50.00       -408             0          0.00         419 COS- Market                                3,995       26.35     9,623      50.00      -5,628                0       0.00               3,995



         419         26.92       845         36.83      -426           842          36.25        -424 Total COS- Miscellaneous                  3,995       14.80     9,839       36.54      -5,844         8,109         32.08             -4,114



          700        93.33      2,200       100.00     -1,500         1,250        100.00         -550 Banquet Room Rental                      16,950       99.71    26,400     100.00      -9,450         26,648        98.68               -9,697

             0        0.00            0       0.00          0             0          0.00            0 Banquet Room F & B                            0        0.00        0        0.00             0            109       0.40                -109

            50        6.67            0       0.00        50              0          0.00           50 Banquet Room AV Rental                       50        0.29        0        0.00            50            248       0.92                   -198

         750       100.00       2,200       100.00     -1,450         1,250        100.00        -500 Total Meeting Room Revenues              17,000      100.00    26,400      100.00      -9,400        27,005        100.00            -10,004


                                                                                                        Cost of Sales- Meeting Room

             0        0.00            0       0.00          0             0          0.00            0 COS-Banquet Room F & B                        0        0.00        0        0.00             0             10       0.04                    -10



       1,886       121.32       3,649       159.08     -1,763         2,731        117.56        -845 Total Miscellaneous Profit               39,994      148.19    43,487      161.51      -3,493        44,160        174.72             -4,166

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                                                                For Property: Hampton Inn Clermont (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR     Act vs LY                      Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                       ADMIN & GENERAL DEPARTMENT
                                                                                                       ADMIN & GENERAL

                                                                                                       P/R & Related Benefits- A&G

        5,795         4.27      5,878         2.13        -83         4,743        1.69         1,052 General Manager                           61,839        2.97    67,518       2.05      -5,679         60,222         1.86               1,617

          473         0.35        476         0.17         -3           370        0.13           103 Payroll Taxes                              5,232        0.25     5,489       0.17        -258          5,201         0.16                    31

        1,022         0.75        862         0.31       160            659        0.23           363 Employee Benefits                         10,065        0.48    10,344       0.31        -279         10,743         0.33                   -678

         -429        -0.32            0       0.00       -429           258        0.09          -687 Vacation /PTO                             13,369        0.64         0       0.00      13,369          5,166         0.16               8,203

          537         0.40            0       0.00       537            537        0.19             0 Holiday                                    2,095        0.10         0       0.00       2,095          1,829         0.06                   266

             0        0.00        640         0.23       -640           250        0.09          -250 Bonus/Incentive Pay                        4,610        0.22     7,680       0.23      -3,070          5,035         0.16                   -425

             0        0.00            0       0.00          0             0        0.00             0 Contract Labor                                 0        0.00         0       0.00             0            214       0.01                   -214



       7,398          5.45      7,856        2.85       -458          6,817        2.43          581 Total P/R & R/B- A&G                      97,210         4.67    91,031      2.76       6,178         88,411         2.74                8,799


                                                                                                       Operating Expenses- A&G

          322         0.24      2,225         0.81     -1,903         2,553        0.91        -2,232 Employee Relations                           925        0.04     6,975       0.21      -6,050          7,264         0.22               -6,340

        4,000         2.95      2,000         0.73      2,000         2,000        0.71         2,000 Accounting Fees                           26,000        1.25    24,000       0.73       2,000         23,460         0.73               2,540

        1,371         1.01      1,310         0.48        61          1,392        0.50           -21 Data Processing                           18,088        0.87    18,113       0.55         -25         18,778         0.58                   -690

            96        0.07        198         0.07       -102           125        0.04           -29 Office Supplies                              620        0.03     2,309       0.07      -1,689          2,343         0.07               -1,723

            55        0.04         55         0.02          0            55        0.02             0 Muzak                                        633        0.03       655       0.02         -22              673       0.02                    -40

             0        0.00        150         0.05       -150            28        0.01           -28 Travel & Lodging                             342        0.02     4,800       0.15      -4,458          3,978         0.12               -3,636

             0        0.00            0       0.00          0             0        0.00             0 Meals and Entertainment                        0        0.00         0       0.00             0            242       0.01                   -242

             0        0.00         75         0.03        -75            75        0.03           -75 Telephone                                    212        0.01       900       0.03        -688              900       0.03                   -688

             0        0.00            0       0.00          0             0        0.00             0 Licenses and Permits                       2,758        0.13     2,288       0.07        470           2,205         0.07                   553

            86        0.06        100         0.04        -14           119        0.04           -33 Postage                                      506        0.02     1,200       0.04        -694          1,230         0.04                   -725

             0        0.00            0       0.00          0             0        0.00             0 Recruitment                                1,372        0.07       750       0.02        622               955       0.03                   417

             0        0.00         80         0.03        -80           110        0.04          -110 Employment Screening/ Drug Testing           840        0.04       960       0.03        -120          1,400         0.04                   -560

             0        0.00            0       0.00          0           221        0.08          -221 Training                                     470        0.02     1,750       0.05      -1,280              449       0.01                    21

             0        0.00            0       0.00          0             0        0.00             0 Loss & Damage                                 37        0.00         0       0.00            37             51       0.00                    -14

          150         0.11        165         0.06        -15           150        0.05             0 Dues/Subscriptions                         1,772        0.09     2,090       0.06        -318          3,582         0.11               -1,810

        3,329         2.45      7,582         2.75     -4,253         6,772        2.41        -3,443 Credit Card Commissions                   51,068        2.45    90,567       2.75     -39,498         87,359         2.71            -36,290

         -300        -0.22            0       0.00       -300             0        0.00          -300 Cash Over/Short                              -347      -0.02         0       0.00        -347           -486        -0.02                   139

            94        0.07        130         0.05        -36           135        0.05           -41 Equipment Rental                           1,528        0.07     1,560       0.05         -32          1,577         0.05                    -49

          320         0.24        353         0.13        -33           507        0.18          -187 Payroll Services                           4,546        0.22     6,690       0.20      -2,144          6,695         0.21               -2,149

          861         0.63      1,300         0.47       -439         1,136        0.40          -275 Bank Charges                              12,819        0.62    15,600       0.47      -2,781         14,359         0.44               -1,540

             0        0.00            0       0.00          0             0        0.00             0 Chargebacks                                  273        0.01         0       0.00        273            -142         0.00                   414

        1,659         1.22      1,247         0.45       412          1,740        0.62           -81 Workers Comp Insurance                    11,936        0.57    16,158       0.49      -4,222         15,976         0.49               -4,040



      12,042          8.88     16,970        6.16      -4,928       17,117         6.09        -5,076 Total Operating- A&G                    136,398         6.55   197,364      5.99      -60,967       192,850         5.97             -56,452



      19,440         14.33     24,826        9.01      -5,386       23,934         8.52        -4,494 Total Expenses- A&G                     233,607        11.22   288,396      8.76      -54,789       281,261         8.71             -47,653

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                                                                Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                                For Property: Hampton Inn Clermont (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR     Act vs LY                      Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                       SALES DEPARTMENT
                                                                                                       SALES

                                                                                                       P/R & R/B

        4,133         3.05      3,439         1.25       694          1,869        0.67         2,263 Director of Sales                         19,368        0.93    40,111       1.22     -20,743         33,423         1.03            -14,056

            0         0.00            0       0.00         0              0        0.00             0 Sales Manager                                  0        0.00        0        0.00             0             90       0.00                    -90

          358         0.26        889         0.32       -531           798        0.28          -440 Revenue Management                         5,460        0.26    10,662       0.32      -5,202          9,947         0.31               -4,487

            0         0.00        172         0.06       -172             0        0.00             0 E Commerce Management                        516        0.02     2,066       0.06      -1,549                0       0.00                   516

          340         0.25        283         0.10        56            214        0.08           126 Payroll Taxes                              1,955        0.09     3,330       0.10      -1,375          3,029         0.09               -1,075

        1,145         0.84        872         0.32       273            660        0.23           486 Employee Benefits                          4,724        0.23    10,464       0.32      -5,740          9,795         0.30               -5,071

          124         0.09            0       0.00       124            806        0.29          -683 Vacation / PTO                             3,482        0.17        0        0.00       3,482          3,552         0.11                    -70

          403         0.30            0       0.00       403            403        0.14             0 Holiday                                      806        0.04        0        0.00        806           1,392         0.04                   -586

            0         0.00        300         0.11       -300             0        0.00             0 Bonus/Incentive Pay                        1,178        0.06     3,600       0.11      -2,422          2,443         0.08               -1,264



       6,503          4.79      5,955        2.16        548          4,750        1.69         1,753 Total P/R & R/B- Sales                   37,489        1.80    70,232       2.13      -32,743        63,672         1.97             -26,182


                                                                                                       Operating Expenses- Sales

            0         0.00         40         0.01        -40            39        0.01           -39 Printing & Stationary                        116        0.01      480        0.01        -364              437       0.01                   -321

            0         0.00         25         0.01        -25            39        0.01           -39 Office Supplies                               44        0.00      300        0.01        -256              346       0.01                   -303

            0         0.00         50         0.02        -50            42        0.02           -42 Travel & Lodging                              84        0.00     1,600       0.05      -1,516          1,723         0.05               -1,639

            0         0.00         50         0.02        -50             0        0.00             0 Meals & Entertainment                         41        0.00      600        0.02        -559              391       0.01                   -351

            0         0.00        700         0.25       -700           639        0.23          -639 Promotions                                   636        0.03     4,300       0.13      -3,664          4,352         0.13               -3,716

            0         0.00         50         0.02        -50            50        0.02           -50 Telephone                                    100        0.00      600        0.02        -500              600       0.02                   -500

            0         0.00            0       0.00          0            22        0.01           -22 Postage                                        0        0.00        0        0.00             0             33       0.00                    -33

            0         0.00            0       0.00          0             0        0.00             0 Sales Training                                37        0.00      250        0.01        -213              485       0.02                   -448

          132         0.10            0       0.00       132              0        0.00           132 Dues & Subscriptions                       4,387        0.21     3,104       0.09       1,283          2,906         0.09               1,482

            0         0.00            0       0.00          0             0        0.00             0 Trade Show                                     0        0.00        0        0.00             0             21       0.00                    -21

            0         0.00        200         0.07       -200           200        0.07          -200 e Commerce Costs                               0        0.00     2,400       0.07      -2,400          2,585         0.08               -2,585

          534         0.39      1,147         0.42       -613         1,213        0.43          -680 Brand Paid Search                          8,158        0.39    13,344       0.41      -5,186         10,979         0.34               -2,821

            0         0.00            0       0.00          0             0        0.00             0 Program Costs                                -800      -0.04      725        0.02      -1,525                0       0.00                   -800



         666          0.49      2,262        0.82      -1,596         2,244        0.80        -1,578 Total Operating- Sales                   12,802        0.61    27,703       0.84      -14,900        24,857         0.77             -12,055



       7,168          5.29      8,216        2.98      -1,048         6,994        2.49          175 Total Expenses-Sales                      50,292        2.42    97,935       2.97      -47,643        88,529         2.74             -38,237

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                                                                Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                                For Property: Hampton Inn Clermont (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR     Act vs LY                       Description             YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                       MAINTENANCE DEPARTMENT
                                                                                                       REPAIRS & MAINTENANCE
                                                                                                       P/R & Related Expenses- Maintenance

        2,964         2.13      3,612         1.64       -648         2,897        1.31            68 Chief Engineer                               38,962         2.20    42,632       1.66      -3,670         40,300         1.59               -1,338

            0         0.00      1,558         0.71     -1,558         1,295        0.59        -1,295 General Maintenance                           3,443         0.19    18,133       0.71     -14,690         14,499         0.57            -11,056

          292         0.21        372         0.17        -80           382        0.17           -90 Payroll Taxes                                 3,351         0.19     4,375       0.17      -1,024          4,130         0.16                   -779

        1,158         0.83        939         0.43       219            688        0.31           469 Employee Benefits                            11,190         0.63    11,268       0.44         -78         10,513         0.41                   676

          340         0.24            0       0.00       340            523        0.24          -183 Holiday                                       1,459         0.08         0       0.00       1,459          1,726         0.07                   -268

          511         0.37            0       0.00       511            164        0.07           347 Vacation /PTO                                 9,796         0.55         0       0.00       9,796          1,145         0.05               8,651



       5,265          3.79      6,481        2.94      -1,216         5,949        2.70          -684 Total P/R & Related Expenses- Maintenance    68,201        3.85     76,408      2.98       -8,207        72,314         2.84              -4,113


                                                                                                       Operating Expenses- R & M

            0         0.00        110         0.05       -110             0        0.00             0 Laundry Equipment                                 242       0.01     1,283       0.05      -1,041              362       0.01                   -119

          164         0.12        221         0.10        -57         3,156        1.43        -2,992 Building Maintenance                          9,629         0.54     2,566       0.10       7,063          5,086         0.20               4,542

          106         0.08        110         0.05         -5            58        0.03            48 Light Bulbs                                   1,136         0.06     1,283       0.05        -147          2,248         0.09               -1,112

            0         0.00        110         0.05       -110            26        0.01           -26 Electrical & Mechanical                           325       0.02     1,283       0.05        -958          1,107         0.04                   -782

          382         0.28        684         0.31       -302           136        0.06           246 HVAC                                          5,499         0.31     7,955       0.31      -2,456          5,766         0.23                   -267

            0         0.00        110         0.05       -110            96        0.04           -96 Plumbing & Boiler                                 712       0.04     1,283       0.05        -571          2,034         0.08               -1,322

            0         0.00        198         0.09       -198            99        0.04           -99 Pool                                          1,374         0.08     2,309       0.09        -936          1,939         0.08                   -565

            0         0.00        790         0.36       -790         1,150        0.52        -1,150 Grounds & Landscaping                         4,004         0.23    11,590       0.45      -7,586         12,042         0.47               -8,038

            0         0.00         66         0.03        -66             0        0.00             0 Signage                                             0       0.00       770       0.03        -770              489       0.02                   -489

            0         0.00        176         0.08       -176             0        0.00             0 Furniture & Fixtures                              392       0.02     2,053       0.08      -1,661              710       0.03                   -318

            0         0.00         66         0.03        -66           141        0.06          -141 Painting                                           70       0.00       770       0.03        -700              425       0.02                   -355

            0         0.00            0       0.00          0             0        0.00             0 Carpet & Floor                                    269       0.02     3,440       0.13      -3,171          3,409         0.13               -3,139

            0         0.00            0       0.00          0             0        0.00             0 Training                                          300       0.02         0       0.00        300                28       0.00                   272

            0         0.00         35         0.02        -35            30        0.01           -30 Telephone                                          60       0.00       420       0.02        -360              360       0.01                   -300

            0         0.00         66         0.03        -66             0        0.00             0 Kitchen Equipment                                  38       0.00       770       0.03        -732              427       0.02                   -389

            0         0.00         22         0.01        -22             0        0.00             0 Locks & Keys                                        0       0.00       257       0.01        -257                9       0.00                     -9

            0         0.00            0       0.00          0             0        0.00             0 Radio & TV                                          0       0.00       500       0.02        -500                0       0.00                     0

          178         0.13        178         0.08          0           178        0.08             0 Exterminating                                 3,095         0.17     2,136       0.08        959           2,559         0.10                   535

            0         0.00            0       0.00          0             0        0.00             0 Maintenance Contracts                               0       0.00     1,200       0.05      -1,200              890       0.04                   -890

          693         0.50        240         0.11       453            200        0.09           493 Fire & Safety                                 3,000         0.17     4,330       0.17      -1,330          5,085         0.20               -2,086

            0         0.00            0       0.00          0             0        0.00             0 Elevator                                      4,423         0.25     4,432       0.17            -9        4,326         0.17                    97



       1,522          1.10      3,183        1.44      -1,662         5,269        2.39        -3,747 Total Operating - R & M                      34,568        1.95     50,630      1.97      -16,062        49,302         1.94             -14,734



       6,787          4.89      9,665        4.38      -2,878       11,218         5.09        -4,431 Total Expenses- R & M                       102,768        5.80    127,038      4.95      -24,269       121,616         4.78             -18,848

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                                                              Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                              For Property: Hampton Inn Clermont (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year     % / POR     Act vs LY                    Description           YTD         % / POR       YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                     Var                                                                 Budget               Bud Var       Year                        Var
                                                                                                     UTILITIES DEPARTMENT
                                                                                                     UTILITIES EXPENSE

        4,392         3.16      5,065       2.30       -673         7,431        3.37        -3,039 Electricity                               69,226        3.91    83,056       3.24     -13,830       86,886       3.42            -17,660

        1,088         0.78      1,534       0.70       -446         1,969        0.89          -881 Gas                                       11,396        0.64    16,638       0.65      -5,242       16,404       0.65               -5,008

          864         0.62      1,061       0.48       -197         1,863        0.84          -999 Water & Sewer                             10,803        0.61    14,168       0.55      -3,365       14,571       0.57               -3,768

            0         0.00        324       0.15       -324           324        0.15          -324 Waste Removal                              2,492        0.14     3,886       0.15      -1,395        3,865       0.15               -1,373



       6,345          4.57      7,984      3.62      -1,639       11,587         5.25        -5,243 Total Expenses- Utilities                93,917        5.30    117,748      4.59      -23,831     121,727       4.79             -27,809

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                                                                Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
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   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description        YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                       FRANCHISE DEPARTMENT
                                                                                                       FRANCHISE FEES

        8,343         6.26      16,287        6.01     -7,944        16,642         6.00       -8,299 Franchise Fees/ Royalties                123,103        6.04   194,570       6.01     -71,466        190,676         6.00            -67,573

        5,562         4.17      10,858        4.00     -5,296        11,095         4.00       -5,533 Advertising                               82,068        4.03   129,713       4.00     -47,645        127,197         4.00            -45,129

       -1,078        -0.81       7,718        2.85     -8,795        10,055         3.63      -11,133 Frequent Traveler                         58,220        2.86    89,814       2.77     -31,593        104,432         3.29            -46,212

            0         0.00            0       0.00          0             0         0.00            0 Brand Guest Fees                              0         0.00         0       0.00             0            100       0.00                   -100

            0         0.00            0       0.00          0             0         0.00            0 Other Franchise Cost                          0         0.00       261       0.01        -261              261       0.01                   -261



      12,827          9.62     34,862       12.86     -22,036       37,792         13.63      -24,965 Total Franchise Fees Expense            263,392       12.92    414,357      12.79    -150,965       422,667         13.30          -159,275

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                                                                Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
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   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR     Act vs LY                  Description             YTD         % / POR       YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget               Bud Var       Year                          Var
                                                                                                       MANAGEMENT FEES
        3,391         2.50      6,893         2.50     -3,502         7,025        2.50        -3,634 Management Fees                           52,058        2.50    82,333       2.50     -30,275       80,745         2.50            -28,687

       11,008         8.12            0       0.00     11,008             0        0.00        11,008 Management Fees- Owner                    26,222        1.26        0        0.00      26,222              0       0.00             26,222



      14,399         10.62      6,893        2.50      7,507          7,025        2.50         7,374 Total Management Fees Expense            78,280        3.76    82,333       2.50       -4,054      80,745         2.50              -2,465



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                                                              Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                              For Property: Hampton Inn Clermont (Capstone)
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   Actual       % / POR      Budget      % / POR    Act vs    Last Year     % / POR       Act vs LY                    Description         YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                    Bud Var                                     Var                                                                Budget               Bud Var         Year                          Var
                                                                                                      FIXED EXPENSES
       26,198        19.32      26,198       9.50         0        24,815          8.83        1,384 Ground Lease                            309,469       14.86   308,067       9.36       1,402        299,822         9.28               9,647

       10,864         8.01      11,028       4.00      -164      -149,269        -53.13      160,133 FF & E Reserve                          130,372        6.26   131,733       4.00      -1,361                0       0.00            130,372

        6,842         5.04       6,843       2.48         0         4,112          1.46        2,730 Real Estate Tax                          82,110        3.94    82,110       2.49             0       77,760         2.41               4,350

          579         0.43        579        0.21         0             0          0.00          579 Personal Property Tax                     7,174        0.34     6,946       0.21        228           5,577         0.17               1,597

        4,551         3.36       3,759       1.36       792         3,590          1.28          961 Insurance                                46,872        2.25    45,023       1.37       1,849         43,140         1.34               3,732



      49,035         36.15     48,407       17.56       629     -116,752         -41.56     165,788 TOTAL FIXED EXPENSES                    575,998       27.66    573,880      17.43      2,118        426,300         13.20           149,698

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 152 of 541
                                                                Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                                For Property: Hampton Inn Clermont (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                      Description       YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                Budget               Bud Var         Year                          Var
                                                                                                        TOTAL OTHER
            0         0.00            0       0.00         0            350          0.12         -350 Owners Expense                           21,838        1.05         0       0.00      21,838         13,887         0.43               7,951

       54,183        39.95            0       0.00     54,183      -131,886        -46.95      186,069 Depreciation                            650,196       31.22         0       0.00     650,196        518,310        16.05            131,886

        3,711         2.74            0       0.00      3,711            -6          0.00        3,717 Amortization Expense                     44,532        2.14         0       0.00      44,532         44,526         1.38                   6

       39,532        29.15      39,532       14.34         0         39,533         14.07            -1 Interest Expense                       473,800       22.75   474,379      14.41        -579        477,507        14.79               -3,706

       14,367        10.59       2,757        1.00     11,610         2,809          1.00       11,558 Asset Management Fee                     20,823        1.00    32,933       1.00     -12,110         32,292         1.00            -11,469

            0         0.00            0       0.00         0        -12,819         -4.56       12,819 Extraordinary Expenses                   10,683        0.51         0       0.00      10,683                0       0.00             10,683

            0         0.00            0       0.00         0        -10,042         -3.57       10,042 GB 1 YE AJE                                  0         0.00         0       0.00             0      -16,789        -0.52             16,789

            0         0.00            0       0.00         0         17,013          6.06      -17,013 GB- 2 R&M/Capex AJE                          0         0.00         0       0.00             0       17,013         0.53            -17,013

        1,703                         0                 1,703             0                      1,703 Ground Lease Tax                         16,619                     0                 16,619                0                        16,619



     113,496         83.68     42,289        15.34    71,207        -95,047        -33.83     208,543 Total Other                           1,238,491       59.48    507,313      15.41    731,179       1,086,746        33.65           151,745

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                                                               Company: 2200 East Highway 50-Clermont dba HI Clermont Property: Hampton Inn Clermont (Capstone)
                                                               For Property: Hampton Inn Clermont (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                   Description            YTD        % / POR        YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                      House Laundry Dept




            0         0.00            0      0.00          0             0        0.00             0 Total P/R & Benefits- Ldy                     0        0.00         0      0.00              0              0      0.00                    0


                                                                                                      Operating Expenses




            0         0.00            0      0.00          0             0        0.00             0 Total Operating Expenses- Ldy                 0        0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0        0.00             0 Total Laundry Expenses                        0         0.00        0       0.00             0              0       0.00                   0



                                                                                                      Allocation




            0         0.00            0      0.00          0             0        0.00             0 Total Allocation                              0        0.00         0      0.00              0              0      0.00                    0



            0                         0                    0             0                         0 Total Lndry Dept                              0                     0                        0              0                              0



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                                                     Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 154 of 541
                                                            Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                            For Property: Hampton Inn Estero (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                  Description             YTD          % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                      Var                                                                   Budget                Bud Var         Year                       Var
                                                                                                    SUMMARY

    2,914                    2,914                      0         2,914                          0 Total Rooms Available                      34,404                  34,404                        0       34,310                            94

    1,212                    2,080                   -868         2,080                       -868 Total Rooms Sold                           14,143                  25,373                 -11,230        25,623                     -11,480

 41.59%                   71.38%                 -29.79%        71.38%                    -29.79% Occupancy %                               41.11%                  73.75%                  -32.64%        74.68%                     -33.57%

   96.58                   113.63                  -17.05       113.64                      -17.05 Average Rate                              130.82                  126.29                    4.53         125.08                          5.73

   40.17                    81.11                  -40.94         81.11                     -40.94 REVPAR                                     53.78                   93.14                   -39.36         93.41                      -39.64




                                                                                                    REVENUES

  117,058        97.99     236,360       98.15   -119,302       236,362         98.62     -119,304 ROOMS                                   1,850,117       98.59   3,204,246      98.19   -1,354,129      3,205,025       98.04      -1,354,908

         0        0.00            0       0.00          0             0          0.00            0 FOOD                                           0         0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE                                       0         0.00           0       0.00             0              0       0.00                0

    2,398         2.01       4,457        1.85     -2,059         3,315          1.38         -917 MISCELLANEOUS                              26,448        1.41      58,937       1.81      -32,489        64,204         1.96        -37,757



 119,456       100.00     240,817       100.00   -121,361      239,676         100.00     -120,221 TOTAL REVENUES                         1,876,564       100.00   3,263,183     100.00   -1,386,618     3,269,229       100.00     -1,392,665




                                                                                                    DEPARTMENT EXPENSES

   28,345        24.21      63,747       26.97    -35,402        66,221         28.02      -37,876 ROOMS EXPENSE                             378,038       20.43     762,384      23.79     -384,346       761,517        23.76       -383,479

         0        0.00            0       0.00          0             0          0.00            0 FOOD EXPENSE                                   0         0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE EXPENSE                               0         0.00           0       0.00             0              0       0.00                0

     271         11.32       1,032       23.15       -760         1,058         31.92         -787 MISCELLANEOUS EXPENSE                       4,978       18.82      12,572      21.33       -7,593        12,275        19.12            -7,297



  28,617        23.96      64,779        26.90    -36,162       67,280          28.07      -38,663 TOTAL DEPARTMENTAL EXPENSES              383,016        20.41    774,955       23.75    -391,939       773,792         23.67       -390,775



                                                                                                    DEPARTMENTAL PROFIT

   88,713        75.79     172,613       73.03    -83,900       170,140         71.98      -81,428 ROOMS PROFIT                            1,472,078       79.57   2,441,862      76.21     -969,784      2,443,508       76.24       -971,429

         0        0.00            0       0.00          0             0          0.00            0 FOOD PROFIT                                    0         0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE PROFIT                                0         0.00           0       0.00             0              0       0.00                0

    2,127        88.68       3,425       76.85     -1,299         2,257         68.08         -130 MISCELLANEOUS PROFIT                       21,469       81.18      46,365      78.67      -24,896        51,929        80.88        -30,460



  90,839        76.04     176,038        73.10    -85,199      172,397          71.93      -81,558 TOTAL DEPARTMENTAL PROFIT              1,493,548        79.59   2,488,227      76.25    -994,679      2,495,437        76.33     -1,001,889



   22,645        18.96      27,222       11.30     -4,577        26,078         10.88       -3,433 A & G EXPENSE                             267,680       14.26     329,379      10.09      -61,699       299,900         9.17        -32,221

    1,809         1.51       1,848        0.77        -39         1,794          0.75           15 TELECOM                                    21,916        1.17      22,176       0.68         -260        22,500         0.69             -584

     908          0.76       8,862        3.68     -7,954         6,722          2.80       -5,814 SALES & MARKETING EXPENSES                 33,560        1.79     104,865       3.21      -71,305        94,590         2.89        -61,030

   13,395        11.21      32,614       13.54    -19,219        30,099         12.56      -16,704 FRANCHISE FEES                            240,474       12.81     423,585      12.98     -183,112       430,635        13.17       -190,162

    8,746         7.32      12,439        5.17     -3,693        11,342          4.73       -2,596 MAINTENANCE EXPENSES                      120,485        6.42     152,034       4.66      -31,548       152,664         4.67        -32,179

    6,308         5.28       9,114        3.78     -2,807         8,967          3.74       -2,659 UTILITIES EXPENSE                          87,336        4.65     116,854       3.58      -29,518       116,744         3.57        -29,407



  53,810        45.05      92,099        38.24    -38,289       85,001          35.47      -31,191 TOTAL ADMIN EXPENSES                     771,451        41.11   1,148,893      35.21    -377,443      1,117,033        34.17       -345,583



  37,029        31.00      83,939        34.86    -46,910       87,396          36.46      -50,366 HOUSE PROFIT                             722,097        38.48   1,339,334      41.04    -617,237      1,378,404        42.16       -656,307



                                                                                                    FIXED EXPENSES

   13,994        11.71       6,022        2.50      7,971         5,992          2.50        8,002 MANAGEMENT FEES                            73,134        3.90      81,599       2.50       -8,466        81,732         2.50            -8,598

   45,166        37.81      45,834       19.03       -668       -64,597        -26.95      109,764 FIXED EXPENSES                            529,682       28.23     559,183      17.14      -29,501       418,035        12.79        111,648
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     -22,131        -18.53   32,083   13.32   -54,214   146,001   60.92   -168,131 NET OPERATING INCOME                    119,281     6.36    698,552   21.41    -579,271    878,637   26.88          -759,356



       64,712        54.17   21,758    9.04    42,954    43,120   17.99     21,592 Other                                    703,368    37.48   264,832    8.12      438,536   671,473   20.54             31,895



     -86,843        -72.70   10,325    4.29   -97,168   102,881   42.92   -189,724 N.I. after Other                        -584,087   -31.13   433,720   13.29   -1,017,807   207,164    6.34          -791,251



     -52,382                 10,325           -62,707   113,249           -165,631 Cash before Depreciation/Amortization   -170,555            433,720            -604,275    596,603                  -767,158

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                                                                   Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                                   For Property: Hampton Inn Estero (Capstone)
                                                                   00- Master P&L-CAPSTONE
                                                                   As of 12/31/2020

   Actual        % / POR        Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description          YTD          % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                        Bud Var                                      Var                                                                   Budget                Bud Var         Year                          Var
                                                                                                           ROOMS DEPARTMENT
                                                                                                           ROOMS REVENUE

       34,740        29.68         87,048       36.83    -52,308        88,673         37.52      -53,932 Rack/ Premium                             620,101       33.52     946,972      29.55     -326,872       987,444        30.81           -367,343

        6,495         5.55          8,142        3.44     -1,647         8,145          3.45       -1,649 Corporate                                  84,696        4.58     199,344       6.22     -114,648       185,406         5.78           -100,710

       47,131        40.26         89,107       37.70    -41,976        87,816         37.15      -40,685 Discounts - Other                         675,546       36.51   1,216,823      37.98     -541,278      1,148,794       35.84           -473,248

             0        0.00               0       0.00          0           812          0.34         -812 Government                                  3,712        0.20      40,652       1.27      -36,940        14,481         0.45             -10,769

       10,642         9.09         28,662       12.13    -18,020        27,982         11.84      -17,340 Locally Negotiated Rate                   293,176       15.85     396,394      12.37     -103,218       431,205        13.45           -138,029

         -467        -0.40               0       0.00       -467        -1,293         -0.55          826 Allowances                                 -5,389       -0.29           0       0.00       -5,389        -11,791       -0.37                  6,401



      98,542         84.18       212,960        90.10   -114,418      212,134          89.75     -113,593 Total Transient Revenue                1,671,841        90.36   2,800,186      87.39   -1,128,345     2,755,539        85.98        -1,083,698




             0        0.00               0       0.00          0             0          0.00            0 Total Base Revenues                             0        0.00           0       0.00             0              0       0.00                     0



       17,809        15.21         23,400        9.90     -5,592        22,393          9.47       -4,585 Group- Corporate                          169,176        9.14     404,060      12.61     -234,885       421,268        13.14           -252,093



      17,809         15.21        23,400         9.90     -5,592       22,393           9.47       -4,585 Total Group Revenue                      169,176         9.14    404,060       12.61    -234,885       421,268         13.14          -252,093



          708         0.60               0       0.00        708         1,835          0.78       -1,127 Guaranteed No-Show                          9,100        0.49           0       0.00        9,100        28,218         0.88             -19,118



     117,058       100.00        236,360       100.00   -119,302      236,362         100.00     -119,304 Total Rooms Revenue                    1,850,117       100.00   3,204,246     100.00   -1,354,129     3,205,025       100.00        -1,354,908



                                                                                                           ROOM STATISTICS

          305              25        645           31       -340           657            32         -352 Rack/ Premium Rooms                         3,371          24       6,056         24       -2,685         6,465           25               -3,094

            94              8        104            5        -10           105             5          -11 Corporate Rooms                               847           6       1,779          7         -932         1,702            7                  -855

          514              42        874           42       -360           866            42         -352 Discounts - Other Rooms                     5,845          41      10,255         40       -4,410         9,677           38               -3,832

             0              0            0          0          0             7             0           -7 Government Rooms                               32           0         283          1         -251             107          0                    -75

          130              11        270           13       -140           266            13         -136 Locally Negotiated Corporate Rooms          2,802          20       3,518         14         -716         3,920           15               -1,118



       1,043              86       1,893          91       -850          1,901           91          -858 Total Transient Stats                     12,897          91      21,890         86        -8,993        21,871          85              -8,974




            0              0             0         0          0              0            0             0 Total Crew Stats                               0           0           0          0              0              0         0                      0



          169              14        187            9        -18           179             9          -10 Group- Corporate Rooms                      1,246           9       3,483         14       -2,237         3,752           15               -2,506



         169              14         187           9         -18          179             9           -10 Total Group Stats                          1,246           9       3,483         14        -2,237         3,752          15              -2,506



       1,212          100          2,080         100       -868          2,080          100          -868 TOTAL ROOM STATISTICS                     14,143         100      25,373        100      -11,230         25,623         100             -11,480



                                                                                                           Other Room Stats

            -6              0            0          0         -6            -3             0           -3 Comp Rooms                                    -73          -1           0          0          -73          -117            0                    44

          720              59            0          0        720         1,129            54         -409 Single Occupancy                            9,158          65           0          0        9,158        15,706           61               -6,548

          492              41            0          0        492           954            46         -462 Multiple Occupancy                          4,996          35           0          0        4,996         9,911           39               -4,915

          193              16            0          0        193            10             0          183 Out of Order Rooms                          2,333          16           0          0        2,333             254          1                  2,079

        1,914             158            0          0      1,914         3,235           156       -1,321 # of Guests                                20,555         145           0          0       20,555        38,004          148             -17,449



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                                                            Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                            For Property: Hampton Inn Estero (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year     % / POR      Act vs LY                      Description          YTD          % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                      Var                                                                 Budget              Bud Var         Year                         Var
                                                                                                    ADR



       113.90                135.00                -21.10        134.97                     -21.06 Rack/Premium ADR                           183.95               156.38                 27.57         152.74                              31.21

        69.10                 78.29                 -9.19         77.57                      -8.47 Corporate ADR                               99.99               112.08                -12.09         108.93                              -8.94

            0                      0                    0             0                          0 Contract - Airline ADR                          0                   0                        0              0                               0

        91.69                102.00                -10.31        101.40                      -9.71 Discount ADR                               115.58               118.66                 -3.08         118.71                              -3.14

         0.00                  0.00                  0.00          0.00                       0.00 Distressed Passengers ADR                     0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                          0 AARP ADR                                        0                   0                        0              0                               0

         0.00                  0.00                  0.00        116.00                    -116.00 Government ADR                             116.00               143.50                -27.50         135.34                           -19.34

         0.00                  0.00                  0.00          0.00                       0.00 AAA ADR                                       0.00                0.00                  0.00           0.00                               0.00

        81.86                106.00                -24.14        105.19                     -23.33 Local Negotiated ADR                       104.63               112.69                 -8.06         110.00                              -5.37

         0.00                  0.00                  0.00          0.00                       0.00 Packages ADR                                  0.00                0.00                  0.00           0.00                               0.00

         0.00                  0.00                  0.00          0.00                       0.00 Wholesale/FIT ADR                             0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                          0 Internet ADR                                    0                   0                        0              0                               0

            0                      0                    0             0                          0 Tax Exampt - Transient ADR                      0                   0                        0              0                               0



       94.48                112.51                 -18.03       111.59                     -17.11 Total Transient ADR                        129.63               127.92                  1.71         125.99                               3.64




         0.00                  0.00                  0.00          0.00                       0.00 Crew ADR                                      0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                          0 Contract ADR                                    0                   0                        0              0                               0




         0.00                  0.00                  0.00          0.00                       0.00 Group - SMERF ADR                             0.00                0.00                  0.00           0.00                               0.00

       105.38                125.00                -19.62        125.10                     -19.72 Group - Corporate ADR                      135.77               116.00                 19.78         112.28                              23.50

            0                      0                    0             0                          0 Group - Government ADR                          0                   0                        0              0                               0

            0                      0                    0             0                          0 Group - Tour ADR                                0                   0                        0              0                               0

            0                      0                    0             0                          0 Group- Association ADR                          0                   0                        0              0                               0

            0                      0                    0             0                          0 Group - Tax Exampt ADR                          0                   0                        0              0                               0



      105.38                125.00                 -19.62       125.10                     -19.72 Total Group ADR                            135.77               116.00                 19.78         112.28                            23.50

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                                                            Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                            For Property: Hampton Inn Estero (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description          YTD          % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                      Var                                                                   Budget                Bud Var         Year                       Var
                                                                                                    Payroll & Related Expense

         0       0.00             0       0.00          0             0         0.00             0 FOM/Guest Service Mgr                           0        0.00           0       0.00             0       23,085         0.90        -23,085

    3,864        3.19       5,502         2.65     -1,638         5,306         2.55        -1,442 FD/ Guest Service Reps                     41,747        2.95      67,112       2.65     -25,365         55,193         2.15        -13,446

         0       0.00             0       0.00          0             0         0.00             0 FD/Supervisor                                   0        0.00           0       0.00             0       -1,332        -0.05            1,332

         0       0.00       3,575         1.72     -3,575         2,964         1.43        -2,964 Executive Housekeeper                       8,938        0.63      41,699       1.64     -32,761         37,442         1.46        -28,504

         0       0.00         849         0.41       -849         1,131         0.54        -1,131 Asst Exec Housekeeper/ Inspectress          2,715        0.19      10,361       0.41      -7,646         11,704         0.46            -8,989

    4,260        3.51       9,968         4.79     -5,708        10,800         5.19        -6,540 Housekeepers                               53,650        3.79     121,599       4.79     -67,949        128,135         5.00        -74,486

         0       0.00       1,907         0.92     -1,907         1,833         0.88        -1,833 Housemen                                    4,427        0.31      23,259       0.92     -18,832         19,090         0.75        -14,663

     454         0.37       1,773         0.85     -1,319           964         0.46          -509 Van Drivers                                 6,205        0.44      20,934       0.83     -14,729         14,708         0.57            -8,503

    1,711        1.41       3,051         1.47     -1,340         2,708         1.30          -997 Laundry                                    11,424        0.81      37,213       1.47     -25,789         24,155         0.94        -12,731

         0       0.00       2,083         1.00     -2,083         1,701         0.82        -1,701 Comp Breakfast Hostess                      5,379        0.38      25,613       1.01     -20,234         26,705         1.04        -21,326

    3,565        2.94       3,551         1.71         14         3,325         1.60          240 Night Audit                                 41,167        2.91      40,927       1.61         240         40,450         1.58              717

    1,186        0.98       2,805         1.35     -1,619         2,861         1.38        -1,675 Payroll Taxes                              15,258        1.08      32,639       1.29     -17,381         32,055         1.25        -16,797

    1,717        1.42         945         0.45       772          1,650         0.79            68 Employee Benefits                          13,521        0.96      11,340       0.45       2,181         13,907         0.54             -387

     -352        -0.29        600         0.29       -952         1,200         0.58        -1,552 Vacation /PTO                              17,228        1.22       7,200       0.28      10,028          8,761         0.34            8,467

    1,054        0.87       2,200         1.06     -1,146         2,942         1.41        -1,888 Holiday                                     4,629        0.33       7,700       0.30      -3,071         10,100         0.39            -5,471

         0       0.00             0       0.00          0             0         0.00             0 Bonus/Incentive Pay                         2,525        0.18       4,376       0.17      -1,851          5,246         0.20            -2,721



  17,460        14.41      38,809        18.66    -21,349       39,385         18.94      -21,925 Total P/R & R/Benefits- Rooms             228,813        16.18    451,972       17.81    -223,159       449,404         17.54       -220,591

                                                                                                    ROOMS DEPARTMENT
                                                                                                    OPERATING EXPENSE

         0       0.00         125         0.06       -125           120         0.06          -120 Newspapers                                    360        0.03       1,522       0.06      -1,163          1,595         0.06            -1,235

    1,916        1.58       8,528         4.10     -6,612        10,022         4.82        -8,107 Comp Breakfast                             33,957        2.40     104,029       4.10     -70,072        108,355         4.23        -74,398

         0       0.00             0       0.00          0             0         0.00             0 Comp Breakfast- Equipment                     572        0.04       1,000       0.04        -428              317       0.01              255

         4       0.00          42         0.02        -38           208         0.10          -204 Guest Transportation                          190        0.01         507       0.02        -317              411       0.02             -221

         0       0.00          42         0.02        -42            65         0.03           -65 Laundry Supplies                              152        0.01         507       0.02        -355              378       0.01             -226

         0       0.00       1,144         0.55     -1,144           948         0.46          -948 Linen Supplies                              3,716        0.26      13,955       0.55     -10,240         12,450         0.49            -8,734

    1,973        1.63       1,990         0.96        -17         2,106         1.01          -133 Cable TV                                   24,106        1.70      23,880       0.94         226         23,580         0.92              526

     333         0.27         340         0.16         -8           333         0.16             0 HSIA Support                                3,893        0.28       4,080       0.16        -187          3,808         0.15               85

         0       0.00             0       0.00          0             0         0.00             0 Printing & Stationary                          31        0.00       3,750       0.15      -3,719              292       0.01             -260

     777         0.64         957         0.46       -180           917         0.44          -139 Reservations Expense                       10,151        0.72      11,672       0.46      -1,521         11,358         0.44            -1,207

     -150        -0.12      2,163         1.04     -2,313         2,253         1.08        -2,403 Guest Room Supplies                         9,603        0.68      26,388       1.04     -16,785         24,670         0.96        -15,068

    1,111        0.92         562         0.27       550            851         0.41          260 Cleaning Supplies                            4,990        0.35       6,851       0.27      -1,861          7,372         0.29            -2,382

     165         0.14         339         0.16       -174           228         0.11           -63 Ecolab Core Supplies                        3,395        0.24       4,210       0.17        -815          3,018         0.12              377

         0       0.00             0       0.00          0           241         0.12          -241 Evening Social- Food                        1,808        0.13           0       0.00       1,808          2,538         0.10             -730

         0       0.00             0       0.00          0           201         0.10          -201 Evening Social- Beverage                      918        0.06           0       0.00         918          1,906         0.07             -988

         0       0.00             0       0.00          0             0         0.00             0 Evening Social- Equipment                       0        0.00           0       0.00             0            302       0.01             -302

    4,654        3.84       8,500         4.09     -3,846         7,394         3.55        -2,739 Travel Agents Commission                   49,823        3.52     104,800       4.13     -54,977        106,180         4.14        -56,357

         0       0.00         208         0.10       -208           208         0.10          -208 Uniforms                                      417        0.03       2,537       0.10      -2,120          1,722         0.07            -1,305

         0       0.00             0       0.00          0           743         0.36          -743 Walk Expense                                    0        0.00         722       0.03        -722          1,862         0.07            -1,862

     102         0.08             0       0.00       102              0         0.00          102 COVID 19 Supplies                            1,144        0.08           0       0.00       1,144                0       0.00            1,144



  10,886         8.98      24,939        11.99    -14,053       26,837         12.90      -15,951 Total Operating - Rooms                   149,225        10.55    310,411       12.23    -161,186       312,113         12.18       -162,888



  28,345        23.39      63,747        30.65    -35,402       66,221         31.84      -37,876 Total Expenses- Rooms                     378,038        26.73    762,384       30.05    -384,346       761,517         29.72       -383,479



  88,713        73.20     172,613        82.99    -83,900      170,140         81.80      -81,428 Net Income- Rooms                       1,472,078       104.09   2,441,862      96.24    -969,784      2,443,508        95.36       -971,429
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                                                               For Property: Hampton Inn Estero (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                     Description           YTD          % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                  Budget              Bud Var         Year                          Var
                                                                                                       Food & Beverage
                                                                                                       Summary


            0         0.00            0       0.00         0             0        0.00             0 Total Food Sales                                0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Beverage Sales                            0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Banquet A/V                               0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Banquet Misc                              0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Sales                               0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Food Cost                                       0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Costs                                  0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Banquet A/V Costs                               0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Costs                               0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Food Wages                                      0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Wages                                  0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total F & B Wages                               0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 F & B- P T & E B                                0         0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0        0.00             0 TTL P/R and Benefits                            0         0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0        0.00             0 Food Operating Expenses                         0         0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Operating Expenses                     0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Operating Expenses                  0         0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Net F & B Income                                0         0.00        0       0.00             0              0       0.00                  0




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                                                              For Property: Hampton Inn Estero (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                   Description             YTD          % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                 Budget             Bud Var         Year                         Var
                                                                                                      Food Department




            0         0.00            0      0.00         0             0        0.00             0 Total Restaurant                                0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bar Food                                  0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bistro                                    0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Garden Grill                              0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Other Food Revenue                        0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Room Service                              0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquets                                  0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Catering                                  0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Net Food Revenue                                0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquets Other                            0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Food Revenues                             0        0.00        0      0.00             0              0      0.00                  0

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                                                              For Property: Hampton Inn Estero (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                   Description             YTD          % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                 Budget             Bud Var         Year                         Var
                                                                                                      Cost of Goods Sold

            0         0.00            0      0.00         0             0        0.00             0 Total Cost of Good Sold                         0        0.00        0      0.00             0              0      0.00                  0


                                                                                                      Food Payroll

            0         0.00            0      0.00         0             0        0.00             0 Total Food Wages                                0        0.00        0      0.00             0              0      0.00                  0


                                                                                                      Operating Expenses



            0         0.00            0      0.00         0             0        0.00             0 Total Operating Expense- Food                   0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Food Costs                                0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 N.I.- Food Department                           0        0.00        0      0.00             0              0      0.00                  0

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                                                              Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                              For Property: Hampton Inn Estero (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                 Description               YTD          % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                 Budget             Bud Var         Year                         Var
                                                                                                      Beverage Department




            0         0.00            0      0.00         0             0        0.00             0 Total Restaurant Beverage                       0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Garden Grill Beverage                     0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Room Service Bev                          0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bar Beverage                              0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquet Beverage                          0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Catering Beverage                         0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Beverage Revenue                          0        0.00        0      0.00             0              0      0.00                  0

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                                                               Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                               For Property: Hampton Inn Estero (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                   Description             YTD          % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                  Budget              Bud Var         Year                          Var
                                                                                                       Cost of Goods Sold



            0         0.00            0       0.00         0             0        0.00             0 Total COGS- Beverage                            0         0.00        0       0.00             0              0       0.00                  0


                                                                                                       Beverage Payroll

            0         0.00            0      0.00          0             0        0.00             0 Total Beverage Payroll                          0        0.00         0      0.00              0              0      0.00                   0


                                                                                                       Operating Expenses- Beverage



            0         0.00            0      0.00          0             0        0.00             0 Total Operating- Beverage                       0        0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0        0.00             0 Total Beverage Costs                            0        0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0        0.00             0 Net Income- Beverage                            0        0.00         0      0.00              0              0      0.00                   0

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                                                              Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                              For Property: Hampton Inn Estero (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                 Description               YTD          % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                 Budget             Bud Var         Year                         Var
                                                                                                      FOOD STATS




            0         0.00            0      0.00         0             0        0.00             0 Total Food Covers                               0        0.00        0      0.00             0              0      0.00                   0

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                                                               For Property: Hampton Inn Estero (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual        % / POR      Budget     % / POR     Act vs    Last Year     % / POR      Act vs LY                   Description             YTD          % / POR       YTD     % / POR     Act vs     YTD Last       % / POR       Act vs LY
                                                     Bud Var                                     Var                                                                   Budget                Bud Var      Year                           Var
                                                                                                       TELECOM
                                                                                                       TELEPHONE REVENUES

             0         0.00         30        0.00       -30             0         0.00             0 Long Distance                                   0         0.00      360         0.00       -360              0       0.00                      0

            35         0.00         35        0.00         0            40         0.00            -5 Internet Access Fees                          342         0.00      420         0.00        -78            475        0.00                   -134



            35        0.00         65        0.00        -30            40        0.00             -5 Total Phone Revenues                          342        0.00       780        0.00        -438         475          0.00                -134



                                                                                                       COS- Communication

          745          0.62        728        0.30        17           735         0.31            10 COS-Local                                   8,991         0.48     8,736        0.27        255        9,721          0.30                   -730

             0         0.00         25      83.33        -25             0         0.00             0 COS-Long Distance                               0         0.00      300       83.33        -300             41       0.00                     -41

          998      2,880.23      1,010    2,885.71       -12           998     2,520.20             0 COS-HSIA ISP                               12,056     3,529.74    12,120    2,885.71        -64       11,348      2,388.03                   708



       1,743          0.00       1,763       0.00        -20         1,733        0.00            10 Total COS- Comm                            21,047         0.00    21,156        0.00        -109      21,110          0.00                    -63



      -1,709          0.00      -1,698       0.00        -11        -1,694        0.00           -15 Gross Margin- Comm                        -20,706         0.00    -20,376       0.00        -330      -20,635         0.00                    -71




                                                                                                       Operating Expenses

          100          0.00        100        0.00         0             0         0.00          100 Equipment Cost                                 660         0.00     1,200        0.00       -540            550        0.00                   110

             0         0.00         50        0.00       -50           100         0.00          -100 Equipment Maintenance                         550         0.00      600         0.00        -50        1,315          0.00                   -765



         100          0.00        150        0.00        -50          100         0.00              0 Total Operating - Comm                     1,210         0.00     1,800        0.00        -590       1,865          0.00                -655



       1,809          0.00       1,848       0.00        -39         1,794        0.00            15 N.I.- Comm Dept                            21,916         0.00    22,176        0.00        -260      22,500          0.00                -584



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                                                                Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                                For Property: Hampton Inn Estero (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                    Description           YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                        MISCELLANEOUS DEPARTMENT
                                                                                                        MISCELLANEOUS REVENUES

             0        0.00         30         0.88        -30             0          0.00            0 Laundry/Valet                                  34        0.18      360        0.87        -326              245       0.53                   -211

             0        0.00            0       0.00          0         2,061         78.07       -2,061 Gift Shop Sales                                 0        0.00        0        0.00             0       22,452        48.86            -22,452

        1,135        47.31        354        10.38       781            200          7.57         935 Vending                                      2,832       15.19     4,313      10.43      -1,482          4,359         9.49               -1,527

             0        0.00            0       0.00          0             0          0.00            0 Pet Fees                                        0        0.00        0        0.00             0            700       1.52                   -700

             0        0.00            0       0.00          0             0          0.00            0 Forfeiture Income                               0        0.00        0        0.00             0            646       1.41                   -646

            -8       -0.31            0       0.00         -8             0          0.00           -8 Miscellaneous                                 -17       -0.09        0        0.00         -17              114       0.25                -131

             0        0.00        900        26.41       -900           319         12.09         -319 Late Cancellation Income                    2,084       11.18    10,800      26.13      -8,716         15,523        33.78            -13,439

             0        0.00        150         4.40       -150             0          0.00            0 Smoking Fee                                   785        4.21     1,800       4.35      -1,015          1,250         2.72                   -465

            60        2.50         60         1.76          0            60          2.27            0 Tax Discounts Earned                          390        2.09      720        1.74        -330              660       1.44                   -270

        1,211        50.50      1,914        56.16       -703             0          0.00        1,211 Market Sales                               12,530       67.23    23,343      56.47     -10,814                0       0.00             12,530



       2,398       100.00       3,407       100.00     -1,009         2,641        100.00        -243 Total Miscellaneous Revenues               18,638       100.00   41,337      100.00     -22,699        45,948        100.00            -27,311



                                                                                                        COSales- Miscellaneous

             0        0.00         20        66.67        -20             0          0.00            0 COS-Laundry/Valet                              16       48.00      240       66.67        -224              118      48.14                   -102

             0        0.00            0       0.00          0         1,058         51.33       -1,058 COS-Gift Shop                                   0        0.00        0        0.00             0       11,733        52.26            -11,733

             0        0.00         30         0.88        -30             0          0.00            0 COS-Vending Cost                              139        0.75      360        0.87        -221              134       0.29                     5

          271        22.41        957        50.00       -685             0          0.00         271 COS- Market                                  4,823       38.49    11,672      50.00      -6,849                0       0.00               4,823



         271         11.32      1,007        29.55      -735          1,058         40.07        -787 Total COS- Miscellaneous                    4,978        26.71   12,272       29.69      -7,293        11,985         26.08             -7,007



             0        0.00      1,000        95.24     -1,000           550         81.60         -550 Banquet Room Rental                         7,575       96.99    17,000      96.59      -9,425         17,000        93.12               -9,425

             0        0.00         50         4.76        -50            24          3.56          -24 Banquet Room F & B                              0        0.00      600        3.41        -600              581       3.18                   -581

             0        0.00            0       0.00          0           100         14.84         -100 Banquet Room AV Rental                        175        2.24        0        0.00        175               675       3.70                   -500

             0        0.00            0       0.00          0             0          0.00            0 Banquet Room Setup Service Charge              60        0.23        0        0.00            60              0       0.00                    60

            0         0.00      1,050       100.00     -1,050          674         100.00        -674 Total Meeting Room Revenues                 7,810       100.00   17,600      100.00      -9,790        18,256        100.00            -10,446


                                                                                                        Cost of Sales- Meeting Room

             0        0.00         25         2.38        -25             0          0.00            0 COS-Banquet Room F & B                          0        0.00      300        1.70        -300                0       0.00                     0

             0        0.00            0       0.00          0             0          0.00            0 COS-Banquet Room AV                             0        0.00        0        0.00             0            290       1.59                -290



       2,127         88.68      3,425       100.53     -1,299         2,257         85.46        -130 Total Miscellaneous Profit                 21,469       115.19   46,365      112.16     -24,896        51,929        113.02            -30,460

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 168 of 541
                                                                Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                                For Property: Hampton Inn Estero (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description          YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                        ADMIN & GENERAL DEPARTMENT
                                                                                                        ADMIN & GENERAL

                                                                                                        P/R & Related Benefits- A&G

        5,184         4.34      5,463         2.27       -279         3,393         1.42         1,791 General Manager                            55,761        2.97    64,341       1.97      -8,580         55,814         1.71                    -53

        3,450         2.89      3,674         1.53       -224         3,046         1.27          404 Assistant General Manager                   39,109        2.08    42,643       1.31      -3,534         15,369         0.47             23,740

        1,268         1.06        745         0.31       522            306         0.13          962 Payroll Taxes                                8,696        0.46     8,737       0.27         -41          6,630         0.20               2,066

          526         0.44      1,047         0.43       -521            64         0.03          462 Employee Benefits                            9,986        0.53    12,564       0.39      -2,578         11,223         0.34               -1,237

         -997        -0.83            0       0.00       -997         1,224         0.51        -2,221 Vacation /PTO                              16,910        0.90         0       0.00      16,910          6,287         0.19             10,624

          832         0.70            0       0.00       832            813         0.34            19 Holiday                                     2,852        0.15         0       0.00       2,852          2,349         0.07                   504

             0        0.00        540         0.22       -540           250         0.10          -250 Bonus/Incentive Pay                         5,824        0.31     6,480       0.20        -656          9,832         0.30               -4,007



      10,262          8.59     11,469         4.76     -1,207         9,096         3.80        1,166 Total P/R & R/B- A&G                      139,139         7.41   134,765       4.13      4,374        107,503         3.29              31,635


                                                                                                        Operating Expenses- A&G

          484         0.41      2,050         0.85     -1,566         1,896         0.79        -1,412 Employee Relations                          2,131        0.11     6,150       0.19      -4,019          5,782         0.18               -3,651

        4,000         3.35      2,000         0.83      2,000         2,000         0.83         2,000 Accounting Fees                            26,000        1.39    24,000       0.74       2,000         24,000         0.73               2,000

        1,594         1.33      1,010         0.42       584          1,906         0.80          -312 Data Processing                            16,460        0.88    14,622       0.45       1,838         16,381         0.50                    79

            96        0.08        187         0.08        -91           296         0.12          -200 Office Supplies                             1,019        0.05     2,284       0.07      -1,264          2,348         0.07               -1,329

            44        0.04         44         0.02          0            44         0.02             0 Muzak                                         507        0.03       528       0.02         -21              524       0.02                    -17

             0        0.00        300         0.12       -300            28         0.01           -28 Travel & Lodging                              751        0.04     5,700       0.17      -4,949          2,986         0.09               -2,235

             0        0.00         25         0.01        -25             0         0.00             0 Meals and Entertainment                         0        0.00       300       0.01        -300               87       0.00                    -87

             0        0.00         75         0.03        -75            75         0.03           -75 Telephone                                     212        0.01       900       0.03        -688              753       0.02                   -541

             0        0.00            0       0.00          0             0         0.00             0 Licenses and Permits                        1,554        0.08     2,177       0.07        -623          1,176         0.04                   378

            78        0.07        104         0.04        -26           228         0.10          -150 Postage                                       504        0.03     1,269       0.04        -765          1,367         0.04                   -863

             0        0.00            0       0.00          0             0         0.00             0 Recruitment                                   672        0.04       677       0.02            -6            977       0.03                   -306

             0        0.00        114         0.05       -114           194         0.08          -194 Employment Screening/ Drug Testing            804        0.04     1,568       0.05        -764          1,601         0.05                   -797

             0        0.00            0       0.00          0           244         0.10          -244 Training                                      503        0.03     1,500       0.05        -997          1,169         0.04                   -666

          210         0.18        250         0.10        -40           150         0.06            60 Dues/Subscriptions                          1,592        0.08     3,992       0.12      -2,400          3,556         0.11               -1,964

        3,332         2.79      6,721         2.79     -3,388         6,104         2.55        -2,771 Credit Card Commissions                    47,212        2.52    91,065       2.79     -43,853         89,681         2.74            -42,469

             0        0.00            0       0.00          0             0         0.00             0 Cash Over/Short                                14        0.00         0       0.00            14         -266        -0.01                   279

             0        0.00         27         0.01        -27             0         0.00             0 Equipment Rental                                0        0.00       324       0.01        -324                0       0.00                     0

          304         0.25        400         0.17        -96           624         0.26          -320 Payroll Services                            4,541        0.24     6,651       0.20      -2,109          7,085         0.22               -2,543

          707         0.59      1,000         0.42       -293           974         0.41          -266 Bank Charges                               11,137        0.59    12,142       0.37      -1,005         11,958         0.37                   -821

         -102        -0.09            0       0.00       -102           204         0.09          -306 Chargebacks                                 1,494        0.08         0       0.00       1,494          2,246         0.07                   -752

        1,634         1.37      1,446         0.60       188          2,015         0.84          -381 Workers Comp Insurance                     11,434        0.61    18,766       0.58      -7,332         18,985         0.58               -7,551



      12,383         10.37     15,753         6.54     -3,370       16,982          7.09       -4,599 Total Operating- A&G                      128,541         6.85   194,614       5.96     -66,073       192,397         5.89             -63,856



      22,645         18.96     27,222        11.30     -4,577       26,078         10.88       -3,433 Total Expenses- A&G                       267,680        14.26   329,379      10.09     -61,699       299,900         9.17             -32,221

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                                                          Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 169 of 541
                                                                 Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                                 For Property: Hampton Inn Estero (Capstone)
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual         % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description          YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         SALES DEPARTMENT
                                                                                                         SALES

                                                                                                         P/R & R/B

             0        0.00       3,495         1.45     -3,495         2,841        1.19         -2,841 Sales Manager                              11,429        0.61    41,166       1.26     -29,737         37,236         1.14            -25,807

          364         0.30         909         0.38       -545           685        0.29           -321 Revenue Management                          5,550        0.30    10,908       0.33      -5,358          8,546         0.26               -2,996

             0        0.00         172         0.07       -172             0        0.00              0 E Commerce Management                         516        0.03     2,066       0.06      -1,549                0       0.00                   516

             0        0.00         312         0.13       -312           151        0.06           -151 Payroll Taxes                                 923        0.05     3,695       0.11      -2,773          3,249         0.10               -2,327

            -68       -0.06        580         0.24       -648           590        0.25           -658 Employee Benefits                             -492      -0.03     6,960       0.21      -7,452          6,724         0.21               -7,216

             0        0.00             0       0.00          0           231        0.10           -231 Vacation / PTO                                  0        0.00         0       0.00             0        1,525         0.05               -1,525

             0        0.00             0       0.00          0             0        0.00              0 Holiday                                       173        0.01         0       0.00        173               603       0.02                   -430

             0        0.00         300         0.12       -300             0        0.00              0 Bonus/Incentive Pay                           199        0.01     3,600       0.11      -3,401          3,461         0.11               -3,262



         296          0.25       5,768        2.40      -5,472         4,498        1.88        -4,202 Total P/R & R/B- Sales                     18,298        0.98     68,395      2.10      -50,096        61,346         1.88             -43,047


                                                                                                         Operating Expenses- Sales

             0        0.00          14         0.01        -14             0        0.00              0 Printing & Stationary                          11        0.00       168       0.01        -157               75       0.00                    -64

             0        0.00          20         0.01        -20            45        0.02            -45 Office Supplies                                22        0.00       240       0.01        -218              263       0.01                   -242

             0        0.00          75         0.03        -75           665        0.28           -665 Travel & Lodging                              176        0.01     2,050       0.06      -1,874          2,662         0.08               -2,486

             0        0.00         150         0.06       -150            61        0.03            -61 Meals & Entertainment                          67        0.00       600       0.02        -533              313       0.01                   -246

             0        0.00         350         0.15       -350           333        0.14           -333 Promotions                                    313        0.02     3,700       0.11      -3,387          3,634         0.11               -3,321

             0        0.00          50         0.02        -50             0        0.00              0 Telephone                                     100        0.01       600       0.02        -500              500       0.02                   -400

             0        0.00             0       0.00          0             0        0.00              0 Postage                                         0        0.00         0       0.00             0              8       0.00                     -8

             0        0.00             0       0.00          0             0        0.00              0 Sales Training                                 37        0.00       250       0.01        -213              280       0.01                   -243

          132         0.11       1,207         0.50     -1,075             0        0.00           132 Dues & Subscriptions                         5,463        0.29    10,022       0.31      -4,559          8,117         0.25               -2,654

             0        0.00             0       0.00          0             0        0.00              0 Trade Show                                      0        0.00         0       0.00             0             21       0.00                    -21

             0        0.00             0       0.00          0             0        0.00              0 Outdoor Advertising                         2,260        0.12     2,260       0.07             0        2,260         0.07                     0

             0        0.00         100         0.04       -100           200        0.08           -200 e Commerce Costs                                0        0.00     1,200       0.04      -1,200          4,620         0.14               -4,620

          480         0.40         978         0.41       -498           920        0.38           -440 Brand Paid Search                           5,763        0.31    11,925       0.37      -6,162          8,577         0.26               -2,813

             0        0.00         150         0.06       -150             0        0.00              0 Internet Advertising                        1,050        0.06     3,455       0.11      -2,405              400       0.01                   650

             0        0.00             0       0.00          0             0        0.00              0 Directory Advertising                           0        0.00         0       0.00             0        1,050         0.03               -1,050

             0        0.00             0       0.00          0             0        0.00              0 Collateral                                      0        0.00         0       0.00             0            466       0.01                   -466



         612          0.51       3,094        1.28      -2,482         2,224        0.93        -1,612 Total Operating- Sales                     15,261        0.81     36,470      1.12      -21,209        33,244         1.02             -17,983



         908          0.76       8,862        3.68      -7,954         6,722        2.80        -5,814 Total Expenses-Sales                       33,560        1.79    104,865      3.21      -71,305        94,590         2.89             -61,030

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                                                                Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                                For Property: Hampton Inn Estero (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                       Description            YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                        MAINTENANCE DEPARTMENT
                                                                                                        REPAIRS & MAINTENANCE
                                                                                                        P/R & Related Expenses- Maintenance

        3,324         2.74      5,261         2.53     -1,937         3,924        1.89           -600 Chief Engineer                              54,152         3.83    62,112       2.45      -7,960         56,318         2.20               -2,166

             0        0.00      1,408         0.68     -1,408         1,129        0.54         -1,129 General Maintenance                          3,647         0.26    17,692       0.70     -14,045         15,390         0.60            -11,743

          443         0.37        514         0.25        -70           499        0.24            -55 Payroll Taxes                                4,962         0.35     6,203       0.24      -1,240          5,965         0.23               -1,003

          667         0.55        610         0.29        57            503        0.24           164 Employee Benefits                             7,034         0.50     7,320       0.29        -286          6,916         0.27                   118

          495         0.41            0       0.00       495            707        0.34           -212 Holiday                                      1,671         0.12         0       0.00       1,671          1,739         0.07                    -68

        1,601         1.32            0       0.00      1,601           471        0.23          1,130 Vacation /PTO                               12,601         0.89         0       0.00      12,601          3,750         0.15               8,852

             0        0.00            0       0.00          0             0        0.00              0 Bonus/Incentive Pay                                0       0.00       750       0.03        -750              750       0.03                   -750



       6,530          5.39      7,793        3.75      -1,263         7,232        3.48          -703 Total P/R & Related Expenses- Maintenance    84,068        5.94     94,077      3.71      -10,009        90,827         3.54              -6,760


                                                                                                        Operating Expenses- R & M

             0        0.00        312         0.15       -312           190        0.09           -190 Auto Expense                                     559       0.04     3,806       0.15      -3,247          7,850         0.31               -7,291

             0        0.00         62         0.03        -62             0        0.00              0 Laundry Equipment                            1,181         0.08       761       0.03        420               650       0.03                   531

          161         0.13        416         0.20       -255           219        0.11            -58 Building Maintenance                         1,675         0.12     5,075       0.20      -3,399          4,990         0.19               -3,314

            72        0.06        270         0.13       -198           194        0.09           -122 Light Bulbs                                  1,141         0.08     3,298       0.13      -2,157          3,043         0.12               -1,902

             0        0.00        312         0.15       -312             0        0.00              0 Electrical & Mechanical                          655       0.05     3,806       0.15      -3,151          3,073         0.12               -2,418

          185         0.15        250         0.12        -65            70        0.03           115 HVAC                                          2,399         0.17     3,045       0.12        -645          3,724         0.15               -1,325

            11        0.01         77         0.04        -66             0        0.00             11 Plumbing & Boiler                            1,628         0.12     4,740       0.19      -3,112          3,267         0.13               -1,639

          462         0.38        470         0.23         -8           660        0.32           -198 Pool                                         3,950         0.28     5,637       0.22      -1,687          5,568         0.22               -1,618

          525         0.43        680         0.33       -155           824        0.40           -299 Grounds & Landscaping                        9,237         0.65     9,950       0.39        -713          9,011         0.35                   227

             0        0.00            0       0.00          0            21        0.01            -21 Signage                                            0       0.00         0       0.00             0             21       0.00                    -21

             0        0.00         42         0.02        -42           100        0.05           -100 Furniture & Fixtures                         1,100         0.08       507       0.02        592               726       0.03                   374

             0        0.00         83         0.04        -83             0        0.00              0 Painting                                          46       0.00     1,015       0.04        -969              537       0.02                   -490

             0        0.00        100         0.05       -100           128        0.06           -128 Carpet & Floor                                   507       0.04     2,700       0.11      -2,193          3,160         0.12               -2,653

             0        0.00         30         0.01        -30            30        0.01            -30 Telephone                                         30       0.00       360       0.01        -330              330       0.01                   -300

             0        0.00            0       0.00          0            22        0.01            -22 Locks & Keys                                       0       0.00         0       0.00             0            148       0.01                -148

             0        0.00            0       0.00          0            40        0.02            -40 Radio & TV                                         0       0.00         0       0.00             0         -157        -0.01                   157

          213         0.18        212         0.10          1           213        0.10              0 Exterminating                                2,301         0.16     2,544       0.10        -243          3,887         0.15               -1,586

             0        0.00            0       0.00          0             0        0.00              0 License & Permits                                125       0.01         0       0.00        125               217       0.01                    -92

            38        0.03            0       0.00        38             34        0.02              4 Maintenance Contracts                            373       0.03     1,150       0.05        -777          1,146         0.04                   -773

             0        0.00            0       0.00          0             0        0.00              0 Fire & Safety                                4,362         0.31     4,239       0.17        123           5,288         0.21                   -927

          550         0.45      1,331         0.64       -781         1,365        0.66           -815 Elevator                                     5,146         0.36     5,324       0.21        -177          5,358         0.21                   -212



       2,216          1.83      4,647        2.23      -2,430         4,110        1.98        -1,893 Total Operating - R & M                      36,418        2.57     57,957      2.28      -21,540        61,837         2.41             -25,419



       8,746          7.22     12,439        5.98      -3,693       11,342         5.45        -2,596 Total Expenses- R & M                       120,485        8.52    152,034      5.99      -31,548       152,664         5.96             -32,179

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                                                              Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                              For Property: Hampton Inn Estero (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year     % / POR      Act vs LY                   Description             YTD          % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                      Var                                                                  Budget               Bud Var       Year                        Var
                                                                                                      UTILITIES DEPARTMENT
                                                                                                      UTILITIES EXPENSE

        3,213         2.65      4,456       2.14     -1,243         4,560        2.19         -1,347 Electricity                                49,344        3.49    66,118       2.61     -16,774       63,508       2.48            -14,164

          683         0.56      1,059       0.51       -376           999        0.48           -316 Gas                                         6,935        0.49     9,708       0.38      -2,773        8,915       0.35               -1,981

        2,288         1.89      2,818       1.35       -530         2,848        1.37           -560 Water & Sewer                              26,271        1.86    31,652       1.25      -5,381       32,607       1.27               -6,336

          124         0.10        781       0.38       -657           561        0.27           -436 Waste Removal                               4,788        0.34     9,376       0.37      -4,588       11,714       0.46               -6,927



       6,308          5.20      9,114      4.38      -2,807         8,967        4.31        -2,659 Total Expenses- Utilities                  87,336        6.18    116,854      4.61      -29,518     116,744       4.56             -29,407

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                                                                Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                                For Property: Hampton Inn Estero (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                       Description         YTD          % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var       Year                        Var
                                                                                                        FRANCHISE DEPARTMENT
                                                                                                        FRANCHISE FEES

        7,023         6.00      14,236        6.02     -7,213        14,201         6.01        -7,178 Franchise Fees/ Royalties                 107,423        5.81   192,903       6.02     -85,480      193,203       6.03            -85,780

        4,682         4.00       9,490        4.02     -4,808         9,467         4.01        -4,785 Advertising                                71,616        3.87   128,602       4.01     -56,986      128,882       4.02            -57,266

            0         0.00        309         0.13       -309             0         0.00             0 Reservations                                  812        0.04     1,702       0.05        -890        1,510       0.05                   -698

        1,690         1.44       8,579        3.63     -6,889         6,431         2.72        -4,741 Frequent Traveler                          60,334        3.26   100,379       3.13     -40,044      105,840       3.30            -45,505

            0         0.00            0       0.00          0             0         0.00             0 Brand Guest Fees                              289        0.02         0       0.00         289        1,200       0.04                   -911



      13,395         11.44     32,614        13.80    -19,219       30,099         12.73      -16,704 Total Franchise Fees Expense              240,474        13.00   423,585      13.22    -183,112     430,635       13.44          -190,162

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                                                                Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                                For Property: Hampton Inn Estero (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                  Description              YTD          % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var       Year                          Var
                                                                                                        MANAGEMENT FEES
        2,986         2.50      6,022         2.50     -3,036         5,992        2.50         -3,006 Management Fees                            46,913        2.50    81,599       2.50     -34,686       81,732         2.50            -34,819

       11,008         9.21            0       0.00     11,008             0        0.00         11,008 Management Fees- Owner                     26,221        1.40        0        0.00      26,221              0       0.00             26,221



      13,994         11.71      6,022        2.50      7,971          5,992        2.50         8,002 Total Management Fees Expense              73,134        3.90    81,599       2.50       -8,466      81,732         2.50              -8,598



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                                                               Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                               For Property: Hampton Inn Estero (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget      % / POR    Act vs     Last Year     % / POR       Act vs LY                    Description           YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                    Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                       FIXED EXPENSES
       23,622        19.77      23,621       9.81         0         22,374          9.33        1,248 Ground Lease                              279,030       14.87   277,765       8.51       1,264        270,331         8.27               8,699

        8,117         6.80       9,635       4.00     -1,518       -96,130        -40.11      104,248 FF & E Reserve                             97,408        5.19   130,559       4.00     -33,150                0       0.00             97,408

        7,907         6.62       7,907       3.28         0          5,026          2.10        2,880 Real Estate Tax                            94,880        5.06    94,880       2.91             0       93,889         2.87                   991

          486         0.41        486        0.20         0            135          0.06          351 Personal Property Tax                       5,991        0.32     5,834       0.18        157           5,704         0.17                   287

        5,035         4.21       4,185       1.74       850          3,998          1.67        1,037 Insurance                                  52,374        2.79    50,145       1.54       2,229         48,111         1.47               4,263



      45,166         37.81     45,834       19.03      -668        -64,597        -26.95     109,764 TOTAL FIXED EXPENSES                      529,682        28.23   559,183      17.14     -29,501       418,035         12.79           111,648

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                                                                Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                                For Property: Hampton Inn Estero (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description          YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                        TOTAL OTHER
          450         0.38        433         0.18        17            350         0.15           100 Owners Expense                             28,387        1.51     5,200       0.16      23,187         16,779         0.51             11,609

       32,426        27.14            0       0.00     32,426         8,329         3.48        24,097 Depreciation                              389,112       20.74         0       0.00     389,112        365,015        11.17             24,097

        2,035         1.70            0       0.00      2,035         2,039         0.85            -4 Amortization Expense                       24,420        1.30         0       0.00      24,420         24,424         0.75                    -4

       18,916        15.84      18,916        7.85         0         18,917         7.89            -1 Interest Expense                          226,715       12.08   226,992       6.96        -277        228,500         6.99               -1,785

        9,468         7.93       2,409        1.00      7,059         2,397         1.00         7,071 Asset Management Fee                       18,766        1.00    32,640       1.00     -13,874         32,692         1.00            -13,926

            0         0.00            0       0.00         0              0         0.00             0 Non Operating Income                          -20        0.00         0       0.00         -20           -374        -0.01                   354

            0         0.00            0       0.00         0         -8,457        -3.53         8,457 Extraordinary Expenses                      2,157        0.11         0       0.00       2,157                0       0.00               2,157

            0         0.00            0       0.00         0           -169        -0.07           169 GB 1 YE AJE                                    0         0.00         0       0.00             0      -15,277        -0.47             15,277

            0         0.00            0       0.00         0         19,714         8.23       -19,714 GB- 2 R&M/Capex AJE                            0         0.00         0       0.00             0       19,714         0.60            -19,714

        1,417                         0                 1,417             0                      1,417 Ground Lease Tax                           13,831                     0                 13,831                0                        13,831



      64,712         54.17     21,758        9.04     42,954        43,120         17.99       21,592 Total Other                               703,368        37.48   264,832      8.12     438,536        671,473         20.54             31,895

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                                                               Company: 10611 Chevrolet-Fort Myers dba HI Estero Property: Hampton Inn Estero (Capstone)
                                                               For Property: Hampton Inn Estero (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                  Description              YTD          % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                  Budget              Bud Var         Year                          Var
                                                                                                       House Laundry Dept




            0         0.00            0      0.00          0             0        0.00             0 Total P/R & Benefits- Ldy                       0        0.00         0      0.00              0              0      0.00                    0


                                                                                                       Operating Expenses




            0         0.00            0      0.00          0             0        0.00             0 Total Operating Expenses- Ldy                   0        0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0        0.00             0 Total Laundry Expenses                          0         0.00        0       0.00             0              0       0.00                   0



                                                                                                       Allocation




            0         0.00            0      0.00          0             0        0.00             0 Total Allocation                                0        0.00         0      0.00              0              0      0.00                    0



            0                         0                    0             0                         0 Total Lndry Dept                                0                     0                        0              0                              0



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                                                            Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                            For Property: Hampton Inn Stuart (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                  Description             YTD          % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                      Var                                                                   Budget                Bud Var         Year                       Var
                                                                                                    SUMMARY

    3,162                    3,162                      0         3,162                          0 Total Rooms Available                     37,332                   37,332                        0       37,230                           102

    1,621                    2,813                 -1,192         2,813                     -1,192 Total Rooms Sold                          19,593                   32,619                 -13,026        32,422                     -12,829

 51.27%                   88.96%                 -37.70%        88.96%                    -37.70% Occupancy %                               52.48%                  87.38%                  -34.89%        87.09%                     -34.60%

   93.81                   114.12                  -20.31       114.12                      -20.31 Average Rate                              124.43                  131.48                    -7.04        130.33                         -5.90

   48.09                   101.53                  -53.43       101.52                      -53.43 REVPAR                                     65.31                  114.88                   -49.57        113.50                      -48.19




                                                                                                    REVENUES

  152,074        98.41     321,027       98.60   -168,953       321,020         98.31     -168,946 ROOMS                                   2,438,008       98.43   4,288,663      98.76   -1,850,655      4,225,602       98.70      -1,787,594

         0        0.00            0       0.00          0             0          0.00            0 FOOD                                             0       0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE                                         0       0.00           0       0.00             0              0       0.00                0

    2,460         1.59       4,550        1.40     -2,091         5,518          1.69       -3,058 MISCELLANEOUS                             38,785         1.57      53,895       1.24      -15,111        55,751         1.30        -16,966



 154,533       100.00     325,577       100.00   -171,044      326,538         100.00     -172,004 TOTAL REVENUES                         2,476,793       100.00   4,342,559     100.00   -1,865,766     4,281,352       100.00     -1,804,560




                                                                                                    DEPARTMENT EXPENSES

   29,222        19.22      68,992       21.49    -39,770        73,018         22.75      -43,796 ROOMS EXPENSE                            423,072        17.35     801,998      18.70     -378,927       800,387        18.94       -377,315

         0        0.00            0       0.00          0             0          0.00            0 FOOD EXPENSE                                     0       0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE EXPENSE                                 0       0.00           0       0.00             0              0       0.00                0

     894         36.33       1,196       26.29       -303         1,856         33.64         -963 MISCELLANEOUS EXPENSE                      7,306        18.84      13,998      25.97       -6,691        14,876        26.68            -7,570



  30,115        19.49      70,189        21.56    -40,073       74,875          22.93      -44,759 TOTAL DEPARTMENTAL EXPENSES              430,378        17.38    815,996       18.79    -385,618       815,263         19.04       -384,885



                                                                                                    DEPARTMENTAL PROFIT

  122,852        80.78     252,035       78.51   -129,183       248,002         77.25     -125,150 ROOMS PROFIT                            2,014,936       82.65   3,486,665      81.30   -1,471,729      3,425,215       81.06      -1,410,279

         0        0.00            0       0.00          0             0          0.00            0 FOOD PROFIT                                      0       0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE PROFIT                                  0       0.00           0       0.00             0              0       0.00                0

    1,566        63.67       3,354       73.71     -1,788         3,662         66.36       -2,096 MISCELLANEOUS PROFIT                      31,478        81.16      39,898      74.03       -8,419        40,874        73.32            -9,396



 124,418        80.51     255,389        78.44   -130,971      251,663          77.07     -127,245 TOTAL DEPARTMENTAL PROFIT              2,046,415        82.62   3,526,563      81.21   -1,480,148     3,466,089        80.96     -1,419,675



   20,005        12.95      30,338        9.32    -10,333        27,266          8.35       -7,261 A & G EXPENSE                            281,015        11.35     363,589       8.37      -82,573       324,267         7.57        -43,251

     896          0.58       2,574        0.79     -1,678         2,605          0.80       -1,709 TELECOM                                   25,529         1.03      29,349       0.68       -3,820        32,440         0.76            -6,910

    5,814         3.76       9,735        2.99     -3,921         8,476          2.60       -2,661 SALES & MARKETING EXPENSES                94,479         3.81     126,495       2.91      -32,016       107,584         2.51        -13,105

   18,821        12.18      44,972       13.81    -26,151        50,683         15.52      -31,862 FRANCHISE FEES                           338,697        13.67     578,164      13.31     -239,467       574,822        13.43       -236,125

    8,258         5.34      16,495        5.07     -8,237        13,401          4.10       -5,142 MAINTENANCE EXPENSES                     126,810         5.12     176,640       4.07      -49,830       178,029         4.16        -51,219

    8,327         5.39       9,570        2.94     -1,243        11,681          3.58       -3,353 UTILITIES EXPENSE                        107,826         4.35     135,046       3.11      -27,220       133,043         3.11        -25,217



  62,123        40.20     113,685        34.92    -51,562      114,111          34.95      -51,988 TOTAL ADMIN EXPENSES                     974,355        39.34   1,409,283      32.45    -434,928      1,350,184        31.54       -375,829



  62,295        40.31     141,704        43.52    -79,409      137,552          42.12      -75,257 HOUSE PROFIT                           1,072,059        43.28   2,117,280      48.76   -1,045,220     2,115,905        49.42     -1,043,846



                                                                                                    FIXED EXPENSES

   14,871         9.62       8,143        2.50      6,728         8,163          2.50        6,708 MANAGEMENT FEES                           88,143         3.56     108,606       2.50      -20,463       107,024         2.50        -18,881

   59,356        38.41      59,373       18.24        -18      -108,284        -33.16      167,639 FIXED EXPENSES                           698,884        28.22     707,931      16.30       -9,047       518,868        12.12        180,015
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     -11,932         -7.72   74,187   22.79    -86,119   237,673   72.79   -249,605 NET OPERATING INCOME                    285,033     11.51    1,300,743   29.95   -1,015,710   1,490,013   34.80        -1,204,980



      102,752        66.49   40,727   12.51     62,025    61,371   18.79     41,381 Other                                   1,114,132    44.98     493,084   11.35      621,047   1,114,476   26.03                  -345



    -114,684        -74.21   33,460   10.28   -148,144   176,301   53.99   -290,986 N.I. after Other                        -829,099    -33.47    807,658    18.60   -1,636,757    375,537     8.77        -1,204,635



     -65,669                 33,460            -99,129   172,303           -237,973 Cash before Depreciation/Amortization   -240,919              807,658            -1,048,577    910,704                 -1,151,622

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                                                                   For Property: Hampton Inn Stuart (Capstone)
                                                                   00- Master P&L-CAPSTONE
                                                                   As of 12/31/2020

   Actual        % / POR        Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description          YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                        Bud Var                                      Var                                                                    Budget                Bud Var         Year                          Var
                                                                                                           ROOMS DEPARTMENT
                                                                                                           ROOMS REVENUE

       70,915        46.63        148,864       46.37    -77,950       148,696         46.32      -77,781 Rack/ Premium                            989,576         40.59   1,856,981      43.30     -867,405      1,765,438       41.78           -775,862

        9,817         6.46         19,923        6.21    -10,106        18,398          5.73       -8,581 Corporate                                110,981          4.55     325,597       7.59     -214,616       265,649         6.29           -154,669

       58,447        38.43        107,963       33.63    -49,516       107,705         33.55      -49,258 Discounts - Other                        869,236         35.65   1,211,973      28.26     -342,738      1,269,252       30.04           -400,016

        1,665         1.09          6,470        2.02     -4,805         6,336          1.97       -4,671 Government                                58,605          2.40     204,748       4.77     -146,143       201,742         4.77           -143,137

        8,330         5.48         30,380        9.46    -22,050        29,456          9.18      -21,126 Locally Negotiated Rate                  217,386          8.92     465,808      10.86     -248,421       480,832        11.38           -263,446



     149,173         98.09       313,601        97.69   -164,427      310,591          96.75     -161,417 Total Transient Revenue                2,245,784         92.12   4,065,107      94.79   -1,819,324     3,982,914        94.26        -1,737,130




             0        0.00               0       0.00          0             0          0.00            0 Total Base Revenues                               0       0.00           0       0.00             0              0       0.00                     0



        2,640         1.74          7,426        2.31     -4,786         7,827          2.44       -5,187 Group- Corporate                         185,736          7.62     223,556       5.21      -37,821       217,339         5.14             -31,604



       2,640          1.74         7,426         2.31     -4,786         7,827          2.44       -5,187 Total Group Revenue                      185,736          7.62    223,556        5.21     -37,821       217,339          5.14            -31,604



          260         0.17               0       0.00        260         2,602          0.81       -2,342 Guaranteed No-Show                         6,489          0.27           0       0.00        6,489        25,348         0.60             -18,860



     152,074       100.00        321,027       100.00   -168,953      321,020         100.00     -168,946 Total Rooms Revenue                    2,438,008        100.00   4,288,663     100.00   -1,850,655     4,225,602       100.00        -1,787,594



                                                                                                           ROOM STATISTICS

          713              44       1,181          42       -468         1,196            43         -483 Rack/ Premium Rooms                        6,699            34      12,450         38       -5,751        12,194           38               -5,495

            95              6        169            6        -74           156             6          -61 Corporate Rooms                               814            4       2,611          8       -1,797         2,039            6               -1,225

          678              42       1,069          38       -391         1,064            38         -386 Discounts - Other Rooms                    8,304            42      10,295         32       -1,991        10,761           33               -2,457

            15              1         56            2        -41            57             2          -42 Government Rooms                              485            2       1,837          6       -1,352         1,807            6               -1,322

            90              6        281           10       -191           275            10         -185 Locally Negotiated Corporate Rooms         1,693             9       3,574         11       -1,881         3,784           12               -2,091



       1,591              98       2,757          98      -1,166         2,748           98        -1,157 Total Transient Stats                     17,995           92      30,766         94      -12,771         30,585          94             -12,590




             0             0             0         0          0              0            0             0 Total Crew Stats                                 0          0           0          0              0              0         0                      0



            30              2         56            2        -26            65             2          -35 Group- Corporate Rooms                     1,597             8       1,853          6         -256         1,837            6                  -240



            30             2          56           2         -26            65            2           -35 Total Group Stats                          1,597            8       1,853          6         -256          1,837           6                   -240



       1,621          100          2,813         100      -1,192         2,813          100        -1,192 TOTAL ROOM STATISTICS                     19,592          100      32,619        100      -13,027         32,422         100             -12,830



                                                                                                           Other Room Stats

             7              0            0          0          7             0             0            7 Comp Rooms                                       23          0           0          0            23            55           0                    -32

        1,158              71            0          0      1,158         1,592            57         -434 Single Occupancy                          12,809            65           0          0       12,809        20,525           63               -7,716

          456              28            0          0        456         1,221            43         -765 Multiple Occupancy                         6,846            35           0          0        6,846        11,684           36               -4,838

             0              0            0          0          0             0             0            0 GNS Stats                                         0          0           0          0             0              2          0                     -2

          145               9            0          0        145            22             1          123 Out of Order Rooms                         1,331             7           0          0        1,331             227          1                  1,104

        2,328             144            0          0      2,328         4,557           162       -2,229 # of Guests                               28,262           144           0          0       28,262        47,360          146             -19,098



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                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year     % / POR      Act vs LY                      Description          YTD          % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                      Var                                                                 Budget              Bud Var         Year                         Var
                                                                                                    ADR



        99.46                126.00                -26.54        124.33                     -24.87 Rack/Premium ADR                          147.72                149.16                 -1.44         144.78                               2.94

       103.34                118.04                -14.70        117.94                     -14.60 Corporate ADR                             136.34                124.71                 11.63         130.28                               6.06

            0                      0                    0             0                          0 Contract - Airline ADR                           0                  0                        0              0                               0

        86.20                101.00                -14.80        101.23                     -15.02 Discount ADR                              104.68                117.73                -13.05         117.95                           -13.27

         0.00                  0.00                  0.00          0.00                       0.00 Distressed Passengers ADR                     0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                          0 AARP ADR                                         0                  0                        0              0                               0

       111.00                115.00                 -4.00        111.16                      -0.16 Government ADR                            120.84                111.48                  9.35         111.64                               9.19

         0.00                  0.00                  0.00          0.00                       0.00 AAA ADR                                       0.00                0.00                  0.00           0.00                               0.00

        92.56                108.00                -15.44        107.11                     -14.56 Local Negotiated ADR                      128.40                130.33                 -1.92         127.07                               1.33

         0.00                  0.00                  0.00          0.00                       0.00 Packages ADR                                  0.00                0.00                  0.00           0.00                               0.00

         0.00                  0.00                  0.00          0.00                       0.00 Wholesale/FIT ADR                             0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                          0 Internet ADR                                     0                  0                        0              0                               0

            0                      0                    0             0                          0 Tax Exampt - Transient ADR                       0                  0                        0              0                               0



       93.76                113.76                 -20.00       113.02                     -19.26 Total Transient ADR                        124.80               132.13                  -7.33        130.22                               -5.42




         0.00                  0.00                  0.00          0.00                       0.00 Crew ADR                                      0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                          0 Contract ADR                                     0                  0                        0              0                               0




         0.00                  0.00                  0.00          0.00                       0.00 Group - SMERF ADR                             0.00                0.00                  0.00           0.00                               0.00

        88.00                132.00                -44.00        120.42                     -32.42 Group - Corporate ADR                     116.30                120.66                 -4.36         118.31                              -2.01

            0                      0                    0             0                          0 Group - Government ADR                           0                  0                        0              0                               0

            0                      0                    0             0                          0 Group - Tour ADR                                 0                  0                        0              0                               0

            0                      0                    0             0                          0 Group- Association ADR                           0                  0                        0              0                               0

            0                      0                    0             0                          0 Group - Tax Exampt ADR                           0                  0                        0              0                               0



       88.00                132.00                 -44.00       120.42                     -32.42 Total Group ADR                            116.30               120.66                  -4.36        118.31                               -2.01

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                                                                Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                                For Property: Hampton Inn Stuart (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                       Description         YTD          % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                   Budget                Bud Var         Year                          Var
                                                                                                        Payroll & Related Expense

            0         0.00            0       0.00          0             0         0.00             0 FOM/Guest Service Mgr                            0       0.00           0       0.00             0       31,529         0.97             -31,529

        4,886         3.01       6,189        2.20     -1,303         5,408         1.92          -522 FD/ Guest Service Reps                    38,535         1.97      71,761       2.20      -33,227        67,170         2.07             -28,635

            0         0.00       3,424        1.22     -3,424         2,262         0.80        -2,262 Executive Housekeeper                      6,290         0.32      39,442       1.21      -33,152        36,336         1.12             -30,046

        1,638         1.01       1,031        0.37        607         1,497         0.53          141 Asst Exec Housekeeper/ Inspectress          7,833         0.40      15,991       0.49       -8,158        12,653         0.39               -4,820

        4,816         2.97      12,220        4.34     -7,404        13,032         4.63        -8,216 Housekeepers                              76,168         3.89     141,697       4.34      -65,529       141,539         4.37             -65,371

          542         0.33       2,473        0.88     -1,931         1,805         0.64        -1,263 Housemen                                  10,757         0.55      28,679       0.88      -17,922        22,304         0.69             -11,548

          896         0.55       3,462        1.23     -2,566         1,161         0.41          -265 Laundry                                   16,448         0.84      40,147       1.23      -23,699        28,568         0.88             -12,121

            0         0.00       2,279        0.81     -2,279         2,660         0.95        -2,660 Comp Breakfast Hostess                     5,674         0.29      26,905       0.82      -21,231        26,556         0.82             -20,882

        2,780         1.72       2,604        0.93        176         3,419         1.22          -638 Night Audit                               33,559         1.71      31,836       0.98        1,723        29,104         0.90                  4,455

        1,504         0.93       2,983        1.06     -1,479         3,061         1.09        -1,558 Payroll Taxes                             16,726         0.85      34,193       1.05      -17,467        34,253         1.06             -17,527

         -190        -0.12       1,119        0.40     -1,309           968         0.34        -1,158 Employee Benefits                         11,781         0.60      13,428       0.41       -1,647        10,134         0.31                  1,648

         -941        -0.58        750         0.27     -1,691         2,306         0.82        -3,247 Vacation /PTO                             13,843         0.71       9,000       0.28        4,843         9,917         0.31                  3,926

        1,226         0.76       1,940        0.69       -714         2,183         0.78          -957 Holiday                                    4,981         0.25       6,780       0.21       -1,799         7,143         0.22               -2,162

            0         0.00            0       0.00          0             0         0.00             0 Bonus/Incentive Pay                              0       0.00       4,750       0.15       -4,750         6,316         0.19               -6,316

            0         0.00            0       0.00          0             0         0.00             0 Contract Labor- Housekeepers                     0       0.00           0       0.00             0       10,024         0.31             -10,024



      17,156         10.58     40,474        14.39    -23,317       39,762         14.13      -22,605 Total P/R & R/Benefits- Rooms             242,594        12.38    464,609       14.24    -222,016       473,544         14.61          -230,950

                                                                                                        ROOMS DEPARTMENT
                                                                                                        OPERATING EXPENSE

            0         0.00        169         0.06       -169           343         0.12          -343 Newspapers                                    257        0.01       1,957       0.06       -1,701         2,006         0.06               -1,749

        3,255         2.01      11,252        4.00     -7,997        16,485         5.86       -13,231 Comp Breakfast                            49,653         2.53     130,476       4.00      -80,823       124,022         3.83             -74,369

            0         0.00            0       0.00          0            16         0.01           -16 Comp Breakfast- Equipment                     700        0.04       1,000       0.03         -300         2,993         0.09               -2,292

          639         0.39            0       0.00        639           239         0.09          400 Laundry Supplies                            1,583         0.08           0       0.00        1,583             740       0.02                   843

            0         0.00       1,547        0.55     -1,547         1,527         0.54        -1,527 Linen Supplies                             6,163         0.31      17,940       0.55      -11,777        14,481         0.45               -8,318

        1,820         1.12       1,820        0.65          0         1,500         0.53          320 Cable TV                                   17,552         0.90      21,840       0.67       -4,288        22,385         0.69               -4,833

          361         0.22        370         0.13        -10           361         0.13             0 HSIA Support                               4,229         0.22       4,440       0.14         -211         4,810         0.15                  -582

            0         0.00            0       0.00          0             0         0.00             0 Printing & Stationary                            0       0.00       3,750       0.11       -3,750              66       0.00                    -66

          669         0.41        985         0.35       -316         1,587         0.56          -918 Reservations Expense                      10,791         0.55      11,417       0.35         -626        14,228         0.44               -3,437

        1,108         0.68       2,813        1.00     -1,705         4,226         1.50        -3,118 Guest Room Supplies                       13,192         0.67      32,619       1.00      -19,427        32,633         1.01             -19,442

          298         0.18        788         0.28       -490           986         0.35          -689 Cleaning Supplies                          6,823         0.35       9,133       0.28       -2,311        10,651         0.33               -3,828

          240         0.15        421         0.15       -181           314         0.11           -74 Ecolab Core Supplies                       5,500         0.28       5,438       0.17            62        5,883         0.18                  -383

        3,359         2.07       8,017        2.85     -4,658         5,068         1.80        -1,709 Travel Agents Commission                  59,093         3.02      92,964       2.85      -33,871        86,893         2.68             -27,800

            0         0.00        338         0.12       -338           604         0.21          -604 Uniforms                                      991        0.05       3,914       0.12       -2,924         4,358         0.13               -3,367

            0         0.00            0       0.00          0             0         0.00             0 Walk Expense                                  740        0.04         500       0.02         240              695       0.02                    46

          317         0.20            0       0.00        317             0         0.00          317 COVID 19 Supplies                           3,213         0.16           0       0.00        3,213               0       0.00                  3,213



      12,065          7.44     28,519        10.14    -16,453       33,257         11.82      -21,191 Total Operating - Rooms                   180,478         9.21    337,389       10.34    -156,911       326,843         10.08          -146,365



      29,222         18.03     68,992        24.53    -39,770       73,018         25.96      -43,796 Total Expenses- Rooms                     423,072        21.59    801,998       24.59    -378,927       800,387         24.69          -377,315



     122,852         75.79    252,035        89.60   -129,183      248,002         88.16     -125,150 Net Income- Rooms                       2,014,936       102.84   3,486,665     106.89   -1,471,729     3,425,215       105.64        -1,410,279



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                                                               For Property: Hampton Inn Stuart (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                     Description           YTD          % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                  Budget              Bud Var         Year                          Var
                                                                                                       Food & Beverage
                                                                                                       Summary


            0         0.00            0       0.00         0             0        0.00             0 Total Food Sales                                  0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Beverage Sales                              0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Banquet A/V                                 0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Banquet Misc                                0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Sales                                 0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Food Cost                                         0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Costs                                    0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Banquet A/V Costs                                 0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Costs                                 0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Food Wages                                        0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Wages                                    0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total F & B Wages                                 0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 F & B- P T & E B                                  0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0        0.00             0 TTL P/R and Benefits                              0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0        0.00             0 Food Operating Expenses                           0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Operating Expenses                       0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Operating Expenses                    0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Net F & B Income                                  0       0.00        0       0.00             0              0       0.00                  0




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                                                              Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                              For Property: Hampton Inn Stuart (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                   Description             YTD          % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                 Budget             Bud Var         Year                         Var
                                                                                                      Food Department




            0         0.00            0      0.00         0             0        0.00             0 Total Restaurant                                  0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bar Food                                    0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bistro                                      0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Garden Grill                                0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Other Food Revenue                          0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Room Service                                0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquets                                    0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Catering                                    0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Net Food Revenue                                  0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquets Other                              0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Food Revenues                               0      0.00        0      0.00             0              0      0.00                  0

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                                                              Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                              For Property: Hampton Inn Stuart (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                   Description             YTD          % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                 Budget             Bud Var         Year                         Var
                                                                                                      Cost of Goods Sold

            0         0.00            0      0.00         0             0        0.00             0 Total Cost of Good Sold                           0      0.00        0      0.00             0              0      0.00                  0


                                                                                                      Food Payroll

            0         0.00            0      0.00         0             0        0.00             0 Total Food Wages                                  0      0.00        0      0.00             0              0      0.00                  0


                                                                                                      Operating Expenses



            0         0.00            0      0.00         0             0        0.00             0 Total Operating Expense- Food                     0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Food Costs                                  0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 N.I.- Food Department                             0      0.00        0      0.00             0              0      0.00                  0

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                                                              Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                              For Property: Hampton Inn Stuart (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                 Description               YTD          % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                 Budget             Bud Var         Year                         Var
                                                                                                      Beverage Department




            0         0.00            0      0.00         0             0        0.00             0 Total Restaurant Beverage                         0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Garden Grill Beverage                       0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Room Service Bev                            0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bar Beverage                                0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquet Beverage                            0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Catering Beverage                           0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Beverage Revenue                            0      0.00        0      0.00             0              0      0.00                  0

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                                                               Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                               For Property: Hampton Inn Stuart (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                   Description             YTD          % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                  Budget              Bud Var         Year                          Var
                                                                                                       Cost of Goods Sold



            0         0.00            0       0.00         0             0        0.00             0 Total COGS- Beverage                              0       0.00        0       0.00             0              0       0.00                  0


                                                                                                       Beverage Payroll

            0         0.00            0      0.00          0             0        0.00             0 Total Beverage Payroll                            0      0.00         0      0.00              0              0      0.00                   0


                                                                                                       Operating Expenses- Beverage



            0         0.00            0      0.00          0             0        0.00             0 Total Operating- Beverage                         0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0        0.00             0 Total Beverage Costs                              0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0        0.00             0 Net Income- Beverage                              0      0.00         0      0.00              0              0      0.00                   0

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                                                              Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                              For Property: Hampton Inn Stuart (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                 Description               YTD          % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                 Budget             Bud Var         Year                         Var
                                                                                                      FOOD STATS




            0         0.00            0      0.00         0             0        0.00             0 Total Food Covers                                 0      0.00        0      0.00             0              0      0.00                   0

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                                                                 Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                                 For Property: Hampton Inn Stuart (Capstone)
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR     Budget       % / POR     Act vs     Last Year     % / POR      Act vs LY                   Description             YTD          % / POR      YTD     % / POR     Act vs        YTD Last       % / POR       Act vs LY
                                                      Bud Var                                      Var                                                                  Budget                Bud Var         Year                           Var
                                                                                                         TELECOM
                                                                                                         TELEPHONE REVENUES

             0        0.00            0        0.00         0              0         0.00             0 Local                                            0       0.00         0        0.00             0              0       0.00                      0

             0        0.00            5        0.00         -5             0         0.00             0 Long Distance                                    0       0.00        60        0.00         -60                0       0.00                      0

            84        0.00        141          0.00        -57            74         0.00           10 Internet Access Fees                           950        0.00     1,631        0.00        -681          1,163          0.00                   -213



            84        0.00       146          0.00        -62             74        0.00            10 Total Phone Revenues                           950       0.00     1,691        0.00        -741          1,163          0.00                 -213



                                                                                                         COS- Communication

        1,413         0.91      1,100          0.34       313          1,264         0.39          148 COS-Local                                  16,423         0.66    13,200        0.30       3,223         13,343          0.31               3,080

            65        0.00        120      2,400.00        -55           120         0.00           -55 COS-Long Distance                             776        0.00     1,440    2,400.00        -664          3,538 ########                    -2,762

         -697      -828.85      1,200       853.18      -1,897         1,195     1,609.43        -1,892 COS-HSIA ISP                               8,191       861.85    14,400     882.92       -6,209         15,341      1,318.83               -7,150



         780          0.00      2,420         0.00      -1,640         2,579        0.00        -1,799 Total COS- Comm                            25,389        0.00    29,040        0.00       -3,651        32,222          0.00              -6,832



        -696          0.00     -2,274         0.00      1,578         -2,505        0.00         1,809 Gross Margin- Comm                        -24,439        0.00    -27,349       0.00       2,910         -31,059         0.00                6,619




                                                                                                         Operating Expenses

          200         0.00        100          0.00       100            100         0.00          100 Equipment Cost                              1,090         0.00     1,200        0.00        -110              790       0.00                    300

             0        0.00        200          0.00       -200             0         0.00             0 Equipment Maintenance                            0       0.00      800         0.00        -800              591       0.00                    -591



         200          0.00       300          0.00       -100           100         0.00           100 Total Operating - Comm                      1,090        0.00     2,000        0.00        -910          1,381          0.00                 -291



         896          0.00      2,574         0.00      -1,678         2,605        0.00        -1,709 N.I.- Comm Dept                            25,529        0.00    29,349        0.00       -3,820        32,440          0.00              -6,910



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                                                                Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                                For Property: Hampton Inn Stuart (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                    Description           YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                        MISCELLANEOUS DEPARTMENT
                                                                                                        MISCELLANEOUS REVENUES

             0        0.00         75         2.31        -75             0          0.00            0 Laundry/Valet                                    47       0.14     1,000       2.61        -953              688       1.69                   -641

             0        0.00            0       0.00          0         2,434         67.27       -2,434 Gift Shop Sales                                   0       0.00        0        0.00             0       26,006        63.78            -26,006

            84        5.56        300         9.23       -216           252          6.97         -168 Vending                                    1,619          4.94     3,700       9.66      -2,081          3,253         7.98               -1,634

             0        0.00            0       0.00          0             0          0.00            0 Pet Fees                                         75       0.23        0        0.00            75            266       0.65                   -191

             0        0.00            0       0.00          0             0          0.00            0 Miscellaneous                                     1       0.00        0        0.00             1             26       0.06                    -25

             0        0.00        550        16.92       -550           872         24.11         -872 Late Cancellation Income                  11,688         35.68     6,600      17.23       5,088          9,353        22.94               2,335

             0        0.00         75         2.31        -75             0          0.00            0 Smoking Fee                                2,691          8.21      900        2.35       1,791              525       1.29               2,166

            60        3.97            0       0.00        60             60          1.66            0 Tax Discounts Earned                          390         1.19        0        0.00        390               660       1.62                   -270

        1,366        90.46      2,250        69.23       -885             0          0.00        1,366 Market Sales                              16,249         49.60    26,095      68.14      -9,846                0       0.00             16,249



       1,510       100.00       3,250       100.00     -1,741         3,618        100.00       -2,108 Total Miscellaneous Revenues              32,760        100.00   38,295      100.00      -5,536        40,777        100.00             -8,017



                                                                                                        COSales- Miscellaneous

             0        0.00         71        95.00        -71             0          0.00            0 COS-Laundry/Valet                                 0       0.00      950       95.00        -950              500      72.62                   -500

             0        0.00            0       0.00          0         1,856         76.27       -1,856 COS-Gift Shop                                 583         0.00        0        0.00        583          14,377        55.28            -13,794

          894        65.44      1,125        50.00       -232             0          0.00          894 COS- Market                                6,724         41.38    13,048      50.00      -6,324                0       0.00               6,724



         894         59.20      1,196        36.81      -303          1,856         51.31        -963 Total COS- Miscellaneous                    7,306         22.30   13,998       36.55      -6,691        14,876         36.48             -7,570



          950       100.00      1,300       100.00       -350         1,900        100.00         -950 Banquet Room Rental                        6,025        100.00    15,600     100.00      -9,575         14,974       100.00               -8,949

         950       100.00       1,300       100.00      -350          1,900        100.00        -950 Total Meeting Room Revenues                 6,025        100.00   15,600      100.00      -9,575        14,974        100.00             -8,949


                                                                                                        Cost of Sales- Meeting Room



       1,566       103.73       3,354       103.19     -1,788         3,662        101.21       -2,096 Total Miscellaneous Profit                31,478         96.09   39,898      104.18      -8,419        40,874        100.24             -9,396

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 190 of 541
                                                                Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                                For Property: Hampton Inn Stuart (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description          YTD         % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                 Budget               Bud Var       Year                          Var
                                                                                                        ADMIN & GENERAL DEPARTMENT
                                                                                                        ADMIN & GENERAL

                                                                                                        P/R & Related Benefits- A&G

        4,351         2.82      5,586         1.72     -1,235         4,140        1.27           211 General Manager                            56,064        2.26    64,357       1.48      -8,293       59,772         1.40               -3,708

             0        0.00      3,674         1.13     -3,674         2,862        0.88         -2,862 Assistant General Manager                 31,957        1.29    43,379       1.00     -11,422        7,592         0.18             24,365

          440         0.28        834         0.26       -394           391        0.12             49 Payroll Taxes                              7,594        0.31     9,736       0.22      -2,142        6,299         0.15               1,295

          667         0.43      1,125         0.35       -458           298        0.09           369 Employee Benefits                           5,694        0.23    13,500       0.31      -7,806        5,940         0.14                   -246

         -356        -0.23            0       0.00       -356           653        0.20         -1,009 Vacation /PTO                             12,309        0.50         0       0.00      12,309        1,130         0.03             11,180

          491         0.32            0       0.00       491            814        0.25           -323 Holiday                                    2,326        0.09         0       0.00       2,326        1,937         0.05                   389

             0        0.00      1,292         0.40     -1,292           250        0.08           -250 Bonus/Incentive Pay                        4,350        0.18    15,500       0.36     -11,150       13,102         0.31               -8,751



       5,593          3.62     12,510        3.84      -6,918         9,408        2.88        -3,816 Total P/R & R/B- A&G                      120,295        4.86   146,472      3.37      -26,177      95,772         2.24              24,523


                                                                                                        Operating Expenses- A&G

          774         0.50      1,875         0.58     -1,101         2,017        0.62         -1,243 Employee Relations                         3,570        0.14     7,175       0.17      -3,605        7,800         0.18               -4,230

        4,000         2.59      2,000         0.61      2,000         2,000        0.61          2,000 Accounting Fees                           26,000        1.05    24,000       0.55       2,000       24,000         0.56               2,000

        1,428         0.92      1,517         0.47        -89         1,280        0.39           147 Data Processing                            17,052        0.69    18,200       0.42      -1,148       18,953         0.44               -1,901

          133         0.09        281         0.09       -148          -210        -0.06          343 Office Supplies                             1,744        0.07     3,262       0.08      -1,518        3,552         0.08               -1,809

            44        0.03         45         0.01         -1            45        0.01             -1 Muzak                                         462       0.02       540       0.01         -78            569       0.01                   -107

             0        0.00        300         0.09       -300           512        0.16           -512 Travel & Lodging                              935       0.04     6,800       0.16      -5,865        5,449         0.13               -4,514

             0        0.00         75         0.02        -75             0        0.00              0 Telephone                                     112       0.00       900       0.02        -788            200       0.00                    -88

             0        0.00            0       0.00          0             0        0.00              0 Licenses and Permits                       2,136        0.09     1,730       0.04        406         1,948         0.05                   187

            68        0.04         84         0.03        -17           137        0.04            -70 Postage                                       562       0.02       979       0.02        -416        1,233         0.03                   -671

             0        0.00         50         0.02        -50             0        0.00              0 Recruitment                                   729       0.03     1,300       0.03        -571        1,229         0.03                   -500

             0        0.00        125         0.04       -125           460        0.14           -460 Employment Screening/ Drug Testing            491       0.02     1,500       0.03      -1,009        1,750         0.04               -1,259

             0        0.00            0       0.00          0           327        0.10           -327 Training                                      570       0.02         0       0.00        570         1,426         0.03                   -856

          390         0.25        253         0.08       137            150        0.05           240 Dues/Subscriptions                          1,819        0.07     2,936       0.07      -1,117        3,622         0.08               -1,804

        4,002         2.59      8,436         2.59     -4,434         8,608        2.64         -4,606 Credit Card Commissions                   69,660        2.81   112,516       2.59     -42,856      112,464         2.63            -42,804

            11        0.01            0       0.00         11        -1,245        -0.38         1,255 Cash Over/Short                            2,861        0.12         0       0.00       2,861        1,368         0.03               1,493

             0        0.00         28         0.01        -28            27        0.01            -27 Equipment Rental                              265       0.01       336       0.01         -71             27       0.00                   238

          351         0.23        350         0.11          1           647        0.20           -296 Payroll Services                           5,298        0.21     4,550       0.10        748         7,729         0.18               -2,431

          692         0.45      1,017         0.31       -325         1,012        0.31           -320 Bank Charges                              11,112        0.45    12,204       0.28      -1,092       12,101         0.28                   -989

        1,013         0.66            0       0.00      1,013             0        0.00          1,013 Chargebacks                                2,563        0.10         0       0.00       2,563        5,210         0.12               -2,647

        1,508         0.98      1,391         0.43       117          2,090        0.64           -582 Workers Comp Insurance                    12,780        0.52    18,190       0.42      -5,410       17,864         0.42               -5,084



      14,413          9.33     17,828        5.48      -3,415       17,857         5.47        -3,445 Total Operating- A&G                      160,720        6.49   217,117      5.00      -56,397     228,495         5.34             -67,775



      20,005         12.95     30,338        9.32     -10,333       27,266         8.35        -7,261 Total Expenses- A&G                       281,015       11.35   363,589      8.37      -82,573     324,267         7.57             -43,251

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                                                                Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                                For Property: Hampton Inn Stuart (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description          YTD           % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                   Budget               Bud Var       Year                          Var
                                                                                                        SALES DEPARTMENT
                                                                                                        SALES

                                                                                                        P/R & R/B

        3,664         2.37      4,174         1.28       -510         3,463        1.06           201 Sales Manager                              47,977          1.94    50,088       1.15      -2,111       45,503         1.06               2,474

          498         0.32      1,242         0.38       -744           870        0.27           -372 Revenue Management                         7,594          0.31    14,899       0.34      -7,305       10,845         0.25               -3,252

            0         0.00        172         0.05       -172             0        0.00              0 E Commerce Management                         516         0.02     2,066       0.05      -1,549              0       0.00                   516

          361         0.23        398         0.12        -37           230        0.07           131 Payroll Taxes                               3,815          0.15     4,852       0.11      -1,037        4,198         0.10                   -383

        1,096         0.71        608         0.19       488            501        0.15           595 Employee Benefits                          10,398          0.42     7,296       0.17       3,102        6,882         0.16               3,516

       -1,088        -0.70            0       0.00     -1,088           604        0.19         -1,692 Vacation / PTO                             4,965          0.20         0       0.00       4,965        1,928         0.05               3,038

          415         0.27            0       0.00       415            415        0.13              0 Holiday                                    1,419          0.06         0       0.00       1,419        1,339         0.03                    80

            0         0.00        626         0.19       -626             0        0.00              0 Bonus/Incentive Pay                        2,361          0.10     8,757       0.20      -6,396        7,288         0.17               -4,927



       4,946          3.20      7,220        2.22      -2,273         6,084        1.86        -1,138 Total P/R & R/B- Sales                     79,045         3.19     87,958      2.03       -8,912      77,983         1.82                1,062


                                                                                                        Operating Expenses- Sales

            0         0.00         25         0.01        -25             0        0.00              0 Printing & Stationary                             0       0.00       100       0.00        -100             25       0.00                    -25

            0         0.00         25         0.01        -25          -114        -0.03          114 Office Supplies                                 -78        0.00       100       0.00        -178            469       0.01                   -547

            0         0.00        100         0.03       -100           135        0.04           -135 Travel & Lodging                              210         0.01     3,000       0.07      -2,791        2,094         0.05               -1,884

            0         0.00         40         0.01        -40             0        0.00              0 Meals & Entertainment                         100         0.00       480       0.01        -380            493       0.01                   -393

            0         0.00        300         0.09       -300           425        0.13           -425 Promotions                                    146         0.01     2,715       0.06      -2,569        1,311         0.03               -1,165

            0         0.00         50         0.02        -50            50        0.02            -50 Telephone                                     100         0.00       600       0.01        -500            450       0.01                   -350

            0         0.00            0       0.00          0             0        0.00              0 Sales Training                                   37       0.00       250       0.01        -213             50       0.00                    -13

          132         0.09            0       0.00       132              0        0.00           132 Dues & Subscriptions                        4,833          0.20     7,799       0.18      -2,966        4,427         0.10                   406

            0         0.00            0       0.00          0           496        0.15           -496 Trade Show                                    -248       -0.01         0       0.00        -248            517       0.01                   -765

            0         0.00            0       0.00          0             0        0.00              0 Display Advertising                               0       0.00       127       0.00        -127              0       0.00                     0

            0         0.00        250         0.08       -250           200        0.06           -200 e Commerce Costs                                  0       0.00     3,000       0.07      -3,000        2,785         0.07               -2,785

          736         0.48      1,575         0.48       -839         1,200        0.37           -464 Brand Paid Search                         10,335          0.42    18,267       0.42      -7,932       16,180         0.38               -5,845

            0         0.00        150         0.05       -150             0        0.00              0 Internet Advertising                              0       0.00     1,800       0.04      -1,800            803       0.02                   -803

            0         0.00            0       0.00          0             0        0.00              0 Collateral                                        0       0.00       300       0.01        -300              0       0.00                     0



         868          0.56      2,515        0.77      -1,647         2,392        0.73        -1,524 Total Operating- Sales                     15,434         0.62     38,538      0.89      -23,104      29,602         0.69             -14,168



       5,814          3.76      9,735        2.99      -3,921         8,476        2.60        -2,661 Total Expenses-Sales                       94,479         3.81    126,495      2.91      -32,016     107,584         2.51             -13,105

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                                                                Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                                For Property: Hampton Inn Stuart (Capstone)
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   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                       Description            YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                        MAINTENANCE DEPARTMENT
                                                                                                        REPAIRS & MAINTENANCE
                                                                                                        P/R & Related Expenses- Maintenance

        3,536         2.18      3,879         1.38       -343         2,957        1.05           580 Chief Engineer                               33,041         1.69    45,356       1.39     -12,315         38,899         1.20               -5,858

        1,841         1.14      2,094         0.74       -253         1,720        0.61           121 General Maintenance                          20,113         1.03    24,725       0.76      -4,612         21,269         0.66               -1,156

          438         0.27        436         0.16          2           429        0.15              9 Payroll Taxes                                4,119         0.21     5,171       0.16      -1,051          4,637         0.14                   -517

        1,292         0.80      1,061         0.38       231            743        0.26           549 Employee Benefits                            10,737         0.55    12,732       0.39      -1,995         12,048         0.37               -1,311

          523         0.32            0       0.00       523            523        0.19              0 Holiday                                      1,500         0.08         0       0.00       1,500          1,669         0.05                   -169

       -1,746        -1.08            0       0.00     -1,746           368        0.13         -2,114 Vacation /PTO                                1,998         0.10         0       0.00       1,998          3,017         0.09               -1,019

             0        0.00            0       0.00          0             0        0.00              0 Bonus/Incentive Pay                                0       0.00       750       0.02        -750                0       0.00                     0



       5,884          3.63      7,470        2.66      -1,586         6,740        2.40          -856 Total P/R & Related Expenses- Maintenance    71,508        3.65     88,734      2.72      -17,225        81,538         2.51             -10,030


                                                                                                        Operating Expenses- R & M

          114         0.07        253         0.09       -139             0        0.00           114 Laundry Equipment                             1,204         0.06     2,936       0.09      -1,732          2,269         0.07               -1,066

            23        0.01        281         0.10       -259         1,535        0.55         -1,513 Building Maintenance                         1,468         0.07     3,262       0.10      -1,794          4,772         0.15               -3,304

             0        0.00            0       0.00          0            18        0.01            -18 Office Equipment                                  88       0.00         0       0.00            88            527       0.02                   -439

            10        0.01        225         0.08       -215            13        0.00             -2 Light Bulbs                                      845       0.04     2,610       0.08      -1,765          2,195         0.07               -1,350

          117         0.07        309         0.11       -193            89        0.03             28 Electrical & Mechanical                      6,903         0.35     3,588       0.11       3,315          3,469         0.11               3,434

             0        0.00        844         0.30       -844           246        0.09           -246 HVAC                                         7,386         0.38     9,786       0.30      -2,400          8,955         0.28               -1,570

          359         0.22        357         0.13          2           402        0.14            -44 Plumbing & Boiler                            7,803         0.40     8,657       0.27        -854          5,347         0.16               2,456

            85        0.05        550         0.20       -465           535        0.19           -450 Pool                                         1,843         0.09     6,600       0.20      -4,757         11,054         0.34               -9,211

        1,367         0.84      1,850         0.66       -483         1,146        0.41           221 Grounds & Landscaping                        12,804         0.65    22,200       0.68      -9,396         26,992         0.83            -14,188

             0        0.00         28         0.01        -28             0        0.00              0 Signage                                           12       0.00       326       0.01        -314              200       0.01                   -188

             0        0.00        253         0.09       -253         1,168        0.42         -1,168 Furniture & Fixtures                         1,701         0.09     2,936       0.09      -1,235          4,778         0.15               -3,078

             0        0.00         84         0.03        -84           -50        -0.02            50 Painting                                         830       0.04       979       0.03        -149          1,092         0.03                   -262

             0        0.00      1,800         0.64     -1,800           556        0.20           -556 Carpet & Floor                                    30       0.00     4,600       0.14      -4,570          6,682         0.21               -6,652

             0        0.00         56         0.02        -56             0        0.00              0 Window Treatments                                  0       0.00       652       0.02        -652                0       0.00                     0

             0        0.00         56         0.02        -56             0        0.00              0 Telephone                                        200       0.01       652       0.02        -453                0       0.00                   200

             0        0.00            0       0.00          0             0        0.00              0 Kitchen Equipment                                  0       0.00       100       0.00        -100                0       0.00                     0

             0        0.00        169         0.06       -169           357        0.13           -357 Locks & Keys                                     365       0.02     1,957       0.06      -1,593          2,085         0.06               -1,720

             0        0.00         28         0.01        -28             0        0.00              0 Radio & TV                                         0       0.00       326       0.01        -326              538       0.02                   -538

             0        0.00        265         0.09       -265           197        0.07           -197 Exterminating                                1,418         0.07     3,180       0.10      -1,762          3,345         0.10               -1,927

             0        0.00            0       0.00          0             0        0.00              0 License & Permits                                 10       0.00         0       0.00            10            500       0.02                   -490

             0        0.00        100         0.04       -100           148        0.05           -148 Maintenance Contracts                        1,330         0.07     1,200       0.04         130          1,418         0.04                    -88

             0        0.00            0       0.00          0             0        0.00              0 Equipment Rental                                  30       0.00         0       0.00            30              0       0.00                    30

          300         0.19        400         0.14       -100           300        0.11              0 Fire & Safety                                4,606         0.24     6,000       0.18      -1,394          5,028         0.16                   -422

             0        0.00      1,116         0.40     -1,116             0        0.00              0 Elevator                                     4,428         0.23     5,359       0.16        -931          5,243         0.16                   -815



       2,374          1.46      9,025        3.21      -6,651         6,661        2.37        -4,287 Total Operating - R & M                      55,301        2.82     87,906      2.69      -32,605        96,491         2.98             -41,189



       8,258          5.09     16,495        5.86      -8,237       13,401         4.76        -5,142 Total Expenses- R & M                       126,810        6.47    176,640      5.42      -49,830       178,029         5.49             -51,219

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                                                              Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
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                                                   Bud Var                                      Var                                                                Budget               Bud Var       Year                        Var
                                                                                                      UTILITIES DEPARTMENT
                                                                                                      UTILITIES EXPENSE

        3,899         2.41      5,325       1.89     -1,426         6,345        2.26         -2,446 Electricity                               64,703       3.30    86,241       2.64     -21,538       80,508       2.48            -15,805

        1,395         0.86      1,151       0.41       244          1,127        0.40            267 Gas                                       10,083       0.51    12,563       0.39      -2,480       13,106       0.40               -3,023

        2,941         1.81      2,434       0.87       507          3,387        1.20           -446 Water & Sewer                             25,602       1.31    28,322       0.87      -2,720       31,094       0.96               -5,492

            93        0.06        660       0.23       -567           822        0.29           -729 Waste Removal                              7,437       0.38     7,920       0.24        -483        8,335       0.26                   -898



       8,327          5.14      9,570      3.40      -1,243       11,681         4.15        -3,353 Total Expenses- Utilities                 107,826      5.50    135,046      4.14      -27,220     133,043       4.10             -25,217

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                                                                Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                                For Property: Hampton Inn Stuart (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                       Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                        FRANCHISE DEPARTMENT
                                                                                                        FRANCHISE FEES

        9,124         6.00      19,295        6.01    -10,170        19,454         6.06       -10,330 Franchise Fees/ Royalties                153,872         6.31   257,716       6.01    -103,844        253,904         6.01           -100,032

        6,548         4.31      12,863        4.01     -6,315        13,303         4.14        -6,755 Advertising                              103,584         4.25   171,811       4.01     -68,227        169,322         4.01            -65,738

            0         0.00            0       0.00          0           691         0.22          -691 Reservations                                     0       0.00         0       0.00             0            691       0.02                   -691

        3,049         2.00      12,715        3.96     -9,666        17,035         5.31       -13,986 Frequent Traveler                         80,551         3.30   147,438       3.44     -66,887        150,014         3.55            -69,464

          100         0.07        100         0.03          0           200         0.06          -100 Brand Guest Fees                              690        0.03     1,200       0.03        -510              890       0.02                   -200



      18,821         12.38     44,972        14.01    -26,151       50,683         15.79      -31,862 Total Franchise Fees Expense              338,697        13.89   578,164      13.48    -239,467       574,822         13.60          -236,125

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                                                                Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                                For Property: Hampton Inn Stuart (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                  Description              YTD        % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                Budget               Bud Var       Year                          Var
                                                                                                        MANAGEMENT FEES
        3,863         2.50      8,143         2.50     -4,280         8,163        2.50         -4,300 Management Fees                           61,921       2.50   108,606       2.50     -46,685      107,024         2.50            -45,103

       11,008         7.12            0       0.00     11,008             0        0.00         11,008 Management Fees- Owner                    26,222       1.06         0       0.00      26,222              0       0.00             26,222



      14,871          9.62      8,143        2.50      6,728          8,163        2.50         6,708 Total Management Fees Expense              88,143      3.56    108,606      2.50      -20,463     107,024         2.50             -18,881



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                                                               Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                               For Property: Hampton Inn Stuart (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget      % / POR    Act vs     Last Year     % / POR       Act vs LY                    Description           YTD        % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                    Bud Var                                      Var                                                                Budget               Bud Var         Year                          Var
                                                                                                       FIXED EXPENSES
       26,198        16.95      26,198       8.05         0         24,815          7.60        1,384 Ground Lease                             309,469      12.49   308,067       7.09       1,402        299,822         7.00               9,647

       12,355         8.00      13,593       4.18     -1,238      -150,009        -45.94      162,364 FF & E Reserve                           148,263       5.99   163,116       3.76     -14,853                0       0.00            148,263

       14,649         9.48      14,649       4.50         0         12,800          3.92        1,849 Real Estate Tax                          175,791       7.10   175,791       4.05             0      161,167         3.76             14,624

          804         0.52        804        0.25         0              0          0.00          804 Personal Property Tax                      9,866       0.40     9,647       0.22        219           6,550         0.15               3,315

        5,349         3.46       4,129       1.27      1,220         4,111          1.26        1,238 Insurance                                 55,495       2.24    51,310       1.18       4,185         51,329         1.20               4,166



      59,356         38.41     59,373       18.24       -18       -108,284        -33.16     167,639 TOTAL FIXED EXPENSES                      698,884      28.22   707,931      16.30      -9,047       518,868         12.12           180,015

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                                                                Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                                For Property: Hampton Inn Stuart (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description          YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                        TOTAL OTHER
            48        0.03            0       0.00        48            383         0.12          -334 Owners Expense                            22,027         0.89         0       0.00      22,027         22,162         0.52                   -135

       45,395        29.38            0       0.00     45,395        -7,622         -2.33       53,017 Depreciation                             544,740        21.99         0       0.00     544,740        491,723        11.49             53,017

        3,620         2.34            0       0.00      3,620         3,624         1.11            -4 Amortization Expense                      43,440         1.75         0       0.00      43,440         43,444         1.01                     -4

       37,470        24.25      37,470       11.51         0         37,471        11.48            -1 Interest Expense                         449,088        18.13   449,642      10.35        -554        452,606        10.57               -3,518

       14,647         9.48       3,257        1.00     11,390         3,265         1.00        11,382 Asset Management Fee                      24,768         1.00    43,443       1.00     -18,675         42,813         1.00            -18,045

             0        0.00            0       0.00         0              0         0.00             0 Non Operating Income                          -87        0.00         0       0.00         -87                0       0.00                    -87

             0        0.00            0       0.00         0         24,738         7.58       -24,738 Uninsured Loss                                   0       0.00         0       0.00             0       24,738         0.58            -24,738

             0        0.00            0       0.00         0        -36,819        -11.28       36,819 Extraordinary Expenses                    14,815         0.60         0       0.00      14,815                0       0.00             14,815

             0        0.00            0       0.00         0            -75         -0.02           75 GB 1 YE AJE                                      0       0.00         0       0.00             0            557       0.01                   -557

             0        0.00            0       0.00         0         36,407        11.15       -36,407 GB- 2 R&M/Capex AJE                              0       0.00         0       0.00             0       36,407         0.85            -36,407

        1,572                         0                 1,572             0                      1,572 Ground Lease Tax                          15,340                      0                 15,340                0                        15,340

             0        0.00            0       0.00         0              0         0.00             0 Metro & County Business Tax                      0       0.00         0       0.00             0             26       0.00                    -26



     102,752         66.49     40,727        12.51    62,025        61,371         18.79       41,381 Total Other                             1,114,132        44.98   493,084      11.35    621,047       1,114,476        26.03                -345

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                                                               Company: 1150 NW Federal-Stuart dba HI Stuart Property: Hampton Inn Stuart (Capstone)
                                                               For Property: Hampton Inn Stuart (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                  Description              YTD          % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                  Budget              Bud Var         Year                          Var
                                                                                                       House Laundry Dept




            0         0.00            0      0.00          0             0        0.00             0 Total P/R & Benefits- Ldy                         0      0.00         0      0.00              0              0      0.00                    0


                                                                                                       Operating Expenses




            0         0.00            0      0.00          0             0        0.00             0 Total Operating Expenses- Ldy                     0      0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0        0.00             0 Total Laundry Expenses                            0       0.00        0       0.00             0              0       0.00                   0



                                                                                                       Allocation




            0         0.00            0      0.00          0             0        0.00             0 Total Allocation                                  0      0.00         0      0.00              0              0      0.00                    0



            0                         0                    0             0                         0 Total Lndry Dept                                  0                   0                        0              0                              0



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                                                                         Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                         For Property: HWS Phoenix
                                                                         00- Master P&L-CAPSTONE
                                                                         As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                     Description         YTD            % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                        Var                                                                 Budget                Bud Var         Year                       Var
                                                                                                      SUMMARY

    3,906                    3,906                      0        3,906                            0 Total Rooms Available                      46,116                 46,116                        0       45,990                           126

    1,480                    3,213                 -1,733        2,976                        -1,496 Total Rooms Sold                          22,630                 38,544                 -15,914        37,163                     -14,533

 37.89%                   82.26%                 -44.37%      76.19%                        -38.30% Occupancy %                           49.07%                    83.58%                  -34.51%        80.81%                     -31.73%

   93.20                    90.89                    2.31       91.90                          1.30 Average Rate                           108.63                    101.23                    7.40         100.63                          8.00

   35.31                    74.76                  -39.45       70.02                         -34.70 REVPAR                                    53.31                  84.61                   -31.30         81.32                      -28.01




                                                                                                      REVENUES

  137,938        96.42     292,021       97.81   -154,083      273,490         98.28        -135,552 ROOMS                               2,458,287         97.39   3,901,895      98.03   -1,443,608      3,739,788       97.85      -1,281,501

         0        0.00            0       0.00          0           0           0.00              0 FOOD                                           0        0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0           0           0.00              0 BEVERAGE                                       0        0.00           0       0.00             0              0       0.00                0

    5,116         3.58       6,530        2.19     -1,414        4,794          1.72            322 MISCELLANEOUS                              66,005       2.61      78,348       1.97      -12,344        82,036         2.15        -16,031



 143,054       100.00     298,551       100.00   -155,497     278,284        100.00         -135,230 TOTAL REVENUES                     2,524,291         100.00   3,980,243     100.00   -1,455,952     3,821,823       100.00     -1,297,532




                                                                                                      DEPARTMENT EXPENSES

   38,354        27.81      96,661       33.10    -58,307       91,605         33.50         -53,251 ROOMS EXPENSE                         545,362         22.18   1,142,639      29.28     -597,276      1,028,673       27.51       -483,310

         0        0.00            0       0.00          0           0           0.00              0 FOOD EXPENSE                                   0        0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0           0           0.00              0 BEVERAGE EXPENSE                               0        0.00           0       0.00             0              0       0.00                0

    1,200        23.47       1,554       23.81       -354        2,169         45.25            -969 MISCELLANEOUS EXPENSE                     13,666      20.70      18,648      23.80       -4,982        26,545        32.36        -12,879



  39,554        27.65      98,215        32.90    -58,661      93,775         33.70          -54,220 TOTAL DEPARTMENTAL EXPENSES          559,028          22.15   1,161,287      29.18    -602,259      1,055,217        27.61       -496,189



                                                                                                      DEPARTMENTAL PROFIT

   99,584        72.19     195,360       66.90    -95,776      181,884         66.50         -82,300 ROOMS PROFIT                        1,912,925         77.82   2,759,256      70.72     -846,331      2,711,115       72.49       -798,190

         0        0.00            0       0.00          0           0           0.00              0 FOOD PROFIT                                    0        0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0           0           0.00              0 BEVERAGE PROFIT                                0        0.00           0       0.00             0              0       0.00                0

    3,915        76.53       4,975       76.19     -1,060        2,625         54.75           1,291 MISCELLANEOUS PROFIT                      52,338      79.30      59,700      76.20       -7,362        55,491        67.64            -3,152



 103,499        72.35     200,336        67.10    -96,836     184,509         66.30          -81,010 TOTAL DEPARTMENTAL PROFIT          1,965,263          77.85   2,818,956      70.82    -853,693      2,766,606        72.39       -801,343



   30,649        21.43      29,210        9.78      1,440       42,383         15.23         -11,733 A & G EXPENSE                         315,589         12.50     355,630       8.93      -40,041       380,343         9.95        -64,755

    2,034         1.42       1,949        0.65         85        2,401          0.86            -367 TELECOM                                   24,866       0.99      23,388       0.59        1,478        24,279         0.64              587

    9,168         6.41       9,270        3.11       -102       14,570          5.24          -5,402 SALES & MARKETING EXPENSES            112,548          4.46     120,979       3.04       -8,432       102,488         2.68         10,060

   15,882        11.10      33,697       11.29    -17,815       26,756          9.61         -10,874 FRANCHISE FEES                        283,394         11.23     450,212      11.31     -166,819       436,046        11.41       -152,652

    9,963         6.96      14,573        4.88     -4,610       17,013          6.11          -7,050 MAINTENANCE EXPENSES                      96,235       3.81     184,422       4.63      -88,187       199,491         5.22       -103,256

   13,350         9.33      14,630        4.90     -1,280       15,701          5.64          -2,351 UTILITIES EXPENSE                     196,367          7.78     226,635       5.69      -30,268       216,263         5.66        -19,897



  81,045        56.65     103,329        34.61    -22,284     118,823         42.70          -37,778 TOTAL ADMIN EXPENSES               1,028,999          40.76   1,361,267      34.20    -332,269      1,358,911        35.56       -329,913



  22,454        15.70      97,007        32.49    -74,553      65,686         23.60          -43,231 HOUSE PROFIT                         936,265          37.09   1,457,689      36.62    -521,424      1,407,694        36.83       -471,430



                                                                                                      FIXED EXPENSES

   14,580        10.19       7,470        2.50      7,110        6,957          2.50           7,623 MANAGEMENT FEES                           89,351       3.54      99,579       2.50      -10,228        95,573         2.50            -6,222

   43,918        30.70      47,281       15.84     -3,364      -82,318        -29.58         126,235 FIXED EXPENSES                        517,613         20.51     565,613      14.21      -48,001       396,555        10.38        121,057
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     -36,043        -25.20   42,256   14.15    -78,299   141,046   50.68   -177,090 NET OPERATING INCOME                    329,301    13.05    792,497   19.91   -463,196   915,566   23.96          -586,265



       91,811        64.18   35,486   11.89     56,325    80,630   28.97     11,181 Other                                    941,898    37.31   429,812   10.80    512,086   950,468   24.87              -8,570



    -127,855        -89.38    6,770    2.27   -134,624    60,416   21.71   -188,270 N.I. after Other                        -612,597   -24.27   362,685    9.11   -975,282   -34,901   -0.91          -577,696



     -86,069                  6,770            -92,838    96,427           -182,495 Cash before Depreciation/Amortization   -111,165            362,685           -473,850   460,756                  -571,921

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                                                                          Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                          For Property: HWS Phoenix
                                                                          00- Master P&L-CAPSTONE
                                                                          As of 12/31/2020

Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                        Description       YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                  Bud Var                                        Var                                                                 Budget                Bud Var         Year                       Var
                                                                                                       ROOMS DEPARTMENT
                                                                                                       ROOMS REVENUE

   32,416         23.50     118,524       40.59    -86,108       90,816         33.21         -58,400 Rack/ Premium                          718,662        29.23   1,320,666      33.85     -602,004      1,280,249       34.23       -561,587

   48,355         35.06      14,779        5.06     33,576       50,592         18.50          -2,237 Corporate                              615,509        25.04     327,876       8.40      287,633       451,966        12.09        163,543

   55,106         39.95     102,813       35.21    -47,707       66,389         24.27         -11,282 Discounts - Other                      711,550        28.94     977,978      25.06     -266,428      1,047,786       28.02       -336,236

          0        0.00            0       0.00          0       25,112          9.18         -25,112 Government                             102,293         4.16     278,536       7.14     -176,243       279,100         7.46       -176,808

     897           0.65      48,194       16.50    -47,297        1,342          0.49            -445 Locally Negotiated Rate                   23,815       0.97     661,336      16.95     -637,521       272,548         7.29       -248,733

     -577         -0.42            0       0.00       -577       -1,479         -0.54             902 Allowances                                -5,694      -0.23           0       0.00       -5,694        -15,491       -0.41            9,797



 136,197         98.74     284,310        97.36   -148,113     232,772         85.11          -96,575 Total Transient Revenue              2,166,134        88.12   3,566,392      91.40   -1,400,257     3,316,158        88.67     -1,150,024



          0        0.00            0       0.00          0       21,870          8.00         -21,870 Crew (Air)                             125,270         5.10       1,505       0.04      123,765       145,598         3.89        -20,328



          0        0.00            0       0.00          0       21,870          8.00         -21,870 Total Base Revenues                    125,270         5.10       1,505       0.04      123,765       145,598         3.89        -20,328



    1,008          0.73       7,711        2.64     -6,703       14,764          5.40         -13,756 Group- Corporate                       153,564         6.25     333,997       8.56     -180,433       243,336         6.51        -89,772



   1,008          0.73       7,711         2.64     -6,703      14,764           5.40         -13,756 Total Group Revenue                   153,564          6.25    333,997        8.56    -180,433       243,336          6.51        -89,772



     733           0.53            0       0.00        733        4,084          1.49          -3,351 Guaranteed No-Show                        13,318       0.54           0       0.00       13,318        34,695         0.93        -21,377



 137,938        100.00     292,021       100.00   -154,083     273,490        100.00         -135,552 Total Rooms Revenue                  2,458,287       100.00   3,901,895     100.00   -1,443,608     3,739,788       100.00     -1,281,501



                                                                                                       ROOM STATISTICS

     284            19         996           31       -712         871             29            -587 Rack/ Premium Rooms                        5,926         26      10,511         27       -4,585        10,295           28            -4,369

     499            34         161            5        338         578             19             -79 Corporate Rooms                            5,201         23       2,813          7        2,388         4,197           11            1,004

     672            45        1,285          40       -613         821             28            -149 Discounts - Other Rooms                    7,686         34       9,738         25       -2,052        10,579           28            -2,893

          0          0             0          0          0         172              6            -172 Government Rooms                            713           3       2,152          6       -1,439         2,053            6            -1,340

         13          1         643           20       -630          17              1              -4 Locally Negotiated Corporate Rooms          302           1      10,042         26       -9,740         5,036           14            -4,734



   1,468            99       3,084          96      -1,616       2,459            83             -991 Total Transient Stats                  19,828           88      35,256         91      -15,428         32,160          87         -12,332



          0          0             0          0          0         416             14            -416 Crew (Air) Stats                           1,740          8          26          0        1,714         2,790            8            -1,050



          0          0             0         0          0          416            14             -416 Total Crew Stats                          1,740          8          26          0        1,714          2,790           8          -1,050



         12          1         129            4       -117         101              3             -89 Group- Corporate Rooms                     1,062          5       3,261          8       -2,199         2,213            6            -1,151



         12          1         129           4       -117          101             3              -89 Total Group Stats                         1,062          5       3,261          8        -2,199         2,213           6          -1,151



   1,480           100       3,213         100      -1,733       2,976           100           -1,496 TOTAL ROOM STATISTICS                  22,630          100      38,544        100      -15,914         37,163         100         -14,533



                                                                                                       Other Room Stats

         14          1             0          0         14           7              0               7 Comp Rooms                                   72           0           0          0            72            78           0                -6

          2          0             0          0          2           0              0               2 House Use Rooms                               2           0           0          0             2              0          0                2

     868            59             0          0        868        1,205            40            -337 Multiple Occupancy                        10,947         48           0          0       10,947        12,496           34            -1,549

          0          0             0          0          0           0              0               0 GNS Stats                                     0           0           0          0             0              2          0                -2

     633            43             0          0        633         179              6             454 Out of Order Rooms                        11,684         52           0          0       11,684         1,453            4         10,231
                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 202 of 541
        2,824             191   0   0   2,824   4,823   162   -1,999 # of Guests     39,576   175   0        0   39,576   56,105   151             -16,529



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                                                     Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 203 of 541
                                                                         Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                         For Property: HWS Phoenix
                                                                         00- Master P&L-CAPSTONE
                                                                         As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year      % / POR     Act vs LY                       Description       YTD            % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                       Var                                                                Budget              Bud Var         Year                         Var
                                                                                                     ADR



       114.14                119.00                 -4.86       104.27                         9.87 Rack/Premium ADR                           121.27              125.65                 -4.38         124.36                              -3.08

        96.90                 92.00                  4.91        87.53                         9.38 Corporate ADR                              118.34              116.55                  1.79         107.69                              10.66

            0                      0                   0            0                             0 Contract - Airline ADR                         0                   0                        0              0                               0

        82.00                 80.00                  2.01        80.86                         1.14 Discount ADR                                92.58              100.43                 -7.85          99.04                              -6.47

         0.00                  0.00                  0.00         0.00                         0.00 Distressed Passengers ADR                    0.00                0.00                  0.00           0.00                               0.00

            0                      0                   0            0                             0 AARP ADR                                       0                   0                        0              0                               0

         0.00                  0.00                  0.00       146.00                      -146.00 Government ADR                             143.47              129.41                 14.06         135.95                               7.52

         0.00                  0.00                  0.00         0.00                         0.00 AAA ADR                                      0.00                0.00                  0.00           0.00                               0.00

        69.00                 75.00                 -6.00        78.96                        -9.96 Local Negotiated ADR                        78.86               65.85                 13.00          54.12                              24.74

         0.00                  0.00                  0.00         0.00                         0.00 Packages ADR                                 0.00                0.00                  0.00           0.00                               0.00

         0.00                  0.00                  0.00         0.00                         0.00 Wholesale/FIT ADR                            0.00                0.00                  0.00           0.00                               0.00

            0                      0                   0            0                             0 Internet ADR                                   0                   0                        0              0                               0

            0                      0                   0            0                             0 Tax Exampt - Transient ADR                     0                   0                        0              0                               0



       92.78                 92.17                  0.60        94.66                        -1.88 Total Transient ADR                     109.25                 101.16                  8.09         103.11                               6.13




         0.00                  0.00                  0.00        52.57                       -52.57 Crew ADR                                    71.99               57.00                 14.99          52.19                              19.81

            0                      0                   0            0                             0 Contract ADR                                   0                   0                        0              0                               0




         0.00                  0.00                  0.00         0.00                         0.00 Group - SMERF ADR                            0.00                0.00                  0.00           0.00                               0.00

        84.00                 60.00                 24.00       146.18                       -62.18 Group - Corporate ADR                      144.60              102.41                 42.19         109.96                              34.64

            0                      0                   0            0                             0 Group - Government ADR                         0                   0                        0              0                               0

            0                      0                   0            0                             0 Group - Tour ADR                               0                   0                        0              0                               0

            0                      0                   0            0                             0 Group- Association ADR                         0                   0                        0              0                               0

            0                      0                   0            0                             0 Group - Tax Exampt ADR                         0                   0                        0              0                               0



       84.00                 60.00                 24.00       146.18                       -62.18 Total Group ADR                         144.60                 102.41                 42.19         109.96                            34.64

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                                                       Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 204 of 541
                                                                           Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                           For Property: HWS Phoenix
                                                                           00- Master P&L-CAPSTONE
                                                                           As of 12/31/2020

Actual         % / POR     Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                        Description      YTD            % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                   Bud Var                                       Var                                                                  Budget                Bud Var         Year                       Var
                                                                                                       Payroll & Related Expense

    5,624          3.80        7,216        2.25     -1,592        6,785          2.28         -1,161 FD/ Guest Service Reps                     49,229       2.18      86,563       2.25     -37,334         88,023         2.37        -38,793

          0        0.00        2,774        0.86     -2,774           0           0.00              0 FD/Supervisor                               5,161       0.23      32,749       0.85     -27,588              545       0.01            4,616

          0        0.00        3,937        1.23     -3,937        1,681          0.56         -1,681 Executive Housekeeper                      31,139       1.38      45,351       1.18     -14,212         29,482         0.79            1,657

    1,925          1.30        2,434        0.76       -509        3,297          1.11         -1,371 Asst Exec Housekeeper/ Inspectress         15,038       0.66      28,735       0.75     -13,697         27,014         0.73        -11,976

    5,534          3.74       18,351        5.71    -12,817       16,155          5.43        -10,621 Housekeepers                               74,593       3.30     220,138       5.71    -145,545        181,055         4.87       -106,462

    5,625          3.80        6,777        2.11     -1,152        4,156          1.40          1,470 Housemen                                   37,064       1.64      83,526       2.17     -46,462         50,768         1.37        -13,704

    1,443          0.98        2,399        0.75       -956        3,534          1.19         -2,091 Laundry                                    15,835       0.70      28,779       0.75     -12,944         36,020         0.97        -20,185

          0        0.00        4,023        1.25     -4,023        3,536          1.19         -3,536 Comp Breakfast Hostess                     10,556       0.47      47,497       1.23     -36,941         48,696         1.31        -38,140

          0        0.00        1,523        0.47     -1,523        1,111          0.37         -1,111 Evening Social Host                         3,557       0.16      17,981       0.47     -14,424         14,792         0.40        -11,235

    3,216          2.17        3,348        1.04       -132        4,385          1.47         -1,170 Night Audit                                40,610       1.79      39,528       1.03       1,082         40,091         1.08              519

    2,064          1.39        4,083        1.27     -2,019        4,193          1.41         -2,129 Payroll Taxes                              23,879       1.06      47,175       1.22     -23,296         40,604         1.09        -16,724

         -73       -0.05        954         0.30     -1,027         -335         -0.11            262 Employee Benefits                            -427      -0.02      11,448       0.30     -11,875          9,537         0.26            -9,964

     -404          -0.27       1,251        0.39     -1,655        4,469          1.50         -4,873 Vacation /PTO                              14,673       0.65      15,012       0.39        -339         18,867         0.51            -4,194

    1,252          0.85        2,672        0.83     -1,420        1,188          0.40             64 Holiday                                     4,624       0.20       9,352       0.24      -4,728          8,966         0.24            -4,343

          0        0.00             0       0.00          0         200           0.07           -200 Bonus/Incentive Pay                            0        0.00           0       0.00             0            610       0.02             -610

     606           0.41             0       0.00       606            0           0.00            606 Contract Labor- Housekeepers               23,526       1.04           0       0.00      23,526                0       0.00         23,526



  26,813          18.12      61,742        19.22    -34,929      54,356         18.26         -27,543 Total P/R & R/Benefits- Rooms         349,058          15.42    713,834       18.52    -364,776       595,070         16.01       -246,012

                                                                                                       ROOMS DEPARTMENT
                                                                                                       OPERATING EXPENSE

          0        0.00         225         0.07       -225         180           0.06           -180 Newspapers                                   622        0.03       2,698       0.07      -2,076          2,197         0.06            -1,576

    2,408          1.63       10,442        3.25     -8,034        9,783          3.29         -7,375 Comp Breakfast                             36,336       1.61     125,268       3.25     -88,932        126,205         3.40        -89,869

          0        0.00         100         0.03       -100           0           0.00              0 Comp Breakfast- Equipment                    297        0.01       6,100       0.16      -5,803          6,708         0.18            -6,411

          0        0.00         300         0.09       -300         440           0.15           -440 Rooms- Promotion                            1,459       0.06       3,600       0.09      -2,141          2,512         0.07            -1,053

          0        0.00         418         0.13       -418         711           0.24           -711 Kitchen Furnishings                         1,152       0.05       5,011       0.13      -3,858          5,541         0.15            -4,388

          0        0.00         257         0.08       -257         737           0.25           -737 Laundry Supplies                            3,036       0.13       3,084       0.08         -47          3,651         0.10             -615

          0        0.00        1,767        0.55     -1,767        5,399          1.81         -5,399 Linen Supplies                              6,210       0.27      21,199       0.55     -14,989         23,080         0.62        -16,870

          0        0.00        2,540        0.79     -2,540        1,344          0.45         -1,344 Cable TV                                   14,054       0.62      30,480       0.79     -16,426         29,106         0.78        -15,052

     441           0.30         441         0.14          0         441           0.15              0 HSIA Support                                5,195       0.23       5,292       0.14         -97          5,292         0.14               -97

          0        0.00             0       0.00          0           0           0.00              0 Printing & Stationary                          0        0.00       5,000       0.13      -5,000                0       0.00                0

     736           0.50        1,928        0.60     -1,191       -2,332         -0.78          3,069 Reservations Expense                       11,104       0.49      23,126       0.60     -12,023         29,756         0.80        -18,652

    1,258          0.85        3,117        0.97     -1,859        3,548          1.19         -2,290 Guest Room Supplies                        17,184       0.76      37,388       0.97     -20,204         38,688         1.04        -21,504

     137           0.09         964         0.30       -827         641           0.22           -504 Cleaning Supplies                           6,473       0.29      11,563       0.30      -5,090         11,068         0.30            -4,595

     -256          -0.17        418         0.13       -674         407           0.14           -663 Ecolab Core Supplies                        3,233       0.14       5,010       0.13      -1,777          5,060         0.14            -1,827

          0        0.00        3,534        1.10     -3,534        2,646          0.89         -2,646 Evening Social- Food                        7,645       0.34      42,398       1.10     -34,754         38,074         1.02        -30,429

          0        0.00         643         0.20       -643        1,228          0.41         -1,228 Evening Social- Beverage                    1,955       0.09       7,709       0.20      -5,754          8,927         0.24            -6,973

          0        0.00          25         0.01        -25           0           0.00              0 Evening Social- Equipment                    253        0.01         300       0.01         -47          1,051         0.03             -798

    6,604          4.46        7,551        2.35       -947       11,494          3.86         -4,891 Travel Agents Commission                   75,345       3.33      90,578       2.35     -15,233         88,961         2.39        -13,616

          0        0.00         250         0.08       -250           0           0.00              0 Uniforms                                    1,723       0.08       3,000       0.08      -1,277          5,046         0.14            -3,324

          0        0.00             0       0.00          0         582           0.20           -582 Walk Expense                                 973        0.04           0       0.00         973          2,679         0.07            -1,706

     212           0.14             0       0.00       212            0           0.00            212 COVID 19 Supplies                           2,056       0.09           0       0.00       2,056                0       0.00            2,056



  11,541           7.80      34,919        10.87    -23,378      37,250         12.52         -25,709 Total Operating - Rooms               196,304           8.67    428,804       11.13    -232,500       433,603         11.67       -237,298



  38,354          25.91      96,661        30.08    -58,307      91,605         30.78         -53,251 Total Expenses- Rooms                 545,362          24.10   1,142,639      29.65    -597,276      1,028,673        27.68       -483,310



  99,584          67.29     195,360        60.80    -95,776     181,884         61.12         -82,300 Net Income- Rooms                    1,912,925         84.53   2,759,256      71.59    -846,331      2,711,115        72.95       -798,190
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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 206 of 541
                                                                           Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                           For Property: HWS Phoenix
                                                                           00- Master P&L-CAPSTONE
                                                                           As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                      Description        YTD       % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                             Budget              Bud Var         Year                          Var
                                                                                                       Food & Beverage
                                                                                                       Summary


            0         0.00            0       0.00         0           0          0.00             0 Total Food Sales                            0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Total Beverage Sales                        0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Total Banquet A/V                           0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Total Banquet Misc                          0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Total F & B Sales                           0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Food Cost                                   0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Beverage Costs                              0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Banquet A/V Costs                           0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Total F & B Costs                           0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Food Wages                                  0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Beverage Wages                              0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Total F & B Wages                           0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 F & B- P T & E B                            0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0           0          0.00             0 TTL P/R and Benefits                        0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0           0          0.00             0 Food Operating Expenses                     0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Beverage Operating Expenses                 0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Total F & B Operating Expenses              0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Net F & B Income                            0       0.00        0       0.00             0              0       0.00                  0




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                                                                          Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                          For Property: HWS Phoenix
                                                                          00- Master P&L-CAPSTONE
                                                                          As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                   Description           YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                            Budget             Bud Var         Year                         Var
                                                                                                      Food Department




            0         0.00            0      0.00         0           0          0.00            0 Total Restaurant                             0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Bar Food                               0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Bistro                                 0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Garden Grill                           0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Other Food Revenue                     0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Room Service                           0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Banquets                               0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Catering                               0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 Net Food Revenue                             0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Banquets Other                         0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 Total Food Revenues                          0      0.00        0      0.00             0              0      0.00                  0

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                                                        Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 208 of 541
                                                                          Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                          For Property: HWS Phoenix
                                                                          00- Master P&L-CAPSTONE
                                                                          As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                    Description          YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                            Budget             Bud Var         Year                         Var
                                                                                                      Cost of Goods Sold

            0         0.00            0      0.00         0           0          0.00            0 Total Cost of Good Sold                      0      0.00        0      0.00             0              0      0.00                  0


                                                                                                      Food Payroll

            0         0.00            0      0.00         0           0          0.00            0 Total Food Wages                             0      0.00        0      0.00             0              0      0.00                  0


                                                                                                      Operating Expenses



            0         0.00            0      0.00         0           0          0.00            0 Total Operating Expense- Food                0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 Total Food Costs                             0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 N.I.- Food Department                        0      0.00        0      0.00             0              0      0.00                  0

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                                                        Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 209 of 541
                                                                          Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                          For Property: HWS Phoenix
                                                                          00- Master P&L-CAPSTONE
                                                                          As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                 Description             YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                            Budget             Bud Var         Year                         Var
                                                                                                      Beverage Department




            0         0.00            0      0.00         0           0          0.00            0 Total Restaurant Beverage                    0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 Total Garden Grill Beverage                  0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Room Service Bev                       0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Bar Beverage                           0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Banquet Beverage                       0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Catering Beverage                      0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 Total Beverage Revenue                       0      0.00        0      0.00             0              0      0.00                  0

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                                                                           Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                           For Property: HWS Phoenix
                                                                           00- Master P&L-CAPSTONE
                                                                           As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                    Description          YTD       % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                             Budget              Bud Var         Year                          Var
                                                                                                       Cost of Goods Sold



            0         0.00            0       0.00         0           0          0.00             0 Total COGS- Beverage                        0       0.00        0       0.00             0              0       0.00                  0


                                                                                                       Beverage Payroll

            0         0.00            0      0.00          0           0          0.00            0 Total Beverage Payroll                       0      0.00         0      0.00              0              0      0.00                   0


                                                                                                       Operating Expenses- Beverage



            0         0.00            0      0.00          0           0          0.00            0 Total Operating- Beverage                    0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0           0          0.00            0 Total Beverage Costs                         0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0           0          0.00            0 Net Income- Beverage                         0      0.00         0      0.00              0              0      0.00                   0

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                                                                          Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                          For Property: HWS Phoenix
                                                                          00- Master P&L-CAPSTONE
                                                                          As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                  Description            YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                            Budget             Bud Var         Year                         Var
                                                                                                      FOOD STATS




            0         0.00            0      0.00         0           0          0.00            0 Total Food Covers                            0      0.00        0      0.00             0              0      0.00                   0

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                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual        % / POR     Budget       % / POR     Act vs    Last Year      % / POR     Act vs LY                    Description          YTD            % / POR       YTD     % / POR     Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                     Var                                                                   Budget                Bud Var         Year                          Var
                                                                                                         TELECOM
                                                                                                         TELEPHONE REVENUES

            -3        0.00         50          0.00       -53            8          0.00           -11 Long Distance                                 404         0.00      600         0.00        -196              543       0.00                   -138

          193         0.00        192          0.00         1         188           0.00             5 Internet Access Fees                         1,728        0.00     2,304        0.00        -576          2,110         0.00                   -382



         191          0.00       242          0.00        -51         196           0.00            -6 Total Phone Revenues                        2,132        0.00     2,904        0.00        -772          2,653         0.00                 -520



                                                                                                         COS- Communication

          732         0.51            0        0.00       732         704           0.25            28 COS-Local                                     733         0.03         0        0.00        733           8,222         0.22               -7,489

             0        0.00        691      1,382.00      -691            0          0.00             0 COS-Long Distance                            8,005    1,979.13     8,292    1,382.00        -287                0       0.00               8,005

        1,430       740.74      1,400       729.17         30        1,400        744.28            30 COS-HSIA ISP                                17,070     988.10     16,800     729.17         270          16,800       796.30                   270



       2,162          0.00      2,091         0.00         71       2,104           0.00           58 Total COS- Comm                          25,809           0.00    25,092        0.00         717         25,022         0.00                    787



      -1,972          0.00     -1,849         0.00       -123       -1,908          0.00           -64 Gross Margin- Comm                     -23,677           0.00    -22,188       0.00       -1,489        -22,369        0.00              -1,307




                                                                                                         Operating Expenses

            62        0.00        100          0.00       -38          -92          0.00           154 Equipment Cost                               1,122        0.00     1,200        0.00         -78          1,200         0.00                    -78

             0        0.00            0        0.00         0         585           0.00          -585 Equipment Maintenance                          68         0.00         0        0.00            68            710       0.00                   -643



            62        0.00       100          0.00        -38         493           0.00         -431 Total Operating - Comm                       1,190        0.00     1,200        0.00         -10          1,910         0.00                 -720



       2,034          0.00      1,949         0.00         85       2,401           0.00         -367 N.I.- Comm Dept                          24,866           0.00    23,388        0.00       1,478         24,279         0.00                    587



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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 213 of 541
                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                     Description         YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         MISCELLANEOUS DEPARTMENT
                                                                                                         MISCELLANEOUS REVENUES

            96        2.45         85         1.43        11           37           0.86            60 Laundry/Valet                                 232        0.42     1,020       1.43        -788          1,147         1.66                   -915

             0        0.00            0       0.00          0         323           7.60          -323 Movie Income                                   -22      -0.04        0        0.00         -22          4,436         6.42               -4,457

             0        0.00            0       0.00          0        2,279         53.52        -2,279 Gift Shop Sales                                 0        0.00        0        0.00             0       32,768        47.42            -32,768

          321         8.21        350         5.90        -29          85           2.01           236 Vending                                      4,868       8.87     4,200       5.90        668           5,629         8.15                   -761

          150         3.83        600        10.12       -450         150           3.52             0 Pet Fees                                     6,776      12.34     7,200      10.12        -424          6,220         9.00                   557

             0        0.00            0       0.00          0           0           0.00             0 Fax                                             0        0.00        0        0.00             0              0       0.00                     0

            47        1.19            0       0.00        47            -5         -0.12            52 Miscellaneous                                 122        0.22        0        0.00        122               -10      -0.01                   132

          139         3.54        300         5.06       -161           0           0.00           139 Late Cancellation Income                     2,821       5.14     3,600       5.06        -779                0       0.00               2,821

          815        20.81        250         4.22       565            0           0.00           815 Smoking Fee                                  4,224       7.69     3,000       4.22       1,224          2,250         3.26               1,974

        1,389        35.47      1,389        23.42          0        1,389         32.62             0 Space Rental                                16,668      30.36    16,668      23.43             0       16,668        24.12                     0

             0        0.00            0       0.00          0           0           0.00             0 Room Service                                 3,600       6.56        0        0.00       3,600                0       0.00               3,600

          959        24.49      2,956        49.85     -1,997           0           0.00           959 Market Sales                                15,619      28.45    35,460      49.84     -19,841                0       0.00             15,619



       3,916       100.00       5,930       100.00     -2,014       4,259        100.00          -343 Total Miscellaneous Revenues             54,909         100.00   71,148      100.00     -16,239        69,107        100.00            -14,198



                                                                                                         COSales- Miscellaneous

            81       84.56         77        90.00          5          34          93.70            47 COS-Laundry/Valet                             194       83.60      918       90.00        -724              961      83.84                   -767

          334         8.54            0       0.00       334          759          17.82          -425 COS-Movies                                   6,497      11.83        0        0.00       6,497          7,403        10.71                   -906

          506         0.00            0       0.00       506         1,376         60.37          -870 COS-Gift Shop                                 506        0.00        0        0.00        506          18,180        55.48            -17,674

             0        0.00            0       0.00          0           0           0.00             0 COS- Room Service                             369        0.67        0        0.00         369                0       0.00                   369

          279        29.11      1,478        50.00     -1,199           0           0.00           279 COS- Market                                  6,099      39.05    17,730      50.00     -11,631                0       0.00               6,099

             0        0.00            0       0.00          0           0           0.00             0 COS- Market Beer/Wine                           1        0.00        0        0.00             1              0       0.00                     1



       1,200         30.66      1,554        26.21      -354        2,169         50.93          -969 Total COS- Miscellaneous                 13,666          24.89   18,648       26.21      -4,982        26,545         38.41            -12,879



        1,000        83.33        600       100.00       400          450          84.11           550 Banquet Room Rental                          8,463      76.27     7,200     100.00       1,263         10,465        80.95               -2,002

             0        0.00            0       0.00          0           0           0.00             0 Banquet Room F & B                           1,352      12.19        0        0.00       1,352              656       5.07                   697

             0        0.00            0       0.00          0           0           0.00             0 Banquet Room AV Rental                         25        0.23        0        0.00            25            247       1.91                   -222

          200         3.91            0       0.00       200           85           1.77           115 Banquet Room Setup Service Charge            1,255       1.90        0        0.00       1,255          1,561         1.90                   -306

       1,200       100.00        600        100.00       600          535        100.00           665 Total Meeting Room Revenues              11,095         100.00    7,200      100.00      3,895         12,928        100.00             -1,833


                                                                                                         Cost of Sales- Meeting Room



       3,915         99.99      4,975        83.90     -1,060       2,625         61.63         1,291 Total Miscellaneous Profit               52,338          95.32   59,700       83.91      -7,362        55,491         80.30             -3,152

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                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                       Description       YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                         ADMIN & GENERAL DEPARTMENT
                                                                                                         ADMIN & GENERAL

                                                                                                         P/R & Related Benefits- A&G

        5,437         3.80      6,666         2.23     -1,229        4,569          1.64            867 General Manager                            76,139       3.02    79,992       2.01      -3,853         78,724         2.06               -2,584

        4,019         2.81      3,587         1.20       432         2,974          1.07          1,046 Assistant General Manager                  42,297       1.68    41,524       1.04        773          30,835         0.81             11,462

             0        0.00            0       0.00         0          545           0.20           -545 Operations Manager                             0        0.00         0       0.00             0              0       0.00                     0

          882         0.62        738         0.25       143          647           0.23            235 Payroll Taxes                               9,484       0.38     9,368       0.24        116           9,073         0.24                   412

        1,759         1.23        523         0.18      1,236        2,069          0.74           -309 Employee Benefits                          16,633       0.66     6,276       0.16      10,357          7,155         0.19               9,478

          217         0.15            0       0.00       217          888           0.32           -672 Vacation /PTO                               9,590       0.38         0       0.00       9,590          8,116         0.21               1,475

          592         0.41            0       0.00       592          908           0.33           -315 Holiday                                     3,160       0.13         0       0.00       3,160          1,952         0.05               1,208

             0        0.00            0       0.00         0          250           0.09           -250 Bonus/Incentive Pay                         1,666       0.07     8,600       0.22      -6,934          7,145         0.19               -5,479



      12,906          9.02     11,514        3.86      1,392       12,849           4.62             57 Total P/R & R/B- A&G                  158,970           6.30   145,760      3.66      13,210        142,999         3.74              15,971


                                                                                                         Operating Expenses- A&G

          517         0.36      2,500         0.84     -1,983        2,679          0.96         -2,162 Employee Relations                          2,221       0.09     6,900       0.17      -4,679          7,979         0.21               -5,758

        4,000         2.80      2,000         0.67      2,000        2,000          0.72          2,000 Accounting Fees                            26,000       1.03    24,000       0.60       2,000         24,000         0.63               2,000

        1,365         0.95      1,500         0.50      -135         1,165          0.42            200 Data Processing                            18,373       0.73    15,836       0.40       2,537         15,283         0.40               3,090

          196         0.14        300         0.10      -104          295           0.11            -99 Office Supplies                             3,097       0.12     3,600       0.09        -503          5,223         0.14               -2,126

            55        0.04         55         0.02         0           55           0.02              0 Muzak                                        643        0.03       660       0.02         -17              949       0.02                   -307

            15        0.01        300         0.10      -285           28           0.01            -14 Travel & Lodging                            3,532       0.14     9,000       0.23      -5,468         14,240         0.37            -10,708

             0        0.00            0       0.00         0            0           0.00              0 Meals and Entertainment                       30        0.00         0       0.00            30        1,242         0.03               -1,212

             0        0.00         75         0.03        -75          75           0.03            -75 Telephone                                    188        0.01       900       0.02        -712              825       0.02                   -637

            50        0.03            0       0.00        50          200           0.07           -150 Licenses and Permits                        3,777       0.15     3,428       0.09         349          4,033         0.11                   -256

          228         0.16         60         0.02       168          188           0.07             40 Postage                                      958        0.04       720       0.02        238           1,353         0.04                   -395

             0        0.00         70         0.02        -70         405           0.15           -405 Recruitment                                  900        0.04     1,520       0.04        -620          1,907         0.05               -1,007

          285         0.20        180         0.06       105          170           0.06            115 Employment Screening/ Drug Testing          2,082       0.08     2,160       0.05         -78          2,242         0.06                   -160

             0        0.00            0       0.00         0         2,447          0.88         -2,447 Training                                    2,260       0.09     2,050       0.05        210           3,568         0.09               -1,308

             0        0.00            0       0.00         0          983           0.35           -983 Bad Debt                                       0        0.00         0       0.00             0            983       0.03                   -983

             0        0.00            0       0.00         0            0           0.00              0 Loss & Damage                                  0        0.00         0       0.00             0            174       0.00                -174

             0        0.00            0       0.00         0            0           0.00              0 Security Service                              78        0.00         0       0.00            78        8,922         0.23               -8,844

          150         0.10        165         0.06        -15         150           0.05              0 Dues/Subscriptions                          2,113       0.08     1,980       0.05        133           4,360         0.11               -2,247

             0        0.00            0       0.00         0            0           0.00              0 Professional Fees                              0        0.00         0       0.00             0            277       0.01                   -277

        3,619         2.53      7,559         2.53     -3,940        7,461          2.68         -3,842 Credit Card Commissions                    55,254       2.19   100,774       2.53     -45,520         95,977         2.51            -40,723

        3,909         2.73            0       0.00      3,909        6,044          2.17         -2,136 Cash Over/Short                              -554      -0.02         0       0.00        -554         -2,543        -0.07               1,989

             0        0.00         98         0.03        -98         101           0.04           -101 Equipment Rental                            1,120       0.04     1,576       0.04        -456          1,655         0.04                   -535

          437         0.31        350         0.12        87          671           0.24           -234 Payroll Services                            5,456       0.22     3,850       0.10       1,606          6,409         0.17                   -953

          531         0.37      1,483         0.50      -952         1,414          0.51           -883 Bank Charges                               13,828       0.55    17,796       0.45      -3,968         17,718         0.46               -3,889

          634         0.44            0       0.00       634         1,266          0.46           -633 Chargebacks                                 2,711       0.11         0       0.00       2,711          5,504         0.14               -2,793

        1,753         1.23      1,000         0.33       753         1,735          0.62             18 Workers Comp Insurance                     12,553       0.50    13,120       0.33        -567         15,067         0.39               -2,514



      17,744         12.40     17,695        5.93         48       29,534         10.61         -11,790 Total Operating- A&G                  156,619           6.20   209,870      5.27      -53,251       237,344         6.21             -80,726



      30,649         21.43     29,210        9.78      1,440       42,383         15.23         -11,733 Total Expenses- A&G                   315,589          12.50   355,630      8.93      -40,041       380,343         9.95             -64,755

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                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

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                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         SALES DEPARTMENT
                                                                                                         SALES

                                                                                                         P/R & R/B

        5,586         3.90      5,949         1.99      -363         7,353          2.64        -1,767 Director of Sales                           61,776       2.45    68,868       1.73      -7,092         49,033         1.28             12,743

            0         0.00            0       0.00         0            0           0.00             0 Sales Manager                                 110        0.00         0       0.00        110               183       0.00                    -72

          452         0.32      1,161         0.39      -709          815           0.29          -363 Revenue Management                           6,896       0.27    13,931       0.35      -7,035         10,190         0.27               -3,294

            0         0.00        172         0.06      -172            0           0.00             0 E Commerce Management                         516        0.02     2,066       0.05      -1,549                0       0.00                   516

          471         0.33        451         0.15        19            0           0.00           471 Payroll Taxes                                4,920       0.19     5,518       0.14        -598          2,819         0.07               2,102

        1,749         1.22        642         0.22      1,107           0           0.00         1,749 Employee Benefits                           13,753       0.54     7,704       0.19       6,049          2,360         0.06             11,393

         -259        -0.18            0       0.00      -259            0           0.00          -259 Vacation / PTO                               4,165       0.17         0       0.00       4,165                0       0.00               4,165

          523         0.37            0       0.00       523          735           0.26          -212 Holiday                                      1,778       0.07         0       0.00       1,778              947       0.02                   832

            0         0.00            0       0.00         0            0           0.00             0 Bonus/Incentive Pay                           247        0.01     4,132       0.10      -3,885          2,155         0.06               -1,908



       8,522          5.96      8,375        2.81        147        8,904           3.20         -381 Total P/R & R/B- Sales                   94,162          3.73    102,218      2.57       -8,056        67,686         1.77              26,477


                                                                                                         Operating Expenses- Sales

            0         0.00         20         0.01        -20           0           0.00             0 Printing & Stationary                           0        0.00       240       0.01        -240                0       0.00                     0

            0         0.00         20         0.01        -20           0           0.00             0 Office Supplies                               203        0.01       240       0.01         -37              575       0.02                   -372

            0         0.00         25         0.01        -25        3,862          1.39        -3,862 Travel & Lodging                             1,956       0.08     3,025       0.08      -1,069          9,619         0.25               -7,663

            0         0.00         30         0.01        -30           0           0.00             0 Meals & Entertainment                          80        0.00       360       0.01        -280          1,361         0.04               -1,281

            0         0.00        100         0.03      -100           29           0.01           -29 Promotions                                    190        0.01     1,900       0.05      -1,710              878       0.02                   -688

            0         0.00         50         0.02        -50           0           0.00             0 Telephone                                     100        0.00       600       0.02        -500              300       0.01                   -200

            0         0.00            0       0.00         0            0           0.00             0 Sales Training                               1,787       0.07     2,000       0.05        -213              150       0.00               1,637

          132         0.09            0       0.00       132            0           0.00           132 Dues & Subscriptions                         4,584       0.18     3,071       0.08       1,513          6,806         0.18               -2,222

            0         0.00            0       0.00         0            0           0.00             0 Trade Show                                      0        0.00         0       0.00             0             21       0.00                    -21

            0         0.00            0       0.00         0          200           0.07          -200 e Commerce Costs                              100        0.00       400       0.01        -300          3,293         0.09               -3,193

          514         0.36        450         0.15        64         1,575          0.57        -1,061 Brand Paid Search                            9,385       0.37     5,400       0.14       3,985         10,685         0.28               -1,300

            0         0.00        200         0.07      -200            0           0.00             0 Internet Advertising                            0        0.00       800       0.02        -800                0       0.00                     0

            0         0.00            0       0.00         0            0           0.00             0 Magazine Advertising                            0        0.00         0       0.00             0        1,115         0.03               -1,115

            0         0.00            0       0.00         0            0           0.00             0 Program Costs                                   0        0.00       725       0.02        -725                0       0.00                     0



         646          0.45       895         0.30       -249        5,666           2.04        -5,020 Total Operating- Sales                  18,386          0.73     18,761      0.47        -375         34,802         0.91             -16,417



       9,168          6.41      9,270        3.11       -102       14,570           5.24        -5,402 Total Expenses-Sales                   112,548          4.46    120,979      3.04       -8,432       102,488         2.68              10,060

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                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

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                                                     Bud Var                                      Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                         MAINTENANCE DEPARTMENT
                                                                                                         REPAIRS & MAINTENANCE
                                                                                                         P/R & Related Expenses- Maintenance

        2,008         1.36      4,461         1.39     -2,453        3,699          1.24        -1,691 Chief Engineer                               27,458         1.21    51,273       1.33     -23,815         53,301         1.43            -25,843

        1,649         1.11      2,552         0.79       -903        1,994          0.67          -345 General Maintenance                          11,241         0.50    30,624       0.79     -19,383         27,428         0.74            -16,188

          345         0.23        463         0.14       -117         536           0.18          -190 Payroll Taxes                                 3,396         0.15     5,405       0.14      -2,009          6,011         0.16               -2,615

             0        0.00        517         0.16       -517         488           0.16          -488 Employee Benefits                             3,838         0.17     6,204       0.16      -2,366          5,908         0.16               -2,070

             0        0.00            0       0.00          0         617           0.21          -617 Holiday                                           618       0.03         0       0.00        618           2,116         0.06               -1,498

          350         0.24            0       0.00       350          225           0.08           125 Vacation /PTO                                 5,312         0.23         0       0.00       5,312          4,825         0.13                   487



       4,351          2.94      7,993        2.49      -3,641       7,559           2.54        -3,207 Total P/R & Related Expenses- Maintenance    51,862        2.29     93,506      2.43      -41,644        99,590         2.68             -47,728


                                                                                                         Operating Expenses- R & M

             0        0.00        257         0.08       -257          78           0.03           -78 Laundry Equipment                                 262       0.01     3,084       0.08      -2,822          4,719         0.13               -4,457

          113         0.08        900         0.28       -787         886           0.30          -773 Building Maintenance                          1,095         0.05    10,792       0.28      -9,697         10,571         0.28               -9,476

             0        0.00        257         0.08       -257         179           0.06          -179 Light Bulbs                                       718       0.03     3,084       0.08      -2,366          2,763         0.07               -2,046

             0        0.00        161         0.05       -161         227           0.08          -227 Electrical & Mechanical                           451       0.02     1,927       0.05      -1,476              970       0.03                   -519

             0        0.00        964         0.30       -964           0           0.00             0 HVAC                                          1,924         0.09    11,563       0.30      -9,639          7,581         0.20               -5,657

          205         0.14        643         0.20       -437         201           0.07             5 Plumbing & Boiler                             9,151         0.40     7,709       0.20       1,442          8,579         0.23                   572

          172         0.12        257         0.08        -86         172           0.06             0 Pool                                          2,297         0.10     3,084       0.08        -786          2,970         0.08                   -673

             0        0.00        850         0.26       -850        4,352          1.46        -4,352 Grounds & Landscaping                         7,863         0.35    13,100       0.34      -5,237         13,768         0.37               -5,905

             0        0.00            0       0.00          0           0           0.00             0 Interior Plants                                   248       0.01         0       0.00        248                 0       0.00                   248

             0        0.00            0       0.00          0           0           0.00             0 Signage                                       1,010         0.04         0       0.00       1,010               45       0.00                   965

             0        0.00        161         0.05       -161           0           0.00             0 Furniture & Fixtures                          -2,379       -0.11     1,927       0.05      -4,307          3,282         0.09               -5,661

            29        0.02        193         0.06       -164          41           0.01           -12 Painting                                          326       0.01     2,313       0.06      -1,987          1,397         0.04               -1,071

          183         0.12        200         0.06        -17        1,572          0.53        -1,390 Carpet & Floor                                    325       0.01     5,700       0.15      -5,375          4,640         0.12               -4,315

             0        0.00            0       0.00          0           0           0.00             0 Window Treatments                                   0       0.00         0       0.00             0            638       0.02                   -638

             0        0.00         30         0.01        -30          30           0.01           -30 Telephone                                          60       0.00       360       0.01        -300              355       0.01                   -295

             0        0.00        257         0.08       -257          38           0.01           -38 Kitchen Equipment                             2,390         0.11     3,084       0.08        -693          5,016         0.13               -2,625

             0        0.00         96         0.03        -96           0           0.00             0 Locks & Keys                                      155       0.01     1,156       0.03      -1,001          1,033         0.03                   -878

             0        0.00        257         0.08       -257         919           0.31          -919 Radio & TV                                        285       0.01     3,084       0.08      -2,799          4,125         0.11               -3,840

          375         0.25        800         0.25       -425         510           0.17          -135 Exterminating                                 6,177         0.27     9,600       0.25      -3,423          9,855         0.27               -3,678

        4,535         3.06         98         0.03      4,437           0           0.00         4,535 Fire & Safety                                 6,826         0.30     3,007       0.08       3,819          8,698         0.23               -1,871

             0        0.00        200         0.06       -200         250           0.08          -250 Elevator                                      5,189         0.23     6,344       0.16      -1,155          8,898         0.24               -3,709



       5,611          3.79      6,580        2.05       -969        9,454           3.18        -3,843 Total Operating - R & M                      44,373        1.96     90,916      2.36      -46,544        99,901         2.69             -55,528



       9,963          6.73     14,573        4.54      -4,610      17,013           5.72        -7,050 Total Expenses- R & M                        96,235        4.25    184,422      4.78      -88,187       199,491         5.37           -103,256

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                                                       Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 217 of 541
                                                                           Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                           For Property: HWS Phoenix
                                                                           00- Master P&L-CAPSTONE
                                                                           As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year      % / POR     Act vs LY                    Description          YTD            % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                      Var                                                                  Budget               Bud Var       Year                        Var
                                                                                                       UTILITIES DEPARTMENT
                                                                                                       UTILITIES EXPENSE

        7,371         4.98      8,793       2.74     -1,422        7,470          2.51           -99 Electricity                             136,849          6.05   156,888       4.07     -20,039      148,554       4.00            -11,705

          809         0.55      1,868       0.58     -1,059        1,990          0.67        -1,181 Gas                                          7,638       0.34    16,861       0.44      -9,223       13,497       0.36               -5,859

        3,714         2.51      2,829       0.88       885         5,486          1.84        -1,773 Water & Sewer                               40,356       1.78    39,206       1.02       1,150       41,398       1.11               -1,042

        1,456         0.98      1,140       0.35       316          755           0.25           701 Waste Removal                               11,524       0.51    13,680       0.35      -2,156       12,815       0.34               -1,291



      13,350          9.02     14,630      4.55      -1,280      15,701           5.28        -2,351 Total Expenses- Utilities              196,367          8.68    226,635      5.88      -30,268     216,263       5.82             -19,897

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 218 of 541
                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                        Description      YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                         FRANCHISE DEPARTMENT
                                                                                                         FRANCHISE FEES

        7,853         5.69      16,078        5.51     -8,225       15,042          5.50         -7,189 Franchise Fees/ Royalties              135,845          5.53   214,802       5.51     -78,958        205,715         5.50            -69,871

        4,997         3.62      10,231        3.50     -5,234        9,572          3.50         -4,575 Advertising                                86,347       3.51   136,692       3.50     -50,346        131,644         3.52            -45,297

        1,997         1.45       7,388        2.53     -5,392        2,142          0.78           -145 Frequent Traveler                          58,576       2.38    98,718       2.53     -40,142         95,565         2.56            -36,989

        1,035         0.75            0       0.00      1,035           0           0.00          1,035 Brand Guest Fees                            2,627       0.11         0       0.00       2,627          2,272         0.06                   355

            0         0.00            0       0.00          0           0           0.00              0 Other Franchise Cost                           0        0.00         0       0.00             0            850       0.02                   -850



      15,882         11.51     33,697        11.54    -17,815      26,756           9.78        -10,874 Total Franchise Fees Expense          283,394          11.53   450,212      11.54    -166,819       436,046         11.66          -152,652

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                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                  Description            YTD            % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var       Year                          Var
                                                                                                         MANAGEMENT FEES
        3,576         2.50      7,470         2.50     -3,894        6,957          2.50        -3,381 Management Fees                             63,106       2.50    99,579       2.50     -36,473       95,573         2.50            -32,467

       11,004         7.69            0       0.00     11,004           0           0.00        11,004 Management Fees- Owner                      26,245       1.04        0        0.00      26,245              0       0.00             26,245



      14,580         10.19      7,470        2.50      7,110        6,957           2.50        7,623 Total Management Fees Expense            89,351          3.54    99,579       2.50      -10,228      95,573         2.50              -6,222



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                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                      Description        YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                         FIXED EXPENSES
       14,206         9.93      14,205        4.76          0       13,792          4.96            414 Ground Lease                           169,224          6.70   168,810       4.24         414        164,295         4.30               4,929

        8,329         5.82      12,563        4.21     -4,234     -108,900        -39.13        117,228 FF & E Reserve                             99,942       3.96   150,756       3.79     -50,814                0       0.00             99,942

       15,136        10.58      15,136        5.07          0        7,655          2.75          7,481 Real Estate Tax                        181,628          7.20   181,628       4.56             0      170,714         4.47             10,914

            0         0.00            0       0.00          0            0          0.00              0 Personal Property Tax                         70        0.00         0       0.00            70              0       0.00                   70

        6,247         4.37       5,377        1.80       870         5,135          1.85          1,112 Insurance                                  66,748       2.64    64,419       1.62       2,329         61,546         1.61               5,203



      43,918         30.70     47,281        15.84     -3,364      -82,318        -29.58        126,235 TOTAL FIXED EXPENSES                  517,613          20.51   565,613      14.21     -48,001       396,555         10.38           121,057

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                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                      Description        YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         TOTAL OTHER
            0         0.00            0       0.00         0          406           0.15          -406 Owners Expense                              11,187       0.44         0       0.00      11,187         16,882         0.44               -5,695

       38,823        27.14            0       0.00     38,823       31,981         11.49         6,842 Depreciation                            465,876         18.46         0       0.00     465,876        459,034        12.01               6,842

        2,963         2.07            0       0.00      2,963        4,030          1.45        -1,067 Amortization Expense                        35,556       1.41         0       0.00      35,556         36,623         0.96               -1,067

       32,498        22.72      32,498       10.89         0        32,499         11.68            -1 Interest Expense                        389,798         15.44   389,981       9.80        -183        392,552        10.27               -2,754

       14,904        10.42       2,988        1.00     11,916        2,769          1.00        12,135 Asset Management Fee                        25,243       1.00    39,831       1.00     -14,589         38,169         1.00            -12,926

            0         0.00            0       0.00         0            0           0.00             0 Non Operating Income                            0        0.00         0       0.00             0       -1,737        -0.05               1,737

        2,623         1.83            0       0.00      2,623           0           0.00         2,623 Uninsured Loss                               5,987       0.24         0       0.00       5,987                0       0.00               5,987

            0         0.00            0       0.00         0            0           0.00             0 Extraordinary Expenses                       8,251       0.33         0       0.00       8,251                0       0.00               8,251

            0         0.00            0       0.00         0         2,138          0.77        -2,138 GB 1 YE AJE                                     0        0.00         0       0.00             0        2,138         0.06               -2,138

            0         0.00            0       0.00         0         6,808          2.45        -6,808 GB- 2 R&M/Capex AJE                             0        0.00         0       0.00             0        6,808         0.18               -6,808



      91,811         64.18     35,486        11.89    56,325       80,630         28.97         11,181 Total Other                            941,898          37.31   429,812      10.80    512,086        950,468         24.87             -8,570

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                                                                           Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                           For Property: HWS Phoenix
                                                                           00- Master P&L-CAPSTONE
                                                                           As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                   Description           YTD       % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                             Budget              Bud Var         Year                          Var
                                                                                                       House Laundry Dept




            0         0.00            0      0.00          0           0          0.00            0 Total P/R & Benefits- Ldy                    0      0.00         0      0.00              0              0      0.00                    0


                                                                                                       Operating Expenses




            0         0.00            0      0.00          0           0          0.00            0 Total Operating Expenses- Ldy                0      0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0           0          0.00             0 Total Laundry Expenses                      0       0.00        0       0.00             0              0       0.00                   0



                                                                                                       Allocation




            0         0.00            0      0.00          0           0          0.00            0 Total Allocation                             0      0.00         0      0.00              0              0      0.00                    0



            0                         0                    0           0                          0 Total Lndry Dept                             0                   0                        0              0                              0



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                                                            Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                                                            For Property: HI Charlotte University Place
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                   Description               YTD         % / POR            YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                        Var                                                                        Budget                Bud Var         Year                       Var
                                                                                                      SUMMARY

    3,906                    3,906                      0          3,906                           0 Total Rooms Available                        46,116                     46,116                        0       45,990                          126

      705                    1,826                 -1,121          1,780                      -1,075 Total Rooms Sold                             12,177                     30,276                 -18,099        30,345                     -18,168

 18.05%                   46.75%                 -28.70%        45.57%                      -27.52% Occupancy %                                 26.41%                     65.65%                  -39.25%        65.98%                     -39.58%

   70.47                    95.60                  -25.13         88.24                       -17.76 Average Rate                                 88.78                     102.74                   -13.96         99.77                      -10.99

   12.72                    44.69                  -31.97         40.21                       -27.49 REVPAR                                       23.44                      67.45                   -44.01         65.83                      -42.39




                                                                                                      REVENUES

   49,685        96.55     174,566       96.83   -124,882       157,062         98.37       -107,377 ROOMS                                     1,081,059          98.18   3,110,638      97.59   -2,029,579      3,027,576       97.71      -1,946,517

         0        0.00            0       0.00          0              0         0.00              0 FOOD                                             0            0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0              0         0.00              0 BEVERAGE                                         0            0.00           0       0.00             0              0       0.00               0

    1,773         3.45       5,708        3.17     -3,935          2,609         1.63           -836 MISCELLANEOUS                                20,049           1.82      76,773       2.41      -56,725        71,077         2.29        -51,029



  51,458       100.00     180,274       100.00   -128,816       159,671        100.00      -108,213 TOTAL REVENUES                            1,101,107      100.00       3,187,411     100.00   -2,086,304     3,098,653       100.00     -1,997,546




                                                                                                      DEPARTMENT EXPENSES

   18,267        36.76      56,348       32.28    -38,082        61,920         39.42        -43,653 ROOMS EXPENSE                              341,924           31.63     818,307      26.31     -476,383       810,980        26.79       -469,055

         0        0.00            0       0.00          0              0         0.00              0 FOOD EXPENSE                                     0            0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0              0         0.00              0 BEVERAGE EXPENSE                                 0            0.00           0       0.00             0              0       0.00               0

     170          9.59        840        14.72       -670           461         17.66           -291 MISCELLANEOUS EXPENSE                         3,425          17.08      13,927      18.14      -10,502        16,093        22.64        -12,668



  18,437        35.83      57,188        31.72    -38,752        62,381         39.07       -43,944 TOTAL DEPARTMENTAL EXPENSES                 345,349           31.36    832,234       26.11    -486,885       827,073         26.69       -481,723



                                                                                                      DEPARTMENTAL PROFIT

   31,418        63.24     118,218       67.72    -86,800        95,142         60.58        -63,724 ROOMS PROFIT                               739,134           68.37   2,292,331      73.69   -1,553,197      2,216,596       73.21      -1,477,462

         0        0.00            0       0.00          0              0         0.00              0 FOOD PROFIT                                      0            0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0              0         0.00              0 BEVERAGE PROFIT                                  0            0.00           0       0.00             0              0       0.00               0

    1,603        90.41       4,868       85.28     -3,265          2,148        82.34           -545 MISCELLANEOUS PROFIT                        16,624           82.92      62,846      81.86      -46,223        54,984        77.36        -38,361



  33,021        64.17     123,086        68.28    -90,064        97,290         60.93       -64,269 TOTAL DEPARTMENTAL PROFIT                   755,758           68.64   2,355,177      73.89   -1,599,419     2,271,580        73.31     -1,515,822



   27,265        52.99      30,669       17.01     -3,404        27,986         17.53           -721 A & G EXPENSE                              285,604           25.94     392,212      12.31     -106,608       400,941        12.94       -115,338

    3,279         6.37       2,580        1.43        699          2,715         1.70            565 TELECOM                                     36,737            3.34      30,660       0.96        6,077        29,983         0.97            6,753

    4,916         9.55       8,189        4.54     -3,272          8,983         5.63         -4,067 SALES & MARKETING EXPENSES                  59,222            5.38     108,981       3.42      -49,759       125,078         4.04        -65,856

    7,925        15.40      24,195       13.42    -16,271        24,007         15.04        -16,082 FRANCHISE FEES                             150,527           13.67     422,037      13.24     -271,511       429,624        13.86       -279,097

    5,199        10.10      12,506        6.94     -7,307        11,910          7.46         -6,711 MAINTENANCE EXPENSES                       102,033            9.27     172,360       5.41      -70,327       178,195         5.75        -76,162

    8,895        17.29      11,883        6.59     -2,988        10,477          6.56         -1,582 UTILITIES EXPENSE                          101,911            9.26     151,549       4.75      -49,638       144,595         4.67        -42,684



  57,479       111.70      90,022        49.94    -32,543        86,077         53.91       -28,598 TOTAL ADMIN EXPENSES                        736,033           66.84   1,277,799      40.09    -541,766      1,308,416        42.23       -572,383



  -24,457       -47.53     33,063        18.34    -57,521        11,213          7.02       -35,671 HOUSE PROFIT                                 19,725            1.79   1,077,378      33.80   -1,057,654      963,164         31.08       -943,440



                                                                                                      FIXED EXPENSES

   12,296        23.90       4,508        2.50      7,788          3,992         2.50          8,304 MANAGEMENT FEES                             53,750            4.88      79,705       2.50      -25,955        77,375         2.50        -23,625

   89,153       173.25      55,169       30.60     33,984        -85,945       -53.83        175,098 FIXED EXPENSES                             727,281           66.05     699,471      21.94       27,810       556,602        17.96        170,679
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    -125,907      -244.68    -26,614   -14.76    -99,294    93,166   58.35    -219,073 NET OPERATING INCOME                     -761,306     -69.14   298,203    9.36    -1,059,509   329,187     10.62         -1,090,494



       94,882       184.39    35,134    19.49     59,748   166,778   104.45     -71,896 Other                                   1,062,169     96.46    430,974   13.52      631,196   1,148,840    37.08             -86,670



    -220,789      -429.07    -61,748   -34.25   -159,041   -73,612   -46.10   -147,177 N.I. after Other                        -1,823,476   -165.60   -132,771   -4.17   -1,690,705   -819,652    -26.45        -1,003,824



    -171,987                 -61,748            -110,239   100,514            -272,501 Cash before Depreciation/Amortization   -1,237,852             -132,771           -1,105,081   -108,704                  -1,129,148

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                                                              Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                                                              For Property: HI Charlotte University Place
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

Actual         % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                      Description            YTD          % / POR           YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                   Bud Var                                        Var                                                                        Budget                Bud Var         Year                       Var
                                                                                                        ROOMS DEPARTMENT
                                                                                                        ROOMS REVENUE

    3,093           6.23      61,904       35.46    -58,811        80,630         51.34        -77,537 Rack/ Premium                              358,493           33.16   1,175,673      37.80     -817,180      1,386,569       45.80      -1,028,076

    1,120           2.25      11,380        6.52    -10,260          4,016         2.56         -2,896 Corporate                                    47,821           4.42     248,913       8.00     -201,092       235,947         7.79       -188,126

   41,699          83.93      82,584       47.31    -40,885         54,682        34.82        -12,983 Discounts - Other                          494,498           45.74   1,157,196      37.20     -662,698      1,107,397       36.58       -612,899

          0         0.00       7,067        4.05     -7,067          1,419         0.90         -1,419 Government                                   10,418           0.96     133,833       4.30     -123,415        31,642         1.05        -21,224

     230            0.46       3,995        2.29     -3,765          3,778         2.41         -3,548 Locally Negotiated Rate                      37,405           3.46     102,655       3.30      -65,250        85,355         2.82        -47,950

         -88       -0.18            0       0.00        -88         -2,742        -1.75          2,654 Allowances                                   -3,291          -0.30           0       0.00       -3,291        -13,389       -0.44         10,098



  46,053          92.69     166,930        95.63   -120,876       141,783         90.27       -95,729 Total Transient Revenue                     945,344           87.45   2,818,270      90.60   -1,872,926     2,833,520        93.59     -1,888,176



    3,567           7.18       4,766        2.73     -1,199          4,439         2.83           -872 Crew (Air)                                 106,224            9.83      59,828       1.92       46,396        21,408         0.71         84,816



    3,567           7.18       4,766        2.73     -1,199          4,439         2.83           -872 Total Base Revenues                        106,224            9.83      59,828       1.92       46,396        21,408         0.71         84,816



          0         0.00            0       0.00          0              0         0.00              0 Group- SMERF                                    -225         -0.02           0       0.00         -225               0       0.00             -225

          0         0.00       2,871        1.64     -2,871          9,974         6.35         -9,974 Group- Corporate                             22,241           2.06     232,541       7.48     -210,299       147,709         4.88       -125,468



          0        0.00       2,871         1.64     -2,871         9,974          6.35         -9,974 Total Group Revenue                         22,016            2.04    232,541        7.48    -210,524       147,709          4.88       -125,693



         64         0.13            0       0.00         64           865          0.55           -801 Guaranteed No-Show                            7,475           0.69           0       0.00        7,475        24,939         0.82        -17,464



  49,685         100.00     174,566       100.00   -124,882       157,062        100.00      -107,377 Total Rooms Revenue                       1,081,059       100.00      3,110,638     100.00   -2,029,579     3,027,576       100.00     -1,946,517



                                                                                                        ROOM STATISTICS

         34           5         548           30       -514           759            43           -725 Rack/ Premium Rooms                           3,204             26      10,059         33       -6,855        11,916           39            -8,712

         14           2         110            6        -96            41             2            -27 Corporate Rooms                                 490              4       2,293          8       -1,803         2,196            7            -1,706

     614             87         986           54       -372           753            42           -139 Discounts - Other Rooms                       6,499             53      13,087         43       -6,588        13,190           43            -6,691

          0           0          55            3        -55            11             1            -11 Government Rooms                                 82              1       1,047          3         -965             247          1             -165

          2           0          37            2        -35            39             2            -37 Locally Negotiated Corporate Rooms              438              4         959          3         -521             795          3             -357



     664             94       1,735          95      -1,071         1,603           90            -939 Total Transient Stats                       10,713             88      27,444         91      -16,731         28,344          93         -17,631



         41           6          55            3        -14            53             3            -12 Crew (Air) Stats                              1,221             10         688          2         533              254          1              967



         41           6          55           3         -14            53             3            -12 Total Crew Stats                             1,221             10         688          2          533            254           1               967



          0           0          37            2        -37           124             7           -124 Group- Corporate Rooms                          243              2       2,144          7       -1,901         1,747            6            -1,504



          0           0          37           2         -37           124             7           -124 Total Group Stats                               243             2       2,144          7        -1,901         1,747           6          -1,504



     705            100       1,826         100      -1,121         1,780          100          -1,075 TOTAL ROOM STATISTICS                       12,177            100      30,276        100      -18,099         30,345         100         -18,168



                                                                                                        Other Room Stats

          0           0             0          0          0              1            0             -1 Comp Rooms                                       18              0           0          0            18             93          0               -75

          0           0             0          0          0              0            0              0 House Use Rooms                                   0              0           0          0             0              6          0                -6

     435             62             0          0        435           943            53           -508 Single Occupancy                              8,277             68           0          0        8,277        18,366           61        -10,089

     270             38             0          0        270           837            47           -567 Multiple Occupancy                            3,898             32           0          0        3,898        11,901           39            -8,003
                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 226 of 541
          969             137   0   0    969      14      1     955 Out of Order Rooms    8,565    70   0    0    8,565    1,166     4                  7,399

        1,031             146   0   0   1,031   2,855   160   -1,824 # of Guests         17,177   141   0    0   17,177   45,655   150             -28,478



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                                                            Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                                                            For Property: HI Charlotte University Place
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year      % / POR       Act vs LY                      Description            YTD          % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                        Var                                                                   Budget              Bud Var         Year                         Var
                                                                                                      ADR



        90.97                113.00                -22.04         106.23                      -15.26 Rack/Premium ADR                             111.89               116.88                 -4.99         116.36                              -4.47

        80.00                103.87                -23.87          97.95                      -17.95 Corporate ADR                                 97.59               108.58                -10.98         107.44                              -9.85

            0                      0                    0              0                           0 Contract - Airline ADR                            0                   0                        0              0                               0

        67.91                 83.75                -15.84          72.62                       -4.71 Discount ADR                                  76.09                88.43                -12.34          83.96                              -7.87

         0.00                  0.00                  0.00           0.00                        0.00 Distressed Passengers ADR                       0.00                0.00                  0.00           0.00                              0.00

            0                      0                    0              0                           0 AARP ADR                                          0                   0                        0              0                               0

         0.00                129.00               -129.00         129.00                     -129.00 Government ADR                               127.05               127.83                 -0.78         128.11                              -1.06

         0.00                  0.00                  0.00           0.00                        0.00 AAA ADR                                         0.00                0.00                  0.00           0.00                              0.00

       115.00                109.38                  5.62          96.87                       18.13 Local Negotiated ADR                          85.40               107.02                -21.62         107.36                           -21.96

         0.00                  0.00                  0.00           0.00                        0.00 Packages ADR                                    0.00                0.00                  0.00           0.00                              0.00

         0.00                  0.00                  0.00           0.00                        0.00 Wholesale/FIT ADR                               0.00                0.00                  0.00           0.00                              0.00

            0                      0                    0              0                           0 Internet ADR                                      0                   0                        0              0                               0

            0                      0                    0              0                           0 Tax Exampt - Transient ADR                        0                   0                        0              0                               0



       69.36                 96.23                 -26.87         88.45                       -19.09 Total Transient ADR                          88.24               102.69                 -14.45         99.97                          -11.73




        87.00                 87.00                  0.00          83.75                        3.25 Crew ADR                                      87.00                87.00                  0.00          84.28                              2.71

            0                      0                    0              0                           0 Contract ADR                                      0                   0                        0              0                               0




         0.00                  0.00                  0.00           0.00                        0.00 Group - SMERF ADR                               0.00                0.00                  0.00           0.00                              0.00

         0.00                 78.60                -78.60          80.44                      -80.44 Group - Corporate ADR                         91.53               108.45                -16.93          84.55                              6.98

            0                      0                    0              0                           0 Group - Government ADR                            0                   0                        0              0                               0

            0                      0                    0              0                           0 Group - Tour ADR                                  0                   0                        0              0                               0

            0                      0                    0              0                           0 Group- Association ADR                            0                   0                        0              0                               0

            0                      0                    0              0                           0 Group - Tax Exampt ADR                            0                   0                        0              0                               0



         0.00                78.60                 -78.60         80.44                       -80.44 Total Group ADR                              90.60               108.45                 -17.85         84.55                               6.05

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                                                                For Property: HI Charlotte University Place
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                       Description           YTD         % / POR            YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                        Budget                Bud Var         Year                          Var
                                                                                                          Payroll & Related Expense

        2,166         3.07      4,064         2.23     -1,898          6,265         3.52         -4,099 FD/ Guest Service Reps                       24,926           2.05      67,385       2.23      -42,459        64,035         2.11             -39,109

        3,201         4.54      3,762         2.06       -561          3,496         1.96           -295 Executive Housekeeper                        40,245           3.31      43,442       1.43       -3,197        36,569         1.21                  3,677

             0        0.00      2,758         1.51     -2,758          1,825         1.03         -1,825 Asst Exec Housekeeper/ Inspectress            5,302           0.44      32,562       1.08      -27,260        27,835         0.92             -22,533

        3,066         4.35      9,899         5.42     -6,833          9,476         5.32         -6,410 Housekeepers                                 50,048           4.11     164,127       5.42     -114,079       114,345         3.77             -64,297

        1,510         2.14      2,951         1.62     -1,441          3,637         2.04         -2,127 Housemen                                     15,174           1.25      34,842       1.15      -19,668        28,282         0.93             -13,108

             0        0.00            0       0.00          0              0         0.00              0 Van Drivers                                  13,442           1.10           0       0.00       13,442               0       0.00             13,442

             0        0.00      1,500         0.82     -1,500          1,508         0.85         -1,508 Laundry                                       3,710           0.30      24,866       0.82      -21,157        18,705         0.62             -14,995

             0        0.00      2,680         1.47     -2,680          2,489         1.40         -2,489 Comp Breakfast Hostess                        5,943           0.49      31,643       1.05      -25,700        26,382         0.87             -20,439

        3,261         4.63      3,085         1.69       176           3,051         1.71            210 Night Audit                                  34,499           2.83      36,420       1.20       -1,921        37,380         1.23               -2,881

        1,334         1.89      2,938         1.61     -1,605          3,204         1.80         -1,871 Payroll Taxes                                18,170           1.49      40,041       1.32      -21,870        32,999         1.09             -14,828

          550         0.78      1,107         0.61       -557           658          0.37           -108 Employee Benefits                             9,575           0.79      13,284       0.44       -3,709        13,354         0.44               -3,779

       -4,420        -6.27        766         0.42     -5,186          1,440         0.81         -5,860 Vacation /PTO                                13,171           1.08       9,192       0.30        3,979         8,394         0.28                  4,777

        1,663         2.36      1,548         0.85       115           2,357         1.32           -693 Holiday                                       5,900           0.48       5,418       0.18         482          7,162         0.24               -1,262

            10        0.01            0       0.00         10          1,200         0.67         -1,190 Bonus/Incentive Pay                             310           0.03           0       0.00         310          2,750         0.09               -2,440

             0        0.00            0       0.00          0              0         0.00              0 Contract Labor- Housekeepers                      0           0.00           0       0.00             0       61,427         2.02             -61,427

             0        0.00            0       0.00          0              0         0.00              0 Contract Labor- Houseperson                       0           0.00           0       0.00             0        3,566         0.12               -3,566

             0        0.00            0       0.00          0              0         0.00              0 Contract Labor- Laundry                           0           0.00           0       0.00             0        7,520         0.25               -7,520



      12,342         17.51     37,058        20.29    -24,716        40,607        22.81        -28,265 Total P/R & R/Benefits- Rooms               240,416           19.74    503,222       16.62    -262,806       490,706         16.17          -250,290

                                                                                                          ROOMS DEPARTMENT
                                                                                                          OPERATING EXPENSE

             0        0.00         73         0.04        -73           108          0.06           -108 Newspapers                                      319           0.03       1,211       0.04         -892         1,454         0.05               -1,135

          848         1.20      7,341         4.02     -6,492          8,536         4.80         -7,688 Comp Breakfast                               23,589           1.94     122,335       4.04      -98,746       123,694         4.08           -100,105

             0        0.00         55         0.03        -55              0         0.00              0 Comp Breakfast- Equipment                        51           0.00         908       0.03         -857             726       0.02                  -675

             0        0.00        365         0.20       -365           295          0.17           -295 Rooms- Promotion                                930           0.08       6,055       0.20       -5,125         6,697         0.22               -5,767

             0        0.00            0       0.00          0              0         0.00              0 Guest Transportation                             41           0.00           0       0.00            41              0       0.00                    41

            35        0.05        128         0.07        -93           715          0.40           -680 Laundry Supplies                                345           0.03       2,119       0.07       -1,775         2,620         0.09               -2,275

          139         0.20      1,004         0.55       -866          1,202         0.68         -1,063 Linen Supplies                                4,638           0.38      16,652       0.55      -12,014        20,222         0.67             -15,584

        1,515         2.15      1,480         0.81         35          1,474         0.83             41 Cable TV                                     16,744           1.38      17,760       0.59       -1,016        17,606         0.58                  -862

          441         0.63        442         0.24         -1           882          0.50           -441 HSIA Support                                  4,754           0.39       5,298       0.17         -544         5,883         0.19               -1,129

             0        0.00            0       0.00          0            -24        -0.01             24 Printing & Stationary                             0           0.00       3,750       0.12       -3,750               0       0.00                     0

          670         0.95      1,881         1.03     -1,211          3,888         2.18         -3,218 Reservations Expense                         10,279           0.84      31,184       1.03      -20,905        33,481         1.10             -23,201

          599         0.85      2,374         1.30     -1,775          1,744         0.98         -1,144 Guest Room Supplies                          10,923           0.90      39,359       1.30      -28,436        37,671         1.24             -26,748

            74        0.11        639         0.35       -565          1,097         0.62         -1,023 Cleaning Supplies                             2,461           0.20      10,597       0.35       -8,136        11,373         0.37               -8,912

          485         0.69        310         0.17       175             -39        -0.02            524 Ecolab Core Supplies                          4,490           0.37       5,146       0.17         -656         6,412         0.21               -1,923

        1,101         1.56      2,776         1.52     -1,674          1,447         0.81           -346 Travel Agents Commission                     18,910           1.55      46,020       1.52      -27,109        44,714         1.47             -25,804

             0        0.00        274         0.15       -274            -13        -0.01             13 Uniforms                                        363           0.03       4,541       0.15       -4,179         4,211         0.14               -3,848

             0        0.00        150         0.08       -150              0         0.00              0 Walk Expense                                      0           0.00       2,150       0.07       -2,150         3,511         0.12               -3,511

            17        0.02            0       0.00         17              0         0.00             17 COVID 19 Supplies                             2,673           0.22           0       0.00        2,673               0       0.00                  2,673



       5,925          8.40     19,290        10.56    -13,365        21,313        11.97        -15,388 Total Operating - Rooms                     101,508            8.34    315,085       10.41    -213,577       320,274         10.55          -218,766



      18,267         25.91     56,348        30.86    -38,082        61,920        34.79        -43,653 Total Expenses- Rooms                       341,924           28.08    818,307       27.03    -476,383       810,980         26.73          -469,055



      31,418         44.56    118,218        64.74    -86,800        95,142        53.45        -63,724 Net Income- Rooms                           739,134           60.70   2,292,331      75.71   -1,553,197     2,216,596        73.05        -1,477,462



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                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR       Act vs LY                      Description            YTD         % / POR         YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                      Budget              Bud Var         Year                          Var
                                                                                                         Food & Beverage
                                                                                                         Summary


            0         0.00            0       0.00         0              0         0.00              0 Total Food Sales                                 0           0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Total Beverage Sales                             0           0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Total Banquet A/V                                0           0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Total Banquet Misc                               0           0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Total F & B Sales                                0           0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Food Cost                                        0           0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Beverage Costs                                   0           0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Banquet A/V Costs                                0           0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Total F & B Costs                                0           0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Food Wages                                       0           0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Beverage Wages                                   0           0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Total F & B Wages                                0           0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 F & B- P T & E B                                 0           0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0              0         0.00              0 TTL P/R and Benefits                             0           0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0              0         0.00              0 Food Operating Expenses                          0           0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0              0         0.00              0 Beverage Operating Expenses                      0           0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Total F & B Operating Expenses                   0           0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0              0         0.00              0 Net F & B Income                                 0           0.00        0       0.00             0              0       0.00                  0




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                                                              Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                                                              For Property: HI Charlotte University Place
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR       Act vs LY                    Description              YTD         % / POR         YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                                      Budget             Bud Var         Year                         Var
                                                                                                        Food Department




            0         0.00            0      0.00         0             0         0.00               0 Total Restaurant                                 0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Bar Food                                   0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Bistro                                     0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Garden Grill                               0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Other Food Revenue                         0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Room Service                               0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Banquets                                   0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Catering                                   0           0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00               0 Net Food Revenue                                 0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Banquets Other                             0           0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00               0 Total Food Revenues                              0           0.00        0      0.00             0              0      0.00                  0

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                                                               For Property: HI Charlotte University Place
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR       Act vs LY                   Description               YTD         % / POR         YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                      Budget              Bud Var         Year                          Var
                                                                                                         Cost of Goods Sold

            0         0.00            0      0.00          0             0         0.00               0 Total Cost of Good Sold                          0           0.00        0      0.00              0              0      0.00                   0


                                                                                                         Food Payroll

            0         0.00            0       0.00         0              0         0.00              0 Employee Benefits                                0           0.00        0       0.00             0              0       0.00                  0

            0         0.00            0      0.00          0             0         0.00               0 Total Food Wages                                 0           0.00        0      0.00              0              0      0.00                   0


                                                                                                         Operating Expenses



            0         0.00            0      0.00          0             0         0.00               0 Total Operating Expense- Food                    0           0.00        0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00               0 Total Food Costs                                 0           0.00        0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00               0 N.I.- Food Department                            0           0.00        0      0.00              0              0      0.00                   0

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                                                              For Property: HI Charlotte University Place
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR       Act vs LY                  Description                YTD         % / POR         YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                                      Budget             Bud Var         Year                         Var
                                                                                                        Beverage Department




            0         0.00            0      0.00         0             0         0.00               0 Total Restaurant Beverage                        0           0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00               0 Total Garden Grill Beverage                      0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Room Service Bev                           0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Bar Beverage                               0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Banquet Beverage                           0           0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00               0 Total Catering Beverage                          0           0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00               0 Total Beverage Revenue                           0           0.00        0      0.00             0              0      0.00                  0

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                                                               For Property: HI Charlotte University Place
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR       Act vs LY                   Description               YTD         % / POR         YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                      Budget              Bud Var         Year                          Var
                                                                                                         Cost of Goods Sold



            0         0.00            0       0.00         0              0         0.00              0 Total COGS- Beverage                             0           0.00        0       0.00             0              0       0.00                  0


                                                                                                         Beverage Payroll

            0         0.00            0      0.00          0             0         0.00               0 Total Beverage Payroll                           0           0.00        0      0.00              0              0      0.00                   0


                                                                                                         Operating Expenses- Beverage



            0         0.00            0      0.00          0             0         0.00               0 Total Operating- Beverage                        0           0.00        0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00               0 Total Beverage Costs                             0           0.00        0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00               0 Net Income- Beverage                             0           0.00        0      0.00              0              0      0.00                   0

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                                                              For Property: HI Charlotte University Place
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR       Act vs LY                 Description                 YTD         % / POR         YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                                      Budget             Bud Var         Year                         Var
                                                                                                        FOOD STATS




            0         0.00            0      0.00         0             0         0.00               0 Total Food Covers                                0           0.00        0      0.00             0              0      0.00                   0

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                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR     Act vs    Last Year      % / POR       Act vs LY                    Description              YTD         % / POR         YTD     % / POR     Act vs      YTD Last       % / POR       Act vs LY
                                                       Bud Var                                       Var                                                                      Budget                Bud Var       Year                           Var
                                                                                                           TELECOM
                                                                                                           TELEPHONE REVENUES

             0         0.00         10          0.00       -10              0         0.00              0 Long Distance                                     0          0.00      120        0.00         -120              0       0.00                      0

            30         0.00         30          0.00         0            15          0.00             15 Internet Access Fees                            257          0.00      660         0.00        -403            921        0.00                   -663



            30        0.00         40          0.00        -10            15         0.00              15 Total Phone Revenues                            257          0.00      780        0.00        -523          921          0.00                 -663



                                                                                                           COS- Communication

        1,653          3.21        880          0.49       773           996          0.62            657 COS-Local                                    14,141          1.28    10,560        0.33       3,581        7,993          0.26               6,148

            15         0.00         10       100.00          5             44         0.00            -28 COS-Long Distance                               250          0.00      120      100.00         130         2,316         0.00                -2,066

        1,540      5,185.19      1,630      5,433.33       -90          1,614    10,870.03            -74 COS-HSIA ISP                                 18,707    7,267.65      19,560    2,963.64        -853       19,395      2,106.51                   -688



       3,209          0.00       2,520         0.00        689         2,654         0.00            554 Total COS- Comm                              33,099           0.00   30,240        0.00       2,859       29,704          0.00                3,394



      -3,179          0.00      -2,480         0.00       -699        -2,640         0.00            -540 Gross Margin- Comm                         -32,841           0.00   -29,460       0.00       -3,381      -28,783         0.00              -4,058




                                                                                                           Operating Expenses

          100          0.00        100          0.00         0            75          0.00             25 Equipment Cost                                1,080          0.00     1,200       0.00         -120        1,200         0.00                    -120

             0         0.00            0        0.00         0              0         0.00              0 Equipment Maintenance                         2,815          0.00         0       0.00        2,815              0       0.00                2,815



         100          0.00        100          0.00          0            75         0.00              25 Total Operating - Comm                       3,895           0.00    1,200        0.00       2,695        1,200          0.00                2,695



       3,279          0.00       2,580         0.00        699         2,715         0.00            565 N.I.- Comm Dept                              36,737           0.00   30,660        0.00       6,077       29,983          0.00                6,753



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                                                                For Property: HI Charlotte University Place
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                     Description             YTD         % / POR          YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                       Budget               Bud Var         Year                          Var
                                                                                                          MISCELLANEOUS DEPARTMENT
                                                                                                          MISCELLANEOUS REVENUES

             0        0.00         18         0.53        -18           125          6.72           -125 Laundry/Valet                                    63           0.40      303        0.61        -240              294       0.66                   -230

             0        0.00            0       0.00          0              0         0.00              0 Movie Income                                     14           0.09        0        0.00            14              0       0.00                    14

             0        0.00            0       0.00          0           763         40.92           -763 Gift Shop Sales                                   0           0.00        0        0.00             0       20,825        46.70            -20,825

             0        0.00            0       0.00          0             -1        -0.06              1 Vending                                          12           0.08        0        0.00            12            119       0.27                   -108

             0        0.00            0       0.00          0              0         0.00              0 Pet Fees                                          0           0.00        0        0.00             0            319       0.72                   -319

             0        0.00            0       0.00          0              0         0.00              0 Rollaways                                         0           0.00        0        0.00             0             60       0.13                    -60

             0        0.00            0       0.00          0              0         0.00              0 Other Commissions                                18           0.11        0        0.00            18              0       0.00                    18

             0        0.00            0       0.00          0              1         0.06             -1 Miscellaneous                                     0           0.00        0        0.00             0              0       0.00                     0

          575        46.48      1,650        47.72     -1,075           973         52.15           -398 Late Cancellation Income                      4,657          29.63    19,800      39.78     -15,143         18,242        40.91            -13,586

             0        0.00            0       0.00          0              0         0.00              0 Smoking Fee                                   2,850          18.13        0        0.00       2,850          4,725        10.60               -1,875

          662        53.52      1,424        41.19       -762              4         0.21            658 Market Sales                                  8,103          51.56    23,615      47.45     -15,512                4       0.01               8,099

             0        0.00        365        10.56       -365              0         0.00              0 Market Sales- Beer/Wine                           0           0.00     6,055      12.17      -6,055                0       0.00                     0



       1,238       100.00       3,458       100.00     -2,220         1,865        100.00           -628 Total Miscellaneous Revenues                15,717      100.00       49,773      100.00     -34,056        44,589        100.00            -28,872



                                                                                                          COSales- Miscellaneous

             0        0.00         18       100.00        -18           126        100.69           -126 COS-Laundry/Valet                                53          84.24      303      100.00        -250              338     115.16                   -285

             0        0.00            0       0.00          0           335         43.84           -335 COS-Gift Shop                                     0           0.00        0        0.00             0       14,577        70.00            -14,577

          170        25.68        712        50.00       -542              0         0.00            170 COS- Market                                   3,372          41.61    11,808      50.00      -8,436                0       0.00               3,372

             0        0.00        110         3.17       -110              0         0.00              0 COS- Market Beer/Wine                             0           0.00     1,817       3.65      -1,817                0       0.00                     0



         170         13.74       840         24.29      -670            461         24.70           -291 Total COS- Miscellaneous                     3,425           21.79   13,927       27.98     -10,502        14,915         33.45            -11,489



          450        84.03      1,500        66.67     -1,050           625         84.03           -175 Banquet Room Rental                           3,699          85.39    18,000      66.67     -14,301         18,224        68.80            -14,525

             0        0.00        450        20.00       -450              0         0.00              0 Banquet Room F & B                               40           0.92     5,400      20.00      -5,360          4,405        16.63               -4,365

             0        0.00            0       0.00          0              0         0.00              0 Banquet Room AV Rental                            0           0.00        0        0.00             0             20       0.08                    -20

            86        4.82        300         5.26       -215           119          4.55            -33 Banquet Room Setup Service Charge               593           2.96     3,600       4.69      -3,007          3,840         5.40               -3,247

         536       100.00       2,250       100.00     -1,715           744        100.00           -208 Total Meeting Room Revenues                  4,332      100.00       27,000      100.00     -22,668        26,489        100.00            -22,157


                                                                                                          Cost of Sales- Meeting Room

             0        0.00            0       0.00          0              0         0.00              0 COS-Banquet Room F & B                            0           0.00        0        0.00             0        1,178         4.45               -1,178



       1,603       129.52       4,868       140.78     -3,265         2,148        115.17           -545 Total Miscellaneous Profit                  16,624      105.77       62,846      126.27     -46,223        54,984        123.31            -38,361

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                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                      Description            YTD          % / POR         YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                       Budget               Bud Var         Year                          Var
                                                                                                          ADMIN & GENERAL DEPARTMENT
                                                                                                          ADMIN & GENERAL

                                                                                                          P/R & Related Benefits- A&G

        6,389        12.42      6,648         3.69       -259          5,199         3.26          1,190 General Manager                              69,739           6.33    78,492       2.46      -8,753         71,860         2.32               -2,121

             0        0.00      3,762         2.09     -3,762              0         0.00              0 Assistant General Manager                         0           0.00    43,332       1.36     -43,332         27,506         0.89            -27,506

        2,705         5.26            0       0.00      2,705          4,312         2.70         -1,607 Operations Manager                           39,362           3.57         0       0.00      39,362          6,285         0.20             33,077

             0        0.00            0       0.00          0              0         0.00              0 Security                                          0           0.00         0       0.00             0            987       0.03                -987

        1,246         2.42        833         0.46       413            772          0.48            473 Payroll Taxes                                 9,619           0.87    10,386       0.33        -767          9,428         0.30                   192

        1,728         3.36      1,025         0.57       703            774          0.48            954 Employee Benefits                            17,324           1.57    12,300       0.39       5,024         15,035         0.49               2,289

        4,071         7.91            0       0.00      4,071           750          0.47          3,321 Vacation /PTO                                19,105           1.74         0       0.00      19,105          3,992         0.13             15,113

          927         1.80            0       0.00       927            915          0.57             12 Holiday                                       3,643           0.33         0       0.00       3,643          3,015         0.10                   627

            40        0.08            0       0.00        40            250          0.16           -210 Bonus/Incentive Pay                             955           0.09     8,000       0.25      -7,045          3,710         0.12               -2,756



      17,106         33.24     12,268         6.81     4,838         12,972         8.12           4,134 Total P/R & R/B- A&G                       159,747           14.51   152,510       4.78      7,237        141,818          4.58             17,929


                                                                                                          Operating Expenses- A&G

          240         0.47      2,450         1.36     -2,210          1,938         1.21         -1,698 Employee Relations                            1,194           0.11     6,550       0.21      -5,356          6,720         0.22               -5,526

        4,000         7.77      2,000         1.11      2,000          2,000         1.25          2,000 Accounting Fees                              26,000           2.36    24,000       0.75       2,000         24,000         0.77               2,000

          808         1.57      1,148         0.64       -340          4,014         2.51         -3,206 Data Processing                              15,838           1.44    14,099       0.44       1,739         17,551         0.57               -1,713

          158         0.31        329         0.18       -171           249          0.16            -91 Office Supplies                               2,366           0.21     5,450       0.17      -3,084          4,690         0.15               -2,324

             0        0.00            0       0.00          0              0         0.00              0 Audit Fees                                        0           0.00         0       0.00             0            615       0.02                   -615

            44        0.09         44         0.02          0            44          0.03              0 Muzak                                           554           0.05       528       0.02            26            529       0.02                    25

             0        0.00        300         0.17       -300            99          0.06            -99 Travel & Lodging                                771           0.07     7,500       0.24      -6,729          5,038         0.16               -4,267

             0        0.00            0       0.00          0              0         0.00              0 Meals and Entertainment                           0           0.00         0       0.00             0            422       0.01                   -422

             0        0.00         75         0.04        -75            75          0.05            -75 Telephone                                       188           0.02       900       0.03        -712              900       0.03                   -712

            29        0.06            0       0.00        29             30          0.02             -1 Licenses and Permits                          1,795           0.16     2,246       0.07        -451          2,603         0.08                   -809

            59        0.12         73         0.04        -14           277          0.17           -217 Postage                                         480           0.04     1,211       0.04        -731          1,478         0.05                   -998

             0        0.00            0       0.00          0              0         0.00              0 Recruitment                                     900           0.08       750       0.02         150          1,505         0.05                   -605

             0        0.00        167         0.09       -167           328          0.21           -328 Employment Screening/ Drug Testing            1,156           0.10     2,004       0.06        -848          2,236         0.07               -1,080

             0        0.00            0       0.00          0           202          0.13           -202 Training                                      1,949           0.18     1,750       0.05         199              577       0.02               1,372

             0        0.00            0       0.00          0              0         0.00              0 Bad Debt                                          0           0.00         0       0.00             0        8,938         0.29               -8,938

             0        0.00      3,974         2.20     -3,974          1,974         1.24         -1,974 Security Service                              9,423           0.86    47,469       1.49     -38,046         44,146         1.42            -34,723

          150         0.29        150         0.08          0         -1,403        -0.88          1,553 Dues/Subscriptions                            5,036           0.46     2,578       0.08       2,458          6,991         0.23               -1,955

        1,201         2.33      4,778         2.65     -3,578          4,752         2.98         -3,551 Credit Card Commissions                      27,030           2.45    84,487       2.65     -57,457         85,922         2.77            -58,892

             1        0.00            0       0.00          1         -3,551        -2.22          3,551 Cash Over/Short                                 -225         -0.02         0       0.00        -225         -9,241        -0.30               9,016

          190         0.37        173         0.10        17            154          0.10             36 Equipment Rental                              2,412           0.22     2,076       0.07         336          2,951         0.10                   -539

          281         0.55        390         0.22       -109           616          0.39           -335 Payroll Services                              4,799           0.44     6,744       0.21      -1,945          6,820         0.22               -2,021

        1,123         2.18      1,426         0.79       -303          1,414         0.89           -291 Bank Charges                                 13,991           1.27    17,112       0.54      -3,121         17,536         0.57               -3,545

          703         1.37            0       0.00       703            188          0.12            516 Chargebacks                                     833           0.08         0       0.00         833         12,595         0.41            -11,762

        1,174         2.28        925         0.51       249           1,615         1.01           -441 Workers Comp Insurance                        9,368           0.85    12,248       0.38      -2,880         13,601         0.44               -4,234



      10,159         19.74     18,402        10.21     -8,242        15,014         9.40          -4,854 Total Operating- A&G                       125,856           11.43   239,702       7.52    -113,845       259,123          8.36          -133,267



      27,265         52.99     30,669        17.01     -3,404        27,986        17.53            -721 Total Expenses- A&G                        285,604           25.94   392,212      12.31    -106,608       400,941         12.94          -115,338

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                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                      Description            YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                      Budget               Bud Var         Year                          Var
                                                                                                          SALES DEPARTMENT
                                                                                                          SALES

                                                                                                          P/R & R/B

             0        0.00      4,549         2.52     -4,549          2,913         1.82         -2,913 Sales Manager                                11,257          1.02    52,662       1.65     -41,405         49,445         1.60            -38,187

          360         0.70        915         0.51       -554           722          0.45           -361 Revenue Management                            5,498          0.50    10,974       0.34      -5,476          9,005         0.29               -3,507

             0        0.00        172         0.10       -172              0         0.00              0 E Commerce Management                           516          0.05     2,066       0.06      -1,549                0       0.00                   516

        2,314         4.50            0       0.00      2,314              0         0.00          2,314 Sales Coordinator                            19,988          1.82         0       0.00      19,988         18,136         0.59               1,853

          234         0.46        428         0.24       -194           348          0.22           -113 Payroll Taxes                                 2,932          0.27     5,237       0.16      -2,304          6,181         0.20               -3,249

          334         0.65        733         0.41       -399           108          0.07            226 Employee Benefits                             2,569          0.23     8,796       0.28      -6,227          6,571         0.21               -4,002

         -572        -1.11            0       0.00       -572           800          0.50         -1,372 Vacation / PTO                                2,555          0.23         0       0.00       2,555          1,720         0.06                   835

          272         0.53            0       0.00       272            400          0.25           -128 Holiday                                       1,016          0.09         0       0.00       1,016          1,816         0.06                   -800

            10        0.02            0       0.00        10               0         0.00             10 Bonus/Incentive Pay                             467          0.04     3,200       0.10      -2,733          3,351         0.11               -2,884



       2,952          5.74      6,797        3.77      -3,845         5,290         3.31          -2,338 Total P/R & R/B- Sales                      46,798           4.25    82,934      2.60      -36,136        96,225         3.11             -49,426


                                                                                                          Operating Expenses- Sales

             0        0.00            0       0.00          0              0         0.00              0 Printing & Stationary                            31          0.00         0       0.00            31             26       0.00                     6

             0        0.00         25         0.01        -25           113          0.07           -113 Office Supplies                                   0          0.00       300       0.01        -300              280       0.01                   -280

             0        0.00         50         0.03        -50            66          0.04            -66 Travel & Lodging                                  0          0.00     1,600       0.05      -1,600          1,714         0.06               -1,714

             0        0.00         50         0.03        -50              0         0.00              0 Meals & Entertainment                             0          0.00       300       0.01        -300               96       0.00                    -96

             0        0.00         75         0.04        -75           -133        -0.08            133 Promotions                                      332          0.03       900       0.03        -568              817       0.03                   -485

             0        0.00         50         0.03        -50             50         0.03            -50 Telephone                                       100          0.01       600       0.02        -500              400       0.01                   -300

             0        0.00         30         0.02        -30              0         0.00              0 Postage                                           0          0.00        90       0.00         -90               35       0.00                    -35

             0        0.00            0       0.00          0              0         0.00              0 Sales Training                                  387          0.04       580       0.02        -193               95       0.00                   292

          132         0.26            0       0.00       132           1,063         0.67           -931 Dues & Subscriptions                          4,564          0.41     3,971       0.12        593           3,089         0.10               1,475

             0        0.00            0       0.00          0              0         0.00              0 Trade Show                                        0          0.00         0       0.00             0             21       0.00                    -21

        1,500         2.92            0       0.00      1,500          1,500         0.94              0 Outdoor Advertising                           1,500          0.14         0       0.00       1,500          1,500         0.05                     0

             0        0.00        325         0.18       -325           200          0.13           -200 e Commerce Costs                                  0          0.00     3,900       0.12      -3,900          5,384         0.17               -5,384

          332         0.65        767         0.43       -435           834          0.52           -502 Brand Paid Search                             5,509          0.50    12,716       0.40      -7,207         14,628         0.47               -9,119

             0        0.00            0       0.00          0              0         0.00              0 Internet Advertising                              0          0.00       770       0.02        -770              770       0.02                   -770

             0        0.00         20         0.01        -20              0         0.00              0 Collateral                                        0          0.00       320       0.01        -320                0       0.00                     0



       1,964          3.82      1,392        0.77        572          3,693         2.31          -1,729 Total Operating- Sales                      12,424           1.13    26,047      0.82      -13,623        28,853         0.93             -16,430



       4,916          9.55      8,189        4.54      -3,272         8,983         5.63          -4,067 Total Expenses-Sales                        59,222           5.38   108,981      3.42      -49,759       125,078         4.04             -65,856

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 239 of 541
                                                                Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                                                                For Property: HI Charlotte University Place
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                       Description             YTD         % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                       Budget               Bud Var         Year                          Var
                                                                                                          MAINTENANCE DEPARTMENT
                                                                                                          REPAIRS & MAINTENANCE
                                                                                                          P/R & Related Expenses- Maintenance

        4,259         6.04      4,671         2.56       -412          4,185         2.35             73 Chief Engineer                               52,264          4.29     55,151       1.82      -2,887         52,099         1.72                   165

             0        0.00      2,604         1.43     -2,604          2,121         1.19         -2,121 General Maintenance                           4,511          0.37     30,744       1.02     -26,233         27,525         0.91            -23,014

          407         0.58        618         0.34       -212           598          0.34           -191 Payroll Taxes                                 4,996          0.41      7,301       0.24      -2,306          6,912         0.23               -1,916

          548         0.78        576         0.32        -28           594          0.33            -46 Employee Benefits                             6,727          0.55      6,912       0.23        -185          6,461         0.21                   266

          440         0.62            0       0.00       440            652          0.37           -212 Holiday                                       1,822          0.15          0       0.00       1,822          2,069         0.07                   -247

       -1,670        -2.37            0       0.00     -1,670              0         0.00         -1,670 Vacation /PTO                                 3,152          0.26          0       0.00       3,152          1,828         0.06               1,324



       3,983          5.65      8,469        4.64      -4,487         8,149         4.58          -4,167 Total P/R & Related Expenses- Maintenance    73,470          6.03    100,108      3.31      -26,638        96,894         3.19             -23,424


                                                                                                          Operating Expenses- R & M

             0        0.00        160         0.09       -160           110          0.06           -110 Auto Expense                                  2,044          0.17      2,330       0.08        -286          1,853         0.06                   191

             0        0.00            0       0.00          0           226          0.13           -226 Laundry Equipment                                 291        0.02          0       0.00        291               226       0.01                    65

            33        0.05        785         0.43       -752           384          0.22           -351 Building Maintenance                          1,655          0.14     13,019       0.43     -11,364         12,531         0.41            -10,876

            83        0.12         91         0.05         -8           351          0.20           -267 Light Bulbs                                   1,049          0.09      1,514       0.05        -465          1,938         0.06                   -890

            74        0.10        183         0.10       -109            28          0.02             45 Electrical & Mechanical                       1,556          0.13      3,028       0.10      -1,471          1,194         0.04                   362

          288         0.41        457         0.25       -169            64          0.04            223 HVAC                                          1,347          0.11      7,569       0.25      -6,222          8,010         0.26               -6,663

          168         0.24        128         0.07        41            124          0.07             44 Plumbing & Boiler                                 974        0.08      2,119       0.07      -1,146          1,233         0.04                   -259

             0        0.00            0       0.00          0              0         0.00              0 Pool                                              524        0.04        900       0.03        -376              895       0.03                   -370

          482         0.68      1,057         0.58       -576          1,056         0.59           -575 Grounds & Landscaping                         6,009          0.49     12,684       0.42      -6,675         14,281         0.47               -8,272

            78        0.11         37         0.02        42             19          0.01             59 Signage                                           787        0.06        606       0.02        182               233       0.01                   554

             0        0.00        183         0.10       -183             92         0.05            -92 Furniture & Fixtures                              -68        -0.01     3,028       0.10      -3,096          1,751         0.06               -1,819

             0        0.00         37         0.02        -37            31          0.02            -31 Painting                                           32        0.00        606       0.02        -573              554       0.02                   -522

             0        0.00        100         0.05       -100              0         0.00              0 Carpet & Floor                                      0        0.00      8,700       0.29      -8,700          9,483         0.31               -9,483

             0        0.00            0       0.00          0              0         0.00              0 Training                                            0        0.00          0       0.00             0            125       0.00                -125

             0        0.00         30         0.02        -30            30          0.02            -30 Telephone                                          60        0.00        360       0.01        -300              175       0.01                   -115

             0        0.00         18         0.01        -18              0         0.00              0 Kitchen Equipment                                   0        0.00        303       0.01        -303              387       0.01                   -387

             0        0.00        256         0.14       -256           676          0.38           -676 Locks & Keys                                      686        0.06      4,239       0.14      -3,552          6,144         0.20               -5,457

             0        0.00         37         0.02        -37              0         0.00              0 Radio & TV                                          0        0.00        606       0.02        -606          1,353         0.04               -1,353

            11        0.02        215         0.12       -204           184          0.10           -173 Exterminating                                 3,488          0.29      2,580       0.09        908           2,456         0.08               1,032

             0        0.00            0       0.00          0              0         0.00              0 Maintenance Contracts                         1,609          0.13      1,620       0.05         -11          1,609         0.05                     0

             0        0.00            0       0.00          0           386          0.22           -386 Fire & Safety                                 3,531          0.29      3,264       0.11        267           9,639         0.32               -6,108

             0        0.00        265         0.15       -265              0         0.00              0 Elevator                                      2,989          0.25      3,180       0.11        -191          5,230         0.17               -2,241



       1,216          1.73      4,036        2.21      -2,820         3,761         2.11          -2,544 Total Operating - R & M                      28,563          2.35     72,252      2.39      -43,689        81,301         2.68             -52,738



       5,199          7.37     12,506        6.85      -7,307        11,910         6.69          -6,711 Total Expenses- R & M                       102,033          8.38    172,360      5.69      -70,327       178,195         5.87             -76,162

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                                                              Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                                                              For Property: HI Charlotte University Place
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year      % / POR       Act vs LY                    Description              YTD         % / POR         YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                        Var                                                                      Budget               Bud Var       Year                        Var
                                                                                                        UTILITIES DEPARTMENT
                                                                                                        UTILITIES EXPENSE

        2,588         3.67      4,075       2.23     -1,487          3,394         1.91           -806 Electricity                                  42,711          3.51    60,150       1.99     -17,439       57,480       1.89            -14,768

        2,614         3.71      3,256       1.78       -642          2,826         1.59           -212 Gas                                          14,611          1.20    24,603       0.81      -9,992       22,869       0.75               -8,259

        3,451         4.90      3,999       2.19       -548          3,678         2.07           -227 Water & Sewer                                40,691          3.34    60,160       1.99     -19,469       57,713       1.90            -17,021

          241         0.34        553       0.30       -312           578          0.32           -337 Waste Removal                                 3,898          0.32     6,636       0.22      -2,738        6,533       0.22               -2,635



       8,895         12.62     11,883      6.51      -2,988        10,477         5.89          -1,582 Total Expenses- Utilities                  101,911           8.37   151,549      5.01      -49,638     144,595       4.77             -42,684

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                                                                Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                                                                For Property: HI Charlotte University Place
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                       Description           YTD         % / POR          YTD     % / POR    Act vs        YTD Last     % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                       Budget               Bud Var         Year                        Var
                                                                                                          FRANCHISE DEPARTMENT
                                                                                                          FRANCHISE FEES

        3,122         6.28      10,573        6.06     -7,451          9,482         6.04         -6,360 Franchise Fees/ Royalties                    65,466           6.06   187,826       6.04    -122,360        182,503       6.03           -117,037

        2,082         4.19       7,049        4.04     -4,967          6,321         4.02         -4,239 Advertising                                  43,618           4.03   125,218       4.03     -81,600        121,748       4.02            -78,130

        2,721         5.48       6,574        3.77     -3,853          7,715         4.91         -4,994 Frequent Traveler                            41,418           3.83   108,994       3.50     -67,576        121,589       4.02            -80,171

            0         0.00            0       0.00          0           488          0.31           -488 Brand Guest Fees                                25            0.00         0       0.00            25        3,784       0.12               -3,759



       7,925         15.95     24,195        13.86    -16,271        24,007        15.28        -16,082 Total Franchise Fees Expense                150,527           13.92   422,037      13.57    -271,511       429,624       14.19          -279,097

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                                                                Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                                                                For Property: HI Charlotte University Place
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                  Description                YTD         % / POR         YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                      Budget               Bud Var       Year                          Var
                                                                                                          MANAGEMENT FEES
        1,287         2.50      4,508         2.50     -3,221          3,992         2.50         -2,705 Management Fees                              27,528          2.50    79,705       2.50     -52,177       77,375         2.50            -49,847

       11,009        21.39            0       0.00     11,009              0         0.00         11,009 Management Fees- Owner                       26,222          2.38        0        0.00      26,222              0       0.00             26,222



      12,296         23.90      4,508        2.50      7,788          3,992         2.50           8,304 Total Management Fees Expense               53,750           4.88   79,705       2.50      -25,955      77,375         2.50             -23,625



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                                                               Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                                                               For Property: HI Charlotte University Place
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget      % / POR    Act vs     Last Year      % / POR       Act vs LY                     Description             YTD         % / POR          YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                    Bud Var                                        Var                                                                       Budget               Bud Var       Year                          Var
                                                                                                         FIXED EXPENSES
       63,324       123.06      32,092      17.80     31,233         30,397        19.04         32,928 Ground Lease                               413,756           37.58   381,665      11.97      32,092      371,450        11.99             42,307

       11,198        21.76       7,213       4.00      3,985       -126,994       -79.54        138,192 FF & E Reserve                             134,373           12.20   127,528       4.00       6,845              0       0.00            134,373

        1,018         1.98        974        0.54        44            973          0.61             45 Van Lease                                    11,872           1.08    11,688       0.37        184        11,706         0.38                   166

        7,049        13.70       9,925       5.51     -2,876          6,580         4.12            469 Real Estate Tax                            103,024            9.36   119,101       3.74     -16,077      117,922         3.81            -14,897

        1,288         2.50        486        0.27       802          -1,180        -0.74          2,468 Personal Property Tax                         8,382           0.76     5,829       0.18       2,553        4,059         0.13               4,323

        5,275        10.25       4,480       2.49       795           4,279         2.68            996 Insurance                                    55,873           5.07    53,660       1.68       2,213       51,465         1.66               4,408



      89,153       173.25      55,169       30.60    33,984        -85,945        -53.83       175,098 TOTAL FIXED EXPENSES                        727,281           66.05   699,471      21.94     27,810      556,602         17.96           170,679

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                                                                Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                                                                For Property: HI Charlotte University Place
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR       Act vs LY                      Description            YTD          % / POR         YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                       Budget               Bud Var         Year                          Var
                                                                                                          TOTAL OTHER
            0         0.00            0       0.00         0            395          0.25           -395 Owners Expense                               13,089           1.19         0       0.00      13,089         14,738         0.48               -1,649

       45,801        89.01            0       0.00     45,801       169,429        106.11       -123,628 Depreciation                               549,612           49.91         0       0.00     549,612        673,240        21.73           -123,628

        3,001         5.83            0       0.00      3,001          4,697         2.94         -1,696 Amortization Expense                         36,012           3.27         0       0.00      36,012         37,708         1.22               -1,696

       33,500        65.10      33,331       18.49       169          32,984        20.66            516 Interest Expense                           399,231           36.26   399,092      12.52        139         398,411        12.86                   820

            0         0.00            0       0.00         0         31,799         19.92        -31,799 Insurance Claim Proceeds                          0           0.00         0       0.00             0              0       0.00                     0

        6,888        13.39       1,803        1.00      5,085          1,597         1.00          5,291 Asset Management Fee                         11,011           1.00    31,882       1.00     -20,871         30,923         1.00            -19,912

            0         0.00            0       0.00         0               0         0.00              0 Non Operating Income                            -317         -0.03         0       0.00        -317                0       0.00                -317

            0         0.00            0       0.00         0           1,445         0.90         -1,445 Uninsured Loss                               11,887           1.08         0       0.00      11,887          2,445         0.08               9,443

        5,692        11.06            0       0.00      5,692        -66,943       -41.93         72,635 Extraordinary Expenses                        9,552           0.87         0       0.00       9,552                0       0.00               9,552

            0         0.00            0       0.00         0             42          0.03            -42 GB 1 YE AJE                                       0           0.00         0       0.00             0            42        0.00                   -42

            0         0.00            0       0.00         0          -8,666        -5.43          8,666 GB- 2 R&M/Capex AJE                               0           0.00         0       0.00             0       -8,666        -0.28               8,666

            0                         0                    0               0                           0 Ground Lease Tax                             32,092                        0                 32,092                0                        32,092



      94,882       184.39      35,134        19.49    59,748        166,778        104.45       -71,896 Total Other                               1,062,169           96.46   430,974      13.52    631,196       1,148,840        37.08            -86,670

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                                                               Company: 8419 N Tryon Charlotte dba HI Charlotte Univ Place Property: HI Charlotte University Place
                                                               For Property: HI Charlotte University Place
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR       Act vs LY                   Description               YTD         % / POR         YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                      Budget              Bud Var         Year                          Var
                                                                                                         House Laundry Dept




            0         0.00            0      0.00          0             0         0.00               0 Total P/R & Benefits- Ldy                        0           0.00        0      0.00              0              0      0.00                    0


                                                                                                         Operating Expenses




            0         0.00            0      0.00          0             0         0.00               0 Total Operating Expenses- Ldy                    0           0.00        0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0              0         0.00              0 Total Laundry Expenses                           0           0.00        0       0.00             0              0       0.00                   0



                                                                                                         Allocation




            0         0.00            0      0.00          0             0         0.00               0 Total Allocation                                 0           0.00        0      0.00              0              0      0.00                    0



            0                         0                    0             0                            0 Total Lndry Dept                                 0                       0                        0              0                              0



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                                                            Company: 201 Ashville Raleigh dba HI Raleigh Cary Property: Hampton Inn Raleigh Cary
                                                            For Property: Hampton Inn Raleigh Cary
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                  Description              YTD            % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                      Var                                                                      Budget                Bud Var         Year                       Var
                                                                                                     SUMMARY

    3,999                    3,999                      0         3,999                          0 Total Rooms Available                       47,214                    47,214                        0       47,085                          129

    1,208                    2,158                   -950         2,146                       -938 Total Rooms Sold                            15,808                    35,159                 -19,351        34,325                     -18,517

 30.21%                   53.96%                 -23.76%        53.66%                    -23.46% Occupancy %                                 33.48%                   74.47%                  -40.99%        72.90%                     -39.42%

   72.89                   103.03                  -30.14       101.25                      -28.36 Average Rate                                    88.76                111.21                   -22.45        109.50                      -20.73

   22.02                    55.60                  -33.58         54.33                     -32.31 REVPAR                                          29.72                 82.82                   -53.10         79.82                      -50.10




                                                                                                     REVENUES

   88,053        98.83     222,345       98.45   -134,292       217,278         98.62     -129,225 ROOMS                                     1,403,158        98.86   3,910,063      98.76   -2,506,905      3,758,496       98.74      -2,355,338

         0        0.00            0       0.00          0             0          0.00            0 FOOD                                                0       0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE                                            0       0.00           0       0.00             0              0       0.00               0

    1,043         1.17       3,493        1.55     -2,450         3,050          1.38       -2,008 MISCELLANEOUS                               16,214          1.14      49,173       1.24      -32,959        47,837         1.26        -31,623



  89,096       100.00     225,837       100.00   -136,742      220,328         100.00     -131,233 TOTAL REVENUES                           1,419,372        100.00   3,959,236     100.00   -2,539,865     3,806,333       100.00     -2,386,961




                                                                                                     DEPARTMENT EXPENSES

   22,726        25.81      62,550       28.13    -39,824        57,977         26.68      -35,251 ROOMS EXPENSE                              330,496         23.55     883,726      22.60     -553,229       844,695        22.47       -514,198

         0        0.00            0       0.00          0             0          0.00            0 FOOD EXPENSE                                        0       0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE EXPENSE                                    0       0.00           0       0.00             0              0       0.00               0

     737         70.70        631        18.07        106         2,121         69.55       -1,384 MISCELLANEOUS EXPENSE                           4,734      29.20       9,981      20.30       -5,248        15,346        32.08        -10,612



  23,463        26.33      63,181        27.98    -39,718       60,099          27.28      -36,636 TOTAL DEPARTMENTAL EXPENSES               335,230          23.62    893,707       22.57    -558,477       860,041         22.59       -524,811



                                                                                                     DEPARTMENTAL PROFIT

   65,327        74.19     159,795       71.87    -94,468       159,301         73.32      -93,974 ROOMS PROFIT                             1,072,662         76.45   3,026,338      77.40   -1,953,676      2,913,802       77.53      -1,841,140

         0        0.00            0       0.00          0             0          0.00            0 FOOD PROFIT                                         0       0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE PROFIT                                     0       0.00           0       0.00             0              0       0.00               0

     306         29.30       2,862       81.93     -2,556           929         30.45         -623 MISCELLANEOUS PROFIT                        11,480         70.80      39,192      79.70      -27,712        32,491        67.92        -21,010



  65,633        73.67     162,657        72.02    -97,024      160,229          72.72      -94,597 TOTAL DEPARTMENTAL PROFIT                1,084,142         76.38   3,065,530      77.43   -1,981,388     2,946,292        77.41     -1,862,150



   21,541        24.18      29,551       13.09     -8,010        26,742         12.14       -5,201 A & G EXPENSE                              251,545         17.72     387,855       9.80     -136,311       362,042         9.51       -110,498

    2,194         2.46       1,891        0.84        302         2,533          1.15         -340 TELECOM                                     25,250          1.78      22,696       0.57        2,554        23,087         0.61            2,164

    2,983         3.35       7,564        3.35     -4,582         6,818          3.09       -3,835 SALES & MARKETING EXPENSES                  77,871          5.49     109,093       2.76      -31,222       101,982         2.68        -24,112

   14,185        15.92      32,375       14.34    -18,190        52,450         23.81      -38,265 FRANCHISE FEES                             206,190         14.53     556,202      14.05     -350,012       550,243        14.46       -344,053

    9,016        10.12      13,145        5.82     -4,129        14,415          6.54       -5,400 MAINTENANCE EXPENSES                        75,097          5.29     168,728       4.26      -93,630       159,496         4.19        -84,399

    6,431         7.22       8,840        3.91     -2,409        13,110          5.95       -6,679 UTILITIES EXPENSE                           87,517          6.17     138,699       3.50      -51,181       142,841         3.75        -55,323



  56,349        63.25      93,367        41.34    -37,018      116,069          52.68      -59,720 TOTAL ADMIN EXPENSES                      723,470          50.97   1,383,273      34.94    -659,804      1,339,690        35.20       -616,221



   9,284        10.42      69,290        30.68    -60,006       44,161          20.04      -34,877 HOUSE PROFIT                              360,672          25.41   1,682,256      42.49   -1,321,584     1,606,602        42.21     -1,245,930



                                                                                                     FIXED EXPENSES

   13,236        14.86       5,649        2.50      7,587         5,508          2.50        7,728 MANAGEMENT FEES                             61,155          4.31      99,018       2.50      -37,864        95,158         2.50        -34,003

   54,467        61.13      51,836       22.95      2,631       -79,129        -35.91      133,597 FIXED EXPENSES                             643,838         45.36     668,685      16.89      -24,847       471,880        12.40        171,959
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     -58,419        -65.57   11,804    5.23     -70,224   117,782   53.46   -176,201 NET OPERATING INCOME                     -344,320    -24.26   914,553   23.10   -1,258,873   1,039,564   27.31        -1,383,885



       91,733       102.96    32,577   14.42     59,156   100,594   45.66      -8,861 Other                                   1,034,653    72.90   403,416   10.19      631,237   1,087,917   28.58             -53,264



    -150,152      -168.53    -20,772   -9.20   -129,380    17,188    7.80   -167,341 N.I. after Other                        -1,378,973   -97.15   511,136   12.91   -1,890,110     -48,353   -1.27        -1,330,621



     -97,597                 -20,772            -76,825    59,952           -157,550 Cash before Depreciation/Amortization    -748,313             511,136           -1,259,450    572,516                 -1,320,830

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                                                             For Property: Hampton Inn Raleigh Cary
                                                             00- Master P&L-CAPSTONE
                                                             As of 12/31/2020

Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description           YTD            % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                  Bud Var                                      Var                                                                      Budget                Bud Var         Year                       Var
                                                                                                      ROOMS DEPARTMENT
                                                                                                      ROOMS REVENUE

    4,592          5.22      95,815       43.09    -91,223        70,437         32.42      -65,844 Rack/ Premium                              400,583         28.55   1,682,241      43.02   -1,281,658      1,457,514       38.78      -1,056,931

    2,578          2.93      37,086       16.68    -34,509        31,854         14.66      -29,276 Corporate                                  192,030         13.69     778,543      19.91     -586,513       691,815        18.41       -499,785

   58,675         66.64      43,564       19.59     15,111        68,146         31.36       -9,471 Discounts - Other                          493,758         35.19     898,015      22.97     -404,258      1,026,391       27.31       -532,633

     123           0.14       7,769        3.49     -7,646         5,040          2.32       -4,917 Government                                  21,409          1.53      62,889       1.61      -41,480        54,966         1.46        -33,557

   14,661         16.65      13,142        5.91      1,519        14,158          6.52          504 Locally Negotiated Rate                    185,632         13.23     223,017       5.70      -37,385       220,678         5.87        -35,046

          0        0.00            0       0.00          0          -312         -0.14          312 Allowances                                       -805      -0.06           0       0.00         -805         -2,483       -0.07            1,678



  80,630         91.57     197,377        88.77   -116,747      189,323          87.13     -108,693 Total Transient Revenue                  1,292,607         92.12   3,644,706      93.21   -2,352,099     3,448,880        91.76     -2,156,274




          0        0.00            0       0.00          0             0          0.00            0 Total Base Revenues                                 0       0.00           0       0.00             0              0       0.00                0



    6,760          7.68      24,968       11.23    -18,208        27,254         12.54      -20,494 Group- Corporate                           104,433          7.44     265,358       6.79     -160,924       280,158         7.45       -175,724



   6,760          7.68      24,968        11.23    -18,208       27,254          12.54      -20,494 Total Group Revenue                       104,433           7.44    265,358        6.79    -160,924       280,158          7.45       -175,724



     664           0.75            0       0.00        664           701          0.32          -38 Guaranteed No-Show                              6,118       0.44           0       0.00        6,118        29,458         0.78        -23,340



  88,053        100.00     222,345       100.00   -134,292      217,278         100.00     -129,225 Total Rooms Revenue                      1,403,158        100.00   3,910,063     100.00   -2,506,905     3,758,496       100.00     -2,355,338



                                                                                                      ROOM STATISTICS

         46          4         798           37       -752           568            26         -522 Rack/ Premium Rooms                             3,521         22      12,888         37       -9,367        11,129           32            -7,608

         29          2         410           19       -381           293            14         -264 Corporate Rooms                                 1,881         12       7,156         20       -5,275         6,388           19            -4,507

     854            71         453           21        401           838            39           16 Discounts - Other Rooms                         6,629         42       9,646         27       -3,017        11,311           33            -4,682

          1          0          65            3        -64            42             2          -41 Government Rooms                                  180          1         532          2         -352             466          1             -286

     213            18         151            7         62           131             6           82 Locally Negotiated Corporate Rooms              2,451         16       2,105          6         346          2,057            6              394



   1,143            95       1,877          87       -734          1,872           87          -729 Total Transient Stats                       14,662           93      32,327         92      -17,665         31,351          91         -16,689




          0          0             0         0          0              0            0             0 Total Crew Stats                                   0          0           0          0              0              0         0                 0



         65          5         281           13       -216           274            13         -209 Group- Corporate Rooms                          1,146          7       2,832          8       -1,686         2,974            9            -1,828



         65          5         281          13       -216           274            13          -209 Total Group Stats                               1,146         7       2,832          8        -1,686         2,974           9          -1,828



   1,208           100       2,158         100       -950          2,146          100          -938 TOTAL ROOM STATISTICS                       15,808          100      35,159        100      -19,351         34,325         100         -18,517



                                                                                                      Other Room Stats

          2          0             0          0          2            58             3          -56 Comp Rooms                                         64          0           0          0            64            224          1             -160

          0          0             0          0          0             0             0            0 House Use Rooms                                     0          0           0          0             0              1          0                -1

     772            64             0          0        772         1,404            65         -632 Single Occupancy                            11,986            76           0          0       11,986        25,006           73        -13,020

     436            36             0          0        436           722            34         -286 Multiple Occupancy                              3,820         24           0          0        3,820         9,028           26            -5,208

         55          5             0          0         55             6             0           49 Out of Order Rooms                                619          4           0          0         619              107          0              512

    1,813          150             0          0      1,813         3,150           147       -1,337 # of Guests                                 20,980           133           0          0       20,980        46,692          136        -25,712
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                                                            Company: 201 Ashville Raleigh dba HI Raleigh Cary Property: Hampton Inn Raleigh Cary
                                                            For Property: Hampton Inn Raleigh Cary
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year     % / POR      Act vs LY                      Description           YTD            % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                      Var                                                                    Budget              Bud Var         Year                         Var
                                                                                                     ADR



        99.83                120.00                -20.17        124.01                     -24.17 Rack/Premium ADR                            113.77                 130.52                -16.75         130.97                           -17.20

        88.88                 90.45                 -1.57        108.72                     -19.83 Corporate ADR                               102.09                 108.80                 -6.71         108.30                              -6.21

            0                      0                    0             0                          0 Contract - Airline ADR                              0                  0                        0              0                               0

        68.71                 96.13                -27.42         81.32                     -12.61 Discount ADR                                    74.48               93.10                -18.61          90.74                           -16.26

         0.00                  0.00                  0.00          0.00                       0.00 Distressed Passengers ADR                        0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                          0 AARP ADR                                            0                  0                        0              0                               0

       123.00                120.00                  3.00        120.00                       3.00 Government ADR                              118.94                 118.17                  0.77         117.95                               0.99

         0.00                  0.00                  0.00          0.00                       0.00 AAA ADR                                          0.00                0.00                  0.00           0.00                               0.00

        68.83                 87.00                -18.17        108.07                     -39.24 Local Negotiated ADR                            75.74              105.96                -30.23         107.28                           -31.54

         0.00                  0.00                  0.00          0.00                       0.00 Packages ADR                                     0.00                0.00                  0.00           0.00                               0.00

         0.00                  0.00                  0.00          0.00                       0.00 Wholesale/FIT ADR                                0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                          0 Internet ADR                                        0                  0                        0              0                               0

            0                      0                    0             0                          0 Tax Exampt - Transient ADR                          0                  0                        0              0                               0



       70.54                105.13                 -34.59       101.13                     -30.59 Total Transient ADR                              88.16             112.74                 -24.58        110.01                          -21.85




         0.00                  0.00                  0.00          0.00                       0.00 Crew ADR                                         0.00                0.00                  0.00           0.00                               0.00

            0                      0                    0             0                          0 Contract ADR                                        0                  0                        0              0                               0




         0.00                  0.00                  0.00          0.00                       0.00 Group - SMERF ADR                                0.00                0.00                  0.00           0.00                               0.00

       104.00                 89.00                 15.00         99.47                       4.53 Group - Corporate ADR                           91.13               93.70                 -2.57          94.20                              -3.07

            0                      0                    0             0                          0 Group - Government ADR                              0                  0                        0              0                               0

            0                      0                    0             0                          0 Group - Tour ADR                                    0                  0                        0              0                               0

            0                      0                    0             0                          0 Group- Association ADR                              0                  0                        0              0                               0

            0                      0                    0             0                          0 Group - Tax Exampt ADR                              0                  0                        0              0                               0



      104.00                 89.00                 15.00          99.47                      4.53 Total Group ADR                                  91.13              93.70                  -2.57         94.20                               -3.07

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                                                                Company: 201 Ashville Raleigh dba HI Raleigh Cary Property: Hampton Inn Raleigh Cary
                                                                For Property: Hampton Inn Raleigh Cary
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description           YTD            % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                      Budget                Bud Var         Year                          Var
                                                                                                         Payroll & Related Expense

        4,562         3.78      5,167         2.39       -605         4,966         2.31          -404 FD/ Guest Service Reps                      37,096          2.35      84,177       2.39      -47,081        76,491         2.23             -39,395

        1,622         1.34            0       0.00      1,622             0         0.00         1,622 FD/Supervisor                                   1,622       0.10           0       0.00        1,622               0       0.00                  1,622

             0        0.00      3,588         1.66     -3,588         1,488         0.69        -1,488 Executive Housekeeper                           5,183       0.33      41,645       1.18      -36,462        31,774         0.93             -26,591

             0        0.00      1,276         0.59     -1,276         1,966         0.92        -1,966 Asst Exec Housekeeper/ Inspectress              3,546       0.22      15,066       0.43      -11,520        19,134         0.56             -15,588

        3,085         2.55      8,044         3.73     -4,959         6,423         2.99        -3,338 Housekeepers                                39,302          2.49     131,056       3.73      -91,754       120,130         3.50             -80,829

             0        0.00      2,999         1.39     -2,999         4,088         1.90        -4,088 Housemen                                    12,867          0.81      35,411       1.01      -22,544        36,773         1.07             -23,906

        1,685         1.40      2,070         0.96       -385         2,015         0.94          -330 Laundry                                     10,803          0.68      33,718       0.96      -22,915        32,445         0.95             -21,642

             0        0.00      2,459         1.14     -2,459         2,564         1.19        -2,564 Comp Breakfast Hostess                          6,707       0.42      29,029       0.83      -22,322        31,565         0.92             -24,859

        2,722         2.25      3,090         1.43       -368         2,881         1.34          -159 Night Audit                                 33,812          2.14      36,481       1.04       -2,669        36,072         1.05               -2,260

        1,335         1.10      2,919         1.35     -1,584         2,724         1.27        -1,390 Payroll Taxes                               15,009          0.95      38,673       1.10      -23,664        36,115         1.05             -21,106

          601         0.50      1,995         0.92     -1,394         1,265         0.59          -664 Employee Benefits                               9,726       0.62      23,940       0.68      -14,214        20,262         0.59             -10,535

       -2,608        -2.16      1,450         0.67     -4,058           657         0.31        -3,265 Vacation /PTO                               17,533          1.11      17,400       0.49         133         13,442         0.39                  4,091

          889         0.74      2,500         1.16     -1,611         2,275         1.06        -1,386 Holiday                                         3,183       0.20       8,750       0.25       -5,567         8,260         0.24               -5,077

             0        0.00        150         0.07       -150             0         0.00             0 Bonus/Incentive Pay                                0        0.00       1,800       0.05       -1,800         2,606         0.08               -2,606



      13,894         11.50     37,707        17.47    -23,813       33,312         15.52      -19,418 Total P/R & R/Benefits- Rooms              196,388          12.42    497,146       14.14    -300,758       465,068         13.55          -268,680

                                                                                                         ROOMS DEPARTMENT
                                                                                                         OPERATING EXPENSE

             0        0.00        129         0.06       -129           113         0.05          -113 Newspapers                                       345        0.02       2,110       0.06       -1,764         1,720         0.05               -1,375

        1,942         1.61      7,985         3.70     -6,042         8,238         3.84        -6,296 Comp Breakfast                              31,651          2.00     130,088       3.70      -98,438       130,030         3.79             -98,379

             0        0.00            0       0.00          0             0         0.00             0 Comp Breakfast- Equipment                        124        0.01       1,000       0.03         -876         3,224         0.09               -3,100

             0        0.00            0       0.00          0            48         0.02           -48 Rooms- Promotion                                   0        0.00           0       0.00             0             48       0.00                    -48

             0        0.00        173         0.08       -173             0         0.00             0 Laundry Supplies                                 305        0.02       2,813       0.08       -2,508         1,471         0.04               -1,167

          846         0.70      1,187         0.55       -341           895         0.42           -48 Linen Supplies                                  4,639       0.29      19,337       0.55      -14,699        12,599         0.37               -7,960

        1,691         1.40      1,642         0.76         49         1,642         0.77            49 Cable TV                                    19,092          1.21      19,708       0.56         -615        19,607         0.57                  -514

          452         0.37        452         0.21          0           452         0.21             0 HSIA Support                                    5,621       0.36       5,418       0.15         203          5,568         0.16                    53

             0        0.00            0       0.00          0             0         0.00             0 Printing & Stationary                              0        0.00       3,750       0.11       -3,750             141       0.00                  -141

            39        0.03      2,916         1.35     -2,877         1,699         0.79        -1,660 Reservations Expense                        11,401          0.72      34,992       1.00      -23,591        36,460         1.06             -25,059

          745         0.62      2,374         1.10     -1,629         2,999         1.40        -2,254 Guest Room Supplies                         12,831          0.81      38,675       1.10      -25,844        41,400         1.21             -28,569

          458         0.38        367         0.17         92             0         0.00          458 Cleaning Supplies                                4,768       0.30       5,977       0.17       -1,209         4,651         0.14                   117

          365         0.30        324         0.15         41           180         0.08          185 Ecolab Core Supplies                             5,043       0.32       5,275       0.15         -232         4,352         0.13                   691

        2,294         1.90      6,841         3.17     -4,547         7,949         3.70        -5,655 Travel Agents Commission                    36,529          2.31     111,454       3.17      -74,925       106,027         3.09             -69,497

             0        0.00        200         0.09       -200           450         0.21          -450 Uniforms                                         471        0.03       2,400       0.07       -1,929         5,977         0.17               -5,505

             0        0.00        254         0.12       -254             0         0.00             0 Walk Expense                                     354        0.02       3,583       0.10       -3,228         6,352         0.19               -5,998

             0        0.00            0       0.00          0             0         0.00             0 COVID 19 Supplies                                933        0.06           0       0.00         933                0       0.00                   933



       8,832          7.31     24,843        11.51    -16,011       24,666         11.49      -15,833 Total Operating - Rooms                    134,108           8.48    386,579       11.00    -252,471       379,626         11.06          -245,518



      22,726         18.81     62,550        28.99    -39,824       57,977         27.02      -35,251 Total Expenses- Rooms                      330,496          20.91    883,726       25.14    -553,229       844,695         24.61          -514,198



      65,327         54.08    159,795        74.05    -94,468      159,301         74.23      -93,974 Net Income- Rooms                         1,072,662         67.86   3,026,338      86.08   -1,953,676     2,913,802        84.89        -1,841,140



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                                                               Company: 201 Ashville Raleigh dba HI Raleigh Cary Property: Hampton Inn Raleigh Cary
                                                               For Property: Hampton Inn Raleigh Cary
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                     Description            YTD        % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                        Food & Beverage
                                                                                                        Summary


            0         0.00            0       0.00         0             0        0.00             0 Total Food Sales                                 0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Beverage Sales                             0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Banquet A/V                                0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total Banquet Misc                               0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Sales                                0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Food Cost                                        0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Costs                                   0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Banquet A/V Costs                                0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Costs                                0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Food Wages                                       0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Wages                                   0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Total F & B Wages                                0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 F & B- P T & E B                                 0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0        0.00             0 TTL P/R and Benefits                             0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0        0.00             0 Food Operating Expenses                          0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Operating Expenses                      0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Operating Expenses                   0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00             0 Net F & B Income                                 0       0.00        0       0.00             0              0       0.00                  0




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                                                              For Property: Hampton Inn Raleigh Cary
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                   Description              YTD        % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                Budget             Bud Var         Year                         Var
                                                                                                       Food Department




            0         0.00            0      0.00         0             0        0.00             0 Total Restaurant                                 0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bar Food                                   0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bistro                                     0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Garden Grill                               0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Other Food Revenue                         0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Room Service                               0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquets                                   0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Catering                                   0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Net Food Revenue                                 0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquets Other                             0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Food Revenues                              0      0.00        0      0.00             0              0      0.00                  0

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   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                    Description             YTD        % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                Budget             Bud Var         Year                         Var
                                                                                                       Cost of Goods Sold

            0         0.00            0      0.00         0             0        0.00             0 Total Cost of Good Sold                          0      0.00        0      0.00             0              0      0.00                  0


                                                                                                       Food Payroll

            0         0.00            0      0.00         0             0        0.00             0 Total Food Wages                                 0      0.00        0      0.00             0              0      0.00                  0


                                                                                                       Operating Expenses



            0         0.00            0      0.00         0             0        0.00             0 Total Operating Expense- Food                    0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Food Costs                                 0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 N.I.- Food Department                            0      0.00        0      0.00             0              0      0.00                  0

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                                                              For Property: Hampton Inn Raleigh Cary
                                                              00- Master P&L-CAPSTONE
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   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                 Description                YTD        % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                Budget             Bud Var         Year                         Var
                                                                                                       Beverage Department




            0         0.00            0      0.00         0             0        0.00             0 Total Restaurant Beverage                        0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Garden Grill Beverage                      0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Room Service Bev                           0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Bar Beverage                               0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Banquet Beverage                           0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00             0 Total Catering Beverage                          0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00             0 Total Beverage Revenue                           0      0.00        0      0.00             0              0      0.00                  0

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                                                               For Property: Hampton Inn Raleigh Cary
                                                               00- Master P&L-CAPSTONE
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   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                    Description             YTD        % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                        Cost of Goods Sold



            0         0.00            0       0.00         0             0        0.00             0 Total COGS- Beverage                             0       0.00        0       0.00             0              0       0.00                  0


                                                                                                        Beverage Payroll

            0         0.00            0      0.00          0             0        0.00             0 Total Beverage Payroll                           0      0.00         0      0.00              0              0      0.00                   0


                                                                                                        Operating Expenses- Beverage



            0         0.00            0      0.00          0             0        0.00             0 Total Operating- Beverage                        0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0        0.00             0 Total Beverage Costs                             0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0        0.00             0 Net Income- Beverage                             0      0.00         0      0.00              0              0      0.00                   0

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                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                  Description               YTD        % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                     Var                                                                Budget             Bud Var         Year                         Var
                                                                                                       FOOD STATS




            0         0.00            0      0.00         0             0        0.00             0 Total Food Covers                                0      0.00        0      0.00             0              0      0.00                   0

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                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR     Act vs    Last Year     % / POR      Act vs LY                    Description             YTD            % / POR       YTD     % / POR     Act vs      YTD Last       % / POR       Act vs LY
                                                       Bud Var                                     Var                                                                      Budget                Bud Var       Year                           Var
                                                                                                          TELECOM
                                                                                                          TELEPHONE REVENUES

             6         0.00         50          0.00       -44             0         0.00             6 Long Distance                                      74        0.00      600         0.00        -526            182        0.00                   -108

            59         0.00         75          0.00       -16            45         0.00            15 Internet Access Fees                              639        0.00       900        0.00        -261        1,227          0.00                   -589



            66        0.00        125          0.00        -59            45        0.00            21 Total Phone Revenues                              713        0.00     1,500        0.00        -787        1,409          0.00                -697



                                                                                                          COS- Communication

            72         0.08         75          0.03        -3            69         0.03             3 COS-Local                                         837        0.06      900         0.02         -63        1,079          0.03                   -241

          836     13,378.56        550      1,100.00       286           506         0.00          330 COS-Long Distance                                8,521   11,515.26     6,600    1,100.00       1,921        5,524      3,035.07               2,997

        1,251      2,106.62      1,291      1,721.81       -40         1,291     2,898.68           -40 COS-HSIA ISP                                15,004       2,349.63    15,496    1,721.81        -493       15,516      1,264.39                   -512



       2,159          0.00       1,916         0.00        243         1,866        0.00           293 Total COS- Comm                              24,362          0.00    22,996        0.00       1,366       22,118          0.00                2,244



      -2,094          0.00      -1,791         0.00       -302        -1,822        0.00          -272 Gross Margin- Comm                          -23,650          0.00    -21,496       0.00       -2,154      -20,709         0.00              -2,941




                                                                                                          Operating Expenses

          100          0.00        100          0.00         0           325         0.00          -225 Equipment Cost                                  1,151        0.00     1,200        0.00         -49        1,607          0.00                   -456

             0         0.00            0        0.00         0           386         0.00          -386 Equipment Maintenance                             449        0.00         0        0.00        449             771        0.00                   -321



         100          0.00        100          0.00          0          712         0.00          -612 Total Operating - Comm                           1,600       0.00     1,200        0.00         400        2,377          0.00                -777



       2,194          0.00       1,891         0.00        302         2,533        0.00          -340 N.I.- Comm Dept                              25,250          0.00    22,696        0.00       2,554       23,087          0.00                2,164



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                                                                For Property: Hampton Inn Raleigh Cary
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                    Description            YTD            % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                      Budget               Bud Var         Year                          Var
                                                                                                         MISCELLANEOUS DEPARTMENT
                                                                                                         MISCELLANEOUS REVENUES

             0        0.00        129         8.67       -129            88          4.64          -88 Laundry/Valet                                     205        1.75     2,110       8.38      -1,904          1,916         7.08               -1,710

             0        0.00            0       0.00          0         1,239         65.16       -1,239 Gift Shop Sales                                    38        0.32        0        0.00            38       13,383        49.44            -13,345

             0        0.01            0       0.00          0             0          0.00            0 Miscellaneous                                       1        0.01        0        0.00             1              0       0.00                     1

            50        4.82        500        33.50       -450           574         30.20         -524 Late Cancellation Income                        3,577      30.42      7,500      29.79      -3,923         10,245        37.85               -6,667

          300        28.91            0       0.00       300              0          0.00          300 Smoking Fee                                       600        5.10        0        0.00        600                 0       0.00                   600

             0        0.00            0       0.00          0             0          0.00            0 Tax Discounts Earned                                0        0.00     1,500       5.96      -1,500          1,526         5.64               -1,526

          688        66.26        863        57.83       -176             0          0.00          688 Market Sales                                    7,340      62.41     14,064      55.87      -6,724                0       0.00               7,340



       1,038       100.00       1,493       100.00      -455          1,902        100.00        -864 Total Miscellaneous Revenues                 11,761        100.00    25,173      100.00     -13,412        27,069        100.00            -15,308



                                                                                                         COSales- Miscellaneous

             0        0.00        129       100.00       -129           127        143.81         -127 COS-Laundry/Valet                                 205     100.00      2,110     100.00      -1,904          2,198       114.75               -1,993

             0        0.00            0       0.00          0         1,338        107.97       -1,338 COS-Gift Shop                                     423    1,113.58        0        0.00        423          12,028        89.88            -11,605

          737       107.21        432        50.00       305              0          0.00          737 COS- Market                                     4,011      54.64      7,032      50.00      -3,021                0       0.00               4,011



         737         71.04       561         37.59       176          1,465         77.03        -728 Total COS- Miscellaneous                         4,639      39.45     9,141       36.31      -4,502        14,226         52.56             -9,587



             5      100.00      1,900        95.00     -1,895           190         16.53         -185 Banquet Room Rental                             4,235      95.11     22,800      95.00     -18,565         18,970        91.35            -14,735

             0        0.00        100         5.00       -100           958         83.47         -958 Banquet Room F & B                                218        4.89     1,200       5.00        -982          1,797         8.65               -1,579

            5      100.00       2,000       100.00     -1,995         1,148        100.00       -1,143 Total Meeting Room Revenues                     4,453     100.00    24,000      100.00     -19,547        20,768        100.00            -16,315


                                                                                                         Cost of Sales- Meeting Room

             0        0.00         70         3.50        -70           656         57.17         -656 COS-Banquet Room F & B                             57        1.28      840        3.50        -783              878       4.23                   -820

             0        0.00            0       0.00          0             0          0.00            0 COS-Banquet Room AV                                37        0.84        0        0.00            37            242       1.17                   -205



         306         29.45      2,862       191.71     -2,556          929          48.83        -623 Total Miscellaneous Profit                   11,480         97.61    39,192      155.69     -27,712        32,491        120.03            -21,010

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                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description           YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                         ADMIN & GENERAL DEPARTMENT
                                                                                                         ADMIN & GENERAL

                                                                                                         P/R & Related Benefits- A&G

        4,748         5.33      6,342         2.81     -1,594         5,258         2.39          -510 General Manager                             62,645          4.41    74,338       1.88     -11,693         71,756         1.89               -9,111

        3,684         4.14      4,286         1.90       -602         4,216         1.91          -531 Assistant General Manager                   42,236          2.98    50,604       1.28      -8,368         32,013         0.84             10,223

          837         0.94        808         0.36        30            557         0.25          280 Payroll Taxes                                    9,299       0.66    10,256       0.26        -957          9,435         0.25                   -136

          432         0.48        951         0.42       -519           678         0.31          -246 Employee Benefits                           15,155          1.07    11,412       0.29       3,743         11,778         0.31               3,377

         -451        -0.51            0       0.00       -451             0         0.00          -451 Vacation /PTO                                   6,799       0.48         0       0.00       6,799          3,500         0.09               3,299

          792         0.89            0       0.00       792            558         0.25          234 Holiday                                          2,875       0.20         0       0.00       2,875          2,021         0.05                   854

             0        0.00            0       0.00          0           250         0.11          -250 Bonus/Incentive Pay                             4,323       0.30    10,000       0.25      -5,677          9,054         0.24               -4,732



      10,043         11.27     12,387         5.48     -2,344       11,516          5.23       -1,474 Total P/R & R/B- A&G                       143,331          10.10   156,610      3.96      -13,279       139,557         3.67                3,774


                                                                                                         Operating Expenses- A&G

          280         0.31      2,400         1.06     -2,120         2,585         1.17        -2,305 Employee Relations                              1,509       0.11     6,900       0.17      -5,391         10,993         0.29               -9,484

        4,000         4.49      2,000         0.89      2,000         2,000         0.91         2,000 Accounting Fees                             26,000          1.83    24,000       0.61       2,000         24,000         0.63               2,000

          825         0.93      1,205         0.53       -380         1,165         0.53          -340 Data Processing                             15,934          1.12    14,783       0.37       1,151         15,332         0.40                   603

          606         0.68        324         0.14       282            410         0.19          196 Office Supplies                                  3,258       0.23     5,274       0.13      -2,016          4,919         0.13               -1,661

            44        0.05         99         0.04        -55            44         0.02             0 Muzak                                            510        0.04     1,184       0.03        -674              856       0.02                   -346

             0        0.00        300         0.13       -300            28         0.01           -28 Travel & Lodging                                 739        0.05     7,350       0.19      -6,611          8,238         0.22               -7,499

             0        0.00         80         0.04        -80             0         0.00             0 Meals and Entertainment                           35        0.00       960       0.02        -925              319       0.01                   -284

             0        0.00         75         0.03        -75             0         0.00             0 Telephone                                        218        0.02       900       0.02        -682              200       0.01                    18

             0        0.00            0       0.00          0           145         0.07          -145 Licenses and Permits                            1,873       0.13     1,652       0.04         221          2,249         0.06                   -376

            35        0.04        108         0.05        -73           193         0.09          -158 Postage                                          824        0.06     1,758       0.04        -934          1,251         0.03                   -427

             0        0.00        250         0.11       -250             0         0.00             0 Recruitment                                      922        0.06     3,750       0.09      -2,828          1,315         0.03                   -393

             0        0.00        180         0.08       -180           167         0.08          -167 Employment Screening/ Drug Testing              1,252       0.09     2,160       0.05        -908          1,945         0.05                   -693

             0        0.00        100         0.04       -100           202         0.09          -202 Training                                         399        0.03     1,200       0.03        -801              326       0.01                    73

             0        0.00            0       0.00          0             0         0.00             0 Loss & Damage                                      0        0.00         0       0.00             0            272       0.01                -272

          150         0.17        315         0.14       -165           270         0.12          -120 Dues/Subscriptions                              1,592       0.11     3,780       0.10      -2,188          2,076         0.05                   -484

             0        0.00            0       0.00          0             0         0.00             0 Professional Fees                                  0        0.00         0       0.00             0             36       0.00                    -36

        2,594         2.91      6,577         2.91     -3,983         6,174         2.80        -3,580 Credit Card Commissions                     33,972          2.39   115,312       2.91     -81,340        104,837         2.75            -70,865

          632         0.71            0       0.00       632              0         0.00          632 Cash Over/Short                              -9,179         -0.65         0       0.00      -9,179          1,048         0.03            -10,227

             0        0.00            0       0.00         0              0         0.00             0 Moving Expenses                                    0        0.00         0       0.00             0        1,901         0.05               -1,901

             0        0.00        175         0.08       -175           176         0.08          -176 Equipment Rental                                1,899       0.13     2,100       0.05        -201          2,007         0.05                   -108

          320         0.36        500         0.22       -180           639         0.29          -319 Payroll Services                                4,659       0.33     7,405       0.19      -2,746          7,400         0.19               -2,742

        1,179         1.32      1,500         0.66       -321         1,409         0.64          -230 Bank Charges                                13,863          0.98    18,000       0.45      -4,137         17,386         0.46               -3,522

             0        0.00            0       0.00          0        -1,846        -0.84         1,846 Chargebacks                                       57        0.00         0       0.00            57              0       0.00                    57

          835         0.94        977         0.43       -142         1,465         0.66          -630 Workers Comp Insurance                          7,879       0.56    12,778       0.32      -4,899         13,579         0.36               -5,701



      11,498         12.91     17,164         7.60     -5,666       15,225          6.91       -3,727 Total Operating- A&G                       108,213           7.62   231,246      5.84     -123,032       222,485         5.85           -114,272



      21,541         24.18     29,551        13.09     -8,010       26,742         12.14       -5,201 Total Expenses- A&G                        251,545          17.72   387,855      9.80     -136,311       362,042         9.51           -110,498

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                                                                 Company: 201 Ashville Raleigh dba HI Raleigh Cary Property: Hampton Inn Raleigh Cary
                                                                 For Property: Hampton Inn Raleigh Cary
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual         % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description           YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                      Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                          SALES DEPARTMENT
                                                                                                          SALES

                                                                                                          P/R & R/B

             0        0.00       1,356         0.60     -1,356         1,320        0.60         -1,320 Director of Sales                           12,408          0.87    16,008       0.40      -3,600         16,815         0.44               -4,407

             0        0.00             0       0.00         0              0        0.00              0 Sales Manager                                      0        0.00         0       0.00             0            252       0.01                -252

          453         0.51       1,168         0.52       -714           793        0.36           -340 Revenue Management                              6,911       0.49    14,010       0.35      -7,099          9,884         0.26               -2,973

             0        0.00         172         0.08       -172             0        0.00              0 E Commerce Management                            516        0.04     2,066       0.05      -1,549                0       0.00                   516

        1,384         1.55       2,655         1.18     -1,271         2,110        0.96           -726 Sales Coordinator                           28,883          2.03    31,349       0.79      -2,466         27,970         0.73                   913

          155         0.17         332         0.15       -176           292        0.13           -136 Payroll Taxes                                   3,971       0.28     4,254       0.11        -283          3,717         0.10                   254

            -23       -0.03        292         0.13       -315           319        0.14           -341 Employee Benefits                               3,398       0.24     3,504       0.09        -106          3,042         0.08                   356

            -85       -0.10            0       0.00        -85            60        0.03           -145 Vacation / PTO                                  3,822       0.27         0       0.00       3,822              120       0.00               3,702

          240         0.27             0       0.00       240            240        0.11              0 Holiday                                          869        0.06         0       0.00        869               720       0.02                   149

             0        0.00             0       0.00          0             0        0.00              0 Bonus/Incentive Pay                             2,577       0.18     5,172       0.13      -2,595          3,611         0.09               -1,033



       2,125          2.38       5,974        2.65      -3,850         5,134        2.33        -3,009 Total P/R & R/B- Sales                       63,354         4.46     76,362      1.93      -13,008        66,130         1.74              -2,775


                                                                                                          Operating Expenses- Sales

             0        0.00             0       0.00          0             0        0.00              0 Printing & Stationary                             65        0.00       160       0.00         -95               23       0.00                    43

             0        0.00          25         0.01        -25             0        0.00              0 Office Supplies                                  275        0.02       500       0.01        -225              625       0.02                   -351

             0        0.00          60         0.03        -60            87        0.04            -87 Travel & Lodging                                 275        0.02       720       0.02        -445          2,350         0.06               -2,074

             0        0.00          50         0.02        -50             0        0.00              0 Meals & Entertainment                             24        0.00       600       0.02        -576              182       0.00                   -157

             0        0.00         100         0.04       -100           269        0.12           -269 Promotions                                        -12       0.00     1,400       0.04      -1,412          2,247         0.06               -2,259

             0        0.00          50         0.02        -50             0        0.00              0 Telephone                                          0        0.00       600       0.02        -600                0       0.00                     0

             0        0.00          40         0.02        -40             0        0.00              0 Postage                                            0        0.00       480       0.01        -480                0       0.00                     0

             0        0.00             0       0.00          0             0        0.00              0 Sales Training                                   212        0.01       500       0.01        -288          1,145         0.03                   -932

          311         0.35          65         0.03       246             65        0.03           246 Dues & Subscriptions                             5,618       0.40    11,246       0.28      -5,628         10,321         0.27               -4,702

             0        0.00          50         0.02        -50             0        0.00              0 Trade Show                                         0        0.00       200       0.01        -200               21       0.00                    -21

             0        0.00             0       0.00          0             0        0.00              0 Outdoor Advertising                             1,500       0.11         0       0.00       1,500          1,603         0.04                   -103

             0        0.00         200         0.09       -200           200        0.09           -200 e Commerce Costs                                   0        0.00     3,500       0.09      -3,500          3,929         0.10               -3,929

          547         0.61         800         0.35       -253         1,062        0.48           -515 Brand Paid Search                               6,558       0.46     9,600       0.24      -3,042         13,231         0.35               -6,673

             0        0.00         150         0.07       -150             0        0.00              0 Internet Advertising                               0        0.00     1,800       0.05      -1,800                0       0.00                     0

             0        0.00             0       0.00          0             0        0.00              0 Program Costs                                      0        0.00       725       0.02        -725                0       0.00                     0

             0        0.00             0       0.00          0             0        0.00              0 Collateral                                         0        0.00       700       0.02        -700              176       0.00                   -176



         858          0.96       1,590        0.70       -732          1,684        0.76          -826 Total Operating- Sales                       14,516         1.02     32,731      0.83      -18,215        35,853         0.94             -21,337



       2,983          3.35       7,564        3.35      -4,582         6,818        3.09        -3,835 Total Expenses-Sales                         77,871         5.49    109,093      2.76      -31,222       101,982         2.68             -24,112

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                                                                For Property: Hampton Inn Raleigh Cary
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description             YTD          % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                     Budget               Bud Var       Year                          Var
                                                                                                         MAINTENANCE DEPARTMENT
                                                                                                         REPAIRS & MAINTENANCE
                                                                                                         P/R & Related Expenses- Maintenance

             0        0.00      4,734         2.19     -4,734         3,643        1.70         -3,643 Chief Engineer                              20,107          1.27    55,356       1.57     -35,249       47,915         1.40            -27,808

        3,043         2.52      2,280         1.06       763          1,773        0.83          1,270 General Maintenance                         15,726          0.99    26,917       0.77     -11,191       24,589         0.72               -8,863

          303         0.25        601         0.28       -298           506        0.24           -203 Payroll Taxes                                   3,465       0.22     6,437       0.18      -2,972        5,881         0.17               -2,416

             0        0.00      1,430         0.66     -1,430         1,009        0.47         -1,009 Employee Benefits                               7,430       0.47    17,160       0.49      -9,730       16,729         0.49               -9,299

          280         0.23        895         0.41       -615           622        0.29           -342 Holiday                                          764        0.05     2,428       0.07      -1,664        2,156         0.06               -1,391

         -188        -0.16            0       0.00       -188           517        0.24           -705 Vacation /PTO                                   5,476       0.35         0       0.00       5,476        5,132         0.15                   344



       3,438          2.85      9,940        4.61      -6,502         8,071        3.76        -4,633 Total P/R & Related Expenses- Maintenance    52,968         3.35    108,298      3.08      -55,330     102,401         2.98             -49,432


                                                                                                         Operating Expenses- R & M

             0        0.00        100         0.05       -100             0        0.00              0 Laundry Equipment                                175        0.01     1,200       0.03      -1,025              0       0.00                   175

          741         0.61        432         0.20       310            756        0.35            -14 Building Maintenance                            2,581       0.16     7,032       0.20      -4,451        8,324         0.24               -5,743

          140         0.12        173         0.08        -32           246        0.11           -106 Light Bulbs                                     1,106       0.07     2,813       0.08      -1,706        2,411         0.07               -1,305

             0        0.00        151         0.07       -151         1,342        0.63         -1,342 Electrical & Mechanical                          229        0.01     2,461       0.07      -2,232        3,698         0.11               -3,469

             0        0.00        216         0.10       -216           614        0.29           -614 HVAC                                             523        0.03     3,516       0.10      -2,992        2,100         0.06               -1,576

          384         0.32        324         0.15        60            229        0.11           155 Plumbing & Boiler                                1,747       0.11     5,274       0.15      -3,526        4,782         0.14               -3,035

             0        0.00            0       0.00          0             0        0.00              0 Pool                                             396        0.03     2,212       0.06      -1,816        2,726         0.08               -2,330

             0        0.00        662         0.31       -662           718        0.33           -718 Grounds & Landscaping                           3,315       0.21     9,144       0.26      -5,829        9,643         0.28               -6,328

            79        0.07         60         0.03        19              0        0.00             79 Signage                                          208        0.01       720       0.02        -512            821       0.02                   -613

          103         0.09        281         0.13       -178           832        0.39           -729 Furniture & Fixtures                             811        0.05     4,571       0.13      -3,759        4,713         0.14               -3,901

             0        0.00        108         0.05       -108           307        0.14           -307 Painting                                         510        0.03     1,758       0.05      -1,248        1,440         0.04                   -929

          276         0.23         50         0.02       226              0        0.00           276 Carpet & Floor                                    326        0.02     3,250       0.09      -2,924        3,023         0.09               -2,697

             0        0.00         43         0.02        -43             0        0.00              0 Window Treatments                                  0        0.00       703       0.02        -703            123       0.00                   -123

             0        0.00            0       0.00          0             0        0.00              0 Training                                           0        0.00       400       0.01        -400            428       0.01                   -428

             0        0.00         43         0.02        -43            30        0.01            -30 Telephone                                        245        0.02       703       0.02        -458            300       0.01                    -55

             0        0.00         43         0.02        -43             0        0.00              0 Locks & Keys                                     125        0.01       703       0.02        -578            773       0.02                   -648

             0        0.00         75         0.03        -75            42        0.02            -42 Radio & TV                                         0        0.00       900       0.03        -900            692       0.02                   -692

          125         0.10        245         0.11       -120         1,229        0.57         -1,105 Exterminating                                   1,456       0.09     1,940       0.06        -484        3,371         0.10               -1,915

             0        0.00        200         0.09       -200             0        0.00              0 Fire & Safety                                   3,021       0.19     5,071       0.14      -2,050        1,455         0.04               1,565

        3,730         3.09            0       0.00      3,730             0        0.00          3,730 Elevator                                        5,353       0.34     6,059       0.17        -706        6,273         0.18                   -920



       5,578          4.62      3,205        1.49      2,373          6,345        2.96          -767 Total Operating - R & M                      22,129         1.40     60,429      1.72      -38,300      57,095         1.66             -34,966



       9,016          7.46     13,145        6.09      -4,129       14,415         6.72        -5,400 Total Expenses- R & M                        75,097         4.75    168,728      4.80      -93,630     159,496         4.65             -84,399

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                                                              For Property: Hampton Inn Raleigh Cary
                                                              00- Master P&L-CAPSTONE
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   Actual       % / POR      Budget     % / POR    Act vs     Last Year     % / POR      Act vs LY                   Description              YTD            % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                      Var                                                                     Budget               Bud Var       Year                        Var
                                                                                                       UTILITIES DEPARTMENT
                                                                                                       UTILITIES EXPENSE

        3,017         2.50      3,900       1.81       -883         6,840        3.19         -3,823 Electricity                                 45,859          2.90    64,580       1.84     -18,721       65,544       1.91            -19,685

          858         0.71      1,017       0.47       -159         1,246        0.58           -388 Gas                                         10,280          0.65    14,330       0.41      -4,051       15,419       0.45               -5,139

        2,375         1.97      3,533       1.64     -1,159         4,503        2.10         -2,128 Water & Sewer                               28,433          1.80    55,108       1.57     -26,675       56,653       1.65            -28,220

          181         0.15        390       0.18       -209           521        0.24           -339 Waste Removal                                   2,946       0.19     4,680       0.13      -1,734        5,226       0.15               -2,280



       6,431          5.32      8,840      4.10      -2,409       13,110         6.11        -6,679 Total Expenses- Utilities                    87,517         5.54    138,699      3.94      -51,181     142,841       4.16             -55,323

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                                                                00- Master P&L-CAPSTONE
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   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                       Description          YTD          % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                   Budget               Bud Var       Year                        Var
                                                                                                         FRANCHISE DEPARTMENT
                                                                                                         FRANCHISE FEES

        5,283         6.00      13,341        6.00     -8,058        13,071         6.02        -7,788 Franchise Fees/ Royalties                   84,565        6.03   234,604       6.00    -150,039      226,550       6.03           -141,985

        3,522         4.00       8,914        4.01     -5,392         8,714         4.01        -5,192 Advertising                                 56,377        4.02   156,703       4.01    -100,326      151,036       4.02            -94,659

        5,380         6.11      10,121        4.55     -4,741        29,996        13.81       -24,616 Frequent Traveler                           64,568        4.60   164,896       4.22    -100,327      169,135       4.50           -104,566

            0         0.00            0       0.00          0           669         0.31          -669 Brand Guest Fees                                680       0.05         0       0.00         680        3,523       0.09               -2,843



      14,185         16.11     32,375        14.56    -18,190       52,450         24.14      -38,265 Total Franchise Fees Expense               206,190        14.69   556,202      14.22    -350,012     550,243       14.64          -344,053

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   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                  Description               YTD         % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var       Year                          Var
                                                                                                         MANAGEMENT FEES
        2,227         2.50      5,649         2.50     -3,422         5,508        2.50         -3,281 Management Fees                             35,484       2.50    99,018       2.50     -63,535       95,158         2.50            -59,674

       11,008        12.36            0       0.00     11,008             0        0.00         11,008 Management Fees- Owner                      25,671       1.81        0        0.00      25,671              0       0.00             25,671



      13,236         14.86      5,649        2.50      7,587          5,508        2.50         7,728 Total Management Fees Expense                61,155      4.31    99,018       2.50      -37,864      95,158         2.50             -34,003



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   Actual       % / POR      Budget      % / POR    Act vs     Last Year     % / POR       Act vs LY                    Description            YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                    Bud Var                                      Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                        FIXED EXPENSES
       27,774        31.17      27,773      12.30         0         26,965         12.24          809 Ground Lease                               330,855         23.31   330,046       8.34         809        321,218         8.44               9,637

       10,876        12.21       9,044       4.00      1,832      -119,968        -54.45      130,844 FF & E Reserve                             130,509          9.19   158,514       4.00     -28,005                0       0.00            130,509

       10,341        11.61      10,341       4.58         0          9,360          4.25          981 Real Estate Tax                            124,094          8.74   124,094       3.13             0       97,012         2.55             27,083

          274         0.31        274        0.12         0            307          0.14          -33 Personal Property Tax                           3,372       0.24     3,288       0.08            83        3,256         0.09                   116

        5,202         5.84       4,404       1.95       798          4,207          1.91          995 Insurance                                   55,008          3.88    52,743       1.33       2,265         50,394         1.32               4,614



      54,467         61.13     51,836       22.95     2,631        -79,129        -35.91     133,597 TOTAL FIXED EXPENSES                       643,838          45.36   668,685      16.89     -24,847       471,880         12.40           171,959

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   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description           YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                         TOTAL OTHER
            17        0.02            0       0.00        17          6,158         2.79        -6,141 Owners Expense                              22,907          1.61         0       0.00      22,907         20,493         0.54               2,414

       49,763        55.85            0       0.00     49,763        39,970        18.14         9,793 Depreciation                               597,156         42.07         0       0.00     597,156        587,363        15.43               9,793

        2,792         3.13            0       0.00      2,792         2,794         1.27            -2 Amortization Expense                        33,504          2.36         0       0.00      33,504         33,506         0.88                   -2

       30,316        34.03      30,316       13.42         0         30,316        13.76             0 Interest Expense                           363,344         25.60   363,788       9.19        -443        366,186         9.62               -2,842

        8,845         9.93       2,261        1.00      6,584         2,203         1.00         6,642 Asset Management Fee                        14,194          1.00    39,628       1.00     -25,434         38,062         1.00            -23,868

             0        0.00            0       0.00         0        -23,154        -10.51       23,154 Extraordinary Expenses                          3,548       0.25         0       0.00       3,548                0       0.00               3,548

             0        0.00            0       0.00         0          1,877         0.85        -1,877 GB 1 YE AJE                                        0        0.00         0       0.00             0        1,877         0.05               -1,877

             0        0.00            0       0.00         0         40,429        18.35       -40,429 GB- 2 R&M/Capex AJE                                0        0.00         0       0.00             0       40,429         1.06            -40,429



      91,733       102.96      32,577        14.42    59,156       100,594         45.66        -8,861 Total Other                              1,034,653         72.90   403,416      10.19    631,237       1,087,917        28.58            -53,264

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                                                               00- Master P&L-CAPSTONE
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                                                     Bud Var                                     Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                        House Laundry Dept




            0         0.00            0      0.00          0             0        0.00             0 Total P/R & Benefits- Ldy                        0      0.00         0      0.00              0              0      0.00                    0


                                                                                                        Operating Expenses




            0         0.00            0      0.00          0             0        0.00             0 Total Operating Expenses- Ldy                    0      0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0        0.00             0 Total Laundry Expenses                           0       0.00        0       0.00             0              0       0.00                   0



                                                                                                        Allocation




            0         0.00            0      0.00          0             0        0.00             0 Total Allocation                                 0      0.00         0      0.00              0              0      0.00                    0



            0                         0                    0             0                         0 Total Lndry Dept                                 0                   0                        0              0                              0



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                                                           Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                           For Property: HGI Atlanta Alpharetta
                                                           00- Master P&L-CAPSTONE
                                                           As of 12/31/2020

Actual       % / POR     Budget      % / POR    Act vs     Last Year      % / POR      Act vs LY                   Description             YTD           % / POR        YTD     % / POR    Act vs        YTD Last      % / POR    Act vs LY
                                                Bud Var                                       Var                                                                    Budget                Bud Var         Year                      Var
                                                                                                    SUMMARY

    5,084                    5,084                     0         5,084                            0 Total Rooms Available                     60,024                   60,024                        0       59,860                         164

    1,958                    2,413                  -455         2,688                        -730 Total Rooms Sold                           25,644                   40,517                 -14,873        40,012                    -14,368

 38.51%                   47.46%                 -8.95%        52.87%                     -14.36% Occupancy %                               42.72%                   67.50%                  -24.78%        66.84%                    -24.12%

   68.40                   136.08                 -67.69        128.33                      -59.93 Average Rate                               95.96                   148.12                   -52.17        151.23                     -55.28

   26.34                    64.59                 -38.25         67.85                      -41.51 REVPAR                                     41.00                    99.98                   -58.99        101.09                     -60.09




                                                                                                    REVENUES

  133,920        84.81     328,373      80.79   -194,453       344,940         78.57      -211,020 ROOMS                                   2,460,714        87.62   6,001,468      85.73   -3,540,754      6,051,206      85.14      -3,590,492

   16,619        10.53      60,336      14.84    -43,717        69,067         15.73       -52,448 FOOD                                      214,526         7.64     738,296      10.55     -523,770       795,985       11.20       -581,459

         0        0.00       8,012       1.97     -8,012        13,762          3.13       -13,762 BEVERAGE                                   19,387         0.69     112,510       1.61      -93,124       103,129        1.45        -83,743

    7,358         4.66       9,756       2.40     -2,398        11,265          2.57        -3,906 MISCELLANEOUS                             113,789         4.05     148,433       2.12      -34,644       157,271        2.21        -43,482



 157,898       100.00     406,478      100.00   -248,580      439,034         100.00     -281,136 TOTAL REVENUES                          2,808,416        100.00   7,000,707     100.00   -4,192,291     7,107,591      100.00     -4,299,175




                                                                                                    DEPARTMENT EXPENSES

   45,461        33.95      70,515      21.47    -25,054        79,493         23.05       -34,031 ROOMS EXPENSE                             645,990        26.25   1,044,978      17.41     -398,988      1,104,702      18.26       -458,712

   21,807       131.22      44,198      73.25    -22,392        53,731         77.79       -31,924 FOOD EXPENSE                              202,899        94.58     526,602      71.33     -323,704       579,860       72.85       -376,961

    1,678         0.00       4,509      56.27     -2,831         4,026         29.25        -2,348 BEVERAGE EXPENSE                           22,308       115.07      61,384      54.56      -39,076        75,225       72.94        -52,917

    1,614        21.94        936        9.60        678         1,606         14.26              8 MISCELLANEOUS EXPENSE                     13,293        11.68      16,858      11.36       -3,566        24,523       15.59        -11,230



  70,560        44.69     120,158       29.56    -49,598      138,855          31.63       -68,295 TOTAL DEPARTMENTAL EXPENSES              884,489         31.49   1,649,822      23.57    -765,333      1,784,310       25.10       -899,820



                                                                                                    DEPARTMENTAL PROFIT

   88,459        66.05     257,858      78.53   -169,399       265,447         76.95      -176,989 ROOMS PROFIT                            1,814,724        73.75   4,956,490      82.59   -3,141,766      4,946,505      81.74      -3,131,781

   -5,188       -31.22      16,138      26.75    -21,326        15,337         22.21       -20,524 FOOD PROFIT                                11,627         5.42     211,694      28.67     -200,066       216,125       27.15       -204,497

   -1,678         0.00       3,503      43.73     -5,181         9,736         70.75       -11,414 BEVERAGE PROFIT                            -2,921       -15.07      51,127      45.44      -54,048        27,904       27.06        -30,825

    5,744        78.06       8,820      90.40     -3,076         9,659         85.74        -3,915 MISCELLANEOUS PROFIT                      100,496        88.32     131,575      88.64      -31,078       132,748       84.41        -32,252



  87,337        55.31     286,319       70.44   -198,982      300,179          68.37     -212,841 TOTAL DEPARTMENTAL PROFIT               1,923,927         68.51   5,350,885      76.43   -3,426,958     5,323,282       74.90     -3,399,355



   30,400        19.25      42,283      10.40    -11,884        48,130         10.96       -17,730 A & G EXPENSE                             380,276        13.54     561,106       8.01     -180,830       569,486        8.01       -189,209

    3,501         2.22       2,443       0.60      1,058         2,486          0.57         1,016 TELECOM                                    38,731         1.38      28,273       0.40       10,457        29,090        0.41            9,641

    9,487         6.01      29,873       7.35    -20,386        26,711          6.08       -17,224 SALES & MARKETING EXPENSES                186,122         6.63     379,316       5.42     -193,194       363,365        5.11       -177,243

   20,455        12.95      42,380      10.43    -21,925        43,475          9.90       -23,020 FRANCHISE FEES                            302,362        10.77     759,650      10.85     -457,288       763,921       10.75       -461,559

   11,262         7.13      18,243       4.49     -6,982        19,623          4.47        -8,361 MAINTENANCE EXPENSES                      165,176         5.88     238,659       3.41      -73,483       256,352        3.61        -91,176

   19,211        12.17      19,128       4.71         83        19,557          4.45          -345 UTILITIES EXPENSE                         209,798         7.47     250,567       3.58      -40,769       251,524        3.54        -41,725



  94,316        59.73     154,351       37.97    -60,035      159,981          36.44       -65,665 TOTAL ADMIN EXPENSES                   1,282,466         45.67   2,217,572      31.68    -935,106      2,233,737       31.43       -951,271



   -6,979        -4.42    131,968       32.47   -138,947      140,198          31.93     -147,177 HOUSE PROFIT                              641,461         22.84   3,133,313      44.76   -2,491,852     3,089,545       43.47     -2,448,084



                                                                                                    FIXED EXPENSES

   14,959         9.47      10,167       2.50      4,792        10,976          2.50         3,983 MANAGEMENT FEES                            96,464         3.43     175,109       2.50      -78,645       177,690        2.50        -81,226

  128,053        81.10     124,035      30.51      4,018      -270,086        -61.52       398,139 FIXED EXPENSES                          1,508,993        53.73   1,481,908      21.17       27,085      1,097,106      15.44        411,887
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    -149,992        -94.99    -2,234    -0.55   -147,758   399,307   90.95   -549,299 NET OPERATING INCOME                     -963,996     -34.33   1,476,296   21.09   -2,440,292   1,814,749   25.53        -2,778,745



      196,462       124.42    87,522    21.53    108,939   180,184   41.04     16,277 Other                                    2,201,158     78.38   1,071,507   15.31    1,129,651   2,265,223   31.87             -64,065



    -346,453       -219.42   -89,756   -22.08   -256,697   219,123   49.91   -565,576 N.I. after Other                        -3,165,154   -112.70    404,789     5.78   -3,569,943   -450,474    -6.34        -2,714,680



    -250,310                 -89,756            -160,554   282,976           -533,286 Cash before Depreciation/Amortization   -2,011,438              404,789            -2,416,227    670,952                 -2,682,390

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                                                                   Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                                   For Property: HGI Atlanta Alpharetta
                                                                   00- Master P&L-CAPSTONE
                                                                   As of 12/31/2020

   Actual         % / POR       Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                         Description       YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                        Bud Var                                       Var                                                                    Budget                Bud Var         Year                          Var
                                                                                                              ROOMS DEPARTMENT
                                                                                                              ROOMS REVENUE

        9,389          7.01        79,653       24.26    -70,264        95,020         27.55       -85,631 Rack/ Premium                             632,427        25.70   1,710,247      28.50   -1,077,819      1,619,513       26.76           -987,085

          744          0.56        76,734       23.37    -75,989       101,126         29.32      -100,381 Corporate                                 366,355        14.89   1,523,430      25.38   -1,157,075      1,655,123       27.35          -1,288,768

       88,295         65.93        65,875       20.06     22,420        72,676         21.07        15,619 Discounts - Other                         650,591        26.44     935,134      15.58     -284,543      1,085,680       17.94           -435,089

             0         0.00         3,788        1.15     -3,788         6,437          1.87        -6,437 Government                                  9,208         0.37      65,548       1.09      -56,340        59,012         0.98             -49,804

        1,930          1.44        70,798       21.56    -68,867        27,003          7.83       -25,073 Locally Negotiated Rate                   114,018         4.63     826,787      13.78     -712,770       652,264        10.78           -538,247

            -28       -0.02              0       0.00        -28         -1,472        -0.43         1,443 Allowances                                 -2,614        -0.11           0       0.00       -2,614        -11,522       -0.19                  8,908



     100,331         74.92       296,848        90.40   -196,517      300,791          87.20     -200,460 Total Transient Revenue                 1,769,985         71.93   5,061,147      84.33   -3,291,162     5,060,070        83.62        -3,290,085




             0         0.00              0       0.00          0             0          0.00                0 Total Base Revenues                          0         0.00           0       0.00             0              0       0.00                     0



       32,990         24.63        30,525        9.30      2,465        41,586         12.06        -8,596 Group- Corporate                          676,846        27.51     912,321      15.20     -235,475       961,553        15.89           -284,707



      32,990         24.63        30,525         9.30     2,465         41,586         12.06        -8,596 Total Group Revenue                      676,846         27.51    912,321       15.20    -235,475       961,553         15.89          -284,707



          599          0.45         1,000        0.30       -401         2,564          0.74        -1,965 Guaranteed No-Show                         13,883         0.56      28,000       0.47      -14,117        29,584         0.49             -15,701



     133,920        100.00       328,373       100.00   -194,453      344,940         100.00     -211,020 Total Rooms Revenue                     2,460,714        100.00   6,001,468     100.00   -3,540,754     6,051,206       100.00        -3,590,492



                                                                                                              ROOM STATISTICS

          123               6        483           20       -360           624            23          -501 Rack/ Premium Rooms                         5,065           20       9,511         23       -4,446         8,997           22               -3,932

             9              0        483           20       -474           575            21          -566 Corporate Rooms                             2,291            9       9,222         23       -6,931         9,179           23               -6,888

        1,387              71        724           30        663           911            34              476 Discounts - Other Rooms                  8,694           34       9,595         24         -901         9,911           25               -1,217

             0              0         24            1        -24            41             2              -41 Government Rooms                            76            0         405          1         -329             385          1                  -309

            30              2        434           18       -404           183             7          -153 Locally Negotiated Corporate Rooms            870            3       5,024         12       -4,154         3,931           10               -3,061



       1,549               79      2,148          89       -599          2,334           87           -785 Total Transient Stats                     16,996           66      33,758         83      -16,762         32,403          81             -15,407




             0              0            0         0          0              0            0                 0 Total Crew Stats                            0            0           0          0              0              0         0                      0



          409              21        265           11        144           354            13               55 Group- Corporate Rooms                   8,648           34       6,759         17        1,889         7,609           19                  1,039



         409               21        265          11        144            354           13               55 Total Group Stats                        8,648           34       6,759         17        1,889          7,609          19                1,039



       1,958              100      2,413         100       -455          2,688          100           -730 TOTAL ROOM STATISTICS                     25,644          100      40,517        100      -14,873         40,012         100             -14,368



                                                                                                              Other Room Stats

            28              1            0          0         28            18             1               10 Comp Rooms                                 190            1           0          0         190              172          0                    18

             0              0            0          0          0             0             0                0 Single Occupancy                             0            0           0          0             0             90          0                    -90

          785              40            0          0        785           812            30              -27 Multiple Occupancy                       6,349           25           0          0        6,349        10,229           26               -3,880

          188              10            0          0        188            93             3               95 Out of Order Rooms                       1,928            8           0          0        1,928             623          2                  1,305

        3,001             153            0          0      3,001         3,878           144          -877 # of Guests                                34,421          134           0          0       34,421        55,425          139             -21,004



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                                                            Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                            For Property: HGI Atlanta Alpharetta
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year      % / POR      Act vs LY                       Description         YTD           % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                       Var                                                                  Budget              Bud Var         Year                         Var
                                                                                                     ADR



        76.34                165.05                -88.71        152.28                      -75.94 Rack/Premium ADR                           124.86                179.81                -54.95         180.01                           -55.14

        82.72                159.00                -76.28        175.87                      -93.15 Corporate ADR                              159.91                165.19                 -5.28         180.32                           -20.41

            0                      0                    0             0                            0 Contract - Airline ADR                         0                    0                        0              0                              0

        63.66                 91.00                -27.34         79.78                      -16.12 Discount ADR                                74.83                 97.46                -22.63         109.54                           -34.71

         0.00                  0.00                  0.00           0.00                       0.00 Distressed Passengers ADR                     0.00                 0.00                  0.00           0.00                              0.00

            0                      0                    0             0                            0 AARP ADR                                       0                    0                        0              0                              0

         0.00                157.00               -157.00        157.00                     -157.00 Government ADR                             121.16                161.78                -40.62         153.28                           -32.12

         0.00                  0.00                  0.00           0.00                       0.00 AAA ADR                                       0.00                 0.00                  0.00           0.00                              0.00

        64.35                163.00                -98.65        147.56                      -83.21 Local Negotiated ADR                       131.05                164.56                -33.51         165.93                           -34.87

         0.00                  0.00                  0.00           0.00                       0.00 Packages ADR                                  0.00                 0.00                  0.00           0.00                              0.00

         0.00                  0.00                  0.00           0.00                       0.00 Wholesale/FIT ADR                             0.00                 0.00                  0.00           0.00                              0.00

            0                      0                    0             0                            0 Internet ADR                                   0                    0                        0              0                              0

            0                      0                    0             0                            0 Tax Exampt - Transient ADR                     0                    0                        0              0                              0



       64.77                138.23                 -73.45        128.87                      -64.10 Total Transient ADR                       104.14                149.93                 -45.78        156.16                          -52.02




         0.00                  0.00                  0.00           0.00                       0.00 Crew ADR                                      0.00                 0.00                  0.00           0.00                              0.00

            0                      0                    0             0                            0 Contract ADR                                   0                    0                        0              0                              0




         0.00                  0.00                  0.00           0.00                       0.00 Group - SMERF ADR                             0.00                 0.00                  0.00           0.00                              0.00

        80.66                115.00                -34.34        117.47                      -36.81 Group - Corporate ADR                       78.27                134.97                -56.70         126.37                           -48.10

            0                      0                    0             0                            0 Group - Government ADR                         0                    0                        0              0                              0

            0                      0                    0             0                            0 Group - Tour ADR                               0                    0                        0              0                              0

            0                      0                    0             0                            0 Group- Association ADR                         0                    0                        0              0                              0

            0                      0                    0             0                            0 Group - Tax Exampt ADR                         0                    0                        0              0                              0



       80.66                115.00                 -34.34        117.47                      -36.81 Total Group ADR                            78.27                134.97                 -56.70        126.37                          -48.10

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                                                                Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                                For Property: HGI Atlanta Alpharetta
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                          Description      YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                    Budget                Bud Var         Year                          Var
                                                                                                           Payroll & Related Expense

        2,373         1.21       4,866        2.02     -2,493         5,952         2.21         -3,579 FD/ Guest Service Reps                     31,486         1.23      79,426       1.96      -47,940        86,783         2.17             -55,297

        2,180         1.11       2,744        1.14       -564         2,485         0.92           -305 FD/Supervisor                              20,938         0.82      32,395       0.80      -11,457        32,181         0.80             -11,243

        2,572         1.31       3,956        1.64     -1,384         2,336         0.87               236 Executive Housekeeper                   42,659         1.66      46,590       1.15       -3,931        43,099         1.08                  -439

        1,568         0.80       2,832        1.17     -1,264         3,681         1.37         -2,112 Asst Exec Housekeeper/ Inspectress         11,964         0.47      39,043       0.96      -27,079        47,072         1.18             -35,108

            0         0.00      11,968        4.96    -11,968         6,590         2.45         -6,590 Housekeepers                               17,700         0.69     200,969       4.96     -183,269        67,538         1.69             -49,838

        1,613         0.82       5,658        2.34     -4,045         3,575         1.33         -1,962 Housemen                                   32,250         1.26      91,285       2.25      -59,035        34,761         0.87               -2,511

            0         0.00            0       0.00          0             0         0.00                 0 Van Drivers                                 0          0.00           0       0.00             0        1,850         0.05               -1,850

        2,206         1.13       3,885        1.61     -1,679            23         0.01          2,183 Laundry                                    13,030         0.51      57,205       1.41      -44,175         9,339         0.23                  3,692

            0         0.00            0       0.00          0             0         0.00                 0 Comp Breakfast Hostess                   8,386         0.33           0       0.00        8,386               0       0.00                  8,386

        3,496         1.79       4,712        1.95     -1,216         4,433         1.65           -937 Night Audit                                44,945         1.75      55,632       1.37      -10,687        52,324         1.31               -7,379

        1,725         0.88       2,805        1.16     -1,080         3,334         1.24         -1,609 Payroll Taxes                              21,890         0.85      39,715       0.98      -17,825        36,389         0.91             -14,499

        1,242         0.63       1,827        0.76       -585         1,199         0.45                44 Employee Benefits                       17,043         0.66      21,924       0.54       -4,881        19,986         0.50               -2,943

          977         0.50        800         0.33        177         3,132         1.17         -2,155 Vacation /PTO                              34,264         1.34       9,600       0.24       24,664        14,613         0.37             19,651

        1,746         0.89       2,400        0.99       -654         2,906         1.08         -1,160 Holiday                                     6,985         0.27       8,400       0.21       -1,415         9,479         0.24               -2,494

            0         0.00            0       0.00          0             0         0.00                 0 Bonus/Incentive Pay                         0          0.00           0       0.00             0            795       0.02                  -795

        7,700         3.93            0       0.00      7,700         7,504         2.79               196 Contract Labor- Housekeepers           100,887         3.93           0       0.00      100,887       134,436         3.36             -33,550

        2,793         1.43            0       0.00      2,793         3,382         1.26           -589 Contract Labor- Houseperson                26,199         1.02           0       0.00       26,199        64,999         1.62             -38,800

            0         0.00            0       0.00          0         2,159         0.80         -2,159 Contract Labor- Laundry                    25,582         1.00           0       0.00       25,582        47,950         1.20             -22,368



      32,192         16.44     48,453        20.08    -16,261        52,688        19.60        -20,497 Total P/R & R/Benefits- Rooms            456,209         17.79    682,184       16.84    -225,975       703,594         17.58          -247,385

                                                                                                           ROOMS DEPARTMENT
                                                                                                           OPERATING EXPENSE

            0         0.00        265         0.11       -265           398         0.15           -398 Newspapers                                  1,369         0.05       4,457       0.11       -3,088         4,398         0.11               -3,029

            0         0.00            0       0.00          0             0         0.00                 0 Comp Breakfast                          17,055         0.67           0       0.00       17,055               0       0.00             17,055

        1,481         0.76       2,099        0.87       -618         4,503         1.68         -3,022 Rooms- Promotion                           16,231         0.63      35,250       0.87      -19,018        41,309         1.03             -25,078

            0         0.00         50         0.02        -50           -22         -0.01               22 Guest Transportation                       -80         0.00         600       0.01         -680             500       0.01                  -580

          356         0.18         97         0.04        259           149         0.06               207 Laundry Supplies                         1,848         0.07       1,621       0.04         227          1,144         0.03                   704

        2,353         1.20       1,448        0.60        905         2,557         0.95           -204 Linen Supplies                             15,576         0.61      24,310       0.60       -8,735        28,916         0.72             -13,340

        1,891         0.97       1,990        0.82        -99         1,915         0.71               -24 Cable TV                                21,150         0.82      23,880       0.59       -2,730        23,277         0.58               -2,127

          574         0.29        333         0.14        241           574         0.21                 0 HSIA Support                             6,941         0.27       3,996       0.10        2,945         7,188         0.18                  -247

            0         0.00            0       0.00          0             0         0.00                 0 Printing & Stationary                       0          0.00           0       0.00             0            878       0.02                  -878

          831         0.42       1,134        0.47       -303           739         0.27                92 Reservations Expense                     6,273         0.24      19,043       0.47      -12,770        17,713         0.44             -11,440

        1,159         0.59       2,775        1.15     -1,616         2,826         1.05         -1,667 Guest Room Supplies                        23,270         0.91      46,595       1.15      -23,324        45,322         1.13             -22,052

          386         0.20        724         0.30       -338           311         0.12                75 Cleaning Supplies                        7,541         0.29      12,155       0.30       -4,614        13,381         0.33               -5,841

          843         0.43        410         0.17        433           276         0.10               566 Ecolab Core Supplies                     5,649         0.22       6,887       0.17       -1,238         5,423         0.14                   225

        2,485         1.27      10,738        4.45     -8,253        12,580         4.68        -10,095 Travel Agents Commission                   60,753         2.37     180,301       4.45     -119,548       203,683         5.09           -142,930

            0         0.00            0       0.00          0             0         0.00                 0 Uniforms                                   79          0.00       3,200       0.08       -3,121         7,318         0.18               -7,239

            0         0.00            0       0.00          0             0         0.00                 0 Walk Expense                                0          0.00         500       0.01         -500             656       0.02                  -656

          912         0.47            0       0.00        912             0         0.00               912 COVID 19 Supplies                        6,127         0.24           0       0.00        6,127               0       0.00                  6,127



      13,270          6.78     22,063         9.14     -8,793        26,805         9.97        -13,535 Total Operating - Rooms                  189,781          7.40    362,794        8.95    -173,013       401,107         10.02          -211,326



      45,461         23.22     70,515        29.22    -25,054        79,493        29.57        -34,031 Total Expenses- Rooms                    645,990         25.19   1,044,978      25.79    -398,988      1,104,702        27.61          -458,712



      88,459         45.18    257,858       106.86   -169,399      265,447         98.75      -176,989 Net Income- Rooms                       1,814,724         70.77   4,956,490     122.33   -3,141,766     4,946,505       123.63        -3,131,781



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                                                               Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                               For Property: HGI Atlanta Alpharetta
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget      % / POR    Act vs     Last Year      % / POR      Act vs LY                      Description          YTD           % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                    Bud Var                                       Var                                                                   Budget               Bud Var       Year                        Var
                                                                                                          Food & Beverage
                                                                                                          Summary


        9,590        57.71      36,416      53.28    -26,826        43,835         52.92       -34,245 Total Food Sales                          131,928        56.40   459,226      53.98    -327,298      475,861      52.93           -343,934

            0         0.00       8,012      11.72     -8,012        13,762         16.61       -13,762 Total Beverage Sales                       19,387         8.29   112,510      13.22     -93,124      103,129      11.47             -83,743

        1,865        11.22       3,000       4.39     -1,135         2,208          2.67          -343 Total Banquet A/V                          11,431         4.89    47,500       5.58     -36,069       56,655       6.30             -45,224

        5,163        31.07      20,920      30.61    -15,757        23,024         27.80       -17,860 Total Banquet Misc                         71,167        30.42   231,570      27.22    -160,403      263,468      29.30           -192,301



       16,619       100.00      68,348     100.00    -51,729        82,829        100.00       -66,210 Total F & B Sales                         233,913       100.00   850,806     100.00    -616,894      899,114     100.00           -665,201



        7,954        82.94      13,420      36.85     -5,466        17,846         40.71        -9,892 Food Cost                                  67,298        51.01   169,115      36.83    -101,817      192,396      40.43           -125,097

        1,174         0.00       2,470      30.83     -1,296         2,965         21.54        -1,791 Beverage Costs                             11,561        59.64    34,921      31.04     -23,359       37,500      36.36             -25,939

            0         0.00        150        5.00      -150             21          0.97              -21 Banquet A/V Costs                        1,993        17.44     2,375       5.00       -382         8,230      14.53               -6,237



        9,128        54.92      16,041      23.47     -6,913        20,832         25.15       -11,705 Total F & B Costs                          80,853        34.57   206,411      24.26    -125,558      238,126      26.48           -157,273



        7,574        78.97      23,400      64.26    -15,825        24,391         55.64       -16,817 Food Wages                                 92,338        69.99   273,563      59.57    -181,225      292,028      61.37           -199,690

            0         0.00       1,308      16.33     -1,308           891          6.48          -891 Beverage Wages                              2,699        13.92    17,100      15.20     -14,401       15,840      15.36             -13,141

        7,574        78.97      24,708      55.61    -17,133        25,282         43.89       -17,708 Total F & B Wages                          95,037        62.81   290,663      50.84    -195,626      307,868      53.17           -212,830



        4,420        46.09       5,143      11.58      -723          7,899         13.71        -3,479 F & B- P T & E B                           28,460        18.81    44,194       7.73     -15,734       48,138       8.31             -19,678




       11,994        72.17      29,850      43.67    -17,856        33,181         40.06       -21,187 TTL P/R and Benefits                      123,497        52.80   334,857      39.36    -211,359      356,006      39.60           -232,508




        1,859        19.38       2,308       6.34      -449          3,743          8.54        -1,885 Food Operating Expenses                    13,477        10.22    40,262       8.77     -26,785       42,052       8.84             -28,575

          504         0.00        508        6.34         -4             0          0.00              504 Beverage Operating Expenses              7,379        38.06     6,456       5.74        923        18,902      18.33             -11,523



        2,362        14.22       2,816       4.12      -453          3,743          4.52        -1,381 Total F & B Operating Expenses             20,856         8.92    46,718       5.49     -25,863       60,954       6.78             -40,098



       -6,866       -41.31      19,641      28.74    -26,507        25,073         30.27       -31,938 Net F & B Income                            8,706         3.72   262,820      30.89    -254,114      244,029      27.14           -235,322




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                                                                Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                                For Property: HGI Atlanta Alpharetta
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                     Description           YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                         Food Department




            0         0.00            0       0.00         0              0          0.00              0 Total Restaurant                              0          0.00        0        0.00             0              0       0.00                     0




            0         0.00            0       0.00         0              0          0.00              0 Total Bar Food                                0          0.00        0        0.00             0              0       0.00                     0




            0         0.00            0       0.00         0              0          0.00              0 Total Bistro                                  0          0.00        0        0.00             0              0       0.00                     0



        3,232        19.45       8,928       14.80     -5,697        11,466         16.60        -8,234 Garden Grill Breakfast                     43,002        20.04   149,520      20.25    -106,518        148,496        18.66           -105,495

            0         0.00       2,896        4.80     -2,896         2,575          3.73        -2,575 Garden Grill Dinner                         8,537         3.98    43,811       5.93     -35,273         42,490         5.34             -33,953



       3,232         19.45     11,824        19.60     -8,592        14,040         20.33       -10,808 Total Garden Grill                        51,539         24.02   193,330      26.19    -141,791       190,987         23.99          -139,448




            0         0.00            0       0.00         0              0          0.00              0 Total Other Food Revenue                      0          0.00        0        0.00             0              0       0.00                     0



            0         0.00       1,448        2.40     -1,448         1,297          1.88        -1,297 Room Service Dinner                         4,299         2.00    21,587       2.92     -17,288         19,587         2.46             -15,289

            0         0.00        145         0.24       -145           124          0.18          -124 Room Service Delivery Charge                  456         0.21     2,159       0.29      -1,703          2,011         0.25               -1,555



            0         0.00      1,593         2.64     -1,593         1,421          2.06        -1,421 Total Room Service                         4,755          2.22    23,746       3.22     -18,991        21,598          2.71            -16,844



        1,122         6.75       2,000        3.31       -878         1,677          2.43          -555 Banquet Breakfast                          14,649         6.83    60,000       8.13     -45,351         63,343         7.96             -48,693

        3,022        18.18       9,000       14.92     -5,978        14,093         20.40       -11,071 Banquet Lunch                              32,547        15.17    90,000      12.19     -57,453        105,474        13.25             -72,927

          307         1.85       7,000       11.60     -6,693         8,425         12.20        -8,118 Banquet Dinner                              9,671         4.51    37,150       5.03     -27,479         37,164         4.67             -27,493

             0        0.00            0       0.00          0             0          0.00              0 Banquet Reception                          2,390         1.11         0       0.00       2,390              460       0.06                  1,930

        1,908        11.48       5,000        8.29     -3,092         4,180          6.05        -2,272 Banquet Breaks                             16,377         7.63    55,000       7.45     -38,623         56,836         7.14             -40,459



       6,359         38.26     23,000        38.12    -16,641        28,375         41.08       -22,016 Total Banquets                            75,634         35.26   242,150      32.80    -166,516       263,276         33.08          -187,642




            0         0.00            0       0.00         0              0          0.00              0 Total Catering                                0          0.00        0        0.00             0              0       0.00                     0



       9,590         57.71     36,416        60.36    -26,826        43,835         63.47       -34,245 Net Food Revenue                         131,928         61.50   459,226      62.20    -327,298       475,861         59.78          -343,934




        2,644        15.91      13,000       21.55    -10,356        10,789         15.62        -8,145 Banquet Room Rental                        41,359        19.28   143,500      19.44    -102,141        158,497        19.91           -117,137

        1,865        11.22       3,000        4.97     -1,135         2,208          3.20          -343 Banquet A/V                                11,431         5.33    47,500       6.43     -36,069         56,655         7.12             -45,224

            19        0.11        100         0.17        -81         1,760          2.55        -1,741 Banquet Miscellaneous                       1,178         0.55     1,200       0.16         -22          2,429         0.31               -1,251

        2,500        15.05       7,820       12.96     -5,320        10,475         15.17        -7,975 F & B Service Charges                      28,630        13.35    86,870      11.77     -58,240        102,543        12.88             -73,913



       7,028         42.29     23,920        39.64    -16,892        25,232         36.53       -18,203 Total Banquets Other                      82,598         38.50   279,070      37.80    -196,472       320,123         40.22          -237,525



      16,619       100.00      60,336       100.00    -43,717        69,067        100.00       -52,448 Total Food Revenues                      214,526        100.00   738,296     100.00    -523,770       795,985        100.00          -581,459

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                                                                Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                                For Property: HGI Atlanta Alpharetta
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                          Description      YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                           Cost of Goods Sold

        7,954        82.94      13,420       36.85     -5,466        17,846        40.71         -9,892 Cost of Sales - Food                       67,298        51.01   169,115      36.83    -101,817        192,396        40.43           -125,097

             0        0.00        150         0.05       -150            21         0.01               -21 Cost of Sales- Banquet A/V               1,993         0.17     2,375       0.05        -382          8,230         0.15               -6,237

       7,954         82.94     13,570        37.26     -5,616        17,868        40.76         -9,914 Total Cost of Good Sold                   69,292         52.52   171,490      37.34    -102,198       200,626         42.16          -131,334


                                                                                                           Food Payroll

        1,519         9.14       3,932        6.52     -2,413         2,667         3.86         -1,148 Restaurant Manager                         16,585         7.73    46,087       6.24     -29,502         42,721         5.37             -26,136

        1,927        11.60       4,501        7.46     -2,574         4,239         6.14         -2,312 Servers                                    18,351         8.55    56,758       7.69     -38,407         58,113         7.30             -39,761

        2,064        12.42      10,196       16.90     -8,132        10,181        14.74         -8,118 Cooks                                      31,516        14.69   114,876      15.56     -83,360        126,129        15.85             -94,613

          548         3.30       1,528        2.53       -980         2,256         3.27         -1,708 Banquet Server                              5,648         2.63    18,037       2.44     -12,389         18,396         2.31             -12,748

             0        0.00       1,215        2.01     -1,215         1,718         2.49         -1,718 Banquet Setup                               3,961         1.85    14,346       1.94     -10,386         18,749         2.36             -14,788

          244         1.47        978         1.62       -734         2,259         3.27         -2,016 F & B Service Charge- Payout                6,576         3.07    10,859       1.47      -4,283         15,143         1.90               -8,568

          967         5.82       2,680        4.44     -1,714         2,751         3.98         -1,784 Payroll Taxes                              10,651         4.97    29,707       4.02     -19,056         30,863         3.88             -20,212

        1,272         7.66       1,050        1.74       222          1,070         1.55               202 Employee Benefits                        9,702         4.52    12,600       1.71      -2,898         12,582         1.58               -2,880

        2,282        13.73        440         0.73      1,842         3,142         4.55           -859 Vacation /PTO                              14,368         6.70     5,280       0.72       9,088          7,741         0.97                  6,628

        1,171         7.05       1,800        2.98       -629         1,837         2.66           -666 Holiday                                     2,772         1.29     6,300       0.85      -3,528          6,351         0.80               -3,579

             0        0.00            0       0.00          0             0         0.00                 0 Bonus/Incentive Pay                          0         0.00         0       0.00             0            200       0.03                  -200

             0        0.00            0       0.00          0             0         0.00                 0 Contract Labor                               0         0.00         0       0.00             0            195       0.02                  -195

      11,994         72.17     28,320       46.94     -16,326        32,120        46.50        -20,126 Total Food Wages                         120,130         56.00   314,850      42.65    -194,720       337,182         42.36          -217,053


                                                                                                           Operating Expenses

             0        0.00         48         0.08        -48           658         0.95           -658 China                                         347         0.16       612       0.08        -265              658       0.08                  -312

             0        0.00         48         0.08        -48           204         0.30           -204 Glass                                           0         0.00       612       0.08        -612              499       0.06                  -499

             0        0.00         48         0.08        -48             0         0.00                 0 Silverware                                 152         0.07       612       0.08        -460              892       0.11                  -740

             0        0.00         48         0.08        -48             0         0.00                 0 Tableware                                  169         0.08       612       0.08        -443              510       0.06                  -341

             0        0.00         72         0.12        -72             0         0.00                 0 Linens                                       0         0.00       918       0.12        -918          1,396         0.18               -1,396

             0        0.00            0       0.00          0             0         0.00                 0 Data Processing- F & B                       0         0.00     1,495       0.20      -1,495          1,429         0.18               -1,429

             0        0.00            0       0.00          0           129         0.19           -129 Decorations                                     0         0.00         0       0.00             0            129       0.02                  -129

             0        0.00        217         0.36       -217            80         0.12               -80 Contract Cleaning                        1,362         0.63     3,647       0.49      -2,285          3,249         0.41               -1,887

             0        0.00         48         0.08        -48             0         0.00                 0 Supplies- Other                              0         0.00       810       0.11        -810              -92      -0.01                    92

          278         1.67        845         1.40       -566           696         1.01           -418 Cleaning Supplies                           3,688         1.72    14,181       1.92     -10,493         15,217         1.91             -11,529

          103         0.62        458         0.76       -355           450         0.65           -347 Supplies- Paper                             2,800         1.31     7,698       1.04      -4,898          7,930         1.00               -5,129

             0        0.00            0       0.00          0             0         0.00                 0 Menus                                        0         0.00     1,800       0.24      -1,800              540       0.07                  -540

            14        0.09        217         0.36       -203           423         0.61           -409 Kitchen & Utensils Supplies                   917         0.43     3,647       0.49      -2,730          4,394         0.55               -3,477

             0        0.00            0       0.00          0            33         0.05               -33 Uniforms                                     0         0.00       500       0.07        -500              449       0.06                  -449

        1,463         8.80        260         0.43      1,203           531         0.77               931 Equipment Rental                         3,469         1.62     3,120       0.42         349          3,433         0.43                    36

             0        0.00            0       0.00          0           538         0.78           -538 Promotions                                    574         0.27         0       0.00         574          1,420         0.18                  -845



       1,859         11.18      2,308         3.83      -449          3,743         5.42         -1,885 Total Operating Expense- Food             13,477          6.28    40,262       5.45     -26,785        42,052          5.28            -28,575



      21,807       131.22      44,198        73.25    -22,392        53,731        77.79        -31,924 Total Food Costs                         202,899         94.58   526,602      71.33    -323,704       579,860         72.85          -376,961



       -5,188       -31.22     16,138        26.75    -21,326        15,337        22.21        -20,524 N.I.- Food Department                     11,627          5.42   211,694      28.67    -200,066       216,125         27.15          -204,497

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                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                     Description           YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                         Beverage Department




            0         0.00            0       0.00         0              0          0.00              0 Total Restaurant Beverage                     0          0.00        0        0.00             0              0       0.00                   0



            0         0.00      2,172        27.11     -2,172         1,868         13.57        -1,868 Garden Grill Beer                           5,388        27.79    42,148      37.46     -36,760         27,585        26.75             -22,197

            0         0.00        965        12.05       -965         1,230          8.94        -1,230 Garden Grill Wine                           4,052        20.90    21,409      19.03     -17,357         20,050        19.44             -15,998

            0         0.00      2,775        34.64     -2,775         3,540         25.72        -3,540 Garden Grill Liquor                         8,265        42.63    41,753      37.11     -33,489         41,742        40.48             -33,477

            0         0.00      5,912        73.79     -5,912         6,638         48.23        -6,638 Total Garden Grill Beverage               17,705         91.32   105,310      93.60     -87,606        89,376         86.66            -71,672




            0         0.00            0       0.00         0              0          0.00              0 Total Room Service Bev                        0          0.00        0        0.00             0              0       0.00                   0




            0         0.00            0       0.00         0              0          0.00              0 Total Bar Beverage                            0          0.00        0        0.00             0              0       0.00                   0



            0         0.00        700         8.74       -700         2,368         17.21        -2,368 Banquet Liquor                                390         2.01     2,400       2.13      -2,010          2,452         2.38               -2,062

            0         0.00        700         8.74       -700         2,444         17.76        -2,444 Banquet Beer                                  791         4.08     2,400       2.13      -1,610          5,475         5.31               -4,685

            0         0.00        700         8.74       -700         2,311         16.80        -2,311 Banquet Wine                                  502         2.59     2,400       2.13      -1,899          5,825         5.65               -5,324



            0         0.00      2,100        26.21     -2,100         7,124         51.77        -7,124 Total Banquet Beverage                     1,682          8.68     7,200       6.40      -5,518        13,753         13.34            -12,071




            0         0.00            0       0.00         0              0          0.00              0 Total Catering Beverage                       0          0.00        0        0.00             0              0       0.00                   0



            0         0.00      8,012       100.00     -8,012        13,762        100.00       -13,762 Total Beverage Revenue                    19,387        100.00   112,510     100.00     -93,124       103,129        100.00            -83,743

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                                                                Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
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   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                      Description          YTD           % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                   Budget               Bud Var       Year                          Var
                                                                                                           Cost of Goods Sold

            64        0.00        973        12.14       -909         1,468        10.67         -1,404 Cost of Sales - Liquor                      3,792        19.56    12,363      10.99      -8,571       14,167        13.74             -10,375

          442         0.00        948        11.83       -506           771         5.60           -329 Cost of Sales - Beer                        3,840        19.81    14,701      13.07     -10,860       11,791        11.43               -7,950

          668         0.00        550         6.86       118            726         5.27               -58 Cost of Sales - Wine                     3,929        20.27     7,857       6.98      -3,928       11,543        11.19               -7,614



        1,174         0.00      2,470        30.83     -1,296         2,965        21.54         -1,791 Total COGS- Beverage                       11,561        59.64    34,921      31.04     -23,359       37,500        36.36             -25,939


                                                                                                           Beverage Payroll

             0        0.00      1,308        16.33     -1,308           891         6.48           -891 Bartender                                   2,699        13.92    17,100      15.20     -14,401       15,840        15.36             -13,141

             0        0.00        222         2.78       -222           170         1.24           -170 Payroll Taxes                                 668         3.45     2,907       2.58      -2,239        2,983         2.89               -2,315

            0         0.00      1,530        19.10     -1,530         1,061         7.71         -1,061 Total Beverage Payroll                     3,368         17.37   20,007       17.78     -16,639      18,823         18.25            -15,456


                                                                                                           Operating Expenses- Beverage

          504         0.00        508         6.34         -4             0         0.00               504 Licenses & Permits                       7,379        38.06     6,096       5.42       1,283       18,550        17.99             -11,171

             0        0.00            0       0.00          0             0         0.00                 0 Uniforms                                     0         0.00      360        0.00        -360            352       0.00                  -352



         504          0.00       508          6.34         -4             0         0.00           504 Total Operating- Beverage                   7,379         38.06    6,456        5.74        923       18,902         18.33            -11,523



       1,678          0.00      4,509        56.27     -2,831         4,026        29.25         -2,348 Total Beverage Costs                      22,308        115.07   61,384       54.56     -39,076      75,225         72.94            -52,917



       -1,678         0.00      3,503        43.73     -5,181         9,736        70.75        -11,414 Net Income- Beverage                       -2,921       -15.07   51,127       45.44     -54,048      27,904         27.06            -30,825

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                                                               Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                               For Property: HGI Atlanta Alpharetta
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                      Description          YTD           % / POR      YTD    % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                   Budget              Bud Var       Year                        Var
                                                                                                          FOOD STATS



          296         0.49            0       0.00       296           840         0.37           -544 Restaurant Breakfast Covers                 3,342         0.44        0       0.00       3,342       11,094       0.38               -7,752

             0        0.00            0       0.00         0           177         0.08           -177 Restaurant Dinner Covers                      569         0.07        0       0.00        569         2,966       0.10               -2,397

             0        0.00            0       0.00         0            62         0.03               -62 Room Service Dinner Covers                 226         0.03        0       0.00        226         1,015       0.03                   -789

            67        0.11            0       0.00        67           125         0.06               -58 Banquet Breakfast Covers                   865         0.11        0       0.00        865         4,181       0.14               -3,316

          119         0.20            0       0.00       119           496         0.22           -377 Banquet Lunch Covers                        1,115         0.15        0       0.00       1,115        4,196       0.14               -3,081

             6        0.01            0       0.00         6           242         0.11           -236 Banquet Dinner Covers                         253         0.03        0       0.00        253         1,546       0.05               -1,293

          119         0.20            0       0.00       119           310         0.14           -191 Banquet Breaks Covers                       1,275         0.17        0       0.00       1,275        4,377       0.15               -3,102



         607          1.00            0      0.00        607         2,252         1.00         -1,645 Total Food Covers                          7,645         1.00         0      0.00       7,645       29,375       1.00             -21,730

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                                                               For Property: HGI Atlanta Alpharetta
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual        % / POR      Budget     % / POR     Act vs    Last Year      % / POR      Act vs LY                       Description         YTD           % / POR       YTD     % / POR    Act vs      YTD Last       % / POR       Act vs LY
                                                     Bud Var                                      Var                                                                    Budget               Bud Var       Year                           Var
                                                                                                          TELECOM
                                                                                                          TELEPHONE REVENUES

            36         0.00         97        0.00       -61           581         0.00           -545 Long Distance                                 205          0.00     1,621       0.00      -1,416        2,001         0.00                -1,796

            64         0.00        121        0.00       -56           124         0.00               -59 Internet Access Fees                     1,188          0.00     2,026       0.00        -838        1,931          0.00                   -743



         100          0.00        217        0.00       -117           705         0.00           -604 Total Phone Revenues                       1,393          0.00     3,647       0.00       -2,254       3,932          0.00              -2,539



                                                                                                          COS- Communication

        1,306          0.83        600        0.15       706           820         0.19               485 COS-Local                               12,028          0.43     7,200       0.10       4,828        8,412          0.12               3,616

             0         0.00         46      47.66        -46             0         0.00                 0 COS-Long Distance                            0          0.00      552       34.06        -552              0       0.00                      0

        1,540      2,393.16      1,630    1,351.02       -90         1,614     1,304.40               -74 COS-HSIA ISP                            18,738      1,577.44    19,560     965.52        -822       19,395      1,004.64                   -657



       2,846          0.00       2,276       0.00        570         2,434         0.00           411 Total COS- Comm                            30,766          0.00    27,312       0.00       3,454       27,807          0.00                2,959



       -2,745         0.00      -2,059       0.00       -686        -1,730         0.00         -1,016 Gross Margin- Comm                       -29,373          0.00    -23,665      0.00       -5,707      -23,875         0.00              -5,498




                                                                                                          Operating Expenses

          100          0.00        100        0.00         0           100         0.00                 0 Equipment Cost                           1,145          0.00     1,200       0.00         -55        1,100         0.00                     45

          656          0.00        284        0.00       372           656         0.00                 0 Equipment Maintenance                    8,213          0.00     3,408       0.00       4,805        4,114          0.00               4,099



         756          0.00        384        0.00        372           756         0.00                 0 Total Operating - Comm                  9,358          0.00     4,608       0.00       4,750        5,214          0.00                4,144



       3,501          0.00       2,443       0.00      1,058         2,486         0.00          1,016 N.I.- Comm Dept                           38,731          0.00    28,273       0.00      10,457       29,090          0.00                9,641



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                                                                Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                                For Property: HGI Atlanta Alpharetta
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                        Description          YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                           MISCELLANEOUS DEPARTMENT
                                                                                                           MISCELLANEOUS REVENUES

             0        0.00        169         1.73       -169           383          3.40          -383 Laundry/Valet                                   405       0.36     2,836       1.91      -2,432          2,406         1.53               -2,002

          278         3.77         75         0.77       203              0          0.00              278 Vending                                  2,754         2.42     2,350       1.58        404           1,984         1.26                   769

             0        0.00            0       0.00          0             0          0.00                0 Interest Income                                0       0.00         0       0.00             0            732       0.47                   -732

             0        0.00            0       0.00          0             0          0.00                0 Forfeiture Income                              0       0.00         0       0.00             0             50       0.03                    -50

            60        0.81            0       0.00        60              0          0.00               60 Miscellaneous                            2,356         2.07         0       0.00       2,356              169       0.11               2,187

          549         7.46      3,402        34.87     -2,854         2,791         24.77        -2,242 Late Cancellation Income                   27,468        24.14    57,129      38.49     -29,661         51,045        32.46            -23,577

             0        0.00            0       0.00          0             0          0.00                0 Smoking Fee                                  600       0.53         0       0.00        600               392       0.25                   208

        4,032        54.79      3,914        40.12       117          3,914         34.75              117 Space Rental                            47,324        41.59    46,972      31.65        352          45,946        29.21               1,378

             0        0.00        627         6.43       -627         1,470         13.05        -1,470 Tax Discounts Earned                        5,301         4.66    10,534       7.10      -5,233         12,615         8.02               -7,313

        1,539        20.92      1,568        16.08        -29             0          0.00         1,539 Market Sales                               20,642        18.14    28,612      19.28      -7,969                0       0.00             20,642

          901        12.24            0       0.00       901              0          0.00              901 Market Sales- Beer/Wine                  6,939         6.10         0       0.00       6,939                0       0.00               6,939

             0        0.00            0       0.00          0         1,814         16.10        -1,814 Pavillion Pantry                                  0       0.00         0       0.00             0       29,736        18.91            -29,736

             0        0.00            0       0.00          0           893          7.93          -893 Pavilion Pantry Wine/Beer                         0       0.00         0       0.00             0       12,196         7.75            -12,196



       7,358       100.00       9,756       100.00     -2,398        11,265        100.00        -3,906 Total Miscellaneous Revenues              113,789       100.00   148,433     100.00     -34,644       157,271        100.00            -43,482



                                                                                                           COSales- Miscellaneous

             0        0.00        152        90.00       -152            83         21.62              -83 COS-Laundry/Valet                            489     120.82     2,553      90.00      -2,064          2,002        83.21               -1,513

        1,614       104.86        784        50.00       830              0          0.00         1,614 COS- Market                                12,762        61.82    14,306      50.00      -1,544                0       0.00             12,762

             0        0.00            0       0.00          0         1,523         13.52        -1,523 COGS- Pavilion Pantry                             0       0.00         0       0.00             0       22,521        14.32            -22,521



       1,614         21.94       936          9.60       678          1,606         14.26                8 Total COS- Miscellaneous                13,250        11.64    16,858      11.36      -3,608        24,523         15.59            -11,273



            0         0.00            0       0.00         0              0          0.00                0 Total Meeting Room Revenues                   0        0.00        0        0.00             0              0       0.00                     0


                                                                                                           Cost of Sales- Meeting Room

             0        0.00            0       0.00          0             0          0.00                0 Banquet Setup Service Charge- Payout          43       0.04         0       0.00            43              0       0.00                    43



       5,744         78.06      8,820        90.40     -3,076         9,659         85.74        -3,915 Total Miscellaneous Profit                100,496        88.32   131,575      88.64     -31,078       132,748         84.41            -32,252

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                                                                 For Property: HGI Atlanta Alpharetta
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                         Description       YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                       Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                            ADMIN & GENERAL DEPARTMENT
                                                                                                            ADMIN & GENERAL

                                                                                                            P/R & Related Benefits- A&G

        7,304         4.63        8,787        2.16     -1,483         6,402         1.46               903 General Manager                         92,541         3.30   103,741       1.48     -11,200         92,224         1.30                   317

        3,720         2.36        4,156        1.02       -436         3,433         0.78               287 Assistant General Manager               41,344         1.47    48,834       0.70      -7,490         43,909         0.62               -2,565

             0        0.00         994         0.24       -994           898         0.20           -898 Security                                    2,263         0.08    11,736       0.17      -9,473          9,452         0.13               -7,189

        1,101         0.70        1,059        0.26         42         1,192         0.27               -91 Payroll Taxes                           11,865         0.42    13,080       0.19      -1,215         13,024         0.18               -1,159

        1,392         0.88        1,700        0.42       -308         1,408         0.32               -16 Employee Benefits                       16,150         0.58    20,400       0.29      -4,250         20,429         0.29               -4,279

         -935         -0.59            0       0.00       -935           955         0.22         -1,891 Vacation /PTO                              28,220         1.00         0       0.00      28,220          8,955         0.13             19,266

        1,161         0.74             0       0.00      1,161         1,138         0.26                23 Holiday                                  4,544         0.16         0       0.00       4,544          3,956         0.06                   588

             0        0.00             0       0.00          0           250         0.06           -250 Bonus/Incentive Pay                         1,919         0.07     7,800       0.11      -5,881          6,582         0.09               -4,664



      13,742          8.70      16,696         4.11     -2,954        15,675         3.57         -1,933 Total P/R & R/B- A&G                     198,847          7.08   205,591      2.94       -6,744       198,532         2.79                    315


                                                                                                            Operating Expenses- A&G

          480         0.30        2,800        0.69     -2,320         3,949         0.90         -3,469 Employee Relations                          2,329         0.08     9,750       0.14      -7,421         11,426         0.16               -9,097

        4,000         2.53        2,000        0.49      2,000         2,000         0.46          2,000 Accounting Fees                            26,000         0.93    24,000       0.34       2,000         24,000         0.34               2,000

          922         0.58        1,000        0.25        -78           701         0.16               221 Data Processing                         11,033         0.39    12,000       0.17        -967         11,312         0.16                   -279

          207         0.13         300         0.07        -93           588         0.13           -380 Office Supplies                             2,995         0.11     5,200       0.07      -2,205          6,095         0.09               -3,100

            86        0.05          90         0.02         -4             0         0.00                86 Muzak                                    1,182         0.04     1,080       0.02         102              848       0.01                   333

          866         0.55         100         0.02       766             28         0.01               838 Travel & Lodging                         1,224         0.04     3,000       0.04      -1,776          3,278         0.05               -2,054

          300         0.19          50         0.01       250              0         0.00               300 Meals and Entertainment                    315         0.01       700       0.01        -385              686       0.01                   -371

             0        0.00          75         0.02        -75            75         0.02               -75 Telephone                                  113         0.00       900       0.01        -787              600       0.01                   -487

             0        0.00         650         0.16       -650             0         0.00                 0 Licenses and Permits                     4,547         0.16     5,345       0.08        -798          4,098         0.06                   449

          168         0.11         155         0.04         13           323         0.07           -154 Postage                                     1,364         0.05     1,860       0.03        -496          2,344         0.03                   -980

             0        0.00         100         0.02       -100             0         0.00                 0 Recruitment                              1,172         0.04     1,200       0.02         -28          1,427         0.02                   -255

             0        0.00         120         0.03       -120           170         0.04           -170 Employment Screening/ Drug Testing          1,293         0.05     1,440       0.02        -147          2,098         0.03                   -805

             0        0.00             0       0.00          0             0         0.00                 0 Training                                   765         0.03     1,700       0.02        -935               60       0.00                   705

             0        0.00             0       0.00          0             0         0.00                 0 Loss & Damage                              106         0.00         0       0.00         106              139       0.00                    -33

          150         0.09         150         0.04          0           150         0.03                 0 Dues/Subscriptions                       4,220         0.15     3,075       0.04       1,145          4,014         0.06                   206

        3,810         2.41       12,404        3.05     -8,594        14,406         3.28        -10,596 Credit Card Commissions                    58,724         2.09   213,633       3.05    -154,909        222,880         3.14           -164,156

            37        0.02             0       0.00         37           642         0.15           -604 Cash Over/Short                             5,126         0.18         0       0.00       5,126         -1,870        -0.03               6,996

          225         0.14         300         0.07        -75           292         0.07               -67 Equipment Rental                         3,233         0.12     3,600       0.05        -367          3,655         0.05                   -422

          565         0.36         850         0.21       -285         1,080         0.25           -515 Payroll Services                            7,754         0.28    10,350       0.15      -2,596         10,146         0.14               -2,392

        1,143         0.72        1,535        0.38       -392         1,470         0.33           -327 Bank Charges                               14,603         0.52    18,420       0.26      -3,817         18,173         0.26               -3,569

          356         0.23             0       0.00       356          1,696         0.39         -1,340 Chargebacks                                 6,241         0.22         0       0.00       6,241          6,741         0.09                   -500

             0        0.00             0       0.00          0             0         0.00                 0 Sales Tax Variance                           0         0.00         0       0.00             0         -193         0.00                   193

        3,342         2.12        2,908        0.72       434          4,885         1.11         -1,543 Workers Comp Insurance                     27,091         0.96    38,262       0.55     -11,171         38,997         0.55            -11,907



      16,657         10.55      25,587         6.29     -8,930        32,455         7.39        -15,797 Total Operating- A&G                     181,429          6.46   355,515      5.08     -174,086       370,954         5.22           -189,525



      30,400         19.25      42,283        10.40    -11,884        48,130        10.96        -17,730 Total Expenses- A&G                      380,276         13.54   561,106      8.01     -180,830       569,486         8.01           -189,209

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                                                                 Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
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                                                      Bud Var                                       Var                                                                   Budget               Bud Var         Year                          Var
                                                                                                            SALES DEPARTMENT
                                                                                                            SALES

                                                                                                            P/R & R/B

        5,507         3.49       8,892         2.19     -3,385         5,026         1.14               481 Director of Sales                       69,893         2.49   103,972       1.49     -34,079         92,660         1.30            -22,767

             0        0.00       5,606         1.38     -5,606         4,398         1.00         -4,398 Sales Manager                              13,791         0.49    65,708       0.94     -51,917         57,413         0.81            -43,622

          695         0.44       1,736         0.43     -1,041         1,442         0.33           -747 Revenue Management                         10,607         0.38    20,832       0.30     -10,225         18,561         0.26               -7,954

             0        0.00         172         0.04       -172             0         0.00                 0 E Commerce Management                      516         0.02     2,066       0.03      -1,549                0       0.00                   516

             0        0.00       6,177         1.52     -6,177         4,500         1.03         -4,500 Sales Coordinator                          15,518         0.55    72,404       1.03     -56,886         62,457         0.88            -46,938

          578         0.37       1,626         0.40     -1,048         1,560         0.36           -982 Payroll Taxes                               9,203         0.33    19,943       0.28     -10,740         19,193         0.27               -9,991

        1,134         0.72       2,450         0.60     -1,316         1,933         0.44           -799 Employee Benefits                          16,413         0.58    29,400       0.42     -12,987         25,534         0.36               -9,121

         -115         -0.07            0       0.00       -115         3,382         0.77         -3,496 Vacation / PTO                             17,373         0.62         0       0.00      17,373         15,441         0.22               1,932

          600         0.38             0       0.00       600          1,818         0.41         -1,218 Holiday                                     2,949         0.11         0       0.00       2,949          6,320         0.09               -3,371

          258         0.16             0       0.00       258            156         0.04               101 Bonus/Incentive Pay                      6,379         0.23    12,000       0.17      -5,621         13,871         0.20               -7,492



       8,657          5.48      26,659        6.56     -18,002        24,216         5.52        -15,559 Total P/R & R/B- Sales                   162,642         5.79    326,324      4.66     -163,682       311,450         4.38           -148,808


                                                                                                            Operating Expenses- Sales

             0        0.00          50         0.01        -50             0         0.00                 0 Printing & Stationary                        0         0.00       600       0.01        -600              408       0.01                   -408

            45        0.03         189         0.05       -144           482         0.11           -437 Office Supplies                             1,075         0.04     3,068       0.04      -1,993          3,832         0.05               -2,757

             0        0.00          75         0.02        -75           126         0.03           -126 Travel & Lodging                               89         0.00     1,900       0.03      -1,811          2,198         0.03               -2,109

             0        0.00         100         0.02       -100             0         0.00                 0 Meals & Entertainment                      275         0.01     1,200       0.02        -925          1,198         0.02                   -923

          111         0.07       1,500         0.37     -1,389           787         0.18           -676 Promotions                                  1,758         0.06    14,500       0.21     -12,742         12,271         0.17            -10,513

             0        0.00         150         0.04       -150           150         0.03           -150 Telephone                                     300         0.01     1,800       0.03      -1,500          1,600         0.02               -1,300

             0        0.00             0       0.00          0             0         0.00                 0 Postage                                      0         0.00         0       0.00             0              9       0.00                     -9

             0        0.00             0       0.00          0           175         0.04           -175 Sales Training                                 37         0.00       750       0.01        -713          1,240         0.02               -1,203

          132         0.08             0       0.00       132              0         0.00               132 Dues & Subscriptions                     9,951         0.35    10,349       0.15        -398          9,445         0.13                   507

             0        0.00             0       0.00          0             0         0.00                 0 Trade Show                                   0         0.00     1,000       0.01      -1,000               21       0.00                    -21

             0        0.00             0       0.00          0             0         0.00                 0 Outdoor Advertising                      2,400         0.09     2,400       0.03             0        4,237         0.06               -1,837

             0        0.00             0       0.00          0           200         0.05           -200 e Commerce Costs                              250         0.01         0       0.00         250          3,386         0.05               -3,136

          542         0.34       1,000         0.25       -458           575         0.13               -33 Brand Paid Search                        7,260         0.26    12,600       0.18      -5,340         12,072         0.17               -4,812

             0        0.00         150         0.04       -150             0         0.00                 0 Internet Advertising                         0         0.00     1,800       0.03      -1,800                0       0.00                     0

             0        0.00             0       0.00          0             0         0.00                 0 Program Costs                                0         0.00       725       0.01        -725                0       0.00                     0

             0        0.00             0       0.00          0             0         0.00                 0 Collateral                                  83         0.00       300       0.00        -217                0       0.00                    83



         830          0.53       3,214        0.79      -2,384         2,495         0.57         -1,665 Total Operating- Sales                    23,480         0.84     52,992      0.76      -29,512        51,915         0.73             -28,435



       9,487          6.01      29,873        7.35     -20,386        26,711         6.08        -17,224 Total Expenses-Sales                     186,122         6.63    379,316      5.42     -193,194       363,365         5.11           -177,243

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                                                          Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 284 of 541
                                                                 Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                                 For Property: HGI Atlanta Alpharetta
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                         Description           YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                       Var                                                                      Budget               Bud Var         Year                          Var
                                                                                                            MAINTENANCE DEPARTMENT
                                                                                                            REPAIRS & MAINTENANCE
                                                                                                            P/R & Related Expenses- Maintenance

        4,189         2.14       4,374         1.81       -185         3,409         1.27               781 Chief Engineer                            45,487          1.77    51,515       1.27      -6,028         44,151         1.10               1,336

        2,400         1.23       6,645         2.75     -4,245         4,434         1.65         -2,034 General Maintenance                          32,414          1.26    78,455       1.94     -46,041         62,722         1.57            -30,308

          629         0.32         815         0.34       -186           900         0.33           -271 Payroll Taxes                                 7,408          0.29     9,618       0.24      -2,210          9,451         0.24               -2,043

            -4        0.00         189         0.08       -193           112         0.04           -116 Employee Benefits                             1,394          0.05     2,268       0.06        -874          1,892         0.05                   -498

          892         0.46             0       0.00       892            861         0.32                31 Holiday                                    3,028          0.12         0       0.00       3,028          2,669         0.07                   360

         -141         -0.07            0       0.00       -141           374         0.14           -516 Vacation /PTO                                14,182          0.55         0       0.00      14,182              624       0.02             13,558

             0        0.00             0       0.00          0         2,240         0.83         -2,240 Contract Labor                                3,444          0.13         0       0.00       3,444         13,230         0.33               -9,787



       7,965          4.07      12,023        4.98      -4,058        12,330         4.59         -4,364 Total P/R & Related Expenses- Maintenance   107,356         4.19    141,856      3.50      -34,500       134,739         3.37             -27,383


                                                                                                            Operating Expenses- R & M

            15        0.01         150         0.06       -135           118         0.04           -103 Auto Expense                                      579        0.02     2,700       0.07      -2,121          2,787         0.07               -2,208

          586         0.30         169         0.07       417              0         0.00               586 Laundry Equipment                          2,982          0.12     2,836       0.07        146           9,023         0.23               -6,042

            61        0.03         425         0.18       -364            51         0.02                10 Building Maintenance                       1,145          0.04     5,100       0.13      -3,955          5,031         0.13               -3,886

          208         0.11         200         0.08          8            72         0.03               136 Light Bulbs                                1,683          0.07     3,445       0.09      -1,762          3,973         0.10               -2,290

             0        0.00         200         0.08       -200            50         0.02               -50 Electrical & Mechanical                        461        0.02     3,080       0.08      -2,619          3,249         0.08               -2,788

            44        0.02         300         0.12       -256            58         0.02               -14 HVAC                                       1,865          0.07     5,750       0.14      -3,885          5,700         0.14               -3,835

            85        0.04         500         0.21       -415           692         0.26           -608 Plumbing & Boiler                             5,255          0.20     5,500       0.14        -245          6,382         0.16               -1,127

             0        0.00         125         0.05       -125          -138         -0.05              138 Pool                                       1,837          0.07     1,500       0.04        337           1,611         0.04                   226

          576         0.29       1,765         0.73     -1,189         1,390         0.52           -814 Grounds & Landscaping                        10,352          0.40    21,180       0.52     -10,828         23,026         0.58            -12,674

             0        0.00         641         0.27       -641           865         0.32           -865 Interior Plants                               1,966          0.08     7,692       0.19      -5,726          7,856         0.20               -5,889

             0        0.00             0       0.00          0             0         0.00                 0 Signage                                          0        0.00         0       0.00             0            127       0.00                -127

             0        0.00         250         0.10       -250           169         0.06           -169 Furniture & Fixtures                              839        0.03     4,800       0.12      -3,961          5,411         0.14               -4,572

            24        0.01         260         0.11       -236           104         0.04               -80 Painting                                       879        0.03     2,750       0.07      -1,871          2,487         0.06               -1,608

        1,012         0.52             0       0.00      1,012            64         0.02               949 Carpet & Floor                             6,365          0.25     6,500       0.16        -135          9,826         0.25               -3,461

             0        0.00         100         0.04       -100             0         0.00                 0 Kitchen Equipment                                0        0.00     3,200       0.08      -3,200          4,278         0.11               -4,278

             0        0.00         100         0.04       -100           307         0.11           -307 Locks & Keys                                  3,486          0.14     2,750       0.07        736           4,322         0.11                   -837

             0        0.00             0       0.00          0             0         0.00                 0 Radio & TV                                     -220      -0.01         0       0.00        -220          1,305         0.03               -1,525

          269         0.14         340         0.14        -71           335         0.12               -66 Exterminating                              3,179          0.12     4,080       0.10        -901          4,324         0.11               -1,145

             0        0.00             0       0.00          0             0         0.00                 0 Maintenance Contracts                      2,090          0.08         0       0.00       2,090                0       0.00               2,090

             0        0.00             0       0.00          0             0         0.00                 0 Equipment Rental                                 0        0.00         0       0.00             0            162       0.00                -162

             0        0.00             0       0.00          0             0         0.00                 0 Uniforms- R & M                                383        0.01         0       0.00        383                 0       0.00                   383

             0        0.00         300         0.12       -300         2,216         0.82         -2,216 Fire & Safety                                 5,835          0.23     9,200       0.23      -3,365         13,939         0.35               -8,104

          417         0.21         395         0.16        22            940         0.35           -523 Elevator                                      6,859          0.27     4,740       0.12       2,119          6,794         0.17                    65



       3,297          1.68       6,220        2.58      -2,923         7,293         2.71         -3,997 Total Operating - R & M                      57,820         2.25     96,803      2.39      -38,983       121,613         3.04             -63,793



      11,262          5.75      18,243        7.56      -6,982        19,623         7.30         -8,361 Total Expenses- R & M                       165,176         6.44    238,659      5.89      -73,483       256,352         6.41             -91,176

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                                                        Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 285 of 541
                                                               Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                               For Property: HGI Atlanta Alpharetta
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget      % / POR    Act vs     Last Year      % / POR      Act vs LY                    Description            YTD           % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                    Bud Var                                       Var                                                                   Budget               Bud Var       Year                        Var
                                                                                                           UTILITIES DEPARTMENT
                                                                                                           UTILITIES EXPENSE

       12,432         6.35      12,900       5.35      -468         12,032         4.48               401 Electricity                            147,693         5.76   162,694       4.02     -15,001      162,043       4.05            -14,350

        1,838         0.94       2,238       0.93      -400          1,890         0.70               -52 Gas                                     14,987         0.58    20,470       0.51      -5,483       21,088       0.53               -6,101

        4,324         2.21       3,315       1.37      1,009         4,730         1.76           -406 Water & Sewer                              39,464         1.54    59,303       1.46     -19,839       60,223       1.51            -20,759

          617         0.32        675        0.28        -58           905         0.34           -288 Waste Removal                               7,655         0.30     8,100       0.20        -445        8,171       0.20                   -516



      19,211          9.81     19,128       7.93         83         19,557         7.28           -345 Total Expenses- Utilities                209,798         8.18    250,567      6.18      -40,769     251,524       6.29             -41,725

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                                                                Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                                For Property: HGI Atlanta Alpharetta
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                       Description         YTD           % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                   Budget               Bud Var       Year                          Var
                                                                                                           FRANCHISE DEPARTMENT
                                                                                                           FRANCHISE FEES

        7,715         5.76      18,248        5.56    -10,533        19,125         5.54        -11,410 Franchise Fees/ Royalties                 137,252         5.58   333,223       5.55    -195,971      336,236         5.56           -198,984

        6,089         4.55      14,432        4.40     -8,343        14,952         4.33         -8,863 Advertising                               107,364         4.36   263,549       4.39    -156,185      262,742         4.34           -155,378

        6,471         4.83       9,700        2.95     -3,229         9,398         2.72         -2,926 Frequent Traveler                          57,118         2.32   162,878       2.71    -105,761      162,239         2.68           -105,121

            0         0.00            0       0.00          0             0         0.00                 0 Brand Guest Fees                           220         0.01         0       0.00         220            973       0.02                   -753

          180         0.13            0       0.00       180              0         0.00               180 Other Franchise Cost                       408         0.02         0       0.00         408        1,730         0.03               -1,322



      20,455         15.27     42,380        12.91    -21,925        43,475        12.60        -23,020 Total Franchise Fees Expense             302,362         12.29   759,650      12.66    -457,288     763,921         12.62          -461,559

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                                                                Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                                For Property: HGI Atlanta Alpharetta
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                  Description              YTD           % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                   Budget               Bud Var       Year                          Var
                                                                                                         MANAGEMENT FEES
        3,947         2.50      10,167        2.50     -6,220        10,976         2.50         -7,029 Management Fees                            70,210         2.50   175,109       2.50    -104,899      177,690         2.50           -107,480

       11,012         6.97            0       0.00     11,012             0         0.00         11,012 Management Fees- Owner                     26,254         0.93         0       0.00      26,254              0       0.00             26,254



      14,959          9.47     10,167        2.50      4,792         10,976         2.50          3,983 Total Management Fees Expense             96,464         3.43    175,109      2.50      -78,645     177,690         2.50             -81,226



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                                                               Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                               For Property: HGI Atlanta Alpharetta
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget      % / POR    Act vs     Last Year      % / POR      Act vs LY                     Description           YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                    Bud Var                                       Var                                                                    Budget                Bud Var         Year                          Var
                                                                                                        FIXED EXPENSES
       59,211        37.50      59,211      14.57         0         56,084         12.77         3,127 Ground Lease                              705,783        25.13     704,198      10.06       1,585        685,351         9.64             20,432

       27,079        17.15      25,024       6.16      2,055      -315,991        -71.97       343,070 FF & E Reserve                            324,947        11.57     300,288       4.29      24,659                0       0.00            324,947

        1,911         1.21        933        0.23       978              0          0.00         1,911 Van Lease                                   8,549         0.30      11,196       0.16      -2,647          5,948         0.08               2,601

       30,601        19.38      30,602       7.53         0         -12,049        -2.74        42,650 Real Estate Tax                           367,218        13.08     367,218       5.25             0      301,320         4.24             65,898

        1,326         0.84       1,326       0.33         0          -6,294        -1.43         7,620 Personal Property Tax                      16,176         0.58      15,910       0.23        266          13,244         0.19               2,932

        7,924         5.02       6,939       1.71       985          8,164          1.86          -240 Insurance                                  86,320         3.07      83,098       1.19       3,222         91,242         1.28               -4,923



     128,053         81.10    124,035       30.51     4,018       -270,086        -61.52      398,139 TOTAL FIXED EXPENSES                    1,508,993         53.73   1,481,908      21.17     27,085       1,097,106        15.44           411,887

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 289 of 541
                                                                Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                                For Property: HGI Atlanta Alpharetta
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                        Description        YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                    Budget                Bud Var         Year                          Var
                                                                                                          TOTAL OTHER
            0         0.00            0       0.00         0            350         0.08           -350 Owners Expense                             12,141         0.43           0       0.00      12,141         13,824         0.19               -1,683

       89,189        56.49            0       0.00     89,189        55,225        12.58         33,964 Depreciation                            1,070,268        38.11           0       0.00    1,070,268      1,036,304       14.58             33,964

        6,954         4.40            0       0.00      6,954         8,628         1.97         -1,674 Amortization Expense                       83,448         2.97           0       0.00      83,448         85,122         1.20               -1,674

       83,500        52.88      83,429       20.52        71         83,431        19.00               69 Interest Expense                      1,000,557        35.63   1,001,144      14.30        -588       1,007,744       14.18               -7,188

       16,819        10.65       4,094        1.01     12,725         4,390         1.00         12,429 Asset Management Fee                       28,086         1.00      70,363       1.01      -42,277        71,077         1.00            -42,991

            0         0.00            0       0.00         0              0         0.00                0 Non Operating Income                        -933       -0.03           0       0.00        -933                0       0.00                -933

            0         0.00            0       0.00         0         -22,992        -5.24        22,992 Extraordinary Expenses                      7,592         0.27           0       0.00       7,592                0       0.00               7,592

            0         0.00            0       0.00         0         23,885         5.44        -23,885 GB 1 YE AJE                                     0         0.00           0       0.00             0       23,885         0.34            -23,885

            0         0.00            0       0.00         0         27,268         6.21        -27,268 GB- 2 R&M/Capex AJE                             0         0.00           0       0.00             0       27,268         0.38            -27,268



     196,462       124.42      87,522        21.53   108,939       180,184         41.04        16,277 Total Other                             2,201,158         78.38   1,071,507      15.31   1,129,651      2,265,223        31.87            -64,065

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                                                               Company: 4025 Windward Plaza Alpharetta dba HGI Alpharetta Property: HGI Atlanta Alpharetta
                                                               For Property: HGI Atlanta Alpharetta
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                    Description            YTD           % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                   Budget              Bud Var         Year                          Var
                                                                                                        House Laundry Dept




            0         0.00            0      0.00          0             0         0.00               0 Total P/R & Benefits- Ldy                     0         0.00         0      0.00              0              0      0.00                    0


                                                                                                        Operating Expenses




            0         0.00            0      0.00          0             0         0.00               0 Total Operating Expenses- Ldy                 0         0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0         0.00               0 Total Laundry Expenses                        0          0.00        0       0.00             0              0       0.00                   0



                                                                                                        Allocation




            0         0.00            0      0.00          0             0         0.00               0 Total Allocation                              0         0.00         0      0.00              0              0      0.00                    0



            0                         0                    0             0                            0 Total Lndry Dept                              0                      0                        0              0                              0



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                                                          Company: 12828 San Pedro San Antonio dba HGI SA Airport Property: HGI San Antonio Airport
                                                          For Property: HGI San Antonio Airport
                                                          00- Master P&L-CAPSTONE
                                                          As of 12/31/2020

Actual      % / POR     Budget      % / POR    Act vs     Last Year      % / POR      Act vs LY                    Description           YTD          % / POR        YTD     % / POR    Act vs        YTD Last      % / POR    Act vs LY
                                               Bud Var                                       Var                                                                  Budget                Bud Var         Year                      Var
                                                                                                    SUMMARY

    3,627                   3,627                     0         3,627                             0 Total Rooms Available                   42,822                  42,822                        0       42,705                          117

    1,509                   2,508                  -999         2,569                      -1,060 Total Rooms Sold                          18,463                  34,474                 -16,011        31,893                    -13,430

 41.60%                  69.15%                -27.54%        70.83%                    -29.23% Occupancy %                                43.12%                 80.51%                  -37.39%        74.68%                    -31.57%

   66.90                   83.19                 -16.29         84.24                     -17.35 Average Rate                                81.27                  93.70                   -12.43         96.46                     -15.19

   27.83                   57.52                 -29.69         59.67                     -31.84 REVPAR                                      35.04                  75.43                   -40.39         72.04                     -37.00




                                                                                                    REVENUES

  100,949       86.74     208,635      85.82   -107,686       216,422         89.43      -115,473 ROOMS                                  1,500,441       87.71   3,230,233      87.56   -1,729,792      3,076,415      88.02      -1,575,974

    7,741        6.65      22,883       9.41    -15,143        16,828          6.95        -9,088 FOOD                                     127,499        7.45     300,017       8.13     -172,518       272,713        7.80       -145,214

    3,166        2.72       5,894       2.42     -2,727         4,938          2.04        -1,771 BEVERAGE                                  42,239        2.47      81,014       2.20      -38,775        77,194        2.21        -34,955

    4,531        3.89       5,688       2.34     -1,156         3,821          1.58          710 MISCELLANEOUS                              40,507        2.37      77,883       2.11      -37,376        68,951        1.97        -28,444



 116,388      100.00     243,100      100.00   -126,712      242,009         100.00     -125,622 TOTAL REVENUES                          1,710,686      100.00   3,689,147     100.00   -1,978,461     3,495,274      100.00     -1,784,588




                                                                                                    DEPARTMENT EXPENSES

   34,814       34.49      59,069      28.31    -24,255        68,179         31.50       -33,365 ROOMS EXPENSE                            460,121       30.67     751,777      23.27     -291,656       733,511       23.84       -273,389

    9,774      126.27      24,666     107.79    -14,892        24,971        148.39       -15,197 FOOD EXPENSE                             157,637      123.64     306,051     102.01     -148,414       293,782      107.73       -136,145

    4,851      153.21       3,390      57.53      1,461         3,160         63.99         1,692 BEVERAGE EXPENSE                          37,695       89.24      44,815      55.32       -7,120        41,080       53.22            -3,385

     294         6.48       1,492      26.24     -1,198         1,825         47.77        -1,531 MISCELLANEOUS EXPENSE                     13,225       32.65      20,512      26.34       -7,287        20,544       29.79            -7,319



  49,733       42.73      88,617       36.45    -38,885        98,135         40.55      -48,402 TOTAL DEPARTMENTAL EXPENSES              668,678        39.09   1,123,155      30.44    -454,477      1,088,917       31.15       -420,238



                                                                                                    DEPARTMENTAL PROFIT

   66,135       65.51     149,567      71.69    -83,431       148,243         68.50       -82,108 ROOMS PROFIT                           1,040,320       69.33   2,478,456      76.73   -1,438,136      2,342,904      76.16      -1,302,585

   -2,033      -26.27      -1,783      -7.79       -250         -8,143       -48.39         6,110 FOOD PROFIT                              -30,138      -23.64      -6,034      -2.01      -24,103        -21,069      -7.73            -9,069

   -1,685      -53.21       2,503      42.47     -4,188         1,778         36.01        -3,463 BEVERAGE PROFIT                            4,544       10.76      36,199      44.68      -31,655        36,114       46.78        -31,570

    4,238       93.52       4,195      73.76         42         1,996         52.23         2,242 MISCELLANEOUS PROFIT                      27,282       67.35      57,371      73.66      -30,089        48,408       70.21        -21,126



  66,655       57.27     154,482       63.55    -87,827      143,874          59.45      -77,220 TOTAL DEPARTMENTAL PROFIT               1,042,008       60.91   2,565,992      69.56   -1,523,984     2,406,357       68.85     -1,364,349



   24,683       21.21      29,341      12.07     -4,658        33,391         13.80        -8,708 A & G EXPENSE                            278,011       16.25     365,643       9.91      -87,632       377,697       10.81        -99,686

    1,932        1.66       1,888       0.78         44         3,030          1.25        -1,099 TELECOM                                   26,670        1.56      22,388       0.61        4,282        25,437        0.73            1,232

    7,331        6.30      10,995       4.52     -3,664         9,315          3.85        -1,984 SALES & MARKETING EXPENSES                93,129        5.44     149,708       4.06      -56,579       123,117        3.52        -29,988

   13,005       11.17      29,909      12.30    -16,904        29,302         12.11       -16,297 FRANCHISE FEES                           195,957       11.45     446,630      12.11     -250,673       416,862       11.93       -220,906

    9,118        7.83      16,977       6.98     -7,859        19,074          7.88        -9,956 MAINTENANCE EXPENSES                     122,103        7.14     206,093       5.59      -83,990       199,236        5.70        -77,133

   12,152       10.44      10,341       4.25      1,811         9,986          4.13         2,166 UTILITIES EXPENSE                        146,832        8.58     168,389       4.56      -21,557       160,800        4.60        -13,968



  68,221       58.62      99,451       40.91    -31,230      104,099          43.01      -35,878 TOTAL ADMIN EXPENSES                     862,701        50.43   1,358,851      36.83    -496,150      1,303,149       37.28       -440,449



   -1,566       -1.35     55,031       22.64    -56,597        39,775         16.44      -41,341 HOUSE PROFIT                             179,307        10.48   1,207,141      32.72   -1,027,833     1,103,208       31.56       -923,901



                                                                                                    FIXED EXPENSES

   13,916       11.96       6,081       2.50      7,835         6,032          2.49         7,884 MANAGEMENT FEES                           69,014        4.03      92,280       2.50      -23,267        87,405        2.50        -18,391

   67,148       57.69      63,033      25.93      4,115        -63,802       -26.36       130,951 FIXED EXPENSES                           788,971       46.12     784,683      21.27        4,288       597,575       17.10        191,396
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     -82,630        -71.00   -14,083    -5.79    -68,547    97,545    40.31    -180,176 NET OPERATING INCOME                    -678,677    -39.67   330,178   8.95   -1,008,855   418,228     11.97         -1,096,905



       80,873        69.49    25,226    10.38     55,648    295,916   122.27   -215,043 Other                                     866,678    50.66   309,823   8.40      556,855   1,220,613    34.92           -353,935



    -163,503       -140.48   -39,309   -16.17   -124,195   -198,370   -81.97    34,867 N.I. after Other                        -1,545,355   -90.34    20,354   0.55   -1,565,709   -802,385    -22.96          -742,970



    -116,785                 -39,309             -77,477   -162,463             45,678 Cash before Depreciation/Amortization    -984,739              20,354          -1,005,093   -252,580                    -732,159

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                                                             For Property: HGI San Antonio Airport
                                                             00- Master P&L-CAPSTONE
                                                             As of 12/31/2020

Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                      Description         YTD          % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                  Bud Var                                       Var                                                                  Budget                Bud Var         Year                       Var
                                                                                                       ROOMS DEPARTMENT
                                                                                                       ROOMS REVENUE

   10,129         10.03      79,202       37.96    -69,073        75,204         34.75       -65,074 Rack/ Premium                            478,422       31.89   1,103,700      34.17     -625,278      1,178,796       38.32       -700,374

    1,046          1.04      18,458        8.85    -17,412        17,224          7.96       -16,178 Corporate                                120,658        8.04     302,466       9.36     -181,808       269,849         8.77       -149,191

   57,092         56.56      48,252       23.13      8,840        54,033         24.97         3,059 Discounts - Other                        509,503       33.96     551,805      17.08      -42,302       863,979        28.08       -354,476

     267           0.26       6,370        3.05     -6,103           473          0.22          -206 Government                                 9,718        0.65     103,437       3.20      -93,719        34,960         1.14        -25,242

    6,109          6.05      19,060        9.14    -12,951        34,132         15.77       -28,023 Locally Negotiated Rate                  152,901       10.19     462,625      14.32     -309,723       375,452        12.20       -222,551

     -141         -0.14            0       0.00       -141         -2,769        -1.28         2,628 Allowances                               -13,122       -0.87           0       0.00      -13,122        -52,378       -1.70         39,256



  74,502         73.80     171,343        82.13    -96,841      178,297          82.38     -103,795 Total Transient Revenue                 1,258,080       83.85   2,524,033      78.14   -1,265,953     2,670,657        86.81     -1,412,578



   25,404         25.17      30,596       14.67     -5,192        26,058         12.04          -654 Crew (Air)                               202,096       13.47     387,051      11.98     -184,955       130,404         4.24         71,692



   25,404         25.17      30,596       14.67     -5,192        26,058         12.04          -654 Total Base Revenues                      202,096       13.47     387,051      11.98     -184,955       130,404         4.24         71,692



     867           0.86       6,696        3.21     -5,829        11,787          5.45       -10,920 Group- Corporate                          37,692        2.51     319,149       9.88     -281,457       260,385         8.46       -222,693



     867          0.86       6,696         3.21     -5,829        11,787          5.45      -10,920 Total Group Revenue                       37,692         2.51    319,149        9.88    -281,457       260,385          8.46       -222,693



     177           0.17            0       0.00        177           280          0.13          -104 Guaranteed No-Show                         2,573        0.17           0       0.00        2,573        14,969         0.49        -12,396



 100,949        100.00     208,635       100.00   -107,686      216,422         100.00     -115,473 Total Rooms Revenue                     1,500,441      100.00   3,230,233     100.00   -1,729,792     3,076,415       100.00     -1,575,974



                                                                                                       ROOM STATISTICS

     122             8         828           33       -706           718            28          -596 Rack/ Premium Rooms                        4,831          26       9,931         29       -5,100        10,412           33            -5,581

         14          1         201            8       -187           190             7          -176 Corporate Rooms                            1,399           8       3,103          9       -1,704         2,723            9            -1,324

     907            60         652           26        255           618            24           289 Discounts - Other Rooms                    6,776          37       6,363         18         413          9,089           28            -2,313

          3          0          50            2        -47             4             0               -1 Government Rooms                           84           0         814          2         -730             281          1             -197

         66          4         201            8       -135           503            20          -437 Locally Negotiated Corporate Rooms         2,004          11       4,634         13       -2,630         4,857           15            -2,853



   1,112            74       1,931          77       -819          2,033           79          -921 Total Transient Stats                     15,094          82      24,844         72        -9,750        27,362          86         -12,268



     366            24         502           20       -136           425            17           -59 Crew (Air) Stats                           2,969          16       6,345         18       -3,376         2,125            7              844



     366            24         502          20       -136            425           17            -59 Total Crew Stats                           2,969         16       6,345         18        -3,376         2,125           7               844



         31          2          75            3        -44           111             4           -80 Group- Corporate Rooms                       400           2       3,285         10       -2,885         2,444            8            -2,044



         31          2          75           3         -44           111            4            -80 Total Group Stats                            400          2       3,285         10        -2,885         2,444           8          -2,044



   1,509           100       2,508         100       -999          2,569          100        -1,060 TOTAL ROOM STATISTICS                     18,463         100      34,474        100      -16,011         31,931         100         -13,468



                                                                                                       Other Room Stats

          5          0             0          0          5             0             0               5 Comp Rooms                                  10           0           0          0            10            38           0               -28

     389            26             0          0        389           577            22          -188 Multiple Occupancy                         4,280          23           0          0        4,280         9,303           29            -5,023

     161            11             0          0        161            48             2           113 Out of Order Rooms                         1,512           8           0          0        1,512             573          2              939

    1,958          130             0          0      1,958         3,312           129        -1,354 # of Guests                               23,831         129           0          0       23,831        44,594          140        -20,763
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                                                            Company: 12828 San Pedro San Antonio dba HGI SA Airport Property: HGI San Antonio Airport
                                                            For Property: HGI San Antonio Airport
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year     % / POR       Act vs LY                        Description       YTD          % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                       Var                                                                Budget              Bud Var         Year                         Var
                                                                                                      ADR



        83.03                 95.70                -12.67        104.74                      -21.71 Rack/Premium ADR                           99.03               111.14                -12.10         113.22                           -14.18

        74.69                 92.00                -17.30         90.65                      -15.96 Corporate ADR                              86.25                97.49                -11.24          99.10                           -12.85

            0                      0                    0             0                             0 Contract - Airline ADR                       0                   0                        0              0                               0

        62.95                 74.00                -11.05         87.43                      -24.49 Discount ADR                               75.19                86.73                -11.53          95.06                           -19.87

         0.00                  0.00                  0.00          0.00                        0.00 Distressed Passengers ADR                    0.00                0.00                  0.00           0.00                              0.00

            0                      0                    0             0                             0 AARP ADR                                     0                   0                        0              0                               0

        89.00                127.00                -38.00        118.25                      -29.25 Government ADR                            115.69               127.00                -11.31         124.41                              -8.72

         0.00                  0.00                  0.00          0.00                        0.00 AAA ADR                                      0.00                0.00                  0.00           0.00                              0.00

        92.56                 95.00                 -2.44         67.86                       24.70 Local Negotiated ADR                       76.30                99.84                -23.54          77.30                              -1.00

         0.00                  0.00                  0.00          0.00                        0.00 Packages ADR                                 0.00                0.00                  0.00           0.00                              0.00

         0.00                  0.00                  0.00          0.00                        0.00 Wholesale/FIT ADR                            0.00                0.00                  0.00           0.00                              0.00

            0                      0                    0             0                             0 Internet ADR                                 0                   0                        0              0                               0

            0                      0                    0             0                             0 Tax Exampt - Transient ADR                   0                   0                        0              0                               0



       67.00                 88.73                 -21.73         87.70                     -20.70 Total Transient ADR                         83.35              101.59                 -18.24         97.60                          -14.25




        69.41                 61.00                  8.41         61.31                        8.10 Crew ADR                                   68.07                61.00                  7.07          61.37                              6.70

            0                      0                    0             0                             0 Contract ADR                                 0                   0                        0              0                               0




         0.00                  0.00                  0.00          0.00                        0.00 Group - SMERF ADR                            0.00                0.00                  0.00           0.00                              0.00

        27.97                 89.00                -61.03        106.19                      -78.22 Group - Corporate ADR                      94.23                97.16                 -2.93         106.54                           -12.31

            0                      0                    0             0                             0 Group - Government ADR                       0                   0                        0              0                               0

            0                      0                    0             0                             0 Group - Tour ADR                             0                   0                        0              0                               0

            0                      0                    0             0                             0 Group- Association ADR                       0                   0                        0              0                               0

            0                      0                    0             0                             0 Group - Tax Exampt ADR                       0                   0                        0              0                               0



       27.97                 89.00                 -61.03        106.19                     -78.22 Total Group ADR                             94.23               97.16                  -2.93        106.54                          -12.31

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                                                                 Company: 12828 San Pedro San Antonio dba HGI SA Airport Property: HGI San Antonio Airport
                                                                 For Property: HGI San Antonio Airport
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                          Description     YTD          % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                       Var                                                                  Budget                Bud Var         Year                          Var
                                                                                                            Payroll & Related Expense

        5,095         3.38        5,613        2.24       -518         7,058         2.75         -1,963 FD/ Guest Service Reps                    54,489        2.95      77,159       2.24      -22,670        90,566         2.84             -36,077

             0        0.00        2,789        1.11     -2,789         1,910         0.74         -1,910 Executive Housekeeper                      6,871        0.37      32,847       0.95      -25,976        29,714         0.93             -22,843

        2,237         1.48        2,098        0.84       139          1,456         0.57            781 Asst Exec Housekeeper/ Inspectress        10,240        0.55      24,766       0.72      -14,526        13,504         0.42               -3,264

        7,598         5.03       10,988        4.38     -3,390        10,916         4.25         -3,318 Housekeepers                              83,223        4.51     151,032       4.38      -67,809       140,914         4.42             -57,691

             0        0.00        2,636        1.05     -2,636         2,805         1.09         -2,805 Housemen                                   7,972        0.43      31,122       0.90      -23,150        29,335         0.92             -21,363

        5,092         3.37        4,171        1.66       921          5,014         1.95                78 Van Drivers                            49,437        2.68      49,247       1.43         190         36,277         1.14             13,161

        1,283         0.85        2,515        1.00     -1,232         2,507         0.98         -1,224 Laundry                                   17,137        0.93      34,572       1.00      -17,435        36,983         1.16             -19,846

        3,400         2.25        2,832        1.13       568          4,113         1.60           -713 Night Audit                               33,635        1.82      33,437       0.97         198         40,230         1.26               -6,595

        2,156         1.43        3,068        1.22       -912         3,459         1.35         -1,303 Payroll Taxes                             22,927        1.24      38,043       1.10      -15,117        36,318         1.14             -13,392

          589         0.39        1,536        0.61       -947         1,576         0.61           -987 Employee Benefits                          9,800        0.53      18,432       0.53       -8,632        17,702         0.56               -7,902

       -4,045         -2.68       1,014        0.40     -5,059         1,700         0.66         -5,744 Vacation /PTO                             22,574        1.22      12,168       0.35       10,406        10,741         0.34             11,834

        1,625         1.08        1,870        0.75       -245         2,857         1.11         -1,231 Holiday                                    5,788        0.31       6,545       0.19         -757         8,004         0.25               -2,216

             0        0.00             0       0.00          0             0         0.00                 0 Bonus/Incentive Pay                         0        0.00           0       0.00             0        3,274         0.10               -3,274



      25,031         16.59      41,130        16.40    -16,099        45,370        17.66       -20,339 Total P/R & R/Benefits- Rooms            324,093        17.55    509,370       14.78    -185,277       493,562         15.48          -169,469

                                                                                                            ROOMS DEPARTMENT
                                                                                                            OPERATING EXPENSE

          120         0.08         125         0.05         -5           146         0.06            -26 Newspapers                                   549        0.03       1,724       0.05       -1,174         1,602         0.05               -1,053

        2,456         1.63        2,006        0.80       449          6,729         2.62         -4,273 Rooms- Promotion                          19,313        1.05      27,579       0.80       -8,266        30,991         0.97             -11,678

         -187         -0.12            0       0.00       -187           643         0.25           -829 Guest Transportation                       1,117        0.06           0       0.00        1,117         5,363         0.17               -4,247

          140         0.09          75         0.03         64             0         0.00            140 Laundry Supplies                           2,013        0.11       1,034       0.03         979              631       0.02                  1,382

             0        0.00        1,379        0.55     -1,379         1,028         0.40         -1,028 Linen Supplies                             7,237        0.39      18,961       0.55      -11,724        15,271         0.48               -8,034

        1,943         1.29        1,954        0.78        -11         1,955         0.76            -12 Cable TV                                  20,881        1.13      23,448       0.68       -2,567        22,040         0.69               -1,159

          411         0.27         435         0.17        -24           435         0.17            -25 HSIA Support                               5,303        0.29       5,220       0.15            83        5,225         0.16                    78

             0        0.00             0       0.00          0         1,324         0.52         -1,324 Printing & Stationary                          0        0.00           0       0.00             0        1,431         0.04               -1,431

         -250         -0.17        903         0.36     -1,153           349         0.14           -599 Reservations Expense                       1,682        0.09      12,411       0.36      -10,728         9,008         0.28               -7,326

        1,255         0.83        2,884        1.15     -1,630         2,887         1.12         -1,633 Guest Room Supplies                       21,754        1.18      39,645       1.15      -17,891        40,756         1.28             -19,002

          999         0.66         677         0.27       322            957         0.37                42 Cleaning Supplies                       7,959        0.43       9,308       0.27       -1,349         8,956         0.28                  -997

          419         0.28         326         0.13         93           435         0.17            -16 Ecolab Core Supplies                       4,850        0.26       4,482       0.13         368          3,949         0.12                   901

        2,426         1.61        6,747        2.69     -4,321         5,766         2.24         -3,340 Travel Agents Commission                  38,481        2.08      92,735       2.69      -54,254        84,393         2.65             -45,911

             0        0.00         426         0.17       -426           155         0.06           -155 Uniforms                                     582        0.03       5,861       0.17       -5,279         5,534         0.17               -4,952

             0        0.00             0       0.00          0             0         0.00                 0 Walk Expense                                0        0.00           0       0.00             0        4,799         0.15               -4,799

            53        0.03             0       0.00         53             0         0.00                53 COVID 19 Supplies                       4,306        0.23           0       0.00        4,306               0       0.00                  4,306



       9,783          6.48      17,939         7.15     -8,155        22,809         8.88       -13,026 Total Operating - Rooms                  136,028         7.37    242,407        7.03    -106,379       239,949          7.52          -103,921



      34,814         23.07      59,069        23.55    -24,255        68,179        26.54       -33,365 Total Expenses- Rooms                    460,121        24.92    751,777       21.81    -291,656       733,511         23.00          -273,389



      66,135         43.83     149,567        59.64    -83,431      148,243         57.70       -82,108 Net Income- Rooms                       1,040,320       56.35   2,478,456      71.89   -1,438,136     2,342,904        73.46        -1,302,585



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                                                                 For Property: HGI San Antonio Airport
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual       % / POR       Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                      Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                           Food & Beverage
                                                                                                           Summary


        6,958        63.79       17,044       59.23    -10,086        14,043         64.52        -7,085 Total Food Sales                          90,365       53.24   230,007      60.36    -139,642        204,517        58.45           -114,152

        3,166        29.03        5,894       20.48     -2,727         4,938         22.69        -1,771 Total Beverage Sales                      42,239       24.88    81,014      21.26     -38,775         77,194        22.06             -34,955

            0         0.00         200         0.70      -200              0          0.00               0 Total Banquet A/V                          530        0.31     3,100       0.81      -2,570          1,574         0.45               -1,044

          783         7.18        5,639       19.60     -4,856         2,785         12.80        -2,002 Total Banquet Misc                        36,604       21.56    66,910      17.56     -30,306         66,622        19.04             -30,018



       10,907       100.00       28,777      100.00    -17,870        21,766        100.00       -10,859 Total F & B Sales                        169,739      100.00   381,031     100.00    -211,292        349,908       100.00           -180,169



        2,794        40.16        6,306       37.00     -3,512         6,356         45.26        -3,562 Food Cost                                 45,843       50.73    85,103      37.00     -39,259         88,130        43.09             -42,287

          799        25.23        1,296       21.98      -497          1,043         21.12          -244 Beverage Costs                            11,382       26.95    17,809      21.98      -6,427         15,950        20.66               -4,567

            0         0.00          64        32.00        -64            19          0.00           -19 Banquet A/V Costs                            121       22.85      992       32.00       -871               634      40.25                  -512



        3,593        32.94        7,666       26.64     -4,073         7,418         34.08        -3,825 Total F & B Costs                         57,347       33.79   103,904      27.27     -46,557        104,713        29.93             -47,367



        7,882       113.28       15,715       92.20     -7,833        14,846        105.72        -6,965 Food Wages                                90,249       99.87   186,277      80.99     -96,028        169,552        82.90             -79,303

        1,368        43.19        1,753       29.74      -385          1,461         29.58           -93 Beverage Wages                            14,060       33.29    20,699      25.55      -6,639         18,059        23.39               -3,999

        9,249        91.36       17,468       76.15     -8,219        16,307         85.91        -7,058 Total F & B Wages                        104,309       78.66   206,976      66.55    -102,667        187,611        66.60             -83,302



       -1,000         -9.87       2,020        8.81     -3,020         3,532         18.61        -4,531 F & B- P T & E B                          17,541       13.23    23,964       7.70      -6,422         27,340         9.71               -9,799




        8,250        75.64       19,488       67.72    -11,238        19,839         91.15       -11,589 TTL P/R and Benefits                     121,851       71.79   230,940      60.61    -109,089        214,951        61.43             -93,101




          441         6.34         902         5.29      -461            789          5.62          -347 Food Operating Expenses                    6,815        7.54    13,752       5.98      -6,937         12,356         6.04               -5,541

        2,341        73.92             0       0.00      2,341             0          0.00         2,341 Beverage Operating Expenses                9,207       21.80     2,270       2.80       6,937          2,316         3.00                  6,890



        2,782        25.51         902         3.14      1,880           789          3.62         1,993 Total F & B Operating Expenses            16,022        9.44    16,022       4.20             0       14,673         4.19                  1,350



       -3,718       -34.09         720         2.50     -4,438         -6,279       -28.85         2,561 Net F & B Income                         -25,481      -15.01    30,165       7.92     -55,646         15,570         4.45             -41,051




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                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                       Description        YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                           Food Department




            0         0.00            0       0.00         0              0          0.00                0 Total Restaurant                            0        0.00        0        0.00             0              0       0.00                    0




            0         0.00            0       0.00         0              0          0.00                0 Total Bar Food                              0        0.00        0        0.00             0              0       0.00                    0




            0         0.00            0       0.00         0              0          0.00                0 Total Bistro                                0        0.00        0        0.00             0              0       0.00                    0



        4,029        52.05      8,653        37.81     -4,624         8,381         49.80        -4,352 Garden Grill Breakfast                    47,787       37.48   118,935      39.64     -71,148        104,648        38.37             -56,861

        2,749        35.52      5,141        22.47     -2,392         5,558         33.03        -2,808 Garden Grill Dinner                       34,030       26.69    70,672      23.56     -36,642         70,661        25.91             -36,632



       6,778         87.57     13,794        60.28     -7,016        13,938         82.83       -7,160 Total Garden Grill                        81,817        64.17   189,607      63.20    -107,790       175,309         64.28            -93,493




            0         0.00            0       0.00         0              0          0.00                0 Total Other Food Revenue                    0        0.00        0        0.00             0              0       0.00                    0




            0         0.00            0       0.00         0              0          0.00                0 Total Room Service                          0        0.00        0        0.00             0              0       0.00                    0



          179         2.32      3,000        13.11     -2,821           105          0.62               74 Banquet Lunch                           8,049        6.31    37,400      12.47     -29,351         27,937        10.24             -19,888

            0         0.00        250         1.09       -250             0          0.00                0 Banquet Breaks                            500        0.39     3,000       1.00      -2,500          1,271         0.47                  -771



         179          2.32      3,250        14.20     -3,071           105          0.62           74 Total Banquets                              8,549        6.70    40,400      13.47     -31,851        29,208         10.71            -20,659




            0         0.00            0       0.00         0              0          0.00                0 Total Catering                              0        0.00        0        0.00             0              0       0.00                    0



       6,958         89.89     17,044        74.48    -10,086        14,043         83.45       -7,085 Net Food Revenue                          90,365        70.88   230,007      76.66    -139,642       204,517         74.99          -114,152




          600         7.75      4,000        17.48     -3,400         2,200         13.07        -1,600 Banquet Room Rental                       27,299       21.41    47,000      15.67     -19,701         39,668        14.55             -12,368

            0         0.00        200         0.87       -200             0          0.00                0 Banquet A/V                               530        0.42     3,100       1.03      -2,570          1,574         0.58               -1,044

            0         0.00            0       0.00          0             0          0.00                0 Banquet Miscellaneous                     700        0.55         0       0.00         700                0       0.00                  700

          183         2.36      1,639         7.16     -1,456           585          3.48          -402 F & B Service Charges                      8,605        6.75    19,910       6.64     -11,305         26,954         9.88             -18,350



         783         10.11      5,839        25.52     -5,056         2,785         16.55       -2,002 Total Banquets Other                      37,134        29.12    70,010      23.34     -32,876        68,196         25.01            -31,062



       7,741       100.00      22,883       100.00    -15,143        16,828        100.00       -9,088 Total Food Revenues                      127,499       100.00   300,017     100.00    -172,518       272,713        100.00          -145,214

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                                                                For Property: HGI San Antonio Airport
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                         Description      YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                          Cost of Goods Sold

        2,794        40.16      6,306        37.00     -3,512         6,356         45.26        -3,562 Cost of Sales - Food                      45,843       50.73    85,103      37.00     -39,259         88,130        43.09             -42,287

            0         0.00         64         0.32        -64            19          0.00           -19 Cost of Sales- Banquet A/V                   121        0.23       992       0.32        -871              634       0.40                  -512

       2,794         40.16      6,370        37.38     -3,576         6,375         45.39       -3,581 Total Cost of Good Sold                   45,964        50.87    86,095      37.43     -40,130        88,764         43.40            -42,799


                                                                                                          Food Payroll

            0         0.00      3,409        14.90     -3,409         2,821         16.76        -2,821 Restaurant Supervisor                     10,792        8.46    40,248      13.42     -29,456         37,348        13.70             -26,557

        2,079        26.86      4,214        18.42     -2,135         3,784         22.48        -1,705 Servers                                   22,333       17.52    49,752      16.58     -27,419         45,241        16.59             -22,908

        5,067        65.46      5,538        24.20       -471         5,848         34.75          -781 Cooks                                     48,038       37.68    65,387      21.79     -17,349         68,538        25.13             -20,500

          424         5.48      1,639         7.16     -1,215         1,783         10.60        -1,360 F & B Service Charge- Payout               4,136        3.24    19,910       6.64     -15,774          8,163         2.99               -4,027

          704         9.10      1,388         6.07       -684         1,279          7.60          -575 Payroll Taxes                              8,211        6.44    16,447       5.48      -8,237         15,226         5.58               -7,015

          312         4.02        915         4.00       -604           610          3.63          -299 Employee Benefits                          4,951        3.88    10,980       3.66      -6,029         10,262         3.76               -5,311

       -2,766       -35.73        290         1.27     -3,056           482          2.86        -3,248 Vacation /PTO                              4,228        3.32     3,480       1.16         748          4,474         1.64                  -246

          718         9.27            0       0.00       718          1,200          7.13          -482 Holiday                                    2,170        1.70         0       0.00       2,170          3,411         1.25               -1,241

       6,538         84.46     17,393        76.01    -10,855        17,807        105.82      -11,269 Total Food Wages                         104,857        82.24   206,204      68.73    -101,347       192,663         70.65            -87,805


                                                                                                          Operating Expenses

            0         0.00         50         0.22        -50             0          0.00               0 China                                       84        0.07       600       0.20        -516              565       0.21                  -481

            0         0.00         50         0.22        -50             0          0.00               0 Glass                                      732        0.57       600       0.20         132               46       0.02                  686

            0         0.00         50         0.22        -50           140          0.83          -140 Silverware                                     0        0.00       600       0.20        -600              531       0.19                  -531

            0         0.00            0       0.00          0             0          0.00               0 Linens                                      17        0.01         0       0.00            17              0       0.00                   17

            0         0.00         50         0.22        -50            68          0.40           -68 Supplies- Other                              292        0.23       689       0.23        -397              203       0.07                   89

            0         0.00        100         0.44       -100             0          0.00               0 Cleaning Supplies                           35        0.03     1,379       0.46      -1,344          1,146         0.42               -1,111

            0         0.00        100         0.44       -100            40          0.24           -40 Dishwasher Supplies                          417        0.33     1,379       0.46        -962          1,335         0.49                  -918

          441         5.70        451         1.97        -10           440          2.61               2 Supplies- Paper                          3,681        2.89     6,205       2.07      -2,524          5,895         2.16               -2,214

            0         0.00            0       0.00          0             0          0.00               0 Menus                                      862        0.68     1,000       0.33        -138              667       0.24                  195

            0         0.00         50         0.22        -50           102          0.61          -102 Kitchen & Utensils Supplies                  696        0.55       689       0.23             7        1,032         0.38                  -336

            0         0.00            0       0.00          0             0          0.00               0 Promotions                                   0        0.00         0       0.00             0            834       0.31                  -834

            0         0.00            0       0.00          0             0          0.00               0 Licenses & Permits                           0        0.00       610       0.20        -610              103       0.04                  -103



         441          5.70       902          3.94      -461            789          4.69         -347 Total Operating Expense- Food               6,815        5.35    13,752       4.58      -6,937        12,356          4.53             -5,541



       9,774       126.27      24,666       107.79    -14,892        24,971        148.39      -15,197 Total Food Costs                         157,637       123.64   306,051     102.01    -148,414       293,782        107.73          -136,145



       -2,033       -26.27     -1,783        -7.79      -250         -8,143        -48.39        6,110 N.I.- Food Department                     -30,138      -23.64    -6,034      -2.01     -24,103        -21,069        -7.73             -9,069

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                                                                For Property: HGI San Antonio Airport
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                       Description        YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                          Beverage Department


            0         0.00            0       0.00          0             0          0.00               0 Restaurant Beer                              0        0.00        0        0.00             0        1,970         2.55               -1,970



            0         0.00            0       0.00         0              0          0.00               0 Total Restaurant Beverage                    0        0.00        0        0.00             0       1,970          2.55             -1,970



        1,042        32.91      1,680        28.51       -638         1,507         30.52          -465 Garden Grill Beer                         12,298       29.11    23,098      28.51     -10,800         22,490        29.13             -10,192

          224         7.07      1,078        18.30       -855           936         18.95          -712 Garden Grill Wine                          6,751       15.98    14,824      18.30      -8,072         14,313        18.54               -7,561

        1,901        60.02      3,135        53.19     -1,234         2,495         50.53          -594 Garden Grill Liquor                       23,190       54.90    43,093      53.19     -19,903         38,421        49.77             -15,231

       3,166       100.00       5,894       100.00     -2,727         4,938        100.00       -1,771 Total Garden Grill Beverage               42,239       100.00   81,014      100.00     -38,775        75,224         97.45            -32,984




            0         0.00            0       0.00         0              0          0.00               0 Total Room Service Bev                       0        0.00        0        0.00             0              0       0.00                   0




            0         0.00            0       0.00         0              0          0.00               0 Total Bar Beverage                           0        0.00        0        0.00             0              0       0.00                   0




            0         0.00            0       0.00         0              0          0.00               0 Total Banquet Beverage                       0        0.00        0        0.00             0              0       0.00                   0




            0         0.00            0       0.00         0              0          0.00               0 Total Catering Beverage                      0        0.00        0        0.00             0              0       0.00                   0



       3,166       100.00       5,894       100.00     -2,727         4,938        100.00       -1,771 Total Beverage Revenue                    42,239       100.00   81,014      100.00     -38,775        77,194        100.00            -34,955

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                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                      Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                           Cost of Goods Sold

          328        10.35        502         8.51       -174           412         8.35            -85 Cost of Sales - Liquor                     5,020       11.88     6,895       8.51      -1,875          6,255         8.10               -1,235

          430        13.57        471         7.98        -41           366         7.41                64 Cost of Sales - Beer                    3,869        9.16     6,467       7.98      -2,598          5,780         7.49               -1,910

            41        1.30        324         5.49       -282           265         5.36           -223 Cost of Sales - Wine                       2,493        5.90     4,447       5.49      -1,954          3,915         5.07               -1,422



          799        25.23      1,296        21.98       -497         1,043        21.12           -244 Total COGS- Beverage                      11,382       26.95    17,809      21.98      -6,427         15,950        20.66               -4,567


                                                                                                           Beverage Payroll

        1,368        43.19      1,753        29.74       -385         1,461        29.58            -93 Bartender                                 14,060       33.29    20,699      25.55      -6,639         18,059        23.39               -3,999

          200         6.32        342         5.80       -142           243         4.93            -43 Payroll Taxes                              2,324        5.50     4,036       4.98      -1,712          3,638         4.71               -1,314

             0        0.00            0       0.00          0            85         1.72            -85 Employee Benefits                            113        0.27        0        0.00        113               525       0.68                  -412

             0        0.00            0       0.00          0           132         2.67           -132 Vacation /PTO                                335        0.79        0        0.00        335               132       0.17                   203

          144         4.55            0       0.00       144            196         3.96            -52 Holiday                                      274        0.65        0        0.00        274               460       0.60                  -186

       1,712         54.06      2,095        35.54      -383          2,117        42.87          -405 Total Beverage Payroll                    17,106        40.50   24,735       30.53      -7,629        22,814         29.55             -5,708


                                                                                                           Operating Expenses- Beverage

        2,341        73.92            0       0.00      2,341             0         0.00          2,341 Licenses & Permits                         9,174       21.72     2,270       2.80       6,904          2,270         2.94                  6,904

             0        0.00            0       0.00          0             0         0.00                 0 Glassware                                   0        0.00        0        0.00             0             46       0.00                    -46

             0        0.00            0       0.00          0             0         0.00                 0 Uniforms                                   33        0.00        0        0.00            33              0       0.00                    33



       2,341         73.92            0       0.00     2,341              0         0.00         2,341 Total Operating- Beverage                   9,207       21.80    2,270        2.80      6,937          2,316          3.00               6,890



       4,851       153.21       3,390        57.53     1,461          3,160        63.99         1,692 Total Beverage Costs                      37,695        89.24   44,815       55.32      -7,120        41,080         53.22             -3,385



       -1,685       -53.21      2,503        42.47     -4,188         1,778        36.01        -3,463 Net Income- Beverage                        4,544       10.76   36,199       44.68     -31,655        36,114         46.78            -31,570

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                                                               For Property: HGI San Antonio Airport
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR       Act vs LY                  Description             YTD          % / POR      YTD    % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                 Budget              Bud Var       Year                        Var
                                                                                                        FOOD STATS



          460         1.00            0       0.00       460         1,309         1.00           -849 Restaurant Dinner Covers                   7,020        1.00        0       0.00       7,020       17,073       1.00            -10,053



         460          1.00            0      0.00        460         1,309         1.00          -849 Total Food Covers                           7,020       1.00         0      0.00       7,020       17,073       1.00             -10,053

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                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR     Act vs    Last Year     % / POR       Act vs LY                      Description         YTD          % / POR       YTD     % / POR     Act vs      YTD Last       % / POR       Act vs LY
                                                       Bud Var                                      Var                                                                  Budget                Bud Var       Year                           Var
                                                                                                            TELECOM
                                                                                                            TELEPHONE REVENUES

            68         0.00         50          0.00        18           -15         0.00                83 Long Distance                             309        0.00       689        0.00         -381            372       0.00                     -64

            30         0.00        100          0.00       -71            79         0.00            -50 Internet Access Fees                         895         0.00     1,379        0.00        -484        1,273          0.00                   -378



            98        0.00        150          0.00        -52            64         0.00            34 Total Phone Revenues                        1,204        0.00     2,068        0.00        -865        1,646          0.00                -442



                                                                                                            COS- Communication

          777          0.67        640          0.26       137           735         0.30                42 COS-Local                               9,004         0.53     7,680        0.21       1,324        8,326          0.24                   678

             0         0.00         20        39.87        -20             0         0.00                 0 COS-Long Distance                          94       30.43       240       34.81         -146         -246        -65.93                   339

        1,153      3,880.64      1,278      1,273.92      -125         1,279     1,615.21           -127 COS-HSIA ISP                              16,045     1,792.99    15,336    1,112.14        709        16,683      1,310.22                   -637



       1,930          0.00       1,938         0.00         -8         2,014         0.00           -85 Total COS- Comm                           25,143         0.00    23,256        0.00       1,887       24,763          0.00                    380



       -1,832         0.00      -1,788         0.00        -44        -1,950         0.00           118 Gross Margin- Comm                        -23,940        0.00    -21,188       0.00       -2,752      -23,117         0.00                -823




                                                                                                            Operating Expenses

          100          0.00        100          0.00         0           -40         0.00           140 Equipment Cost                              2,230        0.00      1,200       0.00        1,030        1,200         0.00                1,030

             0         0.00            0        0.00         0         1,120         0.00         -1,120 Equipment Maintenance                        500        0.00          0       0.00         500         1,120         0.00                    -620



         100          0.00        100          0.00          0         1,080         0.00          -980 Total Operating - Comm                      2,730        0.00     1,200        0.00       1,530        2,320          0.00                    410



       1,932          0.00       1,888         0.00         44         3,030         0.00        -1,099 N.I.- Comm Dept                           26,670         0.00    22,388        0.00       4,282       25,437          0.00                1,232



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                                                                Company: 12828 San Pedro San Antonio dba HGI SA Airport Property: HGI San Antonio Airport
                                                                For Property: HGI San Antonio Airport
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                      Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                          MISCELLANEOUS DEPARTMENT
                                                                                                          MISCELLANEOUS REVENUES

             0        0.00        125         2.20       -125           191          4.99          -191 Laundry/Valet                                157        0.39     1,724       2.21      -1,566          1,338         1.94               -1,181

             0        0.00            0       0.00          0             0          0.00               0 Parking Income                               0        0.00        0        0.00             0             75       0.11                    -75

             0        0.00         50         0.88        -50             0          0.00               0 Vending                                    728        1.80      600        0.77        128               323       0.47                   405

          100         2.21            0       0.00       100              0          0.00           100 Pet Fees                                     100        0.25        0        0.00        100                 0       0.00                   100

             0        0.00            0       0.00          0            85          2.22           -85 Interest Income                                0        0.00        0        0.00             0             85       0.12                    -85

             0        0.00            0       0.00          0             0          0.00               0 Forfeiture Income                        3,753        9.27        0        0.00       3,753                0       0.00               3,753

             0        0.00            0       0.00         0            641         16.77          -641 Miscellaneous                                  0        0.00        0        0.00             0            641       0.93                -641

             0        0.00      2,633        46.30     -2,633           562         14.70          -562 Late Cancellation Income                   6,479       15.99    36,198      46.48     -29,719         32,001        46.41            -25,522

            0         0.00            0       0.00         0              0          0.00               0 Smoking Fee                              1,200        2.96        0        0.00       1,200              300       0.44                   900

            59        1.30        120         2.11        -61           151          3.94           -92 Tax Discounts Earned                         611        1.51     1,440       1.85        -829          1,185         1.72                   -574

        4,372        96.49      2,759        48.51      1,614             0          0.00         4,372 Market Sales                              27,479       67.84    37,921      48.69     -10,442                0       0.00             27,479

             0        0.00            0       0.00          0             0          0.00               0 Market Sales- Beer/Wine                      0        0.00        0        0.00             0              0       0.00                     0

             0        0.00            0       0.00          0         2,192         57.38        -2,192 Pavillion Pantry                               0        0.00        0        0.00             0       33,005        47.87            -33,005



       4,531       100.00       5,688       100.00     -1,156         3,821        100.00          710 Total Miscellaneous Revenues              40,507       100.00   77,883      100.00     -37,376        68,951        100.00            -28,444



                                                                                                          COSales- Miscellaneous

             0        0.00        113        90.00       -113           191        100.00          -191 COS-Laundry/Valet                            157      100.00     1,551      90.00      -1,394          1,261        94.26               -1,104

          294         6.72      1,379        50.00     -1,086             0          0.00           294 COS- Market                               13,068       47.56    18,961      50.00      -5,893                0       0.00             13,068

             0        0.00            0       0.00          0         1,634         42.77        -1,634 COGS- Pavilion Pantry                          0        0.00        0        0.00             0       19,283        27.97            -19,283



         294          6.48      1,492        26.24     -1,198         1,825         47.77       -1,531 Total COS- Miscellaneous                  13,225        32.65   20,512       26.34      -7,287        20,544         29.79             -7,319



            0         0.00            0       0.00         0              0          0.00               0 Total Meeting Room Revenues                  0        0.00        0        0.00             0              0       0.00                     0


                                                                                                          Cost of Sales- Meeting Room



       4,238         93.52      4,195        73.76        42          1,996         52.23        2,242 Total Miscellaneous Profit                27,282        67.35   57,371       73.66     -30,089        48,408         70.21            -21,126

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                                                                Company: 12828 San Pedro San Antonio dba HGI SA Airport Property: HGI San Antonio Airport
                                                                For Property: HGI San Antonio Airport
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                         Description      YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                           ADMIN & GENERAL DEPARTMENT
                                                                                                           ADMIN & GENERAL

                                                                                                           P/R & Related Benefits- A&G

        6,769         5.82      6,927         2.85       -158         5,906         2.44           862 General Manager                            74,013        4.33    79,600       2.16      -5,587         77,897         2.23               -3,884

        3,132         2.69      3,605         1.48       -473         2,756         1.14           376 Assistant General Manager                  36,278        2.12    42,454       1.15      -6,176         33,498         0.96               2,780

          990         0.85        769         0.32       221            682         0.28           308 Payroll Taxes                               9,549        0.56     9,552       0.26            -3        9,353         0.27                   196

          113         0.10        284         0.12       -171            30         0.01                83 Employee Benefits                       1,138        0.07     3,408       0.09      -2,270          1,536         0.04                   -398

            38        0.03            0       0.00        38              0         0.00                38 Vacation /PTO                          14,614        0.85         0       0.00      14,614          8,198         0.23               6,416

          926         0.80            0       0.00       926            908         0.37                19 Holiday                                 3,632        0.21         0       0.00       3,632          3,170         0.09                   463

             0        0.00            0       0.00          0             0         0.00                 0 Bonus/Incentive Pay                     6,359        0.37     8,800       0.24      -2,441          3,239         0.09               3,121



      11,967         10.28     11,585         4.77       382         10,282         4.25         1,686 Total P/R & R/B- A&G                     145,584         8.51   143,814      3.90       1,770        136,891          3.92               8,693


                                                                                                           Operating Expenses- A&G

          568         0.49      3,000         1.23     -2,432         3,703         1.53         -3,134 Employee Relations                         1,532        0.09     7,650       0.21      -6,118          8,509         0.24               -6,976

        4,000         3.44      2,000         0.82      2,000         2,000         0.83          2,000 Accounting Fees                           26,000        1.52    24,000       0.65       2,000         24,000         0.69               2,000

          289         0.25        872         0.36       -583           723         0.30           -434 Data Processing                           10,209        0.60    13,081       0.35      -2,872         11,677         0.33               -1,469

          888         0.76        351         0.14       537            397         0.16           491 Office Supplies                             4,197        0.25     4,826       0.13        -630          5,453         0.16               -1,256

            89        0.08         89         0.04          0            89         0.04                 0 Muzak                                   1,136        0.07     1,068       0.03            68        1,943         0.06                   -806

             0        0.00        200         0.08       -200           627         0.26           -627 Travel & Lodging                             612        0.04     4,900       0.13      -4,288          7,868         0.23               -7,256

             0        0.00            0       0.00          0             0         0.00                 0 Meals and Entertainment                     0        0.00         0       0.00             0            369       0.01                   -369

             0        0.00         75         0.03        -75            75         0.03            -75 Telephone                                    188        0.01       900       0.02        -712              825       0.02                   -637

             0        0.00            0       0.00          0             0         0.00                 0 Licenses and Permits                    2,216        0.13     2,865       0.08        -649          1,700         0.05                   516

          115         0.10        170         0.07        -55           230         0.09           -115 Postage                                      752        0.04     2,040       0.06      -1,288          1,884         0.05               -1,131

             0        0.00        110         0.05       -110             0         0.00                 0 Recruitment                               836        0.05     2,070       0.06      -1,234          1,277         0.04                   -441

             0        0.00        184         0.08       -184           167         0.07           -167 Employment Screening/ Drug Testing         1,135        0.07     2,208       0.06      -1,073          2,136         0.06               -1,001

             0        0.00            0       0.00          0             0         0.00                 0 Training                                  437        0.03     2,500       0.07      -2,063          1,613         0.05               -1,176

             0        0.00            0       0.00          0             0         0.00                 0 Bad Debt                                1,056        0.06         0       0.00       1,056                0       0.00               1,056

          160         0.14        160         0.07          0           160         0.07                 0 Dues/Subscriptions                      2,559        0.15     2,960       0.08        -401          2,956         0.08                   -397

        3,010         2.59      6,738         2.77     -3,728         9,308         3.85         -6,298 Credit Card Commissions                   35,413        2.07   102,247       2.77     -66,834         97,238         2.78            -61,825

            53        0.05            0       0.00        53           -364        -0.15           417 Cash Over/Short                             1,393        0.08         0       0.00       1,393          9,081         0.26               -7,687

          254         0.22        245         0.10          9           243         0.10                11 Equipment Rental                        3,026        0.18     2,940       0.08            86        2,578         0.07                   448

          538         0.46        585         0.24        -47           908         0.38           -370 Payroll Services                           6,713        0.39     8,424       0.23      -1,711          9,580         0.27               -2,867

        1,189         1.02      1,550         0.64       -361         1,548         0.64           -359 Bank Charges                              14,982        0.88    18,600       0.50      -3,618         19,394         0.55               -4,412

             0        0.00            0       0.00          0         1,230         0.51         -1,230 Chargebacks                                4,900        0.29         0       0.00       4,900         13,708         0.39               -8,808

        1,562         1.34      1,427         0.59       135          2,065         0.85           -503 Workers Comp Insurance                    13,134        0.77    18,550       0.50      -5,416         17,019         0.49               -3,885



      12,716         10.93     17,756         7.30     -5,041        23,109         9.55       -10,394 Total Operating- A&G                     132,427         7.74   221,829      6.01      -89,402       240,807          6.89          -108,379



      24,683         21.21     29,341        12.07     -4,658        33,391        13.80        -8,708 Total Expenses- A&G                      278,011        16.25   365,643      9.91      -87,632       377,697         10.81            -99,686

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                                                                 Company: 12828 San Pedro San Antonio dba HGI SA Airport Property: HGI San Antonio Airport
                                                                 For Property: HGI San Antonio Airport
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual       % / POR       Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                       Description        YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                           SALES DEPARTMENT
                                                                                                           SALES

                                                                                                           P/R & R/B

        5,375         4.62       4,957         2.04       418          5,807         2.40           -432 Director of Sales                         58,193        3.40    57,674       1.56        519          50,211         1.44               7,982

            0         0.00             0       0.00         0             47         0.02            -47 Sales Manager                                 80        0.00         0       0.00            80            222       0.01                   -142

          374         0.32         943         0.39       -569           689         0.28           -315 Revenue Management                         5,709        0.33    11,319       0.31      -5,610          8,811         0.25               -3,102

            0         0.00         172         0.07       -172             0         0.00                0 E Commerce Management                      516        0.03     2,066       0.06      -1,549                0       0.00                   516

            0         0.00       2,655         1.09     -2,655           104         0.04           -104 Sales Coordinator                            968        0.06    31,349       0.85     -30,381         16,527         0.47            -15,559

          439         0.38         264         0.11       175            604         0.25           -165 Payroll Taxes                              4,630        0.27     3,439       0.09       1,191          5,804         0.17               -1,174

        1,122         0.96         666         0.27       456              0         0.00          1,122 Employee Benefits                          6,724        0.39     7,992       0.22      -1,268          6,057         0.17                   667

       -1,519         -1.31            0       0.00     -1,519             0         0.00         -1,519 Vacation / PTO                             2,507        0.15         0       0.00       2,507          3,487         0.10                   -980

          500         0.43             0       0.00       500              0         0.00           500 Holiday                                     1,700        0.10         0       0.00       1,700          1,320         0.04                   380

            0         0.00             0       0.00          0             0         0.00                0 Bonus/Incentive Pay                        204        0.01     4,400       0.12      -4,196          2,274         0.07               -2,070



       6,291          5.41       9,657        3.97      -3,367         7,251         3.00          -960 Total P/R & R/B- Sales                    81,232        4.75    118,239      3.21      -37,007        94,713         2.71             -13,481


                                                                                                           Operating Expenses- Sales

            0         0.00             0       0.00          0            48         0.02            -48 Printing & Stationary                          0        0.00       550       0.01        -550              501       0.01                   -501

            0         0.00          30         0.01        -30             0         0.00                0 Office Supplies                            260        0.02       500       0.01        -240          1,420         0.04               -1,161

            0         0.00          50         0.02        -50           624         0.26           -624 Travel & Lodging                              17        0.00     4,500       0.12      -4,483          2,455         0.07               -2,438

            0         0.00         200         0.08       -200             0         0.00                0 Meals & Entertainment                        0        0.00     2,050       0.06      -2,050              281       0.01                   -281

            9         0.01          50         0.02        -41           188         0.08           -179 Promotions                                 1,341        0.08       600       0.02        741               815       0.02                   525

            0         0.00          50         0.02        -50            50         0.02            -50 Telephone                                    100        0.01       600       0.02        -500              500       0.01                   -400

            0         0.00             0       0.00          0             0         0.00                0 Sales Training                           1,037        0.06         0       0.00       1,037              150       0.00                   887

          132         0.11             0       0.00       132              0         0.00           132 Dues & Subscriptions                        3,654        0.21     9,194       0.25      -5,540          6,993         0.20               -3,339

            0         0.00             0       0.00          0             0         0.00                0 Trade Show                                   0        0.00         0       0.00             0             61       0.00                    -61

            0         0.00         100         0.04       -100           200         0.08           -200 e Commerce Costs                               0        0.00     1,200       0.03      -1,200          5,030         0.14               -5,030

          900         0.77         758         0.31       142            955         0.39            -55 Brand Paid Search                          5,487        0.32    10,350       0.28      -4,863         10,096         0.29               -4,609

            0         0.00         100         0.04       -100             0         0.00                0 Internet Advertising                         0        0.00     1,200       0.03      -1,200                0       0.00                     0

            0         0.00             0       0.00          0             0         0.00                0 Program Costs                                0        0.00       725       0.02        -725                0       0.00                     0

            0         0.00             0       0.00          0             0         0.00                0 Collateral                                   0        0.00         0       0.00             0            101       0.00                   -101



       1,041          0.89       1,338        0.55       -298          2,065         0.85        -1,024 Total Operating- Sales                    11,897        0.70     31,469      0.85      -19,573        28,404         0.81             -16,507



       7,331          6.30      10,995        4.52      -3,664         9,315         3.85        -1,984 Total Expenses-Sales                      93,129        5.44    149,708      4.06      -56,579       123,117         3.52             -29,988

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                                                                 Company: 12828 San Pedro San Antonio dba HGI SA Airport Property: HGI San Antonio Airport
                                                                 For Property: HGI San Antonio Airport
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                         Description          YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                       Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                            MAINTENANCE DEPARTMENT
                                                                                                            REPAIRS & MAINTENANCE
                                                                                                            P/R & Related Expenses- Maintenance

             0        0.00       3,937         1.57     -3,937         3,348         1.30         -3,348 Chief Engineer                               9,791         0.53    46,144       1.34     -36,353         37,912         1.19            -28,121

        2,161         1.43       4,287         1.71     -2,126         2,403         0.94           -241 General Maintenance                         27,122         1.47    50,611       1.47     -23,489         36,786         1.15               -9,664

          183         0.12         666         0.27       -484           516         0.20           -333 Payroll Taxes                                3,161         0.17     7,837       0.23      -4,676          6,385         0.20               -3,224

          124         0.08         269         0.11       -145             0         0.00           124 Employee Benefits                             2,083         0.11     3,228       0.09      -1,145              515       0.02               1,568

          208         0.14             0       0.00       208            547         0.21           -339 Holiday                                          793       0.04         0       0.00        793           1,514         0.05                   -720

         -536         -0.36            0       0.00       -536             0         0.00           -536 Vacation /PTO                                2,269         0.12         0       0.00       2,269          2,153         0.07                   116



       2,140          1.42       9,159        3.65      -7,020         6,814         2.65        -4,674 Total P/R & Related Expenses- Maintenance    45,219        2.45    107,820      3.13      -62,601        85,264         2.67             -40,045


                                                                                                            Operating Expenses- R & M

            83        0.06       1,000         0.40       -917           255         0.10           -172 Auto Expense                                 5,989         0.32    12,000       0.35      -6,011          7,540         0.24               -1,551

             0        0.00         125         0.05       -125           427         0.17           -427 Laundry Equipment                            1,911         0.10     1,724       0.05        187           1,057         0.03                   854

             0        0.00         300         0.12       -300           328         0.13           -328 Building Maintenance                             244       0.01     3,600       0.10      -3,356          4,817         0.15               -4,573

             0        0.00             0       0.00          0             0         0.00                 0 Office Equipment                                0       0.00         0       0.00             0            321       0.01                -321

          259         0.17         125         0.05       134            324         0.13            -65 Light Bulbs                                  2,481         0.13     1,724       0.05        757           2,463         0.08                    17

             0        0.00         351         0.14       -351           369         0.14           -369 Electrical & Mechanical                          967       0.05     4,826       0.14      -3,859          4,221         0.13               -3,254

        1,277         0.85         376         0.15       901              0         0.00          1,277 HVAC                                         3,302         0.18     5,171       0.15      -1,869          8,156         0.26               -4,854

        1,480         0.98         351         0.14      1,129         2,504         0.97         -1,024 Plumbing & Boiler                            5,386         0.29     4,826       0.14        559           7,404         0.23               -2,018

          348         0.23         595         0.24       -247           844         0.33           -496 Pool                                         4,564         0.25     7,140       0.21      -2,576          6,671         0.21               -2,108

        1,398         0.93       1,455         0.58        -57         1,352         0.53                46 Grounds & Landscaping                    16,440         0.89    17,460       0.51      -1,020         20,854         0.65               -4,414

          365         0.24         360         0.14          5           355         0.14                11 Interior Plants                           3,652         0.20     4,320       0.13        -668          3,906         0.12                   -254

             0        0.00             0       0.00          0             0         0.00                 0 Signage                                         0       0.00         0       0.00             0        1,507         0.05               -1,507

             0        0.00         100         0.04       -100         1,353         0.53         -1,353 Furniture & Fixtures                         2,014         0.11     1,200       0.03         814          3,462         0.11               -1,448

             0        0.00         251         0.10       -251           556         0.22           -556 Painting                                     1,168         0.06     3,447       0.10      -2,280          4,270         0.13               -3,102

             0        0.00         100         0.04       -100           954         0.37           -954 Carpet & Floor                               5,119         0.28     7,400       0.21      -2,281          6,332         0.20               -1,214

             0        0.00             0       0.00          0            65         0.03            -65 Window Treatments                                 85       0.00         0       0.00            85             74       0.00                    11

             0        0.00             0       0.00         0              0         0.00                 0 Training                                      125       0.01         0       0.00        125               136       0.00                    -11

             0        0.00          50         0.02        -50             0         0.00                 0 Telephone                                       0       0.00       600       0.02        -600               41       0.00                    -41

             0        0.00         351         0.14       -351           982         0.38           -982 Kitchen Equipment                            2,826         0.15     4,826       0.14      -2,000          5,820         0.18               -2,994

             0        0.00         120         0.05       -120            50         0.02            -50 Locks & Keys                                     358       0.02     1,440       0.04      -1,082              938       0.03                   -580

             0        0.00         100         0.04       -100            78         0.03            -78 Radio & TV                                       180       0.01     1,200       0.03      -1,020          3,425         0.11               -3,245

          325         0.22         225         0.09       100           -106        -0.04           431 Exterminating                                 3,558         0.19     2,700       0.08        858           3,259         0.10                   299

             0        0.00             0       0.00          0             0         0.00                 0 License & Permits                             240       0.01         0       0.00        240                 0       0.00                   240

          305         0.20         305         0.12          0           305         0.12                 0 Maintenance Contracts                     3,660         0.20     3,660       0.11             0        3,355         0.11                   305

             0        0.00             0       0.00          0           123         0.05           -123 Equipment Rental                             2,500         0.14         0       0.00       2,500          1,624         0.05                   876

            40        0.03         100         0.04        -60            66         0.03            -27 Fire & Safety                                4,963         0.27     4,700       0.14        263           7,338         0.23               -2,375

        1,098         0.73       1,077         0.43        21          1,077         0.42                21 Elevator                                  5,154         0.28     4,308       0.12        846           4,980         0.16                   174



       6,979          4.62       7,818        3.12       -839         12,260         4.77        -5,282 Total Operating - R & M                      76,884        4.16     98,273      2.85      -21,389       113,972         3.57             -37,089



       9,118          6.04      16,977        6.77      -7,859        19,074         7.42        -9,956 Total Expenses- R & M                       122,103        6.61    206,093      5.98      -83,990       199,236         6.25             -77,133

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                                                              For Property: HGI San Antonio Airport
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description          YTD          % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                       Var                                                                 Budget               Bud Var       Year                        Var
                                                                                                       UTILITIES DEPARTMENT
                                                                                                       UTILITIES EXPENSE

        5,993         3.97      5,871       2.34       122          6,190         2.41           -197 Electricity                               89,140        4.83   101,067       2.93     -11,927      100,232       3.14            -11,092

          754         0.50        867       0.35      -113            599         0.23            155 Gas                                        6,666        0.36     8,318       0.24      -1,652        7,158       0.22                   -493

        4,959         3.29      3,013       1.20      1,946         2,751         1.07          2,207 Water & Sewer                             45,109        2.44    51,924       1.51      -6,815       46,017       1.44                   -908

          446         0.30        590       0.24      -144            446         0.17                0 Waste Removal                            5,917        0.32     7,080       0.21      -1,163        7,391       0.23               -1,475



      12,152          8.05     10,341      4.12      1,811          9,986         3.89         2,166 Total Expenses- Utilities                146,832        7.95    168,389      4.88      -21,557     160,800       5.04             -13,968

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                                                                For Property: HGI San Antonio Airport
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                       Description        YTD          % / POR      YTD     % / POR    Act vs        YTD Last     % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                        Var
                                                                                                          FRANCHISE DEPARTMENT
                                                                                                          FRANCHISE FEES

        5,552         5.50      11,620        5.57     -6,068        11,844         5.47         -6,292 Franchise Fees/ Royalties                 83,765        5.58   179,654       5.56     -95,889        172,447       5.61            -88,682

        4,391         4.35       9,085        4.35     -4,694         9,260         4.28         -4,869 Advertising                               65,871        4.39   140,457       4.35     -74,585        134,605       4.38            -68,734

        3,062         3.03       9,204        4.41     -6,143         7,121         3.29         -4,059 Frequent Traveler                         45,626        3.04   126,520       3.92     -80,894        106,911       3.48            -61,285

            0         0.00            0       0.00          0             0         0.00                0 Brand Guest Fees                           694        0.05         0       0.00         694          1,821       0.06               -1,127

            0         0.00            0       0.00          0         1,078         0.50         -1,078 Other Franchise Cost                           0        0.00         0       0.00             0        1,078       0.04               -1,078



      13,005         12.88     29,909       14.34     -16,904        29,302        13.54       -16,297 Total Franchise Fees Expense             195,957        13.06   446,630      13.83    -250,673       416,862       13.55          -220,906

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   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                  Description             YTD          % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var       Year                          Var
                                                                                                         MANAGEMENT FEES
        2,910         2.50      6,081         2.50     -3,171         6,032         2.49         -3,122 Management Fees                           42,767        2.50    92,280       2.50     -49,513       87,405         2.50            -44,638

       11,006         9.46            0       0.00     11,006             0         0.00         11,006 Management Fees- Owner                    26,247        1.53        0        0.00      26,247              0       0.00             26,247



      13,916         11.96      6,081        2.50      7,835          6,032         2.49         7,884 Total Management Fees Expense             69,014        4.03    92,280       2.50      -23,267      87,405         2.50             -18,391



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                                                                For Property: HGI San Antonio Airport
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                      Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                          FIXED EXPENSES
       26,625        22.88      27,251       11.21      -626         26,133         10.80           493 Ground Lease                             324,509       18.97   324,509       8.80             0      317,177         9.07               7,332

       12,359        10.62       9,730        4.00      2,629      -109,899        -45.41       122,258 FF & E Reserve                           148,305        8.67   147,649       4.00        656                 0       0.00            148,305

        2,491         2.14       1,230        0.51      1,261         1,245          0.51         1,245 Van Lease                                 16,190        0.95    14,760       0.40       1,430          1,993         0.06             14,197

       19,531        16.78      19,531        8.03         0         13,185          5.45         6,346 Real Estate Tax                          234,373       13.70   234,373       6.35             0      217,451         6.22             16,922

            0         0.00            0       0.00         0              0          0.00               0 Personal Property Tax                       57        0.00         0       0.00            57            122       0.00                   -65

        6,143         5.28       5,291        2.18       852          5,534          2.29           608 Insurance                                 65,537        3.83    63,392       1.72       2,145         60,832         1.74               4,705



      67,148         57.69     63,033        25.93     4,115        -63,802        -26.36      130,951 TOTAL FIXED EXPENSES                     788,971        46.12   784,683      21.27      4,288        597,575         17.10           191,396

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                                                                For Property: HGI San Antonio Airport
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                      Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                          TOTAL OTHER
            0         0.00            0       0.00         0            350          0.14          -350 Owners Expense                            13,033        0.76         0       0.00      13,033         96,323         2.76            -83,290

       44,534        38.26            0       0.00     44,534        33,094         13.67        11,440 Depreciation                             534,408       31.24         0       0.00     534,408        522,968        14.96             11,440

        2,184         1.88            0       0.00      2,184         2,813          1.16          -629 Amortization Expense                      26,208        1.53         0       0.00      26,208         26,837         0.77                   -629

       22,775        19.57      22,793        9.38        -18        22,555          9.32           220 Interest Expense                         272,703       15.94   272,911       7.40        -208        272,443         7.79                   261

       11,380         9.78       2,433        1.00      8,948         2,419          1.00         8,961 Asset Management Fee                      17,107        1.00    36,912       1.00     -19,805         34,966         1.00            -17,859

            0         0.00            0       0.00         0              0          0.00               0 Uninsured Loss                               0        0.00         0       0.00             0        7,404         0.21               -7,404

            0         0.00            0       0.00         0         -24,988       -10.33        24,988 Extraordinary Expenses                     3,219        0.19         0       0.00       3,219                0       0.00               3,219

            0         0.00            0       0.00         0          8,867          3.66        -8,867 GB 1 YE AJE                                    0        0.00         0       0.00             0        8,867         0.25               -8,867

            0         0.00            0       0.00         0        250,805        103.63      -250,805 GB- 2 R&M/Capex AJE                            0        0.00         0       0.00             0      250,805         7.18           -250,805



      80,873         69.49     25,226        10.38    55,648       295,916         122.27     -215,043 Total Other                              866,678        50.66   309,823      8.40     556,855       1,220,613        34.92          -353,935

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                                                               For Property: HGI San Antonio Airport
                                                               00- Master P&L-CAPSTONE
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   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR       Act vs LY                     Description          YTD          % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                         House Laundry Dept




            0         0.00            0      0.00          0             0         0.00                0 Total P/R & Benefits- Ldy                    0       0.00         0      0.00              0              0      0.00                    0


                                                                                                         Operating Expenses




            0         0.00            0      0.00          0             0         0.00                0 Total Operating Expenses- Ldy                0       0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0         0.00                0 Total Laundry Expenses                       0        0.00        0       0.00             0              0       0.00                   0



                                                                                                         Allocation




            0         0.00            0      0.00          0             0         0.00                0 Total Allocation                             0       0.00         0      0.00              0              0      0.00                    0



            0                         0                    0             0                             0 Total Lndry Dept                             0                    0                        0              0                              0



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                                                            For Property: HomeWood Suites Houston Clear Lake
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                  Description           YTD          % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                      Var                                                                 Budget                Bud Var         Year                       Var
                                                                                                    SUMMARY

    2,852                    2,852                      0         2,852                          0 Total Rooms Available                    33,672                  33,672                        0       33,580                            92

    1,930                    1,692                    238         1,669                        261 Total Rooms Sold                         17,422                  24,696                  -7,274        24,261                         -6,839

 67.67%                   59.33%                   8.35%       58.52%                       9.15% Occupancy %                              51.74%                 73.34%                  -21.60%        72.25%                     -20.51%

   78.12                   110.26                  -32.14       109.35                      -31.23 Average Rate                              94.93                 124.43                   -29.50        122.05                      -27.12

   52.87                    65.41                  -12.55        63.99                      -11.13 REVPAR                                    49.12                  91.26                   -42.15         88.18                      -39.06




                                                                                                    REVENUES

  150,775        99.37     186,556       98.96    -35,781       182,504         99.40      -31,729 ROOMS                                 1,653,844       98.93   3,072,978      98.91   -1,419,134      2,961,030       99.04      -1,307,186

         0        0.00            0       0.00          0             0          0.00            0 FOOD                                          0        0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE                                      0        0.00           0       0.00             0              0       0.00                0

     954          0.63       1,953        1.04       -999         1,100          0.60         -146 MISCELLANEOUS                            17,921        1.07      34,016       1.09      -16,095        28,740         0.96        -10,818



 151,729       100.00     188,509       100.00    -36,780      183,604         100.00      -31,875 TOTAL REVENUES                        1,671,765      100.00   3,106,994     100.00   -1,435,229     2,989,770       100.00     -1,318,005




                                                                                                    DEPARTMENT EXPENSES

   28,847        19.13      49,849       26.72    -21,002        62,464         34.23      -33,617 ROOMS EXPENSE                           356,554       21.56     666,229      21.68     -309,675       634,728        21.44       -278,174

     843          0.00            0       0.00        843             0          0.00          843 FOOD EXPENSE                                843        0.00           0       0.00         843                0       0.00              843

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE EXPENSE                              0        0.00           0       0.00             0              0       0.00                0

     253         26.55        614        31.45       -361           334         30.35          -81 MISCELLANEOUS EXPENSE                     4,666       26.04       8,965      26.35       -4,298        11,109        38.65            -6,443



  29,943        19.73      50,463        26.77    -20,520       62,798          34.20      -32,855 TOTAL DEPARTMENTAL EXPENSES            362,063        21.66    675,194       21.73    -313,131       645,837         21.60       -283,773



                                                                                                    DEPARTMENTAL PROFIT

  121,928        80.87     136,707       73.28    -14,779       120,040         65.77        1,888 ROOMS PROFIT                          1,297,290       78.44   2,406,749      78.32   -1,109,459      2,326,303       78.56      -1,029,013

     -843         0.00            0       0.00       -843             0          0.00         -843 FOOD PROFIT                                 -843       0.00           0       0.00         -843               0       0.00             -843

         0        0.00            0       0.00          0             0          0.00            0 BEVERAGE PROFIT                               0        0.00           0       0.00             0              0       0.00                0

     700         73.45       1,339       68.55       -638           766         69.65          -66 MISCELLANEOUS PROFIT                     13,255       73.96      25,051      73.65      -11,796        17,631        61.35            -4,376



 121,786        80.27     138,046        73.23    -16,260      120,806          65.80         980 TOTAL DEPARTMENTAL PROFIT              1,309,702       78.34   2,431,800      78.27   -1,122,098     2,343,933        78.40     -1,034,232



   21,176        13.96      29,111       15.44     -7,935        34,507         18.79      -13,331 A & G EXPENSE                           248,136       14.84     344,856      11.10      -96,719       355,233        11.88       -107,096

    4,066         2.68       3,085        1.64       981          3,114          1.70          953 TELECOM                                  43,970        2.63      37,020       1.19        6,950        39,245         1.31            4,725

    6,642         4.38       8,869        4.70     -2,227         2,653          1.44        3,989 SALES & MARKETING EXPENSES               82,731        4.95     124,057       3.99      -41,326        87,976         2.94            -5,245

   16,540        10.90      20,878       11.08     -4,338        25,232         13.74       -8,692 FRANCHISE FEES                          185,151       11.08     336,162      10.82     -151,011       336,000        11.24       -150,849

   12,159         8.01      14,124        7.49     -1,965         7,701          4.19        4,459 MAINTENANCE EXPENSES                     82,384        4.93     141,501       4.55      -59,117       131,022         4.38        -48,638

    4,900         3.23       6,484        3.44     -1,584         7,423          4.04       -2,522 UTILITIES EXPENSE                        71,855        4.30      86,169       2.77      -14,314        89,308         2.99        -17,453



  65,484        43.16      82,550        43.79    -17,067       80,629          43.91      -15,145 TOTAL ADMIN EXPENSES                   714,227        42.72   1,069,764      34.43    -355,537      1,038,783        34.74       -324,556



  56,302        37.11      55,495        29.44       807        40,177          21.88      16,125 HOUSE PROFIT                            595,475        35.62   1,362,036      43.84    -766,561      1,305,150        43.65       -709,675



                                                                                                    FIXED EXPENSES

   14,802         9.76       4,716        2.50     10,087         4,590          2.50       10,212 MANAGEMENT FEES                          68,017        4.07      77,709       2.50       -9,692        74,747         2.50            -6,730

   68,923        45.43      62,694       33.26      6,229       -77,048        -41.96      145,971 FIXED EXPENSES                          817,074       48.87     781,242      25.14       35,831       631,111        21.11        185,963
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     -27,424        -18.07   -11,914    -6.32   -15,509   112,635   61.35   -140,059 NET OPERATING INCOME                     -289,616    -17.32   503,084   16.19    -792,701    599,292     20.04           -888,909



      102,274        67.41    27,619    14.65    74,655    88,160   48.02     14,114 Other                                    1,093,392    65.40   339,206   10.92      754,187   1,082,451    36.21             10,941



    -129,698        -85.48   -39,534   -20.97   -90,164    24,475   13.33   -154,172 N.I. after Other                        -1,383,009   -82.73   163,879    5.27   -1,546,887   -483,159    -16.16          -899,850



     -70,828                 -39,534            -31,294    64,990           -135,817 Cash before Depreciation/Amortization    -676,569             163,879            -840,447    204,926                     -881,495

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                                                                   For Property: HomeWood Suites Houston Clear Lake
                                                                   00- Master P&L-CAPSTONE
                                                                   As of 12/31/2020

   Actual        % / POR        Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description        YTD         % / POR           YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                        Bud Var                                      Var                                                                   Budget                Bud Var         Year                          Var
                                                                                                           ROOMS DEPARTMENT
                                                                                                           ROOMS REVENUE

       73,825        48.96         69,607       37.31      4,217        65,829         36.07        7,995 Rack/ Premium                           743,612       44.96     1,078,228      35.09     -334,616      1,012,287       34.19           -268,675

        6,574         4.36         14,213        7.62     -7,638        29,715         16.28      -23,141 Corporate                               195,283       11.81       505,597      16.45     -310,314       468,951        15.84           -273,668

       55,791        37.00         69,641       37.33    -13,850        52,603         28.82        3,188 Discounts - Other                       491,427       29.71       581,228      18.91      -89,802       543,524        18.36             -52,097

       10,260         6.80          4,467        2.39      5,793        24,665         13.51      -14,405 Government                              195,279       11.81       298,862       9.73     -103,583       613,511        20.72           -418,232

        3,467         2.30         13,739        7.36    -10,272         2,900          1.59          567 Locally Negotiated Rate                  22,095        1.34       319,948      10.41     -297,853        89,640         3.03             -67,545

             0        0.00               0       0.00          0             0          0.00            0 Allowances                               -1,691       -0.10             0       0.00       -1,691          -912        -0.03                  -779



     149,917         99.43       171,667        92.02    -21,750      175,712          96.28      -25,795 Total Transient Revenue               1,646,004      99.53      2,783,863      90.59   -1,137,859     2,727,000        92.10        -1,080,996




             0        0.00               0       0.00          0             0          0.00            0 Total Base Revenues                           0        0.00             0       0.00             0              0       0.00                    0



             0        0.00         14,889        7.98    -14,889         6,625          3.63       -6,625 Group- Corporate                          1,984        0.12       289,115       9.41     -287,131       226,496         7.65           -224,512



            0         0.00        14,889         7.98    -14,889        6,625           3.63       -6,625 Total Group Revenue                       1,984       0.12       289,115        9.41    -287,131       226,496          7.65          -224,512



          858         0.57               0       0.00       858            167          0.09          692 Guaranteed No-Show                        5,856        0.35             0       0.00        5,856         7,534         0.25               -1,679



     150,775       100.00        186,556       100.00    -35,781      182,504         100.00      -31,729 Total Rooms Revenue                   1,653,844     100.00      3,072,978     100.00   -1,419,134     2,961,030       100.00        -1,307,186



                                                                                                           ROOM STATISTICS

          976              51        575           34       401            549            33          427 Rack/ Premium Rooms                       7,402         42          7,854         32         -452         7,701           32                  -299

            73              4        118            7        -45           255            15         -182 Corporate Rooms                           1,905         11          4,036         16       -2,131         3,822           16               -1,917

          738              38        711           42         27           580            35          158 Discounts - Other Rooms                   6,268         36          5,475         22         794          5,310           22                  958

          103               5         34            2         69           207            12         -104 Government Rooms                          1,620             9       2,372         10         -752         4,869           20               -3,249

            40              2        118            7        -78            25             1           15 Locally Negotiated Corporate Rooms          211             1       2,565         10       -2,354             754          3                  -543



       1,930          100          1,557          92        373         1,616            97          314 Total Transient Stats                    17,406         100        22,302         90        -4,896        22,456          93              -5,050




            0              0             0         0          0             0             0             0 Total Crew Stats                             0              0          0          0              0              0         0                     0



             0              0        135            8       -135            53             3          -53 Group- Corporate Rooms                       16             0       2,394         10       -2,378         1,805            7               -1,789



            0              0         135           8       -135            53             3           -53 Total Group Stats                           16              0      2,394         10        -2,378         1,805           7              -1,789



       1,930          100          1,692         100        238         1,669           100          261 TOTAL ROOM STATISTICS                    17,422         100        24,696        100        -7,274        24,261         100              -6,839



                                                                                                           Other Room Stats



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                                                             Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                             For Property: HomeWood Suites Houston Clear Lake
                                                             00- Master P&L-CAPSTONE
                                                             As of 12/31/2020

   Actual       % / POR    Budget       % / POR   Act vs     Last Year     % / POR     Act vs LY                      Description         YTD          % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                  Bud Var                                     Var                                                                Budget              Bud Var         Year                         Var
                                                                                                    ADR



        75.64                 121.00                -45.36        119.91                    -44.27 Rack/Premium ADR                          100.46               137.28                -36.81         131.45                           -30.99

        90.06                 120.00                -29.94        116.53                    -26.47 Corporate ADR                             102.51               125.28                -22.76         122.70                           -20.19

            0                       0                    0             0                         0 Contract - Airline ADR                         0                   0                        0              0                               0

        75.60                  98.00                -22.40         90.69                    -15.10 Discount ADR                               78.40               106.17                -27.77         102.36                           -23.96

         0.00                   0.00                  0.00          0.00                      0.00 Distressed Passengers ADR                    0.00                0.00                  0.00           0.00                               0.00

            0                       0                    0             0                         0 AARP ADR                                       0                   0                        0              0                               0

        99.61                 132.00                -32.39        119.15                    -19.55 Government ADR                            120.54               125.99                 -5.44         126.00                              -5.46

         0.00                   0.00                  0.00          0.00                      0.00 AAA ADR                                      0.00                0.00                  0.00           0.00                               0.00

        86.67                 116.00                -29.33        116.00                    -29.33 Local Negotiated ADR                      104.72               124.72                -20.00         118.89                           -14.17

         0.00                   0.00                  0.00          0.00                      0.00 Packages ADR                                 0.00                0.00                  0.00           0.00                               0.00

         0.00                   0.00                  0.00          0.00                      0.00 Wholesale/FIT ADR                            0.00                0.00                  0.00           0.00                               0.00

            0                       0                    0             0                         0 Internet ADR                                   0                   0                        0              0                               0

            0                       0                    0             0                         0 Tax Exampt - Transient ADR                     0                   0                        0              0                               0



       77.68                 110.28                 -32.60       108.73                     -31.06 Total Transient ADR                        94.57              124.82                 -30.26        121.44                          -26.87




         0.00                   0.00                  0.00          0.00                      0.00 Crew ADR                                     0.00                0.00                  0.00           0.00                               0.00

            0                       0                    0             0                         0 Contract ADR                                   0                   0                        0              0                               0




         0.00                   0.00                  0.00          0.00                      0.00 Group - SMERF ADR                            0.00                0.00                  0.00           0.00                               0.00

         0.00                 110.00               -110.00        125.00                   -125.00 Group - Corporate ADR                     124.00               120.79                  3.21         125.48                              -1.48

            0                       0                    0             0                         0 Group - Government ADR                         0                   0                        0              0                               0

            0                       0                    0             0                         0 Group - Tour ADR                               0                   0                        0              0                               0

            0                       0                    0             0                         0 Group- Association ADR                         0                   0                        0              0                               0

            0                       0                    0             0                         0 Group - Tax Exampt ADR                         0                   0                        0              0                               0



         0.00                110.00                -110.00       125.00                    -125.00 Total Group ADR                          124.00               120.79                  3.21         125.48                               -1.48

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                                                            Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                            For Property: HomeWood Suites Houston Clear Lake
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual        % / POR    Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description        YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                     Var                                                                  Budget                Bud Var         Year                       Var
                                                                                                   Payroll & Related Expense

    1,517         0.79      3,553         2.10     -2,036         3,801         2.28       -2,283 FD/ Guest Service Reps                    21,110        1.21      51,862       2.10      -30,752        55,027         2.27        -33,917

    1,537         0.80            0       0.00      1,537         1,364         0.82          174 FD/Supervisor                             14,113        0.81           0       0.00       14,113         6,962         0.29            7,151

    3,532         1.83      3,227         1.91       305          2,018         1.21        1,514 Executive Housekeeper                     31,579        1.81      37,175       1.51       -5,596        34,787         1.43            -3,207

          0       0.00        870         0.51       -870           494         0.30         -494 Asst Exec Housekeeper/ Inspectress         1,697        0.10      10,272       0.42       -8,575         8,943         0.37            -7,246

    3,932         2.04      7,106         4.20     -3,174         4,528         2.71         -596 Housekeepers                              46,923        2.69     103,722       4.20      -56,799        86,368         3.56        -39,445

     123          0.06      1,184         0.70     -1,061           111         0.07           11 Housemen                                   3,050        0.18      17,288       0.70      -14,238         5,530         0.23            -2,480

     332          0.17      1,332         0.79     -1,000         1,401         0.84       -1,070 Laundry                                    6,774        0.39      19,448       0.79      -12,674        18,893         0.78        -12,119

          0       0.00      2,387         1.41     -2,387         2,378         1.42       -2,378 Comp Breakfast Hostess                     5,655        0.32      28,182       1.14      -22,527        28,831         1.19        -23,176

          0       0.00      1,196         0.71     -1,196           699         0.42         -699 Evening Social Host                        2,555        0.15      14,123       0.57      -11,568        11,578         0.48            -9,023

    3,264         1.69      3,403         2.01       -139         2,502         1.50          762 Night Audit                               36,312        2.08      40,176       1.63       -3,864        34,452         1.42            1,860

    1,336         0.69      2,082         1.23       -746         2,163         1.30         -827 Payroll Taxes                             14,867        0.85      26,274       1.06      -11,407        24,772         1.02            -9,905

    1,064         0.55      1,633         0.97       -569         5,584         3.35       -4,520 Employee Benefits                         17,765        1.02      19,596       0.79       -1,831        24,579         1.01            -6,813

    1,777         0.92        991         0.59       786          4,205         2.52       -2,428 Vacation /PTO                             22,521        1.29      11,892       0.48       10,629        13,653         0.56            8,867

    1,712         0.89      1,764         1.04        -52         2,008         1.20         -296 Holiday                                    5,294        0.30       6,174       0.25         -880         8,038         0.33            -2,745

         50       0.03            0       0.00         50             0         0.00           50 Bonus/Incentive Pay                           90        0.01           0       0.00            90            350       0.01             -260



  20,177         10.45     30,728        18.16    -10,551       33,256         19.93      -13,080 Total P/R & R/Benefits- Rooms           230,305       13.22     386,184       15.64    -155,878       362,763         14.95       -132,457

                                                                                                   ROOMS DEPARTMENT
                                                                                                   OPERATING EXPENSE

          0       0.00        118         0.07       -118           127         0.08         -127 Newspapers                                   285        0.02       1,729       0.07       -1,443         1,560         0.06            -1,274

    1,456         0.75      5,922         3.50     -4,466         7,740         4.64       -6,284 Comp Breakfast                            24,839        1.43      86,436       3.50      -61,597        87,184         3.59        -62,344

          0       0.00        100         0.06       -100           130         0.08         -130 Comp Breakfast- Equipment                    324        0.02       6,100       0.25       -5,776             314       0.01               10

          0       0.00        275         0.16       -275           211         0.13         -211 Rooms- Promotion                           1,073        0.06       3,300       0.13       -2,227             730       0.03              343

          0       0.00        102         0.06       -102           150         0.09         -150 Kitchen Furnishings                          -28        0.00       1,482       0.06       -1,510         1,955         0.08            -1,984

     155          0.08         51         0.03       104            220         0.13          -65 Laundry Supplies                             791        0.05         741       0.03            50            661       0.03              130

          0       0.00        931         0.55       -931           890         0.53         -890 Linen Supplies                             3,646        0.21      13,583       0.55       -9,937        12,529         0.52            -8,884

    1,174         0.61      1,143         0.68         31         1,143         0.69           31 Cable TV                                  12,994        0.75      13,716       0.56         -722        13,657         0.56             -663

     323          0.17        347         0.21        -24           347         0.21          -23 HSIA Support                               4,069        0.23       4,164       0.17          -95         4,158         0.17               -89

          0       0.00        500         0.30       -500             0         0.00            0 Printing & Stationary                          0        0.00       6,500       0.26       -6,500               0       0.00                0

     601          0.31      1,015         0.60       -414         1,256         0.75         -655 Reservations Expense                      10,242        0.59      14,818       0.60       -4,576        14,060         0.58            -3,818

     948          0.49      1,624         0.96       -676         2,114         1.27       -1,166 Guest Room Supplies                       10,400        0.60      23,708       0.96      -13,308        23,455         0.97        -13,055

     274          0.14        169         0.10       105             52         0.03          222 Cleaning Supplies                          2,169        0.12       2,470       0.10         -300         1,974         0.08              195

    1,671         0.87        288         0.17      1,383           540         0.32        1,132 Ecolab Core Supplies                       5,688        0.33       4,184       0.17        1,504         3,655         0.15            2,033

          0       0.00      2,166         1.28     -2,166         2,584         1.55       -2,584 Evening Social- Food                       5,788        0.33      31,611       1.28      -25,823        30,366         1.25        -24,579

          0       0.00        338         0.20       -338           475         0.28         -475 Evening Social- Beverage                   1,296        0.07       4,939       0.20       -3,644         5,904         0.24            -4,609

          0       0.00         25         0.01        -25             0         0.00            0 Evening Social- Equipment                     16        0.00         300       0.01         -284              42       0.00               -26

    2,000         1.04      3,807         2.25     -1,807        11,020         6.60       -9,020 Travel Agents Commission                  39,288        2.26      55,566       2.25      -16,278        66,968         2.76        -27,681

          0       0.00        200         0.12       -200           209         0.13         -209 Uniforms                                     523        0.03       4,700       0.19       -4,177         1,624         0.07            -1,102

          0       0.00            0       0.00          0             0         0.00            0 Walk Expense                                 128        0.01           0       0.00         128          1,168         0.05            -1,040

         68       0.04            0       0.00         68             0         0.00           68 COVID 19 Supplies                          2,718        0.16           0       0.00        2,718               0       0.00            2,718



   8,670          4.49     19,121        11.30    -10,451       29,208         17.50      -20,537 Total Operating - Rooms                 126,249        7.25     280,046       11.34    -153,797       271,965         11.21       -145,717



  28,847         14.95     49,849        29.46    -21,002       62,464         37.43      -33,617 Total Expenses- Rooms                   356,554       20.47     666,229       26.98    -309,675       634,728         26.16       -278,174



 121,928         63.18    136,707        80.80    -14,779      120,040         71.92        1,888 Net Income- Rooms                      1,297,290      74.46    2,406,749      97.46   -1,109,459     2,326,303        95.89     -1,029,013
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                                                               Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                               For Property: HomeWood Suites Houston Clear Lake
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                      Description         YTD          % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                      Food & Beverage
                                                                                                      Summary


            0         0.00            0       0.00         0             0        0.00             0 Total Food Sales                               0        0.00        0       0.00             0              0       0.00                    0

            0         0.00            0       0.00         0             0        0.00             0 Total Beverage Sales                           0        0.00        0       0.00             0              0       0.00                    0

            0         0.00            0       0.00         0             0        0.00             0 Total Banquet A/V                              0        0.00        0       0.00             0              0       0.00                    0

            0         0.00            0       0.00         0             0        0.00             0 Total Banquet Misc                             0        0.00        0       0.00             0              0       0.00                    0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Sales                              0        0.00        0       0.00             0              0       0.00                    0



            0         0.00            0       0.00         0             0        0.00             0 Food Cost                                      0        0.00        0       0.00             0              0       0.00                    0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Costs                                 0        0.00        0       0.00             0              0       0.00                    0

            0         0.00            0       0.00         0             0        0.00             0 Banquet A/V Costs                              0        0.00        0       0.00             0              0       0.00                    0



            0         0.00            0       0.00         0             0        0.00             0 Total F & B Costs                              0        0.00        0       0.00             0              0       0.00                    0



            0         0.00            0       0.00         0             0        0.00             0 Food Wages                                     0        0.00        0       0.00             0              0       0.00                    0

            0         0.00            0       0.00         0             0        0.00             0 Beverage Wages                                 0        0.00        0       0.00             0              0       0.00                    0

            0         0.00            0       0.00         0             0        0.00             0 Total F & B Wages                              0        0.00        0       0.00             0              0       0.00                    0



            0         0.00            0       0.00         0             0        0.00             0 F & B- P T & E B                               0        0.00        0       0.00             0              0       0.00                    0




            0         0.00            0       0.00         0             0        0.00             0 TTL P/R and Benefits                           0        0.00        0       0.00             0              0       0.00                    0




          843         0.00            0       0.00       843             0        0.00          843 Food Operating Expenses                       843        0.00        0       0.00        843                 0       0.00                  843

            0         0.00            0       0.00         0             0        0.00             0 Beverage Operating Expenses                    0        0.00        0       0.00             0              0       0.00                    0



          843         0.00            0       0.00       843             0        0.00           843 Total F & B Operating Expenses               843        0.00        0       0.00        843                 0       0.00                  843



         -843         0.00            0       0.00      -843             0        0.00          -843 Net F & B Income                             -843       0.00        0       0.00       -843                 0       0.00                  -843




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                                                              Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                              For Property: HomeWood Suites Houston Clear Lake
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                   Description            YTD        % / POR       YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                                Budget             Bud Var         Year                         Var
                                                                                                     Food Department




            0         0.00            0      0.00         0            0         0.00            0 Total Restaurant                               0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Bar Food                                 0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Bistro                                   0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Garden Grill                             0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Other Food Revenue                       0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Room Service                             0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Banquets                                 0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Catering                                 0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0            0         0.00            0 Net Food Revenue                               0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Banquets Other                           0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0            0         0.00            0 Total Food Revenues                            0        0.00        0      0.00             0              0      0.00                  0

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                                                               Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                               For Property: HomeWood Suites Houston Clear Lake
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                   Description            YTD         % / POR       YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                      Cost of Goods Sold

            0         0.00            0      0.00          0            0         0.00             0 Total Cost of Good Sold                        0       0.00         0      0.00              0              0      0.00                     0


                                                                                                      Food Payroll

            0         0.00            0      0.00          0            0         0.00             0 Total Food Wages                               0       0.00         0      0.00              0              0      0.00                     0


                                                                                                      Operating Expenses

          843         0.00            0       0.00       843             0        0.00           843 Linens                                       843        0.00        0       0.00        843                 0       0.00                   843



         843          0.00            0      0.00        843            0         0.00          843 Total Operating Expense- Food                 843       0.00         0      0.00         843                 0      0.00                   843



         843          0.00            0      0.00        843            0         0.00          843 Total Food Costs                              843       0.00         0      0.00         843                 0      0.00                   843



        -843          0.00            0      0.00       -843            0         0.00         -843 N.I.- Food Department                       -843        0.00         0      0.00        -843                 0      0.00                   -843

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                                                              Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                              For Property: HomeWood Suites Houston Clear Lake
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                 Description              YTD        % / POR       YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                                Budget             Bud Var         Year                         Var
                                                                                                     Beverage Department




            0         0.00            0      0.00         0            0         0.00            0 Total Restaurant Beverage                      0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0            0         0.00            0 Total Garden Grill Beverage                    0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Room Service Bev                         0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Bar Beverage                             0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Banquet Beverage                         0        0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0            0         0.00            0 Total Catering Beverage                        0        0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0            0         0.00            0 Total Beverage Revenue                         0        0.00        0      0.00             0              0      0.00                  0

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                                                               Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                               For Property: HomeWood Suites Houston Clear Lake
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                   Description            YTD         % / POR       YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                      Cost of Goods Sold



            0         0.00            0       0.00         0             0        0.00             0 Total COGS- Beverage                           0        0.00        0       0.00             0              0       0.00                  0


                                                                                                      Beverage Payroll

            0         0.00            0      0.00          0            0         0.00            0 Total Beverage Payroll                         0        0.00         0      0.00              0              0      0.00                   0


                                                                                                      Operating Expenses- Beverage



            0         0.00            0      0.00          0            0         0.00            0 Total Operating- Beverage                      0        0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0            0         0.00            0 Total Beverage Costs                           0        0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0            0         0.00            0 Net Income- Beverage                           0        0.00         0      0.00              0              0      0.00                   0

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                                                              Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                              For Property: HomeWood Suites Houston Clear Lake
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                 Description              YTD        % / POR       YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                                Budget             Bud Var         Year                         Var
                                                                                                     FOOD STATS




            0         0.00            0      0.00         0            0         0.00            0 Total Food Covers                              0        0.00        0      0.00             0              0      0.00                   0

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                                                                 Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                                 For Property: HomeWood Suites Houston Clear Lake
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual        % / POR      Budget       % / POR     Act vs    Last Year     % / POR     Act vs LY                    Description           YTD         % / POR       YTD     % / POR     Act vs        YTD Last       % / POR       Act vs LY
                                                       Bud Var                                    Var                                                                 Budget                Bud Var         Year                           Var
                                                                                                        TELECOM
                                                                                                        TELEPHONE REVENUES

             0         0.00            0        0.00         0            12        0.00           -12 Local                                         13        0.00         0       0.00             13             41       0.00                     -28

             0         0.00         22          0.00       -22             3        0.00            -3 Long Distance                                 21        0.00      264        0.00         -243              231       0.00                    -210

            20         0.00         93          0.00       -73           129        0.00          -109 Internet Access Fees                         609        0.00     1,116        0.00        -507          1,054          0.00                   -446



            20        0.00        115          0.00        -95          144         0.00         -124 Total Phone Revenues                          643       0.00     1,380        0.00        -737          1,326          0.00                 -683



                                                                                                        COS- Communication

        2,731          1.80      1,808          0.96       923         1,860        1.01           871 COS-Local                                 27,673        1.66    21,696        0.70       5,977         20,508          0.69               7,166

        1,169      5,904.60      1,292      1,389.25      -123         1,298    1,008.24          -129 COS-HSIA ISP                              14,796    2,430.23    15,504    1,389.25        -708         17,690      1,677.78               -2,893



       3,900          0.00       3,100         0.00        800        3,157         0.00          742 Total COS- Comm                           42,470        0.00    37,200        0.00       5,270         38,197          0.00                4,272



      -3,880          0.00      -2,985         0.00       -895        -3,014        0.00         -866 Gross Margin- Comm                        -41,827       0.00    -35,820       0.00       -6,007        -36,871         0.00              -4,956




                                                                                                        Operating Expenses

          100          0.00        100          0.00         0        -1,074        0.00         1,174 Equipment Cost                             1,150        0.00     1,200       0.00          -50          1,200         0.00                     -50

            87         0.00            0        0.00        87         1,174        0.00        -1,087 Equipment Maintenance                        993        0.00         0       0.00         993           1,174         0.00                    -181



         187          0.00        100          0.00         87          100         0.00           87 Total Operating - Comm                      2,143       0.00     1,200        0.00         943          2,374          0.00                 -231



       4,066          0.00       3,085         0.00        981        3,114         0.00          953 N.I.- Comm Dept                           43,970        0.00    37,020        0.00       6,950         39,245          0.00                4,725



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                                                               For Property: HomeWood Suites Houston Clear Lake
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs    Last Year     % / POR       Act vs LY                    Description         YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                Budget               Bud Var         Year                          Var
                                                                                                       MISCELLANEOUS DEPARTMENT
                                                                                                       MISCELLANEOUS REVENUES

             0        0.00        118         6.76      -118            53          4.84          -53 Laundry/Valet                             1,830       12.16     1,729       7.08        101           3,570        16.12               -1,740

             0        0.00            0       0.00         0           650         59.14         -650 Gift Shop Sales                               0        0.00        0        0.00             0       12,436        56.15            -12,436

          227        23.80        169         9.65        58           280         25.46          -53 Vending                                   1,443        9.59     2,470      10.11      -1,027          2,676        12.08               -1,234

             0        0.00            0       0.00         0             0          0.00            0 Pet Fees                                    325        2.16        0        0.00        325               125       0.56                   200

             0        0.00            0       0.00         0            22          2.00          -22 Interest Income                               0        0.00        0        0.00             0             44       0.20                   -44

             6        0.59            0       0.00         6             0          0.00            6 Miscellaneous                                67        0.44        0        0.00            67              0       0.00                    67

         -350       -36.71        300        17.12      -650             0          0.00         -350 Late Cancellation Income                  2,151       14.29     3,600      14.74      -1,449          1,403         6.34                   747

            0         0.00            0       0.00         0             0          0.00            0 Smoking Fee                                 525        3.49        0        0.00        525               150       0.68                   375

            71        7.42        150         8.56       -79            94          8.56          -23 Tax Discounts Earned                        682        4.53     1,800       7.37      -1,118          1,745         7.88               -1,063

        1,000       104.89      1,015        57.92       -15             0          0.00        1,000 Market Sales                              8,030       53.35    14,818      60.69      -6,788                0       0.00               8,030



         954       100.00       1,753       100.00      -799        1,100         100.00        -146 Total Miscellaneous Revenues             15,052      100.00    24,416      100.00      -9,364        22,150        100.00             -7,098



                                                                                                       COSales- Miscellaneous

             0        0.00        107        90.00      -107            48         91.02          -48 COS-Laundry/Valet                         1,636       89.38     1,556      90.00            80        3,402        95.29               -1,766

             0        0.00            0       0.00         0           285         43.87         -285 COS-Gift Shop                                33        0.00        0        0.00            33        7,707        61.97               -7,674

          253        25.31        508        50.00      -254             0          0.00         253 COS- Market                                2,998       37.33     7,409      50.00      -4,411                0       0.00               2,998



         253         26.55       614         35.04      -361          334          30.35         -81 Total COS- Miscellaneous                   4,666      31.00     8,965       36.72      -4,298        11,109         50.15             -6,443



             0        0.00        200       100.00      -200             0          0.00            0 Banquet Room Rental                       2,869      100.00     9,600     100.00      -6,731          6,590       100.00               -3,721

            0         0.00       200        100.00      -200            0           0.00            0 Total Meeting Room Revenues               2,869     100.00     9,600      100.00      -6,731         6,590        100.00             -3,721


                                                                                                       Cost of Sales- Meeting Room



         700         73.45      1,339        76.37      -638          766          69.65         -66 Total Miscellaneous Profit               13,255       88.06    25,051      102.60     -11,796        17,631         79.60             -4,376

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                                                                Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
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                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                     Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                       ADMIN & GENERAL DEPARTMENT
                                                                                                       ADMIN & GENERAL

                                                                                                       P/R & Related Benefits- A&G

        4,765         3.14      6,386         3.39     -1,621         5,294         2.88         -529 General Manager                           37,816        2.26    73,932       2.38     -36,116         75,152         2.51            -37,336

        3,662         2.41      3,787         2.01       -125         3,139         1.71          523 Assistant General Manager                 40,718        2.44    44,596       1.44      -3,878         42,215         1.41               -1,497

          557         0.37        783         0.42       -226           736         0.40         -178 Payroll Taxes                              5,686        0.34     9,742       0.31      -4,056          9,810         0.33               -4,124

          505         0.33      1,155         0.61       -650         2,558         1.39       -2,053 Employee Benefits                         11,210        0.67    13,860       0.45      -2,650         12,249         0.41               -1,039

        1,891         1.25            0       0.00      1,891             0         0.00        1,891 Vacation /PTO                             11,120        0.67         0       0.00      11,120          5,091         0.17               6,029

          343         0.23            0       0.00       343            895         0.49         -552 Holiday                                    1,872        0.11         0       0.00       1,872          2,894         0.10               -1,022

             0        0.00            0       0.00          0             0         0.00            0 Bonus/Incentive Pay                        1,836        0.11     7,988       0.26      -6,152          6,872         0.23               -5,036



      11,724          7.73     12,111         6.42      -387        12,622          6.87         -898 Total P/R & R/B- A&G                    110,257         6.60   150,118       4.83     -39,861       154,283          5.16            -44,026


                                                                                                       Operating Expenses- A&G

          414         0.27      2,825         1.50     -2,411         1,488         0.81       -1,074 Employee Relations                         1,102        0.07     6,725       0.22      -5,623          6,849         0.23               -5,746

        4,000         2.64      2,000         1.06      2,000         2,000         1.09        2,000 Accounting Fees                           26,000        1.56    24,000       0.77       2,000         24,000         0.80               2,000

          825         0.54      3,058         1.62     -2,233         3,549         1.93       -2,724 Data Processing                           16,282        0.97    16,988       0.55        -706         18,218         0.61               -1,936

            96        0.06        100         0.05         -4           228         0.12         -132 Office Supplies                            2,090        0.13     2,600       0.08        -510          4,733         0.16               -2,643

            50        0.03         95         0.05        -45            95         0.05          -45 Muzak                                        893        0.05     1,140       0.04        -247          1,140         0.04                   -246

          669         0.44        300         0.16       369          1,197         0.65         -528 Travel & Lodging                           4,324        0.26     6,800       0.22      -2,476          9,342         0.31               -5,019

             0        0.00            0       0.00          0          -191        -0.10          191 Meals and Entertainment                        0        0.00         0       0.00             0              0       0.00                     0

             0        0.00         75         0.04        -75            75         0.04          -75 Telephone                                    113        0.01       900       0.03        -787              675       0.02                   -562

             0        0.00            0       0.00          0             0         0.00            0 Licenses and Permits                       2,588        0.15     2,445       0.08         143          3,055         0.10                   -467

            45        0.03         34         0.02        11            188         0.10         -144 Postage                                      326        0.02       494       0.02        -168              949       0.03                   -623

             0        0.00         50         0.03        -50             0         0.00            0 Recruitment                                  657        0.04     1,300       0.04        -643              973       0.03                   -316

             0        0.00        180         0.10       -180           400         0.22         -400 Employment Screening/ Drug Testing         1,001        0.06     2,160       0.07      -1,159          2,167         0.07               -1,167

             0        0.00            0       0.00          0           643         0.35         -643 Training                                   2,363        0.14     1,750       0.06        613           1,164         0.04               1,199

          160         0.11        165         0.09         -5           160         0.09            0 Dues/Subscriptions                         2,548        0.15     3,967       0.13      -1,419          2,956         0.10                   -408

        5,760         3.80      5,319         2.82       441          7,038         3.83       -1,278 Credit Card Commissions                   43,987        2.63    87,656       2.82     -43,669         86,932         2.91            -42,944

       -4,239        -2.79            0       0.00     -4,239          -457        -0.25       -3,783 Cash Over/Short                            8,987        0.54         0       0.00       8,987         -2,748        -0.09             11,735

         -283        -0.19        156         0.08       -439           156         0.08         -438 Equipment Rental                           1,350        0.08     1,872       0.06        -522          1,983         0.07                   -632

          250         0.16        350         0.19       -100           452         0.25         -203 Payroll Services                           4,128        0.25     5,605       0.18      -1,477          5,952         0.20               -1,824

        1,038         0.68      1,400         0.74       -362         1,362         0.74         -323 Bank Charges                              13,155        0.79    16,800       0.54      -3,645         16,818         0.56               -3,663

             0        0.00            0       0.00          0         2,311         1.26       -2,311 Chargebacks                                  -834      -0.05         0       0.00        -834          4,337         0.15               -5,171

          667         0.44        892         0.47       -225         1,190         0.65         -523 Workers Comp Insurance                     6,818        0.41    11,536       0.37      -4,718         11,454         0.38               -4,637



       9,451          6.23     16,999         9.02     -7,548       21,885         11.92      -12,433 Total Operating- A&G                    137,880         8.25   194,738       6.27     -56,858       200,950          6.72            -63,070



      21,176         13.96     29,111        15.44     -7,935       34,507         18.79      -13,331 Total Expenses- A&G                     248,136        14.84   344,856      11.10     -96,719       355,233         11.88          -107,096

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                                                     Bud Var                                     Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                       SALES DEPARTMENT
                                                                                                       SALES

                                                                                                       P/R & R/B

        4,107         2.71      5,249         2.78     -1,142         1,302        0.71         2,805 Director of Sales                         45,020        2.69    60,620       1.95     -15,600         36,321         1.21               8,699

            0         0.00            0       0.00         0             16        0.01           -16 Sales Manager                                 65        0.00         0       0.00            65            181       0.01                   -117

          358         0.24        861         0.46       -502           768        0.42          -410 Revenue Management                         5,469        0.33    10,328       0.33      -4,859          9,515         0.32               -4,047

            0         0.00        172         0.09       -172             0        0.00             0 E Commerce Management                        516        0.03     2,066       0.07      -1,549                0       0.00                   516

          344         0.23        358         0.19        -14           103        0.06           242 Payroll Taxes                              3,541        0.21     4,367       0.14        -826          3,015         0.10                   526

          660         0.44      1,328         0.70       -668             0        0.00           660 Employee Benefits                          5,017        0.30    15,936       0.51     -10,919          9,046         0.30               -4,029

          155         0.10            0       0.00       155              0        0.00           155 Vacation / PTO                             1,727        0.10         0       0.00       1,727          3,269         0.11               -1,542

          385         0.25            0       0.00       385              0        0.00           385 Holiday                                    1,327        0.08         0       0.00       1,327              654       0.02                   673

            0         0.00            0       0.00          0             0        0.00             0 Bonus/Incentive Pay                          196        0.01     3,600       0.12      -3,404          2,108         0.07               -1,912



       6,010          3.96      7,968        4.23      -1,958        2,189         1.19        3,821 Total P/R & R/B- Sales                    62,877        3.76     96,917      3.12      -34,039        64,108         2.14              -1,231


                                                                                                       Operating Expenses- Sales

            0         0.00         25         0.01        -25             0        0.00             0 Printing & Stationary                          0        0.00       300       0.01        -300              121       0.00                   -121

            0         0.00         25         0.01        -25             0        0.00             0 Office Supplies                               18        0.00       300       0.01        -282              914       0.03                   -896

            0         0.00         50         0.03        -50           132        0.07          -132 Travel & Lodging                             721        0.04     3,700       0.12      -2,979          2,240         0.07               -1,518

            0         0.00         50         0.03        -50             0        0.00             0 Meals & Entertainment                          0        0.00       600       0.02        -600              284       0.01                   -284

            0         0.00        100         0.05       -100           100        0.05          -100 Promotions                                   118        0.01     1,200       0.04      -1,082          2,653         0.09               -2,535

            0         0.00         50         0.03        -50             0        0.00             0 Telephone                                      0        0.00       600       0.02        -600              300       0.01                   -300

            0         0.00            0       0.00          0             0        0.00             0 Postage                                        0        0.00         0       0.00             0              9       0.00                     -9

            0         0.00            0       0.00          0            11        0.01           -11 Sales Training                             1,787        0.11     2,000       0.06        -213              261       0.01               1,526

          132         0.09            0       0.00       132           -798        -0.43          930 Dues & Subscriptions                      10,065        0.60     6,120       0.20       3,945          5,130         0.17               4,934

            0         0.00            0       0.00          0           -21        -0.01           21 Trade Show                                     0        0.00         0       0.00             0              0       0.00                     0

            0         0.00            0       0.00          0           200        0.11          -200 e Commerce Costs                               0        0.00         0       0.00             0        2,873         0.10               -2,873

          500         0.33        601         0.32       -101           839        0.46          -339 Brand Paid Search                          7,144        0.43    11,595       0.37      -4,451          8,496         0.28               -1,352

            0         0.00            0       0.00         0              0        0.00             0 Internet Advertising                           0        0.00         0       0.00             0            500       0.02                -500

            0         0.00            0       0.00          0             0        0.00             0 Magazine Advertising                           0        0.00         0       0.00             0             60       0.00                    -60

            0         0.00            0       0.00          0             0        0.00             0 Program Costs                                  0        0.00       725       0.02        -725                0       0.00                     0

            0         0.00            0       0.00          0             0        0.00             0 Collateral                                     0        0.00         0       0.00             0             25       0.00                    -25



         632          0.42       901         0.48       -269           463         0.25          169 Total Operating- Sales                    19,853        1.19     27,140      0.87       -7,287        23,867         0.80              -4,014



       6,642          4.38      8,869        4.70      -2,227        2,653         1.44        3,989 Total Expenses-Sales                      82,731        4.95    124,057      3.99      -41,326        87,976         2.94              -5,245

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                                                     Bud Var                                     Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                       MAINTENANCE DEPARTMENT
                                                                                                       REPAIRS & MAINTENANCE
                                                                                                       P/R & Related Expenses- Maintenance

             0        0.00      4,374         2.59     -4,374         3,620         2.17       -3,620 Chief Engineer                              17,533         1.01    50,392       2.04     -32,859         47,792         1.97            -30,259

             0        0.00            0       0.00          0             0         0.00            0 Asst Engineer                                     21       0.00         0       0.00            21              0       0.00                    21

             0        0.00        852         0.50       -852             0         0.00            0 General Maintenance                              226       0.01    10,057       0.41      -9,831                0       0.00                   226

             0        0.00        397         0.23       -397           315         0.19         -315 Payroll Taxes                                1,554         0.09     4,594       0.19      -3,040          3,874         0.16               -2,320

             0        0.00        961         0.57       -961        -4,355        -2.61        4,355 Employee Benefits                            2,097         0.12    11,532       0.47      -9,435          5,992         0.25               -3,895

             0        0.00            0       0.00          0             0         0.00            0 Holiday                                            0       0.00         0       0.00             0            745       0.03                -745

             0        0.00            0       0.00          0             0         0.00            0 Vacation /PTO                                    550       0.03         0       0.00        550           1,562         0.06               -1,012



            0         0.00      6,584        3.89      -6,584         -421         -0.25         421 Total P/R & Related Expenses- Maintenance    21,981        1.26     76,575      3.10      -54,594        59,965         2.47             -37,984


                                                                                                       Operating Expenses- R & M

          173         0.09         34         0.02       139              0         0.00          173 Laundry Equipment                            1,513         0.09       494       0.02       1,019              191       0.01               1,323

            13        0.01        271         0.16       -258            60         0.04          -47 Building Maintenance                         1,476         0.08     3,951       0.16      -2,476          3,083         0.13               -1,608

             0        0.00        102         0.06       -102           120         0.07         -120 Light Bulbs                                      242       0.01     1,482       0.06      -1,240          1,791         0.07               -1,549

             0        0.00        102         0.06       -102            16         0.01          -16 Electrical & Mechanical                          916       0.05     1,482       0.06        -566          1,451         0.06                   -535

             0        0.00        389         0.23       -389           179         0.11         -179 HVAC                                         3,798         0.22     5,680       0.23      -1,882          4,828         0.20               -1,029

            52        0.03        423         0.25       -371           232         0.14         -180 Plumbing & Boiler                            2,440         0.14     6,174       0.25      -3,734         10,958         0.45               -8,518

        1,035         0.54        750         0.44       285            637         0.38          398 Pool                                         9,477         0.54     9,000       0.36        477           9,064         0.37                   413

          974         0.50        975         0.58         -1           974         0.58            0 Grounds & Landscaping                        8,606         0.49    12,700       0.51      -4,094         12,760         0.53               -4,154

             0        0.00         34         0.02        -34             0         0.00            0 Signage                                            9       0.00       494       0.02        -485              546       0.02                   -538

             0        0.00        118         0.07       -118             0         0.00            0 Furniture & Fixtures                               0       0.00     1,729       0.07      -1,729          1,569         0.06               -1,569

             0        0.00         34         0.02        -34             0         0.00            0 Painting                                          63       0.00       494       0.02        -431              496       0.02                   -433

             0        0.00            0       0.00          0             0         0.00            0 Carpet & Floor                                   157       0.01     4,750       0.19      -4,593                0       0.00                   157

             0        0.00         50         0.03        -50             0         0.00            0 Kitchen Equipment                                 65       0.00       600       0.02        -535              971       0.04                   -906

             0        0.00         25         0.01        -25            20         0.01          -20 Locks & Keys                                     237       0.01       300       0.01         -63              895       0.04                   -658

             0        0.00        125         0.07       -125             0         0.00            0 Radio & TV                                         0       0.00     1,500       0.06      -1,500                0       0.00                     0

          609         0.32        216         0.13       393            217         0.13          392 Exterminating                                4,433         0.25     2,592       0.10       1,841          2,594         0.11               1,840

             0        0.00            0       0.00          0             0         0.00            0 License & Permits                                300       0.02         0       0.00        300                 0       0.00                   300

        5,490         2.84        224         0.13      5,266         2,568         1.54        2,923 Fire & Safety                               19,098         1.10     4,166       0.17      14,932          8,843         0.36             10,255

        3,813         1.98      3,669         2.17       144          3,099         1.86          714 Elevator                                     7,571         0.43     7,338       0.30         233         11,017         0.45               -3,445



      12,159          6.30      7,540        4.46      4,619         8,122         4.87        4,037 Total Operating - R & M                      60,402        3.47     64,925      2.63       -4,523        71,057         2.93             -10,654



      12,159          6.30     14,124        8.35      -1,965        7,701         4.61        4,459 Total Expenses- R & M                        82,384        4.73    141,501      5.73      -59,117       131,022         5.40             -48,638

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                                                              Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                              For Property: HomeWood Suites Houston Clear Lake
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year     % / POR     Act vs LY                    Description           YTD         % / POR       YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                     Var                                                                 Budget               Bud Var       Year                        Var
                                                                                                     UTILITIES DEPARTMENT
                                                                                                     UTILITIES EXPENSE

        3,009         1.56      3,787       2.24       -778         5,011        3.00        -2,001 Electricity                               49,373        2.83    54,810       2.22      -5,437       54,341       2.24               -4,968

          536         0.28      1,114       0.66       -578         1,022        0.61          -487 Gas                                        6,457        0.37    11,542       0.47      -5,085       16,354       0.67               -9,897

        1,038         0.54        833       0.49       205            954        0.57            84 Water & Sewer                              9,838        0.56    10,817       0.44        -979       11,200       0.46               -1,362

          318         0.16        750       0.44       -432           436        0.26          -118 Waste Removal                              6,187        0.36     9,000       0.36      -2,814        7,412       0.31               -1,226



       4,900          2.54      6,484      3.83      -1,584        7,423         4.45        -2,522 Total Expenses- Utilities                71,855        4.12    86,169       3.49      -14,314      89,308       3.68             -17,453

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                                                                For Property: HomeWood Suites Houston Clear Lake
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description        YTD         % / POR       YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget               Bud Var       Year                          Var
                                                                                                       FRANCHISE DEPARTMENT
                                                                                                       FRANCHISE FEES

        8,292         5.50      10,277        5.51     -1,985        10,038         5.50       -1,746 Franchise Fees/ Royalties                 91,285        5.52   169,212       5.51     -77,926      162,934         5.50            -71,649

        5,277         3.50       6,540        3.51     -1,263         6,388         3.50       -1,111 Advertising                               58,091        3.51   107,680       3.50     -49,590      103,779         3.50            -45,689

        2,971         1.97       4,061        2.18     -1,090         8,806         4.83       -5,835 Frequent Traveler                         35,655        2.16    59,270       1.93     -23,615       68,987         2.33            -33,332

            0         0.00            0       0.00          0             0         0.00            0 Brand Guest Fees                             120        0.01         0       0.00         120            300       0.01                   -180



      16,540         10.97     20,878        11.19     -4,338       25,232         13.83       -8,692 Total Franchise Fees Expense            185,151       11.20    336,162      10.94    -151,011     336,000         11.35          -150,849

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                                                                Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                                For Property: HomeWood Suites Houston Clear Lake
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR     Act vs LY                  Description             YTD         % / POR       YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget               Bud Var       Year                          Var
                                                                                                       MANAGEMENT FEES
        3,793         2.50      4,716         2.50       -923         4,590        2.50          -797 Management Fees                           41,795        2.50    77,709       2.50     -35,914       74,747         2.50            -32,952

       11,009         7.26            0       0.00     11,009             0        0.00        11,009 Management Fees- Owner                    26,222        1.57        0        0.00      26,222              0       0.00             26,222



      14,802          9.76      4,716        2.50     10,087         4,590         2.50       10,212 Total Management Fees Expense             68,017        4.07    77,709       2.50       -9,692      74,747         2.50              -6,730



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                                                                Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                                For Property: HomeWood Suites Houston Clear Lake
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                    Description         YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                Budget               Bud Var         Year                          Var
                                                                                                        FIXED EXPENSES
       30,960        20.40      30,961       16.42         0         30,059         16.37          901 Ground Lease                            368,822       22.06   367,018      11.81       1,804        358,079        11.98             10,742

       13,017         8.58       7,537        4.00      5,480      -124,276        -67.69      137,292 FF & E Reserve                          156,201        9.34   123,951       3.99      32,250                0       0.00            156,201

       20,496        13.51      20,496       10.87         0         13,633          7.43        6,862 Real Estate Tax                         245,946       14.71   245,946       7.92             0      230,444         7.71             15,502

            0         0.00            0       0.00         0              0          0.00            0 Personal Property Tax                       128        0.01         0       0.00        128               197       0.01                   -69

        4,451         2.93       3,701        1.96       750          3,536          1.93          915 Insurance                                45,977        2.75    44,327       1.43       1,650         42,390         1.42               3,587



      68,923         45.43     62,694        33.26     6,229        -77,048        -41.96     145,971 TOTAL FIXED EXPENSES                    817,074       48.87    781,242      25.14     35,831        631,111         21.11           185,963

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                                                                Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                                For Property: HomeWood Suites Houston Clear Lake
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                     Description         YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                     Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                       TOTAL OTHER
        5,500         3.62            0       0.00      5,500           350         0.19        5,150 Owners Expense                            59,337        3.55         0       0.00      59,337         36,878         1.23             22,459

       56,458        37.21            0       0.00     56,458        37,653        20.51       18,805 Depreciation                             677,496       40.53         0       0.00     677,496        658,691        22.03             18,805

        2,412         1.59            0       0.00      2,412         2,862         1.56         -450 Amortization Expense                      28,944        1.73         0       0.00      28,944         29,394         0.98                   -450

       25,733        16.96      25,733       13.65         0         25,466        13.87          267 Interest Expense                         307,631       18.40   308,122       9.92        -491        307,596        10.29                    35

       12,171         8.02       1,886        1.00     10,285         1,836         1.00       10,335 Asset Management Fee                      16,718        1.00    31,084       1.00     -14,366         29,899         1.00            -13,181

            0         0.00            0       0.00         0              0         0.00            0 Non Operating Income                         -46        0.00         0       0.00         -46                0       0.00                    -46

            0         0.00            0       0.00         0              0         0.00            0 Extraordinary Expenses                     3,313        0.20         0       0.00       3,313                0       0.00               3,313

            0         0.00            0       0.00         0          4,288         2.34       -4,288 GB 1 YE AJE                                    0        0.00         0       0.00             0        4,288         0.14               -4,288

            0         0.00            0       0.00         0         15,705         8.55      -15,705 GB- 2 R&M/Capex AJE                            0        0.00         0       0.00             0       15,705         0.53            -15,705



     102,274         67.41     27,619        14.65    74,655        88,160         48.02      14,114 Total Other                             1,093,392      65.40    339,206      10.92    754,187       1,082,451        36.21             10,941

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                                                               Company: 401 Bay Area Clear Lake dba HWS Clear Lake Property: HomeWood Suites Houston Clear Lake
                                                               For Property: HomeWood Suites Houston Clear Lake
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                   Description            YTD         % / POR       YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                                 Budget              Bud Var         Year                          Var
                                                                                                      House Laundry Dept




            0         0.00            0      0.00          0            0         0.00            0 Total P/R & Benefits- Ldy                      0        0.00         0      0.00              0              0      0.00                    0


                                                                                                      Operating Expenses




            0         0.00            0      0.00          0            0         0.00            0 Total Operating Expenses- Ldy                  0        0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0        0.00             0 Total Laundry Expenses                         0        0.00        0       0.00             0              0       0.00                   0



                                                                                                      Allocation




            0         0.00            0      0.00          0            0         0.00            0 Total Allocation                               0        0.00         0      0.00              0              0      0.00                    0



            0                         0                    0            0                         0 Total Lndry Dept                               0                     0                        0              0                              0



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                                                                         Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                         For Property: HWS Phoenix
                                                                         00- Master P&L-CAPSTONE
                                                                         As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                     Description         YTD            % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                        Var                                                                 Budget                Bud Var         Year                       Var
                                                                                                      SUMMARY

    3,906                    3,906                      0        3,906                            0 Total Rooms Available                      46,116                 46,116                        0       45,990                           126

    1,480                    3,213                 -1,733        2,976                        -1,496 Total Rooms Sold                          22,630                 38,544                 -15,914        37,163                     -14,533

 37.89%                   82.26%                 -44.37%      76.19%                        -38.30% Occupancy %                           49.07%                    83.58%                  -34.51%        80.81%                     -31.73%

   93.20                    90.89                    2.31       91.90                          1.30 Average Rate                           108.63                    101.23                    7.40         100.63                          8.00

   35.31                    74.76                  -39.45       70.02                         -34.70 REVPAR                                    53.31                  84.61                   -31.30         81.32                      -28.01




                                                                                                      REVENUES

  137,938        96.42     292,021       97.81   -154,083      273,490         98.28        -135,552 ROOMS                               2,458,287         97.39   3,901,895      98.03   -1,443,608      3,739,788       97.85      -1,281,501

         0        0.00            0       0.00          0           0           0.00              0 FOOD                                           0        0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0           0           0.00              0 BEVERAGE                                       0        0.00           0       0.00             0              0       0.00                0

    5,116         3.58       6,530        2.19     -1,414        4,794          1.72            322 MISCELLANEOUS                              66,005       2.61      78,348       1.97      -12,344        82,036         2.15        -16,031



 143,054       100.00     298,551       100.00   -155,497     278,284        100.00         -135,230 TOTAL REVENUES                     2,524,291         100.00   3,980,243     100.00   -1,455,952     3,821,823       100.00     -1,297,532




                                                                                                      DEPARTMENT EXPENSES

   38,354        27.81      96,661       33.10    -58,307       91,605         33.50         -53,251 ROOMS EXPENSE                         545,362         22.18   1,142,639      29.28     -597,276      1,028,673       27.51       -483,310

         0        0.00            0       0.00          0           0           0.00              0 FOOD EXPENSE                                   0        0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0           0           0.00              0 BEVERAGE EXPENSE                               0        0.00           0       0.00             0              0       0.00                0

    1,200        23.47       1,554       23.81       -354        2,169         45.25            -969 MISCELLANEOUS EXPENSE                     13,666      20.70      18,648      23.80       -4,982        26,545        32.36        -12,879



  39,554        27.65      98,215        32.90    -58,661      93,775         33.70          -54,220 TOTAL DEPARTMENTAL EXPENSES          559,028          22.15   1,161,287      29.18    -602,259      1,055,217        27.61       -496,189



                                                                                                      DEPARTMENTAL PROFIT

   99,584        72.19     195,360       66.90    -95,776      181,884         66.50         -82,300 ROOMS PROFIT                        1,912,925         77.82   2,759,256      70.72     -846,331      2,711,115       72.49       -798,190

         0        0.00            0       0.00          0           0           0.00              0 FOOD PROFIT                                    0        0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0           0           0.00              0 BEVERAGE PROFIT                                0        0.00           0       0.00             0              0       0.00                0

    3,915        76.53       4,975       76.19     -1,060        2,625         54.75           1,291 MISCELLANEOUS PROFIT                      52,338      79.30      59,700      76.20       -7,362        55,491        67.64            -3,152



 103,499        72.35     200,336        67.10    -96,836     184,509         66.30          -81,010 TOTAL DEPARTMENTAL PROFIT          1,965,263          77.85   2,818,956      70.82    -853,693      2,766,606        72.39       -801,343



   30,649        21.43      29,210        9.78      1,440       42,383         15.23         -11,733 A & G EXPENSE                         315,589         12.50     355,630       8.93      -40,041       380,343         9.95        -64,755

    2,034         1.42       1,949        0.65         85        2,401          0.86            -367 TELECOM                                   24,866       0.99      23,388       0.59        1,478        24,279         0.64              587

    9,168         6.41       9,270        3.11       -102       14,570          5.24          -5,402 SALES & MARKETING EXPENSES            112,548          4.46     120,979       3.04       -8,432       102,488         2.68         10,060

   15,882        11.10      33,697       11.29    -17,815       26,756          9.61         -10,874 FRANCHISE FEES                        283,394         11.23     450,212      11.31     -166,819       436,046        11.41       -152,652

    9,963         6.96      14,573        4.88     -4,610       17,013          6.11          -7,050 MAINTENANCE EXPENSES                      96,235       3.81     184,422       4.63      -88,187       199,491         5.22       -103,256

   13,350         9.33      14,630        4.90     -1,280       15,701          5.64          -2,351 UTILITIES EXPENSE                     196,367          7.78     226,635       5.69      -30,268       216,263         5.66        -19,897



  81,045        56.65     103,329        34.61    -22,284     118,823         42.70          -37,778 TOTAL ADMIN EXPENSES               1,028,999          40.76   1,361,267      34.20    -332,269      1,358,911        35.56       -329,913



  22,454        15.70      97,007        32.49    -74,553      65,686         23.60          -43,231 HOUSE PROFIT                         936,265          37.09   1,457,689      36.62    -521,424      1,407,694        36.83       -471,430



                                                                                                      FIXED EXPENSES

   14,580        10.19       7,470        2.50      7,110        6,957          2.50           7,623 MANAGEMENT FEES                           89,351       3.54      99,579       2.50      -10,228        95,573         2.50            -6,222

   43,918        30.70      47,281       15.84     -3,364      -82,318        -29.58         126,235 FIXED EXPENSES                        517,613         20.51     565,613      14.21      -48,001       396,555        10.38        121,057
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     -36,043        -25.20   42,256   14.15    -78,299   141,046   50.68   -177,090 NET OPERATING INCOME                    329,301    13.05    792,497   19.91   -463,196   915,566   23.96          -586,265



       91,811        64.18   35,486   11.89     56,325    80,630   28.97     11,181 Other                                    941,898    37.31   429,812   10.80    512,086   950,468   24.87              -8,570



    -127,855        -89.38    6,770    2.27   -134,624    60,416   21.71   -188,270 N.I. after Other                        -612,597   -24.27   362,685    9.11   -975,282   -34,901   -0.91          -577,696



     -86,069                  6,770            -92,838    96,427           -182,495 Cash before Depreciation/Amortization   -111,165            362,685           -473,850   460,756                  -571,921

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                                                                          For Property: HWS Phoenix
                                                                          00- Master P&L-CAPSTONE
                                                                          As of 12/31/2020

Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                        Description       YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                  Bud Var                                        Var                                                                 Budget                Bud Var         Year                       Var
                                                                                                       ROOMS DEPARTMENT
                                                                                                       ROOMS REVENUE

   32,416         23.50     118,524       40.59    -86,108       90,816         33.21         -58,400 Rack/ Premium                          718,662        29.23   1,320,666      33.85     -602,004      1,280,249       34.23       -561,587

   48,355         35.06      14,779        5.06     33,576       50,592         18.50          -2,237 Corporate                              615,509        25.04     327,876       8.40      287,633       451,966        12.09        163,543

   55,106         39.95     102,813       35.21    -47,707       66,389         24.27         -11,282 Discounts - Other                      711,550        28.94     977,978      25.06     -266,428      1,047,786       28.02       -336,236

          0        0.00            0       0.00          0       25,112          9.18         -25,112 Government                             102,293         4.16     278,536       7.14     -176,243       279,100         7.46       -176,808

     897           0.65      48,194       16.50    -47,297        1,342          0.49            -445 Locally Negotiated Rate                   23,815       0.97     661,336      16.95     -637,521       272,548         7.29       -248,733

     -577         -0.42            0       0.00       -577       -1,479         -0.54             902 Allowances                                -5,694      -0.23           0       0.00       -5,694        -15,491       -0.41            9,797



 136,197         98.74     284,310        97.36   -148,113     232,772         85.11          -96,575 Total Transient Revenue              2,166,134        88.12   3,566,392      91.40   -1,400,257     3,316,158        88.67     -1,150,024



          0        0.00            0       0.00          0       21,870          8.00         -21,870 Crew (Air)                             125,270         5.10       1,505       0.04      123,765       145,598         3.89        -20,328



          0        0.00            0       0.00          0       21,870          8.00         -21,870 Total Base Revenues                    125,270         5.10       1,505       0.04      123,765       145,598         3.89        -20,328



    1,008          0.73       7,711        2.64     -6,703       14,764          5.40         -13,756 Group- Corporate                       153,564         6.25     333,997       8.56     -180,433       243,336         6.51        -89,772



   1,008          0.73       7,711         2.64     -6,703      14,764           5.40         -13,756 Total Group Revenue                   153,564          6.25    333,997        8.56    -180,433       243,336          6.51        -89,772



     733           0.53            0       0.00        733        4,084          1.49          -3,351 Guaranteed No-Show                        13,318       0.54           0       0.00       13,318        34,695         0.93        -21,377



 137,938        100.00     292,021       100.00   -154,083     273,490        100.00         -135,552 Total Rooms Revenue                  2,458,287       100.00   3,901,895     100.00   -1,443,608     3,739,788       100.00     -1,281,501



                                                                                                       ROOM STATISTICS

     284            19         996           31       -712         871             29            -587 Rack/ Premium Rooms                        5,926         26      10,511         27       -4,585        10,295           28            -4,369

     499            34         161            5        338         578             19             -79 Corporate Rooms                            5,201         23       2,813          7        2,388         4,197           11            1,004

     672            45        1,285          40       -613         821             28            -149 Discounts - Other Rooms                    7,686         34       9,738         25       -2,052        10,579           28            -2,893

          0          0             0          0          0         172              6            -172 Government Rooms                            713           3       2,152          6       -1,439         2,053            6            -1,340

         13          1         643           20       -630          17              1              -4 Locally Negotiated Corporate Rooms          302           1      10,042         26       -9,740         5,036           14            -4,734



   1,468            99       3,084          96      -1,616       2,459            83             -991 Total Transient Stats                  19,828           88      35,256         91      -15,428         32,160          87         -12,332



          0          0             0          0          0         416             14            -416 Crew (Air) Stats                           1,740          8          26          0        1,714         2,790            8            -1,050



          0          0             0         0          0          416            14             -416 Total Crew Stats                          1,740          8          26          0        1,714          2,790           8          -1,050



         12          1         129            4       -117         101              3             -89 Group- Corporate Rooms                     1,062          5       3,261          8       -2,199         2,213            6            -1,151



         12          1         129           4       -117          101             3              -89 Total Group Stats                         1,062          5       3,261          8        -2,199         2,213           6          -1,151



   1,480           100       3,213         100      -1,733       2,976           100           -1,496 TOTAL ROOM STATISTICS                  22,630          100      38,544        100      -15,914         37,163         100         -14,533



                                                                                                       Other Room Stats

         14          1             0          0         14           7              0               7 Comp Rooms                                   72           0           0          0            72            78           0                -6

          2          0             0          0          2           0              0               2 House Use Rooms                               2           0           0          0             2              0          0                2

     868            59             0          0        868        1,205            40            -337 Multiple Occupancy                        10,947         48           0          0       10,947        12,496           34            -1,549

          0          0             0          0          0           0              0               0 GNS Stats                                     0           0           0          0             0              2          0                -2

     633            43             0          0        633         179              6             454 Out of Order Rooms                        11,684         52           0          0       11,684         1,453            4         10,231
                                      Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 340 of 541
        2,824          191   0   0   2,824   4,823   162   -1,999 # of Guests     39,576   175   0        0   39,576   56,105   151             -16,529



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                                                                          Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                          For Property: HWS Phoenix
                                                                          00- Master P&L-CAPSTONE
                                                                          As of 12/31/2020

   Actual       % / POR    Budget       % / POR   Act vs     Last Year      % / POR     Act vs LY                       Description       YTD            % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                  Bud Var                                       Var                                                                Budget              Bud Var         Year                         Var
                                                                                                      ADR



       114.14                 119.00                 -4.86       104.27                         9.87 Rack/Premium ADR                           121.27              125.65                 -4.38         124.36                              -3.08

        96.90                  92.00                  4.91        87.53                         9.38 Corporate ADR                              118.34              116.55                  1.79         107.69                              10.66

            0                       0                   0            0                             0 Contract - Airline ADR                         0                   0                        0              0                               0

        82.00                  80.00                  2.01        80.86                         1.14 Discount ADR                                92.58              100.43                 -7.85          99.04                              -6.47

         0.00                   0.00                  0.00         0.00                         0.00 Distressed Passengers ADR                    0.00                0.00                  0.00           0.00                               0.00

            0                       0                   0            0                             0 AARP ADR                                       0                   0                        0              0                               0

         0.00                   0.00                  0.00       146.00                      -146.00 Government ADR                             143.47              129.41                 14.06         135.95                               7.52

         0.00                   0.00                  0.00         0.00                         0.00 AAA ADR                                      0.00                0.00                  0.00           0.00                               0.00

        69.00                  75.00                 -6.00        78.96                        -9.96 Local Negotiated ADR                        78.86               65.85                 13.00          54.12                              24.74

         0.00                   0.00                  0.00         0.00                         0.00 Packages ADR                                 0.00                0.00                  0.00           0.00                               0.00

         0.00                   0.00                  0.00         0.00                         0.00 Wholesale/FIT ADR                            0.00                0.00                  0.00           0.00                               0.00

            0                       0                   0            0                             0 Internet ADR                                   0                   0                        0              0                               0

            0                       0                   0            0                             0 Tax Exampt - Transient ADR                     0                   0                        0              0                               0



       92.78                  92.17                  0.60        94.66                        -1.88 Total Transient ADR                     109.25                 101.16                  8.09         103.11                               6.13




         0.00                   0.00                  0.00        52.57                       -52.57 Crew ADR                                    71.99               57.00                 14.99          52.19                              19.81

            0                       0                   0            0                             0 Contract ADR                                   0                   0                        0              0                               0




         0.00                   0.00                  0.00         0.00                         0.00 Group - SMERF ADR                            0.00                0.00                  0.00           0.00                               0.00

        84.00                  60.00                 24.00       146.18                       -62.18 Group - Corporate ADR                      144.60              102.41                 42.19         109.96                              34.64

            0                       0                   0            0                             0 Group - Government ADR                         0                   0                        0              0                               0

            0                       0                   0            0                             0 Group - Tour ADR                               0                   0                        0              0                               0

            0                       0                   0            0                             0 Group- Association ADR                         0                   0                        0              0                               0

            0                       0                   0            0                             0 Group - Tax Exampt ADR                         0                   0                        0              0                               0



       84.00                  60.00                 24.00       146.18                       -62.18 Total Group ADR                         144.60                 102.41                 42.19         109.96                            34.64

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                                                                           Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                           For Property: HWS Phoenix
                                                                           00- Master P&L-CAPSTONE
                                                                           As of 12/31/2020

Actual         % / POR     Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                        Description      YTD            % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                   Bud Var                                       Var                                                                  Budget                Bud Var         Year                       Var
                                                                                                       Payroll & Related Expense

    5,624          3.80        7,216        2.25     -1,592        6,785          2.28         -1,161 FD/ Guest Service Reps                     49,229       2.18      86,563       2.25     -37,334         88,023         2.37        -38,793

          0        0.00        2,774        0.86     -2,774           0           0.00              0 FD/Supervisor                               5,161       0.23      32,749       0.85     -27,588              545       0.01            4,616

          0        0.00        3,937        1.23     -3,937        1,681          0.56         -1,681 Executive Housekeeper                      31,139       1.38      45,351       1.18     -14,212         29,482         0.79            1,657

    1,925          1.30        2,434        0.76       -509        3,297          1.11         -1,371 Asst Exec Housekeeper/ Inspectress         15,038       0.66      28,735       0.75     -13,697         27,014         0.73        -11,976

    5,534          3.74       18,351        5.71    -12,817       16,155          5.43        -10,621 Housekeepers                               74,593       3.30     220,138       5.71    -145,545        181,055         4.87       -106,462

    5,625          3.80        6,777        2.11     -1,152        4,156          1.40          1,470 Housemen                                   37,064       1.64      83,526       2.17     -46,462         50,768         1.37        -13,704

    1,443          0.98        2,399        0.75       -956        3,534          1.19         -2,091 Laundry                                    15,835       0.70      28,779       0.75     -12,944         36,020         0.97        -20,185

          0        0.00        4,023        1.25     -4,023        3,536          1.19         -3,536 Comp Breakfast Hostess                     10,556       0.47      47,497       1.23     -36,941         48,696         1.31        -38,140

          0        0.00        1,523        0.47     -1,523        1,111          0.37         -1,111 Evening Social Host                         3,557       0.16      17,981       0.47     -14,424         14,792         0.40        -11,235

    3,216          2.17        3,348        1.04       -132        4,385          1.47         -1,170 Night Audit                                40,610       1.79      39,528       1.03       1,082         40,091         1.08              519

    2,064          1.39        4,083        1.27     -2,019        4,193          1.41         -2,129 Payroll Taxes                              23,879       1.06      47,175       1.22     -23,296         40,604         1.09        -16,724

         -73       -0.05        954         0.30     -1,027         -335         -0.11            262 Employee Benefits                            -427      -0.02      11,448       0.30     -11,875          9,537         0.26            -9,964

     -404          -0.27       1,251        0.39     -1,655        4,469          1.50         -4,873 Vacation /PTO                              14,673       0.65      15,012       0.39        -339         18,867         0.51            -4,194

    1,252          0.85        2,672        0.83     -1,420        1,188          0.40             64 Holiday                                     4,624       0.20       9,352       0.24      -4,728          8,966         0.24            -4,343

          0        0.00             0       0.00          0         200           0.07           -200 Bonus/Incentive Pay                            0        0.00           0       0.00             0            610       0.02             -610

     606           0.41             0       0.00       606            0           0.00            606 Contract Labor- Housekeepers               23,526       1.04           0       0.00      23,526                0       0.00         23,526



  26,813          18.12      61,742        19.22    -34,929      54,356         18.26         -27,543 Total P/R & R/Benefits- Rooms         349,058          15.42    713,834       18.52    -364,776       595,070         16.01       -246,012

                                                                                                       ROOMS DEPARTMENT
                                                                                                       OPERATING EXPENSE

          0        0.00         225         0.07       -225         180           0.06           -180 Newspapers                                   622        0.03       2,698       0.07      -2,076          2,197         0.06            -1,576

    2,408          1.63       10,442        3.25     -8,034        9,783          3.29         -7,375 Comp Breakfast                             36,336       1.61     125,268       3.25     -88,932        126,205         3.40        -89,869

          0        0.00         100         0.03       -100           0           0.00              0 Comp Breakfast- Equipment                    297        0.01       6,100       0.16      -5,803          6,708         0.18            -6,411

          0        0.00         300         0.09       -300         440           0.15           -440 Rooms- Promotion                            1,459       0.06       3,600       0.09      -2,141          2,512         0.07            -1,053

          0        0.00         418         0.13       -418         711           0.24           -711 Kitchen Furnishings                         1,152       0.05       5,011       0.13      -3,858          5,541         0.15            -4,388

          0        0.00         257         0.08       -257         737           0.25           -737 Laundry Supplies                            3,036       0.13       3,084       0.08         -47          3,651         0.10             -615

          0        0.00        1,767        0.55     -1,767        5,399          1.81         -5,399 Linen Supplies                              6,210       0.27      21,199       0.55     -14,989         23,080         0.62        -16,870

          0        0.00        2,540        0.79     -2,540        1,344          0.45         -1,344 Cable TV                                   14,054       0.62      30,480       0.79     -16,426         29,106         0.78        -15,052

     441           0.30         441         0.14          0         441           0.15              0 HSIA Support                                5,195       0.23       5,292       0.14         -97          5,292         0.14               -97

          0        0.00             0       0.00          0           0           0.00              0 Printing & Stationary                          0        0.00       5,000       0.13      -5,000                0       0.00                0

     736           0.50        1,928        0.60     -1,191       -2,332         -0.78          3,069 Reservations Expense                       11,104       0.49      23,126       0.60     -12,023         29,756         0.80        -18,652

    1,258          0.85        3,117        0.97     -1,859        3,548          1.19         -2,290 Guest Room Supplies                        17,184       0.76      37,388       0.97     -20,204         38,688         1.04        -21,504

     137           0.09         964         0.30       -827         641           0.22           -504 Cleaning Supplies                           6,473       0.29      11,563       0.30      -5,090         11,068         0.30            -4,595

     -256          -0.17        418         0.13       -674         407           0.14           -663 Ecolab Core Supplies                        3,233       0.14       5,010       0.13      -1,777          5,060         0.14            -1,827

          0        0.00        3,534        1.10     -3,534        2,646          0.89         -2,646 Evening Social- Food                        7,645       0.34      42,398       1.10     -34,754         38,074         1.02        -30,429

          0        0.00         643         0.20       -643        1,228          0.41         -1,228 Evening Social- Beverage                    1,955       0.09       7,709       0.20      -5,754          8,927         0.24            -6,973

          0        0.00          25         0.01        -25           0           0.00              0 Evening Social- Equipment                    253        0.01         300       0.01         -47          1,051         0.03             -798

    6,604          4.46        7,551        2.35       -947       11,494          3.86         -4,891 Travel Agents Commission                   75,345       3.33      90,578       2.35     -15,233         88,961         2.39        -13,616

          0        0.00         250         0.08       -250           0           0.00              0 Uniforms                                    1,723       0.08       3,000       0.08      -1,277          5,046         0.14            -3,324

          0        0.00             0       0.00          0         582           0.20           -582 Walk Expense                                 973        0.04           0       0.00         973          2,679         0.07            -1,706

     212           0.14             0       0.00       212            0           0.00            212 COVID 19 Supplies                           2,056       0.09           0       0.00       2,056                0       0.00            2,056



  11,541           7.80      34,919        10.87    -23,378      37,250         12.52         -25,709 Total Operating - Rooms               196,304           8.67    428,804       11.13    -232,500       433,603         11.67       -237,298



  38,354          25.91      96,661        30.08    -58,307      91,605         30.78         -53,251 Total Expenses- Rooms                 545,362          24.10   1,142,639      29.65    -597,276      1,028,673        27.68       -483,310



  99,584          67.29     195,360        60.80    -95,776     181,884         61.12         -82,300 Net Income- Rooms                    1,912,925         84.53   2,759,256      71.59    -846,331      2,711,115        72.95       -798,190
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                                                                           Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                           For Property: HWS Phoenix
                                                                           00- Master P&L-CAPSTONE
                                                                           As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                      Description        YTD       % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                             Budget              Bud Var         Year                          Var
                                                                                                       Food & Beverage
                                                                                                       Summary


            0         0.00            0       0.00         0           0          0.00             0 Total Food Sales                            0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Total Beverage Sales                        0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Total Banquet A/V                           0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Total Banquet Misc                          0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Total F & B Sales                           0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Food Cost                                   0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Beverage Costs                              0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Banquet A/V Costs                           0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Total F & B Costs                           0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Food Wages                                  0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Beverage Wages                              0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Total F & B Wages                           0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 F & B- P T & E B                            0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0           0          0.00             0 TTL P/R and Benefits                        0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0           0          0.00             0 Food Operating Expenses                     0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0           0          0.00             0 Beverage Operating Expenses                 0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Total F & B Operating Expenses              0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0           0          0.00             0 Net F & B Income                            0       0.00        0       0.00             0              0       0.00                  0




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                                                                          Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                          For Property: HWS Phoenix
                                                                          00- Master P&L-CAPSTONE
                                                                          As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                   Description           YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                            Budget             Bud Var         Year                         Var
                                                                                                      Food Department




            0         0.00            0      0.00         0           0          0.00            0 Total Restaurant                             0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Bar Food                               0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Bistro                                 0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Garden Grill                           0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Other Food Revenue                     0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Room Service                           0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Banquets                               0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Catering                               0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 Net Food Revenue                             0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Banquets Other                         0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 Total Food Revenues                          0      0.00        0      0.00             0              0      0.00                  0

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                                                                          Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                          For Property: HWS Phoenix
                                                                          00- Master P&L-CAPSTONE
                                                                          As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                    Description          YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                            Budget             Bud Var         Year                         Var
                                                                                                      Cost of Goods Sold

            0         0.00            0      0.00         0           0          0.00            0 Total Cost of Good Sold                      0      0.00        0      0.00             0              0      0.00                  0


                                                                                                      Food Payroll

            0         0.00            0      0.00         0           0          0.00            0 Total Food Wages                             0      0.00        0      0.00             0              0      0.00                  0


                                                                                                      Operating Expenses



            0         0.00            0      0.00         0           0          0.00            0 Total Operating Expense- Food                0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 Total Food Costs                             0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 N.I.- Food Department                        0      0.00        0      0.00             0              0      0.00                  0

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                                                                          Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                          For Property: HWS Phoenix
                                                                          00- Master P&L-CAPSTONE
                                                                          As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                 Description             YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                            Budget             Bud Var         Year                         Var
                                                                                                      Beverage Department




            0         0.00            0      0.00         0           0          0.00            0 Total Restaurant Beverage                    0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 Total Garden Grill Beverage                  0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Room Service Bev                       0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Bar Beverage                           0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Banquet Beverage                       0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0           0          0.00            0 Total Catering Beverage                      0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0           0          0.00            0 Total Beverage Revenue                       0      0.00        0      0.00             0              0      0.00                  0

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                                                                           Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                           For Property: HWS Phoenix
                                                                           00- Master P&L-CAPSTONE
                                                                           As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                    Description          YTD       % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                             Budget              Bud Var         Year                          Var
                                                                                                       Cost of Goods Sold



            0         0.00            0       0.00         0           0          0.00             0 Total COGS- Beverage                        0       0.00        0       0.00             0              0       0.00                  0


                                                                                                       Beverage Payroll

            0         0.00            0      0.00          0           0          0.00            0 Total Beverage Payroll                       0      0.00         0      0.00              0              0      0.00                   0


                                                                                                       Operating Expenses- Beverage



            0         0.00            0      0.00          0           0          0.00            0 Total Operating- Beverage                    0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0           0          0.00            0 Total Beverage Costs                         0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0           0          0.00            0 Net Income- Beverage                         0      0.00         0      0.00              0              0      0.00                   0

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                                                                          Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                          For Property: HWS Phoenix
                                                                          00- Master P&L-CAPSTONE
                                                                          As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR     Act vs LY                  Description            YTD       % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                    Var                                                            Budget             Bud Var         Year                         Var
                                                                                                      FOOD STATS




            0         0.00            0      0.00         0           0          0.00            0 Total Food Covers                            0      0.00        0      0.00             0              0      0.00                   0

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                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual        % / POR     Budget       % / POR     Act vs    Last Year      % / POR     Act vs LY                    Description          YTD            % / POR       YTD     % / POR     Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                     Var                                                                   Budget                Bud Var         Year                          Var
                                                                                                         TELECOM
                                                                                                         TELEPHONE REVENUES

            -3        0.00         50          0.00       -53            8          0.00           -11 Long Distance                                 404         0.00      600         0.00        -196              543       0.00                   -138

          193         0.00        192          0.00         1         188           0.00             5 Internet Access Fees                         1,728        0.00     2,304        0.00        -576          2,110         0.00                   -382



         191          0.00       242          0.00        -51         196           0.00            -6 Total Phone Revenues                        2,132        0.00     2,904        0.00        -772          2,653         0.00                 -520



                                                                                                         COS- Communication

          732         0.51            0        0.00       732         704           0.25            28 COS-Local                                     733         0.03         0        0.00        733           8,222         0.22               -7,489

             0        0.00        691      1,382.00      -691            0          0.00             0 COS-Long Distance                            8,005    1,979.13     8,292    1,382.00        -287                0       0.00               8,005

        1,430       740.74      1,400       729.17         30        1,400        744.28            30 COS-HSIA ISP                                17,070     988.10     16,800     729.17         270          16,800       796.30                   270



       2,162          0.00      2,091         0.00         71       2,104           0.00           58 Total COS- Comm                          25,809           0.00    25,092        0.00         717         25,022         0.00                    787



      -1,972          0.00     -1,849         0.00       -123       -1,908          0.00           -64 Gross Margin- Comm                     -23,677           0.00    -22,188       0.00       -1,489        -22,369        0.00              -1,307




                                                                                                         Operating Expenses

            62        0.00        100          0.00       -38          -92          0.00           154 Equipment Cost                               1,122        0.00     1,200        0.00         -78          1,200         0.00                    -78

             0        0.00            0        0.00         0         585           0.00          -585 Equipment Maintenance                          68         0.00         0        0.00            68            710       0.00                   -643



            62        0.00       100          0.00        -38         493           0.00         -431 Total Operating - Comm                       1,190        0.00     1,200        0.00         -10          1,910         0.00                 -720



       2,034          0.00      1,949         0.00         85       2,401           0.00         -367 N.I.- Comm Dept                          24,866           0.00    23,388        0.00       1,478         24,279         0.00                    587



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                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                     Description         YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         MISCELLANEOUS DEPARTMENT
                                                                                                         MISCELLANEOUS REVENUES

            96        2.45         85         1.43        11           37           0.86            60 Laundry/Valet                                 232        0.42     1,020       1.43        -788          1,147         1.66                   -915

             0        0.00            0       0.00          0         323           7.60          -323 Movie Income                                   -22      -0.04        0        0.00         -22          4,436         6.42               -4,457

             0        0.00            0       0.00          0        2,279         53.52        -2,279 Gift Shop Sales                                 0        0.00        0        0.00             0       32,768        47.42            -32,768

          321         8.21        350         5.90        -29          85           2.01           236 Vending                                      4,868       8.87     4,200       5.90        668           5,629         8.15                   -761

          150         3.83        600        10.12       -450         150           3.52             0 Pet Fees                                     6,776      12.34     7,200      10.12        -424          6,220         9.00                   557

             0        0.00            0       0.00          0           0           0.00             0 Fax                                             0        0.00        0        0.00             0              0       0.00                     0

            47        1.19            0       0.00        47            -5         -0.12            52 Miscellaneous                                 122        0.22        0        0.00        122               -10      -0.01                   132

          139         3.54        300         5.06       -161           0           0.00           139 Late Cancellation Income                     2,821       5.14     3,600       5.06        -779                0       0.00               2,821

          815        20.81        250         4.22       565            0           0.00           815 Smoking Fee                                  4,224       7.69     3,000       4.22       1,224          2,250         3.26               1,974

        1,389        35.47      1,389        23.42          0        1,389         32.62             0 Space Rental                                16,668      30.36    16,668      23.43             0       16,668        24.12                     0

             0        0.00            0       0.00          0           0           0.00             0 Room Service                                 3,600       6.56        0        0.00       3,600                0       0.00               3,600

          959        24.49      2,956        49.85     -1,997           0           0.00           959 Market Sales                                15,619      28.45    35,460      49.84     -19,841                0       0.00             15,619



       3,916       100.00       5,930       100.00     -2,014       4,259        100.00          -343 Total Miscellaneous Revenues             54,909         100.00   71,148      100.00     -16,239        69,107        100.00            -14,198



                                                                                                         COSales- Miscellaneous

            81       84.56         77        90.00          5          34          93.70            47 COS-Laundry/Valet                             194       83.60      918       90.00        -724              961      83.84                   -767

          334         8.54            0       0.00       334          759          17.82          -425 COS-Movies                                   6,497      11.83        0        0.00       6,497          7,403        10.71                   -906

          506         0.00            0       0.00       506         1,376         60.37          -870 COS-Gift Shop                                 506        0.00        0        0.00        506          18,180        55.48            -17,674

             0        0.00            0       0.00          0           0           0.00             0 COS- Room Service                             369        0.67        0        0.00         369                0       0.00                   369

          279        29.11      1,478        50.00     -1,199           0           0.00           279 COS- Market                                  6,099      39.05    17,730      50.00     -11,631                0       0.00               6,099

             0        0.00            0       0.00          0           0           0.00             0 COS- Market Beer/Wine                           1        0.00        0        0.00             1              0       0.00                     1



       1,200         30.66      1,554        26.21      -354        2,169         50.93          -969 Total COS- Miscellaneous                 13,666          24.89   18,648       26.21      -4,982        26,545         38.41            -12,879



        1,000        83.33        600       100.00       400          450          84.11           550 Banquet Room Rental                          8,463      76.27     7,200     100.00       1,263         10,465        80.95               -2,002

             0        0.00            0       0.00          0           0           0.00             0 Banquet Room F & B                           1,352      12.19        0        0.00       1,352              656       5.07                   697

             0        0.00            0       0.00          0           0           0.00             0 Banquet Room AV Rental                         25        0.23        0        0.00            25            247       1.91                   -222

          200         3.91            0       0.00       200           85           1.77           115 Banquet Room Setup Service Charge            1,255       1.90        0        0.00       1,255          1,561         1.90                   -306

       1,200       100.00        600        100.00       600          535        100.00           665 Total Meeting Room Revenues              11,095         100.00    7,200      100.00      3,895         12,928        100.00             -1,833


                                                                                                         Cost of Sales- Meeting Room



       3,915         99.99      4,975        83.90     -1,060       2,625         61.63         1,291 Total Miscellaneous Profit               52,338          95.32   59,700       83.91      -7,362        55,491         80.30             -3,152

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                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                       Description       YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                         ADMIN & GENERAL DEPARTMENT
                                                                                                         ADMIN & GENERAL

                                                                                                         P/R & Related Benefits- A&G

        5,437         3.80      6,666         2.23     -1,229        4,569          1.64            867 General Manager                            76,139       3.02    79,992       2.01      -3,853         78,724         2.06               -2,584

        4,019         2.81      3,587         1.20       432         2,974          1.07          1,046 Assistant General Manager                  42,297       1.68    41,524       1.04        773          30,835         0.81             11,462

             0        0.00            0       0.00         0          545           0.20           -545 Operations Manager                             0        0.00         0       0.00             0              0       0.00                     0

          882         0.62        738         0.25       143          647           0.23            235 Payroll Taxes                               9,484       0.38     9,368       0.24        116           9,073         0.24                   412

        1,759         1.23        523         0.18      1,236        2,069          0.74           -309 Employee Benefits                          16,633       0.66     6,276       0.16      10,357          7,155         0.19               9,478

          217         0.15            0       0.00       217          888           0.32           -672 Vacation /PTO                               9,590       0.38         0       0.00       9,590          8,116         0.21               1,475

          592         0.41            0       0.00       592          908           0.33           -315 Holiday                                     3,160       0.13         0       0.00       3,160          1,952         0.05               1,208

             0        0.00            0       0.00         0          250           0.09           -250 Bonus/Incentive Pay                         1,666       0.07     8,600       0.22      -6,934          7,145         0.19               -5,479



      12,906          9.02     11,514        3.86      1,392       12,849           4.62             57 Total P/R & R/B- A&G                  158,970           6.30   145,760      3.66      13,210        142,999         3.74              15,971


                                                                                                         Operating Expenses- A&G

          517         0.36      2,500         0.84     -1,983        2,679          0.96         -2,162 Employee Relations                          2,221       0.09     6,900       0.17      -4,679          7,979         0.21               -5,758

        4,000         2.80      2,000         0.67      2,000        2,000          0.72          2,000 Accounting Fees                            26,000       1.03    24,000       0.60       2,000         24,000         0.63               2,000

        1,365         0.95      1,500         0.50      -135         1,165          0.42            200 Data Processing                            18,373       0.73    15,836       0.40       2,537         15,283         0.40               3,090

          196         0.14        300         0.10      -104          295           0.11            -99 Office Supplies                             3,097       0.12     3,600       0.09        -503          5,223         0.14               -2,126

            55        0.04         55         0.02         0           55           0.02              0 Muzak                                        643        0.03       660       0.02         -17              949       0.02                   -307

            15        0.01        300         0.10      -285           28           0.01            -14 Travel & Lodging                            3,532       0.14     9,000       0.23      -5,468         14,240         0.37            -10,708

             0        0.00            0       0.00         0            0           0.00              0 Meals and Entertainment                       30        0.00         0       0.00            30        1,242         0.03               -1,212

             0        0.00         75         0.03        -75          75           0.03            -75 Telephone                                    188        0.01       900       0.02        -712              825       0.02                   -637

            50        0.03            0       0.00        50          200           0.07           -150 Licenses and Permits                        3,777       0.15     3,428       0.09         349          4,033         0.11                   -256

          228         0.16         60         0.02       168          188           0.07             40 Postage                                      958        0.04       720       0.02        238           1,353         0.04                   -395

             0        0.00         70         0.02        -70         405           0.15           -405 Recruitment                                  900        0.04     1,520       0.04        -620          1,907         0.05               -1,007

          285         0.20        180         0.06       105          170           0.06            115 Employment Screening/ Drug Testing          2,082       0.08     2,160       0.05         -78          2,242         0.06                   -160

             0        0.00            0       0.00         0         2,447          0.88         -2,447 Training                                    2,260       0.09     2,050       0.05        210           3,568         0.09               -1,308

             0        0.00            0       0.00         0          983           0.35           -983 Bad Debt                                       0        0.00         0       0.00             0            983       0.03                   -983

             0        0.00            0       0.00         0            0           0.00              0 Loss & Damage                                  0        0.00         0       0.00             0            174       0.00                -174

             0        0.00            0       0.00         0            0           0.00              0 Security Service                              78        0.00         0       0.00            78        8,922         0.23               -8,844

          150         0.10        165         0.06        -15         150           0.05              0 Dues/Subscriptions                          2,113       0.08     1,980       0.05        133           4,360         0.11               -2,247

             0        0.00            0       0.00         0            0           0.00              0 Professional Fees                              0        0.00         0       0.00             0            277       0.01                   -277

        3,619         2.53      7,559         2.53     -3,940        7,461          2.68         -3,842 Credit Card Commissions                    55,254       2.19   100,774       2.53     -45,520         95,977         2.51            -40,723

        3,909         2.73            0       0.00      3,909        6,044          2.17         -2,136 Cash Over/Short                              -554      -0.02         0       0.00        -554         -2,543        -0.07               1,989

             0        0.00         98         0.03        -98         101           0.04           -101 Equipment Rental                            1,120       0.04     1,576       0.04        -456          1,655         0.04                   -535

          437         0.31        350         0.12        87          671           0.24           -234 Payroll Services                            5,456       0.22     3,850       0.10       1,606          6,409         0.17                   -953

          531         0.37      1,483         0.50      -952         1,414          0.51           -883 Bank Charges                               13,828       0.55    17,796       0.45      -3,968         17,718         0.46               -3,889

          634         0.44            0       0.00       634         1,266          0.46           -633 Chargebacks                                 2,711       0.11         0       0.00       2,711          5,504         0.14               -2,793

        1,753         1.23      1,000         0.33       753         1,735          0.62             18 Workers Comp Insurance                     12,553       0.50    13,120       0.33        -567         15,067         0.39               -2,514



      17,744         12.40     17,695        5.93         48       29,534         10.61         -11,790 Total Operating- A&G                  156,619           6.20   209,870      5.27      -53,251       237,344         6.21             -80,726



      30,649         21.43     29,210        9.78      1,440       42,383         15.23         -11,733 Total Expenses- A&G                   315,589          12.50   355,630      8.93      -40,041       380,343         9.95             -64,755

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                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                      Description        YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         SALES DEPARTMENT
                                                                                                         SALES

                                                                                                         P/R & R/B

        5,586         3.90      5,949         1.99      -363         7,353          2.64        -1,767 Director of Sales                           61,776       2.45    68,868       1.73      -7,092         49,033         1.28             12,743

            0         0.00            0       0.00         0            0           0.00             0 Sales Manager                                 110        0.00         0       0.00        110               183       0.00                    -72

          452         0.32      1,161         0.39      -709          815           0.29          -363 Revenue Management                           6,896       0.27    13,931       0.35      -7,035         10,190         0.27               -3,294

            0         0.00        172         0.06      -172            0           0.00             0 E Commerce Management                         516        0.02     2,066       0.05      -1,549                0       0.00                   516

          471         0.33        451         0.15        19            0           0.00           471 Payroll Taxes                                4,920       0.19     5,518       0.14        -598          2,819         0.07               2,102

        1,749         1.22        642         0.22      1,107           0           0.00         1,749 Employee Benefits                           13,753       0.54     7,704       0.19       6,049          2,360         0.06             11,393

         -259        -0.18            0       0.00      -259            0           0.00          -259 Vacation / PTO                               4,165       0.17         0       0.00       4,165                0       0.00               4,165

          523         0.37            0       0.00       523          735           0.26          -212 Holiday                                      1,778       0.07         0       0.00       1,778              947       0.02                   832

            0         0.00            0       0.00         0            0           0.00             0 Bonus/Incentive Pay                           247        0.01     4,132       0.10      -3,885          2,155         0.06               -1,908



       8,522          5.96      8,375        2.81        147        8,904           3.20         -381 Total P/R & R/B- Sales                   94,162          3.73    102,218      2.57       -8,056        67,686         1.77              26,477


                                                                                                         Operating Expenses- Sales

            0         0.00         20         0.01        -20           0           0.00             0 Printing & Stationary                           0        0.00       240       0.01        -240                0       0.00                     0

            0         0.00         20         0.01        -20           0           0.00             0 Office Supplies                               203        0.01       240       0.01         -37              575       0.02                   -372

            0         0.00         25         0.01        -25        3,862          1.39        -3,862 Travel & Lodging                             1,956       0.08     3,025       0.08      -1,069          9,619         0.25               -7,663

            0         0.00         30         0.01        -30           0           0.00             0 Meals & Entertainment                          80        0.00       360       0.01        -280          1,361         0.04               -1,281

            0         0.00        100         0.03      -100           29           0.01           -29 Promotions                                    190        0.01     1,900       0.05      -1,710              878       0.02                   -688

            0         0.00         50         0.02        -50           0           0.00             0 Telephone                                     100        0.00       600       0.02        -500              300       0.01                   -200

            0         0.00            0       0.00         0            0           0.00             0 Sales Training                               1,787       0.07     2,000       0.05        -213              150       0.00               1,637

          132         0.09            0       0.00       132            0           0.00           132 Dues & Subscriptions                         4,584       0.18     3,071       0.08       1,513          6,806         0.18               -2,222

            0         0.00            0       0.00         0            0           0.00             0 Trade Show                                      0        0.00         0       0.00             0             21       0.00                    -21

            0         0.00            0       0.00         0          200           0.07          -200 e Commerce Costs                              100        0.00       400       0.01        -300          3,293         0.09               -3,193

          514         0.36        450         0.15        64         1,575          0.57        -1,061 Brand Paid Search                            9,385       0.37     5,400       0.14       3,985         10,685         0.28               -1,300

            0         0.00        200         0.07      -200            0           0.00             0 Internet Advertising                            0        0.00       800       0.02        -800                0       0.00                     0

            0         0.00            0       0.00         0            0           0.00             0 Magazine Advertising                            0        0.00         0       0.00             0        1,115         0.03               -1,115

            0         0.00            0       0.00         0            0           0.00             0 Program Costs                                   0        0.00       725       0.02        -725                0       0.00                     0



         646          0.45       895         0.30       -249        5,666           2.04        -5,020 Total Operating- Sales                  18,386          0.73     18,761      0.47        -375         34,802         0.91             -16,417



       9,168          6.41      9,270        3.11       -102       14,570           5.24        -5,402 Total Expenses-Sales                   112,548          4.46    120,979      3.04       -8,432       102,488         2.68              10,060

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 354 of 541
                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                       Description             YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                     Budget               Bud Var         Year                          Var
                                                                                                         MAINTENANCE DEPARTMENT
                                                                                                         REPAIRS & MAINTENANCE
                                                                                                         P/R & Related Expenses- Maintenance

        2,008         1.36      4,461         1.39     -2,453        3,699          1.24        -1,691 Chief Engineer                               27,458         1.21    51,273       1.33     -23,815         53,301         1.43            -25,843

        1,649         1.11      2,552         0.79       -903        1,994          0.67          -345 General Maintenance                          11,241         0.50    30,624       0.79     -19,383         27,428         0.74            -16,188

          345         0.23        463         0.14       -117         536           0.18          -190 Payroll Taxes                                 3,396         0.15     5,405       0.14      -2,009          6,011         0.16               -2,615

             0        0.00        517         0.16       -517         488           0.16          -488 Employee Benefits                             3,838         0.17     6,204       0.16      -2,366          5,908         0.16               -2,070

             0        0.00            0       0.00          0         617           0.21          -617 Holiday                                           618       0.03         0       0.00        618           2,116         0.06               -1,498

          350         0.24            0       0.00       350          225           0.08           125 Vacation /PTO                                 5,312         0.23         0       0.00       5,312          4,825         0.13                   487



       4,351          2.94      7,993        2.49      -3,641       7,559           2.54        -3,207 Total P/R & Related Expenses- Maintenance    51,862        2.29     93,506      2.43      -41,644        99,590         2.68             -47,728


                                                                                                         Operating Expenses- R & M

             0        0.00        257         0.08       -257          78           0.03           -78 Laundry Equipment                                 262       0.01     3,084       0.08      -2,822          4,719         0.13               -4,457

          113         0.08        900         0.28       -787         886           0.30          -773 Building Maintenance                          1,095         0.05    10,792       0.28      -9,697         10,571         0.28               -9,476

             0        0.00        257         0.08       -257         179           0.06          -179 Light Bulbs                                       718       0.03     3,084       0.08      -2,366          2,763         0.07               -2,046

             0        0.00        161         0.05       -161         227           0.08          -227 Electrical & Mechanical                           451       0.02     1,927       0.05      -1,476              970       0.03                   -519

             0        0.00        964         0.30       -964           0           0.00             0 HVAC                                          1,924         0.09    11,563       0.30      -9,639          7,581         0.20               -5,657

          205         0.14        643         0.20       -437         201           0.07             5 Plumbing & Boiler                             9,151         0.40     7,709       0.20       1,442          8,579         0.23                   572

          172         0.12        257         0.08        -86         172           0.06             0 Pool                                          2,297         0.10     3,084       0.08        -786          2,970         0.08                   -673

             0        0.00        850         0.26       -850        4,352          1.46        -4,352 Grounds & Landscaping                         7,863         0.35    13,100       0.34      -5,237         13,768         0.37               -5,905

             0        0.00            0       0.00          0           0           0.00             0 Interior Plants                                   248       0.01         0       0.00        248                 0       0.00                   248

             0        0.00            0       0.00          0           0           0.00             0 Signage                                       1,010         0.04         0       0.00       1,010               45       0.00                   965

             0        0.00        161         0.05       -161           0           0.00             0 Furniture & Fixtures                          -2,379       -0.11     1,927       0.05      -4,307          3,282         0.09               -5,661

            29        0.02        193         0.06       -164          41           0.01           -12 Painting                                          326       0.01     2,313       0.06      -1,987          1,397         0.04               -1,071

          183         0.12        200         0.06        -17        1,572          0.53        -1,390 Carpet & Floor                                    325       0.01     5,700       0.15      -5,375          4,640         0.12               -4,315

             0        0.00            0       0.00          0           0           0.00             0 Window Treatments                                   0       0.00         0       0.00             0            638       0.02                   -638

             0        0.00         30         0.01        -30          30           0.01           -30 Telephone                                          60       0.00       360       0.01        -300              355       0.01                   -295

             0        0.00        257         0.08       -257          38           0.01           -38 Kitchen Equipment                             2,390         0.11     3,084       0.08        -693          5,016         0.13               -2,625

             0        0.00         96         0.03        -96           0           0.00             0 Locks & Keys                                      155       0.01     1,156       0.03      -1,001          1,033         0.03                   -878

             0        0.00        257         0.08       -257         919           0.31          -919 Radio & TV                                        285       0.01     3,084       0.08      -2,799          4,125         0.11               -3,840

          375         0.25        800         0.25       -425         510           0.17          -135 Exterminating                                 6,177         0.27     9,600       0.25      -3,423          9,855         0.27               -3,678

        4,535         3.06         98         0.03      4,437           0           0.00         4,535 Fire & Safety                                 6,826         0.30     3,007       0.08       3,819          8,698         0.23               -1,871

             0        0.00        200         0.06       -200         250           0.08          -250 Elevator                                      5,189         0.23     6,344       0.16      -1,155          8,898         0.24               -3,709



       5,611          3.79      6,580        2.05       -969        9,454           3.18        -3,843 Total Operating - R & M                      44,373        1.96     90,916      2.36      -46,544        99,901         2.69             -55,528



       9,963          6.73     14,573        4.54      -4,610      17,013           5.72        -7,050 Total Expenses- R & M                        96,235        4.25    184,422      4.78      -88,187       199,491         5.37           -103,256

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                                                                           Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                           For Property: HWS Phoenix
                                                                           00- Master P&L-CAPSTONE
                                                                           As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year      % / POR     Act vs LY                    Description          YTD            % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                      Var                                                                  Budget               Bud Var       Year                        Var
                                                                                                       UTILITIES DEPARTMENT
                                                                                                       UTILITIES EXPENSE

        7,371         4.98      8,793       2.74     -1,422        7,470          2.51           -99 Electricity                             136,849          6.05   156,888       4.07     -20,039      148,554       4.00            -11,705

          809         0.55      1,868       0.58     -1,059        1,990          0.67        -1,181 Gas                                          7,638       0.34    16,861       0.44      -9,223       13,497       0.36               -5,859

        3,714         2.51      2,829       0.88       885         5,486          1.84        -1,773 Water & Sewer                               40,356       1.78    39,206       1.02       1,150       41,398       1.11               -1,042

        1,456         0.98      1,140       0.35       316          755           0.25           701 Waste Removal                               11,524       0.51    13,680       0.35      -2,156       12,815       0.34               -1,291



      13,350          9.02     14,630      4.55      -1,280      15,701           5.28        -2,351 Total Expenses- Utilities              196,367          8.68    226,635      5.88      -30,268     216,263       5.82             -19,897

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                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                        Description      YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                         FRANCHISE DEPARTMENT
                                                                                                         FRANCHISE FEES

        7,853         5.69      16,078        5.51     -8,225       15,042          5.50         -7,189 Franchise Fees/ Royalties              135,845          5.53   214,802       5.51     -78,958        205,715         5.50            -69,871

        4,997         3.62      10,231        3.50     -5,234        9,572          3.50         -4,575 Advertising                                86,347       3.51   136,692       3.50     -50,346        131,644         3.52            -45,297

        1,997         1.45       7,388        2.53     -5,392        2,142          0.78           -145 Frequent Traveler                          58,576       2.38    98,718       2.53     -40,142         95,565         2.56            -36,989

        1,035         0.75            0       0.00      1,035           0           0.00          1,035 Brand Guest Fees                            2,627       0.11         0       0.00       2,627          2,272         0.06                   355

            0         0.00            0       0.00          0           0           0.00              0 Other Franchise Cost                           0        0.00         0       0.00             0            850       0.02                   -850



      15,882         11.51     33,697        11.54    -17,815      26,756           9.78        -10,874 Total Franchise Fees Expense          283,394          11.53   450,212      11.54    -166,819       436,046         11.66          -152,652

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 357 of 541
                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                  Description            YTD            % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var       Year                          Var
                                                                                                         MANAGEMENT FEES
        3,576         2.50      7,470         2.50     -3,894        6,957          2.50        -3,381 Management Fees                             63,106       2.50    99,579       2.50     -36,473       95,573         2.50            -32,467

       11,004         7.69            0       0.00     11,004           0           0.00        11,004 Management Fees- Owner                      26,245       1.04        0        0.00      26,245              0       0.00             26,245



      14,580         10.19      7,470        2.50      7,110        6,957           2.50        7,623 Total Management Fees Expense            89,351          3.54    99,579       2.50      -10,228      95,573         2.50              -6,222



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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 358 of 541
                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                      Description        YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                         FIXED EXPENSES
       14,206         9.93      14,205        4.76          0       13,792          4.96            414 Ground Lease                           169,224          6.70   168,810       4.24         414        164,295         4.30               4,929

        8,329         5.82      12,563        4.21     -4,234     -108,900        -39.13        117,228 FF & E Reserve                             99,942       3.96   150,756       3.79     -50,814                0       0.00             99,942

       15,136        10.58      15,136        5.07          0        7,655          2.75          7,481 Real Estate Tax                        181,628          7.20   181,628       4.56             0      170,714         4.47             10,914

            0         0.00            0       0.00          0            0          0.00              0 Personal Property Tax                         70        0.00         0       0.00            70              0       0.00                   70

        6,247         4.37       5,377        1.80       870         5,135          1.85          1,112 Insurance                                  66,748       2.64    64,419       1.62       2,329         61,546         1.61               5,203



      43,918         30.70     47,281        15.84     -3,364      -82,318        -29.58        126,235 TOTAL FIXED EXPENSES                  517,613          20.51   565,613      14.21     -48,001       396,555         10.38           121,057

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                                                                             Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                             For Property: HWS Phoenix
                                                                             00- Master P&L-CAPSTONE
                                                                             As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR     Act vs LY                      Description        YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                      Var                                                                  Budget               Bud Var         Year                          Var
                                                                                                         TOTAL OTHER
            0         0.00            0       0.00         0          406           0.15          -406 Owners Expense                              11,187       0.44         0       0.00      11,187         16,882         0.44               -5,695

       38,823        27.14            0       0.00     38,823       31,981         11.49         6,842 Depreciation                            465,876         18.46         0       0.00     465,876        459,034        12.01               6,842

        2,963         2.07            0       0.00      2,963        4,030          1.45        -1,067 Amortization Expense                        35,556       1.41         0       0.00      35,556         36,623         0.96               -1,067

       32,498        22.72      32,498       10.89         0        32,499         11.68            -1 Interest Expense                        389,798         15.44   389,981       9.80        -183        392,552        10.27               -2,754

       14,904        10.42       2,988        1.00     11,916        2,769          1.00        12,135 Asset Management Fee                        25,243       1.00    39,831       1.00     -14,589         38,169         1.00            -12,926

            0         0.00            0       0.00         0            0           0.00             0 Non Operating Income                            0        0.00         0       0.00             0       -1,737        -0.05               1,737

        2,623         1.83            0       0.00      2,623           0           0.00         2,623 Uninsured Loss                               5,987       0.24         0       0.00       5,987                0       0.00               5,987

            0         0.00            0       0.00         0            0           0.00             0 Extraordinary Expenses                       8,251       0.33         0       0.00       8,251                0       0.00               8,251

            0         0.00            0       0.00         0         2,138          0.77        -2,138 GB 1 YE AJE                                     0        0.00         0       0.00             0        2,138         0.06               -2,138

            0         0.00            0       0.00         0         6,808          2.45        -6,808 GB- 2 R&M/Capex AJE                             0        0.00         0       0.00             0        6,808         0.18               -6,808



      91,811         64.18     35,486        11.89    56,325       80,630         28.97         11,181 Total Other                            941,898          37.31   429,812      10.80    512,086        950,468         24.87             -8,570

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                                                                           Company: 2536 W Beryl Phoenix dba HWS Phoenix Property: HWS Phoenix
                                                                           For Property: HWS Phoenix
                                                                           00- Master P&L-CAPSTONE
                                                                           As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR     Act vs LY                   Description           YTD       % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                    Var                                                             Budget              Bud Var         Year                          Var
                                                                                                       House Laundry Dept




            0         0.00            0      0.00          0           0          0.00            0 Total P/R & Benefits- Ldy                    0      0.00         0      0.00              0              0      0.00                    0


                                                                                                       Operating Expenses




            0         0.00            0      0.00          0           0          0.00            0 Total Operating Expenses- Ldy                0      0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0           0          0.00             0 Total Laundry Expenses                      0       0.00        0       0.00             0              0       0.00                   0



                                                                                                       Allocation




            0         0.00            0      0.00          0           0          0.00            0 Total Allocation                             0      0.00         0      0.00              0              0      0.00                    0



            0                         0                    0           0                          0 Total Lndry Dept                             0                   0                        0              0                              0



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                                                            Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                            For Property: HWS Raleigh Crabtree
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                   Description           YTD            % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                         Var                                                                 Budget                Bud Var         Year                       Var
                                                                                                       SUMMARY

    4,247                    4,247                      0         4,247                            0 Total Rooms Available                   50,142                    50,142                        0       50,005                          137

    1,572                    2,803                 -1,231         2,816                     -1,244 Total Rooms Sold                          23,465                    39,303                 -15,838        38,538                     -15,073

 37.01%                   66.00%                 -28.99%        66.31%                    -29.29% Occupancy %                               46.80%                   78.38%                  -31.59%        77.07%                     -30.27%

   97.00                   114.65                  -17.65       112.97                      -15.98 Average Rate                             102.21                    124.61                   -22.39        122.92                      -20.71

   35.90                    75.67                  -39.76         74.91                     -39.01 REVPAR                                     47.83                    97.67                   -49.84         94.73                      -46.90




                                                                                                       REVENUES

  152,478        96.90     321,355       96.12   -168,878       318,132         95.61     -165,654 ROOMS                                  2,398,460         96.93   4,897,507      96.44   -2,499,048      4,737,148       96.39      -2,338,688

         0        0.00            0       0.00          0             0          0.00              0 FOOD                                            0       0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0             0          0.00              0 BEVERAGE                                        0       0.00           0       0.00             0              0       0.00               0

    4,880         3.10      12,970        3.88     -8,089        14,604          4.39       -9,723 MISCELLANEOUS                             76,076          3.07     180,865       3.56     -104,788       177,531         3.61       -101,454



 157,358       100.00     334,325       100.00   -176,967      332,736         100.00     -175,378 TOTAL REVENUES                         2,474,536        100.00   5,078,372     100.00   -2,603,836     4,914,679       100.00     -2,440,143




                                                                                                       DEPARTMENT EXPENSES

   33,518        21.98      88,364       27.50    -54,846        82,262         25.86      -48,745 ROOMS EXPENSE                            603,045         25.14   1,159,940      23.68     -556,895      1,080,701       22.81       -477,656

         0        0.00            0       0.00          0             0          0.00              0 FOOD EXPENSE                                    0       0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0             0          0.00              0 BEVERAGE EXPENSE                                0       0.00           0       0.00             0              0       0.00               0

    1,368        28.03       2,581       19.90     -1,213         3,980         27.26       -2,613 MISCELLANEOUS EXPENSE                     15,222         20.01      37,992      21.01      -22,770        45,419        25.58        -30,197



  34,885        22.17      90,945        27.20    -56,059       86,243          25.92      -51,357 TOTAL DEPARTMENTAL EXPENSES             618,267          24.99   1,197,932      23.59    -579,665      1,126,120        22.91       -507,853



                                                                                                       DEPARTMENTAL PROFIT

  118,960        78.02     232,992       72.50   -114,031       235,870         74.14     -116,910 ROOMS PROFIT                           1,795,415         74.86   3,737,567      76.32   -1,942,153      3,656,447       77.19      -1,861,032

         0        0.00            0       0.00          0             0          0.00              0 FOOD PROFIT                                     0       0.00           0       0.00             0              0       0.00               0

         0        0.00            0       0.00          0             0          0.00              0 BEVERAGE PROFIT                                 0       0.00           0       0.00             0              0       0.00               0

    3,512        71.97      10,389       80.10     -6,876        10,623         72.74       -7,111 MISCELLANEOUS PROFIT                      60,855         79.99     142,872      78.99      -82,018       132,112        74.42        -71,257



 122,473        77.83     243,380        72.80   -120,908      246,493          74.08     -124,020 TOTAL DEPARTMENTAL PROFIT              1,856,269         75.01   3,880,440      76.41   -2,024,171     3,788,559        77.09     -1,932,289



   31,076        19.75      35,607       10.65     -4,531        33,274         10.00       -2,199 A & G EXPENSE                            316,959         12.81     419,392       8.26     -102,433       418,554         8.52       -101,595

    2,189         1.39       1,810        0.54        379         1,621          0.49            569 TELECOM                                 24,712          1.00      21,720       0.43        2,992        21,593         0.44            3,119

   10,835         6.89      13,182        3.94     -2,347        11,481          3.45            -646 SALES & MARKETING EXPENSES            136,500          5.52     178,799       3.52      -42,299       158,316         3.22        -21,816

   18,453        11.73      36,836       11.02    -18,383        35,092         10.55      -16,639 FRANCHISE FEES                           265,443         10.73     560,844      11.04     -295,401       545,673        11.10       -280,230

    8,021         5.10      14,923        4.46     -6,901        16,321          4.90       -8,299 MAINTENANCE EXPENSES                     109,342          4.42     196,311       3.87      -86,969       201,456         4.10        -92,114

   14,010         8.90      17,180        5.14     -3,170        18,194          5.47       -4,185 UTILITIES EXPENSE                        157,394          6.36     205,655       4.05      -48,261       200,109         4.07        -42,715



  84,584        53.75     119,537        35.75    -34,953      115,983          34.86      -31,399 TOTAL ADMIN EXPENSES                   1,010,349         40.83   1,582,720      31.17    -572,371      1,545,701        31.45       -535,352



  37,889        24.08     123,844        37.04    -85,955      130,510          39.22      -92,621 HOUSE PROFIT                            845,920          34.19   2,297,720      45.25   -1,451,800     2,242,858        45.64     -1,396,938



                                                                                                       FIXED EXPENSES

   14,943         9.50       8,363        2.50      6,580         8,318          2.50        6,625 MANAGEMENT FEES                           88,083          3.56     127,016       2.50      -38,933       122,976         2.50        -34,893

   82,291        52.30      77,009       23.03      5,282      -137,366        -41.28      219,657 FIXED EXPENSES                           976,152         39.45     962,382      18.95       13,770       699,513        14.23        276,639
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     -59,345        -37.71   38,472    11.51    -97,817   259,558   78.01   -318,903 NET OPERATING INCOME                     -218,315     -8.82   1,208,321   23.79   -1,426,636   1,420,369   28.90        -1,638,684



      153,245        97.39    52,820   15.80    100,425   130,493   39.22     22,752 Other                                    1,447,409    58.49     644,508   12.69      802,901   1,475,758   30.03             -28,349



    -212,590      -135.10    -14,348   -4.29   -198,242   129,065   38.79   -341,655 N.I. after Other                        -1,665,724   -67.31    563,813    11.10   -2,229,537     -55,389   -1.13        -1,610,335



    -146,580                 -14,348           -132,232   177,784           -324,364 Cash before Depreciation/Amortization    -873,604              563,813            -1,437,417    719,440                 -1,593,044

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                                                                   Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                                   For Property: HWS Raleigh Crabtree
                                                                   00- Master P&L-CAPSTONE
                                                                   As of 12/31/2020

   Actual        % / POR        Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                       Description        YTD           % / POR        YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                        Bud Var                                         Var                                                                 Budget                Bud Var         Year                          Var
                                                                                                              ROOMS DEPARTMENT
                                                                                                              ROOMS REVENUE

       14,084         9.24        112,229       34.92    -98,145        74,388         23.38      -60,304 Rack/ Premium                             497,890        20.76   1,604,669      32.77   -1,106,779      1,429,572       30.18           -931,682

       22,098        14.49         36,628       11.40    -14,531        51,834         16.29      -29,736 Corporate                                 489,192        20.40     638,976      13.05     -149,784       633,908        13.38           -144,716

       89,038        58.39         80,724       25.12      8,314        77,367         24.32       11,671 Discounts - Other                         774,882        32.31   1,131,640      23.11     -356,758      1,047,821       22.12           -272,939

        1,872         1.23         27,091        8.43    -25,219        21,672          6.81      -19,800 Government                                142,994         5.96     367,931       7.51     -224,937       402,517         8.50           -259,523

       15,429        10.12         23,053        7.17     -7,624        49,928         15.69      -34,499 Locally Negotiated Rate                   324,530        13.53     532,004      10.86     -207,474       548,201        11.57           -223,671

         -557        -0.37               0       0.00       -557        -1,443         -0.45            886 Allowances                              -13,276        -0.55           0       0.00      -13,276        -10,025       -0.21               -3,251



     141,962         93.10       279,725        87.05   -137,763      273,745          86.05     -131,783 Total Transient Revenue                 2,216,212        92.40   4,275,220      87.29   -2,059,008     4,051,994        85.54        -1,835,782




             0        0.00               0       0.00          0             0          0.00               0 Total Base Revenues                            0       0.00           0       0.00             0              0       0.00                     0



        9,660         6.34         41,630       12.95    -31,970        43,804         13.77      -34,144 Group- Corporate                          171,209         7.14     622,287      12.71     -451,079       673,358        14.21           -502,149



       9,660          6.34        41,630        12.95    -31,970       43,804          13.77      -34,144 Total Group Revenue                      171,209          7.14    622,287       12.71    -451,079       673,358         14.21          -502,149



          855         0.56               0       0.00        855           583          0.18            273 Guaranteed No-Show                       11,039         0.46           0       0.00       11,039        11,797         0.25                  -757



     152,478       100.00        321,355       100.00   -168,878      318,132         100.00     -165,654 Total Rooms Revenue                     2,398,460       100.00   4,897,507     100.00   -2,499,048     4,737,148       100.00        -2,338,688



                                                                                                              ROOM STATISTICS

          128               8        785           28       -657           532            19            -404 Rack/ Premium Rooms                      3,619           15      10,728         27       -7,109         9,768           25               -6,149

          167              11        308           11       -141           447            16            -280 Corporate Rooms                          4,359           19       5,220         13         -861         5,156           13                  -797

        1,003              64        897           32        106           787            28            216 Discounts - Other Rooms                   8,947           38      10,189         26       -1,242         9,406           24                  -459

            16              1        224            8       -208           174             6            -158 Government Rooms                         1,211            5       3,029          8       -1,818         3,337            9               -2,126

          184              12        224            8        -40           518            18            -334 Locally Negotiated Corporate Rooms       3,808           16       4,917         13       -1,109         5,179           13               -1,371



       1,498               95      2,439          87       -941          2,458           87          -960 Total Transient Stats                     21,944           94      34,084         87      -12,140         32,846          85             -10,902




             0              0            0         0          0              0            0                0 Total Crew Stats                               0         0           0          0              0              0         0                      0



            74              5        364           13       -290           358            13            -284 Group- Corporate Rooms                   1,521            6       5,219         13       -3,698         5,692           15               -4,171



            74              5        364          13       -290           358            13          -284 Total Group Stats                          1,521            6       5,219         13        -3,698         5,692          15              -4,171



       1,572          100          2,803         100      -1,231         2,816          100        -1,244 TOTAL ROOM STATISTICS                     23,465          100      39,303        100      -15,838         38,538         100             -15,073



                                                                                                              Other Room Stats

             3              0            0          0          3             3             0               0 Comp Rooms                                  40            0           0          0            40            126          0                    -86

          658              42            0          0        658         1,140            40            -482 Multiple Occupancy                       8,004           34           0          0        8,004        13,149           34               -5,145

          487              31            0          0        487            84             3            403 Out of Order Rooms                        4,496           19           0          0        4,496             467          1                  4,029

        2,683          171               0          0      2,683         4,583           163       -1,900 # of Guests                                36,020          154           0          0       36,020        59,737          155             -23,717



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                                                             Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                             For Property: HWS Raleigh Crabtree
                                                             00- Master P&L-CAPSTONE
                                                             As of 12/31/2020

   Actual       % / POR    Budget       % / POR   Act vs     Last Year     % / POR      Act vs LY                         Description      YTD            % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                  Bud Var                                         Var                                                               Budget              Bud Var         Year                         Var
                                                                                                        ADR



       110.03                 143.00                -32.97        139.83                     -29.80 Rack/Premium ADR                          137.58                 149.57                -11.99         146.35                              -8.78

       132.32                 118.80                 13.53        115.96                      16.36 Corporate ADR                             112.23                 122.41                -10.19         122.95                           -10.72

            0                       0                    0             0                             0 Contract - Airline ADR                         0                  0                        0              0                               0

        88.77                  90.00                 -1.23         98.31                      -9.53 Discount ADR                               86.61                 111.06                -24.45         111.40                           -24.79

         0.00                   0.00                  0.00          0.00                          0.00 Distressed Passengers ADR                 0.00                  0.00                  0.00           0.00                               0.00

            0                       0                    0             0                             0 AARP ADR                                       0                  0                        0              0                               0

       116.98                 120.81                 -3.84        124.55                      -7.58 Government ADR                            118.08                 121.45                 -3.37         120.62                              -2.54

         0.00                   0.00                  0.00          0.00                          0.00 AAA ADR                                   0.00                  0.00                  0.00           0.00                               0.00

        83.85                 102.81                -18.95         96.39                     -12.53 Local Negotiated ADR                       85.22                 108.20                -22.98         105.85                           -20.63

         0.00                   0.00                  0.00          0.00                          0.00 Packages ADR                              0.00                  0.00                  0.00           0.00                               0.00

         0.00                   0.00                  0.00          0.00                          0.00 Wholesale/FIT ADR                         0.00                  0.00                  0.00           0.00                               0.00

            0                       0                    0             0                             0 Internet ADR                                   0                  0                        0              0                               0

            0                       0                    0             0                             0 Tax Exampt - Transient ADR                     0                  0                        0              0                               0



       94.77                 114.71                 -19.94       111.37                     -16.60 Total Transient ADR                       100.99                 125.43                 -24.44        123.36                          -22.37




         0.00                   0.00                  0.00          0.00                          0.00 Crew ADR                                  0.00                  0.00                  0.00           0.00                               0.00

            0                       0                    0             0                             0 Contract ADR                                   0                  0                        0              0                               0




         0.00                   0.00                  0.00          0.00                          0.00 Group - SMERF ADR                         0.00                  0.00                  0.00           0.00                               0.00

       130.54                 114.25                 16.29        122.36                          8.18 Group - Corporate ADR                  112.56                 119.23                 -6.67         118.30                              -5.74

            0                       0                    0             0                             0 Group - Government ADR                         0                  0                        0              0                               0

            0                       0                    0             0                             0 Group - Tour ADR                               0                  0                        0              0                               0

            0                       0                    0             0                             0 Group- Association ADR                         0                  0                        0              0                               0

            0                       0                    0             0                             0 Group - Tax Exampt ADR                         0                  0                        0              0                               0



      130.54                 114.25                 16.29        122.36                       8.18 Total Group ADR                           112.56                 119.23                  -6.67        118.30                               -5.74

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                                                            Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                            For Property: HWS Raleigh Crabtree
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                          Description     YTD            % / POR        YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                         Var                                                                 Budget                Bud Var         Year                       Var
                                                                                                       Payroll & Related Expense

    4,583        2.92        5,960        2.13     -1,377         5,991         2.13        -1,408 FD/ Guest Service Reps                    49,229          2.10      83,568       2.13      -34,339        77,156         2.00        -27,926

     -110        -0.07       3,909        1.39     -4,019         3,232         1.15        -3,342 Executive Housekeeper                     38,026          1.62      45,707       1.16       -7,681        43,194         1.12            -5,168

    1,904        1.21        2,301        0.82       -397         1,390         0.49             514 Asst Exec Housekeeper/ Inspectress       6,629          0.28      27,168       0.69      -20,539        19,408         0.50        -12,780

    8,003        5.09       13,208        4.71     -5,205         8,737         3.10             -734 Housekeepers                           95,206          4.06     185,196       4.71      -89,990       176,715         4.59        -81,510

     242         0.15        5,282        1.88     -5,040         4,856         1.72        -4,615 Housemen                                  32,275          1.38      62,359       1.59      -30,084        57,868         1.50        -25,594

    1,210        0.77        2,826        1.01     -1,616         2,502         0.89        -1,291 Laundry                                    9,038          0.39      39,629       1.01      -30,591        33,267         0.86        -24,228

         0       0.00        4,464        1.59     -4,464         4,439         1.58        -4,439 Comp Breakfast Hostess                    11,136          0.47      52,704       1.34      -41,568        52,655         1.37        -41,519

         0       0.00        1,177        0.42     -1,177           998         0.35             -998 Evening Social Host                     2,889          0.12      13,896       0.35      -11,007        13,582         0.35        -10,693

    3,117        1.98        3,308        1.18       -191         3,346         1.19             -229 Night Audit                            38,605          1.65      39,059       0.99         -454        38,750         1.01             -145

    1,957        1.24        4,181        1.49     -2,224         4,205         1.49        -2,248 Payroll Taxes                             27,784          1.18      50,652       1.29      -22,867        47,633         1.24        -19,849

     434         0.28        1,152        0.41       -718         1,171         0.42             -737 Employee Benefits                       8,669          0.37      13,824       0.35       -5,155        13,268         0.34            -4,599

   -2,746        -1.75        925         0.33     -3,671         5,419         1.92        -8,165 Vacation /PTO                             38,736          1.65      11,100       0.28       27,636        15,517         0.40         23,218

    1,340        0.85        4,000        1.43     -2,660         3,542         1.26        -2,202 Holiday                                    6,306          0.27      13,400       0.34       -7,094        14,060         0.36            -7,755

         0       0.00         150         0.05       -150             0         0.00                0 Bonus/Incentive Pay                            0       0.00       1,800       0.05       -1,800             200       0.01             -200



  19,933        12.68      52,843        18.85    -32,909       49,827         17.69      -29,894 Total P/R & R/Benefits- Rooms            364,528          15.53    640,062       16.29    -275,534       603,275         15.65       -238,747

                                                                                                       ROOMS DEPARTMENT
                                                                                                       OPERATING EXPENSE

         0       0.00         112         0.04       -112           113         0.04             -113 Newspapers                                351          0.01       1,572       0.04       -1,221         1,499         0.04            -1,148

    2,576        1.64       10,371        3.70     -7,795         8,782         3.12        -6,206 Comp Breakfast                            56,685          2.42     145,421       3.70      -88,736       137,953         3.58        -81,268

         0       0.00             0       0.00          0            21         0.01              -21 Comp Breakfast- Equipment                 416          0.02       6,000       0.15       -5,584         1,751         0.05            -1,335

         0       0.00         364         0.13       -364           608         0.22             -608 Rooms- Promotion                        2,165          0.09       5,109       0.13       -2,944         5,669         0.15            -3,503

         0       0.00          56         0.02        -56             0         0.00                0 Guest Transportation                           0       0.00         786       0.02         -786              20       0.00               -20

         0       0.00         308         0.11       -308           917         0.33             -917 Kitchen Furnishings                     1,649          0.07       4,323       0.11       -2,675         5,394         0.14            -3,746

         0       0.00         168         0.06       -168             0         0.00                0 Laundry Supplies                        1,033          0.04       2,358       0.06       -1,325         2,109         0.05            -1,076

         0       0.00        1,300        0.46     -1,300         1,264         0.45        -1,264 Linen Supplies                             9,240          0.39      22,367       0.57      -13,127        19,007         0.49            -9,767

    1,852        1.18        1,801        0.64         51         1,801         0.64               51 Cable TV                               20,440          0.87      21,612       0.55       -1,172        21,503         0.56            -1,063

     480         0.31         480         0.17          0           480         0.17                0 HSIA Support                            5,807          0.25       5,754       0.15            53        5,904         0.15               -97

         0       0.00             0       0.00          0             0         0.00                0 Printing & Stationary                   3,620          0.15      10,100       0.26       -6,480         1,019         0.03            2,601

    1,250        0.80        1,654        0.59       -404         1,545         0.55             -295 Reservations Expense                   15,166          0.65      23,189       0.59       -8,023        21,350         0.55            -6,184

    2,527        1.61        2,971        1.06       -444         2,505         0.89               22 Guest Room Supplies                    22,868          0.97      41,661       1.06      -18,793        40,513         1.05        -17,644

     314         0.20         533         0.19       -219           210         0.07             103 Cleaning Supplies                        3,873          0.17       7,468       0.19       -3,595         7,264         0.19            -3,391

     483         0.31         415         0.15         68           276         0.10             206 Ecolab Core Supplies                     5,446          0.23       6,610       0.17       -1,164         6,155         0.16             -709

         0       0.00        4,485        1.60     -4,485         4,244         1.51        -4,244 Evening Social- Food                      14,302          0.61      62,885       1.60      -48,583        59,802         1.55        -45,500

         0       0.00         841         0.30       -841           912         0.32             -912 Evening Social- Beverage                2,728          0.12      11,791       0.30       -9,063        10,927         0.28            -8,199

         0       0.00             0       0.00          0             0         0.00                0 Evening Social- Equipment                 163          0.01           0       0.00         163               90       0.00               73

    3,257        2.07        9,362        3.34     -6,105         8,670         3.08        -5,413 Travel Agents Commission                  68,200          2.91     131,272       3.34      -63,072       126,658         3.29        -58,459

     225         0.14         300         0.11        -75            87         0.03             138 Uniforms                                   770          0.03       7,600       0.19       -6,830         2,111         0.05            -1,341

         0       0.00             0       0.00          0             0         0.00                0 Contract Cleaning                              0       0.00       2,000       0.05       -2,000               0       0.00                0

         0       0.00             0       0.00          0             0         0.00                0 Walk Expense                                   0       0.00           0       0.00             0            729       0.02             -729

     621         0.40             0       0.00        621             0         0.00             621 COVID 19 Supplies                        3,596          0.15           0       0.00        3,596               0       0.00            3,596



  13,584         8.64      35,521        12.67    -21,937       32,435         11.52      -18,851 Total Operating - Rooms                  238,517          10.16    519,878       13.23    -281,361       477,427         12.39       -238,910



  33,518        21.32      88,364        31.52    -54,846       82,262         29.21      -48,745 Total Expenses- Rooms                    603,045          25.70   1,159,940      29.51    -556,895      1,080,701        28.04       -477,656



 118,960        75.67     232,992        83.12   -114,031      235,870         83.76     -116,910 Net Income- Rooms                       1,795,415         76.51   3,737,567      95.10   -1,942,153     3,656,447        94.88     -1,861,032
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                                                               Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                               For Property: HWS Raleigh Crabtree
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                        Description       YTD            % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                Budget              Bud Var         Year                          Var
                                                                                                          Food & Beverage
                                                                                                          Summary


            0         0.00            0       0.00         0             0        0.00                0 Total Food Sales                                0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00                0 Total Beverage Sales                            0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00                0 Total Banquet A/V                               0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00                0 Total Banquet Misc                              0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00                0 Total F & B Sales                               0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00                0 Food Cost                                       0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00                0 Beverage Costs                                  0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00                0 Banquet A/V Costs                               0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00                0 Total F & B Costs                               0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00                0 Food Wages                                      0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00                0 Beverage Wages                                  0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00                0 Total F & B Wages                               0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00                0 F & B- P T & E B                                0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0        0.00                0 TTL P/R and Benefits                            0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0        0.00                0 Food Operating Expenses                         0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0        0.00                0 Beverage Operating Expenses                     0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00                0 Total F & B Operating Expenses                  0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0        0.00                0 Net F & B Income                                0       0.00        0       0.00             0              0       0.00                  0




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                                                              Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                              For Property: HWS Raleigh Crabtree
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                      Description         YTD            % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                        Var                                                               Budget             Bud Var         Year                         Var
                                                                                                         Food Department




            0         0.00            0      0.00         0             0        0.00                0 Total Restaurant                                0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Bar Food                              0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Bistro                                0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Garden Grill                          0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Other Food Revenue                    0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Room Service                          0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Banquets                                  0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Catering                                  0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00                0 Net Food Revenue                            0          0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Banquets Other                            0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00                0 Total Food Revenues                             0      0.00        0      0.00             0              0      0.00                  0

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                                                              Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                              For Property: HWS Raleigh Crabtree
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                      Description         YTD            % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                        Var                                                               Budget             Bud Var         Year                         Var
                                                                                                         Cost of Goods Sold

            0         0.00            0      0.00         0             0        0.00                0 Total Cost of Good Sold                         0      0.00        0      0.00             0              0      0.00                  0


                                                                                                         Food Payroll

            0         0.00            0      0.00         0             0        0.00                0 Total Food Wages                                0      0.00        0      0.00             0              0      0.00                  0


                                                                                                         Operating Expenses



            0         0.00            0      0.00         0             0        0.00                0 Total Operating Expense- Food                   0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00                0 Total Food Costs                                0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00                0 N.I.- Food Department                           0      0.00        0      0.00             0              0      0.00                  0

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                                                              Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                              For Property: HWS Raleigh Crabtree
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                    Description           YTD            % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                        Var                                                               Budget             Bud Var         Year                         Var
                                                                                                         Beverage Department




            0         0.00            0      0.00         0             0        0.00                0 Total Restaurant Beverage                       0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00                0 Total Garden Grill Beverage                     0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Room Service Bev                          0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Bar Beverage                              0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Banquet Beverage                          0      0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0        0.00                0 Total Catering Beverage                         0      0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0        0.00                0 Total Beverage Revenue                          0      0.00        0      0.00             0              0      0.00                  0

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                                                               Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                               For Property: HWS Raleigh Crabtree
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                      Description         YTD            % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                Budget              Bud Var         Year                          Var
                                                                                                          Cost of Goods Sold



            0         0.00            0       0.00         0             0        0.00                0 Total COGS- Beverage                            0       0.00        0       0.00             0              0       0.00                  0


                                                                                                          Beverage Payroll

            0         0.00            0      0.00          0             0        0.00                0 Total Beverage Payroll                          0      0.00         0      0.00              0              0      0.00                   0


                                                                                                          Operating Expenses- Beverage



            0         0.00            0      0.00          0             0        0.00                0 Total Operating- Beverage                       0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0        0.00                0 Total Beverage Costs                            0      0.00         0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0        0.00                0 Net Income- Beverage                            0      0.00         0      0.00              0              0      0.00                   0

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                                                              For Property: HWS Raleigh Crabtree
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year     % / POR      Act vs LY                    Description           YTD        % / POR     YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                        Var                                                           Budget             Bud Var         Year                         Var
                                                                                                         FOOD STATS




            0         0.00            0      0.00         0             0        0.00                0 Total Food Covers                           0      0.00        0      0.00             0              0      0.00                   0

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                                                               Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                               For Property: HWS Raleigh Crabtree
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR       Act vs LY                      Description        YTD         % / POR       YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                              Budget               Bud Var       Year                          Var
                                                                                                          TELECOM
                                                                                                          TELEPHONE REVENUES

            8         0.00            0       0.00         8             7          0.00               1 Local                                     129        0.00         0       0.00        129              63       0.00                    66

            6         0.00         15         0.00        -9            11          0.00              -5 Long Distance                             154        0.00      180        0.00         -26            130       0.00                    24

          267         0.00        175         0.00        92           604          0.00            -337 Internet Access Fees                    1,069        0.00     2,100       0.00      -1,031        2,181         0.00               -1,112



         281          0.00       190         0.00         91          622          0.00         -340 Total Phone Revenues                        1,353       0.00     2,280       0.00        -927        2,374         0.00              -1,021



                                                                                                          COS- Communication

        1,136         0.72        600         0.18       536           851          0.26            285 COS-Local                                9,816        0.40     7,200       0.14       2,616        7,232         0.15               2,584

        1,234       461.80      1,300       742.86       -66         1,291        213.84             -57 COS-HSIA ISP                           14,890    1,392.52    15,600     742.86        -710       15,535       712.24                   -646



       2,370          0.00      1,900        0.00        470         2,142         0.00             228 Total COS- Comm                        24,706        0.00    22,800       0.00       1,906       22,767         0.00                1,939



      -2,089          0.00     -1,710        0.00       -379        -1,521         0.00         -569 Gross Margin- Comm                        -23,353       0.00    -20,520      0.00       -2,833      -20,393        0.00              -2,960




                                                                                                          Operating Expenses

          100         0.00        100         0.00         0           100          0.00               0 Equipment Cost                          1,142        0.00     1,200       0.00         -58        1,200         0.00                    -58

            0         0.00            0       0.00         0             0          0.00               0 Equipment Maintenance                     217        0.00         0       0.00        217               0       0.00                   217



         100          0.00       100         0.00          0          100          0.00                0 Total Operating - Comm                  1,359       0.00     1,200       0.00         159        1,200         0.00                    159



       2,189          0.00      1,810        0.00        379         1,621         0.00             569 N.I.- Comm Dept                        24,712        0.00    21,720       0.00       2,992       21,593         0.00                3,119



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                                                                Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                                For Property: HWS Raleigh Crabtree
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR       Act vs LY                     Description         YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                         Var                                                                Budget               Bud Var         Year                          Var
                                                                                                           MISCELLANEOUS DEPARTMENT
                                                                                                           MISCELLANEOUS REVENUES

            0         0.00        200         4.15       -200           171          3.80            -171 Laundry/Valet                             102          0.22     2,400       3.72      -2,298          2,889         4.83               -2,788

            0         0.00            0       0.00          0         3,285         73.00       -3,285 Gift Shop Sales                                   0       0.00         0       0.00             0       40,458        67.66            -40,458

          210         4.53        340         7.05       -130           234          5.20             -24 Vending                                 2,349          5.09     4,080       6.33      -1,731          3,707         6.20               -1,357

          750        16.17            0       0.00       750            200          4.44            550 Pet Fees                                 9,687         20.99         0       0.00       9,687          1,000         1.67               8,687

            0         0.00            0       0.00          0             0          0.00               0 Miscellaneous                              15          0.03         0       0.00            15            108       0.18                   -93

          613        13.21        750        15.56       -137           460         10.22            153 Late Cancellation Income                 3,700          8.02     9,000      13.96      -5,300          8,582        14.35               -4,883

          750        16.17        250         5.19       500            150          3.33            600 Smoking Fee                              3,657          7.92     3,000       4.65        657           3,048         5.10                   608

        1,983        42.74      2,298        47.69       -316             0          0.00        1,983 Market Sales                              20,459         44.33    32,228      49.99     -11,770                0       0.00             20,459

          334         7.19        981        20.36       -647             0          0.00            334 Market Sales- Beer/Wine                  6,178         13.39    13,756      21.34      -7,578                0       0.00               6,178



       4,639       100.00       4,820       100.00      -180          4,500        100.00            139 Total Miscellaneous Revenues           46,146         100.00    64,465     100.00     -18,318        59,792        100.00            -13,646



                                                                                                           COSales- Miscellaneous

            0         0.00        180        90.00       -180           171        100.00            -171 COS-Laundry/Valet                         171        167.98     2,160      90.00      -1,989          2,791        96.60               -2,620

            0         0.00            0       0.00          0         1,727         52.57       -1,727 COS-Gift Shop                                     0       0.00         0       0.00             0       23,343        57.70            -23,343

        1,248        62.96      1,149        50.00        99              0          0.00        1,248 COS- Market                               10,348         50.58    16,114      50.00      -5,767                0       0.00             10,348

          119         2.57        256         5.32       -137             0          0.00            119 COS- Market Beer/Wine                    1,930          4.18     4,083       6.33      -2,153              105       0.18               1,825



       1,368         29.48      1,586        32.90      -218          1,898         42.17        -530 Total COS- Miscellaneous                  12,448          26.98    22,357      34.68      -9,909        26,239         43.88            -13,791



            0         0.00      6,200        76.07     -6,200         5,139         50.86       -5,139 Banquet Room Rental                       25,359         84.73    85,800      73.71     -60,441         82,613        70.17            -57,254

          241       100.00      1,600        19.63     -1,359         3,689         36.52       -3,448 Banquet Room F & B                         3,896         13.02    26,400      22.68     -22,504         29,167        24.77            -25,271

            0         0.00        350         4.29       -350         1,275         12.62       -1,275 Banquet Room AV Rental                       675          2.26     4,200       3.61      -3,525          5,958         5.06               -5,283

         241       100.00       8,150       100.00     -7,909       10,104         100.00       -9,863 Total Meeting Room Revenues              29,930         100.00   116,400     100.00     -86,470       117,739        100.00            -87,808


                                                                                                           Cost of Sales- Meeting Room

            0         0.00        640         7.85       -640         1,662         16.45       -1,662 COS-Banquet Room F & B                     1,256          4.20    10,560       9.07      -9,304         13,927        11.83            -12,671

            0         0.00        355         4.36       -355           421          4.16            -421 COS-Banquet Room AV                     1,518          5.07     5,075       4.36      -3,557          5,253         4.46               -3,735



       3,512         75.71     10,389       215.55     -6,876       10,623         236.07       -7,111 Total Miscellaneous Profit               60,855         131.87   142,872     221.63     -82,018       132,112        220.95            -71,257

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                                                                For Property: HWS Raleigh Crabtree
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                         Description       YTD           % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                         Var                                                                Budget               Bud Var         Year                          Var
                                                                                                           ADMIN & GENERAL DEPARTMENT
                                                                                                           ADMIN & GENERAL

                                                                                                           P/R & Related Benefits- A&G

        6,284         3.99      6,998         2.09       -714         5,451         1.64             833 General Manager                         74,798          3.02    81,627       1.61      -6,829         77,497         1.58               -2,699

          270         0.17      3,924         1.17     -3,654         3,244         0.98        -2,974 Assistant General Manager                 38,000          1.54    45,996       0.91      -7,996         42,532         0.87               -4,532

        2,209         1.40            0       0.00      2,209             0         0.00         2,209 Operations Manager                         5,231          0.21         0       0.00       5,231                0       0.00               5,231

        1,126         0.72        765         0.23       362            801         0.24             325 Payroll Taxes                           10,832          0.44     9,914       0.20         918         10,145         0.21                   687

        1,808         1.15      1,180         0.35       628            461         0.14         1,347 Employee Benefits                          9,100          0.37    14,160       0.28      -5,060         10,149         0.21               -1,049

          907         0.58            0       0.00       907            308         0.09             599 Vacation /PTO                           16,815          0.68         0       0.00      16,815          3,766         0.08             13,050

        1,240         0.79            0       0.00      1,240           959         0.29             281 Holiday                                  3,780          0.15         0       0.00       3,780          2,398         0.05               1,382

             0        0.00            0       0.00          0           250         0.08             -250 Bonus/Incentive Pay                     3,702          0.15    14,000       0.28     -10,298          6,480         0.13               -2,779



      13,845          8.80     12,867         3.85       978        11,474          3.45        2,371 Total P/R & R/B- A&G                     162,257           6.56   165,697      3.26       -3,440       152,967         3.11                9,290


                                                                                                           Operating Expenses- A&G

          817         0.52      3,700         1.11     -2,883         2,785         0.84        -1,968 Employee Relations                         2,761          0.11     9,200       0.18      -6,439          8,747         0.18               -5,986

        4,000         2.54      2,000         0.60      2,000         2,000         0.60         2,000 Accounting Fees                           26,000          1.05    24,000       0.47       2,000         24,000         0.49               2,000

        4,220         2.68      3,966         1.19       254          4,720         1.42             -499 Data Processing                        23,858          0.96    22,502       0.44       1,356         24,735         0.50                   -877

          391         0.25        336         0.10        55            368         0.11               23 Office Supplies                         3,967          0.16     4,716       0.09        -749          6,492         0.13               -2,524

            44        0.03         44         0.01          0            44         0.01                0 Muzak                                      510         0.02       528       0.01         -18              625       0.01                   -115

             0        0.00        400         0.12       -400           627         0.19             -627 Travel & Lodging                        2,803          0.11     7,050       0.14      -4,247         11,240         0.23               -8,437

             0        0.00         40         0.01        -40             0         0.00                0 Meals and Entertainment                    252         0.01       630       0.01        -378              374       0.01                   -122

             0        0.00         75         0.02        -75            75         0.02              -75 Telephone                                  188         0.01       900       0.02        -712              600       0.01                   -412

             0        0.00            0       0.00          0             0         0.00                0 Licenses and Permits                    1,930          0.08     3,145       0.06      -1,215          3,613         0.07               -1,684

            97        0.06         84         0.03        13             92         0.03                5 Postage                                    799         0.03     1,179       0.02        -380          1,191         0.02                   -392

             0        0.00         50         0.01        -50             0         0.00                0 Recruitment                                979         0.04     1,750       0.03        -771          1,457         0.03                   -478

            70        0.04        200         0.06       -130           171         0.05             -102 Employment Screening/ Drug Testing      1,387          0.06     2,550       0.05      -1,163          2,281         0.05                   -894

             0        0.00        150         0.04       -150         1,231         0.37        -1,231 Training                                   1,635          0.07     3,550       0.07      -1,915          4,194         0.09               -2,559

             0        0.00            0       0.00          0             0         0.00                0 Bad Debt                                       0       0.00         0       0.00             0        1,767         0.04               -1,767

          150         0.10        165         0.05        -15           150         0.05                0 Dues/Subscriptions                      1,532          0.06     3,240       0.06      -1,708          3,332         0.07               -1,800

        3,957         2.51      8,497         2.54     -4,539         7,414         2.23        -3,457 Credit Card Commissions                   51,105          2.07   129,049       2.54     -77,943        123,163         2.51            -72,058

          244         0.15            0       0.00       244           -695        -0.21             938 Cash Over/Short                          1,283          0.05         0       0.00       1,283           -597        -0.01               1,880

             0        0.00         55         0.02        -55             0         0.00                0 Equipment Rental                           111         0.00       660       0.01        -549              482       0.01                   -371

          413         0.26        500         0.15        -87           718         0.22             -304 Payroll Services                        5,509          0.22     7,850       0.15      -2,341          8,585         0.17               -3,076

        1,278         0.81      1,210         0.36        68          1,410         0.42             -132 Bank Charges                           14,944          0.60    14,520       0.29         424         17,545         0.36               -2,601

             0        0.00            0       0.00          0        -1,351        -0.41         1,351 Chargebacks                                   610         0.02         0       0.00         610          3,982         0.08               -3,372

        1,549         0.98      1,268         0.38       281          2,040         0.61             -491 Workers Comp Insurance                 12,540          0.51    16,676       0.33      -4,136         17,780         0.36               -5,241



      17,231         10.95     22,740         6.80     -5,509       21,800          6.55       -4,569 Total Operating- A&G                     154,702           6.25   253,695      5.00      -98,993       265,588         5.40           -110,885



      31,076         19.75     35,607        10.65     -4,531       33,274         10.00       -2,199 Total Expenses- A&G                      316,959          12.81   419,392      8.26     -102,433       418,554         8.52           -101,595

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 376 of 541
                                                                Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                                For Property: HWS Raleigh Crabtree
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                         Description      YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                         Var                                                                Budget               Bud Var         Year                          Var
                                                                                                           SALES DEPARTMENT
                                                                                                           SALES

                                                                                                           P/R & R/B

        6,089         3.87      5,439         1.63       650          2,981        0.90          3,108 Director of Sales                         59,280          2.40    63,594       1.25      -4,314         55,127         1.12               4,153

            0         0.00            0       0.00         0             51        0.02               -51 Sales Manager                              87          0.00         0       0.00            87            271       0.01                   -184

          562         0.36      1,412         0.42       -851         1,091        0.33              -530 Revenue Management                      8,566          0.35    16,946       0.33      -8,380         13,672         0.28               -5,106

            0         0.00        172         0.05       -172             0        0.00                 0 E Commerce Management                     516          0.02     2,066       0.04      -1,549                0       0.00                   516

        2,551         1.62      2,655         0.79       -104         1,785        0.54              765 Sales Coordinator                        9,715          0.39    31,349       0.62     -21,634         26,083         0.53            -16,368

          793         0.50        677         0.20       115            394        0.12              399 Payroll Taxes                            5,736          0.23     8,243       0.16      -2,506          7,212         0.15               -1,475

        1,715         1.09      1,125         0.34       590            521        0.16          1,194 Employee Benefits                         12,389          0.50    13,500       0.27      -1,111         11,704         0.24                   685

       -2,268        -1.44            0       0.00     -2,268         1,192        0.36         -3,461 Vacation / PTO                            13,823          0.56         0       0.00      13,823          4,323         0.09               9,500

          620         0.39            0       0.00       620            836        0.25              -216 Holiday                                 2,758          0.11         0       0.00       2,758          2,655         0.05                   103

            0         0.00            0       0.00          0             0        0.00                 0 Bonus/Incentive Pay                     2,028          0.08     3,800       0.07      -1,772          3,755         0.08               -1,727



      10,061          6.39     11,481        3.43      -1,419         8,852        2.66         1,209 Total P/R & R/B- Sales                   114,899          4.64    139,497      2.75      -24,598       124,803         2.54              -9,903


                                                                                                           Operating Expenses- Sales

            0         0.00            0       0.00          0             0        0.00                 0 Printing & Stationary                     -48          0.00       160       0.00        -208              164       0.00                   -212

            0         0.00            0       0.00          0             6        0.00                -6 Office Supplies                           243          0.01       315       0.01         -72              230       0.00                    13

            0         0.00        100         0.03       -100           611        0.18              -611 Travel & Lodging                        1,509          0.06     3,600       0.07      -2,091          2,884         0.06               -1,375

            0         0.00        100         0.03       -100           120        0.04              -120 Meals & Entertainment                     206          0.01     1,200       0.02        -994              401       0.01                   -194

            0         0.00        200         0.06       -200           495        0.15              -495 Promotions                                162          0.01     2,600       0.05      -2,438          2,409         0.05               -2,246

            0         0.00         50         0.01        -50            50        0.02               -50 Telephone                                 100          0.00       600       0.01        -500              600       0.01                   -500

            0         0.00            0       0.00          0             0        0.00                 0 Postage                                        0       0.00        80       0.00         -80                0       0.00                     0

            0         0.00            0       0.00          0             0        0.00                 0 Sales Training                          1,787          0.07     2,375       0.05        -588              225       0.00               1,562

          132         0.08            0       0.00       132              0        0.00              132 Dues & Subscriptions                     9,569          0.39     9,079       0.18        490           8,159         0.17               1,410

            0         0.00         50         0.01        -50             0        0.00                 0 Trade Show                                     0       0.00       200       0.00        -200               21       0.00                    -21

            0         0.00            0       0.00          0             0        0.00                 0 Display Advertising                            0       0.00         0       0.00             0            658       0.01                -658

            0         0.00        100         0.03       -100           200        0.06              -200 e Commerce Costs                          250          0.01     1,200       0.02        -950          2,435         0.05               -2,185

          642         0.41      1,101         0.33       -459         1,147        0.34              -505 Brand Paid Search                       7,821          0.32    16,767       0.33      -8,946         15,298         0.31               -7,476

            0         0.00            0       0.00          0             0        0.00                 0 Program Costs                                  0       0.00       725       0.01        -725                0       0.00                     0

            0         0.00            0       0.00          0             0        0.00                 0 Collateral                                     0       0.00       400       0.01        -400               30       0.00                    -30



         774          0.49      1,701        0.51       -927          2,628        0.79        -1,855 Total Operating- Sales                    21,601          0.87     39,301      0.77      -17,701        33,514         0.68             -11,913



      10,835          6.89     13,182        3.94      -2,347       11,481         3.45          -646 Total Expenses-Sales                     136,500          5.52    178,799      3.52      -42,299       158,316         3.22             -21,816

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                                                                 Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                                 For Property: HWS Raleigh Crabtree
                                                                 00- Master P&L-CAPSTONE
                                                                 As of 12/31/2020

   Actual         % / POR     Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                          Description         YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                      Bud Var                                         Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                            MAINTENANCE DEPARTMENT
                                                                                                            REPAIRS & MAINTENANCE
                                                                                                            P/R & Related Expenses- Maintenance

             0        0.00       4,142         1.48     -4,142         2,802        0.99         -2,802 Chief Engineer                              11,482         0.49    48,546       1.24     -37,064         41,518         1.08            -30,036

        2,473         1.57       2,841         1.01       -368         3,811        1.35         -1,338 General Maintenance                         25,674         1.09    33,541       0.85      -7,867         46,675         1.21            -21,001

          238         0.15         637         0.23       -400           683        0.24              -445 Payroll Taxes                             3,849         0.16     7,130       0.18      -3,281          8,066         0.21               -4,217

          277         0.18         513         0.18       -236           343        0.12               -66 Employee Benefits                         3,471         0.15     6,156       0.16      -2,685          5,415         0.14               -1,945

             0        0.00         514         0.18       -514           822        0.29              -822 Holiday                                       803       0.03     1,798       0.05        -995          2,656         0.07               -1,854

            -24       -0.02            0       0.00        -24           675        0.24              -699 Vacation /PTO                            10,172         0.43         0       0.00      10,172          6,025         0.16               4,147

             0        0.00             0       0.00          0             0        0.00                 0 Bonus/Incentive Pay                             0       0.00         0       0.00             0        1,000         0.03               -1,000



       2,964          1.89       8,647        3.08      -5,683         9,136        3.24        -6,172 Total P/R & Related Expenses- Maintenance    55,450        2.36     97,171      2.47      -41,721       111,356         2.89             -55,906


                                                                                                            Operating Expenses- R & M

             0        0.00         195         0.07       -195           109        0.04              -109 Auto Expense                              1,002         0.04     3,911       0.10      -2,909          4,102         0.11               -3,100

             0        0.00         252         0.09       -252           638        0.23              -638 Laundry Equipment                         2,793         0.12     3,537       0.09        -744          3,755         0.10                   -962

            75        0.05         364         0.13       -290           110        0.04               -36 Building Maintenance                      3,977         0.17     5,109       0.13      -1,132          3,377         0.09                   601

          161         0.10             0       0.00       161              0        0.00              161 Office Equipment                               161       0.01         0       0.00        161                 0       0.00                   161

          149         0.09         220         0.08        -71           258        0.09              -109 Light Bulbs                               1,843         0.08     5,500       0.14      -3,657          3,276         0.08               -1,433

             0        0.00         252         0.09       -252           207        0.07              -207 Electrical & Mechanical                   1,820         0.08     3,537       0.09      -1,718          3,374         0.09               -1,554

             0        0.00         364         0.13       -364             0        0.00                 0 HVAC                                          784       0.03     5,109       0.13      -4,325          3,110         0.08               -2,326

          137         0.09         533         0.19       -396           446        0.16              -309 Plumbing & Boiler                         2,145         0.09     7,468       0.19      -5,323          6,790         0.18               -4,646

             0        0.00             0       0.00          0             0        0.00                 0 Pool                                      3,461         0.15     6,550       0.17      -3,089          4,864         0.13               -1,404

        1,324         0.84         972         0.35       352            972        0.35              352 Grounds & Landscaping                      5,621         0.24    14,620       0.37      -8,999         15,288         0.40               -9,667

          273         0.17       1,200         0.43       -927           118        0.04              155 Furniture & Fixtures                       2,241         0.10     9,524       0.24      -7,282          5,001         0.13               -2,760

            50        0.03          56         0.02         -6             0        0.00                50 Painting                                       50       0.00       786       0.02        -736              323       0.01                   -272

             0        0.00         244         0.09       -244             0        0.00                 0 Carpet & Floor                                  9       0.00     4,888       0.12      -4,880          2,501         0.06               -2,492

             0        0.00             0       0.00          0             0        0.00                 0 Window Treatments                               0       0.00         0       0.00             0             54       0.00                    -54

             0        0.00             0       0.00          0             0        0.00                 0 Training                                        0       0.00       500       0.01        -500                0       0.00                     0

             0        0.00          31         0.01        -31            31        0.01               -31 Telephone                                     334       0.01       372       0.01         -38              365       0.01                    -31

             0        0.00         200         0.07       -200         1,538        0.55         -1,538 Kitchen Equipment                                166       0.01     2,400       0.06      -2,234          3,100         0.08               -2,935

             0        0.00          28         0.01        -28             0        0.00                 0 Locks & Keys                                   97       0.00       393       0.01        -296              529       0.01                   -432

          330         0.21         167         0.06       164              0        0.00              330 Radio & TV                                     550       0.02     1,998       0.05      -1,448          1,114         0.03                   -564

          286         0.18         277         0.10        10            277        0.10                10 Exterminating                             5,082         0.22     5,391       0.14        -309          8,795         0.23               -3,713

             0        0.00             0       0.00          0             0        0.00                 0 Maintenance Contracts                         444       0.02         0       0.00        444               770       0.02                   -326

             0        0.00         215         0.08       -215           104        0.04              -104 Equipment Rental                          2,562         0.11     2,583       0.07         -21          2,018         0.05                   544

        2,272         1.45         300         0.11      1,972         1,971        0.70              301 Fire & Safety                             13,894         0.59    10,100       0.26       3,794         12,799         0.33               1,095

             0        0.00         405         0.14       -405           405        0.14              -405 Elevator                                  4,858         0.21     4,863       0.12            -6        4,796         0.12                    62



       5,057          3.22       6,276        2.24      -1,219         7,185        2.55        -2,127 Total Operating - R & M                      53,892        2.30     99,140      2.52      -45,248        90,100         2.34             -36,208



       8,021          5.10      14,923        5.32      -6,901       16,321         5.80        -8,299 Total Expenses- R & M                       109,342        4.66    196,311      4.99      -86,969       201,456         5.23             -92,114

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                                                              Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                              For Property: HWS Raleigh Crabtree
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year     % / POR      Act vs LY                      Description         YTD         % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                         Var                                                             Budget               Bud Var       Year                        Var
                                                                                                         UTILITIES DEPARTMENT
                                                                                                         UTILITIES EXPENSE

        6,380         4.06      8,600       3.07     -2,220         7,118        2.53              -738 Electricity                            79,956       3.41   104,900       2.67     -24,944       98,228       2.55            -18,272

        2,001         1.27      2,875       1.03       -874         3,386        1.20         -1,385 Gas                                       14,927       0.64    23,771       0.60      -8,844       23,046       0.60               -8,119

        5,220         3.32      5,035       1.80       185          7,020        2.49         -1,800 Water & Sewer                             56,606       2.41    68,084       1.73     -11,478       69,326       1.80            -12,721

          408         0.26        670       0.24       -262           670        0.24              -261 Waste Removal                           5,905       0.25     8,900       0.23      -2,995        9,509       0.25               -3,603



      14,010          8.91     17,180      6.13      -3,170       18,194         6.46        -4,185 Total Expenses- Utilities                157,394       6.71    205,655      5.23      -48,261     200,109       5.19             -42,715

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                                                         Case 1:20-cv-06089-JGK Document 56 Filed 01/26/21 Page 379 of 541
                                                                Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                                For Property: HWS Raleigh Crabtree
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                       Description        YTD            % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                     Bud Var                                         Var                                                                Budget               Bud Var       Year                        Var
                                                                                                           FRANCHISE DEPARTMENT
                                                                                                           FRANCHISE FEES

        8,751         5.74      17,716        5.51     -8,965        17,518         5.51        -8,767 Franchise Fees/ Royalties                132,348          5.52   269,858       5.51    -137,510      260,984       5.51           -128,636

        5,569         3.65      11,274        3.51     -5,705        11,148         3.50        -5,579 Advertising                               84,221          3.51   171,728       3.51     -87,506      166,239       3.51            -82,018

        4,134         2.71       7,771        2.42     -3,637         5,928         1.86        -1,794 Frequent Traveler                         49,212          2.05   118,358       2.42     -69,147      117,559       2.48            -68,348

            0         0.00         75         0.02        -75           498         0.16             -498 Brand Guest Fees                               0       0.00       900       0.02        -900        1,234       0.03               -1,234

            0         0.00            0       0.00          0             0         0.00                0 Other Franchise Cost                      -338        -0.01         0       0.00        -338         -344      -0.01                   6



      18,453         12.10     36,836       11.46     -18,383       35,092         11.03      -16,639 Total Franchise Fees Expense             265,443          11.07   560,844      11.45    -295,401     545,673       11.52          -280,230

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                                                                Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                                For Property: HWS Raleigh Crabtree
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                  Description             YTD         % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                         Var                                                             Budget               Bud Var       Year                          Var
                                                                                                           MANAGEMENT FEES
        3,934         2.50      8,363         2.50     -4,429         8,318        2.50         -4,384 Management Fees                           61,863       2.50   127,016       2.50     -65,153      122,976         2.50            -61,113

       11,009         7.00            0       0.00     11,009             0        0.00         11,009 Management Fees- Owner                    26,220       1.06         0       0.00      26,220              0       0.00             26,220



      14,943          9.50      8,363        2.50      6,580          8,318        2.50         6,625 Total Management Fees Expense             88,083       3.56    127,016      2.50      -38,933     122,976         2.50             -34,893



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                                                               Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                               For Property: HWS Raleigh Crabtree
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget      % / POR    Act vs     Last Year     % / POR       Act vs LY                    Description          YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                    Bud Var                                         Var                                                             Budget               Bud Var         Year                          Var
                                                                                                          FIXED EXPENSES
       39,775        25.28      39,776      11.90         0         38,711         11.63        1,064 Ground Lease                             474,114      19.16   473,049       9.31       1,065        461,425         9.39             12,689

       17,743        11.28      13,381       4.00      4,363      -196,503        -59.06      214,247 FF & E Reserve                           212,922       8.60   203,226       4.00       9,696                0       0.00            212,922

       17,891        11.37      17,891       5.35         0         16,136          4.85        1,754 Real Estate Tax                          214,686       8.68   214,686       4.23             0      169,364         3.45             45,322

          786         0.50        786        0.24         0           -656         -0.20        1,442 Personal Property Tax                      9,434       0.38     9,434       0.19             0        9,341         0.19                   93

        6,096         3.87       5,176       1.55       920          4,946          1.49        1,150 Insurance                                 64,997       2.63    61,987       1.22       3,010         59,384         1.21               5,613



      82,291         52.30     77,009       23.03     5,282       -137,366        -41.28     219,657 TOTAL FIXED EXPENSES                     976,152       39.45   962,382      18.95     13,770        699,513         14.23           276,639

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                                                                Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                                For Property: HWS Raleigh Crabtree
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year     % / POR      Act vs LY                        Description       YTD            % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                         Var                                                                Budget               Bud Var         Year                          Var
                                                                                                           TOTAL OTHER
       20,363        12.94            0       0.00     20,363           350         0.11        20,013 Owners Expense                            33,060          1.34         0       0.00      33,060         15,015         0.31             18,045

       61,717        39.22            0       0.00     61,717        42,883        12.89        18,834 Depreciation                             740,604         29.93         0       0.00     740,604        721,770        14.69             18,834

        4,293         2.73            0       0.00      4,293         5,836         1.75        -1,543 Amortization Expense                      51,516          2.08         0       0.00      51,516         53,059         1.08               -1,543

       49,475        31.44      49,475       14.80         0         49,476        14.87              -1 Interest Expense                       592,971         23.96   593,702      11.69        -731        597,616        12.16               -4,645

       17,397        11.06       3,345        1.00     14,052         3,327         1.00        14,070 Asset Management Fee                      24,745          1.00    50,807       1.00     -26,062         49,145         1.00            -24,400

            0         0.00            0       0.00         0        -10,533        -3.17        10,533 Extraordinary Expenses                     4,513          0.18         0       0.00       4,513                0       0.00               4,513

            0         0.00            0       0.00         0           -907        -0.27             907 GB 1 YE AJE                                     0       0.00         0       0.00             0         -907        -0.02                   907

            0         0.00            0       0.00         0         40,061        12.04       -40,061 GB- 2 R&M/Capex AJE                               0       0.00         0       0.00             0       40,061         0.82            -40,061



     153,245         97.39     52,820        15.80   100,425       130,493         39.22       22,752 Total Other                             1,447,409         58.49   644,508      12.69    802,901       1,475,758        30.03            -28,349

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                                                               Company: 5400 Raleigh Crabtree dba HWS Raleigh Crabtree Property: HWS Raleigh Crabtree
                                                               For Property: HWS Raleigh Crabtree
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year     % / POR      Act vs LY                     Description          YTD            % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                Budget              Bud Var         Year                          Var
                                                                                                          House Laundry Dept




            0         0.00            0      0.00          0             0        0.00                0 Total P/R & Benefits- Ldy                       0      0.00         0      0.00              0              0      0.00                    0


                                                                                                          Operating Expenses




            0         0.00            0      0.00          0             0        0.00                0 Total Operating Expenses- Ldy                   0      0.00         0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0        0.00                0 Total Laundry Expenses                          0       0.00        0       0.00             0              0       0.00                   0



                                                                                                          Allocation




            0         0.00            0      0.00          0             0        0.00                0 Total Allocation                                0      0.00         0      0.00              0              0      0.00                    0



            0                         0                    0             0                            0 Total Lndry Dept                                0                   0                        0              0                              0



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                                                            Company: 3798 White Lake-Naples dba SHS Naples Property: SpringHill Suites Naples (Capstone)
                                                            For Property: SpringHill Suites Naples (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

Actual       % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                    Description            YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR    Act vs LY
                                                 Bud Var                                        Var                                                                  Budget                Bud Var         Year                       Var
                                                                                                      SUMMARY

    3,162                    3,162                      0         3,162                           0 Total Rooms Available                      37,332                  37,332                        0       37,230                           102

    1,289                    2,495                 -1,206         2,495                       -1,206 Total Rooms Sold                           9,521                  26,104                 -16,583        25,425                     -15,904

 40.77%                   78.91%                 -38.14%        78.91%                     -38.14% Occupancy %                               25.50%                  69.92%                  -44.42%        68.29%                     -42.79%

  110.81                   114.20                   -3.40        114.20                       -3.40 Average Rate                              146.19                  121.22                   24.98         121.72                         24.48

   45.17                    90.11                  -44.94         90.11                      -44.94 REVPAR                                     37.28                   84.76                   -47.47         83.12                      -45.84




                                                                                                      REVENUES

  142,830        97.50     284,939       98.07   -142,109       284,936         97.53      -142,106 ROOMS                                   1,391,907       97.33   3,164,228      98.02   -1,772,321      3,094,683       97.90      -1,702,776

         0        0.00            0       0.00          0             0          0.00             0 FOOD                                           0         0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00             0 BEVERAGE                                       0         0.00           0       0.00             0              0       0.00                0

    3,658         2.50       5,612        1.93     -1,954         7,226          2.47         -3,568 MISCELLANEOUS                             38,136        2.67      63,956       1.98      -25,820        66,354         2.10        -28,218



 146,487       100.00     290,551       100.00   -144,063      292,162         100.00      -145,675 TOTAL REVENUES                         1,430,042       100.00   3,228,183     100.00   -1,798,141     3,161,036       100.00     -1,730,994




                                                                                                      DEPARTMENT EXPENSES

   36,470        25.53      73,395       25.76    -36,925        74,186         26.04        -37,716 ROOMS EXPENSE                           321,996        23.13     766,519      24.22     -444,523       732,769        23.68       -410,772

         0        0.00            0       0.00          0             0          0.00             0 FOOD EXPENSE                                   0         0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00             0 BEVERAGE EXPENSE                               0         0.00           0       0.00             0              0       0.00                0

    1,236        33.80       1,803       32.13       -567         2,588         35.82         -1,352 MISCELLANEOUS EXPENSE                      8,599       22.55      18,878      29.52      -10,279        19,541        29.45        -10,942



  37,706        25.74      75,198        25.88    -37,492        76,774         26.28       -39,068 TOTAL DEPARTMENTAL EXPENSES              330,595        23.12    785,398       24.33    -454,802       752,309         23.80       -421,714



                                                                                                      DEPARTMENTAL PROFIT

  106,360        74.47     211,544       74.24   -105,184       210,750         73.96      -104,390 ROOMS PROFIT                            1,069,910       76.87   2,397,708      75.78   -1,327,798      2,361,914       76.32      -1,292,004

         0        0.00            0       0.00          0             0          0.00             0 FOOD PROFIT                                    0         0.00           0       0.00             0              0       0.00                0

         0        0.00            0       0.00          0             0          0.00             0 BEVERAGE PROFIT                                0         0.00           0       0.00             0              0       0.00                0

    2,421        66.20       3,809       67.87     -1,388         4,638         64.18         -2,216 MISCELLANEOUS PROFIT                      29,537       77.45      45,078      70.48      -15,541        46,813        70.55        -17,276



 108,781        74.26     215,353        74.12   -106,571      215,388          73.72      -106,607 TOTAL DEPARTMENTAL PROFIT              1,099,447        76.88   2,442,786      75.67   -1,343,339     2,408,727        76.20     -1,309,280



   23,321        15.92      28,648        9.86     -5,326        29,768         10.19         -6,446 A & G EXPENSE                           230,726        16.13     317,697       9.84      -86,971       317,869        10.06        -87,143

    2,092         1.43       1,867        0.64        225         2,003          0.69            88 TELECOM                                    24,903        1.74      22,879       0.71        2,024        22,748         0.72            2,155

    8,171         5.58       8,137        2.80         34         8,156          2.79            15 SALES & MARKETING EXPENSES                 74,347        5.20     100,749       3.12      -26,402        95,733         3.03        -21,386

   15,935        10.88      32,120       11.05    -16,186        30,977         10.60        -15,043 FRANCHISE FEES                          176,949        12.37     359,402      11.13     -182,453       346,623        10.97       -169,674

    9,503         6.49      13,481        4.64     -3,978        15,227          5.21         -5,723 MAINTENANCE EXPENSES                      71,066        4.97     135,127       4.19      -64,060       122,613         3.88        -51,547

    6,249         4.27      12,079        4.16     -5,830        15,911          5.45         -9,662 UTILITIES EXPENSE                         85,074        5.95     146,428       4.54      -61,354       153,813         4.87        -68,740



  65,270        44.56      96,332        33.15    -31,062      102,041          34.93       -36,771 TOTAL ADMIN EXPENSES                     663,065        46.37   1,082,281      33.53    -419,216      1,059,399        33.51       -396,334



  43,511        29.70     119,021        40.96    -75,510      113,347          38.80       -69,836 HOUSE PROFIT                             436,382        30.52   1,360,505      42.14    -924,123      1,349,328        42.69       -912,946



                                                                                                      FIXED EXPENSES

   17,427        11.90       7,268        2.50     10,160         7,304          2.50        10,123 MANAGEMENT FEES                            64,738        4.53      80,738       2.50      -16,000        79,029         2.50        -14,291

   48,654        33.21      51,853       17.85     -3,199        -48,422       -16.57        97,076 FIXED EXPENSES                           570,384        39.89     607,170      18.81      -36,786       467,185        14.78        103,199
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     -22,570        -15.41   59,900   20.62    -82,470   154,465   52.87   -177,035 NET OPERATING INCOME                     -198,740    -13.90   672,597   20.84    -871,337    803,113    25.41        -1,001,853



       84,446        57.65   23,279    8.01     61,167    87,325   29.89      -2,879 Other                                     958,456    67.02   276,761    8.57      681,696    952,810   30.14                  5,646



    -107,016        -73.06   36,621   12.60   -143,638    67,140   22.98   -174,156 N.I. after Other                        -1,157,196   -80.92   395,837   12.26   -1,553,033   -149,697   -4.74        -1,007,500



     -54,410                 36,621            -91,032    93,198           -147,608 Cash before Depreciation/Amortization    -525,924             395,837            -921,761    455,027                   -980,952

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                                                                   For Property: SpringHill Suites Naples (Capstone)
                                                                   00- Master P&L-CAPSTONE
                                                                   As of 12/31/2020

   Actual        % / POR        Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                       Description         YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                        Bud Var                                        Var                                                                  Budget                Bud Var         Year                          Var
                                                                                                             ROOMS DEPARTMENT
                                                                                                             ROOMS REVENUE

       33,930        23.76         84,356       29.60    -50,426        82,800         29.06        -48,870 Rack/ Premium                            463,757       33.32   1,039,254      32.84     -575,497      1,029,538       33.27           -565,781

       47,866        33.51         83,832       29.42    -35,966        84,870         29.79        -37,005 Discounts - Other                        372,092       26.73     994,232      31.42     -622,139       965,885        31.21           -593,793

          970         0.68          2,894        1.02     -1,924         6,192          2.17         -5,222 Government                                48,886        3.51     124,136       3.92      -75,250       127,483         4.12             -78,597

       15,744        11.02         41,317       14.50    -25,574        41,047         14.41        -25,304 Locally Negotiated Rate                 185,553        13.33     524,202      16.57     -338,650       513,336        16.59           -327,784

         -656        -0.46               0       0.00       -656         -2,472        -0.87          1,816 Allowances                               -21,739       -1.56           0       0.00      -21,739        -26,170       -0.85                  4,430

          464         0.32          3,104        1.09     -2,640         1,834          0.64         -1,370 Redemption Revenue                        64,567        4.64     101,683       3.21      -37,116       104,284         3.37             -39,717



      98,318         68.84       215,503        75.63   -117,185       214,272         75.20      -115,955 Total Transient Revenue                1,113,116        79.97   2,783,507      87.97   -1,670,391     2,714,357        87.71        -1,601,241




             0        0.00               0       0.00          0             0          0.00              0 Total Base Revenues                            0        0.00           0       0.00             0              0       0.00                     0



       43,645        30.56         69,436       24.37    -25,791        67,838         23.81        -24,193 Group- Corporate                        268,713        19.31     380,721      12.03     -112,007       363,941        11.76             -95,228



      43,645         30.56        69,436        24.37    -25,791        67,838         23.81       -24,193 Total Group Revenue                      268,713        19.31    380,721       12.03    -112,007       363,941         11.76            -95,228



          867         0.61               0       0.00        867         2,826          0.99         -1,959 Guaranteed No-Show                        10,078        0.72           0       0.00       10,078        16,385         0.53               -6,307



     142,830       100.00        284,939       100.00   -142,109       284,936        100.00      -142,106 Total Rooms Revenue                    1,391,907       100.00   3,164,228     100.00   -1,772,321     3,094,683       100.00        -1,702,776



                                                                                                             ROOM STATISTICS

          221              17        574           23       -353           564            23           -343 Rack/ Premium Rooms                        2,323          24       7,078         27       -4,755         7,005           28               -4,682

          531              41        873           35       -342           885            35           -354 Discounts - Other Rooms                    3,555          37      10,385         40       -6,830        10,057           40               -6,502

             5              0         25            1        -20            36             1            -31 Government Rooms                             280           3         822          3         -542             839          3                  -559

          170              13        449           18       -279           445            18           -275 Locally Negotiated Corporate Rooms         1,349          14       4,810         18       -3,461         4,661           18               -3,312



         927              72       1,921          77       -994          1,930           77         -1,003 Total Transient Stats                      7,507          79      23,094         88      -15,587         22,562          89             -15,055




            0              0             0         0          0              0            0               0 Total Crew Stats                              0           0           0          0              0              0         0                      0



          362              28        574           23       -212           565            23           -203 Group- Corporate Rooms                     2,014          21       3,010         12         -996         2,863           11                  -849



         362              28         574          23       -212            565           23           -203 Total Group Stats                          2,014          21       3,010         12         -996          2,863          11                   -849



       1,289          100          2,495         100      -1,206         2,495          100         -1,206 TOTAL ROOM STATISTICS                      9,521         100      26,104        100      -16,583         25,425         100             -15,904



                                                                                                             Other Room Stats

             8              1            0          0          8            13             1             -5 Comp Rooms                                    67           1           0          0            67             86          0                    -19

          762              59            0          0        762         1,462            59           -700 Single Occupancy                           4,651          49           0          0        4,651        15,356           60             -10,705

          395              31            0          0        395           719            29           -324 Multiple Occupancy                         1,883          20           0          0        1,883         7,362           29               -5,479

            27              2            0          0         27            27             1              0 GNS Stats                                    145           2           0          0         145              147          1                     -2

          193              15            0          0        193            29             1            164 Out of Order Rooms                         2,801          29           0          0        2,801             892          4                  1,909

        2,822             219            0          0      2,822         5,236           210         -2,414 # of Guests                               18,204         191           0          0       18,204        54,265          213             -36,061



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                                                            For Property: SpringHill Suites Naples (Capstone)
                                                            00- Master P&L-CAPSTONE
                                                            As of 12/31/2020

   Actual       % / POR   Budget       % / POR   Act vs     Last Year      % / POR      Act vs LY                       Description         YTD          % / POR     YTD     % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                 Bud Var                                        Var                                                                Budget              Bud Var         Year                         Var
                                                                                                      ADR



       153.53                147.00                  6.53        146.81                         6.72 Rack/Premium ADR                          199.64               146.82                 52.82         146.97                              52.67

         0.00                  0.00                  0.00           0.00                        0.00 Corporate ADR                                0.00                0.00                  0.00           0.00                               0.00

            0                      0                   0              0                            0 Contract - Airline ADR                         0                   0                        0              0                               0

        90.14                 96.00                 -5.86          95.90                       -5.76 Discount ADR                              104.67                95.74                  8.93          96.04                               8.63

         0.00                  0.00                  0.00           0.00                        0.00 Distressed Passengers ADR                    0.00                0.00                  0.00           0.00                               0.00

            0                      0                   0              0                            0 AARP ADR                                       0                   0                        0              0                               0

       194.00                116.00                 78.00        172.00                       22.00 Government ADR                             174.59               151.06                 23.53         151.95                              22.65

         0.00                  0.00                  0.00           0.00                        0.00 AAA ADR                                      0.00                0.00                  0.00           0.00                               0.00

        92.61                 92.00                  0.61          92.24                        0.37 Local Negotiated ADR                      137.55               108.99                 28.56         110.13                              27.41

         0.00                  0.00                  0.00           0.00                        0.00 Packages ADR                                 0.00                0.00                  0.00           0.00                               0.00

         0.00                  0.00                  0.00           0.00                        0.00 Wholesale/FIT ADR                            0.00                0.00                  0.00           0.00                               0.00

            0                      0                   0              0                            0 Internet ADR                                   0                   0                        0              0                               0

            0                      0                   0              0                            0 Tax Exampt - Transient ADR                     0                   0                        0              0                               0



      106.06                112.17                  -6.11        111.02                       -4.96 Total Transient ADR                       148.28               120.53                 27.75         120.31                            27.97




         0.00                  0.00                  0.00           0.00                        0.00 Crew ADR                                     0.00                0.00                  0.00           0.00                               0.00

            0                      0                   0              0                            0 Contract ADR                                   0                   0                        0              0                               0




         0.00                  0.00                  0.00           0.00                        0.00 Group - SMERF ADR                            0.00                0.00                  0.00           0.00                               0.00

       120.57                121.00                 -0.43        120.07                         0.50 Group - Corporate ADR                     133.42               126.50                  6.93         127.12                               6.30

            0                      0                   0              0                            0 Group - Government ADR                         0                   0                        0              0                               0

            0                      0                   0              0                            0 Group - Tour ADR                               0                   0                        0              0                               0

            0                      0                   0              0                            0 Group- Association ADR                         0                   0                        0              0                               0

            0                      0                   0              0                            0 Group - Tax Exampt ADR                         0                   0                        0              0                               0



      120.57                121.00                  -0.43        120.07                        0.50 Total Group ADR                           133.42               126.50                  6.93         127.12                               6.30

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                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                        Description        YTD         % / POR         YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                  Budget                Bud Var         Year                          Var
                                                                                                          Payroll & Related Expense

        6,072         4.71       7,905        3.17     -1,833         7,292         2.92          -1,220 FD/ Guest Service Reps                    30,241        3.18      83,093       3.18      -52,852        73,496         2.89             -43,255

          712         0.55       2,519        1.01     -1,807         1,726         0.69          -1,014 Executive Housekeeper                     24,444        2.57      29,742       1.14       -5,298        25,956         1.02               -1,512

        2,206         1.71       2,495        1.00       -289         2,992         1.20            -786 Asst Exec Housekeeper/ Inspectress         9,097        0.96      26,104       1.00      -17,007        27,897         1.10             -18,800

        4,717         3.66      12,631        5.06     -7,914        11,901         4.77          -7,184 Housekeepers                              42,826        4.50     132,537       5.08      -89,711       129,497         5.09             -86,671

        1,051         0.82       3,275        1.31     -2,224           976         0.39              75 Housemen                                   6,025        0.63      33,990       1.30      -27,966        23,643         0.93             -17,618

        2,205         1.71       3,709        1.49     -1,504         2,312         0.93            -107 Laundry                                   14,730        1.55      39,909       1.53      -25,179        33,009         1.30             -18,279

          360         0.28       2,604        1.04     -2,244         2,357         0.94          -1,997 Comp Breakfast Hostess                     5,845        0.61      30,784       1.18      -24,939        23,213         0.91             -17,369

        1,682         1.30       3,274        1.31     -1,592         3,531         1.42          -1,849 Night Audit                               14,012        1.47      38,652       1.48      -24,640        40,470         1.59             -26,459

        1,557         1.21       3,424        1.37     -1,867         2,686         1.08          -1,128 Payroll Taxes                             14,743        1.55      35,958       1.38      -21,215        33,545         1.32             -18,802

        1,580         1.23       1,565        0.63         15         1,386         0.56            194 Employee Benefits                          10,279        1.08      18,780       0.72       -8,501        20,347         0.80             -10,067

       -1,242        -0.96        900         0.36     -2,142         2,599         1.04          -3,841 Vacation /PTO                             23,681        2.49      10,800       0.41       12,881        17,377         0.68                  6,303

        2,996         2.32       2,444        0.98        552         2,964         1.19              32 Holiday                                    7,091        0.74       8,554       0.33       -1,463         9,021         0.35               -1,930

            0         0.00            0       0.00          0            75         0.03             -75 Bonus/Incentive Pay                           50        0.01       4,350       0.17       -4,300         4,076         0.16               -4,026

            0         0.00            0       0.00          0             0         0.00               0 Contract Labor- Housekeepers              10,148        1.07           0       0.00       10,148               0       0.00             10,148

            0         0.00            0       0.00          0             0         0.00               0 Contract Labor- Houseperson                1,134        0.12           0       0.00        1,134               0       0.00                  1,134

            0         0.00            0       0.00          0             0         0.00               0 Contract Labor- Laundry                    6,607        0.69           0       0.00        6,607               0       0.00                  6,607



      23,897         18.54     46,745        18.74    -22,848        42,797        17.15        -18,900 Total P/R & R/Benefits- Rooms            220,951        23.21    493,253       18.90    -272,302       461,546         18.15          -240,595

                                                                                                          ROOMS DEPARTMENT
                                                                                                          OPERATING EXPENSE

            0         0.00        125         0.05       -125            72         0.03             -72 Newspapers                                   238        0.02       1,305       0.05       -1,067             985       0.04                  -748

        5,429         4.21      11,727        4.70     -6,298        14,296         5.73          -8,867 Comp Breakfast                            35,513        3.73     119,915       4.59      -84,402       117,841         4.63             -82,328

            0         0.00         50         0.02        -50           107         0.04            -107 Comp Breakfast- Equipment                    216        0.02         522       0.02         -306         1,091         0.04                  -875

            0         0.00            0       0.00          0             0         0.00               0 Rooms- Promotion                               0        0.00           0       0.00             0             75       0.00                    -75

            0         0.00         50         0.02        -50             0         0.00               0 Laundry Supplies                             318        0.03         522       0.02         -204             318       0.01                     0

        2,420         1.88       1,372        0.55      1,047          1,881        0.75            539 Linen Supplies                              7,988        0.84      14,357       0.55       -6,369        15,159         0.60               -7,170

        1,309         1.02       1,420        0.57       -111         1,309         0.52               0 Cable TV                                   8,139        0.85      17,040       0.65       -8,901        18,508         0.73             -10,369

            0         0.00            0       0.00          0             0         0.00               0 HSIA Support                               2,632        0.28       4,260       0.16       -1,628         3,060         0.12                  -428

          233         0.18        399         0.16       -166           463         0.19            -230 Reservations Expense                       2,754        0.29       4,177       0.16       -1,422         4,077         0.16               -1,323

          765         0.59       2,495        1.00     -1,730         4,559         1.83          -3,794 Guest Room Supplies                       11,122        1.17      26,104       1.00      -14,982        28,730         1.13             -17,608

          467         0.36        599         0.24       -131           707         0.28            -239 Cleaning Supplies                          3,706        0.39       6,265       0.24       -2,559         5,969         0.23               -2,263

          491         0.38        435         0.17         56           288         0.12            203 Ecolab Core Supplies                        3,491        0.37       4,605       0.18       -1,114         5,286         0.21               -1,795

        1,128         0.88       7,779        3.12     -6,650         7,435         2.98          -6,307 Travel Agents Commission                  19,840        2.08      70,494       2.70      -50,654        68,078         2.68             -48,238

          202         0.16        200         0.08          2           273         0.11             -72 Uniforms                                   3,140        0.33       3,700       0.14         -560         2,046         0.08                  1,094

            0         0.00            0       0.00          0             0         0.00               0 Walk Expense                                 280        0.03           0       0.00         280                0       0.00                   280

          128         0.10            0       0.00        128             0         0.00            128 COVID 19 Supplies                           1,667        0.18           0       0.00        1,667               0       0.00                  1,667



      12,573          9.75     26,650        10.68    -14,077        31,389        12.58        -18,816 Total Operating - Rooms                  101,045        10.61    273,266       10.47    -172,221       271,223         10.67          -170,178



      36,470         28.29     73,395        29.42    -36,925        74,186        29.73        -37,716 Total Expenses- Rooms                    321,996        33.82    766,519       29.36    -444,523       732,769         28.82          -410,772



     106,360         82.51    211,544        84.79   -105,184       210,750        84.47       -104,390 Net Income- Rooms                      1,069,910       112.37   2,397,708      91.85   -1,327,798     2,361,914        92.90        -1,292,004



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                                                               For Property: SpringHill Suites Naples (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                      Description          YTD        % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                               Budget              Bud Var         Year                          Var
                                                                                                         Food & Beverage
                                                                                                         Summary


            0         0.00            0       0.00         0             0         0.00              0 Total Food Sales                               0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0         0.00              0 Total Beverage Sales                           0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0         0.00              0 Total Banquet A/V                              0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0         0.00              0 Total Banquet Misc                             0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0         0.00              0 Total F & B Sales                              0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0         0.00              0 Food Cost                                      0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0         0.00              0 Beverage Costs                                 0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0         0.00              0 Banquet A/V Costs                              0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0         0.00              0 Total F & B Costs                              0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0         0.00              0 Food Wages                                     0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0         0.00              0 Beverage Wages                                 0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0         0.00              0 Total F & B Wages                              0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0         0.00              0 F & B- P T & E B                               0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0         0.00              0 TTL P/R and Benefits                           0       0.00        0       0.00             0              0       0.00                  0




            0         0.00            0       0.00         0             0         0.00              0 Food Operating Expenses                        0       0.00        0       0.00             0              0       0.00                  0

            0         0.00            0       0.00         0             0         0.00              0 Beverage Operating Expenses                    0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0         0.00              0 Total F & B Operating Expenses                 0       0.00        0       0.00             0              0       0.00                  0



            0         0.00            0       0.00         0             0         0.00              0 Net F & B Income                               0       0.00        0       0.00             0              0       0.00                  0




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                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                    Description            YTD        % / POR      YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                               Budget             Bud Var         Year                         Var
                                                                                                        Food Department




            0         0.00            0      0.00         0             0         0.00              0 Total Restaurant                               0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Bar Food                                 0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Bistro                                   0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Garden Grill                             0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Other Food Revenue                       0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Room Service                             0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Banquets                                 0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Catering                                 0       0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 Net Food Revenue                               0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Banquets Other                           0       0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 Total Food Revenues                            0       0.00        0      0.00             0              0      0.00                  0

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                                                              For Property: SpringHill Suites Naples (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                    Description            YTD        % / POR      YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                               Budget             Bud Var         Year                         Var
                                                                                                        Cost of Goods Sold

            0         0.00            0      0.00         0             0         0.00              0 Total Cost of Good Sold                        0       0.00        0      0.00             0              0      0.00                  0


                                                                                                        Food Payroll

            0         0.00            0      0.00         0             0         0.00              0 Total Food Wages                               0       0.00        0      0.00             0              0      0.00                  0


                                                                                                        Operating Expenses



            0         0.00            0      0.00         0             0         0.00              0 Total Operating Expense- Food                  0       0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 Total Food Costs                               0       0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 N.I.- Food Department                          0       0.00        0      0.00             0              0      0.00                  0

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                                                              For Property: SpringHill Suites Naples (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                  Description              YTD        % / POR      YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                               Budget             Bud Var         Year                         Var
                                                                                                        Beverage Department




            0         0.00            0      0.00         0             0         0.00              0 Total Restaurant Beverage                      0       0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 Total Garden Grill Beverage                    0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Room Service Bev                         0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Bar Beverage                             0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Banquet Beverage                         0       0.00        0      0.00             0              0      0.00                  0




            0         0.00            0      0.00         0             0         0.00              0 Total Catering Beverage                        0       0.00        0      0.00             0              0      0.00                  0



            0         0.00            0      0.00         0             0         0.00              0 Total Beverage Revenue                         0       0.00        0      0.00             0              0      0.00                  0

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                                                               Company: 3798 White Lake-Naples dba SHS Naples Property: SpringHill Suites Naples (Capstone)
                                                               For Property: SpringHill Suites Naples (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                    Description            YTD        % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                               Budget              Bud Var         Year                          Var
                                                                                                         Cost of Goods Sold



            0         0.00            0       0.00         0             0         0.00              0 Total COGS- Beverage                           0       0.00        0       0.00             0              0       0.00                  0


                                                                                                         Beverage Payroll

            0         0.00            0      0.00          0             0         0.00              0 Total Beverage Payroll                         0       0.00        0      0.00              0              0      0.00                   0


                                                                                                         Operating Expenses- Beverage



            0         0.00            0      0.00          0             0         0.00              0 Total Operating- Beverage                      0       0.00        0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00              0 Total Beverage Costs                           0       0.00        0      0.00              0              0      0.00                   0



            0         0.00            0      0.00          0             0         0.00              0 Net Income- Beverage                           0       0.00        0      0.00              0              0      0.00                   0

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                                                              For Property: SpringHill Suites Naples (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget       % / POR   Act vs    Last Year      % / POR      Act vs LY                  Description              YTD        % / POR      YTD    % / POR   Act vs        YTD Last       % / POR     Act vs LY
                                                    Bud Var                                       Var                                                               Budget             Bud Var         Year                         Var
                                                                                                        FOOD STATS




            0         0.00            0      0.00         0             0         0.00              0 Total Food Covers                              0       0.00        0      0.00             0              0      0.00                   0

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                                                               For Property: SpringHill Suites Naples (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                    Description            YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR       Act vs LY
                                                     Bud Var                                       Var                                                                Budget               Bud Var         Year                           Var
                                                                                                         TELECOM
                                                                                                         TELEPHONE REVENUES

            0         0.00            0       0.00         0             0         0.00              0 Local                                           0       0.00         0       0.00             0             -5       0.00                      5

            0         0.00        150         0.00      -150             0         0.00              0 Internet Access Fees                            0       0.00     1,325       0.00      -1,325              948        0.00                   -948



            0         0.00       150         0.00       -150             0         0.00              0 Total Phone Revenues                           0       0.00     1,325       0.00       -1,325           943          0.00                -943



                                                                                                         COS- Communication

        1,050         0.72        945         0.33       105           961         0.33             88 COS-Local                                  12,044       0.84    11,340       0.35        704          10,607          0.34               1,436

            0         0.00         30         0.00       -30             0         0.00              0 COS-Long Distance                               0       0.00      360        0.00        -360                0        0.00                     0

          942         0.00        942       628.00         0           942         0.00              0 COS-HSIA ISP                               11,407       0.00    11,304     853.13        103          11,919      1,257.13                   -511



       1,992          0.00      1,917        0.00         75         1,903         0.00             88 Total COS- Comm                           23,451       0.00    23,004       0.00         447         22,526          0.00                    925



      -1,992          0.00     -1,767        0.00       -225        -1,903         0.00            -88 Gross Margin- Comm                       -23,451       0.00    -21,679      0.00       -1,772        -21,583         0.00              -1,868




                                                                                                         Operating Expenses

          100         0.00        100         0.00         0           100         0.00              0 Equipment Cost                              1,060       0.00     1,200       0.00        -140          1,050          0.00                    10

            0         0.00            0       0.00         0             0         0.00              0 Equipment Maintenance                         392       0.00         0       0.00        392               115        0.00                   277



         100          0.00       100         0.00          0           100         0.00              0 Total Operating - Comm                     1,452       0.00     1,200       0.00         252          1,165          0.00                    287



       2,092          0.00      1,867        0.00        225         2,003         0.00             88 N.I.- Comm Dept                           24,903       0.00    22,879       0.00       2,024         22,748          0.00                2,155



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                                                                For Property: SpringHill Suites Naples (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                    Description            YTD         % / POR       YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                          MISCELLANEOUS DEPARTMENT
                                                                                                          MISCELLANEOUS REVENUES

             0        0.00         20         0.39        -20             0          0.00              0 Laundry/Valet                                 84        0.24      240        0.40        -156              134       0.22                    -50

            95        2.69        200         3.85       -105             0          0.00            95 Vending                                       283        0.79     2,142       3.61      -1,859          1,791         2.92               -1,508

             0        0.00            0       0.00          0             0          0.00              0 Forfeiture Income                            919        2.58        0        0.00        919                 0       0.00                   919

             0        0.00            0       0.00          0             0          0.00              0 Miscellaneous                                 12        0.03        0        0.00            12             24       0.04                    -13

        1,203        34.04      1,000        19.28       203          2,594         38.00         -1,392 Late Cancellation Income                  17,936       50.26    15,185      25.60       2,751         17,684        28.79                   252

             0        0.00        150         2.89       -150             0          0.00              0 Smoking Fee                                    0        0.00     1,800       3.04      -1,800          1,150         1.87               -1,150

            60        1.70            0       0.00        60             60          0.88              0 Tax Discounts Earned                         344        0.96        0        0.00        344               600       0.98                   -256

        1,388        39.28      2,370        45.70       -982          2,945        43.14         -1,557 Market Sales                               9,755       27.33    24,799      41.82     -15,044         25,426        41.40            -15,672

          787        22.29      1,447        27.90       -660         1,227         17.98          -440 Market Sales- Beer/Wine                     6,357       17.81    15,140      25.53      -8,784         14,609        23.79               -8,253



       3,533       100.00       5,187       100.00     -1,654         6,826        100.00        -3,293 Total Miscellaneous Revenues              35,690       100.00   59,306      100.00     -23,616        61,419        100.00            -25,730



                                                                                                          COSales- Miscellaneous

             0        0.00         10        50.00        -10             0          0.00              0 COS-Laundry/Valet                            102      120.37      120       50.00         -18               64      47.85                    37

             0        0.00            0       0.00          0            54          0.79            -54 COS-Vending Cost                             314        0.88        0        0.00        314               528       0.86                   -213

        1,009        72.69      1,185        50.00       -176          1,766        59.99          -758 COS- Market                                 5,294       54.27    12,399      50.00      -7,105         12,537        49.31               -7,243

          228         6.44        608        11.72       -380           768         11.25          -540 COS- Market Beer/Wine                       2,889        8.09     6,359      10.72      -3,470          6,209        10.11               -3,320



       1,236         35.00      1,803        34.76      -567          2,588         37.92        -1,352 Total COS- Miscellaneous                   8,599        24.09   18,878       31.83     -10,279        19,338         31.48            -10,739



          125       100.00        400        94.12       -275           400        100.00          -275 Banquet Room Rental                         2,375       97.10     4,350      93.55      -1,975          4,527        91.73               -2,152

             0        0.00         10         2.35        -10             0          0.00              0 Banquet Room F & B                            21        0.86      120        2.58         -99              208       4.21                   -187

             0        0.00         15         3.53        -15             0          0.00              0 Banquet Room AV Rental                        50        2.04      180        3.87        -130              200       4.05                   -150

         125       100.00        425        100.00      -300            400        100.00          -275 Total Meeting Room Revenues                2,446       100.00    4,650      100.00      -2,204         4,934        100.00             -2,488


                                                                                                          Cost of Sales- Meeting Room

             0        0.00            0       0.00          0             0          0.00              0 COS-Banquet Room AV                            0        0.00        0        0.00             0            203       4.12                -203



       2,421         68.54      3,809        73.44     -1,388         4,638         67.94        -2,216 Total Miscellaneous Profit                29,537        82.76   45,078       76.01     -15,541        46,813         76.22            -17,276

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                                                                For Property: SpringHill Suites Naples (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                       Description         YTD          % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                 Budget               Bud Var         Year                          Var
                                                                                                          ADMIN & GENERAL DEPARTMENT
                                                                                                          ADMIN & GENERAL

                                                                                                          P/R & Related Benefits- A&G

        4,079         2.78      4,471         1.54       -392         4,164         1.43             -84 General Manager                           45,196        3.16    51,497       1.60      -6,301         43,500         1.38               1,696

        2,497         1.70      2,809         0.97       -312         2,514         0.86             -18 Assistant General Manager                 28,339        1.98    32,758       1.01      -4,419         29,330         0.93                   -991

        1,991         1.36      1,793         0.62       198          1,487         0.51            504 Operations Manager                         14,505        1.01    20,760       0.64      -6,256         24,712         0.78            -10,208

          755         0.52        753         0.26          2           686         0.23              69 Payroll Taxes                              7,898        0.55     8,730       0.27        -832          8,580         0.27                   -682

          210         0.14        694         0.24       -484           576         0.20            -366 Employee Benefits                          6,110        0.43     8,328       0.26      -2,218          8,000         0.25               -1,891

          665         0.45            0       0.00       665            320         0.11            345 Vacation /PTO                              10,304        0.72         0       0.00      10,304          4,105         0.13               6,199

          197         0.13            0       0.00       197          1,020         0.35            -823 Holiday                                    2,625        0.18         0       0.00       2,625          3,358         0.11                   -734

             0        0.00        458         0.16       -458             0         0.00               0 Bonus/Incentive Pay                        4,016        0.28     5,496       0.17      -1,480          5,016         0.16               -1,000



      10,393          7.09     10,978        3.78       -585         10,766         3.68           -373 Total P/R & R/B- A&G                     118,992         8.32   127,569      3.95       -8,577       126,602          4.01             -7,610


                                                                                                          Operating Expenses- A&G

          640         0.44      2,300         0.79     -1,660         2,087         0.71          -1,447 Employee Relations                         1,182        0.08     6,950       0.22      -5,768          6,074         0.19               -4,893

        4,000         2.73      2,000         0.69      2,000         2,000         0.68          2,000 Accounting Fees                            26,000        1.82    24,000       0.74       2,000         24,000         0.76               2,000

        1,251         0.85        900         0.31       351            902         0.31            349 Data Processing                            12,790        0.89    11,449       0.35       1,341         11,584         0.37               1,206

          375         0.26        499         0.17       -124            65         0.02            310 Office Supplies                             2,204        0.15     5,221       0.16      -3,016          4,277         0.14               -2,072

            76        0.05         76         0.03          0            76         0.03               0 Muzak                                        684        0.05       912       0.03        -228              911       0.03                   -227

             0        0.00        270         0.09       -270           332         0.11            -332 Travel & Lodging                           1,151        0.08     4,470       0.14      -3,319          4,907         0.16               -3,756

             0        0.00            0       0.00          0             0         0.00               0 Meals and Entertainment                       35        0.00         0       0.00            35             79       0.00                    -44

             0        0.00         53         0.02        -53            50         0.02             -50 Telephone                                    137        0.01       630       0.02        -493              672       0.02                   -535

             0        0.00            0       0.00          0             0         0.00               0 Licenses and Permits                       2,763        0.19     2,724       0.08            39        3,061         0.10                   -298

            48        0.03        150         0.05       -102           169         0.06            -120 Postage                                      369        0.03     1,190       0.04        -821          1,157         0.04                   -789

             0        0.00            0       0.00          0             0         0.00               0 Recruitment                                  729        0.05       828       0.03         -99          1,229         0.04                   -500

             0        0.00        180         0.06       -180           110         0.04            -110 Employment Screening/ Drug Testing           840        0.06     2,160       0.07      -1,320          1,400         0.04                   -560

             0        0.00         75         0.03        -75           929         0.32            -929 Training                                   1,119        0.08     2,600       0.08      -1,481          4,820         0.15               -3,701

             0        0.00            0       0.00          0             0         0.00               0 Bad Debt                                       0        0.00         0       0.00             0        1,203         0.04               -1,203

             0        0.00        493         0.17       -493         2,028         0.69          -2,028 Security Service                             802        0.06     2,571       0.08      -1,768          4,570         0.14               -3,768

          150         0.10        165         0.06        -15           150         0.05               0 Dues/Subscriptions                         1,532        0.11     2,030       0.06        -498          2,852         0.09               -1,320

        3,718         2.54      7,616         2.62     -3,898         6,576         2.25          -2,857 Credit Card Commissions                   33,866        2.37    84,613       2.62     -50,747         81,519         2.58            -47,654

             9        0.01            0       0.00          9          -135         -0.05           143 Cash Over/Short                               -482      -0.03         0       0.00        -482              -93       0.00                   -389

            27        0.02         30         0.01         -3             0         0.00              27 Equipment Rental                             297        0.02       360       0.01         -63                0       0.00                   297

          238         0.16        365         0.13       -127           416         0.14            -178 Payroll Services                           3,268        0.23     6,135       0.19      -2,867          6,546         0.21               -3,278

          571         0.39      1,075         0.37       -504         1,001         0.34            -430 Bank Charges                               9,660        0.68    12,900       0.40      -3,240         12,276         0.39               -2,616

             0        0.00            0       0.00          0           246         0.08            -246 Chargebacks                                  504        0.04         0       0.00        504               333       0.01                   171

        1,825         1.25      1,424         0.49       401           2,000        0.68            -175 Workers Comp Insurance                    12,285        0.86    18,385       0.57      -6,100         17,889         0.57               -5,604



      12,928          8.83     17,670        6.08      -4,741        19,002         6.50         -6,074 Total Operating- A&G                     111,734         7.81   190,127      5.89      -78,393       191,267          6.05            -79,533



      23,321         15.92     28,648        9.86      -5,326        29,768        10.19         -6,446 Total Expenses- A&G                      230,726        16.13   317,697      9.84      -86,971       317,869         10.06            -87,143

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                                                                Company: 3798 White Lake-Naples dba SHS Naples Property: SpringHill Suites Naples (Capstone)
                                                                For Property: SpringHill Suites Naples (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                      Description          YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                Budget               Bud Var         Year                          Var
                                                                                                          SALES DEPARTMENT
                                                                                                          SALES

                                                                                                          P/R & R/B

        2,801         1.91      3,075         1.06       -274         2,791         0.96             10 Director of Sales                          31,153       2.18    36,044       1.12      -4,891         32,261         1.02               -1,108

            0         0.00            0       0.00         0              0         0.00               0 Sales Manager                                 33       0.00         0       0.00            33            115       0.00                    -81

          358         0.24        903         0.31       -544           732         0.25           -373 Revenue Management                          5,464       0.38    10,831       0.34      -5,367          9,129         0.29               -3,665

            0         0.00        172         0.06       -172             0         0.00               0 E Commerce Management                        516       0.04     2,066       0.06      -1,549                0       0.00                   516

            0         0.00      1,007         0.35     -1,007         1,453         0.50          -1,453 Sales Coordinator                          4,539       0.32    11,887       0.37      -7,348         16,056         0.51            -11,517

          301         0.21        327         0.11        -27           394         0.14             -94 Payroll Taxes                              3,024       0.21     3,866       0.12        -842          3,832         0.12                   -808

          566         0.39        706         0.24       -140           507         0.17             59 Employee Benefits                           5,788       0.40     8,472       0.26      -2,684          8,306         0.26               -2,518

          773         0.53            0       0.00       773            135         0.05            638 Vacation / PTO                              6,194       0.43         0       0.00       6,194          2,041         0.06               4,153

          270         0.18            0       0.00       270            535         0.18           -265 Holiday                                     1,378       0.10         0       0.00       1,378          1,446         0.05                    -68

            0         0.00        212         0.07       -212             0         0.00               0 Bonus/Incentive Pay                        1,568       0.11     2,544       0.08        -976          1,442         0.05                   126



       5,070          3.46      6,402        2.20      -1,332         6,547         2.24         -1,477 Total P/R & R/B- Sales                    59,658       4.17     75,709      2.35      -16,051        74,628         2.36             -14,970


                                                                                                          Operating Expenses- Sales

            0         0.00         30         0.01        -30            68         0.02             -68 Printing & Stationary                          0       0.00       360       0.01        -360              173       0.01                   -173

            0         0.00         30         0.01        -30           103         0.04           -103 Office Supplies                                38       0.00       360       0.01        -322              515       0.02                   -477

            0         0.00         50         0.02        -50           138         0.05           -138 Travel & Lodging                              115       0.01     1,475       0.05      -1,360          1,816         0.06               -1,700

            0         0.00         50         0.02        -50             0         0.00               0 Meals & Entertainment                          8       0.00       800       0.02        -792              552       0.02                   -544

            0         0.00         50         0.02        -50           101         0.03           -101 Promotions                                    763       0.05     3,160       0.10      -2,397          3,060         0.10               -2,297

            0         0.00         25         0.01        -25             0         0.00               0 Telephone                                     25       0.00       300       0.01        -275              300       0.01                   -275

            0         0.00         10         0.00        -10             0         0.00               0 Postage                                        0       0.00       120       0.00        -120                0       0.00                     0

            0         0.00            0       0.00          0             0         0.00               0 Sales Training                               276       0.02       250       0.01            26            340       0.01                    -64

        2,767         1.89        532         0.18      2,235           359         0.12          2,408 Dues & Subscriptions                        5,964       0.42     4,962       0.15       1,002          4,299         0.14               1,665

            0         0.00            0       0.00          0             0         0.00               0 Trade Show                                     0       0.00       300       0.01        -300               21       0.00                    -21

            0         0.00            0       0.00          0             0         0.00               0 Outdoor Advertising                        1,800       0.13     2,100       0.07        -300          2,100         0.07                   -300

            0         0.00            0       0.00          0             0         0.00               0 Display Advertising                           77       0.01         0       0.00            77              0       0.00                    77

            0         0.00        200         0.07       -200           200         0.07           -200 e Commerce Costs                              700       0.05     2,400       0.07      -1,700          2,418         0.08               -1,718

          334         0.23        408         0.14        -75           640         0.22           -307 Brand Paid Search                           3,600       0.25     4,553       0.14        -953          5,047         0.16               -1,447

            0         0.00        250         0.09       -250             0         0.00               0 Internet Advertising                       1,321       0.09     3,300       0.10      -1,979              463       0.01                   858

            0         0.00        100         0.03       -100             0         0.00               0 Collateral                                     0       0.00       600       0.02        -600                0       0.00                     0



       3,101          2.12      1,735        0.60      1,366          1,609         0.55          1,492 Total Operating- Sales                    14,689       1.03     25,040      0.78      -10,351        21,105         0.67              -6,416



       8,171          5.58      8,137        2.80         34          8,156         2.79             15 Total Expenses-Sales                      74,347       5.20    100,749      3.12      -26,402        95,733         3.03             -21,386

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                                                                Company: 3798 White Lake-Naples dba SHS Naples Property: SpringHill Suites Naples (Capstone)
                                                                For Property: SpringHill Suites Naples (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual        % / POR     Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                        Description            YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                    Budget               Bud Var         Year                          Var
                                                                                                          MAINTENANCE DEPARTMENT
                                                                                                          REPAIRS & MAINTENANCE
                                                                                                          P/R & Related Expenses- Maintenance

        2,720         2.11      2,579         1.03       141          2,672         1.07              48 Chief Engineer                               9,853         1.03    29,711       1.14     -19,858         27,558         1.08            -17,704

        3,073         2.38      3,469         1.39       -396         3,407         1.37            -334 General Maintenance                         15,439         1.62    40,956       1.57     -25,518         30,301         1.19            -14,862

          494         0.38        469         0.19        25            493         0.20               1 Payroll Taxes                                2,532         0.27     5,362       0.21      -2,830          4,563         0.18               -2,031

            19        0.01        561         0.22       -542           402         0.16            -383 Employee Benefits                            1,764         0.19     6,732       0.26      -4,968          6,341         0.25               -4,576

          380         0.29        200         0.08       180            333         0.13              48 Holiday                                      1,171         0.12       825       0.03        346           1,280         0.05                   -109

            13        0.01            0       0.00        13              0         0.00              13 Vacation /PTO                                3,458         0.36         0       0.00       3,458          1,955         0.08               1,503

             0        0.00            0       0.00          0             0         0.00               0 Bonus/Incentive Pay                                0       0.00         0       0.00             0            375       0.01                -375



       6,699          5.20      7,278        2.92       -579          7,306         2.93           -607 Total P/R & Related Expenses- Maintenance    34,217        3.59     83,586      3.20      -49,369        72,373         2.85             -38,155


                                                                                                          Operating Expenses- R & M

             0        0.00        200         0.08       -200             0         0.00               0 Laundry Equipment                                101       0.01     2,088       0.08      -1,988          1,728         0.07               -1,627

          204         0.16        299         0.12        -95           443         0.18            -239 Building Maintenance                         3,518         0.37     3,132       0.12        385           2,676         0.11                   841

             0        0.00            0       0.00          0           190         0.08            -190 Office Equipment                                   0       0.00         0       0.00             0            190       0.01                -190

          399         0.31        200         0.08       200            247         0.10            152 Light Bulbs                                   1,406         0.15     2,088       0.08        -682          1,375         0.05                    31

             0        0.00         75         0.03        -75           183         0.07            -183 Electrical & Mechanical                            0       0.00       783       0.03        -783              524       0.02                   -524

             0        0.00        250         0.10       -250             0         0.00               0 HVAC                                         1,915         0.20     2,610       0.10        -695          1,618         0.06                   297

            30        0.02        200         0.08       -170           149         0.06            -119 Plumbing & Boiler                                663       0.07     2,088       0.08      -1,426          1,696         0.07               -1,033

          550         0.43        325         0.13       225              0         0.00            550 Pool                                          3,458         0.36     3,900       0.15        -442          3,251         0.13                   207

          970         0.75      1,000         0.40        -30         2,245         0.90          -1,275 Grounds & Landscaping                       10,456         1.10    12,000       0.46      -1,544         13,588         0.53               -3,132

             0        0.00         75         0.03        -75             0         0.00               0 Furniture & Fixtures                             222       0.02       783       0.03        -561              185       0.01                    37

            22        0.02         75         0.03        -53            34         0.01             -12 Painting                                         409       0.04       783       0.03        -374              650       0.03                   -241

             0        0.00      3,250         1.30     -3,250         2,566         1.03          -2,566 Carpet & Floor                                   904       0.09     7,250       0.28      -6,346          3,089         0.12               -2,185

             0        0.00            0       0.00          0             0         0.00               0 Kitchen Equipment                                459       0.05         0       0.00        459                 0       0.00                   460

             0        0.00            0       0.00          0             0         0.00               0 Locks & Keys                                 1,082         0.11     1,000       0.04            82        1,642         0.06                   -560

             0        0.00            0       0.00          0             0         0.00               0 Radio & TV                                         0       0.00         0       0.00             0         -400        -0.02                   400

          125         0.10        224         0.09        -99           224         0.09             -99 Exterminating                                1,990         0.21     4,682       0.18      -2,692          6,885         0.27               -4,896

          505         0.39         32         0.01       473          1,642         0.66          -1,137 Fire & Safety                                4,185         0.44     2,892       0.11       1,293          5,279         0.21               -1,095

             0        0.00            0       0.00          0             0         0.00               0 Elevator                                     6,080         0.64     5,460       0.21        620           6,264         0.25                   -183



       2,805          2.18      6,203        2.49      -3,399         7,921         3.17         -5,116 Total Operating - R & M                      36,849        3.87     51,541      1.97      -14,692        50,241         1.98             -13,392



       9,503          7.37     13,481        5.40      -3,978        15,227         6.10         -5,723 Total Expenses- R & M                        71,066        7.46    135,127      5.18      -64,060       122,613         4.82             -51,547

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                                                              Company: 3798 White Lake-Naples dba SHS Naples Property: SpringHill Suites Naples (Capstone)
                                                              For Property: SpringHill Suites Naples (Capstone)
                                                              00- Master P&L-CAPSTONE
                                                              As of 12/31/2020

   Actual       % / POR      Budget     % / POR    Act vs     Last Year      % / POR      Act vs LY                    Description            YTD         % / POR      YTD     % / POR    Act vs      YTD Last     % / POR      Act vs LY
                                                   Bud Var                                        Var                                                                Budget               Bud Var       Year                        Var
                                                                                                        UTILITIES DEPARTMENT
                                                                                                        UTILITIES EXPENSE

        3,514         2.73      5,153       2.07     -1,639         7,008         2.81          -3,494 Electricity                               44,801       4.71    63,996       2.45     -19,195       63,560       2.50            -18,759

        1,143         0.89      1,889       0.76       -746         1,881         0.75            -739 Gas                                        6,911       0.73    21,650       0.83     -14,739       18,935       0.74            -12,024

          790         0.61      4,123       1.65     -3,333         5,836         2.34          -5,046 Water & Sewer                             27,440       2.88    49,814       1.91     -22,374       60,247       2.37            -32,807

          802         0.62        914       0.37       -112         1,186         0.48            -384 Waste Removal                              5,921       0.62    10,968       0.42      -5,047       11,071       0.44               -5,150



       6,249          4.85     12,079      4.84      -5,830        15,911         6.38         -9,662 Total Expenses- Utilities                 85,074       8.94    146,428      5.61      -61,354     153,813       6.05             -68,740

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                                                                Company: 3798 White Lake-Naples dba SHS Naples Property: SpringHill Suites Naples (Capstone)
                                                                For Property: SpringHill Suites Naples (Capstone)
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   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                        Description        YTD         % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                Budget               Bud Var       Year                          Var
                                                                                                          FRANCHISE DEPARTMENT
                                                                                                          FRANCHISE FEES

        7,284         5.10      14,297        5.02     -7,013        14,247         5.00          -6,962 Franchise Fees/ Royalties                 69,812       5.02   158,971       5.02     -89,158      154,723         5.00            -84,911

        8,441         5.91      14,018        4.92     -5,577        13,673         4.80          -5,232 Advertising                               82,212       5.91   155,879       4.93     -73,668      151,577         4.90            -69,365

          209         0.15       3,805        1.34     -3,596         3,057         1.07          -2,848 Frequent Traveler                         22,276       1.60    41,344       1.31     -19,068       38,003         1.23            -15,726

            0         0.00            0       0.00          0             0         0.00               0 Brand Guest Fees                             344       0.02         0       0.00         344              0       0.00                   344

            0         0.00            0       0.00          0             0         0.00               0 Other Franchise Cost                       2,305       0.17     3,208       0.10        -903        2,320         0.07                   -15



      15,935         11.16     32,120       11.27     -16,186        30,977        10.87        -15,043 Total Franchise Fees Expense             176,949       12.71   359,402      11.36    -182,453     346,623         11.20          -169,674

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                                                                Company: 3798 White Lake-Naples dba SHS Naples Property: SpringHill Suites Naples (Capstone)
                                                                For Property: SpringHill Suites Naples (Capstone)
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   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                  Description              YTD         % / POR      YTD     % / POR    Act vs      YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                Budget               Bud Var       Year                          Var
                                                                                                          MANAGEMENT FEES
        3,662         2.50      7,268         2.50     -3,606         7,304         2.50          -3,642 Management Fees                           35,752       2.50    80,738       2.50     -44,985       79,029         2.50            -43,277

       13,765         9.40            0       0.00     13,765             0         0.00         13,765 Management Fees- Owner                     28,985       2.03        0        0.00      28,985              0       0.00             28,985



      17,427         11.90      7,268        2.50     10,160          7,304         2.50         10,123 Total Management Fees Expense             64,738       4.53    80,738       2.50      -16,000      79,029         2.50             -14,291



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                                                               Company: 3798 White Lake-Naples dba SHS Naples Property: SpringHill Suites Naples (Capstone)
                                                               For Property: SpringHill Suites Naples (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget      % / POR    Act vs     Last Year      % / POR      Act vs LY                      Description          YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                    Bud Var                                        Var                                                                Budget               Bud Var         Year                          Var
                                                                                                         FIXED EXPENSES
       26,843        18.32      26,842       9.24          0        25,425          8.70          1,418 Ground Lease                             317,079      22.17   315,642       9.78       1,437        307,195         9.72               9,885

        7,437         5.08      11,628       4.00     -4,191        -92,913       -31.80       100,350 FF & E Reserve                             89,242       6.24   129,180       4.00     -39,938                0       0.00             89,242

        7,634         5.21       7,643       2.63         -9        24,678          8.45        -17,043 Real Estate Tax                           91,621       6.41    91,720       2.84         -99        104,625         3.31            -13,004

        1,526         1.04       1,526       0.53          0         -9,635        -3.30        11,161 Personal Property Tax                      18,314       1.28    18,314       0.57             0        5,300         0.17             13,014

        5,214         3.56       4,213       1.45      1,001         4,023          1.38          1,191 Insurance                                 54,128       3.79    52,313       1.62       1,815         50,065         1.58               4,063



      48,654         33.21     51,853       17.85     -3,199       -48,422        -16.57        97,076 TOTAL FIXED EXPENSES                     570,384       39.89   607,170      18.81     -36,786       467,185         14.78           103,199

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                                                                Company: 3798 White Lake-Naples dba SHS Naples Property: SpringHill Suites Naples (Capstone)
                                                                For Property: SpringHill Suites Naples (Capstone)
                                                                00- Master P&L-CAPSTONE
                                                                As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs     Last Year      % / POR      Act vs LY                       Description         YTD         % / POR      YTD     % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                        Var                                                                Budget               Bud Var         Year                          Var
                                                                                                          TOTAL OTHER
            0         0.00            0       0.00         0             50         0.02             -50 Penalties & Interest                          0        0.00         0       0.00             0            50        0.00                   -50

        2,655         1.81            0       0.00      2,655           350         0.12           2,305 Owners Expense                            30,291       2.12         0       0.00      30,291         23,431         0.74               6,860

       50,397        34.40            0       0.00     50,397        23,846         8.16         26,551 Depreciation                             604,764       42.29         0       0.00     604,764        578,213        18.29             26,551

        2,209         1.51            0       0.00      2,209         2,212         0.76              -3 Amortization Expense                      26,508       1.85         0       0.00      26,508         26,511         0.84                    -3

       20,372        13.91      20,372        7.01         0         20,373         6.97              -1 Interest Expense                        244,164       17.07   244,465       7.57        -302        246,077         7.78               -1,913

        5,271         3.60       2,907        1.00      2,364         2,922         1.00           2,349 Asset Management Fee                      14,300       1.00    32,295       1.00     -17,995         31,612         1.00            -17,312

        1,798         1.23            0       0.00      1,798        -19,115        -6.54        20,912 Extraordinary Expenses                     21,402       1.50         0       0.00      21,402                0       0.00             21,402

            0         0.00            0       0.00         0         -12,128        -4.15        12,128 GB 1 YE AJE                                    0        0.00         0       0.00             0      -21,899        -0.69             21,899

            0         0.00            0       0.00         0         68,815        23.55         -68,815 GB- 2 R&M/Capex AJE                           0        0.00         0       0.00             0       68,815         2.18            -68,815

        1,745                         0                 1,745             0                        1,745 Ground Lease Tax                          17,027                    0                 17,027                0                        17,027



      84,446         57.65     23,279        8.01     61,167         87,325        29.89         -2,879 Total Other                              958,456       67.02   276,761      8.57     681,696        952,810         30.14               5,646

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                                                               Company: 3798 White Lake-Naples dba SHS Naples Property: SpringHill Suites Naples (Capstone)
                                                               For Property: SpringHill Suites Naples (Capstone)
                                                               00- Master P&L-CAPSTONE
                                                               As of 12/31/2020

   Actual       % / POR      Budget       % / POR    Act vs    Last Year      % / POR      Act vs LY                   Description             YTD        % / POR      YTD    % / POR    Act vs        YTD Last       % / POR      Act vs LY
                                                     Bud Var                                       Var                                                               Budget              Bud Var         Year                          Var
                                                                                                         House Laundry Dept




            0         0.00            0      0.00          0             0         0.00              0 Total P/R & Benefits- Ldy                      0       0.00        0      0.00              0              0      0.00                    0


                                                                                                         Operating Expenses




            0         0.00            0      0.00          0             0         0.00              0 Total Operating Expenses- Ldy                  0       0.00        0      0.00              0              0      0.00                    0



            0         0.00            0       0.00         0             0         0.00              0 Total Laundry Expenses                         0       0.00        0       0.00             0              0       0.00                   0



                                                                                                         Allocation




            0         0.00            0      0.00          0             0         0.00              0 Total Allocation                               0       0.00        0      0.00              0              0      0.00                    0



            0                         0                    0             0                           0 Total Lndry Dept                               0                   0                        0              0                              0



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                                                                                    Alexandria
                                                                                                            Hersha Hospitality Management LP
                                                                                                         For the Month Ending December 31, 2020
                                   Current Month                                                                                                                                            Year-To-Date
    Actual                      Budget                           Actual                                                                               Actual                            Budget                            Actual
December 2020               December 2020                    December 2019                                            In Balance                  December 2020                     December 2020                     December 2019

                                                                                                            Rooms Department Schedule
                                                                                              Room Revenue Component Statistics
         6,293                        6,293                           6,293                   Rooms Available                                              74,298                            74,298                            74,095
            716                       3,185                           3,424                   Rooms Sold                                                   19,719                            50,754                            52,109
        11.38%                       50.61%                          54.41%                   % of Occupancy                                               26.54%                            68.31%                            70.33%
         70.16                        93.15                          100.01                   Average Daily Rate                                            88.49                            125.58                            122.74
           7.98                       47.15                           54.42                   RevPar                                                        23.49                             85.78                             86.32

                                                                                              Revenue
     48,894.02     97.32%        228,692.00         77.08%       252,317.82         73.68%     Transient Rooms Revenue                               1,209,381.72         69.31%        4,216,604.00        66.16%       4,308,493.30         67.36%
      1,116.00      2.22%         44,001.00         14.83%        44,464.69         12.98%     Group Rooms Revenue                                     276,223.21         15.83%        1,790,344.00        28.09%       1,724,565.24         26.96%
        736.90      1.47%         24,000.00          8.09%        53,759.00         15.70%     Contract Rooms Revenue                                  274,707.43         15.74%          366,614.00         5.75%         408,700.39          6.39%
           ‐        0.00%                            0.00%              ‐            0.00%     Other Rooms Revenue                                          80.75          0.00%                             0.00%           1,856.58          0.03%
       (509.03)    ‐1.01%              0.00          0.00%        (8,093.33)        ‐2.36%     Rooms Allowances                                        (15,476.04)        ‐0.89%                0.00         0.00%         (47,502.69)        ‐0.74%

     50,237.89    100.00%        296,693.00        100.00%       342,448.18        100.00%      Total Rooms Revenue                                  1,744,917.07        100.00%       6,373,562.00        100.00%       6,396,112.82        100.00%


                                                                                              Expenses
                                                                                               Payroll and Related Expenses
                                                                                                Salaries, Wages, and Bonuses
                                                                                                 Salaries and Wages
      4,152.96      8.27%          9,200.00          3.10%         8,261.06           2.41%         Rooms Management                                   51,552.44           2.95%         108,585.00          1.70%         89,446.73           1.40%
      9,874.07     19.65%         15,305.00          5.16%        13,665.32           3.99%         Front Desk GSA                                    136,095.47           7.80%         184,774.00          2.90%        177,670.25           2.78%
           ‐        0.00%         15,880.00          5.35%        15,825.77           4.62%         Housekeeping Wages                                 44,352.86           2.54%         233,525.00          3.66%        255,053.33           3.99%
      4,761.03      9.48%          4,464.00          1.50%         4,693.28           1.37%         Night Audit                                        53,021.46           3.04%          52,412.00          0.82%         54,496.75           0.85%
           ‐        0.00%          6,554.00          2.21%         5,235.16           1.53%         Drivers                                            16,072.70           0.92%          75,774.00          1.19%         66,471.45           1.04%
     10,910.41     21.72%         29,136.00          9.82%        31,895.38           9.31%         Rooms Contract Labor                              206,106.70          11.81%         442,041.00          6.94%        423,416.23           6.62%

     29,698.47     59.12%         80,539.00         27.15%        79,575.97         23.24%              Total Salaries and Wages                      507,201.63          29.07%       1,097,111.00         17.21%       1,066,554.74         16.68%

           ‐        0.00%            145.00          0.05%           100.00           0.03%       Bonuses & Incentives                                    615.12           0.04%            1,975.00         0.03%           1,836.05          0.03%

     29,698.47     59.12%         80,684.00         27.19%        79,675.97         23.27%           Total Salaries, Wages, and Bonuses               507,816.75          29.10%       1,099,086.00         17.24%       1,068,390.79         16.70%

                                                                                               Payroll‐Related Expenses
      1,491.43      2.97%          4,351.00          1.47%         4,595.11           1.34%     Payroll Taxes                                          26,396.75           1.51%          57,142.00          0.90%         54,836.78           0.86%
      1,803.69      3.59%          3,668.00          1.24%         3,853.37           1.13%     Supplemental Pay                                       17,915.41           1.03%          31,581.00          0.50%         40,073.11           0.63%
      3,288.10      6.55%          7,918.00          2.67%         7,066.99           2.06%     Employee Benefits                                      72,630.86           4.16%          95,151.00          1.49%         90,922.18           1.42%

      6,583.22     13.10%         15,937.00          5.37%        15,515.47           4.53%          Total Payroll‐Related Benefits                   116,943.02           6.70%         183,874.00          2.88%        185,832.07           2.91%

     36,281.69     72.22%         96,621.00         32.57%        95,191.44         27.80%     Total Payroll and Related Expenses                     624,759.77          35.80%       1,282,960.00         20.13%       1,254,222.86         19.61%

                                                                                              Other Expenses
        640.44      1.27%          1,115.00          0.38%         1,104.57           0.32%    Cleaning Supplies                                       10,778.23           0.62%          17,764.00          0.28%         19,414.38           0.30%
        430.37      0.86%          4,077.00          1.37%         6,022.92           1.76%    Guest Supplies                                          25,792.07           1.48%          64,967.00          1.02%         71,960.55           1.13%
        334.15      0.67%          1,401.00          0.47%         1,561.37           0.46%    Operating Supplies                                      15,457.29           0.89%          22,332.00          0.35%         24,277.35           0.38%
           ‐        0.00%          1,433.00          0.48%         1,332.64           0.39%    Linen                                                    5,806.12           0.33%          22,841.00          0.36%         25,191.07           0.39%
                    0.00%                            0.00%         1,338.66           0.39%    VIP Amenities/Comp Gifts                                                    0.00%                             0.00%          1,338.66           0.02%
           ‐        0.00%            159.00          0.05%         4,185.00           1.22%    Complimentary Breakfast Food &                            3,200.00          0.18%            2,537.00         0.04%          6,527.72           0.10%
           ‐        0.00%            159.00          0.05%           175.00           0.05%    Complimentary Other F&B (Recep                              365.00          0.02%            2,537.00         0.04%          2,513.00           0.04%
                    0.00%                            0.00%              ‐             0.00%    Guest Relocation                                                            0.00%                             0.00%          4,434.10           0.07%
      1,408.92      2.80%          1,258.00          0.42%         1,851.71           0.54%    Laundry & Dry Cleaning                                  10,167.55           0.58%          20,050.00          0.31%         22,446.75           0.35%
           ‐        0.00%              0.00          0.00%              ‐             0.00%    Training ‐ Hotel                                         1,380.96           0.08%           1,200.00          0.02%          1,881.77           0.03%
      1,777.14      3.54%          3,344.00          1.13%         5,681.76           1.66%    Guest Transportation                                    23,263.47           1.33%          53,291.00          0.84%         52,561.60           0.82%
      3,081.67      6.13%          3,082.00          1.04%         3,998.42           1.17%    Cable / Satellite Television                            35,845.34           2.05%          36,984.00          0.58%         38,172.83           0.60%
        926.33      1.84%          8,307.00          2.80%         6,549.44           1.91%    Commissions                                             59,986.17           3.44%         129,038.00          2.02%        127,038.08           1.99%
           ‐        0.00%          3,412.00          1.15%         6,447.10           1.88%    Commissions & Rebates ‐ Group                           23,178.55           1.33%          67,033.00          1.05%         70,200.24           1.10%
        116.80      0.23%            589.00          0.20%         1,319.25           0.39%    Reservations                                             3,774.10           0.22%           9,392.00          0.15%         10,344.96           0.16%
        250.43      0.50%            340.00          0.11%           337.96           0.10%    Contract Services                                        3,323.91           0.19%           4,080.00          0.06%          4,128.06           0.06%
           ‐        0.00%            223.00          0.08%           300.89           0.09%    Uniforms                                                   172.61           0.01%           3,552.00          0.06%          3,662.78           0.06%

      8,966.25     17.85%         28,899.00          9.74%        42,206.69         12.32%         Total Other Expenses                               222,491.37          12.75%         457,598.00          7.18%        486,093.90           7.60%

     45,247.94     90.07%        125,520.00         42.31%       137,398.13         40.12% Total Expenses                                             847,251.14          48.56%       1,740,558.00         27.31%       1,740,316.76         27.21%
      $4,989.95     9.93%       $171,173.00         57.69%       $205,050.05         59.88% Departmental Income (Loss)                                $897,665.93          51.44%      $4,633,004.00         72.69%     $4,655,796.06          72.79%
                        =                     ===========                      ===========                                                                           ===========                       ===========                       ===========
                                                               Case 1:20-cv-06089-JGK Document
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                                                                                                     Alexandria
                                                                                                                                                Hersha Hospitality Management LP
                                                                                                                                             For the Month Ending December 31, 2020
                                          Current Month                                                                                                                                                                                      Year-To-Date
     Actual                            Budget                                             Actual                                                                                           Actual                                        Budget                                             Actual
 December 2020                     December 2020                                      December 2019                                                      In Balance                    December 2020                                 December 2020                                      December 2019

                                                                                                                                                Food Department Schedule

                                                                                                                                  Revenue
              40.00     1.63%                  19,623.00                73.15%                20,178.36              54.41%        Outlet Food Revenue                                         57,486.64              36.24%                   308,837.00                 43.40%               308,585.11               43.46%
           1,625.64    66.35%                   4,053.00                15.11%                10,961.85              29.56%        Banquet/Catering Food Revenue                               57,901.06              36.50%                   274,944.00                 38.64%               275,904.80               38.85%
                ‐       0.00%                         0.00                0.00%                   (41.42)             ‐0.11%       Food Allowances                                                (265.28)             ‐0.17%                           0.00                0.00%                (1,094.17)              ‐0.15%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
           1,665.64    67.98%                 23,676.00                 88.26%                31,098.79              83.85%         Total Food Revenue                                        115,122.42              72.57%                  583,781.00                  82.03%               583,395.74               82.16%
                                                                                                                                  Other Revenue
                ‐       0.00%                      250.00                 0.93%                   600.00               1.62% Audiovisual                                                         2,440.00               1.54%                     7,795.00                  1.10%                 7,565.00                1.07%
             350.00    14.28%                   1,600.00                  5.96%                 1,927.87               5.20% Public Room Rentals                                               22,553.49              14.22%                     46,800.00                  6.58%               45,424.85                 6.40%
             434.64    17.74%                   1,299.00                  4.84%                 3,460.24               9.33% Banquet Service Charge                                            18,529.49              11.68%                     73,254.00                10.29%                73,714.90               10.38%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
             784.64    32.02%                  3,149.00                 11.74%                  5,988.11             16.15%     Total Other Revenue                                            43,522.98              27.43%                  127,849.00                  17.97%               126,704.75               17.84%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
           2,450.28   100.00%                 26,825.00               100.00%                 37,086.90            100.00% Total Revenue                                                      158,645.40            100.00%                   711,630.00                100.00%                710,100.49             100.00%

                                                                                                                                  Cost of Food
             349.05    20.96%                  10,654.00                45.00%                16,668.34              53.60%        Cost of Food Sales                                          48,658.06              42.27%                   242,599.00                 41.56%               249,093.88               42.70%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
             349.05    20.96%                 10,654.00                 45.00%                16,668.34              53.60%         Total Cost of Food                                         48,658.06              42.27%                  242,599.00                  41.56%               249,093.88               42.70%

                                                                                                                                Cost of Other Revenue
                        0.00%                                             0.00%                      ‐                 0.00% Miscellaneous Cost                                                                         0.00%                                               0.00%                 1,564.88                0.22%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                          ‐                  0.00%                       ‐                0.00%      Total Cost of Other Revenue                                          ‐                0.00%                            ‐                  0.00%                 1,564.88                1.24%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
             349.05    14.25%                 10,654.00                 39.72%                16,668.34              44.94% Total Cost of Food Sales and Other Revenue                         48,658.06              30.67%                  242,599.00                  34.09%               250,658.76               35.30%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
           2,101.23    85.75%                 16,171.00                 60.28%                20,418.56              55.06% Gross Profit (Loss)                                               109,987.34              69.33%                  469,031.00                  65.91%               459,441.73               64.70%


                                                                                                                                  Expenses
                                                                                                                                    Payroll and Related Expenses
                                                                                                                                     Salaries, Wages, and Bonuses
                                                                                                                                      Salaries and Wages
                ‐       0.00%                   1,707.00                  6.36%                 1,497.11               4.04%      Food Management                                                4,425.48               2.79%                    20,146.00                  2.83%               17,780.87                 2.50%
                ‐       0.00%                   5,609.00                20.91%                  4,963.95             13.38%       Restaurant Service Payroll                                   15,155.39                9.55%                    75,098.00                10.55%                74,409.59               10.48%
                ‐       0.00%                   5,766.00                21.49%                  7,001.88             18.88%       Kitchen Prep Payroll                                         20,078.32              12.66%                     92,085.00                12.94%                93,530.67               13.17%
                ‐       0.00%                   1,073.00                  4.00%                 1,801.30               4.86%      Kitchen Utility Payroll                                        2,923.12               1.84%                    22,707.00                  3.19%               23,731.92                 3.34%
                ‐       0.00%                      544.00                 2.03%                 3,355.71               9.05%      Food Banquet / Catering                                        8,532.42               5.38%                    42,852.00                  6.02%               50,715.98                 7.14%
                 ‐      0.00%                      779.00                 2.90%                 2,903.19               7.83%      Banquet SVC Charge Paid Out                                    8,571.78               5.40%                    43,953.00                  6.18%               47,180.94                 6.64%
                ‐       0.00%                   3,955.00                14.74%                  3,669.74               9.89%      Food Contract Labor                                          12,753.50                8.04%                    59,484.00                  8.36%               58,422.83                 8.23%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                 19,433.00                 72.44%                25,192.88              67.93%            Total Salaries and Wages                                72,440.01              45.66%                  356,325.00                  50.07%               365,772.80               51.51%

                ‐       0.00%                         6.00                0.02%                    77.41               0.21% Bonuses & Incentives                                                  425.71               0.27%                        106.00                 0.01%                   182.59                0.03%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                 19,439.00                 72.47%                25,270.29              68.14%       Total Salaries, Wages, and Bonuses                           72,865.72              45.93%                  356,431.00                  50.09%               365,955.39               51.54%

                                                                                                                                Payroll‐Related Expenses
                 ‐      0.00%                   1,351.00                  5.04%                 2,066.95               5.57% Payroll Taxes                                                       7,851.27               4.95%                    25,934.00                  3.64%               29,456.11                 4.15%
                 ‐      0.00%                   2,057.00                  7.67%                 1,703.64               4.59% Supplemental Pay                                                    3,707.71               2.34%                    19,463.00                  2.73%               17,417.02                 2.45%
                ‐       0.00%                   1,967.00                  7.33%                 1,829.68               4.93% Employee Benefits                                                   4,446.64               2.80%                    24,162.00                  3.40%               22,348.36                 3.15%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                  5,375.00                 20.04%                  5,600.27             15.10%         Total Payroll‐Related Benefits                             16,005.62              10.09%                    69,559.00                   9.77%               69,221.49                 9.75%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                 24,814.00                 92.50%                30,870.56              83.24% Total Payroll and Related Expenses                                 88,871.34              56.02%                  425,990.00                  59.86%               435,176.88               61.28%

                                                                                                                                Other Expenses
               ‐        0.00%                      38.00                  0.14%                   93.69                0.25% Cleaning Supplies                                                    310.59                0.20%                      996.00                   0.14%                1,194.87                 0.17%
            154.79      6.32%                     188.00                  0.70%                 (434.12)              ‐1.17% Operating Supplies                                                 1,374.51                0.87%                    4,981.00                   0.70%                7,498.11                 1.06%
            209.14      8.54%                     791.00                  2.95%                1,018.60                2.75% Paper and Plastic Supplies                                         5,922.94                3.73%                   20,992.00                   2.95%               22,613.28                 3.18%
               ‐        0.00%                     102.00                  0.38%                  235.55                0.64% Dishwashing Supplies                                                 774.24                0.49%                    2,703.00                   0.38%                3,005.26                 0.42%
               ‐        0.00%                                             0.00%                                        0.00% Linen                                                                317.85                0.20%                                               0.00%                                         0.00%
                        0.00%                                             0.00%                   367.52               0.99% Decorations                                                                                0.00%                                               0.00%                   423.11                0.06%
                ‐       0.00%                     150.00                  0.56%                   242.01               0.65% Kitchen Fuel                                                         560.06                0.35%                     2,800.00                  0.39%                 2,951.65                0.42%
                        0.00%                       0.00                  0.00%                      ‐                 0.00% Uniforms                                                                                   0.00%                       450.00                  0.06%                   508.41                0.07%
                ‐       0.00%                                             0.00%                      ‐                 0.00% Travel                                                                 92.00               0.06%                                               0.00%                   237.46                0.03%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
             363.93    14.85%                  1,269.00                   4.73%                 1,523.25               4.11%         Total Other Expenses                                        9,352.19               5.90%                   32,922.00                   4.63%               38,432.15                 5.41%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
             363.93    14.85%                 26,083.00                 97.23%                32,393.81              87.35% Total Expenses                                                     98,223.53              61.91%                  458,912.00                  64.49%               473,609.03               66.70%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐    ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
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                                                                                  Alexandria
                                                                                                         Hersha Hospitality Management LP
                                                                                                      For the Month Ending December 31, 2020
                                   Current Month                                                                                                                                        Year-To-Date
    Actual                      Budget                          Actual                                                                             Actual                           Budget                          Actual
December 2020               December 2020                   December 2019                                         In Balance                   December 2020                    December 2020                   December 2019
       $1,737.30   70.90%        ($9,912.00)      ‐36.95%       ($11,975.25)        ‐32.29% Departmental Income (Loss)                              $11,763.81          7.42%         $10,119.00        1.42%       ($14,167.30)         ‐2.00%
                        =                    ===========                       ===========                                                                       ===========                     ===========                       ===========
                                           Case 1:20-cv-06089-JGK Document
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                                                                                 Alexandria
                                                                                                    Hersha Hospitality Management LP
                                                                                                 For the Month Ending December 31, 2020
                                Current Month                                                                                                                                 Year-To-Date
    Actual                   Budget                           Actual                                                                          Actual                      Budget                           Actual
December 2020            December 2020                    December 2019                                       In Balance                  December 2020               December 2020                    December 2019

                                                                                                 Beverage Department Schedule

                                                                                      Revenue
           ‐     0.00%          2,851.00        100.00%         5,127.00    100.00%    Outlet Beverage Revenue                                 15,881.50     92.95%         88,837.00         96.28%        92,871.25     96.52%
           ‐     0.00%              0.00          0.00%              ‐        0.00%    Banquet/Catering Bev Revenue                             1,120.00      6.55%          3,436.00          3.72%         3,351.50      3.48%

           ‐     0.00%          2,851.00        100.00%         5,127.00    100.00%     Total Beverage Revenue                                 17,001.50     99.50%         92,273.00        100.00%        96,222.75    100.00%
                                                                                      Other Revenue
           ‐     0.00%                            0.00%                       0.00%    Miscellaneous Other Revenue                                 85.00      0.50%                            0.00%                       0.00%

           ‐     0.00%               ‐            0.00%              ‐        0.00%     Total Other Revenue                                        85.00      0.50%               ‐            0.00%              ‐        0.00%

           ‐     0.00%          2,851.00        100.00%         5,127.00    100.00% Total Revenue                                              17,086.50    100.00%         92,273.00        100.00%        96,222.75    100.00%

           ‐     0.00%            813.00         28.52%         1,098.88     21.43% Cost of Beverage Sales                                      4,263.26     25.08%         24,561.00         26.62%        26,514.55     27.56%

                                                                                      Cost of Other Revenue

           ‐     0.00%               ‐            0.00%              ‐        0.00%     Total Cost of Other Revenue                                  ‐        0.00%               ‐            0.00%              ‐        0.00%

           ‐     0.00%            813.00         28.52%         1,098.88     21.43% Total Cost of Beverage Sales and Other Revenue              4,263.26     24.95%         24,561.00         26.62%        26,514.55     27.56%

           ‐     0.00%          2,038.00         71.48%         4,028.12     78.57% Gross Profit (Loss)                                        12,823.24     75.05%         67,712.00         73.38%        69,708.20     72.44%


                                                                                      Expenses
                                                                                       Payroll and Related Expenses
                                                                                        Salaries, Wages, and Bonuses
                                                                                         Salaries and Wages

           ‐     0.00%               ‐            0.00%              ‐        0.00%        Total Salaries and Wages                                  ‐        0.00%               ‐            0.00%              ‐        0.00%


           ‐     0.00%               ‐            0.00%              ‐        0.00%        Total Salaries, Wages, and Bonuses                        ‐        0.00%               ‐            0.00%              ‐        0.00%

                                                                                       Payroll‐Related Expenses

           ‐     0.00%               ‐            0.00%              ‐        0.00%        Total Payroll‐Related Benefits                            ‐        0.00%               ‐            0.00%              ‐        0.00%

           ‐     0.00%               ‐            0.00%              ‐        0.00%    Total Payroll and Related Expenses                            ‐        0.00%               ‐            0.00%              ‐        0.00%

                                                                                      Other Expenses

           ‐     0.00%               ‐            0.00%              ‐        0.00%        Total Other Expenses                                      ‐        0.00%               ‐            0.00%              ‐        0.00%


           ‐     0.00%               ‐            0.00%              ‐        0.00% Total Expenses                                                   ‐        0.00%               ‐            0.00%              ‐        0.00%


         $0.00   0.00%         $2,038.00         71.48%         $4,028.12    78.57% Departmental Income (Loss)                                 $12,823.24    75.05%        $67,712.00         73.38%        $69,708.20    72.44%
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                                                                      Alexandria
                                                               Hersha Hospitality Management LP
                                                            For the Month Ending December 31, 2020
                       Current Month                                                                                         Year-To-Date
    Actual          Budget                  Actual                                                       Actual          Budget                 Actual
December 2020   December 2020           December 2019                   In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
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                                                                      Alexandria
                                                               Hersha Hospitality Management LP
                                                            For the Month Ending December 31, 2020
                       Current Month                                                                                         Year-To-Date
    Actual          Budget                  Actual                                                       Actual          Budget                 Actual
December 2020   December 2020           December 2019                   In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
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                                                                      Alexandria
                                                               Hersha Hospitality Management LP
                                                            For the Month Ending December 31, 2020
                       Current Month                                                                                         Year-To-Date
    Actual          Budget                  Actual                                                       Actual          Budget                 Actual
December 2020   December 2020           December 2019                   In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
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                                                                      Alexandria
                                                               Hersha Hospitality Management LP
                                                            For the Month Ending December 31, 2020
                       Current Month                                                                                         Year-To-Date
    Actual          Budget                  Actual                                                       Actual          Budget                 Actual
December 2020   December 2020           December 2019                   In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
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                                                                      Alexandria
                                                               Hersha Hospitality Management LP
                                                            For the Month Ending December 31, 2020
                       Current Month                                                                                         Year-To-Date
    Actual          Budget                  Actual                                                       Actual          Budget                 Actual
December 2020   December 2020           December 2019                   In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
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                                                                      Alexandria
                                                               Hersha Hospitality Management LP
                                                            For the Month Ending December 31, 2020
                       Current Month                                                                                         Year-To-Date
    Actual          Budget                  Actual                                                       Actual          Budget                 Actual
December 2020   December 2020           December 2019                   In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
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                                                                      Alexandria
                                                               Hersha Hospitality Management LP
                                                            For the Month Ending December 31, 2020
                       Current Month                                                                                         Year-To-Date
    Actual          Budget                  Actual                                                       Actual          Budget                 Actual
December 2020   December 2020           December 2019                   In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
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                                                                      Alexandria
                                                               Hersha Hospitality Management LP
                                                            For the Month Ending December 31, 2020
                       Current Month                                                                                         Year-To-Date
    Actual          Budget                  Actual                                                       Actual          Budget                 Actual
December 2020   December 2020           December 2019                   In Balance                   December 2020   December 2020          December 2019
                                              Case 1:20-cv-06089-JGK Document
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                                                                                    Alexandria
                                                                                                        Hersha Hospitality Management LP
                                                                                                     For the Month Ending December 31, 2020
                                   Current Month                                                                                                                                  Year-To-Date
    Actual                      Budget                           Actual                                                                           Actual                      Budget                           Actual
December 2020               December 2020                    December 2019                                       In Balance                   December 2020               December 2020                    December 2019



                                                                                                           Other / Miscellaneous
                                                                                         Revenue
         15.00      0.31%                            0.00%                       0.00%    Gift & Market Shop Non ‐ Tax                                635.80      0.57%                            0.00%                       0.00%
          6.00      0.12%          1,923.00         11.26%         2,770.76     15.91%    Gift & Market Shop Taxable                                1,695.53      1.52%         47,333.00         16.20%        48,558.83     16.53%
        309.20      6.32%              0.00          0.00%           151.05      0.87%    Gift & Market Beverage Taxable                            9,196.14      8.24%              0.00          0.00%           151.05      0.05%
        162.80      3.33%              0.00          0.00%           117.35      0.67%    Gift Shop Food Taxable                                    6,947.59      6.22%              0.00          0.00%           117.35      0.04%
           ‐        0.00%             33.00          0.19%            44.00      0.25%    Guest Laundry/Valet                                         310.00      0.28%            711.00          0.24%           792.50      0.27%
          8.37      0.17%              0.00          0.00%           201.88      1.16%    Other Miscellaneous Revenue                                 888.68      0.80%              0.00          0.00%           827.48      0.28%
      4,390.00     89.75%         15,129.00         88.55%        14,129.35     81.14%    Parking ‐ Outside Service                                88,106.72     78.94%        244,084.00         83.55%       243,248.79     82.82%
           ‐        0.00%                            0.00%                       0.00%    Audit Results                                             3,833.23      3.43%                            0.00%                       0.00%

      4,891.37    100.00%         17,085.00        100.00%        17,414.39    100.00%      Total Other/Miscellaneous Revenue                     111,613.69    100.00%        292,128.00        100.00%       293,696.00    100.00%

                                                                                         Cost of Sales
           ‐        0.00%                            0.00%              ‐        0.00%    Cost of Banquet F&B‐Select Svc                                 ‐        0.00%                            0.00%           113.84      0.00%
        225.33     45.71%            952.00         49.51%         1,351.68     44.48%    Cost of Gift Shop Merchandise                            10,529.48     56.99%         23,430.00         49.50%        24,813.54     50.82%
           ‐        0.00%             25.00         75.76%              ‐        0.00%    Cost of Guest Laundry/Valet                                  54.50     17.58%            534.00         75.11%           581.95     73.43%

        225.33      4.61%           977.00           5.72%         1,351.68      7.76%      Total Other/Miscellaneous Cost of Sales                10,583.98      9.48%         23,964.00          8.20%        25,509.33      8.69%
      $4,666.04    95.39%        $16,108.00         94.28%        $16,062.71    92.24% Departmental Income (Loss)                                 $101,029.71    90.52%       $268,164.00         91.80%       $268,186.67    91.31%
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                                                                                    Alexandria
                                                                                                      Hersha Hospitality Management LP
                                                                                                   For the Month Ending December 31, 2020
                                   Current Month                                                                                                                                Year-To-Date
    Actual                      Budget                           Actual                                                                         Actual                      Budget                           Actual
December 2020               December 2020                    December 2019                                     In Balance                   December 2020               December 2020                    December 2019



                                                                                                      Rentals and Other Income
                                                                                         Revenue
     16,126.39    104.14%         23,647.00         84.87%        20,110.74     90.16%    Commissions                                           220,764.50     93.01%        291,591.00         85.19%       298,995.43     85.29%
                    0.00%                            0.00%              ‐        0.00%    Cash Discounts Earned                                                 0.00%                            0.00%             0.01      0.00%
       (710.11)    ‐4.59%          4,000.00         14.36%         1,890.37      8.47%    Cancellation Penalties                                 13,101.34      5.52%         48,000.00         14.02%        49,486.47     14.12%
           ‐        0.00%                            0.00%              ‐        0.00%    Local Call Revenue                                         13.40      0.01%                            0.00%            (0.56)     0.00%
           ‐        0.00%             71.00          0.25%            97.15      0.44%    Long Distance Revenue                                   1,753.19      0.74%            600.00          0.18%           613.03      0.17%
         69.30      0.45%            145.00          0.52%           207.90      0.93%    Internet Revenue                                        1,717.65      0.72%          2,090.00          0.61%         1,470.15      0.42%

     15,485.58    100.00%         27,863.00        100.00%        22,306.16    100.00%    Total Rentals and Other Income                        237,350.08    100.00%        342,281.00        100.00%       350,564.53    100.00%



     $15,485.58   100.00%        $27,863.00        100.00%        $22,306.16   100.00%    Total Rentals and Other Income                        $237,350.08   100.00%       $342,281.00        100.00%       $350,564.53   100.00%
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                                                                                   Alexandria
                                                                                                     Hersha Hospitality Management LP
                                                                                                  For the Month Ending December 31, 2020
                                  Current Month                                                                                                                               Year-To-Date
    Actual                     Budget                          Actual                                                                          Actual                     Budget                         Actual
December 2020              December 2020                   December 2019                                      In Balance                   December 2020              December 2020                  December 2019



                                                                                                     Administrative and General
                                                                                       Expenses
                                                                                     Payroll and Related Expenses
                                                                                      Salaries, Wages, and Bonuses
                                                                                       Salaries and Wages
      8,495.04    11.63%          9,792.00         2.64%         7,949.08     1.87% A&G Management                                              87,920.90     3.87%        115,567.00        1.48%       102,282.72     1.30%
           ‐       0.00%          3,983.00         1.07%         3,493.29     0.82% Admin Support                                               10,326.12     0.45%         47,009.00        0.60%        41,488.93     0.53%
           ‐       0.00%          1,800.00         0.48%         1,600.00     0.38% A&G Contract Labor                                           5,475.00     0.24%         21,000.00        0.27%         5,200.00     0.07%

      8,495.04    11.63%         15,575.00         4.19%        13,042.37     3.07%         Total Salaries and Wages                           103,722.02     4.57%        183,576.00        2.35%       148,971.65     1.90%

           ‐       0.00%            950.00         0.26%         (3,000.00)   ‐0.71% Bonuses & Incentives                                             ‐       0.00%         11,399.00        0.15%         (1,588.00)   ‐0.02%

      8,495.04    11.63%         16,525.00         4.45%        10,042.37     2.37%         Total Salaries, Wages, and Bonuses                 103,722.02     4.57%        194,975.00        2.50%       147,383.65     1.88%

                                                                                     Payroll‐Related Expenses
        613.22     0.84%          1,127.00         0.30%           920.80     0.22% Payroll Taxes                                                8,983.97     0.40%         13,585.00        0.17%        12,508.08     0.16%
      1,453.89     1.99%              0.00         0.00%         1,248.85     0.29% Supplemental Pay                                            11,877.37     0.52%              0.00        0.00%        15,034.60     0.19%
      1,004.43     1.37%          1,224.00         0.33%         1,071.35     0.25% Employee Benefits                                           13,221.77     0.58%         14,606.00        0.19%        12,926.55     0.16%

      3,071.54     4.20%          2,351.00         0.63%         3,241.00     0.76%         Total Payroll‐Related Benefits                      34,083.11     1.50%         28,191.00        0.36%        40,469.23     0.52%

     11,566.58    15.83%         18,876.00         5.08%        13,283.37     3.13%     Total Payroll and Related Expenses                     137,805.13     6.07%        223,166.00        2.86%       187,852.88     2.39%

                                                                                       Other Expenses
         98.34     0.13%            625.00         0.17%           687.28      0.16%    Operating Supplies                                       4,444.88     0.20%         11,025.00        0.14%        11,297.21      0.14%
           ‐       0.00%                           0.00%                       0.00%    Decorations                                                 32.78     0.00%                          0.00%                       0.00%
                   0.00%              0.00         0.00%              ‐        0.00%    Dues & Subscriptions                                                  0.00%            609.00        0.01%           609.00      0.01%
           ‐       0.00%              0.00         0.00%              ‐        0.00%    Associate Training                                       1,559.52     0.07%          3,225.00        0.04%         5,758.70      0.07%
           ‐       0.00%                           0.00%           150.00      0.04%    Professional Fees                                             ‐       0.00%                          0.00%           207.38      0.00%
           ‐       0.00%                           0.00%              ‐        0.00%    Legal Fees                                                  68.08     0.00%                          0.00%            95.05      0.00%
      1,125.37     1.54%          1,345.00         0.36%         1,232.42      0.29%    Bank Charges                                            15,116.29     0.67%         16,140.00        0.21%        16,071.53      0.20%
        262.34     0.36%          2,000.00         0.54%         3,244.71      0.76%    Human Resources                                          3,741.01     0.16%          9,450.00        0.12%        11,410.39      0.15%
        810.00     1.11%            810.00         0.22%           810.00      0.19%    Payroll Processing Fees                                  9,720.00     0.43%          9,720.00        0.12%         9,720.00      0.12%
           ‐       0.00%                           0.00%                       0.00%    Audit Fees                                                 767.91     0.03%                          0.00%                       0.00%
      3,017.92     4.13%          3,018.00         0.81%         2,930.00      0.69%    Centralized Accounting Fees                             36,215.04     1.60%         36,216.00        0.46%        35,160.00      0.45%
        209.00     0.29%            209.00         0.06%           195.58      0.05%    Centralized HR Fees                                      2,508.00     0.11%          2,508.00        0.03%         2,346.96      0.03%
        407.80     0.56%            550.00         0.15%           529.78      0.12%    Contract Services                                        3,705.22     0.16%          6,600.00        0.08%         8,581.87      0.11%
                   0.00%                           0.00%              ‐        0.00%    Sales Tax Over Collection                                             0.00%                          0.00%          (136.43)     0.00%
           ‐       0.00%                           0.00%           943.83      0.22%    Bad Debt Expense                                          (943.83)   ‐0.04%                          0.00%           943.83      0.01%
           ‐       0.00%              0.00         0.00%           510.99      0.12%    Chargebacks                                             15,877.11     0.70%              0.00        0.00%        16,510.44      0.21%
         87.67     0.12%                           0.00%           345.58      0.08%    Sales Tax Under Collection                                 867.25     0.04%                          0.00%         5,285.55      0.07%
      1,425.42     1.95%          9,283.00         2.50%         8,273.39      1.95%    Credit Card Commissions                                 51,671.81     2.28%        178,454.00        2.28%       177,353.12      2.26%
       (408.87)   ‐0.56%                           0.00%             1.00      0.00%    Cash Over / Short                                         (530.87)   ‐0.02%                          0.00%          (853.78)    ‐0.01%
      2,591.31     3.55%          2,230.00         0.60%         2,929.56      0.69%    Licenses & Permits                                      33,515.58     1.48%         30,541.00        0.39%        31,237.54      0.40%
           ‐       0.00%                           0.00%              ‐        0.00%    Business Promotion ‐ Hotel                                  99.87     0.00%                          0.00%           160.26      0.00%
         50.06     0.07%             37.00         0.01%             7.02      0.00%    Postage & Freight                                          448.27     0.02%            780.00        0.01%         1,050.25      0.01%
           ‐       0.00%                           0.00%                       0.00%    Penalty                                                  1,731.29     0.08%                          0.00%                       0.00%
           ‐       0.00%              0.00         0.00%               ‐       0.00%    Guest Relations                                               ‐       0.00%          2,750.00        0.04%         2,990.99      0.04%
         55.00     0.08%                           0.00%                       0.00%    Brand Related Guest Relations                            3,108.50     0.14%                          0.00%                       0.00%
           ‐       0.00%            100.00         0.03%            23.78      0.01%    Travel                                                     129.67     0.01%          2,750.00        0.04%         3,638.70      0.05%
           ‐       0.00%             50.00         0.01%           320.00      0.08%    Meals & Entertainment                                        6.10     0.00%            600.00        0.01%         1,123.51      0.01%
           ‐       0.00%                           0.00%                       0.00%    Tax Penalties & Interest                                 1,064.52     0.05%                          0.00%                       0.00%
           ‐       0.00%                           0.00%          (138.49)    ‐0.03%    P‐Card Miscellaneous                                          ‐       0.00%                          0.00%               ‐       0.00%

      9,731.36    13.32%         20,257.00         5.46%        22,996.43     5.42%         Total Other Expenses                               184,924.00     8.15%        311,368.00        3.99%       340,562.07     4.34%

     $21,297.94   29.15%        $39,133.00        10.54%        $36,279.80    8.55% Total Expenses                                             $322,729.13   14.22%       $534,534.00        6.84%       $528,414.95    6.73%
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                                                                                   Alexandria
                                                                                                  Hersha Hospitality Management LP
                                                                                               For the Month Ending December 31, 2020
                                  Current Month                                                                                                                           Year-To-Date
    Actual                     Budget                         Actual                                                                        Actual                    Budget                         Actual
December 2020              December 2020                  December 2019                                     In Balance                  December 2020             December 2020                  December 2019



                                                                                        Information & Telecommunication Systems
                                                                                    Expenses
                                                                                    Cost of Services
        957.68     1.31%          1,477.00        0.40%         3,094.77    0.73%    Cost of Calls                                           12,406.91    0.55%         20,195.00        0.26%        23,986.16    0.31%
         60.00     0.08%            170.00        0.05%           170.00    0.04%    Cost of Cell Phones                                      1,360.00    0.06%          2,040.00        0.03%         2,025.00    0.03%
      1,399.99     1.92%          1,450.00        0.39%         1,540.21    0.36%    Cost of Internet Service                                16,799.88    0.74%         17,400.00        0.22%        18,726.92    0.24%

      2,417.67     3.31%          3,097.00        0.83%         4,804.98    1.13%        Total Cost of Services                              30,566.79    1.35%         39,635.00        0.51%        44,738.08    0.57%

                                                                                    System Expenses
        308.33     0.42%            308.00        0.08%           308.33    0.07%     BI Software                                             3,700.00    0.16%          3,696.00        0.05%         3,700.00    0.05%
        809.58     1.11%            810.00        0.22%           786.00    0.19%     Centralized IT/IS Fees                                  9,714.96    0.43%          9,720.00        0.12%         9,432.00    0.12%
        112.49     0.15%              0.00        0.00%              ‐      0.00%     Food and Beverage                                       1,381.15    0.06%            848.00        0.01%           847.62    0.01%
        197.25     0.27%            197.00        0.05%           168.00    0.04%     Information Security ‐ PCI                              2,367.00    0.10%          2,364.00        0.03%         2,297.94    0.03%
        132.21     0.18%                          0.00%           118.26    0.03%     Information Systems/IT                                  1,647.52    0.07%                          0.00%           948.32    0.01%
      1,213.52     1.66%            555.00        0.15%           847.91    0.20%     Rooms                                                   7,617.26    0.34%          7,529.00        0.10%         8,470.37    0.11%
        280.42     0.38%          1,359.00        0.37%           662.98    0.16%     Sales & Marketing                                       4,140.02    0.18%         16,546.00        0.21%        15,397.29    0.20%
        519.66     0.71%            700.00        0.19%           469.78    0.11%     Telecommunications                                      6,560.75    0.29%          8,400.00        0.11%         9,588.82    0.12%

      3,573.46     4.89%          3,929.00        1.06%         3,361.26    0.79%        Total System Expenses                               37,128.66    1.64%         49,103.00        0.63%        50,682.36    0.65%

                                                                                    Other Expenses
           ‐       0.00%             75.00        0.02%              ‐      0.00%    Contract Services                                        2,462.92    0.11%            900.00        0.01%         2,049.33    0.03%
                   0.00%                          0.00%              ‐      0.00%    Corporate Reimbursables                                              0.00%                          0.00%           299.96    0.00%
        833.33     1.14%            833.00        0.22%           833.33    0.20%    PSF ‐ Fixed Cost                                         9,999.96    0.44%          9,996.00        0.13%         9,999.96    0.13%
      3,720.99     5.09%          3,721.00        1.00%         3,720.99    0.88%    PSF ‐ Hybrid Cost                                       44,660.88    1.97%         44,652.00        0.57%        44,651.88    0.57%
        672.77     0.92%          7,000.00        1.89%         4,625.44    1.09%    PSF ‐ Varianble Cost                                    23,559.89    1.04%         91,163.00        1.17%        86,366.85    1.10%

      5,227.09     7.15%         11,629.00        3.13%         9,179.76    2.16%        Total Other Expenses                                80,683.65    3.55%        146,711.00        1.88%       143,367.98    1.83%
     $11,218.22   15.35%        $18,655.00        5.02%        $17,346.00   4.09% Total Expenses                                            $148,379.10   6.54%       $235,449.00        3.01%       $238,788.42   3.04%
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                                                                                     Alexandria
                                                                                                      Hersha Hospitality Management LP
                                                                                                   For the Month Ending December 31, 2020
                                    Current Month                                                                                                                              Year-To-Date
    Actual                       Budget                          Actual                                                                         Actual                     Budget                          Actual
December 2020                December 2020                   December 2019                                     In Balance                   December 2020              December 2020                   December 2019

                                                                                                          Sales and Marketing
                                                                                        Expenses
                                                                                       Payroll and Related Expenses
                                                                                         Salaries, Wages, and Bonuses
                                                                                          Salaries and Wages
     10,610.79     14.52%          16,330.00         4.40%        14,577.04     3.43% Sales & Marketing Management                              124,542.57     5.49%        192,729.00         2.47%       178,048.35     2.27%

     10,610.79     14.52%          16,330.00         4.40%        14,577.04     3.43%        Total Salaries and Wages                           124,542.57     5.49%        192,729.00         2.47%       178,048.35     2.27%

            ‐       0.00%           2,200.00         0.59%        15,237.38     3.59% Bonuses & Incentives                                        2,971.61     0.13%         26,405.00         0.34%        34,888.96     0.44%

     10,610.79     14.52%          18,530.00         4.99%        29,814.42     7.03%        Total Salaries, Wages, and Bonuses                 127,514.18     5.62%        219,134.00         2.81%       212,937.31     2.71%

                                                                                       Payroll‐Related Expenses
        772.48      1.06%           1,450.00         0.39%         2,467.09     0.58% Payroll Taxes                                               9,978.73     0.44%         17,625.00         0.23%        17,627.36     0.22%
      1,256.41      1.72%             421.00         0.11%         1,425.70     0.34% Supplemental Pay                                            9,193.94     0.41%          3,612.00         0.05%        12,084.13     0.15%
      1,557.98      2.13%           2,071.00         0.56%         1,915.95     0.45% Employee Benefits                                          25,592.45     1.13%         24,824.00         0.32%        20,956.15     0.27%

      3,586.87      4.91%           3,942.00         1.06%         5,808.74     1.37%        Total Payroll‐Related Benefits                      44,765.12     1.97%         46,061.00         0.59%        50,667.64     0.65%

     14,197.66     19.43%          22,472.00         6.05%        35,623.16     8.39%    Total Payroll and Related Expenses                     172,279.30     7.59%        265,195.00         3.39%       263,604.95     3.36%

                                                                                        Other Expenses
            ‐        0.00%             75.00         0.02%           114.58     0.03%    Operating Supplies                                       1,960.66     0.09%           1,100.00        0.01%         1,638.87     0.02%
            ‐        0.00%                           0.00%            18.01     0.00%    Decorations                                                 20.61     0.00%                           0.00%            18.01     0.00%
                     0.00%             50.00         0.01%              ‐       0.00%    Collateral ‐ Hotel                                                    0.00%            600.00         0.01%           379.22     0.00%
           ‐         0.00%              0.00         0.00%         1,057.11     0.25%    Complimentary Services and Gif                            (750.00)   ‐0.03%              0.00         0.00%         2,174.33     0.03%
      1,259.65       1.72%          2,668.00         0.72%         1,921.54     0.45%    Dues & Subscriptions ‐ Hotel                            37,476.71     1.65%         34,616.00         0.44%        24,671.95     0.31%
                     0.00%                           0.00%           131.25     0.03%    Training ‐ Hotel                                                      0.00%                           0.00%         1,840.72     0.02%
      (7,402.92)   ‐10.13%          3,225.00         0.87%         1,712.50     0.40%    E‐Commerce ‐ Hotel                                      12,920.35     0.57%         39,456.00         0.51%        22,218.98     0.28%
         996.72      1.36%          5,934.00         1.60%         6,886.83     1.62%    Franchise & Affiliation Advert                          34,854.93     1.54%        127,470.00         1.63%       128,353.64     1.64%
       2,990.11      4.09%         17,802.00         4.79%        20,660.33     4.87%    Franchise Fees                                         104,564.36     4.61%        382,413.00         4.90%       385,072.56     4.91%
       2,285.70      3.13%          6,231.00         1.68%         9,815.52     2.31%    Loyalty Programs/Frequent Flye                          20,699.27     0.91%        132,769.00         1.70%       136,454.16     1.74%
         357.97      0.49%          2,078.00         0.56%         2,979.41     0.70%    Media (Advertising/Directories                          15,029.00     0.66%         25,053.00         0.32%        27,661.95     0.35%
       4,244.00      5.81%          5,803.00         1.56%         5,634.08     1.33%    Revenue Management Fees                                 54,392.22     2.40%         69,636.00         0.89%        67,608.96     0.86%
         150.00      0.21%              0.00         0.00%           150.00     0.04%    Dues & Subscriptions ‐ Corpora                           1,685.00     0.07%             73.00         0.00%         1,962.00     0.03%
            ‐        0.00%              0.00         0.00%              ‐       0.00%    Trade Shows ‐ Corporate                                     37.86     0.00%             76.00         0.00%            65.02     0.00%
          16.78      0.02%             15.00         0.00%             8.40     0.00%    E‐Commerce ‐ Corporate                                     151.46     0.01%            180.00         0.00%           164.61     0.00%
                     0.00%              0.00         0.00%              ‐       0.00%    Training ‐ Corporate                                                  0.00%            134.00         0.00%           133.97     0.00%
           ‐         0.00%            850.00         0.23%         1,118.80     0.26%    Business Promotion ‐ Hotel                               1,357.81     0.06%         11,400.00         0.15%        13,085.72     0.17%
        441.67       0.60%            678.00         0.18%           657.58     0.15%    National Sales Allocation                                6,009.02     0.26%          8,136.00         0.10%         7,890.96     0.10%
           ‐         0.00%             50.00         0.01%           672.30     0.16%    Travel                                                   1,386.34     0.06%          3,000.00         0.04%         4,043.96     0.05%
           ‐         0.00%             50.00         0.01%            41.00     0.01%    Meals & Entertainment                                      145.46     0.01%            600.00         0.01%           502.21     0.01%
           ‐         0.00%              0.00         0.00%            33.33     0.01%    Trade Shows ‐ Hotel                                      2,240.00     0.10%          1,695.00         0.02%         1,867.04     0.02%
                     0.00%                           0.00%              ‐       0.00%    Miscellaneous                                                         0.00%                           0.00%             0.84     0.00%

      5,339.68      7.31%          45,509.00        12.26%        53,612.57    12.63%        Total Other Expenses                               294,181.06    12.96%        838,407.00        10.73%       827,809.68    10.55%
     $19,537.34    26.74%         $67,981.00        18.31%        $89,235.73   21.03% Total Expenses                                            $466,460.36   20.55%      $1,103,602.00       14.13%     $1,091,414.63   13.91%
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                                                                                   Alexandria
                                                                                                    Hersha Hospitality Management LP
                                                                                                 For the Month Ending December 31, 2020
                                  Current Month                                                                                                                              Year-To-Date
    Actual                     Budget                          Actual                                                                         Actual                     Budget                         Actual
December 2020              December 2020                   December 2019                                     In Balance                   December 2020              December 2020                  December 2019



                                                                                             Property Operation and Maintenance
                                                                                      Expenses
                                                                                     Payroll and Related Expenses
                                                                                      Salaries, Wages, and Bonuses
                                                                                       Salaries and Wages
           ‐       0.00%          7,820.00         2.11%         6,520.80     1.54% R&M Management                                             21,979.84     0.97%         92,294.00        1.18%        77,734.80    0.99%
      9,001.25    12.32%         12,809.00         3.45%        12,159.60     2.87% R&M Non‐Management                                        112,070.81     4.94%        148,316.00        1.90%       132,078.49    1.68%
                   0.00%                           0.00%              ‐       0.00% R&M Contract Labor                                                       0.00%                          0.00%        10,106.02    0.13%

      9,001.25    12.32%         20,629.00         5.56%        18,680.40     4.40%       Total Salaries and Wages                            134,050.65     5.91%        240,610.00        3.08%       219,919.31    2.80%

           ‐       0.00%                           0.00%                      0.00% Bonuses & Incentives                                          163.95     0.01%                          0.00%                     0.00%

      9,001.25    12.32%         20,629.00         5.56%        18,680.40     4.40%       Total Salaries, Wages, and Bonuses                  134,214.60     5.91%        240,610.00        3.08%       219,919.31    2.80%

                                                                                     Payroll‐Related Expenses
        706.99     0.97%          1,680.00         0.45%         1,885.96     0.44% Payroll Taxes                                              11,353.63     0.50%         20,311.00        0.26%        17,706.70    0.23%
        564.64     0.77%            798.00         0.21%         1,738.68     0.41% Supplemental Pay                                            6,264.81     0.28%          6,576.00        0.08%        12,364.73    0.16%
        687.70     0.94%          2,324.00         0.63%         2,198.28     0.52% Employee Benefits                                          14,209.05     0.63%         27,832.00        0.36%        21,828.42    0.28%

      1,959.33     2.68%          4,802.00         1.29%         5,822.92     1.37%       Total Payroll‐Related Benefits                       31,827.49     1.40%         54,719.00        0.70%        51,899.85    0.66%

     10,960.58    15.00%         25,431.00         6.85%        24,503.32     5.77%    Total Payroll and Related Expenses                     166,042.09     7.32%        295,329.00        3.78%       271,819.16    3.46%

                                                                                      Other Expenses
        807.42     1.11%            494.00         0.13%         1,225.93     0.29%    Operating Supplies                                       5,080.60     0.22%          7,866.00        0.10%         9,535.56    0.12%
        238.72     0.33%            892.00         0.24%         1,651.25     0.39%    Building                                                 6,432.22     0.28%         14,213.00        0.18%        16,690.82    0.21%
           ‐       0.00%            155.00         0.04%              ‐       0.00%    Laundry Equipment                                        1,686.28     0.07%          2,477.00        0.03%         5,075.43    0.06%
        112.76     0.15%             64.00         0.02%            73.01     0.02%    Light Bulbs                                              1,422.49     0.06%          1,017.00        0.01%         1,277.94    0.02%
        997.62     1.37%          1,235.00         0.33%         1,235.04     0.29%    Waste Removal                                           11,699.22     0.52%         16,020.00        0.21%        16,132.40    0.21%
        858.46     1.17%          1,250.00         0.34%         2,010.90     0.47%    Contract Services                                       13,386.12     0.59%         15,000.00        0.19%        16,201.09    0.21%
      1,435.00     1.96%          1,435.00         0.39%         1,345.61     0.32%    Corporate Engineering Fees                              17,220.00     0.76%         17,220.00        0.22%        16,152.54    0.21%
           ‐       0.00%                           0.00%              ‐       0.00%    Travel                                                     122.70     0.01%                          0.00%           935.98    0.01%
                   0.00%                           0.00%              ‐       0.00%    Meals & Entertainment                                                 0.00%                          0.00%            87.50    0.00%
         24.37     0.03%            255.00         0.07%           902.21     0.21%    Electrical & Mechanical Equipm                           1,408.05     0.06%          4,060.00        0.05%         8,099.20    0.10%
      1,416.56     1.94%          2,500.00         0.67%         2,778.88     0.65%    Elevators & Escalators                                  26,821.75     1.18%         30,000.00        0.38%        46,110.64    0.59%
        168.79     0.23%            207.00         0.06%           404.28     0.10%    Engineering Supplies                                     2,707.39     0.12%          3,299.00        0.04%         3,908.09    0.05%
      1,513.35     2.07%          1,800.00         0.48%         2,561.19     0.60%    Grounds Maintenance and Landsc                          10,613.73     0.47%         17,841.00        0.23%        19,628.57    0.25%
      3,134.81     4.29%            796.00         0.21%         1,764.51     0.42%    HVAC                                                    19,340.35     0.85%         12,690.00        0.16%        20,801.10    0.27%
        164.07     0.22%            478.00         0.13%            63.89     0.02%    Kitchen Equipment                                        3,698.49     0.16%          7,615.00        0.10%        15,337.55    0.20%
      2,019.98     2.76%          1,700.00         0.46%         1,438.92     0.34%    Life Safety                                             17,715.27     0.78%         20,400.00        0.26%        23,608.05    0.30%
         70.67     0.10%            239.00         0.06%           201.54     0.05%    Painting & Decorating                                    1,313.67     0.06%          3,804.00        0.05%         4,034.33    0.05%
           ‐       0.00%          3,545.00         0.95%         4,075.97     0.96%    Swimming Pool                                           14,032.38     0.62%         42,540.00        0.54%        44,285.88    0.56%
      4,149.46     5.68%            446.00         0.12%           855.28     0.20%    Plumbing                                                18,173.54     0.80%          7,105.00        0.09%         9,715.23    0.12%

     17,112.04    23.42%         17,491.00         4.71%        22,588.41     5.32%       Total Other Expenses                                172,874.25     7.62%        223,167.00        2.86%       277,617.90    3.54%

     $28,072.62   38.42%        $42,922.00        11.56%        $47,091.73   11.10% Total Expenses                                            $338,916.34   14.93%       $518,496.00        6.64%       $549,437.06   7.00%
                                             Case 1:20-cv-06089-JGK Document
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                                                                                   Alexandria
                                                                                                  Hersha Hospitality Management LP
                                                                                               For the Month Ending December 31, 2020
                                  Current Month                                                                                                                           Year-To-Date
    Actual                     Budget                         Actual                                                                        Actual                    Budget                         Actual
December 2020              December 2020                  December 2019                                    In Balance                   December 2020             December 2020                  December 2019



                                                                                                             Utilities

                                                                                    Utilities
      7,636.35    10.45%         16,249.00        4.38%        16,075.30    3.79%    Electricity                                            108,135.93    4.76%        147,777.00        1.89%       142,532.58    1.82%
      3,909.55     5.35%          2,665.00        0.72%         4,449.07    1.05%    Gas                                                     21,627.66    0.95%         31,566.00        0.40%        34,168.58    0.44%
      1,339.53     1.83%          4,055.00        1.09%         3,617.12    0.85%    Water                                                   30,688.39    1.35%         47,061.00        0.60%        47,417.58    0.60%
        149.70     0.20%          9,981.00        2.69%         7,403.04    1.74%    Sewer                                                   62,357.65    2.75%        102,002.00        1.31%       100,069.99    1.28%
     $13,035.13   17.84%        $32,950.00        8.87%        $31,544.53   7.43% Total Utilities                                           $222,809.63   9.82%       $328,406.00        4.20%       $324,188.73   4.13%
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                                                                                  Alexandria
                                                                                               Hersha Hospitality Management LP
                                                                                            For the Month Ending December 31, 2020
                                 Current Month                                                                                                                         Year-To-Date
    Actual                    Budget                         Actual                                                                      Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                   In Balance                  December 2020             December 2020                  December 2019



                                                                                                     Management Fees

                                                                                   Management Fees
      2,179.85    2.98%         11,116.00        2.99%        12,644.38    2.98%    Base Fee                                              67,819.13    2.99%        233,038.00        2.98%       233,985.47    2.98%

      $2,179.85   2.98%        $11,116.00        2.99%        $12,644.38   2.98% Total Management Fees                                    $67,819.13   2.99%       $233,038.00        2.98%       $233,985.47   2.98%
                                           Case 1:20-cv-06089-JGK Document
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                                                                                 Alexandria
                                                                                             Hersha Hospitality Management LP
                                                                                          For the Month Ending December 31, 2020
                                Current Month                                                                                                                       Year-To-Date
    Actual                   Budget                         Actual                                                                     Actual                   Budget                         Actual
December 2020            December 2020                  December 2019                                   In Balance                 December 2020            December 2020                  December 2019



                                                                                                Non Operating Income

                                                                                 Non Operating Income
                 0.00%              0.00        0.00%              ‐     0.00%    Interest Income                                                   0.00%            423.00        0.01%           422.65   0.01%

         $0.00   0.00%             $0.00        0.00%            $0.00   0.00% Total Non Operating Income Fees                              $0.00   0.00%           $423.00        0.01%          $422.65   0.01%
                                              Case 1:20-cv-06089-JGK Document
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                                                                                    Alexandria
                                                                                                     Hersha Hospitality Management LP
                                                                                                  For the Month Ending December 31, 2020
                                   Current Month                                                                                                                               Year-To-Date
    Actual                      Budget                          Actual                                                                          Actual                     Budget                          Actual
December 2020               December 2020                   December 2019                                      In Balance                   December 2020              December 2020                   December 2019



                                                                                         Rent, Property and Other Taxes, and Insurance

                                                                                       Rent
     47,411.18     64.89%         47,411.00        12.77%        46,075.00    10.86%    Land and Buildings                                      568,934.16    25.07%        568,932.00         7.28%       552,900.00     7.05%

     47,411.18     64.89%         47,411.00        12.77%        46,075.00    10.86% Total Rent                                                 568,934.16    25.07%        568,932.00         7.28%       552,900.00     7.05%


                                                                                       Property and Other Taxes
     20,822.00     28.50%         20,822.00         5.61%        20,486.58     4.83%     Real Estate Taxes                                      249,864.00    11.01%        249,864.00         3.20%       248,405.24     3.17%

     20,822.00     28.50%         20,822.00         5.61%        20,486.58     4.83% Total Property and Other Taxes                             249,864.00    11.01%        249,864.00         3.20%       248,405.24     3.17%


                                                                                       Insurance
      8,811.84     12.06%          8,725.00         2.35%         9,251.45     2.18%     Building and Contents                                  107,554.45     4.74%        104,700.00         1.34%        83,734.17     1.07%
        483.00      0.66%            483.00         0.13%           469.00     0.11%     Risk Management                                          5,796.00     0.26%          5,796.00         0.07%         5,628.00     0.07%
      6,797.86      9.30%          3,522.00         0.95%         3,550.92     0.84%     General Liability Insurance                             68,764.16     3.03%         42,264.00         0.54%        42,317.52     0.54%

     16,092.70     22.03%         12,730.00         3.43%        13,271.37     3.13%     Total Insurance                                        182,114.61     8.02%        152,760.00         1.96%       131,679.69     1.68%


     $84,325.88   115.41%        $80,963.00        21.80%        $79,832.95   18.81% Total Rent, Property, and Other Taxes, and Insurance     $1,000,912.77   44.10%       $971,556.00        12.44%       $932,984.93   11.89%
                                Case 1:20-cv-06089-JGK Document
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                                                                      Alexandria
                                                               Hersha Hospitality Management LP
                                                            For the Month Ending December 31, 2020
                       Current Month                                                                                         Year-To-Date
    Actual          Budget                  Actual                                                       Actual          Budget                 Actual
December 2020   December 2020           December 2019                   In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
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                                                                      Alexandria
                                                               Hersha Hospitality Management LP
                                                            For the Month Ending December 31, 2020
                       Current Month                                                                                         Year-To-Date
    Actual          Budget                  Actual                                                       Actual          Budget                 Actual
December 2020   December 2020           December 2019                   In Balance                   December 2020   December 2020          December 2019
                                              Case 1:20-cv-06089-JGK Document
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                                                                                    Alexandria
                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                   Current Month                                                                                                                             Year-To-Date
    Actual                      Budget                         Actual                                                                        Actual                      Budget                         Actual
December 2020               December 2020                  December 2019                                       In Balance                December 2020               December 2020                  December 2019



                                                                                                      Payroll‐Related Expenses
                                                                                      Payroll Taxes
            ‐      0.00%               ‐           0.00%               ‐      0.00%        Total Payroll Tax                                         ‐      0.00%               ‐           0.00%               ‐      0.00%

                                                                                      Employee Benefits
            ‐       0.00%                          0.00%             10.62     0.00% Associate Meals                                                2.44     0.00%                          0.00%            149.34     0.00%
      (3,671.24)   ‐5.02%                          0.00%         (3,681.86)   ‐0.87% PTEB Allocation                                          (45,767.60)   ‐2.02%                          0.00%        (45,678.82)   ‐0.58%
       3,671.24     5.02%                          0.00%          3,671.24     0.87% Workers' Compenstion Insurance                            45,765.16     2.02%                          0.00%         45,529.48     0.58%

            ‐      0.00%               ‐           0.00%               ‐      0.00%        Total Employee Benefits                                   ‐      0.00%               ‐           0.00%               ‐      0.00%


          $0.00    0.00%              $0.00        0.00%             $0.00    0.00%        Total Payroll Taxes and Employee Benefits               $0.00    0.00%              $0.00        0.00%             $0.00    0.00%
                                Case 1:20-cv-06089-JGK Document
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                                                                      Alexandria
                                                               Hersha Hospitality Management LP
                                                            For the Month Ending December 31, 2020
                       Current Month                                                                                         Year-To-Date
    Actual          Budget                  Actual                                                       Actual          Budget                 Actual
December 2020   December 2020           December 2019                   In Balance                   December 2020   December 2020          December 2019
                                             Case 1:20-cv-06089-JGK Document
                                                                      258‐Courtyard56    Filed 01/26/21 Page 432 of 541
                                                                                   Alexandria
                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                  Current Month                                                                                                                             Year-To-Date
    Actual                     Budget                          Actual                                                                        Actual                     Budget                          Actual
December 2020              December 2020                   December 2019                                    In Balance                   December 2020              December 2020                   December 2019



                                                                                                              Interest

                                                                                      Interest
     69,649.17    95.32%         71,816.00        19.34%        71,061.57    16.74%     Interest Expense                                     837,563.97    36.90%        861,792.00        11.03%       858,874.95    10.95%

     $69,649.17   95.32%        $71,816.00        19.34%        $71,061.57   16.74%      Total Interest                                      $837,563.97   36.90%       $861,792.00        11.03%       $858,874.95   10.95%
                                           Case 1:20-cv-06089-JGK Document
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                                                                                 Alexandria
                                                                                               Hersha Hospitality Management LP
                                                                                            For the Month Ending December 31, 2020
                                Current Month                                                                                                                          Year-To-Date
    Actual                   Budget                         Actual                                                                       Actual                    Budget                         Actual
December 2020            December 2020                  December 2019                                    In Balance                  December 2020             December 2020                  December 2019



                                                                                                   Other Fixed Expenses

                                                                                  Other Fixed Expenses
           ‐     0.00%                          0.00%         5,385.88    1.27%    Owner's Expense                                         3,877.96    0.17%                          0.00%        16,211.29    0.21%

         $0.00   0.00%             $0.00        0.00%         $5,385.88   1.27% Total Other Fixed Expenses                                 $3,877.96   0.17%             $0.00        0.00%        $16,211.29   0.21%
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                                                                                                            Hersha Hospitality Management LP
                                                                                                         For the Month Ending December 31, 2020
                                   Current Month                                                                                                                                            Year-To-Date
    Actual                      Budget                           Actual                                                                               Actual                            Budget                            Actual
December 2020               December 2020                    December 2019                                            In Balance                  December 2020                     December 2020                     December 2019

                                                                                                            Rooms Department Schedule
                                                                                              Room Revenue Component Statistics
         4,402                        4,402                           4,402                   Rooms Available                                              51,972                            51,972                            51,830
         1,825                        3,302                           3,812                   Rooms Sold                                                   31,174                            45,311                            45,872
        41.46%                       75.01%                          86.60%                   % of Occupancy                                               59.98%                            87.18%                            88.50%
        160.47                       172.27                          162.91                   Average Daily Rate                                           159.49                            183.47                            179.64
         66.53                       129.23                          141.07                   RevPar                                                        95.66                            159.96                            158.99

                                                                                              Revenue
    278,837.10     95.21%        539,274.00         94.80%       550,515.93         88.65%     Transient Rooms Revenue                               4,787,715.68         96.30%        7,737,436.00        93.07%       7,742,832.66         93.96%
      1,904.00      0.65%         29,575.00          5.20%        63,768.50         10.27%     Group Rooms Revenue                                      95,547.69          1.92%          575,985.00         6.93%         405,120.55          4.92%
     11,915.65      4.07%              0.00          0.00%         6,824.26          1.10%     Other Rooms Revenue                                      94,955.24          1.91%                0.00         0.00%          93,012.24          1.13%
        199.00      0.07%              0.00          0.00%          (100.00)        ‐0.02%     Rooms Allowances                                         (6,333.45)        ‐0.13%                0.00         0.00%            (438.01)        ‐0.01%

    292,855.75    100.00%        568,849.00        100.00%       621,008.69        100.00%      Total Rooms Revenue                                  4,971,885.16        100.00%       8,313,421.00        100.00%       8,240,527.44        100.00%


                                                                                              Expenses
                                                                                               Payroll and Related Expenses
                                                                                                Salaries, Wages, and Bonuses
                                                                                                 Salaries and Wages
      3,950.40      1.35%          5,133.00          0.90%         2,705.72           0.44%         Rooms Management                                   55,805.08           1.12%          53,876.00          0.65%         31,621.41           0.38%
      8,051.50      2.75%         15,272.00          2.68%        14,087.21           2.27%         Front Desk GSA                                    108,156.56           2.18%         183,209.00          2.20%        161,158.56           1.96%
      6,605.59      2.26%         20,148.00          3.54%        19,822.47           3.19%         Housekeeping Wages                                136,789.19           2.75%         260,689.00          3.14%        221,034.98           2.68%
      6,405.64      2.19%          4,853.00          0.85%         5,543.89           0.89%         Night Audit                                        58,359.79           1.17%          56,340.00          0.68%         61,935.85           0.75%
      2,751.17      0.94%          7,965.00          1.40%         7,156.19           1.15%         Breakfast Bar                                      49,475.15           1.00%         107,090.00          1.29%         99,099.61           1.20%
     16,902.58      5.77%         19,803.00          3.48%        29,769.10           4.79%         Rooms Contract Labor                              221,683.09           4.46%         241,851.00          2.91%        315,794.71           3.83%

     44,666.88     15.25%         73,174.00         12.86%        79,084.58         12.73%              Total Salaries and Wages                      630,268.86          12.68%         903,055.00         10.86%        890,645.12          10.81%

           ‐        0.00%            329.00          0.06%            30.00           0.00%       Bonuses & Incentives                                   1,041.46          0.02%            4,063.00         0.05%           4,014.92          0.05%

     44,666.88     15.25%         73,503.00         12.92%        79,114.58         12.74%           Total Salaries, Wages, and Bonuses               631,310.32          12.70%         907,118.00         10.91%        894,660.04          10.86%

                                                                                               Payroll‐Related Expenses
      2,919.01      1.00%          4,642.00          0.82%         5,732.13           0.92%     Payroll Taxes                                          37,646.50           0.76%          63,382.00          0.76%         57,343.71           0.70%
      5,138.63      1.75%          3,608.00          0.63%         3,739.77           0.60%     Supplemental Pay                                       30,093.92           0.61%          32,559.00          0.39%         30,950.74           0.38%
      3,019.16      1.03%          5,386.00          0.95%         5,029.12           0.81%     Employee Benefits                                      53,938.58           1.08%          64,678.00          0.78%         62,249.74           0.76%

     11,076.80      3.78%         13,636.00          2.40%        14,501.02           2.34%          Total Payroll‐Related Benefits                   121,679.00           2.45%         160,619.00          1.93%        150,544.19           1.83%

     55,743.68     19.03%         87,139.00         15.32%        93,615.60         15.07%     Total Payroll and Related Expenses                     752,989.32          15.14%       1,067,737.00         12.84%       1,045,204.23         12.68%

                                                                                              Other Expenses
      1,067.95      0.36%          1,037.00          0.18%         1,006.15           0.16%    Cleaning Supplies                                       12,694.75           0.26%          14,227.00          0.17%         14,282.18           0.17%
      1,412.05      0.48%          3,137.00          0.55%         3,660.96           0.59%    Guest Supplies                                          28,356.44           0.57%          43,046.00          0.52%         43,650.17           0.53%
      1,152.42      0.39%          2,278.00          0.40%         4,326.23           0.70%    Operating Supplies                                      17,072.86           0.34%          31,264.00          0.38%         32,246.24           0.39%
      1,292.80      0.44%          2,510.00          0.44%         3,447.25           0.56%    Linen                                                   22,653.46           0.46%          34,436.00          0.41%         34,547.72           0.42%
         21.73      0.01%                            0.00%           109.20           0.02%    Decorations                                                 21.73           0.00%                             0.00%            159.92           0.00%
       (983.52)    ‐0.34%            396.00          0.07%           367.69           0.06%    VIP Amenities/Comp Gifts                                   155.27           0.00%           5,436.00          0.07%          5,145.64           0.06%
      2,187.97      0.75%          9,906.00          1.74%        15,659.82           2.52%    Complimentary Breakfast Food &                          70,215.33           1.41%         135,933.00          1.64%        141,281.12           1.71%
           ‐        0.00%                            0.00%           465.99           0.08%    Guest Relocation                                         3,988.71           0.08%                             0.00%         19,389.69           0.24%
        926.69      0.32%          1,222.00          0.21%         1,060.20           0.17%    Laundry & Dry Cleaning                                  13,392.84           0.27%          16,766.00          0.20%         15,989.51           0.19%
           ‐        0.00%                            0.00%              ‐             0.00%    Training ‐ Hotel                                           303.00           0.01%                             0.00%            356.98           0.00%
           ‐        0.00%            165.00          0.03%              ‐             0.00%    Guest Transportation                                        17.00           0.00%           2,267.00          0.03%          4,986.24           0.06%
      2,082.91      0.71%          2,050.00          0.36%         2,637.22           0.42%    Cable / Satellite Television                            35,399.55           0.71%          25,637.00          0.31%         32,184.51           0.39%
     13,153.14      4.49%         24,745.00          4.35%        31,685.60           5.10%    Commissions                                            219,649.58           4.42%         357,018.00          4.29%        380,928.71           4.62%
           ‐        0.00%              0.00          0.00%            79.60           0.01%    Commissions & Rebates ‐ Group                                 ‐             0.00%           1,000.00          0.01%          4,150.07           0.05%
      5,299.71      1.81%         11,557.00          2.03%        13,573.56           2.19%    Reservations                                            99,915.22           2.01%         158,591.00          1.91%        161,034.04           1.95%
        276.80      0.09%            500.00          0.09%           125.00           0.02%    Contract Services                                        1,834.91           0.04%           6,000.00          0.07%          4,462.84           0.05%
           ‐        0.00%            495.00          0.09%          (239.44)         ‐0.04%    Uniforms                                                 1,555.93           0.03%           6,797.00          0.08%          6,399.85           0.08%
           ‐        0.00%              0.00          0.00%              ‐             0.00%    Office Supplies                                               ‐             0.00%               3.00          0.00%              2.86           0.00%
        271.27      0.09%            112.00          0.02%              ‐             0.00%    Printing & Stationery                                      978.22           0.02%           1,540.00          0.02%          1,198.98           0.01%
           ‐        0.00%                            0.00%              ‐             0.00%    Travel                                                        ‐             0.00%                             0.00%             32.48           0.00%

     28,161.92      9.62%         60,110.00         10.57%        77,965.03         12.55%         Total Other Expenses                               528,204.80          10.62%         839,961.00         10.10%        902,429.75          10.95%

     83,905.60     28.65%        147,249.00         25.89%       171,580.63         27.63% Total Expenses                                            1,281,194.12         25.77%       1,907,698.00         22.95%       1,947,633.98         23.63%
    $208,950.15    71.35%       $421,600.00         74.11%       $449,428.06         72.37% Departmental Income (Loss)                              $3,690,691.04          74.23%      $6,405,723.00         77.05%     $6,292,893.46          76.37%
                        =                     ===========                      ===========                                                                           ===========                       ===========                       ===========
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                                              Case 1:20-cv-06089-JGK Document
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                                                                                                                                              Hersha Hospitality Management LP
                                                                                                                                           For the Month Ending December 31, 2020
                                         Current Month                                                                                                                                                                                    Year-To-Date
     Actual                           Budget                                             Actual                                                                                          Actual                                       Budget                                             Actual
 December 2020                    December 2020                                      December 2019                                                     In Balance                    December 2020                                December 2020                                      December 2019

                                                                                                                                              Food Department Schedule

                                                                                                                                Revenue
                ‐      0.00%                   1,610.00                12.81%                     71.82              0.61%       Outlet Food Revenue                                          1,861.33               6.14%                   22,090.00                 12.63%                17,045.81               10.46%
                ‐      0.00%                   3,500.00                27.84%                  2,321.50            19.81%        Banquet/Catering Food Revenue                                7,101.45             23.44%                    54,000.00                 30.88%                50,712.25               31.13%
                       0.00%                                             0.00%                      ‐                0.00%       Food Allowances                                                                     0.00%                                               0.00%                   149.00                0.09%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  5,110.00                 40.65%                  2,393.32            20.43%         Total Food Revenue                                           8,962.78            29.59%                    76,090.00                 43.52%                67,907.06               41.68%
                                                                                                                                Other Revenue
                ‐      0.00%                     912.00                  7.25%                   640.00              5.46% Audiovisual                                                         905.00                2.99%                   11,875.00                   6.79%               11,975.00                 7.35%
                ‐      0.00%                   4,800.00                38.18%                  6,635.50            56.63% Public Room Rentals                                               16,104.46              53.16%                    62,500.00                 35.74%                59,344.50               36.42%
                       0.00%                                             0.00%                       ‐               0.00% Meeting Room Rental‐Tax Exempt                                                            0.00%                                               0.00%                   100.00                0.06%
                 ‐     0.00%                   1,750.00                13.92%                  2,048.54            17.48% Banquet Service Charge                                               4,322.13            14.27%                     24,390.00                13.95%                23,596.64               14.48%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  7,462.00                 59.35%                  9,324.04            79.57%     Total Other Revenue                                            21,331.59             70.41%                    98,765.00                 56.48%                95,016.14               58.32%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                 12,572.00               100.00%                 11,717.36           100.00% Total Revenue                                                       30,294.37           100.00%                   174,855.00                100.00%                162,923.20             100.00%

                                                                                                                                Cost of Food
                ‐      0.00%                   1,942.00                38.00%                  1,660.94            69.40%        Cost of Food Sales                                            4,445.94            49.60%                     28,914.00                38.00%                27,733.80               40.84%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  1,942.00                 38.00%                  1,660.94            69.40%         Total Cost of Food                                           4,445.94            49.60%                    28,914.00                 38.00%                27,733.80               40.84%

                                                                                                                              Cost of Other Revenue
                       0.00%                                             0.00%                      ‐                0.00% Audiovisual Cost                                                                          0.00%                                               0.00%                 1,203.27              10.05%
                ‐      0.00%                         0.00                0.00%                   163.31              1.39% Miscellaneous Cost                                                    385.98              1.27%                           0.00                0.00%                   637.22                0.39%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                          ‐                  0.00%                   163.31              1.75%      Total Cost of Other Revenue                                      385.98              1.81%                            ‐                  0.00%                 1,840.49                1.94%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  1,942.00                 15.45%                  1,824.25            15.57% Total Cost of Food Sales and Other Revenue                           4,831.92            15.95%                    28,914.00                 16.54%                29,574.29               18.15%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                 10,630.00                 84.55%                  9,893.11            84.43% Gross Profit (Loss)                                                25,462.45             84.05%                  145,941.00                  83.46%               133,348.91               81.85%


                                                                                                                                Expenses
                                                                                                                              Payroll and Related Expenses
                                                                                                                               Salaries, Wages, and Bonuses
                                                                                                                                Salaries and Wages
                       0.00%                                             0.00%                       ‐               0.00% Kitchen Prep Payroll                                                                      0.00%                                               0.00%               11,684.12                 7.17%
                 ‐     0.00%                      875.00                 6.96%                 1,213.57            10.36% Banquet SVC Charge Paid Out                                          1,722.93              5.69%                    12,196.00                  6.97%               11,653.13                 7.15%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                     875.00                  6.96%                 1,213.57            10.36%         Total Salaries and Wages                                     1,722.93              5.69%                   12,196.00                   6.97%               23,337.25               14.32%

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                 ‐     0.00%                     875.00                  6.96%                 1,213.57            10.36%            Total Salaries, Wages, and Bonuses                        1,722.93              5.69%                   12,196.00                   6.97%               23,337.25               14.32%

                                                                                                                              Payroll‐Related Expenses
                       0.00%                                             0.00%                      ‐                0.00% Payroll Taxes                                                                             0.00%                                               0.00%                   650.16                0.40%
                       0.00%                                             0.00%                      ‐                0.00% Supplemental Pay                                                                          0.00%                                               0.00%                    45.57                0.03%
                ‐      0.00%                                             0.00%                      ‐                0.00% Employee Benefits                                                      14.74              0.05%                                               0.00%                   833.41                0.51%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                          ‐                  0.00%                       ‐               0.00%        Total Payroll‐Related Benefits                                  14.74              0.05%                            ‐                  0.00%                 1,529.14                0.94%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                     875.00                  6.96%                 1,213.57            10.36% Total Payroll and Related Expenses                                   1,737.67              5.74%                   12,196.00                   6.97%               24,866.39               15.26%

                                                                                                                              Other Expenses
                       0.00%                                             0.00%                     ‐                 0.00% Linen                                                                                     0.00%                                               0.00%                  290.00                 0.18%
                ‐      0.00%                                             0.00%                                       0.00% Training ‐ Hotel                                                      274.99              0.91%                                               0.00%                                         0.00%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                          ‐                  0.00%                       ‐               0.00%         Total Other Expenses                                          274.99              0.91%                            ‐                  0.00%                   290.00                0.18%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                     875.00                  6.96%                 1,213.57            10.36% Total Expenses                                                       2,012.66              6.64%                   12,196.00                   6.97%               25,156.39               15.44%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
               $0.00   0.00%                  $9,755.00                77.59%                 $8,679.54            74.07% Departmental Income (Loss)                                         $23,449.79            77.41%                 $133,745.00                  76.49%              $108,192.52               66.41%
                           =                                  ===========                                 ===========                                                                                     ===========                                         ===========                                   ===========
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                                                                                                      Hersha Hospitality Management LP
                                                                                                   For the Month Ending December 31, 2020
                                 Current Month                                                                                                                                   Year-To-Date
    Actual                    Budget                           Actual                                                                           Actual                       Budget                           Actual
December 2020             December 2020                    December 2019                                        In Balance                  December 2020                December 2020                    December 2019

                                                                                                   Beverage Department Schedule

                                                                                        Revenue
           ‐      0.00%          4,640.00        100.00%         2,683.50      99.54%    Outlet Beverage Revenue                                  8,643.11     104.44%         63,685.00        100.00%        59,595.65    101.07%
                  0.00%                            0.00%              ‐         0.00%    Banquet/Catering Bev Revenue                                            0.00%                            0.00%           460.76      0.78%
           ‐      0.00%              0.00          0.00%            12.50       0.46%    Beverage Allowances                                        (367.78)    ‐4.44%              0.00          0.00%        (1,088.81)    ‐1.85%

           ‐      0.00%          4,640.00        100.00%         2,696.00     100.00%     Total Beverage Revenue                                  8,275.33     100.00%         63,685.00        100.00%        58,967.60    100.00%
                                                                                        Other Revenue

           ‐      0.00%               ‐            0.00%               ‐        0.00%     Total Other Revenue                                           ‐        0.00%               ‐            0.00%              ‐        0.00%

           ‐      0.00%          4,640.00        100.00%         2,696.00     100.00% Total Revenue                                               8,275.33     100.00%         63,685.00        100.00%        58,967.60    100.00%

           ‐      0.00%          1,318.00         28.41%         1,636.69      60.71% Cost of Beverage Sales                                      2,205.23      26.65%         17,890.00         28.09%        20,278.11     34.39%

                                                                                        Cost of Other Revenue
                  0.00%                            0.00%               ‐        0.00%    Miscellaneous Cost                                                      0.00%                            0.00%           193.73      0.00%

           ‐      0.00%               ‐            0.00%               ‐        0.00%     Total Cost of Other Revenue                                   ‐        0.00%               ‐            0.00%           193.73      0.00%

           ‐      0.00%          1,318.00         28.41%         1,636.69      60.71% Total Cost of Beverage Sales and Other Revenue              2,205.23      26.65%         17,890.00         28.09%        20,471.84     34.72%

           ‐      0.00%          3,322.00         71.59%         1,059.31      39.29% Gross Profit (Loss)                                         6,070.10      73.35%         45,795.00         71.91%        38,495.76     65.28%


                                                                                        Expenses
                                                                                       Payroll and Related Expenses
                                                                                        Salaries, Wages, and Bonuses
                                                                                         Salaries and Wages
           ‐      0.00%          2,410.00         51.94%         1,848.37      68.56% Beverage Service Payroll                                    6,807.87      82.27%         27,875.00         43.77%        27,518.49     46.67%

           ‐      0.00%          2,410.00         51.94%         1,848.37      68.56%        Total Salaries and Wages                             6,807.87      82.27%         27,875.00         43.77%        27,518.49     46.67%

                  0.00%                            0.00%               ‐        0.00% Bonuses & Incentives                                                       0.00%                            0.00%           243.23      0.41%

           ‐      0.00%          2,410.00         51.94%         1,848.37      68.56%        Total Salaries, Wages, and Bonuses                   6,807.87      82.27%         27,875.00         43.77%        27,761.72     47.08%

                                                                                       Payroll‐Related Expenses
           ‐      0.00%            237.00          5.11%           227.26       8.43% Payroll Taxes                                                 736.95       8.91%          3,290.00          5.17%         4,901.61      8.31%
           ‐      0.00%            100.00          2.16%          (126.39)     ‐4.69% Supplemental Pay                                              (75.75)     ‐0.92%          1,200.00          1.88%         1,152.54      1.95%
           ‐      0.00%             75.00          1.62%           152.47       5.66% Employee Benefits                                             386.30       4.67%            900.00          1.41%           982.82      1.67%

           ‐      0.00%           412.00           8.88%           253.34       9.40%        Total Payroll‐Related Benefits                       1,047.50      12.66%          5,390.00          8.46%         7,036.97     11.93%

           ‐      0.00%          2,822.00         60.82%         2,101.71      77.96%    Total Payroll and Related Expenses                       7,855.37      94.93%         33,265.00         52.23%        34,798.69     59.01%

                                                                                        Other Expenses
                  0.00%                            0.00%              ‐         0.00%    Operating Supplies                                                      0.00%                            0.00%            13.00      0.02%
        123.70    0.00%            250.00          5.39%           280.71      10.41%    Equipment Rental                                         1,608.63      19.44%          3,000.00          4.71%         2,149.56      3.65%

        123.70    0.00%           250.00           5.39%           280.71      10.41%        Total Other Expenses                                 1,608.63      19.44%          3,000.00          4.71%         2,162.56      3.67%


        123.70    0.00%          3,072.00         66.21%         2,382.42      88.37% Total Expenses                                              9,464.00     114.36%         36,265.00         56.94%        36,961.25     62.68%


      ($123.70)   0.00%           $250.00          5.39%        ($1,323.11)   ‐49.08% Departmental Income (Loss)                                 ($3,393.90)   ‐41.01%         $9,530.00         14.96%         $1,534.51     2.60%
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
                                                         260‐Hyatt House56     Filed
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
                                                         260‐Hyatt House56     Filed
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
                                                         260‐Hyatt House56     Filed
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                              Case 1:20-cv-06089-JGK Document
                                                                       260‐Hyatt House56     Filed
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                                                                                                        Hersha Hospitality Management LP
                                                                                                     For the Month Ending December 31, 2020
                                   Current Month                                                                                                                                  Year-To-Date
    Actual                      Budget                           Actual                                                                           Actual                      Budget                           Actual
December 2020               December 2020                    December 2019                                       In Balance                   December 2020               December 2020                    December 2019



                                                                                                           Other / Miscellaneous
                                                                                         Revenue
      1,428.91     35.73%          4,623.00         62.19%         4,688.80     54.78%    Gift & Market Shop Taxable                               43,292.47     43.11%         63,436.00         65.02%        61,564.00     53.68%
         10.00      0.25%            231.00          3.11%           561.00      6.55%    Guest Laundry/Valet                                         183.00      0.18%          3,172.00          3.25%         3,829.13      3.34%
      2,560.00     64.02%          2,580.00         34.71%         3,309.50     38.67%    Other Miscellaneous Revenue                              42,672.49     42.49%         30,960.00         31.73%        34,670.80     30.23%
           ‐        0.00%                            0.00%              ‐        0.00%    Audit Results                                            14,278.64     14.22%                            0.00%        14,626.14     12.75%

      3,998.91    100.00%          7,434.00        100.00%         8,559.30    100.00%      Total Other/Miscellaneous Revenue                     100,426.60    100.00%         97,568.00        100.00%       114,690.07    100.00%

                                                                                         Cost of Sales
        974.21     68.18%          2,311.00         49.99%         3,087.06     65.84%    Cost of Gift Shop Merchandise                            18,727.07     43.26%         31,717.00         50.00%        34,000.64     55.23%
           ‐        0.00%            208.00         90.04%           126.00     22.46%    Cost of Guest Laundry/Valet                                 134.00     73.22%          2,855.00         90.01%         3,662.49     95.65%

        974.21     24.36%          2,519.00         33.88%         3,213.06     37.54%      Total Other/Miscellaneous Cost of Sales                18,861.07     18.78%         34,572.00         35.43%        37,663.13     32.84%

      $3,024.70    75.64%         $4,915.00         66.12%         $5,346.24    62.46% Departmental Income (Loss)                                  $81,565.53    81.22%        $62,996.00         64.57%        $77,026.94    67.16%
                                           Case 1:20-cv-06089-JGK Document
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                                                                                                  Hersha Hospitality Management LP
                                                                                               For the Month Ending December 31, 2020
                                Current Month                                                                                                                               Year-To-Date
    Actual                   Budget                           Actual                                                                        Actual                      Budget                           Actual
December 2020            December 2020                    December 2019                                    In Balance                   December 2020               December 2020                    December 2019



                                                                                                  Rentals and Other Income
                                                                                     Revenue
           ‐     0.00%             26.00        100.00%            61.85    25.14%    Commissions                                               619.70     32.48%            360.00        100.00%           301.25      3.05%
           ‐     0.00%                            0.00%                      0.00%    Cash Discounts Earned                                       0.49      0.03%                            0.00%                       0.00%
           ‐     0.00%              0.00          0.00%           184.19    74.86%    Cancellation Penalties                                  1,287.83     67.50%              0.00          0.00%         9,578.69     96.82%
           ‐     0.00%                            0.00%              ‐       0.00%    Long Distance Revenue                                        ‐        0.00%                            0.00%            13.10      0.13%

           ‐     0.00%            26.00         100.00%           246.04   100.00%    Total Rentals and Other Income                          1,908.02    100.00%           360.00         100.00%         9,893.04    100.00%



         $0.00   0.00%            $26.00        100.00%          $246.04   100.00%    Total Rentals and Other Income                          $1,908.02   100.00%           $360.00        100.00%         $9,893.04   100.00%
                                             Case 1:20-cv-06089-JGK Document
                                                                      260‐Hyatt House56     Filed
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                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                  Current Month                                                                                                                             Year-To-Date
    Actual                     Budget                         Actual                                                                         Actual                     Budget                         Actual
December 2020              December 2020                  December 2019                                     In Balance                   December 2020              December 2020                  December 2019



                                                                                                   Administrative and General
                                                                                     Expenses
                                                                                   Payroll and Related Expenses
                                                                                    Salaries, Wages, and Bonuses
                                                                                     Salaries and Wages
     12,250.56     4.13%         15,597.00        2.63%        14,296.08    2.22% A&G Management                                             141,072.99     2.76%        184,079.00        2.13%       161,320.16    1.88%
      8,647.92     2.91%          4,564.00        0.77%         7,319.00    1.14% A&G Contract Labor                                          77,624.73     1.52%         53,844.00        0.62%        57,098.68    0.66%

     20,898.48     7.04%         20,161.00        3.40%        21,615.08    3.36%         Total Salaries and Wages                           218,697.72     4.28%        237,923.00        2.75%       218,418.84    2.54%

           ‐       0.00%          1,550.00        0.26%              ‐      0.00% Bonuses & Incentives                                              ‐       0.00%         18,600.00        0.22%        13,641.71    0.16%

     20,898.48     7.04%         21,711.00        3.66%        21,615.08    3.36%         Total Salaries, Wages, and Bonuses                 218,697.72     4.28%        256,523.00        2.97%       232,060.55    2.70%

                                                                                   Payroll‐Related Expenses
        832.84     0.28%          1,362.00        0.23%         1,811.51    0.28% Payroll Taxes                                               11,040.11     0.22%         17,525.00        0.20%        14,984.11    0.17%
      1,477.64     0.50%            653.00        0.11%         1,595.89    0.25% Supplemental Pay                                            12,641.73     0.25%          3,918.00        0.05%        14,428.10    0.17%
      1,562.75     0.53%          3,229.00        0.54%         1,809.52    0.28% Employee Benefits                                           20,589.28     0.40%         38,674.00        0.45%        30,524.85    0.36%

      3,873.23     1.30%          5,244.00        0.88%         5,216.92    0.81%         Total Payroll‐Related Benefits                      44,271.12     0.87%         60,117.00        0.70%        59,937.06    0.70%

     24,771.71     8.34%         26,955.00        4.54%        26,832.00    4.16%     Total Payroll and Related Expenses                     262,968.84     5.14%        316,640.00        3.66%       291,997.61    3.40%

                                                                                     Other Expenses
        186.43     0.06%            500.00        0.08%           587.58     0.09%    Operating Supplies                                       3,176.59     0.06%          6,600.00        0.08%         8,632.11     0.10%
           ‐       0.00%                          0.00%              ‐       0.00%    Dues & Subscriptions                                       227.13     0.00%                          0.00%         1,700.00     0.02%
           ‐       0.00%              0.00        0.00%              ‐       0.00%    Associate Training                                         362.66     0.01%          2,000.00        0.02%         4,155.00     0.05%
           ‐       0.00%                          0.00%              ‐       0.00%    Professional Fees                                             ‐       0.00%                          0.00%         2,982.61     0.03%
           ‐       0.00%                          0.00%           880.00     0.14%    Legal Fees                                               2,884.50     0.06%                          0.00%         3,522.80     0.04%
        960.53     0.32%          1,325.00        0.22%         1,012.30     0.16%    Bank Charges                                            13,031.47     0.25%         15,900.00        0.18%        13,098.04     0.15%
        158.33     0.05%          1,500.00        0.25%         2,000.56     0.31%    Human Resources                                          2,297.01     0.04%          9,800.00        0.11%        12,674.18     0.15%
        615.00     0.21%            615.00        0.10%           615.00     0.10%    Payroll Processing Fees                                  7,380.00     0.14%          7,380.00        0.09%         7,380.00     0.09%
           ‐       0.00%                          0.00%                      0.00%    Audit Fees                                               2,855.73     0.06%                          0.00%                      0.00%
      3,290.83     1.11%          3,291.00        0.55%         3,195.00     0.50%    Centralized Accounting Fees                             39,489.96     0.77%         39,492.00        0.46%        38,340.00     0.45%
        399.08     0.13%            399.00        0.07%           231.00     0.04%    Centralized HR Fees                                      4,788.96     0.09%          4,788.00        0.06%         2,772.00     0.03%
           ‐       0.00%            500.00        0.08%           (68.67)   ‐0.01%    Uniform Laundry                                            756.11     0.01%          5,950.00        0.07%         4,886.69     0.06%
       (146.67)   ‐0.05%            275.00        0.05%           360.62     0.06%    Contract Services                                        3,628.57     0.07%          6,075.00        0.07%         6,068.41     0.07%
                   0.00%                          0.00%              ‐       0.00%    Uniforms                                                              0.00%                          0.00%           768.74     0.01%
        793.54     0.27%              0.00        0.00%           (10.97)    0.00%    Bad Debt Expense                                        (1,931.38)   ‐0.04%              0.00        0.00%        (2,579.69)   ‐0.03%
        765.38     0.26%              0.00        0.00%         2,258.82     0.35%    Chargebacks                                             31,680.15     0.62%              0.00        0.00%        30,300.21     0.35%
           ‐       0.00%              0.00        0.00%              ‐       0.00%    Sales Tax Under Collection                                (430.82)   ‐0.01%              0.00        0.00%            89.98     0.00%
      7,374.39     2.48%         16,381.00        2.76%        19,890.65     3.09%    Credit Card Commissions                                129,666.85     2.54%        238,738.00        2.76%       239,249.54     2.79%
          0.82     0.00%              0.00        0.00%            (8.92)    0.00%    Cash Over / Short                                          149.58     0.00%              0.00        0.00%          (530.09)   ‐0.01%
        714.61     0.24%            425.00        0.07%           511.88     0.08%    Licenses & Permits                                       9,648.34     0.19%         10,450.00        0.12%         9,850.31     0.11%
           ‐       0.00%              0.00        0.00%           104.95     0.02%    Business Promotion ‐ Hotel                                  99.87     0.00%              0.00        0.00%           224.03     0.00%
          1.05     0.00%            100.00        0.02%            62.47     0.01%    Postage & Freight                                          965.27     0.02%          1,200.00        0.01%           711.36     0.01%
           ‐       0.00%            116.00        0.02%            33.18     0.01%    Guest Relations                                            159.80     0.00%          1,586.00        0.02%         1,628.81     0.02%
                   0.00%                          0.00%              ‐       0.00%    Loss & Damage                                                         0.00%                          0.00%         1,888.60     0.02%
           ‐       0.00%            150.00        0.03%           111.58     0.02%    Travel                                                     877.38     0.02%          2,700.00        0.03%         5,746.65     0.07%
         32.04     0.01%            200.00        0.03%            20.32     0.00%    Meals & Entertainment                                      844.58     0.02%          2,400.00        0.03%         2,987.75     0.03%
      1,105.04     0.37%                          0.00%              ‐       0.00%    P‐Card Miscellaneous                                     1,231.80     0.02%                          0.00%              ‐       0.00%

     16,250.40     5.47%         25,777.00        4.34%        31,787.35    4.93%         Total Other Expenses                               253,840.11     4.96%        355,059.00        4.10%       396,548.04    4.62%
     $41,022.11   13.82%        $52,732.00        8.88%        $58,619.35   9.10% Total Expenses                                             $516,808.95   10.11%       $671,699.00        7.77%       $688,545.65   8.02%
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                                                                                                 Hersha Hospitality Management LP
                                                                                              For the Month Ending December 31, 2020
                                 Current Month                                                                                                                           Year-To-Date
    Actual                    Budget                         Actual                                                                        Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                     In Balance                  December 2020             December 2020                  December 2019



                                                                                       Information & Telecommunication Systems
                                                                                   Expenses
                                                                                   Cost of Services
        586.89    0.20%            750.00        0.13%         1,853.83    0.29%    Cost of Calls                                            8,281.25    0.16%          9,000.00        0.10%        13,679.37    0.16%
        120.00    0.04%            155.00        0.03%           152.50    0.02%    Cost of Cell Phones                                      2,230.00    0.04%          1,850.00        0.02%         1,727.50    0.02%
      1,399.99    0.47%          1,300.00        0.22%         2,944.99    0.46%    Cost of Internet Service                                17,469.56    0.34%         15,600.00        0.18%        21,731.37    0.25%

      2,106.88    0.71%          2,205.00        0.37%         4,951.32    0.77%        Total Cost of Services                              27,980.81    0.55%         26,450.00        0.31%        37,138.24    0.43%

                                                                                   System Expenses
           ‐      0.00%              0.00        0.00%              ‐      0.00%     Administrative and General                                   ‐      0.00%            140.00        0.00%           140.27    0.00%
        308.33    0.10%            308.00        0.05%           308.33    0.05%     BI Software                                             3,700.00    0.07%          3,696.00        0.04%         3,700.00    0.04%
      1,271.00    0.43%          1,271.00        0.21%         1,234.00    0.19%     Centralized IT/IS Fees                                 15,252.00    0.30%         15,252.00        0.18%        14,808.00    0.17%
                  0.00%              0.00        0.00%              ‐      0.00%     Hardware                                                            0.00%            578.00        0.01%           577.24    0.01%
        322.75    0.11%            323.00        0.05%           214.00    0.03%     Information Security ‐ PCI                              3,873.00    0.08%          3,876.00        0.04%         3,759.61    0.04%
         63.58    0.02%            160.00        0.03%           343.72    0.05%     Information Systems/IT                                  2,248.30    0.04%          1,920.00        0.02%         1,768.18    0.02%
      1,340.39    0.45%          1,241.00        0.21%         1,240.99    0.19%     Rooms                                                  16,699.38    0.33%         14,892.00        0.17%        15,724.70    0.18%
        255.44    0.09%            344.00        0.06%         1,145.61    0.18%     Sales & Marketing                                       3,065.36    0.06%          6,569.00        0.08%         4,575.30    0.05%

      3,561.49    1.20%          3,647.00        0.61%         4,486.65    0.70%        Total System Expenses                               44,838.04    0.88%         46,923.00        0.54%        45,053.30    0.52%

                                                                                   Other Expenses
           ‐      0.00%                          0.00%              ‐      0.00%    Contract Services                                        2,219.41    0.04%                          0.00%           985.70    0.01%
           ‐      0.00%                          0.00%            12.76    0.00%    Corporate Reimbursables                                     21.90    0.00%                          0.00%            12.76    0.00%

           ‐      0.00%               ‐          0.00%            12.76    0.00%        Total Other Expenses                                 2,241.31    0.04%               ‐          0.00%           998.46    0.01%

      $5,668.37   1.91%         $5,852.00        0.99%         $9,450.73   1.47% Total Expenses                                             $75,060.16   1.47%        $73,373.00        0.85%        $83,190.00   0.97%
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                                                                                                    Hersha Hospitality Management LP
                                                                                                 For the Month Ending December 31, 2020
                                  Current Month                                                                                                                              Year-To-Date
    Actual                     Budget                          Actual                                                                         Actual                     Budget                          Actual
December 2020              December 2020                   December 2019                                     In Balance                   December 2020              December 2020                   December 2019

                                                                                                        Sales and Marketing
                                                                                      Expenses
                                                                                     Payroll and Related Expenses
                                                                                       Salaries, Wages, and Bonuses
                                                                                        Salaries and Wages
      3,263.14     1.10%         11,827.00         1.99%         6,784.58     1.05% Sales & Marketing Management                               55,714.67     1.09%        131,613.00         1.52%        71,255.90     0.83%
      1,073.60     0.36%          2,832.00         0.48%              ‐       0.00% Admin Support                                               5,053.35     0.10%         30,592.00         0.35%        18,951.38     0.22%
           ‐       0.00%                           0.00%              ‐       0.00% Sales Contract Labor                                          440.00     0.01%                           0.00%         6,333.64     0.07%

      4,336.74     1.46%         14,659.00         2.47%         6,784.58     1.05%        Total Salaries and Wages                            61,208.02     1.20%        162,205.00         1.88%        96,540.92     1.12%

           ‐       0.00%          1,200.00         0.20%              ‐       0.00% Bonuses & Incentives                                             ‐       0.00%         12,300.00         0.14%         2,012.50     0.02%

      4,336.74     1.46%         15,859.00         2.67%         6,784.58     1.05%        Total Salaries, Wages, and Bonuses                  61,208.02     1.20%        174,505.00         2.02%        98,553.42     1.15%

                                                                                     Payroll‐Related Expenses
        287.18     0.10%          1,266.00         0.21%           612.24     0.10% Payroll Taxes                                               4,790.38     0.09%         14,862.00         0.17%         8,767.77     0.10%
        313.30     0.11%            485.00         0.08%           571.85     0.09% Supplemental Pay                                            2,439.87     0.05%          3,420.00         0.04%         6,274.10     0.07%
        587.67     0.20%          1,908.00         0.32%           215.27     0.03% Employee Benefits                                           5,084.20     0.10%         22,732.00         0.26%        14,862.06     0.17%

      1,188.15     0.40%          3,659.00         0.62%         1,399.36     0.22%        Total Payroll‐Related Benefits                      12,314.45     0.24%         41,014.00         0.47%        29,903.93     0.35%

      5,524.89     1.86%         19,518.00         3.29%         8,183.94     1.27%    Total Payroll and Related Expenses                      73,522.47     1.44%        215,519.00         2.49%       128,457.35     1.50%

                                                                                      Other Expenses
           ‐       0.00%                           0.00%            39.04     0.01%    Operating Supplies                                         252.62     0.00%                           0.00%           340.38     0.00%
         61.60     0.02%                           0.00%              ‐       0.00%    Complimentary Services and Gif                              61.60     0.00%                           0.00%           982.43     0.01%
        291.52     0.10%          1,269.00         0.21%         1,195.44     0.19%    Dues & Subscriptions ‐ Hotel                            15,219.82     0.30%         21,868.00         0.25%        18,061.52     0.21%
                   0.00%              0.00         0.00%              ‐       0.00%    Training ‐ Hotel                                                      0.00%          3,800.00         0.04%         2,910.00     0.03%
       (488.00)   ‐0.16%          1,102.00         0.19%         1,956.34     0.30%    E‐Commerce ‐ Hotel                                       3,919.90     0.08%         13,194.00         0.15%        13,489.26     0.16%
      6,141.79     2.07%         11,377.00         1.92%        12,451.86     1.93%    Franchise & Affiliation Advert                          99,647.71     1.95%        166,268.00         1.92%       164,825.34     1.92%
     20,759.61     6.99%         28,442.00         4.79%        24,970.55     3.88%    Franchise Fees                                         223,721.08     4.38%        383,040.00         4.43%       330,470.98     3.85%
      5,185.72     1.75%         12,515.00         2.11%        11,584.41     1.80%    Loyalty Programs/Frequent Flye                         103,537.13     2.03%        182,895.00         2.11%       178,683.57     2.08%
        100.00     0.03%            638.00         0.11%           508.84     0.08%    Media (Advertising/Directories                           4,689.42     0.09%          7,946.00         0.09%         6,451.20     0.08%
      3,122.00     1.05%          4,269.00         0.72%         4,145.00     0.64%    Revenue Management Fees                                 40,017.27     0.78%         51,228.00         0.59%        49,740.00     0.58%
        150.00     0.05%              0.00         0.00%           150.00     0.02%    Dues & Subscriptions ‐ Corpora                           1,650.00     0.03%             51.00         0.00%         1,822.00     0.02%
           ‐       0.00%              0.00         0.00%              ‐       0.00%    Trade Shows ‐ Corporate                                     93.08     0.00%            123.00         0.00%            45.40     0.00%
         11.74     0.00%             10.00         0.00%             5.88     0.00%    E‐Commerce ‐ Corporate                                     113.98     0.00%            120.00         0.00%           123.45     0.00%
         10.00     0.00%                           0.00%              ‐       0.00%    Business Promotion ‐ Corporate                             260.00     0.01%                           0.00%            87.71     0.00%
           ‐       0.00%            850.00         0.14%            44.36     0.01%    Business Promotion ‐ Hotel                                 375.74     0.01%           5,250.00        0.06%         3,439.85     0.04%
                   0.00%            175.00         0.03%                      0.00%    Postage & Freight                                                     0.00%             350.00        0.00%                      0.00%
        512.68     0.17%            787.00         0.13%           776.75     0.12%    National Sales Allocation                                6,975.32     0.14%           9,444.00        0.11%         9,321.00     0.11%
                   0.00%              0.00         0.00%              ‐       0.00%    Printing & Stationery                                                 0.00%             550.00        0.01%            67.30     0.00%
           ‐       0.00%            100.00         0.02%             5.61     0.00%    Travel                                                   1,106.16     0.02%           5,000.00        0.06%         4,890.18     0.06%
           ‐       0.00%            200.00         0.03%             4.28     0.00%    Meals & Entertainment                                      438.19     0.01%           3,000.00        0.03%         1,180.29     0.01%
           ‐       0.00%              0.00         0.00%              ‐       0.00%    Trade Shows ‐ Hotel                                         43.68     0.00%             550.00        0.01%              ‐       0.00%

     35,858.66    12.08%         61,734.00        10.40%        57,838.36     8.98%        Total Other Expenses                               502,122.70     9.82%        854,677.00         9.88%       786,931.86     9.16%

     $41,383.55   13.94%        $81,252.00        13.69%        $66,022.30   10.25% Total Expenses                                            $575,645.17   11.26%      $1,070,196.00       12.37%       $915,389.21   10.66%
                                             Case 1:20-cv-06089-JGK Document
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                                                                                                  Hersha Hospitality Management LP
                                                                                               For the Month Ending December 31, 2020
                                  Current Month                                                                                                                           Year-To-Date
    Actual                     Budget                         Actual                                                                        Actual                    Budget                         Actual
December 2020              December 2020                  December 2019                                    In Balance                   December 2020             December 2020                  December 2019



                                                                                           Property Operation and Maintenance
                                                                                    Expenses
                                                                                   Payroll and Related Expenses
                                                                                    Salaries, Wages, and Bonuses
                                                                                     Salaries and Wages
           ‐      0.00%           5,106.00        0.86%         3,923.16    0.61% R&M Management                                             16,615.46    0.32%         60,263.00        0.70%        52,421.79    0.61%
      2,636.86    0.89%           4,306.00        0.73%         4,165.21    0.65% R&M Non‐Management                                         37,218.89    0.73%         49,844.00        0.58%        33,677.59    0.39%
      4,509.38    1.52%               0.00        0.00%         3,715.90    0.58% R&M Contract Labor                                         48,593.53    0.95%              0.00        0.00%        28,455.30    0.33%

      7,146.24    2.41%           9,412.00        1.59%        11,804.27    1.83%       Total Salaries and Wages                            102,427.88    2.00%        110,107.00        1.27%       114,554.68    1.33%

                  0.00%               0.00        0.00%              ‐      0.00% Bonuses & Incentives                                                    0.00%             80.00        0.00%            79.52    0.00%

      7,146.24    2.41%           9,412.00        1.59%        11,804.27    1.83%       Total Salaries, Wages, and Bonuses                  102,427.88    2.00%        110,187.00        1.27%       114,634.20    1.33%

                                                                                   Payroll‐Related Expenses
        194.25    0.07%             815.00        0.14%           974.20    0.15% Payroll Taxes                                               4,499.42    0.09%         10,758.00        0.12%         8,416.11    0.10%
        251.87    0.08%             477.00        0.08%           665.26    0.10% Supplemental Pay                                            2,913.99    0.06%          3,582.00        0.04%         5,069.22    0.06%
        125.82    0.04%             774.00        0.13%           727.12    0.11% Employee Benefits                                           4,458.27    0.09%          9,285.00        0.11%         7,254.81    0.08%

        571.94    0.19%           2,066.00        0.35%         2,366.58    0.37%       Total Payroll‐Related Benefits                       11,871.68    0.23%         23,625.00        0.27%        20,740.14    0.24%

      7,718.18    2.60%          11,478.00        1.93%        14,170.85    2.20%    Total Payroll and Related Expenses                     114,299.56    2.24%        133,812.00        1.55%       135,374.34    1.58%

                                                                                    Other Expenses
        442.90     0.15%            991.00        0.17%         1,761.18    0.27%    Operating Supplies                                       8,662.17    0.17%         13,594.00        0.16%        14,351.81    0.17%
        289.67     0.10%            991.00        0.17%           626.30    0.10%    Building                                                 7,931.09    0.16%         13,594.00        0.16%        12,471.12    0.15%
           ‐       0.00%            500.00        0.08%           365.67    0.06%    Laundry Equipment                                        1,758.69    0.03%          2,000.00        0.02%         1,991.54    0.02%
           ‐       0.00%              0.00        0.00%           333.75    0.05%    Light Bulbs                                                142.11    0.00%          2,000.00        0.02%         2,665.96    0.03%
                   0.00%              0.00        0.00%              ‐      0.00%    Equipment Rental                                                     0.00%          1,486.00        0.02%         1,485.78    0.02%
      2,305.66     0.78%          2,300.00        0.39%         3,219.63    0.50%    Waste Removal                                           31,726.17    0.62%         27,600.00        0.32%        28,176.25    0.33%
        525.00     0.18%          1,150.00        0.19%         1,258.07    0.20%    Contract Services                                       12,092.21    0.24%         17,700.00        0.20%        20,912.32    0.24%
           ‐       0.00%              0.00        0.00%            61.29    0.01%    Uniforms                                                    61.61    0.00%            800.00        0.01%           147.37    0.00%
        112.00     0.04%            112.00        0.02%           111.58    0.02%    Licenses & Permits                                       1,774.36    0.03%          1,344.00        0.02%           892.64    0.01%
      1,174.50     0.40%          1,175.00        0.20%           939.79    0.15%    Corporate Engineering Fees                              14,094.00    0.28%         14,100.00        0.16%        11,118.00    0.13%
           ‐       0.00%            100.00        0.02%              ‐      0.00%    Travel                                                      29.87    0.00%            400.00        0.00%           521.30    0.01%
                   0.00%                          0.00%              ‐      0.00%    Meals & Entertainment                                                0.00%                          0.00%           108.08    0.00%
           ‐       0.00%              0.00        0.00%           250.00    0.04%    Electrical & Mechanical Equipm                              53.88    0.00%          2,000.00        0.02%         3,173.64    0.04%
        930.28     0.31%            373.00        0.06%           373.25    0.06%    Elevators & Escalators                                   6,125.37    0.12%          7,103.00        0.08%         8,151.75    0.09%
         24.95     0.01%              0.00        0.00%           238.70    0.04%    Engineering Supplies                                       253.59    0.00%              0.00        0.00%           554.99    0.01%
           ‐       0.00%                          0.00%              ‐      0.00%    Floor Covering                                           4,470.00    0.09%                          0.00%         5,612.55    0.07%
           ‐       0.00%            297.00        0.05%         1,530.45    0.24%    Furniture & Equipment                                    1,553.82    0.03%          4,077.00        0.05%         5,739.23    0.07%
        725.00     0.24%            775.00        0.13%           945.00    0.15%    Grounds Maintenance and Landsc                          10,465.00    0.20%         10,100.00        0.12%        12,812.36    0.15%
      1,400.00     0.47%          2,609.00        0.44%         1,231.64    0.19%    HVAC                                                    12,009.33    0.23%         35,795.00        0.41%        33,425.51    0.39%
                   0.00%                          0.00%              ‐      0.00%    Kitchen Equipment                                                    0.00%                          0.00%         1,327.65    0.02%
        722.91     0.24%          1,750.00        0.29%         2,025.19    0.31%    Life Safety                                             15,218.57    0.30%         21,600.00        0.25%        23,756.86    0.28%
           ‐       0.00%                          0.00%              ‐      0.00%    Painting & Decorating                                      173.39    0.00%                          0.00%           432.05    0.01%
        287.70     0.10%            892.00        0.15%         1,236.43    0.19%    Swimming Pool                                            5,817.61    0.11%         12,234.00        0.14%        12,113.06    0.14%
       (406.00)   ‐0.14%            892.00        0.15%         1,212.59    0.19%    Plumbing                                                 8,792.08    0.17%         12,234.00        0.14%        12,395.13    0.14%
           ‐       0.00%                          0.00%            52.10    0.01%    Vehicles                                                    72.93    0.00%                          0.00%           271.65    0.00%

      8,534.57    2.87%          14,907.00        2.51%        17,772.61    2.76%       Total Other Expenses                                143,277.85    2.80%        199,761.00        2.31%       214,608.60    2.50%

     $16,252.75   5.47%         $26,385.00        4.45%        $31,943.46   4.96% Total Expenses                                            $257,577.41   5.04%       $333,573.00        3.86%       $349,982.94   4.08%
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                                                                                                 Hersha Hospitality Management LP
                                                                                              For the Month Ending December 31, 2020
                                 Current Month                                                                                                                           Year-To-Date
    Actual                    Budget                         Actual                                                                        Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                    In Balance                   December 2020             December 2020                  December 2019



                                                                                                            Utilities

                                                                                   Utilities
      8,098.49    2.73%         12,878.00        2.17%        10,644.78    1.65%    Electricity                                            178,302.74    3.49%        193,816.00        2.24%       186,434.25    2.17%
      3,023.91    1.02%          1,849.00        0.31%         3,087.96    0.48%    Gas                                                     27,376.68    0.54%         25,374.00        0.29%        27,110.40    0.32%
      4,708.26    1.59%          3,467.00        0.58%         1,998.15    0.31%    Water                                                   53,193.67    1.04%         47,578.00        0.55%        47,964.12    0.56%
     $15,830.66   5.33%        $18,194.00        3.07%        $15,730.89   2.44% Total Utilities                                           $258,873.09   5.06%       $266,768.00        3.08%       $261,508.77   3.05%
                                            Case 1:20-cv-06089-JGK Document
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                                                                                               Hersha Hospitality Management LP
                                                                                            For the Month Ending December 31, 2020
                                 Current Month                                                                                                                         Year-To-Date
    Actual                    Budget                         Actual                                                                      Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                   In Balance                  December 2020             December 2020                  December 2019



                                                                                                     Management Fees

                                                                                   Management Fees
      8,905.64    3.00%         17,779.00        3.00%        19,291.67    2.99%    Base Fee                                             153,332.00    3.00%        259,130.00        3.00%       257,260.45    3.00%

      $8,905.64   3.00%        $17,779.00        3.00%        $19,291.67   2.99% Total Management Fees                                   $153,332.00   3.00%       $259,130.00        3.00%       $257,260.45   3.00%
                                           Case 1:20-cv-06089-JGK Document
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                                                                                             Hersha Hospitality Management LP
                                                                                          For the Month Ending December 31, 2020
                                Current Month                                                                                                                       Year-To-Date
    Actual                   Budget                         Actual                                                                     Actual                   Budget                         Actual
December 2020            December 2020                  December 2019                                   In Balance                 December 2020            December 2020                  December 2019



                                                                                                Non Operating Income

                                                                                 Non Operating Income
                 0.00%              0.00        0.00%              ‐     0.00%    Interest Income                                                   0.00%          1,008.00        0.01%         1,007.75    0.01%

         $0.00   0.00%             $0.00        0.00%            $0.00   0.00% Total Non Operating Income Fees                              $0.00   0.00%         $1,008.00        0.01%         $1,007.75   0.01%
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                                                                                                    Hersha Hospitality Management LP
                                                                                                 For the Month Ending December 31, 2020
                                  Current Month                                                                                                                               Year-To-Date
    Actual                     Budget                          Actual                                                                          Actual                     Budget                          Actual
December 2020              December 2020                   December 2019                                      In Balance                   December 2020              December 2020                   December 2019



                                                                                        Rent, Property and Other Taxes, and Insurance

                                                                                      Rent
    111,784.35    37.66%         97,059.00        16.35%        95,216.67    14.78%    Land and Buildings                                     1,159,167.72   22.67%       1,155,498.00       13.36%       989,433.34    11.52%

    111,784.35    37.66%         97,059.00        16.35%        95,216.67    14.78% Total Rent                                                1,159,167.72   22.67%      1,155,498.00        13.36%       989,433.34    11.52%


                                                                                      Property and Other Taxes
     71,011.00    23.92%         49,371.00         8.32%        29,903.00     4.64%     Real Estate Taxes                                     1,342,391.04   26.26%        592,456.00         6.85%       362,215.04     4.22%

     71,011.00    23.92%         49,371.00         8.32%        29,903.00     4.64% Total Property and Other Taxes                            1,342,391.04   26.26%        592,456.00         6.85%       362,215.04     4.22%


                                                                                      Insurance
      9,797.81     3.30%          8,772.00         1.48%         9,073.41     1.41%     Building and Contents                                  110,183.35     2.16%        105,264.00         1.22%        73,679.98     0.86%
        339.00     0.11%            339.00         0.06%           329.00     0.05%     Risk Management                                          4,068.00     0.08%          4,068.00         0.05%         3,948.00     0.05%
      4,755.18     1.60%          2,200.00         0.37%         2,483.92     0.39%     General Liability Insurance                             48,101.32     0.94%         28,767.00         0.33%        29,601.73     0.34%

     14,891.99     5.02%         11,311.00         1.91%        11,886.33     1.85%     Total Insurance                                        162,352.67     3.18%        138,099.00         1.60%       107,229.71     1.25%


    $197,687.34   66.59%       $157,741.00        26.58%       $137,006.00   21.27% Total Rent, Property, and Other Taxes, and Insurance     $2,663,911.43   52.10%      $1,886,053.00       21.80%     $1,458,878.09   16.99%
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                              Case 1:20-cv-06089-JGK Document
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                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                   Current Month                                                                                                                             Year-To-Date
    Actual                      Budget                         Actual                                                                        Actual                      Budget                         Actual
December 2020               December 2020                  December 2019                                       In Balance                December 2020               December 2020                  December 2019



                                                                                                      Payroll‐Related Expenses
                                                                                      Payroll Taxes
            ‐      0.00%               ‐           0.00%               ‐      0.00%        Total Payroll Tax                                         ‐      0.00%               ‐           0.00%               ‐      0.00%

                                                                                      Employee Benefits
      (2,485.34)   ‐0.84%                          0.00%         (2,485.34)   ‐0.39% PTEB Allocation                                          (30,980.73)   ‐0.61%                          0.00%        (30,822.32)   ‐0.36%
       2,485.34     0.84%                          0.00%          2,485.34     0.39% Workers' Compenstion Insurance                            30,980.73     0.61%                          0.00%         30,822.32     0.36%

            ‐      0.00%               ‐           0.00%               ‐      0.00%        Total Employee Benefits                                   ‐      0.00%               ‐           0.00%               ‐      0.00%


          $0.00    0.00%              $0.00        0.00%             $0.00    0.00%        Total Payroll Taxes and Employee Benefits               $0.00    0.00%              $0.00        0.00%             $0.00    0.00%
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                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                             Case 1:20-cv-06089-JGK Document
                                                                      260‐Hyatt House56     Filed
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                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                  Current Month                                                                                                                             Year-To-Date
    Actual                     Budget                          Actual                                                                        Actual                     Budget                          Actual
December 2020              December 2020                   December 2019                                    In Balance                   December 2020              December 2020                   December 2019



                                                                                                              Interest

                                                                                      Interest
    107,673.87    36.27%        110,534.00        18.62%       109,623.99    17.02%     Interest Expense                                    1,294,365.54   25.32%       1,326,827.00       15.34%      1,339,812.25   15.60%

    $107,673.87   36.27%       $110,534.00        18.62%       $109,623.99   17.02%      Total Interest                                    $1,294,365.54   25.32%      $1,326,827.00       15.34%     $1,339,812.25   15.60%
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                                                                                              Hersha Hospitality Management LP
                                                                                           For the Month Ending December 31, 2020
                                Current Month                                                                                                                         Year-To-Date
    Actual                   Budget                         Actual                                                                      Actual                    Budget                         Actual
December 2020            December 2020                  December 2019                                   In Balance                  December 2020             December 2020                  December 2019



                                                                                                  Other Fixed Expenses

                                                                                 Other Fixed Expenses
           ‐     0.00%                          0.00%           300.00   0.05%    Owner's Expense                                        17,967.96    0.35%                          0.00%        20,166.48    0.23%

         $0.00   0.00%             $0.00        0.00%          $300.00   0.05% Total Other Fixed Expenses                                $17,967.96   0.35%             $0.00        0.00%        $20,166.48   0.23%
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                                                                                       Pleasanton
                                                                                                            Hersha Hospitality Management LP
                                                                                                         For the Month Ending December 31, 2020
                                   Current Month                                                                                                                                            Year-To-Date
    Actual                      Budget                           Actual                                                                               Actual                            Budget                            Actual
December 2020               December 2020                    December 2019                                            In Balance                  December 2020                     December 2020                     December 2019

                                                                                                            Rooms Department Schedule
                                                                                              Room Revenue Component Statistics
         3,968                        3,968                           3,968                   Rooms Available                                              46,848                            46,848                            46,720
         1,310                        2,905                           2,946                   Rooms Sold                                                   21,815                            39,317                            39,037
        33.01%                       73.21%                          74.24%                   % of Occupancy                                               46.57%                            83.92%                            83.56%
        136.67                       185.77                          185.09                   Average Daily Rate                                           163.54                            217.67                            215.93
         45.12                       136.01                          137.41                   RevPar                                                        76.15                            182.68                            180.42

                                                                                              Revenue
    177,913.00     99.37%        508,629.00         94.25%       492,297.28         90.29%     Transient Rooms Revenue                               3,427,458.20         96.07%        7,758,623.00        90.66%       7,277,659.28         86.34%
        126.65      0.07%         31,040.00          5.75%        43,466.99          7.97%     Group Rooms Revenue                                     101,759.37          2.85%          799,510.00         9.34%       1,071,522.26         12.71%
      1,192.67      0.67%              0.00          0.00%         9,595.90          1.76%     Other Rooms Revenue                                      39,825.75          1.12%                0.00         0.00%          87,701.21          1.04%
       (189.00)    ‐0.11%              0.00          0.00%           (97.67)        ‐0.02%     Rooms Allowances                                         (1,515.75)        ‐0.04%                0.00         0.00%          (7,468.35)        ‐0.09%

    179,043.32    100.00%        539,669.00        100.00%       545,262.50        100.00%      Total Rooms Revenue                                  3,567,527.57        100.00%       8,558,133.00        100.00%       8,429,414.40        100.00%


                                                                                              Expenses
                                                                                               Payroll and Related Expenses
                                                                                                Salaries, Wages, and Bonuses
                                                                                                 Salaries and Wages
      5,500.00      3.07%          5,250.00          0.97%         2,705.74           0.50%         Rooms Management                                   56,561.04           1.59%          54,914.00          0.64%         30,069.44           0.36%
      9,465.54      5.29%         12,723.00          2.36%        13,381.32           2.45%         Front Desk GSA                                    107,874.31           3.02%         146,820.00          1.72%        135,916.46           1.61%
      6,907.73      3.86%         29,871.00          5.54%        23,466.90           4.30%         Housekeeping Wages                                153,106.93           4.29%         358,277.00          4.19%        244,278.08           2.90%
      4,633.35      2.59%          4,387.00          0.81%         4,154.14           0.76%         Night Audit                                        50,674.26           1.42%          50,781.00          0.59%         43,903.08           0.52%
           ‐        0.00%          5,321.00          0.99%         4,804.34           0.88%         Breakfast Bar                                      10,653.11           0.30%          61,629.00          0.72%         31,220.68           0.37%
     14,066.48      7.86%          3,700.00          0.69%        27,882.45           5.11%         Rooms Contract Labor                               94,802.38           2.66%         126,300.00          1.48%        320,180.91           3.80%

     40,573.10     22.66%         61,252.00         11.35%        76,394.89         14.01%              Total Salaries and Wages                      473,672.03          13.28%         798,721.00          9.33%        805,568.65           9.56%

                    0.00%             50.00          0.01%              ‐             0.00%       Bonuses & Incentives                                                     0.00%             600.00          0.01%            539.00           0.01%

     40,573.10     22.66%         61,302.00         11.36%        76,394.89         14.01%           Total Salaries, Wages, and Bonuses               473,672.03          13.28%         799,321.00          9.34%        806,107.65           9.56%

                                                                                               Payroll‐Related Expenses
      2,018.37      1.13%          4,780.00          0.89%         5,352.76           0.98%     Payroll Taxes                                          35,087.04           0.98%          61,982.00          0.72%         48,028.33           0.57%
      3,078.14      1.72%          3,283.00          0.61%         3,765.18           0.69%     Supplemental Pay                                       24,740.26           0.69%          29,124.00          0.34%         29,512.52           0.35%
      3,365.22      1.88%          5,015.00          0.93%         5,750.62           1.05%     Employee Benefits                                      70,962.82           1.99%          60,269.00          0.70%         59,569.87           0.71%

      8,461.73      4.73%         13,078.00          2.42%        14,868.56           2.73%          Total Payroll‐Related Benefits                   130,790.12           3.67%         151,375.00          1.77%        137,110.72           1.63%

     49,034.83    27.39%          74,380.00        13.78%         91,263.45         16.74%     Total Payroll and Related Expenses                     604,462.15          16.94%         950,696.00         11.11%        943,218.37          11.19%

                                                                                              Other Expenses
         41.07      0.02%          1,162.00          0.22%         1,144.19           0.21%    Cleaning Supplies                                        5,972.71            0.17%         15,726.00          0.18%         15,620.83           0.19%
      1,052.46      0.59%          3,486.00          0.65%         2,746.73           0.50%    Guest Supplies                                          20,318.28            0.57%         47,600.00          0.56%         41,243.40           0.49%
        882.50      0.49%          2,208.00          0.41%         2,101.84           0.39%    Operating Supplies                                      10,603.04            0.30%         30,161.00          0.35%         26,271.33           0.31%
      1,384.18      0.77%          2,237.00          0.41%         1,906.94           0.35%    Linen                                                   12,091.74            0.34%         30,274.00          0.35%         29,642.78           0.35%
       (567.27)    ‐0.32%            320.00          0.06%           705.33           0.13%    VIP Amenities/Comp Gifts                                  (232.95)          ‐0.01%          4,325.00          0.05%          4,100.87           0.05%
      1,851.02      1.03%         10,313.00          1.91%        10,471.72           1.92%    Complimentary Breakfast Food &                          43,152.97            1.21%        139,576.00          1.63%        134,236.15           1.59%
                    0.00%                            0.00%              ‐             0.00%    Guest Relocation                                                             0.00%                            0.00%            750.61           0.01%
        202.77      0.11%            959.00          0.18%         1,020.67           0.19%    Laundry & Dry Cleaning                                    5,625.82           0.16%         12,976.00          0.15%         11,371.39           0.13%
                    0.00%                            0.00%              ‐             0.00%    Training ‐ Hotel                                                             0.00%                            0.00%            359.27           0.00%
           ‐        0.00%            250.00          0.05%           173.00           0.03%    Guest Transportation                                       391.00            0.01%          3,000.00          0.04%          3,916.02           0.05%
      1,897.27      1.06%          1,875.00          0.35%         2,417.22           0.44%    Cable / Satellite Television                            22,245.14            0.62%         22,500.00          0.26%         29,345.03           0.35%
      5,810.47      3.25%         17,269.00          3.20%        22,017.58           4.04%    Commissions                                            126,378.97            3.54%        273,860.00          3.20%        276,365.72           3.28%
           ‐        0.00%          1,000.00          0.19%         4,063.70           0.75%    Commissions & Rebates ‐ Group                                 ‐              0.00%          4,000.00          0.05%         61,532.10           0.73%
      3,592.75      2.01%         12,346.00          2.29%        13,182.02           2.42%    Reservations                                            78,571.42            2.20%        167,098.00          1.95%        166,787.45           1.98%
                    0.00%                            0.00%              ‐             0.00%    Uniform Laundry                                                              0.00%                            0.00%            (81.67)          0.00%
           ‐        0.00%              0.00          0.00%              ‐             0.00%    Contract Services                                              ‐             0.00%             450.00         0.01%          2,556.30           0.03%
           ‐        0.00%            150.00          0.03%              ‐             0.00%    Uniforms                                                  2,702.98           0.08%           5,200.00         0.06%          7,101.53           0.08%
                    0.00%                            0.00%              ‐             0.00%    Office Supplies                                                              0.00%                            0.00%              2.86           0.00%

     16,147.22      9.02%         53,575.00          9.93%        61,950.94          11.36%        Total Other Expenses                               327,821.12           9.19%         756,746.00          8.84%        811,121.97           9.62%

     65,182.05     36.41%        127,955.00         23.71%       153,214.39          28.10% Total Expenses                                            932,283.27          26.13%       1,707,442.00         19.95%       1,754,340.34         20.81%
    $113,861.27    63.59%       $411,714.00         76.29%       $392,048.11         71.90% Departmental Income (Loss)                              $2,635,244.30          73.87%      $6,850,691.00         80.05%     $6,675,074.06          79.19%
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                                                                                                       Pleasanton
                                                                                                                                              Hersha Hospitality Management LP
                                                                                                                                           For the Month Ending December 31, 2020
                                         Current Month                                                                                                                                                                                    Year-To-Date
     Actual                           Budget                                             Actual                                                                                          Actual                                       Budget                                             Actual
 December 2020                    December 2020                                      December 2019                                                     In Balance                    December 2020                                December 2020                                      December 2019

                                                                                                                                              Food Department Schedule

                                                                                                                                Revenue
                ‐      0.00%                   1,505.00                21.52%                  384.33                2.48%       Outlet Food Revenue                                           3,799.99            10.02%                    20,367.00                 11.64%                14,904.87                 8.86%
                ‐      0.00%                   2,200.00                31.46%               10,398.00              67.13%        Banquet/Catering Food Revenue                               15,464.00             40.77%                    62,600.00                 35.78%                63,337.40               37.63%
                 ‐     0.00%                                             0.00%                                       0.00%       Food Allowances                                                  13.98              0.04%                                               0.00%                                         0.00%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  3,705.00                 52.99%                10,782.33             69.61%         Total Food Revenue                                         19,277.97             50.83%                    82,967.00                 47.43%                78,242.27               46.49%
                                                                                                                                Other Revenue
                 ‐     0.00%                      434.00                 6.21%                   400.00              2.58% Audiovisual                                                         2,375.00              6.26%                    11,094.00                  6.34%               10,180.00                 6.05%
                 ‐     0.00%                   1,700.00                24.31%                  1,500.00              9.68% Public Room Rentals                                                 7,775.00            20.50%                     43,500.00                24.87%                37,850.00               22.49%
                 ‐     0.00%                      200.00                 2.86%                       ‐               0.00% Meeting Room Rental‐Tax Exempt                                      2,350.00              6.20%                    11,600.00                  6.63%               14,252.01                 8.47%
                 ‐     0.00%                      953.00               13.63%                  2,806.76            18.12% Banquet Service Charge                                               6,151.42            16.22%                     25,779.00                14.74%                27,773.57               16.50%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  3,287.00                 47.01%                  4,706.76            30.39%     Total Other Revenue                                            18,651.42             49.17%                    91,973.00                 52.57%                90,055.58               53.51%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  6,992.00               100.00%                 15,489.09           100.00% Total Revenue                                                       37,929.39           100.00%                   174,940.00                100.00%                168,297.85             100.00%

                                                                                                                                Cost of Food
                ‐      0.00%                      926.00               24.99%                  2,382.71            22.10%        Cost of Food Sales                                            3,578.82            18.56%                     20,741.00                25.00%                19,898.60               25.43%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                     926.00                24.99%                  2,382.71            22.10%         Total Cost of Food                                           3,578.82            18.56%                    20,741.00                 25.00%                19,898.60               25.43%

                                                                                                                              Cost of Other Revenue
                ‐      0.00%                      150.00                 2.15%                       ‐               0.00% Miscellaneous Cost                                                     47.82              0.13%                     1,800.00                  1.03%                 2,076.86                1.23%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                     150.00                  4.56%                       ‐               0.00%      Total Cost of Other Revenue                                       47.82              0.26%                    1,800.00                   1.96%                 2,076.86                2.31%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  1,076.00                 15.39%                  2,382.71            15.38% Total Cost of Food Sales and Other Revenue                           3,626.64              9.56%                   22,541.00                 12.88%                21,975.46               13.06%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  5,916.00                 84.61%                13,106.38             84.62% Gross Profit (Loss)                                                34,302.75             90.44%                  152,399.00                  87.12%               146,322.39               86.94%


                                                                                                                                Expenses
                                                                                                                              Payroll and Related Expenses
                                                                                                                               Salaries, Wages, and Bonuses
                                                                                                                                Salaries and Wages
                ‐      0.00%                   2,604.00                37.24%                  2,146.48            13.86% Restaurant Service Payroll                                           5,741.40            15.14%                     30,744.00                17.57%                24,004.32               14.26%
                 ‐     0.00%                      524.00                 7.49%                 1,875.19            12.11% Banquet SVC Charge Paid Out                                          3,024.50              7.97%                    14,180.00                  8.11%               13,165.30                 7.82%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  3,128.00                 44.74%                  4,021.67            25.96%         Total Salaries and Wages                                     8,765.90            23.11%                    44,924.00                 25.68%                37,169.62               22.09%

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                 ‐     0.00%                  3,128.00                 44.74%                  4,021.67            25.96%            Total Salaries, Wages, and Bonuses                        8,765.90            23.11%                    44,924.00                 25.68%                37,169.62               22.09%

                                                                                                                              Payroll‐Related Expenses
                 ‐     0.00%                      271.00                 3.88%                   246.06              1.59% Payroll Taxes                                                         755.73              1.99%                     4,389.00                  2.51%                 1,984.20                1.18%
                 ‐     0.00%                      193.00                 2.76%                   192.73              1.24% Supplemental Pay                                                      119.92              0.32%                     1,560.00                  0.89%                 1,451.77                0.86%
                 ‐     0.00%                        66.00                0.94%                 1,583.49            10.22% Employee Benefits                                                    6,291.99            16.59%                         792.00                 0.45%                 7,014.96                4.17%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                     530.00                  7.58%                 2,022.28            13.06%         Total Payroll‐Related Benefits                               7,167.64            18.90%                     6,741.00                   3.85%               10,450.93                 6.21%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  3,658.00                 52.32%                  6,043.95            39.02% Total Payroll and Related Expenses                                 15,933.54             42.01%                    51,665.00                 29.53%                47,620.55               28.30%

                                                                                                                              Other Expenses
                       0.00%                        50.00                0.72%                    13.02              0.08% Paper and Plastic Supplies                                                                0.00%                        200.00                 0.11%                    47.09                0.03%
                       0.00%                         0.00                0.00%                      ‐                0.00% Dishwashing Supplies                                                                      0.00%                        200.00                 0.11%                   240.81                0.14%
                       0.00%                         0.00                0.00%                      ‐                0.00% Linen                                                                                     0.00%                     2,443.00                  1.40%                 2,443.08                1.45%
                ‐      0.00%                      100.00                 1.43%                       ‐               0.00% Cookware & Utensils                                                   43.52               0.11%                        400.00                 0.23%                    99.62                0.06%
                       0.00%                         0.00                0.00%                       ‐               0.00% Menus                                                                                     0.00%                        150.00                 0.09%                   100.55                0.06%
                       0.00%                         0.00                0.00%                       ‐               0.00% China                                                                                     0.00%                        386.00                 0.22%                    85.06                0.05%
                       0.00%                         0.00                0.00%                       ‐               0.00% Glassware                                                                                 0.00%                        964.00                 0.55%                 1,107.52                0.66%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                     150.00                  2.15%                    13.02              0.08%         Total Other Expenses                                           43.52              0.11%                    4,743.00                   2.71%                 4,123.73                2.45%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐     0.00%                  3,808.00                 54.46%                  6,056.97            39.10% Total Expenses                                                     15,977.06             42.12%                    56,408.00                 32.24%                51,744.28               30.75%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐         ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
               $0.00   0.00%                  $2,108.00                30.15%                 $7,049.41            45.51% Departmental Income (Loss)                                         $18,325.69            48.32%                   $95,991.00                 54.87%                $94,578.11              56.20%
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                                                                                     Pleasanton
                                                                                                     Hersha Hospitality Management LP
                                                                                                  For the Month Ending December 31, 2020
                                 Current Month                                                                                                                                 Year-To-Date
    Actual                    Budget                           Actual                                                                          Actual                      Budget                           Actual
December 2020             December 2020                    December 2019                                       In Balance                  December 2020               December 2020                    December 2019

                                                                                                  Beverage Department Schedule

                                                                                       Revenue
           ‐      0.00%          3,298.00        100.00%         2,132.25    100.36%    Outlet Beverage Revenue                                  9,836.01    100.07%         53,391.00        100.00%        48,879.49    101.02%
           ‐      0.00%              0.00          0.00%            (7.68)    ‐0.36%    Beverage Allowances                                         (6.65)    ‐0.07%              0.00          0.00%          (494.62)    ‐1.02%

           ‐      0.00%          3,298.00        100.00%         2,124.57    100.00%     Total Beverage Revenue                                  9,829.36    100.00%         53,391.00        100.00%        48,384.87    100.00%
                                                                                       Other Revenue

           ‐      0.00%               ‐            0.00%              ‐        0.00%     Total Other Revenue                                          ‐        0.00%               ‐            0.00%              ‐        0.00%

           ‐      0.00%          3,298.00        100.00%         2,124.57    100.00% Total Revenue                                               9,829.36    100.00%         53,391.00        100.00%        48,384.87    100.00%

           ‐      0.00%            494.00         14.98%         1,039.34     48.92% Cost of Beverage Sales                                      3,079.55     31.33%         10,395.00         19.47%        11,500.03     23.77%

                                                                                       Cost of Other Revenue
           ‐      0.00%                            0.00%                       0.00%    Miscellaneous Cost                                           5.00      0.00%                            0.00%                       0.00%

           ‐      0.00%               ‐            0.00%              ‐        0.00%     Total Cost of Other Revenue                                 5.00      0.00%               ‐            0.00%              ‐        0.00%

           ‐      0.00%            494.00         14.98%         1,039.34     48.92% Total Cost of Beverage Sales and Other Revenue              3,084.55     31.38%         10,395.00         19.47%        11,500.03     23.77%

           ‐      0.00%          2,804.00         85.02%         1,085.23     51.08% Gross Profit (Loss)                                         6,744.81     68.62%         42,996.00         80.53%        36,884.84     76.23%


                                                                                       Expenses
                                                                                      Payroll and Related Expenses
                                                                                       Salaries, Wages, and Bonuses
                                                                                        Salaries and Wages
                  0.00%              0.00          0.00%              ‐        0.00% Beverage Service Payroll                                                  0.00%          1,134.00          2.12%         1,134.14      2.34%

           ‐      0.00%               ‐            0.00%              ‐        0.00%        Total Salaries and Wages                                  ‐        0.00%          1,134.00          2.12%         1,134.14      2.34%


           ‐      0.00%               ‐            0.00%              ‐        0.00%        Total Salaries, Wages, and Bonuses                        ‐        0.00%          1,134.00          2.12%         1,134.14      2.34%

                                                                                      Payroll‐Related Expenses
                  0.00%              5.00          0.15%              ‐        0.00% Payroll Taxes                                                             0.00%            146.00          0.27%           337.47      0.70%
                  0.00%             61.00          1.85%              ‐        0.00% Supplemental Pay                                                          0.00%            732.00          1.37%            (0.00)     0.00%
                  0.00%              1.00          0.03%              ‐        0.00% Employee Benefits                                                         0.00%             12.00          0.02%             9.06      0.02%

           ‐      0.00%            67.00           2.03%              ‐        0.00%        Total Payroll‐Related Benefits                            ‐        0.00%           890.00           1.67%           346.53      0.72%

           ‐      0.00%            67.00           2.03%              ‐        0.00%    Total Payroll and Related Expenses                            ‐        0.00%          2,024.00          3.79%         1,480.67      3.06%

                                                                                       Other Expenses
                  0.00%              0.00          0.00%              ‐        0.00%    Operating Supplies                                                     0.00%             45.00          0.08%            45.29      0.09%
         32.32    0.00%             30.00          0.91%            32.72      1.54%    Equipment Rental                                           406.24      4.13%            381.00          0.71%           387.52      0.80%

         32.32    0.00%            30.00           0.91%            32.72      1.54%        Total Other Expenses                                   406.24      4.13%           426.00           0.80%           432.81      0.89%


         32.32    0.00%            97.00           2.94%            32.72      1.54% Total Expenses                                                406.24      4.13%          2,450.00          4.59%         1,913.48      3.95%


       ($32.32)   0.00%         $2,707.00         82.08%         $1,052.51    49.54% Departmental Income (Loss)                                  $6,338.57    64.49%        $40,546.00         75.94%        $34,971.36    72.28%
                                Case 1:20-cv-06089-JGK Document        56
                                                         261‐Hyatt House       Filed 01/26/21 Page 465 of 541
                                                                         Pleasanton
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document        56
                                                         261‐Hyatt House       Filed 01/26/21 Page 466 of 541
                                                                         Pleasanton
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document        56
                                                         261‐Hyatt House       Filed 01/26/21 Page 467 of 541
                                                                         Pleasanton
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document        56
                                                         261‐Hyatt House       Filed 01/26/21 Page 468 of 541
                                                                         Pleasanton
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document        56
                                                         261‐Hyatt House       Filed 01/26/21 Page 469 of 541
                                                                         Pleasanton
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document        56
                                                         261‐Hyatt House       Filed 01/26/21 Page 470 of 541
                                                                         Pleasanton
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document        56
                                                         261‐Hyatt House       Filed 01/26/21 Page 471 of 541
                                                                         Pleasanton
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document        56
                                                         261‐Hyatt House       Filed 01/26/21 Page 472 of 541
                                                                         Pleasanton
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                              Case 1:20-cv-06089-JGK Document        56
                                                                       261‐Hyatt House       Filed 01/26/21 Page 473 of 541
                                                                                       Pleasanton
                                                                                                        Hersha Hospitality Management LP
                                                                                                     For the Month Ending December 31, 2020
                                   Current Month                                                                                                                                  Year-To-Date
    Actual                      Budget                           Actual                                                                           Actual                      Budget                           Actual
December 2020               December 2020                    December 2019                                       In Balance                   December 2020               December 2020                    December 2019



                                                                                                           Other / Miscellaneous
                                                                                         Revenue
        642.38     19.66%          3,631.00         65.96%         3,442.92     78.91%    Gift & Market Shop Taxable                               25,733.22     58.13%         54,628.00         70.02%        48,730.44     65.81%
           ‐        0.00%            349.00          6.34%            57.15      1.31%    Guest Laundry/Valet                                         264.30      0.60%          4,718.00          6.05%         4,738.98      6.40%
      2,625.00     80.34%          1,525.00         27.70%           863.00     19.78%    Other Miscellaneous Revenue                              17,897.04     40.43%         18,675.00         23.94%        17,559.32     23.71%
           ‐        0.00%                            0.00%              ‐        0.00%    Audit Results                                               371.36      0.84%                            0.00%         3,016.17      4.07%

      3,267.38    100.00%          5,505.00        100.00%         4,363.07    100.00%      Total Other/Miscellaneous Revenue                      44,265.92    100.00%         78,021.00        100.00%        74,044.91    100.00%

                                                                                         Cost of Sales
        243.36     37.88%          1,772.00         48.80%         2,184.74     63.46%    Cost of Gift Shop Merchandise                            12,141.74     47.18%         26,657.00         48.80%        25,072.16     51.45%
           ‐        0.00%            268.00         76.79%             2.14      3.74%    Cost of Guest Laundry/Valet                                 285.89    108.17%          3,634.00         77.02%         3,681.54     77.69%

        243.36      7.45%          2,040.00         37.06%         2,186.88     50.12%      Total Other/Miscellaneous Cost of Sales                12,427.63     28.07%         30,291.00         38.82%        28,753.70     38.83%

      $3,024.02    92.55%         $3,465.00         62.94%         $2,176.19    49.88% Departmental Income (Loss)                                  $31,838.29    71.93%        $47,730.00         61.18%        $45,291.21    61.17%
                                             Case 1:20-cv-06089-JGK Document        56
                                                                      261‐Hyatt House       Filed 01/26/21 Page 474 of 541
                                                                                      Pleasanton
                                                                                                  Hersha Hospitality Management LP
                                                                                               For the Month Ending December 31, 2020
                                  Current Month                                                                                                                            Year-To-Date
    Actual                     Budget                         Actual                                                                        Actual                     Budget                         Actual
December 2020              December 2020                  December 2019                                    In Balance                   December 2020              December 2020                  December 2019



                                                                                                  Rentals and Other Income
                                                                                     Revenue
                   0.00%                          0.00%              ‐       0.00%    Cancellation Penalties                                               0.00%                          0.00%         1,470.80     73.08%
         15.26   100.00%              0.00        0.00%            55.53   100.00%    Long Distance Revenue                                     182.25   100.00%              0.00        0.00%           541.84     26.92%

         15.26   100.00%              ‐           0.00%            55.53   100.00%    Total Rentals and Other Income                            182.25   100.00%              ‐           0.00%         2,012.64    100.00%



        $15.26   100.00%             $0.00        0.00%           $55.53   100.00%    Total Rentals and Other Income                           $182.25   100.00%             $0.00        0.00%         $2,012.64   100.00%
                                             Case 1:20-cv-06089-JGK Document        56
                                                                      261‐Hyatt House       Filed 01/26/21 Page 475 of 541
                                                                                      Pleasanton
                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                  Current Month                                                                                                                              Year-To-Date
    Actual                     Budget                         Actual                                                                         Actual                      Budget                         Actual
December 2020              December 2020                  December 2019                                     In Balance                   December 2020               December 2020                  December 2019



                                                                                                   Administrative and General
                                                                                     Expenses
                                                                                   Payroll and Related Expenses
                                                                                     Salaries, Wages, and Bonuses
                                                                                      Salaries and Wages
     10,240.98     5.62%         15,529.00        2.80%        13,016.55    2.29% A&G Management                                             133,948.83      3.66%        183,379.00        2.07%       165,881.43    1.90%
           ‐       0.00%          1,152.00        0.21%           264.00    0.05% Security                                                     2,146.56      0.06%         13,824.00        0.16%         1,294.88    0.01%
                   0.00%              0.00        0.00%              ‐      0.00% A&G Contract Labor                                                         0.00%          1,664.00        0.02%        13,447.20    0.15%

     10,240.98     5.62%         16,681.00        3.00%        13,280.55    2.34%         Total Salaries and Wages                           136,095.39      3.72%        198,867.00        2.24%       180,623.51    2.07%

           ‐       0.00%          1,414.00        0.25%         1,364.00    0.24% Bonuses & Incentives                                         (1,364.00)   ‐0.04%         16,972.00        0.19%         3,409.00    0.04%

     10,240.98     5.62%         18,095.00        3.26%        14,644.55    2.58%         Total Salaries, Wages, and Bonuses                 134,731.39      3.68%        215,839.00        2.43%       184,032.51    2.11%

                                                                                   Payroll‐Related Expenses
        752.38     0.41%          1,420.00        0.26%         1,522.15    0.27% Payroll Taxes                                               10,877.80      0.30%         18,315.00        0.21%        14,234.72    0.16%
      1,386.90     0.76%              0.00        0.00%         1,387.94    0.24% Supplemental Pay                                            11,477.42      0.31%              0.00        0.00%        13,101.25    0.15%
        998.67     0.55%          2,227.00        0.40%         2,432.98    0.43% Employee Benefits                                           15,756.92      0.43%         26,713.00        0.30%        28,210.82    0.32%

      3,137.95     1.72%          3,647.00        0.66%         5,343.07    0.94%         Total Payroll‐Related Benefits                      38,112.14      1.04%         45,028.00        0.51%        55,546.79    0.64%

     13,378.93     7.34%         21,742.00        3.91%        19,987.62    3.52%     Total Payroll and Related Expenses                     172,843.53      4.72%        260,867.00        2.94%       239,579.30    2.75%

                                                                                     Other Expenses
           ‐       0.00%            350.00        0.06%           134.12     0.02%    Operating Supplies                                       2,018.13      0.06%          4,200.00        0.05%         4,871.38     0.06%
                   0.00%            250.00        0.05%              ‐       0.00%    Decorations                                                            0.00%            700.00        0.01%           172.09     0.00%
      1,925.17     1.06%          1,570.00        0.28%         1,570.17     0.28%    Dues & Subscriptions                                    20,657.64      0.56%         18,840.00        0.21%        18,842.04     0.22%
           ‐       0.00%              0.00        0.00%              ‐       0.00%    Associate Training                                         362.66      0.01%          1,000.00        0.01%         5,695.00     0.07%
           ‐       0.00%              0.00        0.00%              ‐       0.00%    Professional Fees                                             ‐        0.00%              0.00        0.00%           660.61     0.01%
                   0.00%                          0.00%              ‐       0.00%    Legal Fees                                                             0.00%                          0.00%            95.06     0.00%
        914.70     0.50%          1,215.00        0.22%         1,014.53     0.18%    Bank Charges                                            12,439.28      0.34%         14,580.00        0.16%        13,675.93     0.16%
         21.25     0.01%          1,600.00        0.29%         1,812.57     0.32%    Human Resources                                          2,330.26      0.06%          7,775.00        0.09%         9,102.54     0.10%
        450.00     0.25%            450.00        0.08%           450.00     0.08%    Payroll Processing Fees                                  5,400.00      0.15%          5,400.00        0.06%         5,400.00     0.06%
           ‐       0.00%                          0.00%                      0.00%    Audit Fees                                                  74.27      0.00%                          0.00%                      0.00%
      3,353.67     1.84%          3,354.00        0.60%         3,256.00     0.57%    Centralized Accounting Fees                             40,244.04      1.10%         40,248.00        0.45%        39,072.00     0.45%
        426.42     0.23%            426.00        0.08%           243.83     0.04%    Centralized HR Fees                                      5,117.04      0.14%          5,112.00        0.06%         2,925.96     0.03%
           ‐       0.00%                          0.00%                      0.00%    Transportation                                              50.35      0.00%                          0.00%                      0.00%
           ‐       0.00%             50.00        0.01%           (21.49)    0.00%    Uniform Laundry                                            246.38      0.01%            600.00        0.01%           579.41     0.01%
        330.97     0.18%            395.00        0.07%           297.69     0.05%    Contract Services                                        5,913.31      0.16%          7,320.00        0.08%         7,287.14     0.08%
                   0.00%                          0.00%              ‐       0.00%    Uniforms                                                               0.00%                          0.00%             6.50     0.00%
           ‐       0.00%                          0.00%              ‐       0.00%    Bad Debt Expense                                              ‐        0.00%                          0.00%       (13,564.19)   ‐0.16%
        275.76     0.15%              0.00        0.00%         1,096.94     0.19%    Chargebacks                                             11,121.67      0.30%              0.00        0.00%        10,055.04     0.12%
          0.26     0.00%              0.00        0.00%             0.15     0.00%    Sales Tax Under Collection                                  96.02      0.00%              0.00        0.00%            28.56     0.00%
      4,248.88     2.33%         14,998.00        2.70%        16,605.08     2.93%    Credit Card Commissions                                 95,320.76      2.60%        239,342.00        2.70%       238,027.67     2.73%
         (1.39)    0.00%                          0.00%          (184.84)   ‐0.03%    Cash Over / Short                                           35.38      0.00%                          0.00%          (468.20)   ‐0.01%
        576.38     0.32%            500.00        0.09%           590.57     0.10%    Licenses & Permits                                       9,722.51      0.27%          8,395.00        0.09%         8,065.29     0.09%
           ‐       0.00%              0.00        0.00%              ‐       0.00%    Business Promotion ‐ Hotel                                 134.29      0.00%              0.00        0.00%            79.08     0.00%
         58.84     0.03%            200.00        0.04%           294.27     0.05%    Postage & Freight                                          425.49      0.01%          1,300.00        0.01%         1,847.08     0.02%
         75.00     0.04%             50.00        0.01%              ‐       0.00%    Guest Relations                                          1,679.92      0.05%            600.00        0.01%           811.74     0.01%
           ‐       0.00%            150.00        0.03%           312.19     0.06%    Travel                                                      61.72      0.00%          2,500.00        0.03%         2,927.64     0.03%
           ‐       0.00%            200.00        0.04%              ‐       0.00%    Meals & Entertainment                                      134.02      0.00%          1,600.00        0.02%         1,283.49     0.01%
           ‐       0.00%                          0.00%          (271.45)   ‐0.05%    P‐Card Miscellaneous                                          ‐        0.00%                          0.00%             0.00     0.00%

     12,655.91     6.94%         25,758.00        4.64%        27,200.33    4.79%         Total Other Expenses                               213,585.14      5.84%        359,512.00        4.06%       357,478.86    4.10%
     $26,034.84   14.28%        $47,500.00        8.55%        $47,187.95   8.32% Total Expenses                                             $386,428.67    10.56%       $620,379.00        7.00%       $597,058.16   6.85%
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                                                                                     Pleasanton
                                                                                                 Hersha Hospitality Management LP
                                                                                              For the Month Ending December 31, 2020
                                 Current Month                                                                                                                           Year-To-Date
    Actual                    Budget                         Actual                                                                        Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                     In Balance                  December 2020             December 2020                  December 2019



                                                                                       Information & Telecommunication Systems
                                                                                   Expenses
                                                                                   Cost of Services
        595.57    0.33%            815.00        0.15%           622.17    0.11%    Cost of Calls                                            6,808.69    0.19%          9,780.00        0.11%         7,328.30    0.08%
        120.00    0.07%            260.00        0.05%           252.50    0.04%    Cost of Cell Phones                                      1,667.50    0.05%          3,120.00        0.04%         2,795.00    0.03%
      1,399.99    0.77%          2,500.00        0.45%         1,399.99    0.25%    Cost of Internet Service                                16,799.88    0.46%         30,000.00        0.34%        26,495.34    0.30%

      2,115.56    1.16%          3,575.00        0.64%         2,274.66    0.40%        Total Cost of Services                              25,276.07    0.69%         42,900.00        0.48%        36,618.64    0.42%

                                                                                   System Expenses
        308.33    0.17%            308.00        0.06%           308.33    0.05%     BI Software                                             3,700.00    0.10%          3,696.00        0.04%         3,700.00    0.04%
      1,235.00    0.68%          1,235.00        0.22%         1,234.00    0.22%     Centralized IT/IS Fees                                 14,820.00    0.40%         14,820.00        0.17%        14,808.00    0.17%
                  0.00%                          0.00%              ‐      0.00%     Hardware                                                            0.00%                          0.00%           317.79    0.00%
        302.25    0.17%            302.00        0.05%           206.00    0.04%     Information Security ‐ PCI                              3,627.00    0.10%          3,624.00        0.04%         3,521.31    0.04%
         63.58    0.03%                          0.00%            89.56    0.02%     Information Systems/IT                                    993.32    0.03%                          0.00%         1,259.80    0.01%
      1,219.28    0.67%          1,130.00        0.20%         1,129.68    0.20%     Rooms                                                  16,069.21    0.44%         13,560.00        0.15%        14,498.35    0.17%
        255.44    0.14%            343.00        0.06%         1,164.81    0.21%     Sales & Marketing                                       3,065.36    0.08%          6,546.00        0.07%         4,594.50    0.05%

      3,383.88    1.86%          3,318.00        0.60%         4,132.38    0.73%        Total System Expenses                               42,274.89    1.16%         42,246.00        0.48%        42,699.75    0.49%

                                                                                   Other Expenses
        197.38    0.11%            130.00        0.02%           124.11    0.02%    Contract Services                                        5,764.58    0.16%          1,560.00        0.02%         4,695.29    0.05%
                  0.00%                          0.00%            31.32    0.01%    Corporate Reimbursables                                              0.00%                          0.00%            31.32    0.00%

        197.38    0.11%           130.00         0.02%           155.43    0.03%        Total Other Expenses                                 5,764.58    0.16%          1,560.00        0.02%         4,726.61    0.05%
      $5,696.82   3.12%         $7,023.00        1.26%         $6,562.47   1.16% Total Expenses                                             $73,315.54   2.00%        $86,706.00        0.98%        $84,045.00   0.96%
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                                                                                      Pleasanton
                                                                                                     Hersha Hospitality Management LP
                                                                                                  For the Month Ending December 31, 2020
                                  Current Month                                                                                                                               Year-To-Date
    Actual                     Budget                          Actual                                                                          Actual                     Budget                          Actual
December 2020              December 2020                   December 2019                                      In Balance                   December 2020              December 2020                   December 2019

                                                                                                         Sales and Marketing
                                                                                       Expenses
                                                                                      Payroll and Related Expenses
                                                                                        Salaries, Wages, and Bonuses
                                                                                         Salaries and Wages
      3,263.14     1.79%          9,303.00         1.67%         6,940.08      1.22% Sales & Marketing Management                               20,798.83     0.57%        109,798.00         1.24%        98,385.84     1.13%
      1,361.14     0.75%          6,143.00         1.11%         5,141.36      0.91% Admin Support                                              29,667.94     0.81%         72,265.00         0.82%        61,677.29     0.71%

      4,624.28     2.54%         15,446.00         2.78%        12,081.44      2.13%        Total Salaries and Wages                            50,466.77     1.38%        182,063.00         2.05%       160,063.13     1.84%

           ‐       0.00%          1,000.00         0.18%         (3,600.00)   ‐0.63% Bonuses & Incentives                                             ‐       0.00%         12,000.00         0.14%        10,738.15     0.12%

      4,624.28     2.54%         16,446.00         2.96%         8,481.44      1.50%        Total Salaries, Wages, and Bonuses                  50,466.77     1.38%        194,063.00         2.19%       170,801.28     1.96%

                                                                                      Payroll‐Related Expenses
        322.28     0.18%          1,342.00         0.24%         1,077.46      0.19% Payroll Taxes                                               4,226.55     0.12%         17,152.00         0.19%        15,569.32     0.18%
        717.38     0.39%            651.00         0.12%         1,485.43      0.26% Supplemental Pay                                            6,318.43     0.17%          5,832.00         0.07%        14,201.40     0.16%
        503.37     0.28%          1,700.00         0.31%         1,607.25      0.28% Employee Benefits                                          12,119.44     0.33%         20,340.00         0.23%        19,223.76     0.22%

      1,543.03     0.85%          3,693.00         0.66%         4,170.14      0.74%        Total Payroll‐Related Benefits                      22,664.42     0.62%         43,324.00         0.49%        48,994.48     0.56%

      6,167.31     3.38%         20,139.00         3.63%        12,651.58      2.23%    Total Payroll and Related Expenses                      73,131.19     2.00%        237,387.00         2.68%       219,795.76     2.52%

                                                                                       Other Expenses
           ‐       0.00%                           0.00%              ‐        0.00%    Operating Supplies                                            ‐       0.00%                           0.00%           411.18     0.00%
                   0.00%                           0.00%            43.30      0.01%    Complimentary Services and Gif                                        0.00%                           0.00%           325.51     0.00%
        845.78     0.46%          1,019.00         0.18%         2,157.96      0.38%    Dues & Subscriptions ‐ Hotel                            12,352.67     0.34%         16,498.00         0.19%        15,245.69     0.17%
                   0.00%              0.00         0.00%              ‐        0.00%    Training ‐ Hotel                                                      0.00%          5,300.00         0.06%         1,865.97     0.02%
                   0.00%            250.00         0.05%                       0.00%    Direct Mail                                                           0.00%            250.00         0.00%                      0.00%
       (875.00)   ‐0.48%            970.00         0.17%         1,831.34      0.32%    E‐Commerce ‐ Hotel                                       1,827.90     0.05%         13,624.00         0.15%        14,564.27     0.17%
      3,604.02     1.98%         10,793.00         1.94%        10,918.62      1.92%    Franchise & Affiliation Advert                          71,551.30     1.96%        171,162.00         1.93%       165,711.13     1.90%
     12,588.90     6.90%         26,983.00         4.86%        21,900.86      3.86%    Franchise Fees                                         157,907.54     4.31%        393,995.00         4.44%       336,195.59     3.85%
        965.81     0.53%         12,412.00         2.23%        15,084.41      2.66%    Loyalty Programs/Frequent Flye                          75,705.11     2.07%        196,836.00         2.22%       198,478.21     2.28%
           ‐       0.00%              0.00         0.00%              ‐        0.00%    Media (Advertising/Directories                                ‐       0.00%          1,394.00         0.02%              ‐       0.00%
      3,121.00     1.71%          4,268.00         0.77%         4,145.00      0.73%    Revenue Management Fees                                 40,002.63     1.09%         51,216.00         0.58%        49,740.00     0.57%
        150.00     0.08%              0.00         0.00%           150.00      0.03%    Dues & Subscriptions ‐ Corpora                           1,650.00     0.05%             46.00         0.00%         1,820.00     0.02%
           ‐       0.00%              0.00         0.00%              ‐        0.00%    Trade Shows ‐ Corporate                                     83.90     0.00%            111.00         0.00%            40.90     0.00%
         10.58     0.01%              9.00         0.00%             5.30      0.00%    E‐Commerce ‐ Corporate                                     105.36     0.00%            108.00         0.00%           113.98     0.00%
           ‐       0.00%                           0.00%              ‐        0.00%    Business Promotion ‐ Corporate                             250.00     0.01%                           0.00%              ‐       0.00%
        263.22     0.14%          2,100.00         0.38%         2,085.21      0.37%    Business Promotion ‐ Hotel                               1,172.63     0.03%         12,550.00         0.14%        11,576.11     0.13%
        545.90     0.30%            838.00         0.15%           819.00      0.14%    National Sales Allocation                                7,427.29     0.20%         10,056.00         0.11%         9,828.00     0.11%
                   0.00%            335.00         0.06%              ‐        0.00%    Printing & Stationery                                                 0.00%            875.00         0.01%           223.81     0.00%
           ‐       0.00%             75.00         0.01%            83.33      0.01%    Travel                                                   1,023.56     0.03%          5,000.00         0.06%         4,650.53     0.05%
           ‐       0.00%            100.00         0.02%            77.53      0.01%    Meals & Entertainment                                      253.73     0.01%          2,200.00         0.02%         1,921.83     0.02%

     21,220.21    11.64%         60,152.00        10.83%        59,301.86     10.45%        Total Other Expenses                               371,313.62    10.15%        881,221.00         9.94%       812,712.71     9.32%

     $27,387.52   15.02%        $80,291.00        14.45%        $71,953.44    12.68% Total Expenses                                            $444,444.81   12.14%      $1,118,608.00       12.62%     $1,032,508.47   11.84%
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                                                                                     Pleasanton
                                                                                                 Hersha Hospitality Management LP
                                                                                              For the Month Ending December 31, 2020
                                 Current Month                                                                                                                           Year-To-Date
    Actual                    Budget                         Actual                                                                        Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                    In Balance                   December 2020             December 2020                  December 2019



                                                                                          Property Operation and Maintenance
                                                                                   Expenses
                                                                                  Payroll and Related Expenses
                                                                                   Salaries, Wages, and Bonuses
                                                                                    Salaries and Wages
      4,507.04    2.47%          5,960.00        1.07%         5,492.28    0.97% R&M Management                                             62,840.60    1.72%         70,341.00        0.79%        66,836.51    0.77%
      3,160.54    1.73%          3,009.00        0.54%         2,564.07    0.45% R&M Non‐Management                                         28,147.58    0.77%         34,820.00        0.39%        32,433.05    0.37%
           ‐      0.00%          4,250.00        0.77%         7,719.60    1.36% R&M Contract Labor                                          6,084.74    0.17%         50,220.00        0.57%        55,808.68    0.64%

      7,667.58    4.21%         13,219.00        2.38%        15,775.95    2.78%       Total Salaries and Wages                             97,072.92    2.65%        155,381.00        1.75%       155,078.24    1.78%


      7,667.58    4.21%         13,219.00        2.38%        15,775.95    2.78%       Total Salaries, Wages, and Bonuses                   97,072.92    2.65%        155,381.00        1.75%       155,078.24    1.78%

                                                                                  Payroll‐Related Expenses
        686.18    0.38%            759.00        0.14%           839.76    0.15% Payroll Taxes                                               7,614.68    0.21%          9,814.00        0.11%         9,091.58    0.10%
        831.21    0.46%            234.00        0.04%           676.83    0.12% Supplemental Pay                                            6,251.99    0.17%          1,968.00        0.02%         7,773.30    0.09%
      1,947.88    1.07%            306.00        0.06%           351.64    0.06% Employee Benefits                                          11,573.00    0.32%          3,661.00        0.04%         8,759.05    0.10%

      3,465.27    1.90%          1,299.00        0.23%         1,868.23    0.33%       Total Payroll‐Related Benefits                       25,439.67    0.70%         15,443.00        0.17%        25,623.93    0.29%

     11,132.85    6.11%         14,518.00        2.61%        17,644.18    3.11%    Total Payroll and Related Expenses                     122,512.59    3.35%        170,824.00        1.93%       180,702.17    2.07%

                                                                                   Other Expenses
        426.60    0.23%            714.00        0.13%           212.48    0.04%    Operating Supplies                                       4,491.50    0.12%          9,665.00        0.11%         9,327.08    0.11%
           ‐      0.00%             23.00        0.00%            50.74    0.01%    Building                                                 1,251.24    0.03%            316.00        0.00%           218.95    0.00%
           ‐      0.00%             87.00        0.02%              ‐      0.00%    Laundry Equipment                                        1,449.71    0.04%          1,180.00        0.01%         1,042.84    0.01%
         17.37    0.01%            400.00        0.07%            94.50    0.02%    Light Bulbs                                                 60.85    0.00%          1,150.00        0.01%         1,054.14    0.01%
                  0.00%              0.00        0.00%              ‐      0.00%    Equipment Rental                                                     0.00%            393.00        0.00%           392.63    0.00%
      2,711.49    1.49%          4,429.00        0.80%         3,849.26    0.68%    Waste Removal                                           34,088.58    0.93%         47,349.00        0.53%        46,044.69    0.53%
        235.00    0.13%          1,100.00        0.20%           721.50    0.13%    Contract Services                                        3,162.40    0.09%         23,600.00        0.27%        24,275.49    0.28%
           ‐      0.00%              0.00        0.00%              ‐      0.00%    Uniforms                                                   200.00    0.01%            796.00        0.01%           933.09    0.01%
      1,062.67    0.58%          1,063.00        0.19%           850.54    0.15%    Corporate Engineering Fees                              12,752.04    0.35%         12,756.00        0.14%        10,062.73    0.12%
           ‐      0.00%             25.00        0.00%           239.37    0.04%    Travel                                                       7.49    0.00%            300.00        0.00%           383.70    0.00%
                  0.00%                          0.00%              ‐      0.00%    Meals & Entertainment                                                0.00%                          0.00%            39.00    0.00%
                  0.00%                          0.00%              ‐      0.00%    Electrical & Mechanical Equipm                                       0.00%                          0.00%           136.97    0.00%
         69.25    0.04%             78.00        0.01%            99.97    0.02%    Engineering Supplies                                       580.20    0.02%          1,061.00        0.01%         1,289.86    0.01%
                  0.00%            202.00        0.04%              ‐      0.00%    Furniture & Equipment                                                0.00%            804.00        0.01%           389.53    0.00%
        980.00    0.54%          1,000.00        0.18%           382.00    0.07%    Grounds Maintenance and Landsc                          13,500.25    0.37%         17,600.00        0.20%        15,513.76    0.18%
           ‐      0.00%            726.00        0.13%              ‐      0.00%    HVAC                                                     3,723.93    0.10%         11,260.00        0.13%         9,961.43    0.11%
           ‐      0.00%            479.00        0.09%         2,418.27    0.43%    Kitchen Equipment                                          949.17    0.03%          6,487.00        0.07%         9,847.93    0.11%
        162.50    0.09%            500.00        0.09%           373.25    0.07%    Life Safety                                             10,737.24    0.29%         10,400.00        0.12%         9,780.82    0.11%
         88.86    0.05%             51.00        0.01%              ‐      0.00%    Painting & Decorating                                      177.72    0.00%            602.00        0.01%           128.91    0.00%
        309.16    0.17%            500.00        0.09%           228.58    0.04%    Swimming Pool                                            5,091.27    0.14%          8,849.00        0.10%         8,502.64    0.10%
        675.00    0.37%            581.00        0.10%           385.00    0.07%    Plumbing                                                 6,213.10    0.17%         10,172.00        0.11%         6,052.52    0.07%
           ‐      0.00%              0.00        0.00%              ‐      0.00%    Vehicles                                                      ‐      0.00%            465.00        0.01%           743.57    0.01%

      6,737.90    3.70%         11,958.00        2.15%         9,905.46    1.75%       Total Other Expenses                                 98,436.69    2.69%        165,205.00        1.86%       156,122.28    1.79%
     $17,870.75   9.80%        $26,476.00        4.77%        $27,549.64   4.86% Total Expenses                                            $220,949.28   6.04%       $336,029.00        3.79%       $336,824.45   3.86%
                                            Case 1:20-cv-06089-JGK Document        56
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                                                                                     Pleasanton
                                                                                                 Hersha Hospitality Management LP
                                                                                              For the Month Ending December 31, 2020
                                 Current Month                                                                                                                           Year-To-Date
    Actual                    Budget                         Actual                                                                        Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                    In Balance                   December 2020             December 2020                  December 2019



                                                                                                            Utilities

                                                                                   Utilities
      4,660.52    2.56%          9,006.00        1.62%         5,839.90    1.03%    Electricity                                            121,357.49    3.32%        148,622.00        1.68%       142,751.53    1.64%
      3,369.28    1.85%          2,092.00        0.38%         3,224.98    0.57%    Gas                                                     21,173.72    0.58%         28,309.00        0.32%        28,265.16    0.32%
      2,031.68    1.11%          1,569.00        0.28%         2,210.36    0.39%    Water                                                   20,285.02    0.55%         21,232.00        0.24%        22,233.47    0.25%
      1,012.68    0.56%          1,177.00        0.21%         1,286.75    0.23%    Sewer                                                   11,360.53    0.31%         15,923.00        0.18%        15,199.23    0.17%
     $11,074.16   6.07%        $13,844.00        2.49%        $12,561.99   2.21% Total Utilities                                           $174,176.76   4.76%       $214,086.00        2.42%       $208,449.39   2.39%
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                                                                     261‐Hyatt House       Filed 01/26/21 Page 480 of 541
                                                                                     Pleasanton
                                                                                               Hersha Hospitality Management LP
                                                                                            For the Month Ending December 31, 2020
                                 Current Month                                                                                                                         Year-To-Date
    Actual                    Budget                         Actual                                                                      Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                   In Balance                  December 2020             December 2020                  December 2019



                                                                                                     Management Fees

                                                                                   Management Fees
      5,469.78    3.00%         16,648.00        3.00%        16,962.59    2.99%    Base Fee                                             109,701.30    3.00%        265,508.00        3.00%       261,269.68    3.00%

      $5,469.78   3.00%        $16,648.00        3.00%        $16,962.59   2.99% Total Management Fees                                   $109,701.30   3.00%       $265,508.00        3.00%       $261,269.68   3.00%
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                                                                    261‐Hyatt House       Filed 01/26/21 Page 481 of 541
                                                                                    Pleasanton
                                                                                             Hersha Hospitality Management LP
                                                                                          For the Month Ending December 31, 2020
                                Current Month                                                                                                                       Year-To-Date
    Actual                   Budget                         Actual                                                                     Actual                   Budget                         Actual
December 2020            December 2020                  December 2019                                   In Balance                 December 2020            December 2020                  December 2019



                                                                                                Non Operating Income

                                                                                 Non Operating Income
                 0.00%              0.00        0.00%              ‐     0.00%    Interest Income                                                   0.00%            799.00        0.01%           799.36   0.01%

         $0.00   0.00%             $0.00        0.00%            $0.00   0.00% Total Non Operating Income Fees                              $0.00   0.00%           $799.00        0.01%          $799.36   0.01%
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                                                                      261‐Hyatt House       Filed 01/26/21 Page 482 of 541
                                                                                      Pleasanton
                                                                                                    Hersha Hospitality Management LP
                                                                                                 For the Month Ending December 31, 2020
                                  Current Month                                                                                                                               Year-To-Date
    Actual                     Budget                          Actual                                                                          Actual                     Budget                          Actual
December 2020              December 2020                   December 2019                                      In Balance                   December 2020              December 2020                   December 2019



                                                                                        Rent, Property and Other Taxes, and Insurance

                                                                                      Rent
    113,946.53    62.50%         99,873.00        17.98%        97,058.33    17.11%    Land and Buildings                                     1,181,588.16   32.29%       1,184,401.00       13.36%      1,008,574.96   11.56%

    113,946.53    62.50%         99,873.00        17.98%        97,058.33    17.11% Total Rent                                                1,181,588.16   32.29%      1,184,401.00        13.36%      1,008,574.96   11.56%


                                                                                      Property and Other Taxes
     47,229.00    25.90%         47,123.00         8.48%        47,123.00     8.31%     Real Estate Taxes                                      587,460.84    16.05%        565,476.00         6.38%       727,870.79     8.35%

     47,229.00    25.90%         47,123.00         8.48%        47,123.00     8.31% Total Property and Other Taxes                             587,460.84    16.05%        565,476.00         6.38%       727,870.79     8.35%


                                                                                      Insurance
     10,685.08     5.86%         10,267.00         1.85%        10,592.62     1.87%     Building and Contents                                  126,478.18     3.46%        123,204.00         1.39%        86,815.91     1.00%
        305.00     0.17%            305.00         0.05%           296.00     0.05%     Risk Management                                          3,660.00     0.10%          3,660.00         0.04%         3,552.00     0.04%
      4,286.33     2.35%          2,221.00         0.40%         2,239.00     0.39%     General Liability Insurance                             43,358.67     1.18%         26,652.00         0.30%        26,682.95     0.31%

     15,276.41     8.38%         12,793.00         2.30%        13,127.62     2.31%     Total Insurance                                        173,496.85     4.74%        153,516.00         1.73%       117,050.86     1.34%


    $176,451.94   96.78%       $159,789.00        28.77%       $157,308.95   27.73% Total Rent, Property, and Other Taxes, and Insurance     $1,942,545.85   53.08%      $1,903,393.00       21.47%     $1,853,496.61   21.25%
                                Case 1:20-cv-06089-JGK Document        56
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                                                                         Pleasanton
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document        56
                                                         261‐Hyatt House       Filed 01/26/21 Page 484 of 541
                                                                         Pleasanton
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                              Case 1:20-cv-06089-JGK Document        56
                                                                       261‐Hyatt House       Filed 01/26/21 Page 485 of 541
                                                                                       Pleasanton
                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                   Current Month                                                                                                                             Year-To-Date
    Actual                      Budget                         Actual                                                                        Actual                      Budget                         Actual
December 2020               December 2020                  December 2019                                       In Balance                December 2020               December 2020                  December 2019



                                                                                                      Payroll‐Related Expenses
                                                                                      Payroll Taxes
            ‐      0.00%               ‐           0.00%               ‐      0.00%        Total Payroll Tax                                         ‐      0.00%               ‐           0.00%               ‐      0.00%

                                                                                      Employee Benefits
      (2,243.10)   ‐1.23%                          0.00%         (2,243.10)   ‐0.40% PTEB Allocation                                          (27,962.64)   ‐0.76%                          0.00%        (27,818.14)   ‐0.32%
       2,243.10     1.23%                          0.00%          2,243.10     0.40% Workers' Compenstion Insurance                            27,962.64     0.76%                          0.00%         27,818.14     0.32%

            ‐      0.00%               ‐           0.00%               ‐      0.00%        Total Employee Benefits                                   ‐      0.00%               ‐           0.00%               ‐      0.00%


          $0.00    0.00%              $0.00        0.00%             $0.00    0.00%        Total Payroll Taxes and Employee Benefits               $0.00    0.00%              $0.00        0.00%             $0.00    0.00%
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                                                         261‐Hyatt House       Filed 01/26/21 Page 486 of 541
                                                                         Pleasanton
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                             Case 1:20-cv-06089-JGK Document        56
                                                                      261‐Hyatt House       Filed 01/26/21 Page 487 of 541
                                                                                      Pleasanton
                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                  Current Month                                                                                                                             Year-To-Date
    Actual                     Budget                          Actual                                                                        Actual                     Budget                          Actual
December 2020              December 2020                   December 2019                                    In Balance                   December 2020              December 2020                   December 2019



                                                                                                              Interest

                                                                                      Interest
    117,850.30    64.64%        121,600.00        21.89%       120,537.89    21.25%     Interest Expense                                    1,417,796.25   38.74%       1,459,200.00       16.46%      1,468,043.44   16.83%

    $117,850.30   64.64%       $121,600.00        21.89%       $120,537.89   21.25%      Total Interest                                    $1,417,796.25   38.74%      $1,459,200.00       16.46%     $1,468,043.44   16.83%
                                           Case 1:20-cv-06089-JGK Document        56
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                                                                                    Pleasanton
                                                                                              Hersha Hospitality Management LP
                                                                                           For the Month Ending December 31, 2020
                                Current Month                                                                                                                         Year-To-Date
    Actual                   Budget                         Actual                                                                      Actual                    Budget                         Actual
December 2020            December 2020                  December 2019                                   In Balance                  December 2020             December 2020                  December 2019



                                                                                                  Other Fixed Expenses

                                                                                 Other Fixed Expenses
           ‐     0.00%                          0.00%           300.00   0.05%    Owner's Expense                                        17,967.96    0.49%                          0.00%        19,732.38    0.23%

         $0.00   0.00%             $0.00        0.00%          $300.00   0.05% Total Other Fixed Expenses                                $17,967.96   0.49%             $0.00        0.00%        $19,732.38   0.23%
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                                                                                        Scottsdale
                                                                                                             Hersha Hospitality Management LP
                                                                                                          For the Month Ending December 31, 2020
                                    Current Month                                                                                                                                           Year-To-Date
    Actual                       Budget                           Actual                                                                               Actual                           Budget                            Actual
December 2020                December 2020                    December 2019                                            In Balance                  December 2020                    December 2020                     December 2019

                                                                                                             Rooms Department Schedule
                                                                                               Room Revenue Component Statistics
         5,084                         5,084                           5,084                   Rooms Available                                             60,024                            60,024                           59,860
         2,495                         4,016                           3,908                   Rooms Sold                                                  26,615                            51,790                           51,908
        49.08%                        78.99%                          76.87%                   % of Occupancy                                              44.34%                            86.28%                           86.72%
        126.84                        140.01                          140.84                   Average Daily Rate                                          163.27                            165.66                           161.19
         62.25                        110.60                          108.26                   RevPar                                                       72.40                            142.94                           139.77

                                                                                               Revenue
    289,097.30      91.35%        491,984.00         87.50%       459,428.69         83.47%     Transient Rooms Revenue                               3,815,222.67        87.80%        7,456,637.00        86.91%       7,015,731.61        83.85%
     23,123.75       7.31%         70,310.00         12.50%        81,821.39         14.87%     Group Rooms Revenue                                     482,374.96        11.10%        1,122,966.00        13.09%       1,227,750.55        14.67%
           ‐         0.00%              0.00          0.00%         5,952.00          1.08%     Contract Rooms Revenue                                      315.36         0.01%                0.00         0.00%          74,651.53         0.89%
      1,986.09       0.63%              0.00          0.00%         3,092.31          0.56%     Other Rooms Revenue                                      35,135.04         0.81%                0.00         0.00%          48,643.41         0.58%
      2,250.00       0.71%                            0.00%           119.00          0.02%     Rooms Allowances                                         12,434.67         0.29%                             0.00%              84.91         0.00%

    316,457.14     100.00%        562,294.00        100.00%       550,413.39        100.00%      Total Rooms Revenue                                  4,345,482.70       100.00%       8,579,603.00        100.00%       8,366,862.01       100.00%


                                                                                               Expenses
                                                                                                Payroll and Related Expenses
                                                                                                 Salaries, Wages, and Bonuses
                                                                                                  Salaries and Wages
      6,081.60       1.92%          6,708.00          1.19%         6,269.56          1.14%          Rooms Management                                   69,716.80          1.60%          79,171.00          0.92%         60,584.04          0.72%
        850.14       0.27%          6,699.00          1.19%         4,379.84          0.80%          Front Desk GSA                                     24,173.78          0.56%          84,518.00          0.99%         76,603.87          0.92%
           ‐         0.00%          6,743.00          1.20%         4,475.63          0.81%          Housekeeping Wages                                 14,811.60          0.34%          79,475.00          0.93%         78,694.61          0.94%
      3,911.57       1.24%          3,596.00          0.64%         3,491.35          0.63%          Night Audit                                        40,072.33          0.92%          42,572.00          0.50%         52,337.36          0.63%
                     0.00%          2,381.00          0.42%           688.38          0.13%          Breakfast Bar                                                         0.00%          27,489.00          0.32%          2,627.69          0.03%
     23,947.24       7.57%         64,098.00         11.40%        66,838.80         12.14%          Rooms Contract Labor                              312,876.18          7.20%         823,958.00          9.60%        775,848.80          9.27%

     34,790.55      10.99%         90,225.00         16.05%        86,143.56         15.65%              Total Salaries and Wages                      461,650.69         10.62%       1,137,183.00         13.25%       1,046,696.37        12.51%

            ‐        0.00%            100.00          0.02%           137.50           0.02%       Bonuses & Incentives                                    975.00          0.02%            1,200.00         0.01%           1,954.50         0.02%

     34,790.55      10.99%         90,325.00         16.06%        86,281.06         15.68%           Total Salaries, Wages, and Bonuses               462,625.69         10.65%       1,138,383.00         13.27%       1,048,650.87        12.53%

                                                                                                Payroll‐Related Expenses
        874.62       0.28%          2,159.00          0.38%         2,030.65           0.37%     Payroll Taxes                                          13,093.81          0.30%          26,238.00          0.31%         23,500.63          0.28%
      1,238.24       0.39%          1,452.00          0.26%         1,874.05           0.34%     Supplemental Pay                                       10,778.17          0.25%          12,936.00          0.15%         16,560.23          0.20%
      1,424.47       0.45%          3,295.00          0.59%         2,742.02           0.50%     Employee Benefits                                      22,505.73          0.52%          39,597.00          0.46%         31,267.62          0.37%

      3,537.33       1.12%          6,906.00          1.23%         6,646.72           1.21%          Total Payroll‐Related Benefits                    46,377.71          1.07%          78,771.00          0.92%         71,328.48          0.85%

     38,327.88     12.11%          97,231.00        17.29%         92,927.78         16.88%     Total Payroll and Related Expenses                     509,003.40         11.71%       1,217,154.00         14.19%       1,119,979.35        13.39%

                                                                                               Other Expenses
       1,449.22      0.46%          1,044.00          0.19%         1,399.45           0.25%    Cleaning Supplies                                        7,513.68          0.17%          13,463.00          0.16%         14,270.82          0.17%
       1,702.44      0.54%          3,373.00          0.60%         4,111.65           0.75%    Guest Supplies                                          22,372.16          0.51%          47,521.00          0.55%         49,569.76          0.59%
         569.07      0.18%          3,213.00          0.57%         3,568.88           0.65%    Operating Supplies                                      12,688.38          0.29%          45,677.00          0.53%         44,859.35          0.54%
       1,266.47      0.40%          2,687.00          0.48%         2,891.50           0.53%    Linen                                                   21,059.10          0.48%          34,647.00          0.40%         34,749.74          0.42%
      (1,934.69)    ‐0.61%            562.00          0.10%         1,077.78           0.20%    VIP Amenities/Comp Gifts                                 3,875.16          0.09%           8,749.00          0.10%          9,146.84          0.11%
       5,823.48      1.84%         21,164.00          3.76%        23,055.38           4.19%    Complimentary Breakfast Food &                          87,074.37          2.00%         280,181.00          3.27%        278,260.37          3.33%
            ‐        0.00%                            0.00%                            0.00%    Complimentary Other F&B (Recep                             457.50          0.01%                             0.00%                            0.00%
       1,105.26      0.35%              0.00          0.00%           225.76           0.04%    Guest Relocation                                         3,825.72          0.09%               0.00          0.00%          8,785.55          0.11%
       1,118.82      0.35%          1,365.00          0.24%         1,343.54           0.24%    Laundry & Dry Cleaning                                  10,913.66          0.25%          17,877.00          0.21%         16,517.83          0.20%
                     0.00%                            0.00%              ‐             0.00%    Training ‐ Hotel                                                           0.00%                             0.00%            216.10          0.00%
        257.95       0.08%            116.00          0.02%           263.23           0.05%    Guest Transportation                                     1,242.34          0.03%           1,391.00          0.02%          1,609.44          0.02%
      2,900.00       0.92%          2,800.00          0.50%         2,793.67           0.51%    Cable / Satellite Television                            34,008.54          0.78%          33,600.00          0.39%         33,660.54          0.40%
     13,531.99       4.28%         15,294.00          2.72%        17,631.95           3.20%    Commissions                                            114,213.03          2.63%         233,364.00          2.72%        229,574.20          2.74%
     13,491.65       4.26%          4,779.00          0.85%        13,486.87           2.45%    Commissions & Rebates ‐ Group                           33,320.88          0.77%          67,138.00          0.78%         80,031.53          0.96%
      6,615.56       2.09%         12,851.00          2.29%        12,492.88           2.27%    Reservations                                            84,431.01          1.94%         164,425.00          1.92%        161,659.13          1.93%
           ‐         0.00%            600.00          0.11%              ‐             0.00%    Contract Services                                             ‐            0.00%           2,000.00          0.02%          2,054.52          0.02%
        190.82       0.06%            250.00          0.04%           113.77           0.02%    Uniforms                                                   393.40          0.01%           3,000.00          0.03%          3,067.41          0.04%

     48,088.04      15.20%         70,098.00         12.47%        84,456.31         15.34%         Total Other Expenses                               437,388.93         10.07%         953,033.00         11.11%        968,033.13         11.57%

     86,415.92      27.31%        167,329.00         29.76%       177,384.09         32.23% Total Expenses                                             946,392.33         21.78%       2,170,187.00         25.29%       2,088,012.48        24.96%
    $230,041.22     72.69%       $394,965.00         70.24%       $373,029.30         67.77% Departmental Income (Loss)                              $3,399,090.37         78.22%      $6,409,416.00         74.71%     $6,278,849.53         75.04%
                         =                     ===========                      ===========                                                                          ===========                       ===========                      ===========
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                                                                                                        Scottsdale
                                                                                                                                               Hersha Hospitality Management LP
                                                                                                                                            For the Month Ending December 31, 2020
                                          Current Month                                                                                                                                                                                    Year-To-Date
     Actual                            Budget                                             Actual                                                                                          Actual                                       Budget                                             Actual
 December 2020                     December 2020                                      December 2019                                                     In Balance                    December 2020                                December 2020                                      December 2019

                                                                                                                                               Food Department Schedule

                                                                                                                                 Revenue
                ‐       0.00%                   2,651.00                23.43%                  2,433.78            27.54%        Outlet Food Revenue                                           6,157.79              8.62%                    35,236.00                24.92%                31,791.23               23.34%
             275.00     9.47%                   3,500.00                30.94%                  2,899.70            32.82%        Banquet/Catering Food Revenue                               21,528.96             30.15%                     41,500.00                29.35%                41,116.70               30.19%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
             275.00     9.47%                  6,151.00                 54.37%                  5,333.48            60.36%         Total Food Revenue                                         27,686.75             38.77%                    76,736.00                 54.28%                72,907.93               53.53%
                                                                                                                                 Other Revenue
                ‐       0.00%                      600.00                 5.30%                   398.00              4.50% Audiovisual                                                         3,700.00              5.18%                     8,355.00                  5.91%                 8,177.00                6.00%
           2,096.78    72.22%                   3,000.00                26.52%                  1,950.00            22.07% Public Room Rentals                                                28,070.68             39.31%                     36,408.00                25.75%                35,654.38               26.18%
             531.67    18.31%                   1,562.00                13.81%                  1,154.50            13.07% Banquet Service Charge                                             11,946.39             16.73%                     19,880.00                14.06%                19,455.92               14.29%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
           2,628.45    90.53%                  5,162.00                 45.63%                  3,502.50            39.64%     Total Other Revenue                                            43,717.07             61.23%                    64,643.00                 45.72%                63,287.30               46.47%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
           2,903.45   100.00%                 11,313.00               100.00%                   8,835.98          100.00% Total Revenue                                                       71,403.82           100.00%                   141,379.00                100.00%                136,195.23             100.00%

                                                                                                                                 Cost of Food
                ‐       0.00%                   1,046.00                17.01%                  1,000.83            18.77%        Cost of Food Sales                                            4,172.08            15.07%                     13,047.00                17.00%                13,070.80               17.93%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                  1,046.00                 17.01%                  1,000.83            18.77%         Total Cost of Food                                           4,172.08            15.07%                    13,047.00                 17.00%                13,070.80               17.93%

                                                                                                                               Cost of Other Revenue
                        0.00%                                             0.00%                    48.06            12.08% Audiovisual Cost                                                                           0.00%                                               0.00%                    48.06                0.59%
             175.87     6.06%                   1,820.00                16.09%                    898.48            10.17% Miscellaneous Cost                                                 10,172.52             14.25%                     21,040.00                14.88%                18,993.28               13.95%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
             175.87     6.69%                  1,820.00                 35.26%                    946.54            27.02%       Total Cost of Other Revenue                                  10,172.52             23.27%                    21,040.00                 32.55%                19,041.34               30.09%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
             175.87     6.06%                  2,866.00                 25.33%                  1,947.37            22.04% Total Cost of Food Sales and Other Revenue                         14,344.60             20.09%                    34,087.00                 24.11%                32,112.14               23.58%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
           2,727.58    93.94%                  8,447.00                 74.67%                  6,888.61            77.96% Gross Profit (Loss)                                                57,059.22             79.91%                  107,292.00                  75.89%               104,083.09               76.42%


                                                                                                                                 Expenses
                                                                                                                               Payroll and Related Expenses
                                                                                                                                Salaries, Wages, and Bonuses
                                                                                                                                 Salaries and Wages
                        0.00%                                             0.00%                       ‐               0.00% Kitchen Prep Payroll                                                                      0.00%                                               0.00%                 1,599.23                1.17%
                        0.00%                                             0.00%                      ‐                0.00% Banquet SVC Charge Paid Out                                                               0.00%                                               0.00%                   616.55                0.45%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                          ‐                  0.00%                       ‐               0.00%        Total Salaries and Wages                                           ‐               0.00%                            ‐                  0.00%                 2,215.78                1.63%

‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                          ‐                  0.00%                       ‐               0.00%           Total Salaries, Wages, and Bonuses                              ‐               0.00%                            ‐                  0.00%                 2,215.78                1.63%

                                                                                                                               Payroll‐Related Expenses
                        0.00%                                             0.00%                      ‐                0.00% Payroll Taxes                                                                             0.00%                                               0.00%                   189.34                0.14%
                        0.00%                                             0.00%                      ‐                0.00% Supplemental Pay                                                                          0.00%                                               0.00%                   178.91                0.13%
                        0.00%                                             0.00%                      ‐                0.00% Employee Benefits                                                                         0.00%                                               0.00%                    94.94                0.07%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                          ‐                  0.00%                       ‐               0.00%        Total Payroll‐Related Benefits                                     ‐               0.00%                            ‐                  0.00%                   463.19                0.34%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                          ‐                  0.00%                       ‐               0.00% Total Payroll and Related Expenses                                        ‐               0.00%                            ‐                  0.00%                 2,678.97                1.97%

                                                                                                                               Other Expenses
                        0.00%                                             0.00%                       ‐               0.00% Operating Supplies                                                                        0.00%                                               0.00%                   374.76                0.28%
                ‐       0.00%                     351.00                  3.10%                   529.90              6.00% Dishwashing Supplies                                               1,184.75               1.66%                     4,382.00                  3.10%                 4,449.90                3.27%
                        0.00%                                             0.00%                       ‐               0.00% China                                                                                     0.00%                                               0.00%                    71.06                0.05%
                        0.00%                                             0.00%                       ‐               0.00% Flatware                                                                                  0.00%                                               0.00%                   113.83                0.08%
                        0.00%                                             0.00%                      ‐                0.00% Glassware                                                                                 0.00%                                               0.00%                   106.07                0.08%
                        0.00%                                             0.00%                      ‐                0.00% Ice                                                                                       0.00%                                               0.00%                    44.55                0.03%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                     351.00                  3.10%                   529.90              6.00%         Total Other Expenses                                        1,184.75              1.66%                    4,382.00                   3.10%                 5,160.17                3.79%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
                 ‐      0.00%                     351.00                  3.10%                   529.90              6.00% Total Expenses                                                      1,184.75              1.66%                    4,382.00                   3.10%                 7,839.14                5.76%
‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐          ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐                                                       ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐   ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐ ‐   ‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
          $2,727.58    93.94%                  $8,096.00                71.56%                 $6,358.71            71.96% Departmental Income (Loss)                                         $55,874.47            78.25%                 $102,910.00                  72.79%                $96,243.95              70.67%
                            =                                  ===========                                 ===========                                                                                     ===========                                         ===========                                   ===========
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                                                                                    Scottsdale
                                                                                                    Hersha Hospitality Management LP
                                                                                                 For the Month Ending December 31, 2020
                                Current Month                                                                                                                                 Year-To-Date
    Actual                   Budget                           Actual                                                                          Actual                      Budget                           Actual
December 2020            December 2020                    December 2019                                       In Balance                  December 2020               December 2020                    December 2019

                                                                                                 Beverage Department Schedule

                                                                                      Revenue
           ‐     0.00%          7,229.00        100.00%         7,134.00    100.00%    Outlet Beverage Revenue                                 27,963.49     92.82%        116,782.00         96.65%       117,865.12     96.94%
           ‐     0.00%              0.00          0.00%              ‐        0.00%    Banquet/Catering Bev Revenue                             2,163.25      7.18%          4,050.00          3.35%         3,725.25      3.06%

           ‐     0.00%          7,229.00        100.00%         7,134.00    100.00%     Total Beverage Revenue                                 30,126.74    100.00%        120,832.00        100.00%       121,590.37    100.00%
                                                                                      Other Revenue

           ‐     0.00%               ‐            0.00%              ‐        0.00%     Total Other Revenue                                          ‐        0.00%               ‐            0.00%              ‐        0.00%

           ‐     0.00%          7,229.00        100.00%         7,134.00    100.00% Total Revenue                                              30,126.74    100.00%        120,832.00        100.00%       121,590.37    100.00%

           ‐     0.00%          2,344.00         32.42%         3,572.68     50.08% Cost of Beverage Sales                                      8,838.68     29.34%         37,432.00         30.98%        40,027.78     32.92%

                                                                                      Cost of Other Revenue

           ‐     0.00%               ‐            0.00%              ‐        0.00%     Total Cost of Other Revenue                                  ‐        0.00%               ‐            0.00%              ‐        0.00%

           ‐     0.00%          2,344.00         32.42%         3,572.68     50.08% Total Cost of Beverage Sales and Other Revenue              8,838.68     29.34%         37,432.00         30.98%        40,027.78     32.92%

           ‐     0.00%          4,885.00         67.58%         3,561.32     49.92% Gross Profit (Loss)                                        21,288.06     70.66%         83,400.00         69.02%        81,562.59     67.08%


                                                                                      Expenses
                                                                                     Payroll and Related Expenses
                                                                                      Salaries, Wages, and Bonuses
                                                                                       Salaries and Wages
           ‐     0.00%              0.00          0.00%              ‐        0.00% Beverage Service Payroll                                    1,914.00      6.35%          4,800.00          3.97%         5,047.18      4.15%

           ‐     0.00%               ‐            0.00%              ‐        0.00%        Total Salaries and Wages                             1,914.00      6.35%          4,800.00          3.97%         5,047.18      4.15%

                 0.00%                            0.00%              ‐        0.00% Bonuses & Incentives                                                      0.00%                            0.00%           100.00      0.08%

           ‐     0.00%               ‐            0.00%              ‐        0.00%        Total Salaries, Wages, and Bonuses                   1,914.00      6.35%          4,800.00          3.97%         5,147.18      4.23%

                                                                                     Payroll‐Related Expenses
           ‐     0.00%              0.00          0.00%              ‐        0.00% Payroll Taxes                                                 285.78      0.95%            550.00          0.46%           821.72      0.68%
           ‐     0.00%                            0.00%              ‐        0.00% Employee Benefits                                              71.90      0.24%                            0.00%           100.32      0.08%

           ‐     0.00%               ‐            0.00%              ‐        0.00%        Total Payroll‐Related Benefits                         357.68      1.19%           550.00           0.46%           922.04      0.76%

           ‐     0.00%               ‐            0.00%              ‐        0.00%    Total Payroll and Related Expenses                       2,271.68      7.54%          5,350.00          4.43%         6,069.22      4.99%

                                                                                      Other Expenses
           ‐     0.00%                            0.00%              ‐        0.00%    Operating Supplies                                         216.10      0.72%                            0.00%           110.89      0.09%
           ‐     0.00%              0.00          0.00%              ‐        0.00%    Licenses & Permits                                         175.00      0.58%            175.00          0.14%           175.00      0.14%

           ‐     0.00%               ‐            0.00%              ‐        0.00%        Total Other Expenses                                   391.10      1.30%           175.00           0.14%           285.89      0.24%


           ‐     0.00%               ‐            0.00%              ‐        0.00% Total Expenses                                              2,662.78      8.84%          5,525.00          4.57%         6,355.11      5.23%


         $0.00   0.00%         $4,885.00         67.58%         $3,561.32    49.92% Departmental Income (Loss)                                 $18,625.28    61.82%        $77,875.00         64.45%        $75,207.48    61.85%
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                                                                         Scottsdale
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document       56
                                                         259‐Hyatt House       Filed 01/26/21 Page 493 of 541
                                                                         Scottsdale
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document       56
                                                         259‐Hyatt House       Filed 01/26/21 Page 494 of 541
                                                                         Scottsdale
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document       56
                                                         259‐Hyatt House       Filed 01/26/21 Page 495 of 541
                                                                         Scottsdale
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document       56
                                                         259‐Hyatt House       Filed 01/26/21 Page 496 of 541
                                                                         Scottsdale
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document       56
                                                         259‐Hyatt House       Filed 01/26/21 Page 497 of 541
                                                                         Scottsdale
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document       56
                                                         259‐Hyatt House       Filed 01/26/21 Page 498 of 541
                                                                         Scottsdale
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document       56
                                                         259‐Hyatt House       Filed 01/26/21 Page 499 of 541
                                                                         Scottsdale
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                              Case 1:20-cv-06089-JGK Document       56
                                                                       259‐Hyatt House       Filed 01/26/21 Page 500 of 541
                                                                                       Scottsdale
                                                                                                        Hersha Hospitality Management LP
                                                                                                     For the Month Ending December 31, 2020
                                   Current Month                                                                                                                                  Year-To-Date
    Actual                      Budget                           Actual                                                                           Actual                      Budget                           Actual
December 2020               December 2020                    December 2019                                       In Balance                   December 2020               December 2020                    December 2019



                                                                                                           Other / Miscellaneous
                                                                                         Revenue
      2,237.00     28.86%          4,016.00         52.58%         3,932.00     51.02%    Gift & Market Shop Non ‐ Tax                             26,223.75     33.75%         53,476.00         52.88%        51,212.75     45.55%
      1,993.74     25.72%          2,410.00         31.55%         2,686.69     34.86%    Gift & Market Shop Taxable                               23,878.89     30.73%         32,153.00         31.79%        34,192.65     30.41%
        334.00      4.31%            462.00          6.05%           390.00      5.06%    Guest Laundry/Valet                                       4,012.83      5.16%          5,955.00          5.89%         6,440.55      5.73%
      3,186.29     41.11%            750.00          9.82%           697.93      9.06%    Other Miscellaneous Revenue                              23,125.88     29.76%          9,550.00          9.44%         9,669.17      8.60%
           ‐        0.00%                            0.00%              ‐        0.00%    Audit Results                                               457.47      0.59%                            0.00%        10,909.79      9.70%

      7,751.03    100.00%          7,638.00        100.00%         7,706.62    100.00%      Total Other/Miscellaneous Revenue                      77,698.82    100.00%        101,134.00        100.00%       112,424.91    100.00%

                                                                                         Cost of Sales
           ‐        0.00%                            0.00%              ‐        0.00%    Cost of Banquet F&B‐Select Svc                                 ‐        0.00%                            0.00%           139.91      0.00%
      1,320.19     31.20%          2,209.00         34.38%         2,359.99     35.66%    Cost of Gift Shop Merchandise                            16,281.85     32.50%         29,412.00         34.35%        29,074.45     34.04%
        291.59     87.30%            416.00         90.04%           298.56     76.55%    Cost of Guest Laundry/Valet                               2,890.43     72.03%          5,360.00         90.01%         5,594.68     86.87%

      1,611.78     20.79%          2,625.00         34.37%         2,658.55     34.50%      Total Other/Miscellaneous Cost of Sales                19,172.28     24.68%         34,772.00         34.38%        34,809.04     30.96%
      $6,139.25    79.21%         $5,013.00         65.63%         $5,048.07    65.50% Departmental Income (Loss)                                  $58,526.54    75.32%        $66,362.00         65.62%        $77,615.87    69.04%
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                                                                                      Scottsdale
                                                                                                     Hersha Hospitality Management LP
                                                                                                  For the Month Ending December 31, 2020
                                  Current Month                                                                                                                                Year-To-Date
    Actual                     Budget                           Actual                                                                         Actual                      Budget                           Actual
December 2020              December 2020                    December 2019                                     In Balance                   December 2020               December 2020                    December 2019



                                                                                                      Rentals and Other Income
                                                                                        Revenue
        236.63    93.95%            446.00        100.00%           768.37     71.15%    Commissions                                             2,975.07     50.44%          5,748.00        100.00%         5,686.42     37.20%
         15.24     6.05%                            0.00%            33.54      3.11%    Cash Discounts Earned                                     206.59      3.50%                            0.00%         3,639.23     23.80%
           ‐       0.00%                            0.00%           278.00     25.74%    Cancellation Penalties                                  2,716.23     46.05%                            0.00%         5,962.11     39.00%

        251.87   100.00%           446.00         100.00%         1,079.91    100.00%    Total Rentals and Other Income                          5,897.89    100.00%          5,748.00        100.00%        15,287.76    100.00%



       $251.87   100.00%           $446.00        100.00%         $1,079.91   100.00%    Total Rentals and Other Income                          $5,897.89   100.00%         $5,748.00        100.00%        $15,287.76   100.00%
                                             Case 1:20-cv-06089-JGK Document       56
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                                                                                      Scottsdale
                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                  Current Month                                                                                                                              Year-To-Date
    Actual                     Budget                         Actual                                                                         Actual                      Budget                         Actual
December 2020              December 2020                  December 2019                                     In Balance                   December 2020               December 2020                  December 2019



                                                                                                   Administrative and General
                                                                                     Expenses
                                                                                    Payroll and Related Expenses
                                                                                      Salaries, Wages, and Bonuses
                                                                                       Salaries and Wages
     12,080.47     3.69%         13,762.00        2.34%        10,661.57     1.85% A&G Management                                            127,629.71     2.82%         162,421.00        1.82%       144,411.52    1.65%
           ‐       0.00%          2,706.00        0.46%         2,428.52     0.42% Security                                                    8,826.23     0.19%          31,249.00        0.35%        29,438.59    0.34%
      1,694.57     0.52%                          0.00%                      0.00% A&G Contract Labor                                          8,944.62     0.20%                           0.00%                     0.00%

     13,775.04     4.21%         16,468.00        2.80%        13,090.09     2.28%        Total Salaries and Wages                           145,400.56     3.21%         193,670.00        2.16%       173,850.11    1.99%

           ‐       0.00%          1,600.00        0.27%         4,456.50     0.77% Bonuses & Incentives                                        (6,143.00)   ‐0.14%         19,200.00        0.21%        32,075.50    0.37%

     13,775.04     4.21%         18,068.00        3.07%        17,546.59     3.05%        Total Salaries, Wages, and Bonuses                 139,257.56     3.07%         212,870.00        2.38%       205,925.61    2.35%

                                                                                    Payroll‐Related Expenses
        878.83     0.27%          1,442.00        0.24%         1,511.25     0.26% Payroll Taxes                                               9,987.39     0.22%          16,908.00        0.19%        17,990.59    0.21%
      1,245.10     0.38%            791.00        0.13%         1,576.85     0.27% Supplemental Pay                                           11,981.60     0.26%           5,292.00        0.06%        17,318.22    0.20%
      1,306.06     0.40%          1,991.00        0.34%         1,114.28     0.19% Employee Benefits                                          19,689.02     0.43%          23,888.00        0.27%        19,572.28    0.22%

      3,429.99     1.05%          4,224.00        0.72%         4,202.38     0.73%        Total Payroll‐Related Benefits                      41,658.01     0.92%          46,088.00        0.52%        54,881.09    0.63%

     17,205.03     5.26%         22,292.00        3.79%        21,748.97     3.78%    Total Payroll and Related Expenses                     180,915.57     3.99%         258,958.00        2.89%       260,806.70    2.98%

                                                                                     Other Expenses
        310.54     0.09%            250.00        0.04%           (59.53)   ‐0.01%    Operating Supplies                                       1,346.40     0.03%           3,000.00        0.03%         2,164.37    0.02%
           ‐       0.00%                          0.00%                      0.00%    Dues & Subscriptions                                        25.00     0.00%                           0.00%                     0.00%
           ‐       0.00%              0.00        0.00%              ‐       0.00%    Associate Training                                       3,542.66     0.08%           2,000.00        0.02%         2,799.00    0.03%
           ‐       0.00%                          0.00%              ‐       0.00%    Professional Fees                                          318.00     0.01%                           0.00%         2,239.34    0.03%
        772.00     0.24%                          0.00%              ‐       0.00%    Legal Fees                                                 772.00     0.02%                           0.00%           995.06    0.01%
        997.79     0.30%          1,268.00        0.22%         1,114.48     0.19%    Bank Charges                                            12,887.15     0.28%          15,216.00        0.17%        14,808.96    0.17%
        699.26     0.21%          1,500.00        0.25%           725.61     0.13%    Human Resources                                          2,561.45     0.06%           6,300.00        0.07%         5,468.89    0.06%
        360.00     0.11%            360.00        0.06%           360.00     0.06%    Payroll Processing Fees                                  4,320.00     0.10%           4,320.00        0.05%         4,320.00    0.05%
           ‐       0.00%                          0.00%                      0.00%    Audit Fees                                                  91.49     0.00%                           0.00%                     0.00%
      3,353.67     1.02%          3,354.00        0.57%         3,256.00     0.57%    Centralized Accounting Fees                             40,244.04     0.89%          40,248.00        0.45%        39,072.00    0.45%
        360.75     0.11%            361.00        0.06%           204.00     0.04%    Centralized HR Fees                                      4,329.00     0.10%           4,332.00        0.05%         2,448.00    0.03%
        489.85     0.15%            500.00        0.08%         1,049.77     0.18%    Contract Services                                        6,627.22     0.15%           6,000.00        0.07%         6,484.43    0.07%
           ‐       0.00%              0.00        0.00%           246.12     0.04%    Uniforms                                                    35.00     0.00%               0.00        0.00%           252.62    0.00%
           ‐       0.00%                          0.00%          (189.27)   ‐0.03%    Bad Debt Expense                                          (220.17)    0.00%                           0.00%           699.06    0.01%
        779.58     0.24%              0.00        0.00%        11,357.49     1.97%    Chargebacks                                             11,636.35     0.26%               0.00        0.00%        19,053.78    0.22%
          0.44     0.00%                          0.00%             3.31     0.00%    Sales Tax Under Collection                                 153.08     0.00%                           0.00%           193.64    0.00%
      8,207.00     2.51%         16,195.00        2.75%        18,443.10     3.21%    Credit Card Commissions                                124,577.85     2.75%         246,089.00        2.75%       242,513.54    2.77%
         (0.59)    0.00%                          0.00%           (10.19)    0.00%    Cash Over / Short                                            8.18     0.00%                           0.00%           117.72    0.00%
        191.66     0.06%            240.00        0.04%           176.66     0.03%    Licenses & Permits                                       5,969.74     0.13%           4,925.00        0.06%         5,013.13    0.06%
           ‐       0.00%                          0.00%              ‐       0.00%    Business Promotion ‐ Hotel                                 268.12     0.01%                           0.00%           279.61    0.00%
         38.14     0.01%             50.00        0.01%            54.21     0.01%    Postage & Freight                                          616.75     0.01%             600.00        0.01%           791.10    0.01%
                   0.00%                          0.00%              ‐       0.00%    Guest Relations                                                       0.00%                           0.00%            46.46    0.00%
           ‐       0.00%            325.00        0.06%           465.16     0.08%    Travel                                                     639.43     0.01%           4,575.00        0.05%         5,220.20    0.06%
           ‐       0.00%            113.00        0.02%              ‐       0.00%    Meals & Entertainment                                       90.93     0.00%           1,356.00        0.02%         1,133.31    0.01%
           ‐       0.00%                          0.00%                      0.00%    Tax Penalties & Interest                                   156.70     0.00%                           0.00%                     0.00%
       (103.31)   ‐0.03%                          0.00%              ‐       0.00%    P‐Card Miscellaneous                                       299.83     0.01%                           0.00%              ‐      0.00%

     16,456.78     5.03%         24,516.00        4.16%        37,196.92     6.47%        Total Other Expenses                               221,296.20     4.88%         338,961.00        3.79%       356,114.22    4.07%
     $33,661.81   10.28%        $46,808.00        7.95%        $58,945.89   10.25% Total Expenses                                            $402,211.77    8.88%        $597,919.00        6.68%       $616,920.92   7.05%
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                                                                                      Scottsdale
                                                                                                  Hersha Hospitality Management LP
                                                                                               For the Month Ending December 31, 2020
                                  Current Month                                                                                                                           Year-To-Date
    Actual                     Budget                         Actual                                                                        Actual                    Budget                         Actual
December 2020              December 2020                  December 2019                                     In Balance                  December 2020             December 2020                  December 2019



                                                                                        Information & Telecommunication Systems
                                                                                    Expenses
                                                                                    Cost of Services
       (750.36)   ‐0.23%            800.00        0.14%         1,570.09    0.27%    Cost of Calls                                           18,372.86    0.41%         12,000.00        0.13%        18,617.59    0.21%
        120.00     0.04%            150.00        0.03%           170.00    0.03%    Cost of Cell Phones                                      1,520.00    0.03%          1,800.00        0.02%         1,900.00    0.02%
      1,356.79     0.41%          1,800.00        0.31%         4,139.61    0.72%    Cost of Internet Service                                39,631.08    0.87%         27,900.00        0.31%        49,179.92    0.56%

        726.43    0.22%           2,750.00        0.47%         5,879.70    1.02%        Total Cost of Services                              59,523.94    1.31%         41,700.00        0.47%        69,697.51    0.80%

                                                                                    System Expenses
        308.33    0.09%             308.00        0.05%           308.33    0.05%     BI Software                                             3,700.00    0.08%          3,696.00        0.04%         3,700.00    0.04%
      1,271.00    0.39%           1,271.00        0.22%         1,234.00    0.21%     Centralized IT/IS Fees                                 15,252.00    0.34%         15,252.00        0.17%        14,808.00    0.17%
                  0.00%                           0.00%              ‐      0.00%     Hardware                                                            0.00%                          0.00%           409.90    0.00%
        285.83    0.09%             286.00        0.05%           214.00    0.04%     Information Security ‐ PCI                              3,429.96    0.08%          3,432.00        0.04%         3,329.90    0.04%
         63.58    0.02%             130.00        0.02%           233.98    0.04%     Information Systems/IT                                  1,925.95    0.04%          1,560.00        0.02%         1,112.84    0.01%
      1,555.60    0.48%           1,500.00        0.25%         1,440.80    0.25%     Rooms                                                  19,459.41    0.43%         18,000.00        0.20%        19,881.46    0.23%
        276.00    0.08%             480.00        0.08%         1,060.37    0.18%     Sales & Marketing                                       3,686.26    0.08%          8,515.00        0.10%         6,250.31    0.07%

      3,760.34    1.15%           3,975.00        0.67%         4,491.48    0.78%        Total System Expenses                               47,453.58    1.05%         50,455.00        0.56%        49,492.41    0.57%

                                                                                    Other Expenses
        123.03    0.04%             115.00        0.02%           119.13    0.02%    Contract Services                                        5,029.07    0.11%          3,009.00        0.03%         3,256.61    0.04%

        123.03    0.04%            115.00         0.02%           119.13    0.02%        Total Other Expenses                                 5,029.07    0.11%          3,009.00        0.03%         3,256.61    0.04%

      $4,609.80   1.41%          $6,840.00        1.16%        $10,490.31   1.82% Total Expenses                                            $112,006.59   2.47%        $95,164.00        1.06%       $122,446.53   1.40%
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                                                                                      Scottsdale
                                                                                                    Hersha Hospitality Management LP
                                                                                                 For the Month Ending December 31, 2020
                                  Current Month                                                                                                                              Year-To-Date
    Actual                     Budget                          Actual                                                                         Actual                     Budget                          Actual
December 2020              December 2020                   December 2019                                     In Balance                   December 2020              December 2020                   December 2019

                                                                                                        Sales and Marketing
                                                                                      Expenses
                                                                                     Payroll and Related Expenses
                                                                                       Salaries, Wages, and Bonuses
                                                                                        Salaries and Wages
      3,842.16     1.17%         10,496.00         1.78%         9,028.00     1.57% Sales & Marketing Management                               59,983.98     1.32%        123,880.00         1.38%       102,605.67     1.17%
           ‐       0.00%          2,434.00         0.41%         1,791.01     0.31% Admin Support                                               2,996.13     0.07%         28,725.00         0.32%        25,819.39     0.29%

      3,842.16     1.17%         12,930.00         2.20%        10,819.01     1.88%        Total Salaries and Wages                            62,980.11     1.39%        152,605.00         1.71%       128,425.06     1.47%

           ‐       0.00%          1,300.00         0.22%         2,232.00     0.39% Bonuses & Incentives                                         (471.57)   ‐0.01%         15,600.00         0.17%        26,764.54     0.31%

      3,842.16     1.17%         14,230.00         2.42%        13,051.01     2.27%        Total Salaries, Wages, and Bonuses                  62,508.54     1.38%        168,205.00         1.88%       155,189.60     1.77%

                                                                                     Payroll‐Related Expenses
        300.74     0.09%          1,144.00         0.19%         1,208.79     0.21% Payroll Taxes                                               5,114.73     0.11%         13,426.00         0.15%        13,006.15     0.15%
        436.55     0.13%            720.00         0.12%         1,010.05     0.18% Supplemental Pay                                            4,205.44     0.09%          4,800.00         0.05%         9,059.62     0.10%
        486.95     0.15%          1,173.00         0.20%         1,108.22     0.19% Employee Benefits                                           8,197.27     0.18%         14,048.00         0.16%        12,980.89     0.15%

      1,224.24     0.37%          3,037.00         0.52%         3,327.06     0.58%        Total Payroll‐Related Benefits                      17,517.44     0.39%         32,274.00         0.36%        35,046.66     0.40%

      5,066.40     1.55%         17,267.00         2.93%        16,378.07     2.85%    Total Payroll and Related Expenses                      80,025.98     1.77%        200,479.00         2.24%       190,236.26     2.17%

                                                                                      Other Expenses
           ‐       0.00%            300.00         0.05%           680.01     0.12%    Operating Supplies                                         310.29     0.01%           1,600.00        0.02%         2,406.86     0.03%
                   0.00%              0.00         0.00%              ‐       0.00%    Collateral ‐ Hotel                                                    0.00%             300.00        0.00%           122.25     0.00%
           ‐       0.00%                           0.00%            93.23     0.02%    Complimentary Services and Gif                               3.49     0.00%                           0.00%           279.72     0.00%
        631.65     0.19%          1,385.00         0.24%         2,106.33     0.37%    Dues & Subscriptions ‐ Hotel                            18,742.12     0.41%         19,987.00         0.22%        22,505.37     0.26%
                   0.00%              0.00         0.00%              ‐       0.00%    Training ‐ Hotel                                                      0.00%          3,700.00         0.04%           400.51     0.00%
           ‐       0.00%          1,171.00         0.20%         1,076.60     0.19%    E‐Commerce ‐ Hotel                                       2,711.40     0.06%         14,016.00         0.16%        13,963.62     0.16%
      6,377.90     1.95%         11,246.00         1.91%        11,041.96     1.92%    Franchise & Affiliation Advert                          87,102.40     1.92%        171,593.00         1.92%       166,484.38     1.90%
     18,405.53     5.62%         28,115.00         4.77%        22,154.75     3.85%    Franchise Fees                                         188,563.87     4.16%        379,913.00         4.25%       333,281.95     3.81%
      8,119.93     2.48%         10,121.00         1.72%        10,175.17     1.77%    Loyalty Programs/Frequent Flye                          92,038.19     2.03%        154,434.00         1.73%       150,390.86     1.72%
        332.50     0.10%          1,082.00         0.18%           957.50     0.17%    Media (Advertising/Directories                           6,490.00     0.14%         10,484.00         0.12%         9,280.00     0.11%
                   0.00%              0.00         0.00%              ‐       0.00%    Photography Services & Fees ‐                                         0.00%          3,563.00         0.04%         3,562.50     0.04%
      3,125.00     0.95%          4,272.00         0.73%         4,148.00     0.72%    Revenue Management Fees                                 40,047.27     0.88%         51,264.00         0.57%        49,776.00     0.57%
        150.00     0.05%              0.00         0.00%           150.00     0.03%    Dues & Subscriptions ‐ Corpora                           1,650.00     0.04%             59.00         0.00%         2,251.00     0.03%
           ‐       0.00%              0.00         0.00%              ‐       0.00%    Trade Shows ‐ Corporate                                    107.49     0.00%            141.00         0.00%            52.47     0.00%
         13.46     0.00%             12.00         0.00%             6.79     0.00%    E‐Commerce ‐ Corporate                                     127.37     0.00%            144.00         0.00%           138.30     0.00%
         59.91     0.02%            100.00         0.02%           788.06     0.14%    Business Promotion ‐ Hotel                                 562.62     0.01%          7,925.00         0.09%         8,459.83     0.10%
                   0.00%            100.00         0.02%            54.75     0.01%    Postage & Freight                                                     0.00%            250.00         0.00%           274.30     0.00%
        461.87     0.14%            709.00         0.12%           686.00     0.12%    National Sales Allocation                                6,284.27     0.14%          8,508.00         0.10%         8,232.00     0.09%
           ‐       0.00%              0.00         0.00%              ‐       0.00%    Printing & Stationery                                      163.75     0.00%            525.00         0.01%           134.60     0.00%
           ‐       0.00%             75.00         0.01%            32.29     0.01%    Travel                                                     308.22     0.01%          3,000.00         0.03%         2,678.59     0.03%
           ‐       0.00%            200.00         0.03%             4.28     0.00%    Meals & Entertainment                                       33.55     0.00%          2,150.00         0.02%         1,221.65     0.01%

     37,677.75    11.51%         58,888.00        10.00%        54,155.72     9.42%        Total Other Expenses                               445,246.30     9.83%        833,556.00         9.31%       775,896.76     8.87%
     $42,744.15   13.06%        $76,155.00        12.93%        $70,533.79   12.26% Total Expenses                                            $525,272.28   11.59%      $1,034,035.00       11.56%       $966,133.02   11.04%
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                                                                                      Scottsdale
                                                                                                  Hersha Hospitality Management LP
                                                                                               For the Month Ending December 31, 2020
                                  Current Month                                                                                                                           Year-To-Date
    Actual                     Budget                         Actual                                                                        Actual                    Budget                         Actual
December 2020              December 2020                  December 2019                                    In Balance                   December 2020             December 2020                  December 2019



                                                                                           Property Operation and Maintenance
                                                                                    Expenses
                                                                                   Payroll and Related Expenses
                                                                                    Salaries, Wages, and Bonuses
                                                                                     Salaries and Wages
      5,750.00    1.76%           4,680.00        0.79%         2,411.55    0.42% R&M Management                                             18,246.09    0.40%         52,893.00        0.59%        50,324.88    0.57%
      2,461.73    0.75%           3,717.00        0.63%         3,729.17    0.65% R&M Non‐Management                                         39,798.72    0.88%         43,869.00        0.49%        40,445.13    0.46%
      1,992.15    0.61%           5,549.00        0.94%         5,678.11    0.99% R&M Contract Labor                                         28,601.70    0.63%         65,491.00        0.73%        64,745.15    0.74%

     10,203.88    3.12%          13,946.00        2.37%        11,818.83    2.05%       Total Salaries and Wages                             86,646.51    1.91%        162,253.00        1.81%       155,515.16    1.78%

                  0.00%                           0.00%              ‐      0.00% Bonuses & Incentives                                                    0.00%                          0.00%           100.00    0.00%

     10,203.88    3.12%          13,946.00        2.37%        11,818.83    2.05%       Total Salaries, Wages, and Bonuses                   86,646.51    1.91%        162,253.00        1.81%       155,615.16    1.78%

                                                                                   Payroll‐Related Expenses
        759.66    0.23%             690.00        0.12%           547.26    0.10% Payroll Taxes                                               4,697.21    0.10%          7,954.00        0.09%         7,289.85    0.08%
        904.33    0.28%             616.00        0.10%           593.07    0.10% Supplemental Pay                                            4,916.39    0.11%          4,956.00        0.06%         6,837.52    0.08%
        747.91    0.23%           1,114.00        0.19%           585.20    0.10% Employee Benefits                                           9,373.80    0.21%         13,202.00        0.15%        13,569.91    0.16%

      2,411.90    0.74%           2,420.00        0.41%         1,725.53    0.30%       Total Payroll‐Related Benefits                       18,987.40    0.42%         26,112.00        0.29%        27,697.28    0.32%

     12,615.78    3.85%          16,366.00        2.78%        13,544.36    2.35%    Total Payroll and Related Expenses                     105,633.91    2.33%        188,365.00        2.10%       183,312.44    2.09%

                                                                                    Other Expenses
          6.53     0.00%            116.00        0.02%           288.46    0.05%    Operating Supplies                                       2,537.63    0.06%          1,501.00        0.02%         1,721.89    0.02%
        482.14     0.15%          1,004.00        0.17%           199.24    0.03%    Building                                                 2,317.80    0.05%         12,911.00        0.14%        11,720.76    0.13%
           ‐       0.00%            217.00        0.04%           127.92    0.02%    Laundry Equipment                                        1,543.15    0.03%          2,798.00        0.03%         2,663.24    0.03%
      1,325.67     0.40%            651.00        0.11%           650.12    0.11%    Light Bulbs                                              3,660.54    0.08%          8,391.00        0.09%         8,534.22    0.10%
        525.00     0.16%            715.00        0.12%           788.72    0.14%    Waste Removal                                            8,272.26    0.18%          8,580.00        0.10%         8,736.47    0.10%
        329.00     0.10%            600.00        0.10%         1,009.56    0.18%    Contract Services                                        5,783.99    0.13%          7,200.00        0.08%         7,910.94    0.09%
      1,390.08     0.42%          1,390.00        0.24%         1,089.80    0.19%    Corporate Engineering Fees                              16,680.96    0.37%         16,680.00        0.19%        12,893.44    0.15%
           ‐       0.00%              0.00        0.00%              ‐      0.00%    Travel                                                     255.84    0.01%            500.00        0.01%           348.75    0.00%
           ‐       0.00%                          0.00%                     0.00%    Meals & Entertainment                                       14.13    0.00%                          0.00%                     0.00%
          9.99     0.00%             29.00        0.00%            15.52    0.00%    Electrical & Mechanical Equipm                             266.35    0.01%            378.00        0.00%           266.17    0.00%
        144.86     0.04%            183.00        0.03%           492.99    0.09%    Engineering Supplies                                     1,639.60    0.04%          2,376.00        0.03%         2,695.27    0.03%
           ‐       0.00%                          0.00%              ‐      0.00%    Furniture & Equipment                                      752.11    0.02%                          0.00%           309.70    0.00%
      2,728.00     0.83%          2,650.00        0.45%         2,388.00    0.42%    Grounds Maintenance and Landsc                          39,546.00    0.87%         36,080.00        0.40%        36,165.75    0.41%
        351.34     0.11%          1,606.00        0.27%           666.25    0.12%    HVAC                                                     5,582.50    0.12%         20,713.00        0.23%        17,317.45    0.20%
           ‐       0.00%            327.00        0.06%              ‐      0.00%    Kitchen Equipment                                        1,020.64    0.02%          4,220.00        0.05%         3,787.70    0.04%
      6,940.94     2.12%            745.00        0.13%           689.00    0.12%    Life Safety                                             13,883.84    0.31%          8,990.00        0.10%        11,757.10    0.13%
        (39.82)   ‐0.01%             75.00        0.01%              ‐      0.00%    Painting & Decorating                                       64.03    0.00%            853.00        0.01%           688.91    0.01%
        612.11     0.19%            457.00        0.08%           554.33    0.10%    Swimming Pool                                            6,217.86    0.14%          5,484.00        0.06%         5,456.21    0.06%
        342.29     0.10%            462.00        0.08%           356.65    0.06%    Plumbing                                                 4,391.50    0.10%          5,955.00        0.07%         5,614.80    0.06%
                   0.00%            100.00        0.02%           229.95    0.04%    Vehicles                                                             0.00%            400.00        0.00%           341.07    0.00%

     15,148.13    4.63%          11,327.00        1.92%         9,546.51    1.66%       Total Other Expenses                                114,430.73    2.53%        144,010.00        1.61%       138,929.84    1.59%

     $27,763.91   8.48%         $27,693.00        4.70%        $23,090.87   4.01% Total Expenses                                            $220,064.64   4.86%       $332,375.00        3.71%       $322,242.28   3.68%
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                                                                                     Scottsdale
                                                                                                 Hersha Hospitality Management LP
                                                                                              For the Month Ending December 31, 2020
                                 Current Month                                                                                                                           Year-To-Date
    Actual                    Budget                         Actual                                                                        Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                    In Balance                   December 2020             December 2020                  December 2019



                                                                                                            Utilities

                                                                                   Utilities
      5,877.43    1.80%         14,458.00        2.46%         3,193.41    0.56%    Electricity                                            131,939.96    2.91%        184,038.00        2.06%       159,074.51    1.82%
      2,823.55    0.86%          2,610.00        0.44%         2,770.19    0.48%    Gas                                                     23,987.88    0.53%         34,079.00        0.38%        30,100.83    0.34%
      3,736.64    1.14%          3,775.00        0.64%         4,439.22    0.77%    Water                                                   45,707.79    1.01%         48,683.00        0.54%        45,696.56    0.52%
      1,771.80    0.54%          2,048.00        0.35%         3,069.40    0.53%    Sewer                                                   24,774.12    0.55%         26,413.00        0.30%        26,963.48    0.31%
     $14,209.42   4.34%        $22,891.00        3.89%        $13,472.22   2.34% Total Utilities                                           $226,409.75   5.00%       $293,213.00        3.28%       $261,835.38   2.99%
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                                                                                     Scottsdale
                                                                                               Hersha Hospitality Management LP
                                                                                            For the Month Ending December 31, 2020
                                 Current Month                                                                                                                         Year-To-Date
    Actual                    Budget                         Actual                                                                      Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                   In Balance                  December 2020             December 2020                  December 2019



                                                                                                     Management Fees

                                                                                   Management Fees
      9,820.91    3.00%         17,668.00        3.00%        17,255.10    3.00%    Base Fee                                             135,918.30    3.00%        268,461.00        3.00%       262,552.31    3.00%

      $9,820.91   3.00%        $17,668.00        3.00%        $17,255.10   3.00% Total Management Fees                                   $135,918.30   3.00%       $268,461.00        3.00%       $262,552.31   3.00%
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                                                                                    Scottsdale
                                                                                             Hersha Hospitality Management LP
                                                                                          For the Month Ending December 31, 2020
                                Current Month                                                                                                                       Year-To-Date
    Actual                   Budget                         Actual                                                                     Actual                   Budget                         Actual
December 2020            December 2020                  December 2019                                   In Balance                 December 2020            December 2020                  December 2019



                                                                                                Non Operating Income

                                                                                 Non Operating Income
        209.52   0.06%                          0.00%              ‐     0.00%    Interest Income                                          209.52   0.00%                          0.00%           210.58   0.00%

       $209.52   0.06%             $0.00        0.00%            $0.00   0.00% Total Non Operating Income Fees                            $209.52   0.00%             $0.00        0.00%          $210.58   0.00%
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                                                                                      Scottsdale
                                                                                                    Hersha Hospitality Management LP
                                                                                                 For the Month Ending December 31, 2020
                                  Current Month                                                                                                                               Year-To-Date
    Actual                     Budget                          Actual                                                                          Actual                     Budget                          Actual
December 2020              December 2020                   December 2019                                      In Balance                   December 2020              December 2020                   December 2019



                                                                                        Rent, Property and Other Taxes, and Insurance

                                                                                      Rent
    101,147.13    30.90%         82,175.00        13.95%        79,858.33    13.88%    Land and Buildings                                      979,588.76    21.62%        974,515.00        10.89%       829,841.66     9.48%

    101,147.13    30.90%         82,175.00        13.95%        79,858.33    13.88% Total Rent                                                 979,588.76    21.62%        974,515.00        10.89%       829,841.66     9.48%


                                                                                      Property and Other Taxes
     20,831.10     6.36%         29,903.00         5.08%        21,017.00     3.65%     Real Estate Taxes                                      122,756.87     2.71%        358,836.00         4.01%       252,202.95     2.88%

     20,831.10     6.36%         29,903.00         5.08%        21,017.00     3.65% Total Property and Other Taxes                             122,756.87     2.71%        358,836.00         4.01%       252,202.95     2.88%


                                                                                      Insurance
      6,901.76     2.11%          5,840.00         0.99%         6,132.67     1.07%     Building and Contents                                   74,996.71     1.66%         70,080.00         0.78%        51,761.31     0.59%
        390.00     0.12%            390.00         0.07%           379.00     0.07%     Risk Management                                          4,680.00     0.10%          4,680.00         0.05%         4,548.00     0.05%
           ‐       0.00%                           0.00%                      0.00%     Insurance Deductible                                    25,000.00     0.55%                           0.00%                      0.00%
      5,491.89     1.68%          2,837.00         0.48%         2,868.75     0.50%     General Liability Insurance                             55,553.65     1.23%         34,116.00         0.38%        34,187.93     0.39%

     12,783.65     3.91%          9,067.00         1.54%         9,380.42     1.63%     Total Insurance                                        160,230.36     3.54%        108,876.00         1.22%        90,497.24     1.03%


    $134,761.88   41.17%       $121,145.00        20.57%       $110,255.75   19.17% Total Rent, Property, and Other Taxes, and Insurance     $1,262,575.99   27.87%      $1,442,227.00       16.12%     $1,172,541.85   13.40%
                                Case 1:20-cv-06089-JGK Document       56
                                                         259‐Hyatt House       Filed 01/26/21 Page 510 of 541
                                                                         Scottsdale
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document       56
                                                         259‐Hyatt House       Filed 01/26/21 Page 511 of 541
                                                                         Scottsdale
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                              Case 1:20-cv-06089-JGK Document       56
                                                                       259‐Hyatt House       Filed 01/26/21 Page 512 of 541
                                                                                       Scottsdale
                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                   Current Month                                                                                                                             Year-To-Date
    Actual                      Budget                         Actual                                                                        Actual                      Budget                         Actual
December 2020               December 2020                  December 2019                                       In Balance                December 2020               December 2020                  December 2019



                                                                                                      Payroll‐Related Expenses
                                                                                      Payroll Taxes
            ‐      0.00%               ‐           0.00%               ‐      0.00%        Total Payroll Tax                                         ‐      0.00%               ‐           0.00%               ‐      0.00%

                                                                                      Employee Benefits
      (1,673.83)   ‐0.51%                          0.00%         (1,673.83)   ‐0.29% PTEB Allocation                                          (20,865.22)   ‐0.46%                          0.00%        (20,758.30)   ‐0.24%
       1,673.83     0.51%                          0.00%          1,673.83     0.29% Workers' Compenstion Insurance                            20,865.22     0.46%                          0.00%         20,758.30     0.24%

            ‐      0.00%               ‐           0.00%               ‐      0.00%        Total Employee Benefits                                   ‐      0.00%               ‐           0.00%               ‐      0.00%


          $0.00    0.00%              $0.00        0.00%             $0.00    0.00%        Total Payroll Taxes and Employee Benefits               $0.00    0.00%              $0.00        0.00%             $0.00    0.00%
                                Case 1:20-cv-06089-JGK Document       56
                                                         259‐Hyatt House       Filed 01/26/21 Page 513 of 541
                                                                         Scottsdale
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                             Case 1:20-cv-06089-JGK Document       56
                                                                      259‐Hyatt House       Filed 01/26/21 Page 514 of 541
                                                                                      Scottsdale
                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                  Current Month                                                                                                                             Year-To-Date
    Actual                     Budget                          Actual                                                                        Actual                     Budget                          Actual
December 2020              December 2020                   December 2019                                    In Balance                   December 2020              December 2020                   December 2019



                                                                                                              Interest

                                                                                      Interest
     85,161.78    26.01%         87,922.00        14.93%        86,826.08    15.10%     Interest Expense                                    1,023,985.96   22.60%       1,055,064.00       11.79%      1,046,267.78   11.95%

     $85,161.78   26.01%        $87,922.00        14.93%        $86,826.08   15.10%      Total Interest                                    $1,023,985.96   22.60%      $1,055,064.00       11.79%     $1,046,267.78   11.95%
                                           Case 1:20-cv-06089-JGK Document       56
                                                                    259‐Hyatt House       Filed 01/26/21 Page 515 of 541
                                                                                    Scottsdale
                                                                                              Hersha Hospitality Management LP
                                                                                           For the Month Ending December 31, 2020
                                Current Month                                                                                                                           Year-To-Date
    Actual                   Budget                         Actual                                                                      Actual                      Budget                         Actual
December 2020            December 2020                  December 2019                                   In Balance                  December 2020               December 2020                  December 2019



                                                                                                 Other Fixed Expenses

                                                                                 Other Fixed Expenses
           ‐     0.00%                          0.00%                    0.00%    Extraordinary Items                                    (24,899.08)   ‐0.55%                          0.00%                     0.00%
           ‐     0.00%                          0.00%           300.00   0.05%    Owner's Expense                                          5,377.95     0.12%                          0.00%         5,230.43    0.06%
         $0.00   0.00%             $0.00        0.00%          $300.00   0.05% Total Other Fixed Expenses                               ($19,521.13)   ‐0.43%             $0.00        0.00%         $5,230.43   0.06%
                                               Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                                        257‐Residence Inn    Filed 01/26/21 Page 516 of 541
                                                                                                             Hersha Hospitality Management LP
                                                                                                          For the Month Ending December 31, 2020
                                    Current Month                                                                                                                                            Year-To-Date
    Actual                       Budget                           Actual                                                                               Actual                            Budget                            Actual
December 2020                December 2020                    December 2019                                            In Balance                  December 2020                     December 2020                     December 2019

                                                                                                             Rooms Department Schedule
                                                                                               Room Revenue Component Statistics
         3,720                         3,720                           3,720                   Rooms Available                                              43,920                            43,920                            43,800
         1,446                         2,595                           2,291                   Rooms Sold                                                   21,036                            32,227                            33,485
        38.87%                        69.76%                          61.59%                   % of Occupancy                                               47.90%                            73.38%                            76.45%
        111.70                        137.43                          132.09                   Average Daily Rate                                           129.18                            159.49                            154.42
         43.42                         95.87                           81.35                   RevPar                                                        61.87                            117.03                            118.05

                                                                                               Revenue
    132,794.18      82.22%        276,140.00         77.43%       269,006.77          88.89%    Transient Rooms Revenue                               2,277,567.74         83.81%        4,143,934.00        80.62%       4,201,238.29         81.25%
     28,543.00      17.67%         80,485.00         22.57%        37,034.72          12.24%    Group Rooms Revenue                                     453,668.00         16.69%          995,867.00        19.38%       1,017,545.40         19.68%
           ‐         0.00%                            0.00%              ‐             0.00%    Other Rooms Revenue                                         400.00          0.01%                             0.00%             946.00          0.02%
        179.25       0.11%              0.00          0.00%        (3,420.02)         ‐1.13%    Rooms Allowances                                        (14,149.14)        ‐0.52%                0.00         0.00%         (49,124.38)        ‐0.95%

    161,516.43     100.00%        356,625.00        100.00%       302,621.47        100.00%      Total Rooms Revenue                                  2,717,486.60        100.00%       5,139,801.00        100.00%       5,170,605.31        100.00%


                                                                                               Expenses
                                                                                                Payroll and Related Expenses
                                                                                                 Salaries, Wages, and Bonuses
                                                                                                  Salaries and Wages
      2,150.04       1.33%          4,184.00          1.17%         4,846.15          1.60%          Rooms Management                                   42,615.58           1.57%          48,270.00          0.94%         42,686.42           0.83%
      4,587.31       2.84%          5,510.00          1.55%         6,564.58          2.17%          Front Desk GSA                                     67,523.33           2.48%          79,321.00          1.54%         81,350.12           1.57%
      1,012.45       0.63%          3,849.00          1.08%         5,627.79          1.86%          Night Audit                                         9,165.49           0.34%          44,428.00          0.86%         39,887.26           0.77%
           ‐         0.00%          7,106.00          1.99%         5,514.54          1.82%          Breakfast Bar                                      15,458.03           0.57%          73,261.00          1.43%         72,844.67           1.41%
     16,962.78      10.50%         35,053.00          9.83%        34,119.82         11.27%          Rooms Contract Labor                              219,105.94           8.06%         454,928.00          8.85%        468,705.77           9.06%

     24,712.58      15.30%         55,702.00         15.62%        56,672.88          18.73%             Total Salaries and Wages                      353,868.37          13.02%         700,208.00         13.62%        705,474.24          13.64%

            ‐        0.00%            299.00          0.08%           928.45           0.31%       Bonuses & Incentives                                    420.00           0.02%            3,603.00         0.07%           6,543.68          0.13%

     24,712.58      15.30%         56,001.00         15.70%        57,601.33          19.03%          Total Salaries, Wages, and Bonuses               354,288.37          13.04%         703,811.00         13.69%        712,017.92          13.77%

                                                                                                Payroll‐Related Expenses
        857.64       0.53%          2,109.00          0.59%         2,520.58           0.83%     Payroll Taxes                                          14,876.28           0.55%          26,948.00          0.52%         26,487.14           0.51%
      1,182.47       0.73%          1,578.00          0.44%         2,240.27           0.74%     Supplemental Pay                                        8,761.21           0.32%          17,205.00          0.33%         13,964.55           0.27%
        384.29       0.24%            931.00          0.26%           533.81           0.18%     Employee Benefits                                       5,954.81           0.22%          11,173.00          0.22%         12,385.98           0.24%

      2,424.40       1.50%          4,618.00          1.29%         5,294.66           1.75%          Total Payroll‐Related Benefits                    29,592.30           1.09%          55,326.00          1.08%         52,837.67           1.02%

     27,136.98      16.80%         60,619.00        17.00%         62,895.99         20.78%     Total Payroll and Related Expenses                     383,880.67          14.13%         759,137.00         14.77%        764,855.59          14.79%

                                                                                               Other Expenses
           ‐         0.00%            337.00          0.09%           168.12           0.06%    Cleaning Supplies                                        3,483.26           0.13%           4,189.00          0.08%          4,488.79           0.09%
        805.59       0.50%          1,894.00          0.53%         1,492.39           0.49%    Guest Supplies                                          12,667.23           0.47%          23,525.00          0.46%         24,097.13           0.47%
        711.47       0.44%          1,168.00          0.33%         1,120.62           0.37%    Operating Supplies                                       7,486.59           0.28%          14,503.00          0.28%         13,656.48           0.26%
        586.45       0.36%            787.00          0.22%           764.69           0.25%    Linen                                                    8,219.07           0.30%           9,771.00          0.19%         11,191.64           0.22%
                     0.00%            185.00          0.05%                            0.00%    Decorations                                                                 0.00%             285.00          0.01%                             0.00%
          48.66      0.03%             18.00          0.01%             7.78           0.00%    VIP Amenities/Comp Gifts                                   872.44           0.03%             231.00          0.00%            534.11           0.01%
            ‐        0.00%          9,134.00          2.56%         5,831.16           1.93%    Complimentary Breakfast Food &                          33,031.18           1.22%         109,152.00          2.12%        116,044.81           2.24%
            ‐        0.00%          3,218.00          0.90%         3,259.78           1.08%    Complimentary Other F&B (Recep                           8,046.09           0.30%          39,963.00          0.78%         42,050.57           0.81%
            ‐        0.00%              0.00          0.00%              ‐             0.00%    Guest Relocation                                         2,750.62           0.10%               0.00          0.00%          2,053.10           0.04%
       1,457.96      0.90%          1,189.00          0.33%         1,783.18           0.59%    Laundry & Dry Cleaning                                   5,905.27           0.22%          13,631.00          0.27%         15,852.58           0.31%
            ‐        0.00%                            0.00%              ‐             0.00%    Training ‐ Hotel                                         1,254.25           0.05%                             0.00%            904.87           0.02%
            ‐        0.00%             23.00          0.01%            68.25           0.02%    Guest Transportation                                        13.80           0.00%             289.00          0.01%          3,482.16           0.07%
       1,785.60      1.11%          1,725.00          0.48%         1,781.60           0.59%    Cable / Satellite Television                            20,423.55           0.75%          22,144.00          0.43%         22,762.40           0.44%
     (10,130.49)    ‐6.27%          4,493.00          1.26%         5,889.11           1.95%    Commissions                                             44,850.14           1.65%          80,793.00          1.57%        101,387.71           1.96%
     (42,104.76)   ‐26.07%          4,993.00          1.40%         1,108.33           0.37%    Commissions & Rebates ‐ Group                           24,791.07           0.91%          71,959.00          1.40%         71,489.61           1.38%
         282.15      0.17%            677.00          0.19%           832.95           0.28%    Reservations                                             2,693.25           0.10%           6,839.00          0.13%          6,631.20           0.13%
            ‐        0.00%                            0.00%              ‐             0.00%    Contract Services                                             ‐             0.00%                             0.00%            798.04           0.02%
            ‐        0.00%                            0.00%                            0.00%    Uniforms                                                   373.33           0.01%                             0.00%                             0.00%
                     0.00%              0.00          0.00%              ‐             0.00%    Licenses & Permits                                                          0.00%            1,000.00         0.02%            857.75           0.02%
            ‐        0.00%                            0.00%              ‐             0.00%    Postage & Freight                                             2.80          0.00%                             0.00%             11.30           0.00%
                     0.00%                            0.00%           156.60           0.05%    Travel                                                                      0.00%                             0.00%            156.60           0.00%
                     0.00%                            0.00%            41.00           0.01%    Meals & Entertainment                                                       0.00%                             0.00%             41.00           0.00%

     (46,557.37)   ‐28.83%         29,841.00          8.37%        24,305.56           8.03%        Total Other Expenses                               176,863.94           6.51%         398,274.00          7.75%        438,491.85           8.48%

     (19,420.39)   ‐12.02%         90,460.00         25.37%        87,201.55         28.82% Total Expenses                                             560,744.61          20.63%       1,157,411.00         22.52%       1,203,347.44         23.27%

    $180,936.82    112.02%       $266,165.00         74.63%       $215,419.92         71.18% Departmental Income (Loss)                              $2,156,741.99          79.37%      $3,982,390.00         77.48%     $3,967,257.87          76.73%
                         =                     ===========                      ===========                                                                           ===========                       ===========                       ===========
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 517 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 518 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 519 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 520 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 521 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 522 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 523 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 524 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 525 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                             Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                                      257‐Residence Inn    Filed 01/26/21 Page 526 of 541
                                                                                                       Hersha Hospitality Management LP
                                                                                                    For the Month Ending December 31, 2020
                                  Current Month                                                                                                                                  Year-To-Date
    Actual                     Budget                           Actual                                                                           Actual                      Budget                           Actual
December 2020              December 2020                    December 2019                                       In Balance                   December 2020               December 2020                    December 2019



                                                                                                          Other / Miscellaneous
                                                                                        Revenue
                   0.00%                            0.00%              ‐        0.00%    Banquet F&B Revenue‐Select Svc                                          0.00%                            0.00%           109.00      0.21%
           ‐       0.00%            200.00          4.77%           210.00      5.30%    Banquet Svc Charge‐Select Svc                             1,043.00      3.86%          2,400.00          5.07%         2,950.00      5.80%
        108.43    11.01%          1,250.00         29.84%         1,339.59     33.79%    Gift & Market Shop Taxable                                5,249.02     19.45%         17,071.00         36.05%        18,304.30     35.96%
           ‐       0.00%             15.00          0.36%            20.97      0.53%    Guest Groceries Revenue                                     102.67      0.38%            180.00          0.38%           148.99      0.29%
                   0.00%             24.00          0.57%              ‐        0.00%    Guest Laundry/Valet                                                     0.00%            229.00          0.48%           187.34      0.37%
           ‐       0.00%          1,200.00         28.65%         1,080.00     27.24%    Meeting Room Rental‐Select Svc                            5,677.00     21.04%         14,400.00         30.41%        16,380.00     32.18%
        876.61    88.99%          1,500.00         35.81%         1,313.76     33.14%    Other Miscellaneous Revenue                              13,585.51     50.34%         13,075.00         27.61%        12,822.24     25.19%
           ‐       0.00%                            0.00%                       0.00%    Audit Results                                             1,330.75      4.93%                            0.00%                       0.00%

        985.04   100.00%          4,189.00        100.00%         3,964.32    100.00%      Total Other/Miscellaneous Revenue                      26,987.95    100.00%         47,355.00        100.00%        50,901.87    100.00%

                                                                                        Cost of Sales
        836.84   771.78%            800.00         64.00%           619.37     46.24%    Cost of Gift Shop Merchandise                             2,661.71     50.71%          9,600.00         56.24%         8,615.11     47.07%
           ‐       0.00%              8.00         53.33%            20.97    100.00%    Cost of Guest Groceries                                     131.77    128.34%            103.00         57.22%           239.07    160.46%
           ‐       0.00%             51.00        212.50%              ‐        0.00%    Cost of Guest Laundry/Valet                                 (50.00)     0.00%            599.00        261.57%           953.22    508.82%
                   0.00%                            0.00%              ‐        0.00%    Cost of Vending                                                         0.00%                            0.00%             6.00      0.00%

        836.84    84.95%           859.00          20.51%           640.34     16.15%      Total Other/Miscellaneous Cost of Sales                 2,743.48     10.17%         10,302.00         21.75%         9,813.40     19.28%
       $148.20    15.05%         $3,330.00         79.49%         $3,323.98    83.85% Departmental Income (Loss)                                  $24,244.47    89.83%        $37,053.00         78.25%        $41,088.47    80.72%
                                              Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                                       257‐Residence Inn    Filed 01/26/21 Page 527 of 541
                                                                                                       Hersha Hospitality Management LP
                                                                                                    For the Month Ending December 31, 2020
                                   Current Month                                                                                                                                 Year-To-Date
    Actual                      Budget                           Actual                                                                          Actual                      Budget                           Actual
December 2020               December 2020                    December 2019                                      In Balance                   December 2020               December 2020                    December 2019



                                                                                                        Rentals and Other Income
                                                                                          Revenue
        706.39     19.17%            326.00        100.00%            348.79    ‐63.21%    Commissions                                             5,763.05     60.14%          5,606.00         80.84%         6,085.71     49.32%
         52.99      1.44%                            0.00%            159.68    ‐28.94%    Cash Discounts Earned                                     670.70      7.00%                            0.00%         2,212.62     17.93%
      2,900.87     78.72%                            0.00%         (1,089.99)   197.53%    Cancellation Penalties                                  2,900.87     30.27%                            0.00%         2,598.47     21.06%
         24.75      0.67%              0.00          0.00%             29.70     ‐5.38%    Internet Revenue                                          247.50      2.58%          1,329.00         19.16%         1,442.22     11.69%

      3,685.00    100.00%           326.00         100.00%          (551.82)    100.00%    Total Rentals and Other Income                          9,582.12    100.00%          6,935.00        100.00%        12,339.02    100.00%



      $3,685.00   100.00%           $326.00        100.00%         ($551.82)    100.00%    Total Rentals and Other Income                          $9,582.12   100.00%         $6,935.00        100.00%        $12,339.02   100.00%
                                             Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                                      257‐Residence Inn    Filed 01/26/21 Page 528 of 541
                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                  Current Month                                                                                                                             Year-To-Date
    Actual                     Budget                         Actual                                                                         Actual                     Budget                         Actual
December 2020              December 2020                  December 2019                                     In Balance                   December 2020              December 2020                  December 2019



                                                                                                   Administrative and General
                                                                                     Expenses
                                                                                   Payroll and Related Expenses
                                                                                     Salaries, Wages, and Bonuses
                                                                                      Salaries and Wages
      6,935.92     4.17%          7,537.00        2.09%         5,393.92    1.76% A&G Management                                              79,225.66     2.88%         83,348.00        1.60%        65,669.38    1.25%
      1,986.75     1.20%                          0.00%                     0.00% Security                                                    28,447.04     1.03%                          0.00%                     0.00%
      5,375.00     3.23%            980.00        0.27%           980.00    0.32% A&G Contract Labor                                          50,038.75     1.82%         12,742.00        0.25%        28,062.00    0.54%

     14,297.67     8.60%          8,517.00        2.36%         6,373.92    2.08%         Total Salaries and Wages                           157,711.45     5.73%         96,090.00        1.85%        93,731.38    1.79%

           ‐       0.00%            550.00        0.15%           557.00    0.18% Bonuses & Incentives                                          (905.00)   ‐0.03%          6,600.00        0.13%         5,865.00    0.11%

     14,297.67     8.60%          9,067.00        2.51%         6,930.92    2.26%         Total Salaries, Wages, and Bonuses                 156,806.45     5.69%        102,690.00        1.98%        99,596.38    1.90%

                                                                                   Payroll‐Related Expenses
        459.08     0.28%            670.00        0.19%           801.40    0.26% Payroll Taxes                                                5,738.99     0.21%         12,882.00        0.25%         6,788.98    0.13%
      1,094.25     0.66%            331.00        0.09%           778.07    0.25% Supplemental Pay                                             7,521.86     0.27%          2,004.00        0.04%         6,685.38    0.13%
      1,097.12     0.66%          1,079.00        0.30%           995.58    0.33% Employee Benefits                                           15,018.84     0.55%         12,947.00        0.25%        12,383.14    0.24%

      2,650.45     1.59%          2,080.00        0.58%         2,575.05    0.84%         Total Payroll‐Related Benefits                      28,279.69     1.03%         27,833.00        0.54%        25,857.50    0.49%

     16,948.12    10.20%         11,147.00        3.09%         9,505.97    3.11%     Total Payroll and Related Expenses                     185,086.14     6.72%        130,523.00        2.51%       125,453.88    2.40%

                                                                                     Other Expenses
        254.38     0.15%                          0.00%              ‐       0.00%    Operating Supplies                                       2,364.31     0.09%                          0.00%           100.18    0.00%
           ‐       0.00%              0.00        0.00%              ‐       0.00%    Dues & Subscriptions                                       450.00     0.02%            360.00        0.01%           360.00    0.01%
           ‐       0.00%              0.00        0.00%           131.25     0.04%    Associate Training                                       1,541.66     0.06%          1,000.00        0.02%         4,197.52    0.08%
           ‐       0.00%              0.00        0.00%              ‐       0.00%    Professional Fees                                          266.15     0.01%            700.00        0.01%           207.38    0.00%
                   0.00%                          0.00%              ‐       0.00%    Legal Fees                                                            0.00%                          0.00%           113.06    0.00%
      1,059.70     0.64%          1,300.00        0.36%         1,013.71     0.33%    Bank Charges                                            13,840.05     0.50%         15,600.00        0.30%        14,809.02    0.28%
         37.68     0.02%            130.00        0.04%           860.91     0.28%    Human Resources                                          2,149.52     0.08%          1,560.00        0.03%         2,063.66    0.04%
        330.00     0.20%            330.00        0.09%           330.00     0.11%    Payroll Processing Fees                                  3,960.00     0.14%          3,960.00        0.08%         3,960.00    0.08%
      3,017.92     1.82%          3,018.00        0.84%         2,930.00     0.96%    Centralized Accounting Fees                             36,215.04     1.31%         36,216.00        0.70%        35,160.00    0.67%
        290.17     0.17%            290.00        0.08%           163.33     0.05%    Centralized HR Fees                                      3,482.04     0.13%          3,480.00        0.07%         1,959.96    0.04%
      1,870.00     1.13%            575.00        0.16%           574.36     0.19%    Contract Services                                       12,185.38     0.44%          6,900.00        0.13%         7,550.14    0.14%
        481.47     0.29%              0.00        0.00%           897.17     0.29%    Chargebacks                                              4,584.66     0.17%              0.00        0.00%         8,498.78    0.16%
          8.33     0.01%                          0.00%             1.16     0.00%    Sales Tax Under Collection                                 110.18     0.00%                          0.00%         1,308.50    0.03%
     14,606.97     8.79%          5,381.00        1.49%         7,482.64     2.45%    Credit Card Commissions                                 64,644.65     2.35%        126,895.00        2.44%       132,536.75    2.53%
           ‐       0.00%                          0.00%              ‐       0.00%    Cash Over / Short                                          (21.82)    0.00%                          0.00%           593.98    0.01%
        830.67     0.50%            417.00        0.12%         1,105.47     0.36%    Licenses & Permits                                      11,749.45     0.43%          9,233.00        0.18%        10,474.83    0.20%
           ‐       0.00%              0.00        0.00%            40.27     0.01%    Business Promotion ‐ Hotel                                  99.87     0.00%              0.00        0.00%           902.69    0.02%
         91.38     0.05%             40.00        0.01%            57.20     0.02%    Postage & Freight                                          631.01     0.02%            480.00        0.01%           627.34    0.01%
                   0.00%                          0.00%              ‐       0.00%    Guest Relations                                                       0.00%                          0.00%            50.98    0.00%
         55.00     0.03%                          0.00%                      0.00%    Brand Related Guest Relations                              284.30     0.01%                          0.00%                     0.00%
           ‐       0.00%                          0.00%              ‐       0.00%    Loss & Damage                                             (800.00)   ‐0.03%                          0.00%              ‐      0.00%
           ‐       0.00%             50.00        0.01%              ‐       0.00%    Travel                                                     591.65     0.02%            600.00        0.01%         7,053.02    0.13%
           ‐       0.00%            150.00        0.04%           226.61     0.07%    Meals & Entertainment                                      127.82     0.00%          1,800.00        0.03%         2,510.42    0.05%
        450.45     0.27%                          0.00%                      0.00%    Tax Penalties & Interest                                 3,079.95     0.11%                          0.00%                     0.00%
         74.69     0.04%                          0.00%          (360.00)   ‐0.12%    P‐Card Miscellaneous                                       256.11     0.01%                          0.00%              ‐      0.00%
           ‐       0.00%                          0.00%              ‐       0.00%    Miscellaneous                                               (0.09)    0.00%                          0.00%           (18.92)   0.00%

     23,458.81    14.12%         11,681.00        3.23%        15,454.08    5.05%         Total Other Expenses                               161,791.89     5.87%        208,784.00        4.02%       235,019.29    4.49%

     $40,406.93   24.31%        $22,828.00        6.32%        $24,960.05   8.16% Total Expenses                                             $346,878.03   12.60%       $339,307.00        6.53%       $360,473.17   6.89%
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                                                                                                  Hersha Hospitality Management LP
                                                                                               For the Month Ending December 31, 2020
                                 Current Month                                                                                                                            Year-To-Date
    Actual                    Budget                         Actual                                                                         Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                      In Balance                  December 2020             December 2020                  December 2019



                                                                                        Information & Telecommunication Systems
                                                                                    Expenses
                                                                                    Cost of Services
        969.55    0.58%          1,200.00        0.33%         1,175.08    0.38%     Cost of Calls                                           12,418.20    0.45%          7,781.00        0.15%         7,015.06    0.13%
        170.00    0.10%            100.00        0.03%           100.00    0.03%     Cost of Cell Phones                                      1,080.00    0.04%          1,200.00        0.02%         1,200.00    0.02%
      1,452.99    0.87%          3,100.00        0.86%           316.57    0.10%     Cost of Internet Service                                18,318.38    0.67%         40,814.00        0.79%        42,200.08    0.81%

      2,592.54    1.56%          4,400.00        1.22%         1,591.65    0.52%         Total Cost of Services                              31,816.58    1.16%         49,795.00        0.96%        50,415.14    0.96%

                                                                                    System Expenses
        308.33    0.19%            308.00        0.09%           308.33     0.10%     BI Software                                             3,700.02    0.13%          3,696.00        0.07%         3,700.00    0.07%
        809.58    0.49%            810.00        0.22%           786.00     0.26%     Centralized IT/IS Fees                                  9,714.96    0.35%          9,720.00        0.19%         9,432.00    0.18%
           ‐      0.00%                          0.00%                      0.00%     Hardware                                                  192.40    0.01%                          0.00%                     0.00%
        179.67    0.11%            180.00        0.05%           168.00     0.05%     Information Security ‐ PCI                              2,156.04    0.08%          2,160.00        0.04%         2,092.79    0.04%
         63.58    0.04%              0.00        0.00%            94.96     0.03%     Information Systems/IT                                    995.17    0.04%          1,508.00        0.03%         1,623.95    0.03%
        344.72    0.21%          1,300.00        0.36%          (321.84)   ‐0.11%     Rooms                                                   6,616.53    0.24%          7,816.00        0.15%         5,515.70    0.11%
        290.45    0.17%          1,350.00        0.37%           798.22     0.26%     Sales & Marketing                                       5,551.79    0.20%         16,530.00        0.32%        11,721.50    0.22%

      1,996.33    1.20%          3,948.00        1.09%         1,833.67    0.60%         Total System Expenses                               28,926.91    1.05%         41,430.00        0.80%        34,085.94    0.65%

                                                                                    Other Expenses
           ‐      0.00%            240.00        0.07%            61.55    0.02%     Contract Services                                          138.17    0.01%          2,880.00        0.06%         3,023.51    0.06%
           ‐      0.00%                          0.00%                     0.00%     Corporate Reimbursables                                     21.90    0.00%                          0.00%                     0.00%
        500.00    0.30%              0.00        0.00%           500.00    0.16%     PSF ‐ Fixed Cost                                         6,000.00    0.22%          4,500.00        0.09%         6,000.00    0.11%
        650.40    0.39%              0.00        0.00%           650.40    0.21%     PSF ‐ Hybrid Cost                                        7,804.80    0.28%          5,851.00        0.11%         7,804.80    0.15%
         97.27    0.06%              0.00        0.00%           183.41    0.06%     PSF ‐ Varianble Cost                                     1,633.65    0.06%          2,460.00        0.05%         3,109.24    0.06%

      1,247.67    0.75%           240.00         0.07%         1,395.36    0.46%         Total Other Expenses                                15,598.52    0.57%         15,691.00        0.30%        19,937.55    0.38%
      $5,836.54   3.51%         $8,588.00        2.38%         $4,820.68   1.58% Total Expenses                                              $76,342.01   2.77%       $106,916.00        2.06%       $104,438.63   2.00%
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                                                                                                    Hersha Hospitality Management LP
                                                                                                 For the Month Ending December 31, 2020
                                  Current Month                                                                                                                               Year-To-Date
    Actual                     Budget                          Actual                                                                         Actual                      Budget                          Actual
December 2020              December 2020                   December 2019                                     In Balance                   December 2020               December 2020                   December 2019

                                                                                                        Sales and Marketing
                                                                                      Expenses
                                                                                     Payroll and Related Expenses
                                                                                       Salaries, Wages, and Bonuses
                                                                                        Salaries and Wages
      5,785.28     3.48%          6,613.00         1.83%         5,538.50     1.81% Sales & Marketing Management                               66,291.92      2.41%         73,478.00         1.41%        68,400.21     1.31%

      5,785.28     3.48%          6,613.00         1.83%         5,538.50     1.81%        Total Salaries and Wages                            66,291.92      2.41%         73,478.00         1.41%        68,400.21     1.31%

           ‐       0.00%            450.00         0.12%           500.00     0.16% Bonuses & Incentives                                        (1,639.00)   ‐0.06%          5,400.00         0.10%         5,704.00     0.11%

      5,785.28     3.48%          7,063.00         1.96%         6,038.50     1.97%        Total Salaries, Wages, and Bonuses                  64,652.92      2.35%         78,878.00         1.52%        74,104.21     1.42%

                                                                                     Payroll‐Related Expenses
        436.62     0.26%            590.00         0.16%           688.90     0.23% Payroll Taxes                                               5,402.92      0.20%          6,726.00         0.13%         6,413.05     0.12%
        595.17     0.36%            302.00         0.08%           490.14     0.16% Supplemental Pay                                            4,320.45      0.16%          1,712.00         0.03%         4,326.89     0.08%
        226.33     0.14%            283.00         0.08%           285.46     0.09% Employee Benefits                                           3,138.47      0.11%          3,345.00         0.06%         3,006.01     0.06%

      1,258.12     0.76%          1,175.00         0.33%         1,464.50     0.48%        Total Payroll‐Related Benefits                      12,861.84      0.47%         11,783.00         0.23%        13,745.95     0.26%

      7,043.40     4.24%          8,238.00         2.28%         7,503.00     2.45%    Total Payroll and Related Expenses                      77,514.76      2.81%         90,661.00         1.75%        87,850.16     1.68%

                                                                                      Other Expenses
                   0.00%              0.00         0.00%                      0.00%    Collateral ‐ Hotel                                                     0.00%            750.00         0.01%                      0.00%
        342.48     0.21%          1,076.00         0.30%           888.46     0.29%    Dues & Subscriptions ‐ Hotel                             7,483.82      0.27%         11,949.00         0.23%        11,530.12     0.22%
                   0.00%              0.00         0.00%              ‐       0.00%    Training ‐ Hotel                                                       0.00%          2,300.00         0.04%         1,433.93     0.03%
        112.50     0.07%            310.00         0.09%           500.00     0.16%    E‐Commerce ‐ Hotel                                       2,112.50      0.08%          7,310.00         0.14%         7,331.42     0.14%
      4,053.41     2.44%          9,308.00         2.58%         7,578.55     2.48%    Franchise & Affiliation Advert                          68,137.48      2.47%        124,115.00         2.39%       129,513.33     2.47%
      9,726.97     5.85%         22,218.00         6.15%        18,187.92     5.94%    Franchise Fees                                         163,518.17      5.94%        296,840.00         5.71%       310,822.16     5.94%
      1,284.81     0.77%          2,140.00         0.59%         6,076.84     1.99%    Loyalty Programs/Frequent Flye                          19,970.35      0.73%         44,342.00         0.85%        52,407.12     1.00%
           ‐       0.00%              0.00         0.00%              ‐       0.00%    Media (Advertising/Directories                             943.00      0.03%          1,234.00         0.02%         1,233.00     0.02%
      3,122.00     1.88%          4,269.00         1.18%         4,145.00     1.35%    Revenue Management Fees                                 40,017.27      1.45%         51,228.00         0.99%        49,740.00     0.95%
         75.00     0.05%              0.00         0.00%            75.00     0.02%    Dues & Subscriptions ‐ Corpora                             825.00      0.03%             43.00         0.00%           919.00     0.02%
           ‐       0.00%              0.00         0.00%              ‐       0.00%    Trade Shows ‐ Corporate                                     22.38      0.00%             45.00         0.00%            38.32     0.00%
          9.92     0.01%              9.00         0.00%             4.97     0.00%    E‐Commerce ‐ Corporate                                     100.45      0.00%            108.00         0.00%           108.58     0.00%
                   0.00%              0.00         0.00%              ‐       0.00%    Training ‐ Corporate                                                   0.00%            268.00         0.01%           267.94     0.01%
                   0.00%              0.00         0.00%                      0.00%    Contract Services                                                      0.00%            250.00         0.00%                      0.00%
                   0.00%              0.00         0.00%            99.41     0.03%    Business Promotion ‐ Hotel                                             0.00%          1,750.00         0.03%           295.77     0.01%
        369.36     0.22%            567.00         0.16%           548.08     0.18%    National Sales Allocation                                5,024.80      0.18%          6,804.00         0.13%         6,576.96     0.13%
           ‐       0.00%              0.00         0.00%            38.48     0.01%    Travel                                                      35.20      0.00%            322.00         0.01%           477.29     0.01%
                   0.00%            500.00         0.14%              ‐       0.00%    Meals & Entertainment                                                  0.00%          2,000.00         0.04%           203.96     0.00%
                   0.00%                           0.00%            33.32     0.01%    Trade Shows ‐ Hotel                                                    0.00%                           0.00%            64.04     0.00%

     19,096.45    11.49%         40,397.00        11.19%        38,176.03    12.47%        Total Other Expenses                               308,190.42     11.19%        551,658.00        10.62%       572,962.94    10.95%

     $26,139.85   15.73%        $48,635.00        13.47%        $45,679.03   14.93% Total Expenses                                            $385,705.18    14.00%       $642,319.00        12.37%       $660,813.10   12.63%
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                                                                                                 Hersha Hospitality Management LP
                                                                                              For the Month Ending December 31, 2020
                                 Current Month                                                                                                                            Year-To-Date
    Actual                    Budget                         Actual                                                                        Actual                     Budget                         Actual
December 2020             December 2020                  December 2019                                    In Balance                   December 2020              December 2020                  December 2019



                                                                                          Property Operation and Maintenance
                                                                                   Expenses
                                                                                  Payroll and Related Expenses
                                                                                   Salaries, Wages, and Bonuses
                                                                                    Salaries and Wages
      2,530.80    1.52%          3,921.00        1.09%         3,460.80    1.13% R&M Management                                             40,163.20    1.46%          41,902.00        0.81%        37,907.25    0.72%
        122.55    0.07%          5,469.00        1.51%         4,791.43    1.57% R&M Non‐Management                                         13,806.30    0.50%          63,296.00        1.22%        48,055.94    0.92%

      2,653.35    1.60%          9,390.00        2.60%         8,252.23    2.70%       Total Salaries and Wages                             53,969.50    1.96%         105,198.00        2.03%        85,963.19    1.64%

           ‐      0.00%             23.00        0.01%            15.00    0.00% Bonuses & Incentives                                           15.00    0.00%             270.00        0.01%           225.00    0.00%

      2,653.35    1.60%          9,413.00        2.61%         8,267.23    2.70%       Total Salaries, Wages, and Bonuses                   53,984.50    1.96%         105,468.00        2.03%        86,188.19    1.65%

                                                                                  Payroll‐Related Expenses
        416.97    0.25%            893.00        0.25%           915.19    0.30% Payroll Taxes                                               6,645.72    0.24%          10,675.00        0.21%         9,043.80    0.17%
        774.38    0.47%            557.00        0.15%           796.42    0.26% Supplemental Pay                                            6,502.74    0.24%           3,909.00        0.08%         7,078.95    0.14%
        181.78    0.11%            673.00        0.19%           652.09    0.21% Employee Benefits                                           3,750.99    0.14%           8,070.00        0.16%         7,807.20    0.15%

      1,373.13    0.83%          2,123.00        0.59%         2,363.70    0.77%       Total Payroll‐Related Benefits                       16,899.45    0.61%          22,654.00        0.44%        23,929.95    0.46%

      4,026.48    2.42%         11,536.00        3.19%        10,630.93    3.47%    Total Payroll and Related Expenses                      70,883.95    2.57%         128,122.00        2.47%       110,118.14    2.10%

                                                                                   Other Expenses
         59.90    0.04%            275.00        0.08%           164.88    0.05%    Operating Supplies                                       1,636.34     0.06%          3,301.00        0.06%         3,378.89    0.06%
           ‐      0.00%            400.00        0.11%         1,734.60    0.57%    Building                                                15,597.85     0.57%          4,801.00        0.09%         5,987.69    0.11%
                  0.00%            300.00        0.08%              ‐      0.00%    Laundry Equipment                                                     0.00%          1,200.00        0.02%           633.16    0.01%
           ‐      0.00%            100.00        0.03%           114.22    0.04%    Light Bulbs                                                492.34     0.02%          1,200.00        0.02%         1,481.13    0.03%
        527.30    0.32%            460.00        0.13%           426.26    0.14%    Waste Removal                                            5,864.82     0.21%          5,358.00        0.10%         5,115.12    0.10%
        215.58    0.13%            300.00        0.08%           354.68    0.12%    Contract Services                                        4,477.98     0.16%          3,600.00        0.07%         7,152.48    0.14%
           ‐      0.00%             50.00        0.01%              ‐      0.00%    Uniforms                                                   237.44     0.01%            200.00        0.00%            71.76    0.00%
      1,044.25    0.63%          1,044.00        0.29%           813.44    0.27%    Corporate Engineering Fees                              12,531.00     0.46%         12,528.00        0.24%         9,626.53    0.18%
           ‐      0.00%             60.00        0.02%              ‐      0.00%    Travel                                                     229.18     0.01%            720.00        0.01%           587.85    0.01%
           ‐      0.00%            300.00        0.08%           322.50    0.11%    Electrical & Mechanical Equipm                           3,341.82     0.12%          3,600.00        0.07%         4,048.37    0.08%
        356.56    0.21%            700.00        0.19%           475.00    0.16%    Elevators & Escalators                                   7,422.57     0.27%          9,600.00        0.18%         8,504.00    0.16%
           ‐      0.00%             23.00        0.01%              ‐      0.00%    Engineering Supplies                                         4.55     0.00%            292.00        0.01%           226.59    0.00%
                  0.00%                          0.00%              ‐      0.00%    Furniture & Equipment                                                 0.00%                          0.00%           189.74    0.00%
      1,938.00    1.17%          1,848.00        0.51%         1,900.00    0.62%    Grounds Maintenance and Landsc                          17,555.31     0.64%         20,285.00        0.39%        21,570.45    0.41%
           ‐      0.00%            250.00        0.07%           865.06    0.28%    HVAC                                                     1,633.03     0.06%          3,001.00        0.06%         3,591.66    0.07%
        370.00    0.22%            225.00        0.06%              ‐      0.00%    Kitchen Equipment                                        2,393.43     0.09%          2,701.00        0.05%         3,127.47    0.06%
      2,745.58    1.65%          1,300.00        0.36%           680.54    0.22%    Life Safety                                             20,593.88     0.75%         15,613.00        0.30%        14,800.29    0.28%
           ‐      0.00%            100.00        0.03%              ‐      0.00%    Painting & Decorating                                       56.56     0.00%          1,200.00        0.02%           961.72    0.02%
           ‐      0.00%              0.00        0.00%              ‐      0.00%    Swimming Pool                                           (1,522.50)   ‐0.06%         19,130.00        0.37%        22,014.52    0.42%
           ‐      0.00%            250.00        0.07%           304.25    0.10%    Plumbing                                                   634.03     0.02%          3,001.00        0.06%         3,574.97    0.07%
           ‐      0.00%            325.00        0.09%           277.55    0.09%    Vehicles                                                   438.92     0.02%          3,900.00        0.08%         4,553.89    0.09%

      7,257.17    4.37%          8,310.00        2.30%         8,432.98    2.76%       Total Other Expenses                                 93,618.55    3.40%         115,231.00        2.22%       121,198.28    2.32%

     $11,283.65   6.79%        $19,846.00        5.50%        $19,063.91   6.23% Total Expenses                                            $164,502.50   5.97%        $243,353.00        4.69%       $231,316.42   4.42%
                                            Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                                     257‐Residence Inn    Filed 01/26/21 Page 532 of 541
                                                                                                Hersha Hospitality Management LP
                                                                                             For the Month Ending December 31, 2020
                                 Current Month                                                                                                                           Year-To-Date
    Actual                    Budget                         Actual                                                                       Actual                     Budget                         Actual
December 2020             December 2020                  December 2019                                   In Balance                   December 2020              December 2020                  December 2019



                                                                                                           Utilities

                                                                                   Utilities
      6,431.06    3.87%          8,028.00        2.22%         9,291.93    3.04%    Electricity                                            79,670.16     2.89%        103,571.00        1.99%       103,888.46    1.98%
        924.45    0.56%          1,304.00        0.36%         1,410.70    0.46%    Gas                                                     9,492.85     0.34%         12,554.00        0.24%        12,633.82    0.24%
      1,999.44    1.20%          2,560.00        0.71%         2,833.67    0.93%    Water                                                  31,674.65     1.15%         44,101.00        0.85%        44,061.91    0.84%
      2,566.60    1.54%          3,335.00        0.92%         3,766.25    1.23%    Sewer                                                  41,345.23     1.50%         54,664.00        1.05%        56,008.75    1.07%
           ‐      0.00%                          0.00%                     0.00%    Energy Incentive Rebates                               (4,547.53)   ‐0.17%                          0.00%                     0.00%

     $11,921.55   7.17%        $15,227.00        4.22%        $17,302.55   5.65% Total Utilities                                          $157,635.36   5.72%        $214,890.00        4.14%       $216,592.94   4.14%
                                            Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                                     257‐Residence Inn    Filed 01/26/21 Page 533 of 541
                                                                                               Hersha Hospitality Management LP
                                                                                            For the Month Ending December 31, 2020
                                 Current Month                                                                                                                         Year-To-Date
    Actual                    Budget                         Actual                                                                      Actual                    Budget                         Actual
December 2020             December 2020                  December 2019                                   In Balance                  December 2020             December 2020                  December 2019



                                                                                                     Management Fees

                                                                                   Management Fees
      4,985.59    3.00%         10,834.00        3.00%         9,181.02    3.00%    Base Fee                                              82,621.70    3.00%        155,822.00        3.00%       157,015.39    3.00%

      $4,985.59   3.00%        $10,834.00        3.00%         $9,181.02   3.00% Total Management Fees                                    $82,621.70   3.00%       $155,822.00        3.00%       $157,015.39   3.00%
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 534 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                              Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                                       257‐Residence Inn    Filed 01/26/21 Page 535 of 541
                                                                                                     Hersha Hospitality Management LP
                                                                                                  For the Month Ending December 31, 2020
                                   Current Month                                                                                                                               Year-To-Date
    Actual                      Budget                          Actual                                                                          Actual                     Budget                          Actual
December 2020               December 2020                   December 2019                                      In Balance                   December 2020              December 2020                   December 2019



                                                                                         Rent, Property and Other Taxes, and Insurance

                                                                                       Rent
    212,750.94    128.02%         84,164.00        23.31%        81,791.67    26.73%    Land and Buildings                                     1,083,021.27   39.32%       1,009,968.00       19.44%       981,500.04    18.75%

    212,750.94    128.02%         84,164.00        23.31%        81,791.67    26.73% Total Rent                                                1,083,021.27   39.32%      1,009,968.00        19.44%       981,500.04    18.75%


                                                                                       Property and Other Taxes
     52,000.00     31.29%         48,539.00        13.44%        49,026.82    16.02%     Real Estate Taxes                                      582,846.01    21.16%        582,468.00        11.21%       587,841.28    11.23%

     52,000.00     31.29%         48,539.00        13.44%        49,026.82    16.02% Total Property and Other Taxes                             582,846.01    21.16%        582,468.00        11.21%       587,841.28    11.23%


                                                                                       Insurance
      2,995.55      1.80%          3,407.00         0.94%         3,620.22     1.18%     Building and Contents                                   35,746.70     1.30%         40,884.00         0.79%        32,408.95     0.62%
        285.33      0.17%            285.00         0.08%           277.00     0.09%     Risk Management                                          3,423.96     0.12%          3,420.00         0.07%         3,324.00     0.06%
           ‐        0.00%                           0.00%              ‐       0.00%     Insurance Deductible                                    25,000.00     0.91%                           0.00%        (9,731.48)   ‐0.19%
      4,018.45      2.42%          2,082.00         0.58%         2,099.09     0.69%     General Liability Insurance                             40,648.98     1.48%         24,984.00         0.48%        25,015.47     0.48%

      7,299.33      4.39%          5,774.00         1.60%         5,996.31     1.96%     Total Insurance                                        104,819.64     3.81%         69,288.00         1.33%        51,016.94     0.97%


    $272,050.27   163.70%       $138,477.00        38.34%       $136,814.80   44.71% Total Rent, Property, and Other Taxes, and Insurance     $1,770,686.92   64.29%      $1,661,724.00       31.99%     $1,620,358.26   30.96%
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 536 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 537 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                              Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                                       257‐Residence Inn    Filed 01/26/21 Page 538 of 541
                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                   Current Month                                                                                                                             Year-To-Date
    Actual                      Budget                         Actual                                                                        Actual                      Budget                         Actual
December 2020               December 2020                  December 2019                                       In Balance                December 2020               December 2020                  December 2019



                                                                                                      Payroll‐Related Expenses
                                                                                      Payroll Taxes
            ‐      0.00%               ‐           0.00%               ‐      0.00%        Total Payroll Tax                                         ‐      0.00%               ‐           0.00%               ‐      0.00%

                                                                                      Employee Benefits
      (1,207.48)   ‐0.73%                          0.00%         (1,207.48)   ‐0.39% PTEB Allocation                                          (15,054.35)   ‐0.55%                          0.00%        (14,974.76)   ‐0.29%
       1,207.48     0.73%                          0.00%          1,207.48     0.39% Workers' Compenstion Insurance                            15,054.35     0.55%                          0.00%         14,974.76     0.29%

            ‐      0.00%               ‐           0.00%               ‐      0.00%        Total Employee Benefits                                   ‐      0.00%               ‐           0.00%               ‐      0.00%


          $0.00    0.00%              $0.00        0.00%             $0.00    0.00%        Total Payroll Taxes and Employee Benefits               $0.00    0.00%              $0.00        0.00%             $0.00    0.00%
                                Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                         257‐Residence Inn    Filed 01/26/21 Page 539 of 541
                                                                Hersha Hospitality Management LP
                                                             For the Month Ending December 31, 2020
                       Current Month                                                                                          Year-To-Date
    Actual          Budget                  Actual                                                        Actual          Budget                 Actual
December 2020   December 2020           December 2019                    In Balance                   December 2020   December 2020          December 2019
                                             Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                                      257‐Residence Inn    Filed 01/26/21 Page 540 of 541
                                                                                                   Hersha Hospitality Management LP
                                                                                                For the Month Ending December 31, 2020
                                  Current Month                                                                                                                             Year-To-Date
    Actual                     Budget                          Actual                                                                        Actual                     Budget                          Actual
December 2020              December 2020                   December 2019                                    In Balance                   December 2020              December 2020                   December 2019



                                                                                                              Interest

                                                                                      Interest
     85,052.93    51.18%         86,095.00        23.84%        85,370.91    27.90%     Interest Expense                                    1,021,226.99   37.08%       1,033,140.00       19.89%      1,012,065.20   19.34%

     $85,052.93   51.18%        $86,095.00        23.84%        $85,370.91   27.90%      Total Interest                                    $1,021,226.99   37.08%      $1,033,140.00       19.89%     $1,012,065.20   19.34%
                                           Case 1:20-cv-06089-JGK Document         56Greenbelt
                                                                    257‐Residence Inn    Filed 01/26/21 Page 541 of 541
                                                                                               Hersha Hospitality Management LP
                                                                                            For the Month Ending December 31, 2020
                                Current Month                                                                                                                          Year-To-Date
    Actual                   Budget                         Actual                                                                       Actual                    Budget                         Actual
December 2020            December 2020                  December 2019                                    In Balance                  December 2020             December 2020                  December 2019



                                                                                                   Other Fixed Expenses

                                                                                  Other Fixed Expenses
        547.47   0.33%                          0.00%        10,808.44    3.53%    Owner's Expense                                        19,941.63    0.72%                          0.00%        14,866.51    0.28%

       $547.47   0.33%             $0.00        0.00%        $10,808.44   3.53% Total Other Fixed Expenses                                $19,941.63   0.72%             $0.00        0.00%        $14,866.51   0.28%
